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 14
                           UNITED STATES DISTRICT COURT
 15
                          CENTRAL DISTRICT OF CALIFORNIA
 16
 17
 18   In re ZF-TRW Airbag Control Units     MDL No. 2905
      Products Liability Litigation
 19                                         Case No. 2:19-ml-02905-JAK-FFM
      ALL CASES
 20                                         CONSOLIDATED CLASS ACTION
                                            COMPLAINT
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          REDACTED VERSION OF DOCUMENT PROPOSED TO BE FILED
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   1         For their complaint against Defendants,1 Plaintiffs,2 individually and on
   2   behalf of all others similarly situated, allege as follows:
   3                              I. NATURE OF THE ACTION
   4         1.       Motor vehicles are a fixture of modern life in the United States. Every
   5   day, millions of Americans drive automobiles. They drive their children to school,
   6   they drive themselves to work, they drive to purchase essentials like food and
   7   medicine, and (especially during this pandemic) they sometimes drive just to enjoy
   8   a sunny day.
   9
  10
       1
  11     Defendants are ZF Active Safety and Electronics US LLC; ZF Passive Safety
       Systems US Inc.; TRW Automotive Inc.; ZF TRW Automotive Holdings Corp.; ZF
  12
       North America, Inc.; ZF Holdings B.V.; ZF Friedrichshafen AG;
  13   STMicroelectronics N.V.; STMicroelectronics International N.V.;
       STMicroelectronics Inc.; Hyundai Motor Co., Ltd.; Hyundai Motor America, Inc.;
  14
       Hyundai MOBIS Co. Ltd.; Mobis Parts America, LLC; Kia Motors Corporation;
  15   Kia Motors America; FCA US LLC; Fiat Chrysler Automobiles N.V.; Toyota
  16   Motor Corporation; Toyota Motor North America Inc., Toyota Motor Engineering
       & Manufacturing North America, Inc.; Toyota Motor Sales, U.S.A., Inc.; Honda
  17   Motor Co. Ltd.; American Honda Motor Co., Inc.; Honda of America Mfg., Inc.;
  18   Honda R&D Co., Ltd.; Honda R&D Americas, Inc.; Mitsubishi Motors
       Corporation; and Mitsubishi Motors North America, Inc.
  19   2
         Plaintiffs are Alejandra Renteria; Amanda Swanson; Angela Bowens; Ann
  20   Harland; Barry Adams; Bobbi Jo Birk-LaBarge; Bonnie Dellatorre; Brent
       DeRouen; Brian Chaiken; Brian Collins; Burton Reckles; Carl Miller; Carl Paul
  21   Maurilus; Carma Rockers; Carolyn Nelson; Constanza Gonzalez; Dan Sutterfield;
  22   Danny Hunt; Dee Roberts; Deloras McMurray; Desiree Meyer; Diana King; Donna
       Ronan; Dorothy Cooks; Dragan Jagnjic; Dylan DeMoranville; Eric Fishon; Evan
  23   Green; Fredericka McPherson; Gary Samouris; Gaylynn Sanchez; Gersen Damens;
  24   James Dean; James Kneup; Jan Freyman; John Colbert; John Robinson; John
       Sancomb; Joseph Fuller; Joy Davis; Kenneth Ogorek; Kevin Burns; Kinyata Jones;
  25   Larae Angel; Lawrence Graziano; Lore VanHouten; Mark Altier; Maximillian
  26   Accetta; Michael Hernandez; Michael Hines; Michael Nearing; Moises Senti; Paul
       Huitzil; Ravichandran Namakkal; Remigiusz Rundzio; Richard Kintzel; Ricky
  27   Gerischer; Samuel Choc; Sigfredo Rubio; Steve Keister; Steve Laveaux; Tammy
  28   Tyler; Tatiana Gales; Tiffany Ecklor; Tina Fuller; Tonya McNeely.

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   1         2.     For most Americans, the purchase or lease of a motor vehicle is their
   2   second largest financial investment, following only the purchase or lease of a home.
   3         3.     While cars are a common feature of our daily lives, they also are
   4   potentially dangerous. Car crashes kill tens of thousands of people every year.
   5   Many more suffer serious injuries.
   6         4.     To prevent injury and death from car accidents, the federal government
   7   enacted laws and established regulations that forced manufacturers to include
   8   certain safety features in motor vehicles sold in the United States. Seatbelts and
   9   airbags are two of these key safety requirements. Since 1997, all passenger vehicles
  10   have had to include this critical, life-saving equipment. See 49 U.S.C. § 30127.
  11         5.     To lawfully distribute a motor vehicle to car dealers for sale to
  12   consumers in the United States, a manufacturer first must place a permanent label
  13   on the vehicle that certifies that the vehicle includes functioning airbags and
  14   seatbelts. When a vehicle manufacturer learns of a safety defect, federal law
  15   requires it to disclose the defect to the National Highway Traffic Safety
  16   Administration (“NHTSA”) and to the owners, purchasers, and dealers of the
  17   vehicle. 49 U.S.C. § 30118(c).
  18         6.     When a safety defect relates to a component part, the component
  19   manufacturer has a separate, independent duty to submit public reports on the faulty
  20   equipment to NHTSA. 49 C.F.R. § 573.6(a).
  21         7.     Defendants in this case flouted these basic duties by failing to disclose
  22   a deadly defect with the passenger safety system in millions of vehicles purchased
  23   or leased by Plaintiffs and the Class (the “Class Vehicles”).3 Because of this defect,
  24   the airbags and seatbelts in more than 15 million vehicles may fail to activate
  25   during a potentially fatal head-on collision—exactly when they are needed most.
  26
  27   3
        Specifically, “Class Vehicles” are all vehicles equipped with a ZF TRW ACU
  28   containing a DS84 application-specific integrated circuit.

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   1         8.     Defendant ZF TRW makes Airbag Control Units, or “ACUs,” to
   2   install in motor vehicles—including vehicles made by the Vehicle Manufacturer
   3   Defendants in this case: FCA, Honda, Hyundai, Kia, Mitsubishi, and Toyota. ACUs
   4   are effectively computers that control the car’s safety systems. They are typically
   5   installed in the passenger compartment of the vehicle. ACUs constantly receive and
   6   interpret signals from crash sensors in the front of the vehicle. When the sensors
   7   detect an imminent crash, they notify the ACU and the ACU commands the safety
   8   system to deploy the airbags and tighten the seatbelts. When the ACU fails, the
   9   airbags and seatbelts also fail.
  10         9.     Defendant STMicro makes a specialized microchip called the DS84
  11   application-specific integrated circuit (“ASIC”), a component part of the ACU. It
  12   processes the signal from the crash sensors and activates the airbags and seatbelts.
  13   ST Micro’s DS84 ASIC is the brain of the ZF TRW ACUs at issue in this litigation.
  14   STMicro custom-manufactured the DS84 ASIC for ZF TRW, as part of ZF TRW’s
  15   plan to create a smaller ACU. Upon information and belief, no ACU manufacturer
  16   other than ZF TRW uses the DS84 ASIC.
  17         10.    ZF TRW ACUs with the DS84 ASIC have a dangerous defect. These
  18   ACUs are much more vulnerable to bursts of electricity than are other ACUs,
  19   including other ZF TRW ACUs that do not include the DS84 ASIC. Vulnerability
  20   to electricity is dangerous because—as has been common knowledge in the auto
  21   industry for decades—some crashes cause large bursts of electricity to discharge in
  22   the front of the vehicle. This can happen for a variety of reasons. For example, a
  23   front-end collision can cause wiring for other components to tear, which could
  24   discharge a stray electrical current, sometimes called a “transient.” For this reason,
  25   ACUs (and the ASICs within them) must be sufficiently protected from transient
  26   electrical currents to ensure they will function during a crash.
  27         11.    In many crashes over the last ten years, transient electricity caused by
  28   the crash itself overheated and rendered useless the DS84 ASIC in ZF TRW ACUs.

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   1   In those crashes, the heat damaged the ASIC, a phenomenon called electrical
   2   overstress or "EOS." EOS is a well-known phenomenon in the auto industry. In the
   3   DS84 ASIC, EOS is deadly: it can disable the brains of the ACU and cause the
   4   airbags and seatbelts not to activate during a crash.
   5         12.    Defendants have known the defective ZF TRW ACUs with the DS84
   6   ASIC were vulnerable to EOS for at least a decade.
   7
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   9
  10
  11         14.    Despite the known risks of EOS in the ZF TRW ACUs, Defendants
  12   pushed to market and delayed recalling vehicles with the defective ACUs. Instead
  13   of timely and completely warning consumers-who have driven and continue to
  14   drive vehicles with these defective ACUs every day-Defendants conspired to
  15   conceal the defect. That decision cost lives. Collectively, NHTSA and the Vehicle
  16   Manufacturer Defendants have linked multiple airbag and/or seatbelt failures in
  17   crashes to ZF TRW ACUs that showed signs ofEOS in the DS84 ASIC. To date,
  18   they attribute at least eight known deaths to the defect.
  19
  20
  21   FCA and ZF TRW similarly knew of at least ten airbag failures in FCA vehicles
  22   with the defective ACUs by 2016. Upon information and belief, ZF TRW alerted
  23   Toyota, Honda, and Mitsubishi to the defect at least as early as early 2016. More
  24
  25
  26         16.    Despite these and other well-documented accidents evidencing the
  27   defect, the Vehicle Manufacturer Defendants falsely and misleadingly assured
  28   consumers that their vehicles were safe in advertising distributed nationwide.

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   1         17.     Now, Defendants effectively admit that ZF TRW ACUs with the DS84
   2   ASIC are defective. For example, Toyota admits:
   3
                   This ASIC does not have sufficient protection against negative
   4               electrical transients that can be generated in certain severe
                   crashes, such as an underride frontal crash where there is a
   5
                   large engine compartment intrusion before significant
   6               deterioration. In these cases, the crash sensor and other
                   powered wiring can be damaged and shorted so as to create a
   7
                   negative electrical transient of sufficient strength and duration
   8               to damage the ASIC before the deployment signal is received
                   in the [ACU]. This can lead to incomplete or nondeployment
   9
                   of the airbags and/or pretensioners.
  10
             18.     Similarly, Hyundai admits “the ASIC used in the subject ACUs could
  11
       be susceptible to EOS because it lacks adequate circuit protection. In at least one
  12
       crash test, damage to the DS84 ASIC from EOS could have caused the loss of the
  13
       AAS and seat belt pretensioner deployment.” Hyundai’s affiliate, Kia, parroted this
  14
       admission: “The ASIC component within the subject ACUs may be susceptible to
  15
       EOS due to inadequate circuit protection.”
  16
             19.     FCA also admits:
  17
                   The root cause of the failure was determined to be a
  18               combination of the relative susceptibility of the subject [ACU]
  19               ASIC to negative transients and the front acceleration sensor
                   signal cross-car wire routing in certain crash events. . . . The
  20
                   potential loss of air bag and seat belt pretensioner deployment
  21               capability in such crash events may increase the risk of injury
                   in a crash.
  22
             20.     Despite these admissions, the Vehicle Manufacturer Defendants have
  23
       failed to recall approximately 9 million vehicles that have ZF TRW ACUs with the
  24
       DS84 ASIC. Defendants try to justify this failure by obscuring the nature and scope
  25
       of the defect. For example, they falsely and misleadingly blame the problem on
  26
       minor variations in wiring in the front of the vehicle. They also claim adding
  27
       limited protective components to guard against electrical transients solves the
  28

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   1   problem. But, in truth, all ZF TRW ACUs with the DS84 ASIC are defective, as
   2   demonstrated by confirmed cases of DS84 ASIC EOS across a wide spectrum of
   3   different vehicles with different wiring and different combinations of protective
   4   components.
   5         21.     In April 2019, NHTSA launched an investigation into the serious
   6   safety risk presented by unrecalled vehicles with ZF TRW ACUs. The investigation
   7   appears to target all ZF TRW ACUs with the DS84 ASIC. The investigation is
   8   ongoing.
   9         22.     Although Defendants should recall and replace the defective ZF TRW
  10   ACUs, Defendants’ fraud has done harm to Plaintiffs that no recall (or fine by
  11   NHTSA) can remedy. When they purchased or leased vehicles with the defective
  12   ZF TRW ACUs, Plaintiffs believed—based on Defendants’ misleading statements
  13   and material omissions—that the airbag and seatbelt systems in their vehicles
  14   functioned properly and had no safety defects. Had Defendants disclosed the ACU
  15   defect at the point of sale, Plaintiffs would have seen such disclosures and would
  16   not have bought or leased the vehicles or they would have paid a significantly lower
  17   price to purchase or lease them.
  18         23.     This lawsuit seeks redress on behalf of Plaintiffs and all other
  19   similarly-situated purchasers and lessees of vehicles with defective ZF TRW ACUs
  20   for the harm they suffered in paying for vehicles with a safety system they cannot
  21   rely on.
  22                                      II. THE PARTIES
  23   A.    Defendants
  24         24.     Defendants are companies from nine different corporate groups: (1) ZF
  25   TRW, (2) STMicro, (3) Kia, (4) Hyundai, (5) Hyundai MOBIS,4 (6) Fiat Chrysler
  26   (“FCA”), (7) Toyota, (8) Honda, and (9) Mitsubishi.
  27   4
        Although separate corporate groups, Kia, Hyundai, and Hyundai MOBIS are
  28   affiliates that own large blocks of each other’s stock.

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   1         25.   Defendants are some of the largest companies in the global automotive
   2   industry. Collectively, they reported more than $880 billion in revenue in 2019
   3   alone. The below chart shows Defendants' reported revenue for 2019. 5
   4
                       Defendant Group         Revenue
                       ZFTRW                   $39 billion
   5                   STMicro                 $9 billion
   6                   Kia                     $47 billion
                       Hyundai                 $86 billion
   7                   Hyundai MOBIS           $31 billion
   8                   Toyota                  $272 billion
                       Honda                   $143 billion
   9
                       Fiat Chrysler           $118 billion
  10                   Mitsubishi              $137 billion
  11
             i.    The ZF TRW Defendants
  12
  13         26.   The ZF TRW Defendants are ZF Active Safety and Electronics US
  14   LLC; ZF Passive Safety Systems US Inc.; TRW Automotive Inc.; ZF TRW
  15   Automotive Holdings Corp.; ZF North America, Inc.; ZF Holdings B.V.; and ZF
  16   Friedrichshafen AG. Plaintiffs refer to these Defendants collectively as "ZF TRW."
  17         27.   ZF Active Safety and Electronics US LLC is a Delaware LLC
  18   headquartered in Michigan. It formerly operated under the name "TRW Automotive
  19   U.S. LLC." Upon information and belief, ZF Active Safety and Electronics US
  20   LLC is directly involved in the manufacture and design of ZF TRW ACUs.
  21         28.   ZF Passive Safety Systems US Inc. is a Delaware Corporation
  22   headquartered in Michigan. It previously operated under the name "TRW Vehicle
  23   Safety Systems, Inc." Upon information and belief, ZF Passive Safety Systems US
  24   Inc. is directly involved in the manufacture and design of ZF TRW ACUs.
  25         29.   TRW Automotive Inc. is a Delaware Corporation and the direct parent

  26   and 100% owner of ZF Passive Safety Systems US Inc. and ZF Active Safety and

  27   5
        Some groups report revenue in foreign currencies. Plaintiffs converted foreign
  28   currencies to USD using recent exchange rates.

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   1   Electronics US LLC. TRW Automotive Inc. is headquartered in Michigan. TRW
   2   Automotive Inc. admits that it is a manufacturer of the ACUs at issue in this
   3   litigation.
   4          30.    ZF TRW Automotive Holdings Corp. is a Delaware Corporation and
   5   the direct parent and 100% owner of TRW Automotive Inc. ZF TRW Automotive
   6   Holdings Corp. is headquartered in Michigan.
   7          31.    ZF North America, Inc. is a Delaware Corporation and the direct
   8   parent and 100% owner of ZF TRW Automotive Holdings Corp. ZF North
   9   America, Inc. is headquartered in Michigan.
  10          32.    ZF Holdings B.V. is a Netherlands corporation and the direct parent
  11   and 100% owner of ZF North America, Inc. ZF Holdings B.V.’s head office is in
  12   the Netherlands.
  13          33.    ZF Friedrichshafen AG is a German corporation and the direct parent
  14   and 100% owner of ZF Holdings B.V. ZF Friedrichshafen AG is headquartered in
  15   Germany.
  16          34.    The origins of the relevant business line of the ZF TRW Defendants
  17   traces back to an automotive supplier from the early 1900s named the Cleveland
  18   Cap Screw Company.
  19          35.    During the relevant time period prior to May 15, 2015, ZF Active
  20   Safety and Electronics US LLC; ZF Passive Safety Systems US Inc.; and TRW
  21   Automotive Inc. operated as subsidiaries of the ultimate parent company TRW
  22   Automotive Holdings Corp., which was a publicly traded company listed on the
  23   New York Stock Exchange.
  24          ii.    The STMicro Defendants
  25          36.    The STMicro Defendants (together “STMicro”) include
  26   STMicroelectronics N.V.; STMicroelectronics International N.V.; and
  27   STMicroelectronics Inc.
  28

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   1         37.    STMicro is a multinational group of companies that manufacturers and
   2   sells semiconductors and electronic chips. STMicro’s automotive integrated circuit
   3   and discrete and power transistor line of products is one of its three most important
   4   lines of business.
   5         38.    STMicroelectronics N.V. is a company incorporated under the laws of
   6   the Netherlands, with its principal place of business located at 39, Chemin du
   7   Champ-des-Filles, CH-1228 Geneva – Plan-Les-Ouates, Switzerland. It is the
   8   parent company of the STMicro group, and 100% owner of Defendants
   9   STMicroelectronics International N.V. and Defendant STMicroelectronics, Inc.
  10         39.    STMicroelectronics International N.V. is a company incorporated
  11   under the laws of the Netherlands, with its principal place of business located at 39
  12   Chemin du Champ des Filles, 1228 Plan-les-Ouates, Geneva, Switzerland.
  13   Although STMicroelectronics N.V. is the parent company of the STMicro group of
  14   companies, the parent company’s 2019 Annual Report admits: “we conduct our
  15   global business through STMicroelectronics International N.V. and also conduct
  16   our operations through service activities from our subsidiaries,” and “[o]ur
  17   operations are also conducted through our various subsidiaries, which are organized
  18   and operated according to the laws of their country of incorporation, and
  19   consolidated by STMicroelectronics N.V.”
  20         40.    STMicroelectronics Inc. is a Delaware Corporation headquartered in
  21   Coppell, Texas. STMicroelectronics also has a permanent office in Livonia,
  22   Michigan. The office is within a fifteen-minute drive from TRW Automotive Inc.’s
  23   office there. TRW Automotive Inc. identified STMicroelectronics Inc.’s Michigan
  24   office as the address for the manufacturer of the DS84 ASIC contained in the ZF
  25   TRW ACUs at issue in this litigation.
  26         iii.   The Vehicle Manufacturer Defendants
  27         41.    The Vehicle Manufacturer Defendants are companies that make and
  28   sell completed vehicles and their affiliates. The Vehicle Manufacturer Defendants

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   1   are Hyundai Motor Co., Ltd.; Hyundai Motor America, Inc.; Kia Motors
   2   Corporation; Kia Motors America, Inc.; FCA US LLC; Fiat Chrysler Automobiles
   3   N.V.; Toyota Motor Corporation; Toyota Motor North America Inc., Toyota Motor
   4   Engineering & Manufacturing North America, Inc.; Toyota Motor Sales, U.S.A.,
   5   Inc.; Honda Motor Co. Ltd.; American Honda Motor Co., Inc.; Honda of America
   6   Mfg., Inc.; Honda R&D Co., Ltd.; Honda R&D Americas, Inc.; Mitsubishi Motors
   7   Corporation; and Mitsubishi Motors North America, Inc.
   8         42.   Defendants Hyundai MOBIS Co. Ltd. and Mobis Parts America, LLC
   9   are affiliates of Hyundai Motor Co., Ltd.; Hyundai Motor America, Inc.; Kia
  10   Motors Corporation; and Kia Motors America. They make auto parts for Hyundai
  11   and Kia vehicles. Although Hyundai MOBIS Co. Ltd. and Mobis Parts America,
  12   LLC are not Vehicle Manufacturer Defendants, Plaintiffs discuss them in this
  13   section given their close relationship with Hyundai Motor Co., Ltd.; Hyundai Motor
  14   America, Inc.; Kia Motors Corporation; and Kia Motors America.
  15               a.     The Hyundai-Kia Defendants
  16         43.   The Hyundai Defendants (or “Hyundai”) are Hyundai Motor Co., Ltd.;
  17   Hyundai Motor America, Inc. The Kia Defendants (or “Kia”) are Kia Motors
  18   Corporation and Kia Motors America, Inc. Hyundai MOBIS Co. Ltd. and Mobis
  19   Parts America, LLC are the Hyundai MOBIS Defendants (together, “Hyundai
  20   MOBIS”). The Hyundai-Kia Defendants are Hyundai, Kia, and Hyundai MOBIS.
  21         44.   Hyundai Motor Co., Ltd. is a foreign corporation headquartered in
  22   Seoul, South Korea. Hyundai Motor Co., Ltd. is one of the largest automobile
  23   manufacturers in the world. It designs, develops, manufactures, markets, and sells
  24   automobiles around the world, including in the United States.
  25         45.   Hyundai Motor America, Inc. is a California corporation doing
  26   business throughout the United States and headquartered in Fountain Valley,
  27   California. Hyundai Motor Co., Ltd. is the parent company of Hyundai Motor
  28

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   1   America, Inc. Hyundai Motor America, Inc. makes and/or sells automobiles in the
   2   United States.
   3          46.   Kia Motors Corporation is a foreign corporation headquartered in
   4   Seoul, South Korea. Kia Motors Corporation’s largest shareholder is Hyundai
   5   Motor Co., Ltd., which owns roughly 34% of Kia Motors Corporation. Kia Motors
   6   Corporation also has a large stake in several Hyundai Motor Co., Ltd. companies.
   7   Kia Motors Corporation is one of the largest automobile manufacturers in the
   8   world. It designs, develops, manufactures, markets, and sells automobiles around
   9   the world, including in the United States.
  10          47.   Kia Motors America, Inc. is a subsidiary of Kia Motors Corporation
  11   and was incorporated in the state of California on October 21, 1992 as the
  12   American sales, marketing, and distribution arm of Kia Motors Corporation, with
  13   its principal place of business in Irvine, California. Kia Motors America, Inc. makes
  14   and/or sells automobiles in the United States.
  15          48.   Hyundai MOBIS Co. Ltd. is a foreign corporation headquartered in
  16   Seoul, South Korea. Kia Motors Corporation and several Hyundai affiliates own
  17   more than 20% of Hyundai MOBIS Co. Ltd.’s stock. Hyundai Mobis Co.’s largest
  18   shareholder is Kia Motors Corporation, which owns approximately 16.88% of the
  19   shares. Hyundai Mobis Co. Ltd. owns approximately 21% of Hyundai Motor Co.,
  20   Ltd.
  21          49.   Mobis Parts America, LLC is a Delaware limited liability company
  22   with its principal place of business located at 10550 Talbert Ave., 4th Floor,
  23   Fountain Valley, California 92708. MOBIS Parts America, LLC is a wholly owned
  24   subsidiary of Hyundai Mobis Co. Ltd. and engages in business activities in
  25   furtherance of the interests of Hyundai Mobis Co. Ltd. Hyundai Mobis Co. Ltd. is
  26   the parent company of Mobis Parts America, LLC.
  27
  28

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   1         50.    Hyundai MOBIS manufactures, supplies, and distributes automotive
   2   parts to the Hyundai-Kia Defendants, including some of the defective ZF TRW
   3   ACUs. 6
   4         51.    Mobis Parts America, LLC imports, supplies, and provides logistical
   5   support for automotive parts for Hyundai and Kia-branded vehicles that are either
   6   imported into, or manufactured in, the United States. Additionally, upon
   7   information and belief, Mobis Parts America, LLC shares the same headquarters as
   8   Hyundai Motors America, Inc. in Fountain Valley, California.
   9               b.     The FCA Defendants
  10         52.    The FCA Defendants (together, "FCA") are Fiat Chrysler Automobiles
  11   N.V. andFCA USLLC.
  12         53.   Fiat Chrysler Automobiles N.V. is a public limited liability company
  13   organized under the laws of the Netherlands, with its principal place of business
  14   located at headquartered in 25 St. James's Street, London, United Kingdom. Fiat
  15   Chrysler Automobiles N.V. is the parent company of a global automotive group
  16   engaged in designing, engineering, manufacturing, distributing, and selling
  17   vehicles, components, and production systems around the world, including in the
  18   United States. Fiat Chrysler Automobiles N.V.'s stock is publicly traded on the
  19   New York Stock Exchange.
  20         54.    FCA US LLC is a Delaware limited liability company with its
  21   principal place of business and headquarters located at 1000 Chrysler Drive,
  22   Aubun1 Hills, Michigan. FCA US LLC is a wholly owned subsidiary of Fiat
  23   Chrysler Automobiles, N.V., and it engages in business activities in furtherance of
  24   the interests of Fiat Chrysler Automobiles N.V.
  25
  26
  27
  28

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   1         55.    FCA US LLC is in the business of designing, developing,
   2   manufacturing, marketing, and selling automobiles in the United States.
   3                c.     The Toyota Defendants
   4         56.    The Toyota Defendants (together, “Toyota”) are Toyota Motor
   5   Corporation; Toyota Motor North America Inc.; Toyota Motor Engineering &
   6   Manufacturing North America, Inc.; and Toyota Motor Sales, U.S.A., Inc.
   7         57.    Defendant Toyota Motor Corporation is a Japanese Corporation
   8   headquartered in Toyota City, Aichi Prefecture, Japan. Toyota is the world’s largest
   9   automaker and is in the business of designing, developing, manufacturing,
  10   marketing, and selling automobiles around the world, including in the United
  11   States.
  12         58.    Toyota Motor North America, Inc. is a California corporation and
  13   wholly owned U.S. subsidiary of Toyota Motor Corporation with its principal place
  14   of business located at 6565 Headquarters Drive, Plano, Texas. It has additional
  15   offices in Torrance, California; Georgetown, Kentucky; Washington, DC; Ann
  16   Arbor, Michigan; New York City, New York; and San Ramon, California. Toyota
  17   Motor North America, Inc. is the holding company for Toyota Motor Corporation’s
  18   North American operations and engages in business activities in furtherance of the
  19   interests of Toyota Motor Corporation, including Toyota Motor Corporation’s sales
  20   in all 50 states and the District of Columbia.
  21         59.    Toyota Motor Engineering & Manufacturing North America, Inc. is a
  22   Kentucky corporation doing business throughout the United States. It is a wholly
  23   owned subsidiary of Toyota Motor Corporation with its principal place of business
  24   at 25 Atlantic Avenue, Erlanger, Kentucky 41018. It also has major operations in
  25   Arizona, California, and Michigan. Toyota Motor Engineering & Manufacturing
  26   North America, Inc. provides centralized support to Toyota’s North American
  27   manufacturing plants in several key areas such as purchasing, production control,
  28   production engineering, quality control, environmental, and administration. It

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   1   shares responsibility for Toyota’s engineering, design, research and development,
   2   and manufacturing activities with Toyota’s fourteen plants in the United States,
   3   Canada, and Mexico. Some of those manufacturing plants across the United States
   4   include Toyota Motor Manufacturing Alabama, Toyota Motor Manufacturing
   5   Indiana, Toyota Motor Manufacturing Kentucky, Toyota Motor Manufacturing
   6   Texas, Toyota Motor Manufacturing West Virginia, Toyota Motor Manufacturing
   7   de Baja California, and TABC in Long Beach, California.
   8         60.    Toyota Motor Sales, U.S.A., Inc. is a California corporation and
   9   wholly owned American subsidiary of Toyota Motor Corporation that engages in
  10   business activities in furtherance of the interests of its parent, including marketing,
  11   sales, and distribution of Toyota automobiles in all 50 states and the District of
  12   Columbia. From the time it was founded in 1957 through 2017, Toyota Motor
  13   Sales, U.S.A., Inc.’s former principal place of business was located in Torrance,
  14   California. In 2017, Toyota Motor Sales, U.S.A., Inc. moved to a new campus
  15   facility in Plano, Texas. Toyota Motor Sales, U.S.A., Inc. currently has
  16   approximately 8,900 employees and sells its vehicles through a network of 1,800
  17   authorized dealerships throughout the United States.
  18                d.     The Honda Defendants
  19         61.    The Honda Defendants (together, “Honda”) are Honda Motor Co.,
  20   Ltd.; American Honda Motor Co., Inc.; Honda of America Mfg., Inc.; Honda R&D
  21   Co., Ltd.; and Honda R&D Americas, Inc.
  22         62.    Honda Motor Co., Ltd. is a Japanese corporation with its principal
  23   place of business in Tokyo, Japan. It is one of the largest automobile manufacturers
  24   in the world, and it is in the business of designing, developing, manufacturing,
  25   marketing, and selling automobiles around the world, including in the United
  26   States.
  27         63.    American Honda Motor Co., Inc. is a California corporation doing
  28   business throughout the United States. Its headquarters are located in Torrance,

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   1   California. American Honda Motor Co., Inc. is a wholly owned U.S. subsidiary of
   2   Honda Motor Co., Ltd., and it engages in business activities in furtherance of the
   3   interests of Honda Motor Co., Ltd., including the advertising, marketing, lease, and
   4   sale of Honda automobiles in all 50 states and the District of Columbia. It has
   5   approximately 31,000 employees in the United States and sells its vehicles through
   6   its authorized dealership network.
   7            64.   Honda of America Mfg., Inc. is an Ohio corporation with its principal
   8   place of business in Marysville, Ohio. American Honda Mfg., Inc. is a wholly
   9   owned subsidiary of Honda Motor Co., Ltd. It manufacturers Honda vehicles in the
  10   United States.
  11            65.   Honda R&D Co., Ltd. is a limited company or operating unit within
  12   Honda Motor Co., Ltd., with its principal place of business located in Saitama,
  13   Japan. Honda R&D Co., Ltd. is a wholly owned Japanese subsidiary of Honda
  14   Motor Co., Ltd. It designs, builds prototypes, and tests automobiles and automobile
  15   parts.
  16            66.   Honda R&D Americas, Inc. is a California corporation within Honda
  17   Motor Co., Ltd., with its principal place of business located in Torrance, California.
  18   Honda R&D Americas, Inc. is a wholly owned U.S. subsidiary of Honda Motor
  19   Co., Ltd. and it engages in the development of engines for Honda automobiles,
  20   motorcycles, all-terrain vehicles, lawnmowers, boats, and jet engines.
  21                  e.    The Mitsubishi Defendants
  22            67.   The Mitsubishi Defendants (together, “Mitsubishi”) are Mitsubishi
  23   Motors North America, Inc. and Mitsubishi Motors Corporation.
  24            68.   Mitsubishi Motors Corporation is a Japanese corporation with its
  25   principal place of business located at 1-21, Shibaura 3chome, Minato-ku, Tokyo,
  26   Japan. Mitsubishi Motors Corporation, along with its subsidiaries, develops,
  27   manufactures, and sells automobiles, parts, and powertrains worldwide, including
  28   in the United States.

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   1           69.   Defendant Mitsubishi Motors North America, Inc. is incorporated in
   2   California and has its administrative headquarters located at 3401 Mallory Lane,
   3   Franklin, Tennessee 37067. In a June 2019 press release, Mitsubishi touted its roots
   4   going back to 1988 in Cypress and Fountain Valley, California before it moved its
   5   headquarters to Tennessee in 2019.
   6           70.   Mitsubishi Motors North America, Inc. is a wholly owned subsidiary
   7   of Mitsubishi Motors Corporation, and it engages in business activities in
   8   furtherance of the interests of Mitsubishi Motors Corporation. Mitsubishi Motors
   9   North America, Inc. is responsible for the research and development, marketing,
  10   sale, and customer service of Mitsubishi-branded vehicles in the United States.
  11           71.   Until 2015, Mitsubishi Motors North America, Inc. had a
  12   manufacturing plant located in Nonnal, Illinois. This plant closed.
  13   B.      Plaintiffs
  14           72.   For ease of reference, the following chart identifies the representative
  15   Plaintiffs and the state(s) in which they reside and purchased or leased their Class
  16   Vehicles:
  17                               ~tate
                Class              of      State          Model
  18        Representative                   of
                                Purchase Residence        Year          Make&Model
                                 /Lease
  19
             Sigfredo Rubio        AL       AL             2015           Acura TLX
  20
              James Kneup           AZ           AZ        2013          Jeep Wrangler
  21
         Remigiusz Rundzio          CA           CA        2012          Jeep Wrangler
  22         Steve Laveaux          CA           CA        2014          Jeep Wrangler
  23          Kevin Burns           CA           CA        2013       Honda Civic Hybrid
  24
         Michael Hernandez          CA           CA        2019         Hyundai Sonata
  25        Bonnie Dellatorre       CA           CA        2013       Kia Optima Hybrid
  26        Lore VanHouten          CA           CA        2018           Kia Optima
  27         Donna Ronan            CA           CA        2017        Mitsubishi Lancer
  28

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   1                            State    State
              Class              of        of      Model       Make &Model
   2      Representative      Purchase Residence   Year
                               /Lease
   3
           Tiffany Ecklor       CA         CA       2013    Mitsubishi Outlander
   4
          Gaylynn Sanchez       CA         CA       2015      Mitsubishi Lancer
   5        Mark Altier         CA         CA       2014       Toyota Tacoma
   6     Alejandra Renteria     CA         CA       2013    Toyota Corolla Matrix
   7      Michael Nearing       co         co       2014      M itsubishi Lancer
   8        Paul Huitzil        CT         CT       2013       Honda Accord
   9       Moises Senti         FL         FL       2016        Jeep Wrangler
  10        Jan Freyman         FL         FL       2017         Jeep Patriot
  11        Max1m111ian         FL         FL       2015        Jeep Compass
               Accetta
  12         .Fredencka         FL         FL       2013       Honda Accord
             McPherson
  13       Brian Chaiken        FL         FL       2013        Honda CR-V
  14     Carl Paul Maurilus     FL         FL       2017   Hyundai Sonata Hybrid
  15        John Colbert        FL         FL       2016         Kia Optima
  16     Lawrence Graziano      FL         FL       2018         Kia Optima
  17       Samuel Choe          FL         FL       2013       Toyota Tacoma
  18       Tatiana Gales        FL         FL       2015       Toyota Corolla
  19      Dorothy Cooks         FL         FL       2018       Toyota Corolla
  20      Ricky Gerischer       IL         IA       2018       H yundai Sonata
  21     Amanda Swanson         IL          IL      2017         Kia Optiina
  22       Brian Collins        IL          IL      2018         Kia Optiina
  23        Carl Miller         IN         IN       2016         Kia Optima
  24      Kenneth Ogorek        IN         IN       2014         Kia Sedona
  25      Carma Rockers         KS         KS       2013       H yundai Sonata
  26       Tammy Tyler          LA         LA       2013          Kia Forte
  27       Joseph Fuller        MD        MD        2014       H yundai Sonata
  28        Tina Fuller         MD        MD        2014       H yundai Sonata

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   1                           State    State
              Class             of        of       Model       Make &Model
   2      Representative     Purchase Residence    Year
                              /Lease
   3
            DianaKing          MD       MD          2014         Kia Sedona
   4          Dylan
           DeMoranville        MA         MA        2013         Kia Optima
   5       Kinyata Jones        MI         MI       2013         Kia Optima
   6       Steve Keister       MN          WI       2010        Dodge Nitro
   7      Carolyn Nelson       MN         MN        2013     Honda Civic Hybrid
   8         tlobb1 Jo         MN          WI       2015         Kia Optima
           Birk-LaBarge
   9
          Dan Sutterfield      MO         MO        2013          Kia Forte
  10       Barry Adams         MT          MT       2011         Ram 1500
  11       Gary Samouris       NV          NV       2018       Toyota Tacoma
  12      Gersen Damens         NJ         NJ       2015         Kia Optima
  13       Eric Fishon         NY          NY       2014        Jeep Wrangler
  14      Rav1chandran
                               NY          NY       2014        Honda Civic
            Namakkal
  15    Constanza Gonzalez     NC          NC       2012        Jeep Wrangler
  16      Tonya McNeely        NC          NC       2012        Honda Civic
  17        James Dean         OK          OK       2015          Fiat 500
  18        Larae Angel        PA          PA       2013    Hyundai Sonata Hybrid
  19      Richard Kintzel      PA          PA       2016         Kia Optima
  20       Michael Hines        SC         FL       201 2      Toyota Tundra
  21       Desiree Meyer        SD        WY        2012        Jeep Liberty
  22     Deloras McMurray      TN          TN       2014       Hyundai Sonata
  23       John Robinson       TX          OK       2009         Ram 1500
  24      Angela Bowens        TX          TX       2015        Honda Civic
  25      Burton Reckles       TX          TX       2013       Hyundai Sonata
  26      Brent DeRouen        TX          TX       2016       Toyota Tundra
  27        Danny Hunt         TX          TX       2014       Toyota Tacoma
  28        Evan Green         TX          TX       2015       Toyota Tacoma

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   1                              State    State
               Class               of        of           Model        Make &Model
   2       Representative       Purchase Residence        Year
                                 /Lease
   3          Joy Davis            TX       OR             2014         Toyota Corolla
   4        Ann Harland            VA           VA         2013             Fiat 500
   5       Dragan Jagnjic          WA           WA         2013    Hyundai Sonata Hybrid
   6        Dee Roberts            WA           WA         2013        Toyota Avalon
   7       John Sancomb            WI           WI         2013       Mitsub1sh1 Lancer
                                                                          Sportback
   8
             i.     Hyundai-Kia Plaintiffs
   9
             73.    Plaintiff Michael Hernandez ("Plaintiff' for the purposes of this
  10
       paragraph) is an individual residing in Aliso Viejo, California. In or around March
  11
       2019, Plaintiff leased a new 2019 Hyundai Sonata (for purposes of Plaintiffs
  12
       allegations, the "Class Vehicle") from Tuttle-Click Hyundai, an authorized Hyundai
  13
       dealership located in Irvine, California. At the time Plaintiff acquired the Class
  14
       Vehicle, Plaintiff had a reasonable expectation that the Class Vehicle had working
  15
       airbags and seatbelts, and Plaintiff had no way of knowing that the Class Vehicle
  16
       contained a defective ACU that could cause the airbags and seatbelts to not function
  17
       during a crash. Hyundai, Hyundai MOBIS, ZF TRW, and STMicro concealed the
  18
       existence of the defective ACU from consumers like Plaintiff, and this concealed
  19
       information would have been material to Plaintiffs decision to acquire the Class
  20
       Vehicle. Plaintiff has suffered a concrete injury as a result of Hyundai, Hyundai
  21
       MOBIS, ZF TRW, and STMicro's misconduct, and did not receive the full benefit
  22
       of the bargain in acquiring the Class Vehicle. Plaintiff would not have leased the
  23
       Class Vehicle, or would have paid less for it, if Hyundai, Hyundai MOBIS, ZF
  24
       TRW, and/or STMicro did not conceal material information regarding the vehicle's
  25
       defective ACU.
  26
             74.    Plaintiff Bonnie Dellatorre ("Plaintiff' for the purposes of this
  27
       paragraph) is an individual residing in Lake Forest, California. On or around
  28

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   1   October 14, 2013, Plaintiff purchased a new 2013 Kia Optima Hybrid (for purposes
   2   of Plaintiff’s allegations, the “Class Vehicle”) from Kia of Irvine, an authorized Kia
   3   dealership located in Irvine, California. At the time Plaintiff acquired the Class
   4   Vehicle, Plaintiff had a reasonable expectation that the Class Vehicle had working
   5   airbags and seatbelts, and Plaintiff had no way of knowing that the Class Vehicle
   6   contained a defective ACU that could cause the airbags and seatbelts to not function
   7   during a crash. Kia, Hyundai MOBIS, ZF TRW, and STMicro concealed the
   8   existence of the defective ACU from consumers like Plaintiff, and this concealed
   9   information would have been material to Plaintiff’s decision to acquire the Class
  10   Vehicle. Plaintiff has suffered a concrete injury as a result of Kia, Hyundai MOBIS,
  11   ZF TRW, and STMicro’s misconduct, and did not receive the full benefit of the
  12   bargain in acquiring the Class Vehicle. Plaintiff would not have purchased the
  13   Class Vehicle, or would have paid less for it, if Kia, Hyundai MOBIS, ZF TRW,
  14   and/or STMicro did not conceal material information regarding the vehicle’s
  15   defective ACU.
  16         75.    Plaintiff Lore VanHouten (“Plaintiff” for the purposes of this
  17   paragraph) is an individual residing in Murrieta, California. On or around
  18   September 9, 2018, Plaintiff leased a new 2018 Kia Optima (for purposes of
  19   Plaintiff’s allegations, the “Class Vehicle”) from North County Kia, an authorized
  20   Kia dealership located in Escondido, California. At the time Plaintiff acquired the
  21   Class Vehicle, Plaintiff had a reasonable expectation that the Class Vehicle had
  22   working airbags and seatbelts, and Plaintiff had no way of knowing that the Class
  23   Vehicle contained a defective ACU that could cause the airbags and seatbelts to not
  24   function during a crash. Kia, Hyundai MOBIS, ZF TRW, and STMicro concealed
  25   the existence of the defective ACU from consumers like Plaintiff, and this
  26   concealed information would have been material to Plaintiff’s decision to acquire
  27   the Class Vehicle. Plaintiff has suffered a concrete injury as a result of Kia,
  28   Hyundai MOBIS, ZF TRW, and STMicro’s misconduct, and did not receive the full

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   1   benefit of the bargain in acquiring the Class Vehicle. Plaintiff would not have
   2   leased the Class Vehicle, or would have paid less for it, if Kia, Hyundai MOBIS,
   3   ZF TRW, and/or STMicro did not conceal material information regarding the
   4   vehicle’s defective ACU.
   5         76.    Plaintiff Carl Paul Maurilus (“Plaintiff” for the purposes of this
   6   paragraph) is an individual residing in Orlando, Florida. On or around March 19,
   7   2017, Plaintiff purchased a new 2017 Hyundai Sonata Hybrid (for purposes of
   8   Plaintiff’s allegations, the “Class Vehicle”) from Rick Case Hyundai, an authorized
   9   Hyundai dealership located in Davie, Florida. At the time Plaintiff acquired the
  10   Class Vehicle, Plaintiff had a reasonable expectation that the Class Vehicle had
  11   working airbags and seatbelts, and Plaintiff had no way of knowing that the Class
  12   Vehicle contained a defective ACU that could cause the airbags and seatbelts to not
  13   function during a crash. Hyundai, Hyundai MOBIS, ZF TRW, and STMicro
  14   concealed the existence of the defective ACU from consumers like Plaintiff, and
  15   this concealed information would have been material to Plaintiff’s decision to
  16   acquire the Class Vehicle. Plaintiff has suffered a concrete injury as a result of
  17   Hyundai, Hyundai MOBIS, ZF TRW, and STMicro’s misconduct, and did not
  18   receive the full benefit of the bargain in acquiring the Class Vehicle. Plaintiff would
  19   not have purchased the Class Vehicle, or would have paid less for it, if Hyundai,
  20   Hyundai MOBIS, ZF TRW, and/or STMicro did not conceal material information
  21   regarding the vehicle’s defective ACU.
  22         77.    Plaintiff John Colbert (“Plaintiff” for the purposes of this paragraph) is
  23   an individual residing in Crestview, Florida. On or around May 16, 2016, Plaintiff
  24   purchased a new 2016 Kia Optima (for purposes of Plaintiff’s allegations, the
  25   “Class Vehicle”) from Kia Fort Walton Beach, an authorized Kia dealership located
  26   in Fort Walton Beach, Florida. At the time Plaintiff acquired the Class Vehicle,
  27   Plaintiff had a reasonable expectation that the Class Vehicle had working airbags
  28   and seatbelts, and Plaintiff had no way of knowing that the Class Vehicle contained

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   1   a defective ACU that could cause the airbags and seatbelts to not function during a
   2   crash. Kia, Hyundai MOBIS, ZF TRW, and STMicro concealed the existence of the
   3   defective ACU from consumers like Plaintiff, and this concealed information would
   4   have been material to Plaintiff’s decision to acquire the Class Vehicle. Plaintiff has
   5   suffered a concrete injury as a result of Kia, Hyundai MOBIS, ZF TRW, and
   6   STMicro’s misconduct, and did not receive the full benefit of the bargain in
   7   acquiring the Class Vehicle. Plaintiff would not have purchased the Class Vehicle,
   8   or would have paid less for it, if Kia, Hyundai MOBIS, ZF TRW, and/or STMicro
   9   did not conceal material information regarding the vehicle’s defective ACU.
  10         78.    Plaintiff Lawrence Graziano (“Plaintiff” for the purposes of this
  11   paragraph) is an individual residing in Windermere, Florida. On or around April 10,
  12   2018, Plaintiff leased a new 2018 Kia Optima (for purposes of Plaintiff’s
  13   allegations, the “Class Vehicle”) from Greenway Kia, an authorized Kia dealership
  14   located in Orlando, Florida. At the time Plaintiff acquired the Class Vehicle,
  15   Plaintiff had a reasonable expectation that the Class Vehicle had working airbags
  16   and seatbelts, and Plaintiff had no way of knowing that the Class Vehicle contained
  17   a defective ACU that could cause the airbags and seatbelts to not function during a
  18   crash. Kia, Hyundai MOBIS, ZF TRW, and STMicro concealed the existence of the
  19   defective ACU from consumers like Plaintiff, and this concealed information would
  20   have been material to Plaintiff’s decision to acquire the Class Vehicle. Plaintiff has
  21   suffered a concrete injury as a result of Kia, Hyundai MOBIS, ZF TRW, and
  22   STMicro’s misconduct, and did not receive the full benefit of the bargain in
  23   acquiring the Class Vehicle. Plaintiff would not have leased the Class Vehicle, or
  24   would have paid less for it, if Kia, Hyundai MOBIS, ZF TRW, and/or STMicro did
  25   not conceal material information regarding the vehicle’s defective ACU.
  26         79.    Plaintiff Ricky Gerischer (“Plaintiff” for the purposes of this
  27   paragraph) is an individual residing in Preston, Iowa. On or around November 16,
  28   2018, Plaintiff purchased a new 2018 Hyundai Sonata (for purposes of Plaintiff’s

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   1   allegations, the “Class Vehicle”) from Green Family Hyundai, an authorized
   2   Hyundai dealership located in Moline, Illinois. At the time Plaintiff acquired the
   3   Class Vehicle, Plaintiff had a reasonable expectation that the Class Vehicle had
   4   working airbags and seatbelts, and Plaintiff had no way of knowing that the Class
   5   Vehicle contained a defective ACU that could cause the airbags and seatbelts to not
   6   function during a crash. Hyundai, Hyundai MOBIS, ZF TRW, and STMicro
   7   concealed the existence of the defective ACU from consumers like Plaintiff, and
   8   this concealed information would have been material to Plaintiff’s decision to
   9   acquire the Class Vehicle. Plaintiff has suffered a concrete injury as a result of
  10   Hyundai, Hyundai MOBIS, ZF TRW, and STMicro’s misconduct, and did not
  11   receive the full benefit of the bargain in acquiring the Class Vehicle. Plaintiff would
  12   not have purchased the Class Vehicle, or would have paid less for it, if Hyundai,
  13   Hyundai MOBIS, ZF TRW, and/or STMicro did not conceal material information
  14   regarding the vehicle’s defective ACU.
  15         80.    Plaintiff Amanda Swanson (“Plaintiff” for the purposes of this
  16   paragraph) is an individual residing in Romeoville, Illinois. On or around October
  17   21, 2017, Plaintiff purchased a new 2017 Kia Optima (for purposes of Plaintiff’s
  18   allegations, the “Class Vehicle”) from World Kia Joliet, an authorized Kia
  19   dealership located in Joliet, Illinois. At the time Plaintiff acquired the Class
  20   Vehicle, Plaintiff had a reasonable expectation that the Class Vehicle had working
  21   airbags and seatbelts, and Plaintiff had no way of knowing that the Class Vehicle
  22   contained a defective ACU that could cause the airbags and seatbelts to not function
  23   during a crash. Kia, Hyundai MOBIS, ZF TRW, and STMicro concealed the
  24   existence of the defective ACU from consumers like Plaintiff, and this concealed
  25   information would have been material to Plaintiff’s decision to acquire the Class
  26   Vehicle. Plaintiff has suffered a concrete injury as a result of Kia, Hyundai MOBIS,
  27   ZF TRW, and STMicro’s misconduct, and did not receive the full benefit of the
  28   bargain in acquiring the Class Vehicle. Plaintiff would not have purchased the

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   1   Class Vehicle, or would have paid less for it, if Kia, Hyundai MOBIS, ZF TRW,
   2   and/or STMicro did not conceal material information regarding the vehicle’s
   3   defective ACU.
   4         81.    Plaintiff Brian Collins (“Plaintiff” for the purposes of this paragraph)
   5   is an individual residing in Wheaton, Illinois. On or around July 2, 2018, Plaintiff
   6   purchased a new 2018 Kia Optima (for purposes of Plaintiff’s allegations, the
   7   “Class Vehicle”) from Gerald Kia, an authorized Kia dealership located in
   8   Naperville, Illinois. At the time Plaintiff acquired the Class Vehicle, Plaintiff had a
   9   reasonable expectation that the Class Vehicle had working airbags and seatbelts,
  10   and Plaintiff had no way of knowing that the Class Vehicle contained a defective
  11   ACU that could cause the airbags and seatbelts to not function during a crash. Kia,
  12   Hyundai MOBIS, ZF TRW, and STMicro concealed the existence of the defective
  13   ACU from consumers like Plaintiff, and this concealed information would have
  14   been material to Plaintiff’s decision to acquire the Class Vehicle. Plaintiff has
  15   suffered a concrete injury as a result of Kia, Hyundai MOBIS, ZF TRW, and
  16   STMicro’s misconduct, and did not receive the full benefit of the bargain in
  17   acquiring the Class Vehicle. Plaintiff would not have purchased the Class Vehicle,
  18   or would have paid less for it, if Kia, Hyundai MOBIS, ZF TRW, and/or STMicro
  19   did not conceal material information regarding the vehicle’s defective ACU.
  20         82.    Plaintiff Carl Miller (“Plaintiff” for the purposes of this paragraph) is
  21   an individual residing in Indianapolis, Indiana. On or around October 22, 2016,
  22   Plaintiff purchased a new 2016 Kia Optima (for purposes of Plaintiff’s allegations,
  23   the “Class Vehicle”) from Ray Skillman Kia, an authorized Kia dealership located
  24   in Indianapolis, Indiana. At the time Plaintiff acquired the Class Vehicle, Plaintiff
  25   had a reasonable expectation that the Class Vehicle had working airbags and
  26   seatbelts, and Plaintiff had no way of knowing that the Class Vehicle contained a
  27   defective ACU that could cause the airbags and seatbelts to not function during a
  28   crash. Kia, Hyundai MOBIS, ZF TRW, and STMicro concealed the existence of the

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   1   defective ACU from consumers like Plaintiff, and this concealed information would
   2   have been material to Plaintiff’s decision to acquire the Class Vehicle. Plaintiff has
   3   suffered a concrete injury as a result of Kia, Hyundai MOBIS, ZF TRW, and
   4   STMicro’s misconduct, and did not receive the full benefit of the bargain in
   5   acquiring the Class Vehicle. Plaintiff would not have purchased the Class Vehicle,
   6   or would have paid less for it, if Kia, Hyundai MOBIS, ZF TRW, and/or STMicro
   7   did not conceal material information regarding the vehicle’s defective ACU.
   8         83.    Plaintiff Kenneth Ogorek (“Plaintiff” for the purposes of this
   9   paragraph) is an individual residing in Indianapolis, Indiana. On or around July 26,
  10   2013, Plaintiff purchased a new 2014 Kia Sedona (for purposes of Plaintiff’s
  11   allegations, the “Class Vehicle”) from Napleton Kia of Fishers, an authorized Kia
  12   dealership located in Fishers, Indiana. At the time Plaintiff acquired the Class
  13   Vehicle, Plaintiff had a reasonable expectation that the Class Vehicle had working
  14   airbags and seatbelts, and Plaintiff had no way of knowing that the Class Vehicle
  15   contained a defective ACU that could cause the airbags and seatbelts to not function
  16   during a crash. Kia, Hyundai MOBIS, ZF TRW, and STMicro concealed the
  17   existence of the defective ACU from consumers like Plaintiff, and this concealed
  18   information would have been material to Plaintiff’s decision to acquire the Class
  19   Vehicle. Plaintiff has suffered a concrete injury as a result of Kia, Hyundai MOBIS,
  20   ZF TRW, and STMicro’s misconduct, and did not receive the full benefit of the
  21   bargain in acquiring the Class Vehicle. Plaintiff would not have purchased the
  22   Class Vehicle, or would have paid less for it, if Kia, Hyundai MOBIS, ZF TRW,
  23   and/or STMicro did not conceal material information regarding the vehicle’s
  24   defective ACU.
  25         84.    Plaintiff Carma Rockers (“Plaintiff” for the purposes of this paragraph)
  26   is an individual residing in Olathe, Kansas. On or around September 21, 2013,
  27   Plaintiff purchased a new 2013 Hyundai Sonata (for purposes of Plaintiff’s
  28   allegations, the “Class Vehicle”) from McCarthy Olathe Hyundai, an authorized

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   1   Hyundai dealership located in Olathe, Kansas. At the time Plaintiff acquired the
   2   Class Vehicle, Plaintiff had a reasonable expectation that the Class Vehicle had
   3   working airbags and seatbelts, and Plaintiff had no way of knowing that the Class
   4   Vehicle contained a defective ACU that could cause the airbags and seatbelts to not
   5   function during a crash. Hyundai, Hyundai MOBIS, ZF TRW, and STMicro
   6   concealed the existence of the defective ACU from consumers like Plaintiff, and
   7   this concealed information would have been material to Plaintiff’s decision to
   8   acquire the Class Vehicle. Plaintiff has suffered a concrete injury as a result of
   9   Hyundai, Hyundai MOBIS, ZF TRW, and STMicro’s misconduct, and did not
  10   receive the full benefit of the bargain in acquiring the Class Vehicle. Plaintiff would
  11   not have purchased the Class Vehicle, or would have paid less for it, if Hyundai,
  12   Hyundai MOBIS, ZF TRW, and/or STMicro did not conceal material information
  13   regarding the vehicle’s defective ACU.
  14         85.    Plaintiff Tammy Tyler (“Plaintiff” for the purposes of this paragraph)
  15   is an individual residing in Baton Rouge, Louisiana. In or around January 2013,
  16   Plaintiff purchased a new 2013 Kia Forte (for purposes of Plaintiff’s allegations,
  17   the “Class Vehicle”) from All Star Kia of Baton Rouge, an authorized Kia
  18   dealership located in Baton Rouge, Louisiana. At the time Plaintiff acquired the
  19   Class Vehicle, Plaintiff had a reasonable expectation that the Class Vehicle had
  20   working airbags and seatbelts, and Plaintiff had no way of knowing that the Class
  21   Vehicle contained a defective ACU that could cause the airbags and seatbelts to not
  22   function during a crash. Kia, Hyundai MOBIS, ZF TRW, and STMicro concealed
  23   the existence of the defective ACU from consumers like Plaintiff, and this
  24   concealed information would have been material to Plaintiff’s decision to acquire
  25   the Class Vehicle. Plaintiff has suffered a concrete injury as a result of Kia,
  26   Hyundai MOBIS, ZF TRW, and STMicro’s misconduct, and did not receive the full
  27   benefit of the bargain in acquiring the Class Vehicle. Plaintiff would not have
  28   purchased the Class Vehicle, or would have paid less for it, if Kia, Hyundai

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   1   MOBIS, ZF TRW, and/or STMicro did not conceal material information regarding
   2   the vehicle’s defective ACU.
   3         86.    Plaintiff Joseph Fuller (“Plaintiff” for the purposes of this paragraph)
   4   is an individual residing in Middle River, Maryland. On or around April 28, 2014,
   5   Plaintiff purchased a new 2014 Hyundai Sonata (for purposes of Plaintiff’s
   6   allegations, the “Class Vehicle”) from Thompson Hyundai, an authorized Hyundai
   7   dealership located in Dundalk, Maryland. At the time Plaintiff acquired the Class
   8   Vehicle, Plaintiff had a reasonable expectation that the Class Vehicle had working
   9   airbags and seatbelts, and Plaintiff had no way of knowing that the Class Vehicle
  10   contained a defective ACU that could cause the airbags and seatbelts to not function
  11   during a crash. Hyundai, Hyundai MOBIS, ZF TRW, and STMicro concealed the
  12   existence of the defective ACU from consumers like Plaintiff, and this concealed
  13   information would have been material to Plaintiff’s decision to acquire the Class
  14   Vehicle. Plaintiff has suffered a concrete injury as a result of Hyundai, Hyundai
  15   MOBIS, ZF TRW, and STMicro’s misconduct, and did not receive the full benefit
  16   of the bargain in acquiring the Class Vehicle. Plaintiff would not have purchased
  17   the Class Vehicle, or would have paid less for it, if Hyundai, Hyundai MOBIS, ZF
  18   TRW, and/or STMicro did not conceal material information regarding the vehicle’s
  19   defective ACU.
  20         87.    Plaintiff Tina Fuller (“Plaintiff” for the purposes of this paragraph) is
  21   an individual residing in Middle River, Maryland. On or around April 29, 2014,
  22   Plaintiff purchased a new 2014 Hyundai Sonata (for purposes of Plaintiff’s
  23   allegations, the “Class Vehicle”) from Thompson Hyundai, an authorized Hyundai
  24   dealership located in Dundalk, Maryland. At the time Plaintiff acquired the Class
  25   Vehicle, Plaintiff had a reasonable expectation that the Class Vehicle had working
  26   airbags and seatbelts, and Plaintiff had no way of knowing that the Class Vehicle
  27   contained a defective ACU that could cause the airbags and seatbelts to not function
  28   during a crash. Hyundai, Hyundai MOBIS, ZF TRW, and STMicro concealed the

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   1   existence of the defective ACU from consumers like Plaintiff, and this concealed
   2   information would have been material to Plaintiff’s decision to acquire the Class
   3   Vehicle. Plaintiff has suffered a concrete injury as a result of Hyundai, Hyundai
   4   MOBIS, ZF TRW, and STMicro’s misconduct, and did not receive the full benefit
   5   of the bargain in acquiring the Class Vehicle. Plaintiff would not have purchased
   6   the Class Vehicle, or would have paid less for it, if Hyundai, Hyundai MOBIS, ZF
   7   TRW, and/or STMicro did not conceal material information regarding the vehicle’s
   8   defective ACU.
   9         88.    Plaintiff Diana King (“Plaintiff” for the purposes of this paragraph) is
  10   an individual residing in Sparrows Point, Maryland. On or around July 17, 2013,
  11   Plaintiff purchased a new 2014 Kia Sedona (for purposes of Plaintiff’s allegations,
  12   the “Class Vehicle”) from Bob Bell Nissan, located in Baltimore, Maryland. At the
  13   time Plaintiff acquired the Class Vehicle, Plaintiff had a reasonable expectation that
  14   the Class Vehicle had working airbags and seatbelts, and Plaintiff had no way of
  15   knowing that the Class Vehicle contained a defective ACU that could cause the
  16   airbags and seatbelts to not function during a crash. Kia, Hyundai MOBIS, ZF
  17   TRW, and STMicro concealed the existence of the defective ACU from consumers
  18   like Plaintiff, and this concealed information would have been material to
  19   Plaintiff’s decision to acquire the Class Vehicle. Plaintiff has suffered a concrete
  20   injury as a result of Kia, Hyundai MOBIS, ZF TRW, and STMicro’s misconduct,
  21   and did not receive the full benefit of the bargain in acquiring the Class Vehicle.
  22   Plaintiff would not have purchased the Class Vehicle, or would have paid less for it,
  23   if Kia, Hyundai MOBIS, ZF TRW, and/or STMicro did not conceal material
  24   information regarding the vehicle’s defective ACU.
  25         89.    Plaintiff Dylan DeMoranville (“Plaintiff” for the purposes of this
  26   paragraph) is an individual residing in East Freetown, Massachusetts. On or around
  27   April 14, 2017, Plaintiff purchased a used 2013 Kia Optima (for purposes of
  28   Plaintiff’s allegations, the “Class Vehicle”) from Route 44 Hyundai located in

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   1   Raynham, Massachusetts. The Class Vehicle was totaled in an accident where the
   2   airbags did not deploy on or around February 7, 2020. At the time Plaintiff acquired
   3   the Class Vehicle, Plaintiff had a reasonable expectation that the Class Vehicle had
   4   working airbags and seatbelts, and Plaintiff had no way of knowing that the Class
   5   Vehicle contained a defective ACU that could cause the airbags and seatbelts to not
   6   function during a crash. Kia, Hyundai MOBIS, ZF TRW, and STMicro concealed
   7   the existence of the defective ACU from consumers like Plaintiff, and this
   8   concealed information would have been material to Plaintiff’s decision to acquire
   9   the Class Vehicle. Plaintiff has suffered a concrete injury as a result of Kia,
  10   Hyundai MOBIS, ZF TRW, and STMicro’s misconduct, and did not receive the full
  11   benefit of the bargain in acquiring the Class Vehicle. Plaintiff would not have
  12   purchased the Class Vehicle, or would have paid less for it, if Kia, Hyundai
  13   MOBIS, ZF TRW, and/or STMicro did not conceal material information regarding
  14   the vehicle’s defective ACU.
  15         90.    Plaintiff Kinyata Jones (“Plaintiff” for the purposes of this paragraph)
  16   is an individual residing in Saint Joseph, Michigan. On or around March 16, 2015,
  17   Plaintiff purchased a used 2013 Kia Optima (for purposes of Plaintiff’s allegations,
  18   the “Class Vehicle”) from Signature Toyota located in Benton Harbor, Michigan.
  19   At the time Plaintiff acquired the Class Vehicle, Plaintiff had a reasonable
  20   expectation that the Class Vehicle had working airbags and seatbelts, and Plaintiff
  21   had no way of knowing that the Class Vehicle contained a defective ACU that
  22   could cause the airbags and seatbelts to not function during a crash. Kia, Hyundai
  23   MOBIS, ZF TRW, and STMicro concealed the existence of the defective ACU
  24   from consumers like Plaintiff, and this concealed information would have been
  25   material to Plaintiff’s decision to acquire the Class Vehicle. Plaintiff has suffered a
  26   concrete injury as a result of Kia, Hyundai MOBIS, ZF TRW, and STMicro’s
  27   misconduct, and did not receive the full benefit of the bargain in acquiring the Class
  28   Vehicle. Plaintiff would not have purchased the Class Vehicle, or would have paid

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   1   less for it, if Kia, Hyundai MOBIS, ZF TRW, and/or STMicro did not conceal
   2   material information regarding the vehicle’s defective ACU.
   3         91.    Plaintiff Bobbi Jo Birk-LaBarge (“Plaintiff” for the purposes of this
   4   paragraph) is an individual residing in Merrill, Wisconsin. On or around October
   5   24, 2014, Plaintiff purchased a new 2015 Kia Optima (for purposes of Plaintiff’s
   6   allegations, the “Class Vehicle”) from Luther Nissan Kia, an authorized Kia
   7   dealership located in Inver Grove Heights, Minnesota. At the time Plaintiff acquired
   8   the Class Vehicle, Plaintiff had a reasonable expectation that the Class Vehicle had
   9   working airbags and seatbelts, and Plaintiff had no way of knowing that the Class
  10   Vehicle contained a defective ACU that could cause the airbags and seatbelts to not
  11   function during a crash. Kia, Hyundai MOBIS, ZF TRW, and STMicro concealed
  12   the existence of the defective ACU from consumers like Plaintiff, and this
  13   concealed information would have been material to Plaintiff’s decision to acquire
  14   the Class Vehicle. Plaintiff has suffered a concrete injury as a result of Kia,
  15   Hyundai MOBIS, ZF TRW, and STMicro’s misconduct, and did not receive the full
  16   benefit of the bargain in acquiring the Class Vehicle. Plaintiff would not have
  17   purchased the Class Vehicle, or would have paid less for it, if Kia, Hyundai
  18   MOBIS, ZF TRW, and/or STMicro did not conceal material information regarding
  19   the vehicle’s defective ACU.
  20         92.    Plaintiff Dan Sutterfield (“Plaintiff” for the purposes of this paragraph)
  21   is an individual residing in Newburg, Missouri. On or around September 27, 2013,
  22   Plaintiff purchased a used 2013 Kia Forte (for purposes of Plaintiff’s allegations,
  23   the “Class Vehicle”) from Kia of Rolla, an authorized Kia dealership located in
  24   Rolla, Missouri. At the time Plaintiff acquired the Class Vehicle, Plaintiff had a
  25   reasonable expectation that the Class Vehicle had working airbags and seatbelts,
  26   and Plaintiff had no way of knowing that the Class Vehicle contained a defective
  27   ACU that could cause the airbags and seatbelts to not function during a crash. Kia,
  28   Hyundai MOBIS, ZF TRW, and STMicro concealed the existence of the defective

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   1   ACU from consumers like Plaintiff, and this concealed information would have
   2   been material to Plaintiff’s decision to acquire the Class Vehicle. Plaintiff has
   3   suffered a concrete injury as a result of Kia, Hyundai MOBIS, ZF TRW, and
   4   STMicro’s misconduct, and did not receive the full benefit of the bargain in
   5   acquiring the Class Vehicle. Plaintiff would not have purchased the Class Vehicle,
   6   or would have paid less for it, if Kia, Hyundai MOBIS, ZF TRW, and/or STMicro
   7   did not conceal material information regarding the vehicle’s defective ACU.
   8         93.    Plaintiff Gersen Damens (“Plaintiff” for the purposes of this
   9   paragraph) is an individual residing in Moorestown, New Jersey. On or around June
  10   30, 2015, Plaintiff leased a new 2015 Kia Optima (for purposes of Plaintiff’s
  11   allegations, the “Class Vehicle”) from Cherry Hill Kia, an authorized Kia
  12   dealership located in Cherry Hill, New Jersey. Plaintiff purchased the Class Vehicle
  13   at the end of the lease term on or around January 2, 2019. At the time Plaintiff
  14   acquired the Class Vehicle, Plaintiff had a reasonable expectation that the Class
  15   Vehicle had working airbags and seatbelts, and Plaintiff had no way of knowing
  16   that the Class Vehicle contained a defective ACU that could cause the airbags and
  17   seatbelts to not function during a crash. Kia, Hyundai MOBIS, ZF TRW, and
  18   STMicro concealed the existence of the defective ACU from consumers like
  19   Plaintiff, and this concealed information would have been material to Plaintiff’s
  20   decision to acquire the Class Vehicle. Plaintiff has suffered a concrete injury as a
  21   result of Kia, Hyundai MOBIS, ZF TRW, and STMicro’s misconduct, and did not
  22   receive the full benefit of the bargain in acquiring the Class Vehicle. Plaintiff would
  23   not have leased, and would not have ultimately purchased the Class Vehicle, or
  24   would have paid less for it, if Kia, Hyundai MOBIS, ZF TRW, and/or STMicro did
  25   not conceal material information regarding the vehicle’s defective ACU.
  26         94.    Plaintiff Larae Angel (“Plaintiff” for the purposes of this paragraph) is
  27   an individual residing in Smithfield, Pennsylvania. On or around May 4, 2013,
  28   Plaintiff purchased a new 2013 Hyundai Sonata Hybrid (for purposes of Plaintiff’s

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   1   allegations, the “Class Vehicle”) from Auto Land Hyundai of Uniontown, an
   2   authorized Hyundai dealership located in Uniontown, Pennsylvania. At the time
   3   Plaintiff acquired the Class Vehicle, Plaintiff had a reasonable expectation that the
   4   Class Vehicle had working airbags and seatbelts, and Plaintiff had no way of
   5   knowing that the Class Vehicle contained a defective ACU that could cause the
   6   airbags and seatbelts to not function during a crash. Hyundai, Hyundai MOBIS, ZF
   7   TRW, and STMicro concealed the existence of the defective ACU from consumers
   8   like Plaintiff, and this concealed information would have been material to
   9   Plaintiff’s decision to acquire the Class Vehicle. Plaintiff has suffered a concrete
  10   injury as a result of Hyundai, Hyundai MOBIS, ZF TRW, and STMicro’s
  11   misconduct, and did not receive the full benefit of the bargain in acquiring the Class
  12   Vehicle. Plaintiff would not have purchased the Class Vehicle, or would have paid
  13   less for it, if Hyundai, Hyundai MOBIS, ZF TRW, and/or STMicro did not conceal
  14   material information regarding the vehicle’s defective ACU.
  15         95.    Plaintiff Richard Kintzel (“Plaintiff” for the purposes of this
  16   paragraph) is an individual residing in Tremont, Pennsylvania. On or around
  17   December 30, 2015, Plaintiff purchased a new 2016 Kia Optima (for purposes of
  18   Plaintiff’s allegations, the “Class Vehicle”) from Savage Kia Inc., an authorized
  19   Kia dealership located in Reading, Pennsylvania. At the time Plaintiff acquired the
  20   Class Vehicle, Plaintiff had a reasonable expectation that the Class Vehicle had
  21   working airbags and seatbelts, and Plaintiff had no way of knowing that the Class
  22   Vehicle contained a defective ACU that could cause the airbags and seatbelts to not
  23   function during a crash. Kia, Hyundai MOBIS, ZF TRW, and STMicro concealed
  24   the existence of the defective ACU from consumers like Plaintiff, and this
  25   concealed information would have been material to Plaintiff’s decision to acquire
  26   the Class Vehicle. Plaintiff has suffered a concrete injury as a result of Kia,
  27   Hyundai MOBIS, ZF TRW, and STMicro’s misconduct, and did not receive the full
  28   benefit of the bargain in acquiring the Class Vehicle. Plaintiff would not have

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   1   purchased the Class Vehicle, or would have paid less for it, if Kia, Hyundai
   2   MOBIS, ZF TRW, and/or STMicro did not conceal material information regarding
   3   the vehicle’s defective ACU.
   4         96.    Plaintiff Deloras McMurray (“Plaintiff” for the purposes of this
   5   paragraph) is an individual residing in Franklin, Tennessee. On or around August
   6   28, 2014, Plaintiff purchased a new 2014 Hyundai Sonata (for purposes of
   7   Plaintiff’s allegations, the “Class Vehicle”) from Hyundai of Cool Springs, an
   8   authorized Hyundai dealership located in Franklin, Tennessee. At the time Plaintiff
   9   acquired the Class Vehicle, Plaintiff had a reasonable expectation that the Class
  10   Vehicle had working airbags and seatbelts, and Plaintiff had no way of knowing
  11   that the Class Vehicle contained a defective ACU that could cause the airbags and
  12   seatbelts to not function during a crash. Hyundai, Hyundai MOBIS, ZF TRW, and
  13   STMicro concealed the existence of the defective ACU from consumers like
  14   Plaintiff, and this concealed information would have been material to Plaintiff’s
  15   decision to acquire the Class Vehicle. Plaintiff has suffered a concrete injury as a
  16   result of Hyundai, Hyundai MOBIS, ZF TRW, and STMicro’s misconduct, and did
  17   not receive the full benefit of the bargain in acquiring the Class Vehicle. Plaintiff
  18   would not have purchased the Class Vehicle, or would have paid less for it, if
  19   Hyundai, Hyundai MOBIS, ZF TRW, and/or STMicro did not conceal material
  20   information regarding the vehicle’s defective ACU.
  21         97.    Plaintiff Burton Reckles (“Plaintiff” for the purposes of this paragraph)
  22   is an individual residing in Sugar Land, Texas. On or around August 16, 2012,
  23   Plaintiff purchased a new 2013 Hyundai Sonata (for purposes of Plaintiff’s
  24   allegations, the “Class Vehicle”) from Texan Hyundai, an authorized Hyundai
  25   dealership located in Rosenberg, Texas. At the time Plaintiff acquired the Class
  26   Vehicle, Plaintiff had a reasonable expectation that the Class Vehicle had working
  27   airbags and seatbelts, and Plaintiff had no way of knowing that the Class Vehicle
  28   contained a defective ACU that could cause the airbags and seatbelts to not function

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   1   during a crash. Hyundai, Hyundai MOBIS, ZF TRW, and STMicro concealed the
   2   existence of the defective ACU from consumers like Plaintiff, and this concealed
   3   information would have been material to Plaintiff’s decision to acquire the Class
   4   Vehicle. Plaintiff has suffered a concrete injury as a result of Hyundai, Hyundai
   5   MOBIS, ZF TRW, and STMicro’s misconduct, and did not receive the full benefit
   6   of the bargain in acquiring the Class Vehicle. Plaintiff would not have purchased
   7   the Class Vehicle, or would have paid less for it, if Hyundai, Hyundai MOBIS, ZF
   8   TRW, and/or STMicro did not conceal material information regarding the vehicle’s
   9   defective ACU.
  10         98.    Plaintiff Dragan Jagnjic (“Plaintiff” for the purposes of this paragraph)
  11   is an individual residing in Renton, Washington. On or around August 3, 2013,
  12   Plaintiff purchased a new 2013 Hyundai Sonata Hybrid (for purposes of Plaintiff’s
  13   allegations, the “Class Vehicle”) from Car Pros Hyundai, an authorized Hyundai
  14   dealership located in Renton, Washington. At the time Plaintiff acquired the Class
  15   Vehicle, Plaintiff had a reasonable expectation that the Class Vehicle had working
  16   airbags and seatbelts, and Plaintiff had no way of knowing that the Class Vehicle
  17   contained a defective ACU that could cause the airbags and seatbelts to not function
  18   during a crash. Hyundai, Hyundai MOBIS, ZF TRW, and STMicro concealed the
  19   existence of the defective ACU from consumers like Plaintiff, and this concealed
  20   information would have been material to Plaintiff’s decision to acquire the Class
  21   Vehicle. Plaintiff has suffered a concrete injury as a result of Hyundai, Hyundai
  22   MOBIS, ZF TRW, and STMicro’s misconduct, and did not receive the full benefit
  23   of the bargain in acquiring the Class Vehicle. Plaintiff would not have purchased
  24   the Class Vehicle, or would have paid less for it, if Hyundai, Hyundai MOBIS, ZF
  25   TRW, and/or STMicro did not conceal material information regarding the vehicle’s
  26   defective ACU.
  27
  28

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   1         ii.    FCA Plaintiffs
   2         99.    Plaintiff James Kneup (“Plaintiff” for the purposes of this paragraph)
   3   is an individual residing in Tucson, Arizona. On or around May 30, 2013, Plaintiff
   4   purchased a new 2013 Jeep Wrangler (for purposes of Plaintiff’s allegations, the
   5   “Class Vehicle”) from Larry H. Miller Chrysler Jeep Tucson, an authorized FCA
   6   dealership located in Tucson, Arizona. At the time Plaintiff acquired the Class
   7   Vehicle, Plaintiff had a reasonable expectation that the Class Vehicle had working
   8   airbags and seatbelts, and Plaintiff had no way of knowing that the Class Vehicle
   9   contained a defective ACU that could cause the airbags and seatbelts to not function
  10   during a crash. FCA, ZF TRW, and STMicro concealed the existence of the
  11   defective ACU from consumers like Plaintiff, and this concealed information would
  12   have been material to Plaintiff’s decision to acquire the Class Vehicle. Plaintiff has
  13   suffered a concrete injury as a result of FCA, ZF TRW, and STMicro’s misconduct,
  14   and did not receive the full benefit of the bargain in acquiring the Class Vehicle.
  15   Plaintiff would not have purchased the Class Vehicle, or would have paid less for it,
  16   if FCA, ZF TRW, and/or STMicro did not conceal material information regarding
  17   the vehicle’s defective ACU.
  18         100. Plaintiff Remigiusz Rundzio (“Plaintiff” for the purposes of this
  19   paragraph) is an individual residing in Westminster, California. On or around July
  20   22, 2012, Plaintiff purchased a new 2012 Jeep Wrangler (for purposes of Plaintiff’s
  21   allegations, the “Class Vehicle”) from Huntington Beach Chrysler Dodge Jeep
  22   Ram, an authorized FCA dealership located in Huntington Beach, California. At the
  23   time Plaintiff acquired the Class Vehicle, Plaintiff had a reasonable expectation that
  24   the Class Vehicle had working airbags and seatbelts, and Plaintiff had no way of
  25   knowing that the Class Vehicle contained a defective ACU that could cause the
  26   airbags and seatbelts to not function during a crash. FCA, ZF TRW, and STMicro
  27   concealed the existence of the defective ACU from consumers like Plaintiff, and
  28   this concealed information would have been material to Plaintiff’s decision to

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   1   acquire the Class Vehicle. Plaintiff has suffered a concrete injury as a result of
   2   FCA, ZF TRW, and STMicro’s misconduct, and did not receive the full benefit of
   3   the bargain in acquiring the Class Vehicle. Plaintiff would not have purchased the
   4   Class Vehicle, or would have paid less for it, if FCA, ZF TRW, and/or STMicro did
   5   not conceal material information regarding the vehicle’s defective ACU.
   6         101. Plaintiff Steve Laveaux (“Plaintiff” for the purposes of this paragraph)
   7   is an individual residing in Palmdale, California. In or around May 2017, Plaintiff
   8   purchased a used 2014 Jeep Wrangler (for purposes of Plaintiff’s allegations, the
   9   “Class Vehicle”) from Crown Dodge Chrysler Jeep Ram, an authorized FCA
  10   dealership located in Ventura, California. At the time Plaintiff acquired the Class
  11   Vehicle, Plaintiff had a reasonable expectation that the Class Vehicle had working
  12   airbags and seatbelts, and Plaintiff had no way of knowing that the Class Vehicle
  13   contained a defective ACU that could cause the airbags and seatbelts to not function
  14   during a crash. FCA, ZF TRW, and STMicro concealed the existence of the
  15   defective ACU from consumers like Plaintiff, and this concealed information would
  16   have been material to Plaintiff’s decision to acquire the Class Vehicle. Plaintiff has
  17   suffered a concrete injury as a result of FCA, ZF TRW, and STMicro’s misconduct,
  18   and did not receive the full benefit of the bargain in acquiring the Class Vehicle.
  19   Plaintiff would not have purchased the Class Vehicle, or would have paid less for it,
  20   if FCA, ZF TRW, and/or STMicro did not conceal material information regarding
  21   the vehicle’s defective ACU.
  22         102. Plaintiff Moises Senti (“Plaintiff” for the purposes of this paragraph) is
  23   an individual residing in Ocala, Florida. On or around April 19, 2016, Plaintiff
  24   purchased a new 2016 Jeep Wrangler (for purposes of Plaintiff’s allegations, the
  25   “Class Vehicle”) from Potamkin Jeep (now known as Miami Lakes Automall), an
  26   authorized FCA dealership located in Miami Lakes, Florida. At the time Plaintiff
  27   acquired the Class Vehicle, Plaintiff had a reasonable expectation that the Class
  28   Vehicle had working airbags and seatbelts, and Plaintiff had no way of knowing

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   1   that the Class Vehicle contained a defective ACU that could cause the airbags and
   2   seatbelts to not function during a crash. FCA, ZF TRW, and STMicro concealed the
   3   existence of the defective ACU from consumers like Plaintiff, and this concealed
   4   information would have been material to Plaintiff’s decision to acquire the Class
   5   Vehicle. Plaintiff has suffered a concrete injury as a result of FCA, ZF TRW, and
   6   STMicro’s misconduct, and did not receive the full benefit of the bargain in
   7   acquiring the Class Vehicle. Plaintiff would not have purchased the Class Vehicle,
   8   or would have paid less for it, if FCA, ZF TRW, and/or STMicro did not conceal
   9   material information regarding the vehicle’s defective ACU.
  10         103. Plaintiff Jan Freyman (“Plaintiff” for the purposes of this paragraph) is
  11   an individual residing in Mercy, Florida. On or around June 24, 2017, Plaintiff
  12   purchased a new 2017 Jeep Patriot (for purposes of Plaintiff’s allegations, the
  13   “Class Vehicle”) from Fields Dodge Jeep Chrysler, an authorized FCA dealership
  14   located in Sanford, Florida. At the time Plaintiff acquired the Class Vehicle,
  15   Plaintiff had a reasonable expectation that the Class Vehicle had working airbags
  16   and seatbelts, and Plaintiff had no way of knowing that the Class Vehicle contained
  17   a defective ACU that could cause the airbags and seatbelts to not function during a
  18   crash. FCA, ZF TRW, and STMicro concealed the existence of the defective ACU
  19   from consumers like Plaintiff, and this concealed information would have been
  20   material to Plaintiff’s decision to acquire the Class Vehicle. Plaintiff has suffered a
  21   concrete injury as a result of FCA, ZF TRW, and STMicro’s misconduct, and did
  22   not receive the full benefit of the bargain in acquiring the Class Vehicle. Plaintiff
  23   would not have purchased the Class Vehicle, or would have paid less for it, if FCA,
  24   ZF TRW, and/or STMicro did not conceal material information regarding the
  25   vehicle’s defective ACU.
  26         104. Plaintiff Maximillian Accetta (“Plaintiff” for the purposes of this
  27   paragraph) is an individual residing in Fort Lauderdale, Florida. On or around
  28   August 25, 2015, Plaintiff purchased a used 2015 Jeep Compass (for purposes of

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   1   Plaintiff’s allegations, the “Class Vehicle”) from Off Lease Only, located in Lake
   2   Worth, Florida. At the time Plaintiff acquired the Class Vehicle, Plaintiff had a
   3   reasonable expectation that the Class Vehicle had working airbags and seatbelts,
   4   and Plaintiff had no way of knowing that the Class Vehicle contained a defective
   5   ACU that could cause the airbags and seatbelts to not function during a crash. FCA,
   6   ZF TRW, and STMicro concealed the existence of the defective ACU from
   7   consumers like Plaintiff, and this concealed information would have been material
   8   to Plaintiff’s decision to acquire the Class Vehicle. Plaintiff has suffered a concrete
   9   injury as a result of FCA, ZF TRW, and STMicro’s misconduct, and did not receive
  10   the full benefit of the bargain in acquiring the Class Vehicle. Plaintiff would not
  11   have purchased the Class Vehicle, or would have paid less for it, if FCA, ZF TRW,
  12   and/or STMicro did not conceal material information regarding the vehicle’s
  13   defective ACU.
  14         105. Plaintiff Steve Keister (“Plaintiff” for the purposes of this paragraph)
  15   is an individual residing in Hayward, Wisconsin. On or around August 30, 2011,
  16   Plaintiff purchased a used 2010 Dodge Nitro (for purposes of Plaintiff’s allegations,
  17   the “Class Vehicle”) from McKay’s Family Dodge, an authorized FCA dealership
  18   located in Waite Park, Minnesota. At the time Plaintiff acquired the Class Vehicle,
  19   Plaintiff had a reasonable expectation that the Class Vehicle had working airbags
  20   and seatbelts, and Plaintiff had no way of knowing that the Class Vehicle contained
  21   a defective ACU that could cause the airbags and seatbelts to not function during a
  22   crash. FCA, ZF TRW, and STMicro concealed the existence of the defective ACU
  23   from consumers like Plaintiff, and this concealed information would have been
  24   material to Plaintiff’s decision to acquire the Class Vehicle. Plaintiff has suffered a
  25   concrete injury as a result of FCA, ZF TRW, and STMicro’s misconduct, and did
  26   not receive the full benefit of the bargain in acquiring the Class Vehicle. Plaintiff
  27   would not have purchased the Class Vehicle, or would have paid less for it, if FCA,
  28

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   1   ZF TRW, and/or STMicro did not conceal material information regarding the
   2   vehicle’s defective ACU.
   3         106. Plaintiff Barry Adams (“Plaintiff” for the purposes of this paragraph)
   4   is an individual residing in Browning, Montana. In or around November 2012,
   5   Plaintiff purchased a new 2011 Ram 1500 (for purposes of Plaintiff’s allegations,
   6   the “Class Vehicle”) from Lithia Dodge, an authorized FCA dealership located in
   7   Great Falls, Montana. At the time Plaintiff acquired the Class Vehicle, Plaintiff had
   8   a reasonable expectation that the Class Vehicle had working airbags and seatbelts,
   9   and Plaintiff had no way of knowing that the Class Vehicle contained a defective
  10   ACU that could cause the airbags and seatbelts to not function during a crash. FCA,
  11   ZF TRW, and STMicro concealed the existence of the defective ACU from
  12   consumers like Plaintiff, and this concealed information would have been material
  13   to Plaintiff’s decision to acquire the Class Vehicle. Plaintiff has suffered a concrete
  14   injury as a result of FCA, ZF TRW, and STMicro’s misconduct, and did not receive
  15   the full benefit of the bargain in acquiring the Class Vehicle. Plaintiff would not
  16   have purchased the Class Vehicle, or would have paid less for it, if FCA, ZF TRW,
  17   and/or STMicro did not conceal material information regarding the vehicle’s
  18   defective ACU.
  19         107. Plaintiff Eric Fishon (“Plaintiff” for the purposes of this paragraph) is
  20   an individual residing in Happauge, New York. On or around May 12, 2017,
  21   Plaintiff purchased a used 2014 Jeep Wrangler (for purposes of Plaintiff’s
  22   allegations, the “Class Vehicle”) from Westbury Jeep Chrysler Dodge, an
  23   authorized FCA dealership located in Jericho, New York. At the time Plaintiff
  24   acquired the Class Vehicle, Plaintiff had a reasonable expectation that the Class
  25   Vehicle had working airbags and seatbelts, and Plaintiff had no way of knowing
  26   that the Class Vehicle contained a defective ACU that could cause the airbags and
  27   seatbelts to not function during a crash. FCA, ZF TRW, and STMicro concealed the
  28   existence of the defective ACU from consumers like Plaintiff, and this concealed

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   1   information would have been material to Plaintiff’s decision to acquire the Class
   2   Vehicle. Plaintiff has suffered a concrete injury as a result of FCA, ZF TRW, and
   3   STMicro’s misconduct, and did not receive the full benefit of the bargain in
   4   acquiring the Class Vehicle. Plaintiff would not have purchased the Class Vehicle,
   5   or would have paid less for it, if FCA, ZF TRW, and/or STMicro did not conceal
   6   material information regarding the vehicle’s defective ACU.
   7         108. Plaintiff Constanza Gonzalez (“Plaintiff” for the purposes of this
   8   paragraph) is an individual residing in Waxhaw, North Carolina. On or around
   9   February 2, 2019, Plaintiff purchased a used 2012 Jeep Wrangler (for purposes of
  10   Plaintiff’s allegations, the “Class Vehicle”) from Bob Mayberry Hyundai located in
  11   Monroe, North Carolina. At the time Plaintiff acquired the Class Vehicle, Plaintiff
  12   had a reasonable expectation that the Class Vehicle had working airbags and
  13   seatbelts, and Plaintiff had no way of knowing that the Class Vehicle contained a
  14   defective ACU that could cause the airbags and seatbelts to not function during a
  15   crash. FCA, ZF TRW, and STMicro concealed the existence of the defective ACU
  16   from consumers like Plaintiff, and this concealed information would have been
  17   material to Plaintiff’s decision to acquire the Class Vehicle. Plaintiff has suffered a
  18   concrete injury as a result of FCA, ZF TRW, and STMicro’s misconduct, and did
  19   not receive the full benefit of the bargain in acquiring the Class Vehicle. Plaintiff
  20   would not have purchased the Class Vehicle, or would have paid less for it, if FCA,
  21   ZF TRW, and/or STMicro did not conceal material information regarding the
  22   vehicle’s defective ACU.
  23         109. Plaintiff James Dean (“Plaintiff” for the purposes of this paragraph) is
  24   an individual residing in Oklahoma City, Oklahoma. On or around March 15, 2015,
  25   Plaintiff purchased a used 2015 Fiat 500 (for purposes of Plaintiff’s allegations, the
  26   “Class Vehicle”) from David Stanley Chrysler Dodge Jeep Ram, an authorized
  27   FCA dealership located in Midwest City, Oklahoma. At the time Plaintiff acquired
  28   the Class Vehicle, Plaintiff had a reasonable expectation that the Class Vehicle had

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   1   working airbags and seatbelts, and Plaintiff had no way of knowing that the Class
   2   Vehicle contained a defective ACU that could cause the airbags and seatbelts to not
   3   function during a crash. FCA, ZF TRW, and STMicro concealed the existence of
   4   the defective ACU from consumers like Plaintiff, and this concealed information
   5   would have been material to Plaintiff’s decision to acquire the Class Vehicle.
   6   Plaintiff has suffered a concrete injury as a result of FCA, ZF TRW, and STMicro’s
   7   misconduct, and did not receive the full benefit of the bargain in acquiring the Class
   8   Vehicle. Plaintiff would not have purchased the Class Vehicle, or would have paid
   9   less for it, if FCA, ZF TRW, and/or STMicro did not conceal material information
  10   regarding the vehicle’s defective ACU.
  11         110. Plaintiff Desiree Meyer (“Plaintiff” for the purposes of this paragraph)
  12   is an individual residing in Douglas, Wyoming. On or around May 14, 2012,
  13   Plaintiff purchased a new 2012 Jeep Liberty (for purposes of Plaintiff’s allegations,
  14   the “Class Vehicle”) from Aberdeen Chrysler Center, an authorized FCA dealership
  15   located in Aberdeen, South Dakota. At the time Plaintiff acquired the Class
  16   Vehicle, Plaintiff had a reasonable expectation that the Class Vehicle had working
  17   airbags and seatbelts, and Plaintiff had no way of knowing that the Class Vehicle
  18   contained a defective ACU that could cause the airbags and seatbelts to not function
  19   during a crash. FCA, ZF TRW, and STMicro concealed the existence of the
  20   defective ACU from consumers like Plaintiff, and this concealed information would
  21   have been material to Plaintiff’s decision to acquire the Class Vehicle. Plaintiff has
  22   suffered a concrete injury as a result of FCA, ZF TRW, and STMicro’s misconduct,
  23   and did not receive the full benefit of the bargain in acquiring the Class Vehicle.
  24   Plaintiff would not have purchased the Class Vehicle, or would have paid less for it,
  25   if FCA, ZF TRW, and/or STMicro did not conceal material information regarding
  26   the vehicle’s defective ACU.
  27         111. Plaintiff John Robinson (“Plaintiff” for the purposes of this paragraph)
  28   is an individual residing in Walters, Oklahoma. On or around February 21, 2009,

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   1   Plaintiff purchased a new 2009 Ram 1500 (for purposes of Plaintiff’s allegations,
   2   the “Class Vehicle”) from Patterson Chrysler Dodge Jeep Ram Tyler, an authorized
   3   FCA dealership located in Tyler, Texas. At the time Plaintiff acquired the Class
   4   Vehicle, Plaintiff had a reasonable expectation that the Class Vehicle had working
   5   airbags and seatbelts, and Plaintiff had no way of knowing that the Class Vehicle
   6   contained a defective ACU that could cause the airbags and seatbelts to not function
   7   during a crash. FCA, ZF TRW, and STMicro concealed the existence of the
   8   defective ACU from consumers like Plaintiff, and this concealed information would
   9   have been material to Plaintiff’s decision to acquire the Class Vehicle. Plaintiff has
  10   suffered a concrete injury as a result of FCA, ZF TRW, and STMicro’s misconduct,
  11   and did not receive the full benefit of the bargain in acquiring the Class Vehicle.
  12   Plaintiff would not have purchased the Class Vehicle, or would have paid less for it,
  13   if FCA, ZF TRW, and/or STMicro did not conceal material information regarding
  14   the vehicle’s defective ACU.
  15         112. Plaintiff Ann Harland (“Plaintiff” for the purposes of this paragraph) is
  16   an individual residing in Dunnsville, Virginia. On or around June 11, 2015, Plaintiff
  17   purchased a used 2013 Fiat 500 (for purposes of Plaintiff’s allegations, the “Class
  18   Vehicle”) from Gloucester Toyota located in Gloucester, Virginia. At the time
  19   Plaintiff acquired the Class Vehicle, Plaintiff had a reasonable expectation that the
  20   Class Vehicle had working airbags and seatbelts, and Plaintiff had no way of
  21   knowing that the Class Vehicle contained a defective ACU that could cause the
  22   airbags and seatbelts to not function during a crash. FCA, ZF TRW, and STMicro
  23   concealed the existence of the defective ACU from consumers like Plaintiff, and
  24   this concealed information would have been material to Plaintiff’s decision to
  25   acquire the Class Vehicle. Plaintiff has suffered a concrete injury as a result of
  26   FCA, ZF TRW, and STMicro’s misconduct, and did not receive the full benefit of
  27   the bargain in acquiring the Class Vehicle. Plaintiff would not have purchased the
  28

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   1   Class Vehicle, or would have paid less for it, if FCA, ZF TRW, and/or STMicro did
   2   not conceal material information regarding the vehicle’s defective ACU.
   3         iii.   Toyota Plaintiffs
   4         113. Plaintiff Mark Altier (“Plaintiff” for the purposes of this paragraph) is
   5   an individual residing in San Diego, California. On or around April 24, 2014,
   6   Plaintiff purchased a new 2014 Toyota Tacoma (for purposes of Plaintiff’s
   7   allegations, the “Class Vehicle”) from Toyota San Diego (now known as Norm
   8   Reeves Toyota San Diego), an authorized Toyota dealership located in San Diego,
   9   California. At the time Plaintiff acquired the Class Vehicle, Plaintiff had a
  10   reasonable expectation that the Class Vehicle had working airbags and seatbelts,
  11   and Plaintiff had no way of knowing that the Class Vehicle contained a defective
  12   ACU that could cause the airbags and seatbelts to not function during a crash.
  13   Toyota, ZF TRW, and STMicro concealed the existence of the defective ACU from
  14   consumers like Plaintiff, and this concealed information would have been material
  15   to Plaintiff’s decision to acquire the Class Vehicle. Plaintiff has suffered a concrete
  16   injury as a result of Toyota, ZF TRW, and STMicro’s misconduct, and did not
  17   receive the full benefit of the bargain in acquiring the Class Vehicle. Plaintiff would
  18   not have purchased the Class Vehicle, or would have paid less for it, if Toyota, ZF
  19   TRW, and/or STMicro did not conceal material information regarding the vehicle’s
  20   defective ACU.
  21         114. Plaintiff Alejandra Renteria (“Plaintiff” for the purposes of this
  22   paragraph) is an individual residing in Rialto, California. On or around August 4,
  23   2013, Plaintiff purchased a new 2013 Toyota Corolla Matrix (for purposes of
  24   Plaintiff’s allegations, the “Class Vehicle”) from John Elway’s Crown Toyota, an
  25   authorized Toyota dealership located in Ontario, California. At the time Plaintiff
  26   acquired the Class Vehicle, Plaintiff had a reasonable expectation that the Class
  27   Vehicle had working airbags and seatbelts, and Plaintiff had no way of knowing
  28   that the Class Vehicle contained a defective ACU that could cause the airbags and

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   1   seatbelts to not function during a crash. Toyota, ZF TRW, and STMicro concealed
   2   the existence of the defective ACU from consumers like Plaintiff, and this
   3   concealed information would have been material to Plaintiff’s decision to acquire
   4   the Class Vehicle. Plaintiff has suffered a concrete injury as a result of Toyota, ZF
   5   TRW, and STMicro’s misconduct, and did not receive the full benefit of the bargain
   6   in acquiring the Class Vehicle. Plaintiff would not have purchased the Class
   7   Vehicle, or would have paid less for it, if Toyota, ZF TRW, and/or STMicro did not
   8   conceal material information regarding the vehicle’s defective ACU.
   9         115. Plaintiff Samuel Choc (“Plaintiff” for the purposes of this paragraph)
  10   is an individual residing in Miami, Florida. On or around October 18, 2012,
  11   Plaintiff purchased a new 2013 Toyota Tacoma (for purposes of Plaintiff’s
  12   allegations, the “Class Vehicle”) from South Dade Toyota, an authorized Toyota
  13   dealership located in Homestead, Florida. At the time Plaintiff acquired the Class
  14   Vehicle, Plaintiff had a reasonable expectation that the Class Vehicle had working
  15   airbags and seatbelts, and Plaintiff had no way of knowing that the Class Vehicle
  16   contained a defective ACU that could cause the airbags and seatbelts to not function
  17   during a crash. Toyota, ZF TRW, and STMicro concealed the existence of the
  18   defective ACU from consumers like Plaintiff, and this concealed information would
  19   have been material to Plaintiff’s decision to acquire the Class Vehicle. Plaintiff has
  20   suffered a concrete injury as a result of Toyota, ZF TRW, and STMicro’s
  21   misconduct, and did not receive the full benefit of the bargain in acquiring the Class
  22   Vehicle. Plaintiff would not have purchased the Class Vehicle, or would have paid
  23   less for it, if Toyota, ZF TRW, and/or STMicro did not conceal material
  24   information regarding the vehicle’s defective ACU.
  25         116. Plaintiff Tatiana Gales (“Plaintiff” for the purposes of this paragraph)
  26   is an individual residing in Miami, Florida. On or around July 18, 2015, Plaintiff
  27   purchased a new 2015 Toyota Corolla (for purposes of Plaintiff’s allegations, the
  28   “Class Vehicle”) from South Dade Toyota, an authorized Toyota dealership located

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   1   in Homestead, Florida. At the time Plaintiff acquired the Class Vehicle, Plaintiff
   2   had a reasonable expectation that the Class Vehicle had working airbags and
   3   seatbelts, and Plaintiff had no way of knowing that the Class Vehicle contained a
   4   defective ACU that could cause the airbags and seatbelts to not function during a
   5   crash. Toyota, ZF TRW, and STMicro concealed the existence of the defective
   6   ACU from consumers like Plaintiff, and this concealed information would have
   7   been material to Plaintiff’s decision to acquire the Class Vehicle. Plaintiff has
   8   suffered a concrete injury as a result of Toyota, ZF TRW, and STMicro’s
   9   misconduct, and did not receive the full benefit of the bargain in acquiring the Class
  10   Vehicle. Plaintiff would not have purchased the Class Vehicle, or would have paid
  11   less for it, if Toyota, ZF TRW, and/or STMicro did not conceal material
  12   information regarding the vehicle’s defective ACU.
  13         117. Plaintiff Dorothy Cooks (“Plaintiff” for the purposes of this paragraph)
  14   is an individual residing in Live Oak, Florida. On or around September 11, 2018,
  15   Plaintiff purchased a new 2018 Toyota Corolla (for purposes of Plaintiff’s
  16   allegations, the “Class Vehicle”) from Rountree Moore Toyota, an authorized
  17   Toyota dealership located in Lake City, Florida. At the time Plaintiff acquired the
  18   Class Vehicle, Plaintiff had a reasonable expectation that the Class Vehicle had
  19   working airbags and seatbelts, and Plaintiff had no way of knowing that the Class
  20   Vehicle contained a defective ACU that could cause the airbags and seatbelts to not
  21   function during a crash. Toyota, ZF TRW, and STMicro concealed the existence of
  22   the defective ACU from consumers like Plaintiff, and this concealed information
  23   would have been material to Plaintiff’s decision to acquire the Class Vehicle.
  24   Plaintiff has suffered a concrete injury as a result of Toyota, ZF TRW, and
  25   STMicro’s misconduct, and did not receive the full benefit of the bargain in
  26   acquiring the Class Vehicle. Plaintiff would not have purchased the Class Vehicle,
  27   or would have paid less for it, if Toyota, ZF TRW, and/or STMicro did not conceal
  28   material information regarding the vehicle’s defective ACU.

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   1         118. Plaintiff Gary Samouris (“Plaintiff” for the purposes of this paragraph)
   2   is an individual residing in Las Vegas, Nevada. On or around July 28, 2018,
   3   Plaintiff purchased a new 2018 Toyota Tacoma (for purposes of Plaintiff’s
   4   allegations, the “Class Vehicle”) from Findlay Toyota, an authorized Toyota
   5   dealership located in Henderson, Nevada. At the time Plaintiff acquired the Class
   6   Vehicle, Plaintiff had a reasonable expectation that the Class Vehicle had working
   7   airbags and seatbelts, and Plaintiff had no way of knowing that the Class Vehicle
   8   contained a defective ACU that could cause the airbags and seatbelts to not function
   9   during a crash. Toyota, ZF TRW, and STMicro concealed the existence of the
  10   defective ACU from consumers like Plaintiff, and this concealed information would
  11   have been material to Plaintiff’s decision to acquire the Class Vehicle. Plaintiff has
  12   suffered a concrete injury as a result of Toyota, ZF TRW, and STMicro’s
  13   misconduct, and did not receive the full benefit of the bargain in acquiring the Class
  14   Vehicle. Plaintiff would not have purchased the Class Vehicle, or would have paid
  15   less for it, if Toyota, ZF TRW, and/or STMicro did not conceal material
  16   information regarding the vehicle’s defective ACU.
  17         119. Plaintiff Michael Hines (“Plaintiff” for the purposes of this paragraph)
  18   is an individual residing in Gainesville, Florida. On or around October 11, 2013,
  19   Plaintiff purchased a used 2012 Toyota Tundra (for purposes of Plaintiff’s
  20   allegations, the “Class Vehicle”) from Scenic Chevrolet located in West Union,
  21   South Carolina. At the time Plaintiff acquired the Class Vehicle, Plaintiff had a
  22   reasonable expectation that the Class Vehicle had working airbags and seatbelts,
  23   and Plaintiff had no way of knowing that the Class Vehicle contained a defective
  24   ACU that could cause the airbags and seatbelts to not function during a crash.
  25   Toyota, ZF TRW, and STMicro concealed the existence of the defective ACU from
  26   consumers like Plaintiff, and this concealed information would have been material
  27   to Plaintiff’s decision to acquire the Class Vehicle. Plaintiff has suffered a concrete
  28   injury as a result of Toyota, ZF TRW, and STMicro’s misconduct, and did not

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   1   receive the full benefit of the bargain in acquiring the Class Vehicle. Plaintiff would
   2   not have purchased the Class Vehicle, or would have paid less for it, if Toyota, ZF
   3   TRW, and/or STMicro did not conceal material information regarding the vehicle’s
   4   defective ACU.
   5         120. Plaintiff Brent DeRouen (“Plaintiff” for the purposes of this
   6   paragraph) is an individual residing in Spring, Texas. On or around June 7, 2016,
   7   Plaintiff purchased a new 2016 Toyota Tundra (for purposes of Plaintiff’s
   8   allegations, the “Class Vehicle”) from Philpott Toyota, an authorized Toyota
   9   dealership located in Nederland, Texas. At the time Plaintiff acquired the Class
  10   Vehicle, Plaintiff had a reasonable expectation that the Class Vehicle had working
  11   airbags and seatbelts, and Plaintiff had no way of knowing that the Class Vehicle
  12   contained a defective ACU that could cause the airbags and seatbelts to not function
  13   during a crash. Toyota, ZF TRW, and STMicro concealed the existence of the
  14   defective ACU from consumers like Plaintiff, and this concealed information would
  15   have been material to Plaintiff’s decision to acquire the Class Vehicle. Plaintiff has
  16   suffered a concrete injury as a result of Toyota, ZF TRW, and STMicro’s
  17   misconduct, and did not receive the full benefit of the bargain in acquiring the Class
  18   Vehicle. Plaintiff would not have purchased the Class Vehicle, or would have paid
  19   less for it, if Toyota, ZF TRW, and/or STMicro did not conceal material
  20   information regarding the vehicle’s defective ACU.
  21         121. Plaintiff Danny Hunt (“Plaintiff” for the purposes of this paragraph) is
  22   an individual residing in Mathis, Texas. On or around January 1, 2018, Plaintiff
  23   purchased a used 2014 Toyota Tacoma (for purposes of Plaintiff’s allegations, the
  24   “Class Vehicle”) from Mike Shaw Toyota, an authorized Toyota dealership located
  25   in Robstown, Texas. At the time Plaintiff acquired the Class Vehicle, Plaintiff had a
  26   reasonable expectation that the Class Vehicle had working airbags and seatbelts,
  27   and Plaintiff had no way of knowing that the Class Vehicle contained a defective
  28   ACU that could cause the airbags and seatbelts to not function during a crash.

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   1   Toyota, ZF TRW, and STMicro concealed the existence of the defective ACU from
   2   consumers like Plaintiff, and this concealed information would have been material
   3   to Plaintiff’s decision to acquire the Class Vehicle. Plaintiff has suffered a concrete
   4   injury as a result of Toyota, ZF TRW, and STMicro’s misconduct, and did not
   5   receive the full benefit of the bargain in acquiring the Class Vehicle. Plaintiff would
   6   not have purchased the Class Vehicle, or would have paid less for it, if Toyota, ZF
   7   TRW, and/or STMicro did not conceal material information regarding the vehicle’s
   8   defective ACU.
   9         122. Plaintiff Evan Green (“Plaintiff” for the purposes of this paragraph) is
  10   an individual residing in Dallas, Texas. On or around September 15, 2015, Plaintiff
  11   purchased a used 2015 Toyota Tacoma (for purposes of Plaintiff’s allegations, the
  12   “Class Vehicle”) from Toyota of Dallas, an authorized Toyota dealership located in
  13   Dallas, Texas. At the time Plaintiff acquired the Class Vehicle, Plaintiff had a
  14   reasonable expectation that the Class Vehicle had working airbags and seatbelts,
  15   and Plaintiff had no way of knowing that the Class Vehicle contained a defective
  16   ACU that could cause the airbags and seatbelts to not function during a crash.
  17   Toyota, ZF TRW, and STMicro concealed the existence of the defective ACU from
  18   consumers like Plaintiff, and this concealed information would have been material
  19   to Plaintiff’s decision to acquire the Class Vehicle. Plaintiff has suffered a concrete
  20   injury as a result of Toyota, ZF TRW, and STMicro’s misconduct, and did not
  21   receive the full benefit of the bargain in acquiring the Class Vehicle. Plaintiff would
  22   not have purchased the Class Vehicle, or would have paid less for it, if Toyota, ZF
  23   TRW, and/or STMicro did not conceal material information regarding the vehicle’s
  24   defective ACU.
  25         123. Plaintiff Joy Davis (“Plaintiff” for the purposes of this paragraph) is an
  26   individual residing in Salem, Oregon. On or around May 15, 2014, Plaintiff
  27   purchased a new 2014 Toyota Corolla (for purposes of Plaintiff’s allegations, the
  28   “Class Vehicle”) from Universal Toyota, an authorized Toyota dealership located in

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   1   San Antonio, Texas. At the time Plaintiff acquired the Class Vehicle, Plaintiff had a
   2   reasonable expectation that the Class Vehicle had working airbags and seatbelts,
   3   and Plaintiff had no way of knowing that the Class Vehicle contained a defective
   4   ACU that could cause the airbags and seatbelts to not function during a crash.
   5   Toyota, ZF TRW, and STMicro concealed the existence of the defective ACU from
   6   consumers like Plaintiff, and this concealed information would have been material
   7   to Plaintiff’s decision to acquire the Class Vehicle. Plaintiff has suffered a concrete
   8   injury as a result of Toyota, ZF TRW, and STMicro’s misconduct, and did not
   9   receive the full benefit of the bargain in acquiring the Class Vehicle. Plaintiff would
  10   not have purchased the Class Vehicle, or would have paid less for it, if Toyota, ZF
  11   TRW, and/or STMicro did not conceal material information regarding the vehicle’s
  12   defective ACU.
  13         124. Plaintiff Dee Roberts (“Plaintiff” for the purposes of this paragraph) is
  14   an individual residing in Raymond, Washington. On or around September 27, 2013,
  15   Plaintiff purchased a new 2013 Toyota Avalon (for purposes of Plaintiff’s
  16   allegations, the “Class Vehicle”) from Toyota of Olympia, an authorized Toyota
  17   dealership located in Olympia, Washington. At the time Plaintiff acquired the Class
  18   Vehicle, Plaintiff had a reasonable expectation that the Class Vehicle had working
  19   airbags and seatbelts, and Plaintiff had no way of knowing that the Class Vehicle
  20   contained a defective ACU that could cause the airbags and seatbelts to not function
  21   during a crash. Toyota, ZF TRW, and STMicro concealed the existence of the
  22   defective ACU from consumers like Plaintiff, and this concealed information would
  23   have been material to Plaintiff’s decision to acquire the Class Vehicle. Plaintiff has
  24   suffered a concrete injury as a result of Toyota, ZF TRW, and STMicro’s
  25   misconduct, and did not receive the full benefit of the bargain in acquiring the Class
  26   Vehicle. Plaintiff would not have purchased the Class Vehicle, or would have paid
  27   less for it, if Toyota, ZF TRW, and/or STMicro did not conceal material
  28   information regarding the vehicle’s defective ACU.

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   1         iv.    Honda Plaintiffs
   2         125. Plaintiff Sigfredo Rubio (“Plaintiff” for the purposes of this paragraph)
   3   is an individual residing in Birmingham, Alabama. On or around May 4, 2015,
   4   Plaintiff purchased a new 2015 Acura TLX (for purposes of Plaintiff’s allegations,
   5   the “Class Vehicle”) from McConnell Honda, an authorized Honda dealership
   6   located in Montgomery, Alabama. At the time Plaintiff acquired the Class Vehicle,
   7   Plaintiff had a reasonable expectation that the Class Vehicle had working airbags
   8   and seatbelts, and Plaintiff had no way of knowing that the Class Vehicle contained
   9   a defective ACU that could cause the airbags and seatbelts to not function during a
  10   crash. Honda, ZF TRW, and STMicro concealed the existence of the defective
  11   ACU from consumers like Plaintiff, and this concealed information would have
  12   been material to Plaintiff’s decision to acquire the Class Vehicle. Plaintiff has
  13   suffered a concrete injury as a result of Honda, ZF TRW, and STMicro’s
  14   misconduct, and did not receive the full benefit of the bargain in acquiring the Class
  15   Vehicle. Plaintiff would not have purchased the Class Vehicle, or would have paid
  16   less for it, if Honda, ZF TRW, and/or STMicro did not conceal material information
  17   regarding the vehicle’s defective ACU.
  18         126. Plaintiff Kevin Burns (“Plaintiff” for the purposes of this paragraph) is
  19   an individual residing in Antioch, California. On or around June 14, 2013, Plaintiff
  20   purchased a new 2013 Honda Civic Hybrid (for purposes of Plaintiff’s allegations,
  21   the “Class Vehicle”) from Walnut Creek Honda, an authorized Honda dealership
  22   located in Walnut Creek, California. At the time Plaintiff acquired the Class
  23   Vehicle, Plaintiff had a reasonable expectation that the Class Vehicle had working
  24   airbags and seatbelts, and Plaintiff had no way of knowing that the Class Vehicle
  25   contained a defective ACU that could cause the airbags and seatbelts to not function
  26   during a crash. Honda, ZF TRW, and STMicro concealed the existence of the
  27   defective ACU from consumers like Plaintiff, and this concealed information would
  28   have been material to Plaintiff’s decision to acquire the Class Vehicle. Plaintiff has

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   1   suffered a concrete injury as a result of Honda, ZF TRW, and STMicro’s
   2   misconduct, and did not receive the full benefit of the bargain in acquiring the Class
   3   Vehicle. Plaintiff would not have purchased the Class Vehicle, or would have paid
   4   less for it, if Honda, ZF TRW, and/or STMicro did not conceal material information
   5   regarding the vehicle’s defective ACU.
   6         127. Plaintiff Paul Huitzil (“Plaintiff” for the purposes of this paragraph) is
   7   an individual residing in Bridgeport, Connecticut. On or around October 19, 2015,
   8   Plaintiff purchased a used 2013 Honda Accord (for purposes of Plaintiff’s
   9   allegations, the “Class Vehicle”) from Honda of Westport, an authorized Honda
  10   dealership located in Westport, Connecticut. The Class Vehicle was totaled in an
  11   accident where the airbags did not deploy on or around June 3, 2019. At the time
  12   Plaintiff acquired the Class Vehicle, Plaintiff had a reasonable expectation that the
  13   Class Vehicle had working airbags and seatbelts, and Plaintiff had no way of
  14   knowing that the Class Vehicle contained a defective ACU that could cause the
  15   airbags and seatbelts to not function during a crash. Honda, ZF TRW, and STMicro
  16   concealed the existence of the defective ACU from consumers like Plaintiff, and
  17   this concealed information would have been material to Plaintiff’s decision to
  18   acquire the Class Vehicle. Plaintiff has suffered a concrete injury as a result of
  19   Honda, ZF TRW, and STMicro’s misconduct, and did not receive the full benefit of
  20   the bargain in acquiring the Class Vehicle. Plaintiff would not have purchased the
  21   Class Vehicle, or would have paid less for it, if Honda, ZF TRW, and/or STMicro
  22   did not conceal material information regarding the vehicle’s defective ACU.
  23         128. Plaintiff Fredericka McPherson (“Plaintiff” for the purposes of this
  24   paragraph) is an individual residing in Riverview, Florida. On or around December
  25   10, 2015, Plaintiff purchased a used 2013 Honda Accord (for purposes of Plaintiff’s
  26   allegations, the “Class Vehicle”) from Westshore Honda (previously known as
  27   Kuhn Honda), an authorized Honda dealership located in Tampa, Florida. At the
  28   time Plaintiff acquired the Class Vehicle, Plaintiff had a reasonable expectation that

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   1   the Class Vehicle had working airbags and seatbelts, and Plaintiff had no way of
   2   knowing that the Class Vehicle contained a defective ACU that could cause the
   3   airbags and seatbelts to not function during a crash. Honda, ZF TRW, and STMicro
   4   concealed the existence of the defective ACU from consumers like Plaintiff, and
   5   this concealed information would have been material to Plaintiff’s decision to
   6   acquire the Class Vehicle. Plaintiff has suffered a concrete injury as a result of
   7   Honda, ZF TRW, and STMicro’s misconduct, and did not receive the full benefit of
   8   the bargain in acquiring the Class Vehicle. Plaintiff would not have purchased the
   9   Class Vehicle, or would have paid less for it, if Honda, ZF TRW, and/or STMicro
  10   did not conceal material information regarding the vehicle’s defective ACU.
  11         129. Plaintiff Brian Chaiken (“Plaintiff” for the purposes of this paragraph)
  12   is an individual residing in Palmetto Bay, Florida. On or around March 15, 2015,
  13   Plaintiff purchased a used 2013 Honda CR-V (for purposes of Plaintiff’s
  14   allegations, the “Class Vehicle”) from Braman Honda, an authorized Honda
  15   dealership located in Miami, Florida. At the time Plaintiff acquired the Class
  16   Vehicle, Plaintiff had a reasonable expectation that the Class Vehicle had working
  17   airbags and seatbelts, and Plaintiff had no way of knowing that the Class Vehicle
  18   contained a defective ACU that could cause the airbags and seatbelts to not function
  19   during a crash. Honda, ZF TRW, and STMicro concealed the existence of the
  20   defective ACU from consumers like Plaintiff, and this concealed information would
  21   have been material to Plaintiff’s decision to acquire the Class Vehicle. Plaintiff has
  22   suffered a concrete injury as a result of Honda, ZF TRW, and STMicro’s
  23   misconduct, and did not receive the full benefit of the bargain in acquiring the Class
  24   Vehicle. Plaintiff would not have purchased the Class Vehicle, or would have paid
  25   less for it, if Honda, ZF TRW, and/or STMicro did not conceal material information
  26   regarding the vehicle’s defective ACU.
  27         130. Plaintiff Carolyn Nelson (“Plaintiff” for the purposes of this
  28   paragraph) is an individual residing in Saint Paul, Minnesota. On or around October

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   1   14, 2013, Plaintiff purchased a new 2013 Honda Civic Hybrid (for purposes of
   2   Plaintiff’s allegations, the “Class Vehicle”) from Walser Honda, an authorized
   3   Honda dealership located in Burnsville, Minnesota. At the time Plaintiff acquired
   4   the Class Vehicle, Plaintiff had a reasonable expectation that the Class Vehicle had
   5   working airbags and seatbelts, and Plaintiff had no way of knowing that the Class
   6   Vehicle contained a defective ACU that could cause the airbags and seatbelts to not
   7   function during a crash. Honda, ZF TRW, and STMicro concealed the existence of
   8   the defective ACU from consumers like Plaintiff, and this concealed information
   9   would have been material to Plaintiff’s decision to acquire the Class Vehicle.
  10   Plaintiff has suffered a concrete injury as a result of Honda, ZF TRW, and
  11   STMicro’s misconduct, and did not receive the full benefit of the bargain in
  12   acquiring the Class Vehicle. Plaintiff would not have purchased the Class Vehicle,
  13   or would have paid less for it, if Honda, ZF TRW, and/or STMicro did not conceal
  14   material information regarding the vehicle’s defective ACU.
  15         131. Plaintiff Ravichandran Namakkal (“Plaintiff” for the purposes of this
  16   paragraph) is an individual residing in Ozone Park, New York. On or around
  17   May 31, 2014, Plaintiff purchased a new 2014 Honda Civic (for purposes of
  18   Plaintiff’s allegations, the “Class Vehicle”) from Hillside Honda, an authorized
  19   Honda dealership located in Queens, New York. At the time Plaintiff acquired the
  20   Class Vehicle, Plaintiff had a reasonable expectation that the Class Vehicle had
  21   working airbags and seatbelts, and Plaintiff had no way of knowing that the Class
  22   Vehicle contained a defective ACU that could cause the airbags and seatbelts to not
  23   function during a crash. Honda, ZF TRW, and STMicro concealed the existence of
  24   the defective ACU from consumers like Plaintiff, and this concealed information
  25   would have been material to Plaintiff’s decision to acquire the Class Vehicle.
  26   Plaintiff has suffered a concrete injury as a result of Honda, ZF TRW, and
  27   STMicro’s misconduct, and did not receive the full benefit of the bargain in
  28   acquiring the Class Vehicle. Plaintiff would not have purchased the Class Vehicle,

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   1   or would have paid less for it, if Honda, ZF TRW, and/or STMicro did not conceal
   2   material information regarding the vehicle’s defective ACU.
   3         132. Plaintiff Tonya McNeely (“Plaintiff” for the purposes of this
   4   paragraph) is an individual residing in Mooresville, North Carolina. On or around
   5   August 6, 2015, Plaintiff purchased a used 2012 Honda Civic (for purposes of
   6   Plaintiff’s allegations, the “Class Vehicle”) from Honda of Concord, an authorized
   7   Honda dealership located in Concord, North Carolina. At the time Plaintiff acquired
   8   the Class Vehicle, Plaintiff had a reasonable expectation that the Class Vehicle had
   9   working airbags and seatbelts, and Plaintiff had no way of knowing that the Class
  10   Vehicle contained a defective ACU that could cause the airbags and seatbelts to not
  11   function during a crash. Honda, ZF TRW, and STMicro concealed the existence of
  12   the defective ACU from consumers like Plaintiff, and this concealed information
  13   would have been material to Plaintiff’s decision to acquire the Class Vehicle.
  14   Plaintiff has suffered a concrete injury as a result of Honda, ZF TRW, and
  15   STMicro’s misconduct, and did not receive the full benefit of the bargain in
  16   acquiring the Class Vehicle. Plaintiff would not have purchased the Class Vehicle,
  17   or would have paid less for it, if Honda, ZF TRW, and/or STMicro did not conceal
  18   material information regarding the vehicle’s defective ACU.
  19         133. Plaintiff Angela Bowens (“Plaintiff” for the purposes of this
  20   paragraph) is an individual residing in Dallas, Texas. On or around May 17, 2015,
  21   Plaintiff purchased a new 2015 Honda Civic (for purposes of Plaintiff’s allegations,
  22   the “Class Vehicle”) from John Eagle Honda of Dallas, an authorized Honda
  23   dealership located in Dallas, Texas. At the time Plaintiff acquired the Class Vehicle,
  24   Plaintiff had a reasonable expectation that the Class Vehicle had working airbags
  25   and seatbelts, and Plaintiff had no way of knowing that the Class Vehicle contained
  26   a defective ACU that could cause the airbags and seatbelts to not function during a
  27   crash. Honda, ZF TRW, and STMicro concealed the existence of the defective
  28   ACU from consumers like Plaintiff, and this concealed information would have

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   1   been material to Plaintiff’s decision to acquire the Class Vehicle. Plaintiff has
   2   suffered a concrete injury as a result of Honda, ZF TRW, and STMicro’s
   3   misconduct, and did not receive the full benefit of the bargain in acquiring the Class
   4   Vehicle. Plaintiff would not have purchased the Class Vehicle, or would have paid
   5   less for it, if Honda, ZF TRW, and/or STMicro did not conceal material information
   6   regarding the vehicle’s defective ACU.
   7         v.     Mitsubishi Plaintiffs
   8         134. Plaintiff Donna Ronan (“Plaintiff” for the purposes of this paragraph)
   9   is an individual residing in Palmdale, California. On or around May 26, 2018,
  10   Plaintiff purchased a new 2017 Mitsubishi Lancer (for purposes of Plaintiff’s
  11   allegations, the “Class Vehicle”) from Camacho Mitsubishi, an authorized
  12   Mitsubishi dealership located in Palmdale, California. At the time Plaintiff acquired
  13   the Class Vehicle, Plaintiff had a reasonable expectation that the Class Vehicle had
  14   working airbags and seatbelts, and Plaintiff had no way of knowing that the Class
  15   Vehicle contained a defective ACU that could cause the airbags and seatbelts to not
  16   function during a crash. Mitsubishi, ZF TRW, and STMicro concealed the existence
  17   of the defective ACU from consumers like Plaintiff, and this concealed information
  18   would have been material to Plaintiff’s decision to acquire the Class Vehicle.
  19   Plaintiff has suffered a concrete injury as a result of Mitsubishi, ZF TRW, and
  20   STMicro’s misconduct, and did not receive the full benefit of the bargain in
  21   acquiring the Class Vehicle. Plaintiff would not have purchased the Class Vehicle,
  22   or would have paid less for it, if Mitsubishi, ZF TRW, and/or STMicro did not
  23   conceal material information regarding the vehicle’s defective ACU.
  24         135. Plaintiff Tiffany Ecklor (“Plaintiff” for the purposes of this paragraph)
  25   is an individual residing in Hesperia, California. On or around July 5, 2013,
  26   Plaintiff leased a new 2013 Mitsubishi Outlander (for purposes of Plaintiff’s
  27   allegations, the “Class Vehicle”) from Victorville Mitsubishi, an authorized
  28   Mitsubishi dealership located in Victorville, California. Plaintiff purchased the

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   1   Class Vehicle at the end of the lease term in or around February 7, 2018. At the
   2   time Plaintiff acquired the Class Vehicle, Plaintiff had a reasonable expectation that
   3   the Class Vehicle had working airbags and seatbelts, and Plaintiff had no way of
   4   knowing that the Class Vehicle contained a defective ACU that could cause the
   5   airbags and seatbelts to not function during a crash. Mitsubishi, ZF TRW, and
   6   STMicro concealed the existence of the defective ACU from consumers like
   7   Plaintiff, and this concealed information would have been material to Plaintiff’s
   8   decision to acquire the Class Vehicle. Plaintiff has suffered a concrete injury as a
   9   result of Mitsubishi, ZF TRW, and STMicro’s misconduct, and did not receive the
  10   full benefit of the bargain in acquiring the Class Vehicle. Plaintiff would not have
  11   leased, and would not have ultimately purchased the Class Vehicle, or would have
  12   paid less for it, if Mitsubishi, ZF TRW, and/or STMicro did not conceal material
  13   information regarding the vehicle’s defective ACU.
  14         136. Plaintiff Gaylynn Sanchez (“Plaintiff” for the purposes of this
  15   paragraph) is an individual residing in Corona, California. On or around
  16   July 31, 2015, Plaintiff leased a new 2015 Mitsubishi Lancer (for purposes of
  17   Plaintiff’s allegations, the “Class Vehicle”) from Cerritos Mitsubishi, an authorized
  18   Mitsubishi dealership located in Cerritos, California. Plaintiff purchased the Class
  19   Vehicle at the end of the lease term on or around July 25, 2019. At the time Plaintiff
  20   acquired the Class Vehicle, Plaintiff had a reasonable expectation that the Class
  21   Vehicle had working airbags and seatbelts, and Plaintiff had no way of knowing
  22   that the Class Vehicle contained a defective ACU that could cause the airbags and
  23   seatbelts to not function during a crash. Mitsubishi, ZF TRW, and STMicro
  24   concealed the existence of the defective ACU from consumers like Plaintiff, and
  25   this concealed information would have been material to Plaintiff’s decision to
  26   acquire the Class Vehicle. Plaintiff has suffered a concrete injury as a result of
  27   Mitsubishi, ZF TRW, and STMicro’s misconduct, and did not receive the full
  28   benefit of the bargain in acquiring the Class Vehicle. Plaintiff would not have

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   1   leased, and would not have ultimately purchased the Class Vehicle, or would have
   2   paid less for it, if Mitsubishi, ZF TRW, and/or STMicro did not conceal material
   3   information regarding the vehicle’s defective ACU.
   4         137. Plaintiff Michael Nearing (“Plaintiff” for the purposes of this
   5   paragraph) is an individual residing in Aurora, Colorado. On or around
   6   September 23, 2013, Plaintiff purchased a new 2014 Mitsubishi Lancer (for
   7   purposes of Plaintiff’s allegations, the “Class Vehicle”) from Quality Mitsubishi, an
   8   authorized Mitsubishi dealership located in Littleton, Colorado. At the time
   9   Plaintiff acquired the Class Vehicle, Plaintiff had a reasonable expectation that the
  10   Class Vehicle had working airbags and seatbelts, and Plaintiff had no way of
  11   knowing that the Class Vehicle contained a defective ACU that could cause the
  12   airbags and seatbelts to not function during a crash. Mitsubishi, ZF TRW, and
  13   STMicro concealed the existence of the defective ACU from consumers like
  14   Plaintiff, and this concealed information would have been material to Plaintiff’s
  15   decision to acquire the Class Vehicle. Plaintiff has suffered a concrete injury as a
  16   result of Mitsubishi, ZF TRW, and STMicro’s misconduct, and did not receive the
  17   full benefit of the bargain in acquiring the Class Vehicle. Plaintiff would not have
  18   purchased the Class Vehicle, or would have paid less for it, if Mitsubishi, ZF TRW,
  19   and/or STMicro did not conceal material information regarding the vehicle’s
  20   defective ACU.
  21         138. Plaintiff John Sancomb (“Plaintiff” for the purposes of this paragraph)
  22   is an individual residing in West Bend, Wisconsin. On or around September 19,
  23   2014, Plaintiff purchased a used 2013 Mitsubishi Lancer Sportback (for purposes of
  24   Plaintiff’s allegations, the “Class Vehicle”) from Heiser Chevrolet West Bend
  25   located in West Bend, Wisconsin. At the time Plaintiff acquired the Class Vehicle,
  26   Plaintiff had a reasonable expectation that the Class Vehicle had working airbags
  27   and seatbelts, and Plaintiff had no way of knowing that the Class Vehicle contained
  28   a defective ACU that could cause the airbags and seatbelts to not function during a

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   1   crash. Mitsubishi, ZF TRW, and STMicro concealed the existence of the defective
   2   ACU from consumers like Plaintiff, and this concealed information would have
   3   been material to Plaintiff’s decision to acquire the Class Vehicle. Plaintiff has
   4   suffered a concrete injury as a result of Mitsubishi, ZF TRW, and STMicro’s
   5   misconduct, and did not receive the full benefit of the bargain in acquiring the Class
   6   Vehicle. Plaintiff would not have purchased the Class Vehicle, or would have paid
   7   less for it, if Mitsubishi, ZF TRW, and/or STMicro did not conceal material
   8   information regarding the vehicle’s defective ACU.
   9                           III.   JURISDICTION AND VENUE
  10   A.       Subject Matter Jurisdiction
  11            139. This Court also has federal question jurisdiction under 28 U.S.C.
  12   § 1331 because Plaintiffs have claims under 18 U.S.C. § 1964 (RICO) and 15
  13   U.S.C. § 2301 (Magnusson-Moss).
  14            140. This Court has subject matter jurisdiction over this case pursuant to the
  15   Class Action Fairness Act, 28 U.S.C. § 1332(d), because members of the proposed
  16   Plaintiff Classes are citizens of states different from Defendants’ home states, and
  17   the aggregate amount in controversy exceeds $5,000,000, exclusive of interest and
  18   costs.
  19            141. This Court has supplemental jurisdiction over Plaintiffs’ state law
  20   claims under 28 U.S.C. § 1367.
  21   B.       Personal Jurisdiction
  22            i.    Domestic Defendants
  23            142. The domestic Defendants are Hyundai Motor America, Inc.; Mobis
  24   Parts America, LLC; Kia Motors America, Inc.; Toyota Motor North America, Inc.;
  25   Toyota Motor Sales, U.S.A., Inc.; Toyota Motor Engineering & Manufacturing
  26   North America, Inc.; American Honda Motor Co., Inc.; Honda R&D Americas,
  27   Inc.; Honda of America Mfg., Inc.; Mitsubishi Motors North America, Inc.; ZF
  28   Active Safety and Electronics US LLC; ZF Passive Safety Systems US Inc.; TRW

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   1   Automotive Inc.; ZF TRW Automotive Holdings Corp.; ZF North America, Inc.;
   2   FCA US LLC; and STMicroelectronics Inc.
   3         143. As explained below, this Court has personal jurisdiction over all of
   4   these Defendants for two basic reasons:
   5                a.     The domestic Defendants are based in California or a transferor
   6                       jurisdiction and therefore general jurisdiction exists; and/or
   7                b.     California or a transferor jurisdiction has specific jurisdiction.
   8                a.     California Defendants
   9         144. This Court has general jurisdiction over Hyundai Motor America, Inc.;
  10   Mobis Parts America, LLC; Kia Motors America, Inc.; Toyota Motor North
  11   America, Inc.; Toyota Motor Sales, U.S.A., Inc.; American Honda Motor Co., Inc.;
  12   Honda R&D Americas, Inc.; and Mitsubishi Motors North America, Inc. because
  13   they are all California corporations.
  14                b.     Michigan Defendants
  15         145. This Court has general jurisdiction over ZF Active Safety and
  16   Electronics US LLC; ZF Passive Safety Systems US Inc.; TRW Automotive Inc.;
  17   ZF TRW Automotive Holdings Corp.; ZF North America, Inc.; and FCA US LLC
  18   because Michigan has general jurisdiction over each of Defendants (due to the
  19   location of their headquarters in Michigan) and because the Judicial Panel for
  20   Multidistrict Litigation has transferred (and will continue to transfer in the future)
  21   all related cases from Michigan to this Court.
  22
                    c.     STMicroelectronics Inc.
  23         146. This Court has specific jurisdiction over STMicroelectronics Inc.
  24   because Michigan has specific jurisdiction over STMicroelectronics Inc. and
  25   because the Judicial Panel for Multidistrict Litigation has transferred related cases
  26   from Michigan to this Court. Michigan has specific jurisdiction over
  27   STMicroelectronics Inc. because, according to TRW Automotive Inc., the Michigan
  28   office of STMicroelectronics Inc. was responsible for manufacturing the DS84
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   1   ASICs that are part of the defective ZF TRW ACUs. Because the DS84 ASIC—
   2   including its vulnerability to EOS—is a critical part of the defective ZF TRW ACU
   3   design, Plaintiffs’ claims arise from STMicroelectronics Inc.’s Michigan activities.
   4          147. This Court also has specific jurisdiction over STMicroelectronics Inc.
   5   because consumers in California and the transferor jurisdictions bought vehicles
   6   equipped with ZF TRW ACUs containing STMicroelectronics Inc.’s DS84 ASIC.
   7   When it made the DS84 ASICs, STMicroelectronics Inc. intended for its DS84
   8   ASICs to be installed in automobiles sold in California and the transferor districts.
   9          148. In any event, STMicroelectronics Inc. is based in Texas and a United
  10   States District Court has general jurisdiction over it. Although no member case was
  11   filed in Texas, the Judicial Panel on Multidistrict Litigation transferred all the
  12   pending cases with consumer claims related to the defective ZF TRW ACUs to this
  13   Court. If a case were filed in Texas, it would almost certainly be transferred here
  14   and the Court would stand in the shoes of the transferor court.
  15                 d.     Toyota Motor Engineering & Manufacturing North
  16                        America, Inc.

  17          149. This Court has specific jurisdiction over Toyota Motor Engineering &
  18   Manufacturing North America, Inc. based on its operation of Toyota Motor
  19   Manufacturing de Baja California and TABC in Long Beach, California. Upon
  20   information and belief, Toyota vehicles with the defective ZF TRW ACUs were
  21   manufactured in these California facilities.
  22          150. This Court also has specific jurisdiction because consumers in
  23   California and the transferor jurisdictions bought Toyota vehicles equipped with ZF
  24   TRW ACUs that were made at other facilities operated by Toyota Motor
  25   Engineering & Manufacturing North America, Inc. Toyota Motor Engineering &
  26   Manufacturing North America, Inc. intended for automobiles made in its other
  27   facilities to be sold in California and the transferor districts.
  28

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   1          151. In any event, Toyota Motor Engineering & Manufacturing North
   2   America, Inc. is based in Kentucky and a United States District Court has general
   3   jurisdiction over it. Although no member case was filed in Kentucky, the Judicial
   4   Panel on Multidistrict Litigation transferred all the pending cases with consumer
   5   claims related to the defective ZF TRW ACUs (including the cases against Toyota
   6   Motor Toyota Motor Engineering & Manufacturing North America, Inc.) to this
   7   Court. If a case were filed in Kentucky, it would almost certainly be transferred
   8   here and the Court would stand in the shoes of the transferor court.
   9                 e.        Honda of America Mfg., Inc.
  10          152. This Court has specific jurisdiction over Honda of America Mfg. Inc.
  11   because consumers in California and the transferor jurisdictions bought Honda
  12   vehicles equipped with ZF TRW ACUs that were made by Honda of America Mfg.,
  13   Inc. The company intended for its automobiles to be sold in California and the
  14   transferor districts.
  15          153. In any event, Honda of America Mfg., Inc. is based in Ohio and a
  16   United States District Court has general jurisdiction over it. Although no member
  17   case was filed in Ohio, the Judicial Panel on Multidistrict Litigation transferred all
  18   the pending cases with consumer claims related to the defective ZF TRW ACUs
  19   (including the cases against Honda of America Mfg., Inc.) to this Court. If a case
  20   were filed in Ohio, it would almost certainly be transferred here and the Court
  21   would stand in the shoes of the transferor court.
  22          ii.    Foreign Defendants
  23          154. The foreign Defendants are ZF Holdings B.V.; ZF Friedrichshafen
  24   AG; STMicroelectronics N.V.; STMicroelectronics International N.V.; Hyundai
  25   Motor Co., Ltd.; Kia Motors Corporation; Hyundai MOBIS Co., Ltd.; Fiat Chrysler
  26   Automobiles N.V.; Toyota Motor Corporation; Honda Motor Co., Ltd.; Honda
  27   R&D Co., Ltd.; and Mitsubishi Motors Corporation.
  28

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   1         155. This Court has specific personal jurisdiction over Defendants, pursuant
   2   to the long-arm statutes of California (Cal. Code Civ. Proc § 410.10), Florida (Fla.
   3   Stat. §§ 48.193(1)), Alabama (Ala. R. Civ. P. 4.2), Michigan (Mich. Comp. Laws
   4   § 600.705), New York (N.Y. CPLR § 302), Washington (RCW § 4.28.185(1)(a)
   5   and any other applicable jurisdiction.
   6         156. In the alternative, should the Court find that any of the foreign
   7   Defendants did not have minimum contacts with any states sufficient for specific
   8   jurisdiction, the Court has personal jurisdiction under Rule 4(k) of the Federal
   9   Rules of Civil Procedure because Plaintiffs have pled a federal RICO claim and
  10   exercising jurisdiction is consistent with the United States Constitution, given the
  11   foreign Defendants’ pervasive contacts with the United States and the fact that
  12   Plaintiffs’ claims arise from transactions in the United States involving vehicles and
  13   vehicle parts designed and distributed by foreign Defendants.
  14         157. As explained below, the foreign Defendants targeted consumers in
  15   each of the fifty states with advertising for the Class Vehicles; purposely availed
  16   themselves of commerce in the fifty states; controlled the design, distribution, and
  17   sale of either vehicles with defective ZF TRW ACUs or the ACUs themselves; and
  18   communicated with each other regarding the defective ZF TRW ACUs using mail
  19   and wire in the United States. These contacts with the United States, California, and
  20   the transferor districts establish personal jurisdiction.
  21                a.     ZF Holdings B.V. and ZF Friedrichshafen AG
  22         158. Although ZF Holdings B.V. and ZF Friedrichshafen AG are based in
  23   Europe, the Court has specific jurisdiction over them based on their pervasive
  24   contacts with the United States. ZF Holdings B.V.’s and ZF Friedrichshafen AG’s
  25   contacts with the United States were intended to cause sales and leases of vehicles
  26   with ZF TRW component parts in the United States. Such sales and leases give rise
  27   to Plaintiffs’ claims.
  28

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   1         159. On or around May 15, 2015, ZF Friedrichshafen AG and its
   2   subsidiaries acquired TRW Automotive Holdings Corp. and its subsidiaries. The
   3   purchase price was approximately $12 billion. TRW Automotive Holdings Corp.
   4   was (and remains) an American corporation, headquartered in Michigan. The
   5   merger was the largest acquisition in ZF Friedrichshafen AG’s 100-year history. At
   6   the time, ZF Friedrichshafen AG reported that “TRW Automotive Holdings Corp. .
   7   . . is almost as big as ZF.” Upon information and belief, ZF Friedrichshafen AG’s
   8   primary reasons for acquiring TRW Automotive Holdings Corp. included its ties to
   9   the United States, its history and standing in the United States automotive industry,
  10   and the know-how of its United States personnel.
  11         160. Upon information and belief, since the merger, ZF Holdings B.V.
  12   and/or ZF Friedrichshafen AG have had the power to appoint board members to all
  13   of the American ZF TRW subsidiaries. They have exercised this power to appoint
  14   board members to these subsidiaries that they believe will manage the subsidiaries
  15   with the principal goal of benefiting the B.V. and AG entities.
  16         161. Following the May 15, 2015 acquisition, ZF Friedrichshafen AG
  17   exercised significant control over the day-to-day operations of ZF TRW in the
  18   United States.
  19         162. ZF Friedrichshafen AG’s 2015 Annual Report describes its efforts to
  20   integrate TRW:
  21
                 To ensure the top quality of our products and services at
  22             economic costs, ZF is generating new synergies through the
                 integration of ZF TRW: Knowledge sharing and the further
  23
                 development of common standards will improve the quality of
  24             our products even further. Materials procurement of the two
                 companies is also being merged – with positive repercussions
  25
                 for the cost structure. . . .
  26
                 A common objective of the Supervisory Board and the Board
  27
                 of Management to ensure long-term success is the sustainable
  28             further development of the ZF Group based on the

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   1              requirements for new technologies in an increasingly dynamic
   2              market. The pooling of the Group’s e-mobility activities in the
                  new E-Mobility Division, ZF’s acquisition of Bosch Rexroth’s
   3              industrial drives segment and, above all, the successful
   4              integration of ZF TRW play a major role here. The
                  Supervisory Board will closely follow the further development
   5              of these activities. The know-how of ZF TRW, incorporated
   6              into the new Active & Passive Safety Technology Division,
                  opens up new opportunities for ZF to actively shape both the
   7              safety and automated driving megatrends. The process and
   8              structure of ZF TRW’s integration as well as the adapted ZF
                  management concept were regularly deliberated by the Board .
   9              ..
  10
                  The members of the Board of Management are assigned
  11              directly to the six divisions as well as to the ZF Services
  12              Business Unit. The same applies to the responsibilities with
                  regard to the Regions of North America, South America and
  13              Asia-Pacific. The Group structure with six divisions is aligned
  14              with the market and customers. . . .
  15              The Active & Passive Safety Technology Division has been
  16              managing the business activities of the acquired company
                  TRW Automotive Holdings Corp. since May 15, 2015. It
  17              includes the following business units: Braking Systems,
  18              Steering Systems, Commercial Steering Systems, Occupant
                  Safety Systems, Electronics, Body Control Systems,
  19              Engineered Fasteners & Components and Parts & Service.
  20         163. A March 2018 letter from ZF Friedrichshafen AG CEO Wolf-Henning
  21   Scheider states: “An important operational highlight to mention is the integration of
  22   TRW into the ZF Group. The new ZF brand image unveiled for the first time at
  23   IAA 2017 makes the merging of the two companies also apparent to the public. ZF
  24   is now ‘one company’.” This statement exemplifies ZF Holdings B.V. and ZF
  25   Friedrichshafen AG’s common pattern and practice of describing themselves, ZF
  26   TRW Automotive Holdings Corp., and the other U.S. TRW affiliates as a single,
  27   unified entity.
  28

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   1         164. A March 2018 letter from Franz-Josef Paefgen, Chairman of the ZF
   2   Friedrichshafen AG supervisory board states:
   3
                 A key component of [the ZF 2025 Strategy], namely the
   4             integration of TRW Automotive Holding Corp, acquired in
                 May 2015, was essentially complete by the end of the fiscal
   5
                 year [2017] with merged corporate functions, a unified identity
   6             and the remaining activities transferred into the line
                 organization. Since the beginning of 2017, the service activities
   7
                 of ZF and TRW have been successfully brought together into
   8             one organization, ‘ZF Aftermarket’.
   9   This statement further exemplifies ZF Holdings B.V. and ZF Friedrichshafen AG’s
  10   common pattern and practice of describing themselves, ZF TRW Automotive
  11   Holdings Corp., and the other U.S. TRW affiliates as a single, unified entity.
  12         165. ZF Friedrichshafen AG 2017 Annual Report states:
  13             In order to ensure the company’s long-term success, corporate
  14             social responsibility has to be assumed and business activities
                 must be managed responsibly, sustainably and with integrity.
  15             With its effective Compliance Management System (CMS)
  16             that was further developed in 2017, ZF has taken this
                 responsibility to heart. The ZF and ZF TRW compliance areas
  17
                 were merged on July 1, 2017. In the course of the integration,
  18             the legal and compliance organizations of the ZF Group were
                 also merged. The Board Member for Human Resources and
  19
                 Governance is now responsible for them.
  20
  21   Based on this statement and upon information and belief, ZF Holdings B.V. and ZF

  22   Friedrichshafen AG develop the policies for and control the senior executives of the

  23   merged compliance, human resources, and governance functions of all the U.S.-

  24   based ZF TRW Defendants.

  25         166. ZF Friedrichshafen AG’s companywide compliance guide dated July

  26   2018 states:

  27             Product compliance is an important priority for ZF. ZF holds
  28             itself to the highest standards of legal and ethical conduct and
                 is committed to making high quality products that are safe and
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   1             comply with applicable laws, regulations, and standards. These
   2             principles are implemented through ZF’s policies, processes
                 and structures, and all ZF employees are held to these
   3             standards.
   4
       Upon information and belief, ZF Friedrichshafen AG distributed the compliance
   5
       guide to all employees of ZF TRW, including employees of the American ZF TRW
   6
       Defendants, and was responsible for enforcing (and failing to enforce) it.
   7
             167. Based on these statements by ZF Friedrichshafen AG and upon
   8
       information and belief, ZF Holdings B.V. and ZF Friedrichshafen AG were actively
   9
       involved in monitoring whether ZF TRW’s ACUs complied with safety standards
  10
       in the United States and the legal risks arising from those ACUs.
  11
             168. Upon information and belief, ZF Friedrichshafen AG controlled all ZF
  12
       TRW company communications relating to the defective ZF TRW ACUs since the
  13
       TRW acquisition in 2015. In connection with the partial recalls of the defective
  14
       ACUs between 2016 and 2020 and NHTSA’s investigation into the ACUs, ZF
  15
       TRW prepared many slide deck presentations for NHTSA and the Vehicle
  16
       Manufacturer Defendants. Defendants produced several such slide deck
  17
       presentations to Plaintiffs. All such presentations since 2015 contain copyright
  18
       marks identifying ZF Friedrichshafen AG as the owner of the materials.
  19
       Presumably, it was the author as well. The presentations also contain language
  20
       stating: “This document is the property of ZF TRW and is disclosed in confidence.
  21
       It may not be copied, disclosed to others, or used for manufacturing, without the
  22
       prior consent of ZF TRW.” Based on this language, ZF Friedrichschafen AG’s
  23
       consent was required to send the presentation to NHTSA and/or the Vehicle
  24
       Manufacturer Defendants, and ZF Friedrichshafen AG provided consent.
  25
       Accordingly, ZF Friedrichshafen AG had final approval over the statements
  26
       contained in these presentations.
  27
  28

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   1                b.     STMicroelectronics N.V. and STMicroelectronics
                           International N.V.
   2
   3         169. Although STMicroelectronics N.V. and STMicroelectronics
   4   International N.V. are based in Europe, the Court has specific jurisdiction over
   5   them based on their pervasive contacts with the United States. STMicroelectronics
   6   N.V. and STMicroelectronics International N.V.’s contacts with the United States
   7   are in furtherance of sales and leases of vehicles with STMicro component parts in
   8   the United States. Such sales and leases give rise to Plaintiffs’ claims.
   9         170. Upon information and belief, STMicroelectronics N.V. and
  10   STMicroelectronics International N.V. have the power to appoint board members to
  11   all of the American STMicro subsidiaries. They have exercised this power to
  12   appoint board members to these subsidiaries that they believe will manage the
  13   subsidiaries with the principal goal of benefiting the two parent entities.
  14         171. STMicroelectronics N.V., either directly or through its wholly owned
  15   subsidiaries, designs, develops, manufactures, markets, and sells a broad range of
  16   products, including ASICs, throughout the world, including in the United States,
  17   this District, and Transferor Jurisdictions. STMicroelectronics N.V. reports that its
  18   three regional sales organizations, including the one covering the United States,
  19   report to a global head of sales & marketing at the parent company.
  20         172. Although STMicroelectronics N.V. is based in Europe, some of its
  21   securities are traded on the New York Stock Exchange.
  22         173. STMicroelectronics, Inc.—the company that ZF TRW identified as the
  23   manufacturer of the DS84 ASIC—renders services on behalf of STMicroelectronics
  24   N.V. that are sufficiently important that STMicroelectronics N.V. or
  25   STMicroelectronics International N.V. would need to perform those services
  26   themselves if its American subsidiary did not exist. STMicroelectronics N.V.
  27   controls the public name and brand of STMicroelectronics N.V.,
  28   STMicroelectronics International N.V., and STMicroelectronics, Inc. In

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   1   transactions and interactions with customers, including ZF TRW,
   2   STMicroelectronics N.V.’s unified brand and logo serve as its official seal and
   3   signature.
   4         174. During the relevant time period, STMicroelectronics N.V.
   5   continuously engaged in business in the United States by, among other things,
   6   interacting with its wholly owned subsidiaries in the United States, including
   7   STMicroelectronics, Inc., STMicroelectronics Software Inc., Faroudja Laboratories
   8   Inc., and STMicroelectronics (North America) Holding, Inc. STMicroelectronics
   9   N.V. exerts a close degree of control over the actions of its United States
  10   subsidiaries, and exerts control over their daily affairs. Indeed, in its 2019 Annual
  11   Report, STMicroelectronics N.V. stated that it and STMicroelectronics
  12   International N.V. “provide certain administrative, human resources, legal, treasury,
  13   strategy, manufacturing, marketing and other overhead services to our consolidated
  14   subsidiaries pursuant to service agreements for which we recover the cost.”
  15         175. STMicroelectronics N.V. established subsidiaries in the United States
  16   expressly to target the United States market, and the market is very important to
  17   STMicroelectronics N.V. For example, in 2019, STMicro’s largest customer was
  18   Apple (itself headquartered in Cupertino, California), which accounted for 17.6% of
  19   its revenues.
  20         176. STMicro holds itself out as a single “company” that caters to United
  21   States companies and purposefully avails itself of the United States market for its
  22   products, including the DS84 ASIC—which is installed in millions of vehicles sold
  23   and leased in the United States.
  24         177. STMicro’s website lists 12 offices in the United States through which
  25   it conducts sales and other business, including one in Santa Clara, California, and
  26   14 other entities as designated sales representatives throughout the United States.
  27   Upon information and belief, all of these offices report to a global head of sales &
  28   marketing at STMicroelectronics N.V.

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   1         178. STMicro represents that it also sells its products through distributors
   2   and retailers, and STMicro’s website lists over 175 distributors in the United States,
   3   including in this District. STMicroelectronics N.V.’s 2019 Annual Report states
   4   that it had 761 employees in the United States in 2019.
   5         179. STMicroelectronics N.V. and STMicroelectronics International N.V.
   6   understood that the DS84 ASIC at issue in this litigation would be equipped in ZF
   7   TRW ACUs installed in millions of vehicles for sale and lease to consumers in the
   8   United States, including this District and the Transferor Jurisdictions. It also
   9   understood that the DS84 ASIC (when functioning properly) was essential to
  10   ensuring that vehicles had functioning airbags and seatbelts.
  11                c.     Hyundai Motor Co., Ltd., Kia Motors Corporation, and
                           Hyundai MOBIS Co., Ltd.
  12
  13         180. Although Hyundai Motor Co., Ltd., Kia Motors Corporation, and
  14   Hyundai MOBIS Co., Ltd. are based in South Korea, the Court has specific
  15   jurisdiction over them based on their pervasive contacts with the United States.
  16   These foreign Hyundai-Kia Defendants’ contacts with the United States are all in
  17   furtherance of sales and leases of Hyundai-Kia vehicles in the United States. These
  18   sales and leases give rise to Plaintiffs’ claims.
  19         181. The Hyundai-Kia Defendants are an intertwined group of entities with
  20   overlapping roles and responsibilities. Hyundai Motor Co., Ltd. and Kia Motors
  21   Corporation are tightly affiliated, so much so that they often hold themselves out to
  22   be part of the same joint entity, the Hyundai-Kia Motor Company (“HKMC”) and
  23   sometimes the “Hyundai Motor Group”, which upon information and belief, are not
  24   formal legal entities. Each of these entities was involved with the issues related to
  25   the defective ACUs in Hyundai and Kia Class Vehicles.
  26         182. Hyundai Motor Co., Ltd. and Kia Motors Corporation share many key
  27   executives. For example, as of 2019, Eui-Sun Chung was the Executive Vice
  28   President of both companies.

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   1         183. Hyundai Motor Co., Ltd. and Kia Motors Corporation established
   2   Hyundai Motor America, Inc. and Kia Motors America, Inc. in the United States to
   3   target consumers in the United States.
   4         184. In a recent complaint to enforce its trademark rights, Hyundai Motor
   5   Co., Ltd. represented that it “currently designs, manufactures, markets, distributes,
   6   and sells a wide range of automobile and related automobile parts to over 190
   7   countries throughout the world, including the United States, under the trademark
   8   ‘Hyundai.’” Upon information and belief, Kia Motors Corporation is similarly
   9   involved in the design, manufacture, marketing, distribution, and sale of Kia
  10   vehicles in the United States.
  11         185. The services rendered by Hyundai Motor America, Inc., Kia Motors
  12   America, Inc., and Mobis Parts America, LLC for the foreign Hyundai-Kia
  13   Defendants are so important to the foreign Hyundai-Kia Defendants that they would
  14   perform those services themselves if Hyundai Motor America, Inc., Kia Motors
  15   America, Inc., and Mobis Parts America, LLC did not exist. Hyundai Motor Co.,
  16   Ltd. controls the public name and brand of Hyundai Motor America, Inc., whereas
  17   Kia Motors Corporation controls the public name and brand of Kia Motors
  18   America, Inc. Hyundai MOBIS Co., Ltd. likewise controls the public name and
  19   brand of Mobis Parts America, LLC. In consumer transactions, like those with
  20   Plaintiffs, Hyundai Motor Co., Ltd.’s and Kia Motors Corporation’s unified brands
  21   and logos serve as their and their subsidiaries’ official seal and signature as to
  22   consumers.
  23         186. In each year of the last decade, Hyundai Motor Co., Ltd. sold at least
  24   500,000 automobiles in the United States through Hyundai Motor America, Inc.
  25   Kia Motors Corporation has comparable sales volume in the United States. In 2019
  26   alone, for example, it sold 615,000 vehicles in the United States through Kia
  27   Motors America, Inc.
  28

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   1         187. For decades, Hyundai Motor Co., Ltd. and Kia Motors Corporation
   2   have continuously engaged in business in the United States by, among other things,
   3   interacting with its wholly owned subsidiaries in the United States.
   4         188. Upon information and belief, Hyundai Motor Co., Ltd., Hyundai
   5   MOBIS Co., Ltd., and Kia Motors Corporation have the power to appoint board
   6   members to Hyundai Motor America, Inc., Mobis Parts America, LLC, and Kia
   7   Motors America, Inc., respectively. They have exercised this power to appoint
   8   board members to these subsidiaries that they believe will manage the subsidiaries
   9   with the principal goal of benefiting them.
  10         189. Hyundai Motor Co., Ltd., Hyundai MOBIS Co., Ltd., and Kia Motors
  11   Corporation purposely availed themselves of markets in the United States. For
  12   example, Hyundai Motor Co., Ltd. and Kia Motors Corporation each regularly
  13   submitted applications to the EPA to obtain certification necessary for the sale of
  14   their vehicles in the United States.
  15         190. Hyundai Motor Co., Ltd. reportedly maintains a “Global Command
  16   and Control Center” in Korea. The center monitors every operating line at all
  17   Hyundai plants in the world, in real time, 24 hours a day, 365 days a year. The
  18   production data is generated on the assembly lines and displayed on boards where
  19   team members can see it, and headquarters can see the same data at the same time.
  20   Employees of Hyundai Motor America, Inc. report on quality issues to Hyundai
  21   Motor Co., Ltd.
  22         191. During the relevant period, Hyundai Motor Co., Ltd. registered and
  23   maintained registrations with the United States government for trademarks
  24   associated with its vehicles and parts, which it used to identify and distinguish its
  25   vehicles and parts in the United States, this District, and Transferor Jurisdictions.
  26   Kia Motors Corporation did the same for Kia vehicles sold in the United States.
  27         192. Senior Korean executives at Hyundai Motor Co., Ltd. visit Hyundai
  28   plants in the United States.

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   1         193. Korean speaking "coordinators" reportedly work at Hyundai Motor
   2   America, Inc. and Kia Motors America, Inc. and report on their activities to Korean
   3   executives at Hyundai Motor Co., Ltd. and Kia Motors Corporation, respectively,
   4   every business day.
   5         194. Hyundai Motor Co., Ltd. and Hyundai Motor America, Inc. share
   6   common executives. For example, Jose Munoz is the current Global Chief
   7   Operating Officer of Hyundai Motor Co., Ltd. as well as the President and CEO of
   8   Hyundai Motor North America and the President and CEO of Hyundai Motor
   9   America, Inc.
  10         195. Kia Motors Corporation and Kia Motors Alnerica, Inc. also share
  11   common employees. For example, Suk Won (Scott) Hahn originally joined Kia
  12   Motors Corporation in January 2006 before going on to become the Chief Financial
  13   Officer of Kia Motors American, Inc. in February 2015.
  14         196. Kia Motors Corporation, Hyundai Motor Co., Ltd., and Hyundai
  15   MOBIS Co., Ltd. played key roles in the Hyundai-Kia Defendants' analysis and
  16   decision-making relating to the defective ZF TRW ACUs in the United States.
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  21         197. Between October 2015 and July of 2016, ZF TRW met with Hyundai
  22   Motor Co., Ltd., Kia Motors Corporation, Hyundai MOBIS Co., Ltd. in Korea at
  23   least four times for the purpose of discussing the problems with ZF TRW ACUs in
  24   Hyundai-Kia Class Vehicles and what to tell NHTSA.
  25         198. Between 2011and2017, Hyundai MOBIS Co., Ltd. referred multiple
  26   suspicious accidents involving failed airbags to ZF TRW for review and analysis, in
  27   part in relation to its, Hyundai Motor Co., Ltd. ' s, and Kia Motors Corporation' s
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   1   decision-making about whether and when to disclose the defect with ZF TRW
   2   ACUs to consumers and NHTSA.
   3                d.       Fiat Chrysler Automobiles N.V.
   4         199. Although Fiat Chrysler Automobiles N.V. is based in Europe, the
   5   Court has specific jurisdiction over it based on its pervasive contacts with the
   6   United States. Its contacts with the United States are all in furtherance of sales and
   7   leases of its vehicles in the United States. These sales and leases give rise to
   8   Plaintiffs’ claims.
   9         200. Fiat Chrysler Automobiles N.V. has described FCA US LLC as its
  10   “most significant” subsidiary, and one of two principal subsidiaries in the United
  11   States—the other being a holding company. Since its establishment in 2014 in
  12   connection with the merger of Chrysler and Fiat, Fiat Chrysler Automobiles N.V.
  13   continuously engaged in business in the United States by, among other things
  14   described below, interacting with FCA US LLC. Fiat Chrysler Automobiles N.V.
  15   exerts a close degree of control over the actions of FCA US LLC.
  16         201. FCA US LLC renders services on behalf of Fiat Chrysler Automobiles
  17   N.V., such as the lease and sale of vehicles in the United States, that are important
  18   enough to Fiat Chrysler Automobiles N.V. that Fiat Chrysler Automobiles N.V.
  19   would perform those services itself if FCA US LLC did not exist. There are
  20   approximately 2,500 authorized FCA US LLC dealerships in the United States. In
  21   2019 alone, FCA US sold more than 2.2 million vehicles in the United States. In
  22   2018 and 2019, Fiat Chrysler Automobiles N.V. reported that over 30% of its sales
  23   occurred in the United States, more than any other country.
  24         202. Fiat Chrysler Automobiles N.V. controls the public name and brand of
  25   FCA US LLC. In consumer transactions, like those with Plaintiffs, Fiat Chrysler
  26   Automobiles N.V.’s unified brand and trademarked logo serve as its and FCA US
  27   LLC’s official seal and signature to consumers.
  28

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   1         203. Fiat Chrysler Automobiles N.V., together with FCA US LLC and its
   2   other subsidiaries, operates and holds itself out to the public as a single “Group”
   3   whose day to day operations is managed by a team called the Group Executive
   4   Council, which is comprised of employees from both Fiat Chrysler Automobiles
   5   N.V. and FCA US LLC.
   6         204. From at least 2016 through the present, FCA US LLC has registered
   7   and maintained registrations with the United States government for trademarks
   8   associated with its FCA US-branded vehicles and parts, which it uses to identify
   9   and distinguish its vehicles and parts in the United States, this District, and
  10   Transferor Jurisdictions. Fiat Chrysler Automobiles N.V. is recognized in the
  11   registrations as the owner of the FCA trademark.
  12         205. Fiat Chrysler Automobiles N.V. operates a website on behalf of the
  13   “Group,” with a web address that references the “Group”: www.fcagroup.com. Fiat
  14   Chrysler Automobiles N.V. advertises on its website that “Fiat Chrysler
  15   Automobiles (FCA) designs, engineers, manufactures and sells vehicles and related
  16   parts, services and production systems worldwide. The Group operates over 100
  17   manufacturing facilities and over 40 R&D centers; and it sells through dealers and
  18   distributors in more than 130 countries.” The website also illustrates the unity of
  19   identity among the “Group” by referring to, among other things, “our people,
  20   throughout all FCA facilities worldwide,” “our production processes,” and “our
  21   teams.” Additionally, the website contains a section entitled “Our Plants,” which
  22   lists 18 plants in the United States.
  23         206. Fiat Chrysler Automobiles N.V.’s website actively promotes FCA
  24   brands, including Chrysler, Jeep, Dodge, and Fiat.
  25         207. Fiat Chrysler Automobiles N.V. claims to require that the officers and
  26   employees of its subsidiaries, including officers and employees of FCA US LLC,
  27   abide by its Code of Conduct. Fiat Chrysler Automobiles N.V. closely monitors its
  28

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   1   subsidiaries’ compliance with the Code of Conduct and imposes discipline for
   2   violations thereof.
   3         208. Fiat Chrysler Automobiles N.V.’s 2019 Annual Report further
   4   confirms that Fiat Chrysler Automobiles N.V. and its subsidiaries, including FCA
   5   US LLC, operate and hold themselves out to the public as a unified “Group.”
   6   Therein, Fiat Chrysler Automobiles N.V. reported that “[f]or our mass-market
   7   vehicle brands, we have centralized design, engineering, development and
   8   manufacturing operations, which allow us to efficiently operate on a global scale.”
   9   Fiat Chrysler Automobiles N.V.’s “mass-market vehicle brands” include Chrysler,
  10   Jeep, Dodge, and Fiat.
  11         209. Fiat Chrysler Automobiles N.V. stated in its 2019 Annual Report that
  12   it, together with its subsidiaries, operates 111 manufacturing facilities worldwide,
  13   28 of which are in the United States, and employs approximately 191,752 people,
  14   95,621 of which are in the United States—significantly more than in any other
  15   country or region.
  16         210. Fiat Chrysler Automobiles N.V. reported that it, together with its
  17   subsidiaries, sold approximately 2.2 million vehicles in the United States in 2019,
  18   and that approximately 68% of its revenue came from its North America business
  19   segment. Accordingly, the United States is the primary sales market for Fiat
  20   Chrysler Automobiles N.V. and FCA US LLC, and their sales to the United States
  21   and this District are voluntary, intentional, and regular.
  22         211. Fiat Chrysler Automobiles N.V.’s 2019 Annual Report notes that “in
  23   2019, the Group announced plans to invest a total of $4.5 billion in five of its
  24   existing Michigan plants and to work with the State of Michigan and the City of
  25   Detroit on building a new assembly plant within the city limits.” That investment is
  26   expected to “increase capacity to meet growing demand for Jeep and Ram brands.”
  27         212. As Fiat Chrysler Automobiles N.V. acknowledged in its 2019 Annual
  28   Report, “[t]he Group and its subsidiaries, of which the most significant is FCA US

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   1   LLC … together with its subsidiaries, are engaged in the design, engineering,
   2   manufacturing, distribution and sale of automobiles and light commercial vehicles,
   3   engines, transmission systems, metallurgical products and production systems.”
   4   This includes centralized design, engineering, manufacturing, distribution, and sale
   5   of FCA Class Vehicles, including Plaintiffs’ vehicles, in all 50 states and the
   6   District of Columbia.
   7         213. Fiat Chrysler Automobiles N.V. exercises ultimate control over FCA
   8   US LLC marketing and advertising through, among other things, Fiat Chrysler
   9   Automobiles N.V.’s Commercial Committee, which oversees matters related to
  10   sales and marketing.
  11                e.     Toyota Motor Corporation
  12         214. Although Toyota Motor Corporation is based in Japan, the Court has
  13   specific jurisdiction over it based on its pervasive contacts with the United States.
  14   Its contacts with the United States are all in furtherance of sales and leases of its
  15   vehicles in the United States. These sales and leases give rise to Plaintiffs’ claims.
  16         215. On March 6, 2013, Toyota Motor Corporation announced changes to
  17   its organizational structure. Going forward, it would operate eight regional
  18   divisions, including one division for North America. The North American division
  19   business unit heads and regional heads report to Toyota Motor Corporation’s global
  20   headquarters in Japan.
  21         216. Toyota Motor North America Inc.’s, Toyota Motor Engineering &
  22   Manufacturing North America, Inc.’s and Toyota Motor Sales, U.S.A., Inc.’s
  23   services on behalf of Toyota Motor Corporation are so important that Toyota Motor
  24   Corporation would perform those services itself if the subsidiaries did not exist. In
  25   consumer transactions, like those with Plaintiffs, Toyota Motor Corporation’s
  26   unified brand and logo serve as its and Toyota Motor North America Inc.’s, Toyota
  27   Motor Engineering & Manufacturing North America, Inc.’s, and Toyota Motor
  28   Sales, U.S.A., Inc.’s official seal and signature to consumers.

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   1         217. Toyota Motor Corporation’s 2019 Annual Report acknowledges:
   2
                 The North American region is one of Toyota’s most significant
   3             markets. . . . In the North American region, of which the U.S.
                 is the main market, Toyota has a wide product lineup
   4
                 (excluding large trucks and buses), and sold 2,745 thousand
   5             vehicles on a consolidated basis in fiscal 2019. This represents
                 approximately 31% of Toyota’s total unit sales on a
   6
                 consolidated basis. The U.S., in particular, is the largest market
   7             in the North American region, which accounts for 86% of the
                 retail sales of Toyota in such region. Sales figures for fiscal
   8
                 2019 were 97.8% of those in the prior fiscal year.
   9
  10         218. In 2020, Toyota Motor Corporation identified itself as one of the

  11   Toyota companies responsible for manufacturing Toyota Corollas with the

  12   defective ZF TRW ACU that were sold in the United States.

  13         219. For decades, Toyota Motor Corporation has continuously engaged in

  14   business in the United States by, among other things, interacting with its wholly

  15   owned subsidiaries in the United States.

  16         220. Upon information and belief, Toyota Motor Corporation has the power

  17   to appoint board members to Toyota Motor North America Inc., Toyota Motor

  18   Engineering & Manufacturing North America, Inc. and Toyota Motor Sales,

  19   U.S.A., Inc. Toyota Motor Corporation has exercised this power to appoint board

  20   members to these subsidiaries that Toyota Motor Corporation believes will manage

  21   the subsidiaries with the principal goal of benefiting Toyota Motor Corporation.

  22         221. Toyota Motor Corporation purposely avails itself of markets in the

  23   United States. For example, Toyota Motor Corporation regularly submitted

  24   applications to obtain certification from the EPA that was necessary for the sale of

  25   Toyota vehicles in the United States.

  26         222. Since 1992, Toyota Motor Corporation has maintained a set of

  27   “Guiding Principles” for all its subsidiaries. Toyota Motor Corporation has clarified

  28   these principles with additional guidelines. For example, according to Toyota

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   1   Motor Corporation, a document called “Toyota Way 2001” “clarifies the values and
   2   business methods that all employees should embrace in order to carry out the
   3   Guiding Principles at Toyota throughout the company’s global activities.” To
   4   promote sharing of the Toyota Way, the Toyota Institute was established in January
   5   2002 as an internal human resources development organization. Since 2003,
   6   overseas affiliates in North America (U.S.), Europe (Belgium), Asia (Thailand and
   7   China), Africa (South Africa) and Oceania (Australia) have established their own
   8   human resources training organizations modeled after the Toyota Institute.
   9         223. Toyota Motor Corporation also authored and updates a Code of
  10   Conduct that employees of all Toyota subsidiaries are instructed to follow. Toyota
  11   Motor Corporation is responsible for ensuring (or failing to ensure) that the Code of
  12   Conduct is followed.
  13         224. Toyota Motor Corporation’s Chief Risk Officer supervises the Chief
  14   Risk Officer for its North American division.
  15         225. Each fiscal year Toyota Motor Corporation conducts inspections of
  16   subsidiary management by each department.
  17         226. Toyota Motor Corporation’s 2019 Corporate Governance Report
  18   further acknowledges its tight control over its subsidiaries:
  19
                 [Toyota Motor Corporation] will manage its subsidiaries in a
  20             comprehensive manner appropriate to their positioning by
                 clarifying the roles of the division responsible for the
  21
                 subsidiaries’ financing and management and the roles of the
  22             division responsible for the subsidiaries’ business activities.
                 Those divisions will confirm the appropriateness and legality
  23
                 of the operations of the subsidiaries by exchanging information
  24             with those subsidiaries, periodically and as needed.
  25         227. Toyota Motor Corporation and its American subsidiaries share many
  26   key executives. For example:
  27                a.     Zack Hicks has a global role leading information security
  28                       management for Toyota Motor Corporation and serves as

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   1                       executive vice president and chief digital officer at Toyota
   2                       Motor North America Inc.
   3                b.     Tetsuo Ogawa is operating officer at Toyota Motor Corporation
   4                       as well as president and chief executive officer of Toyota Motor
   5                       North America Inc.
   6                c.     Tadahisa Isono has been with Toyota Motor Corporation since
   7                       1986 in various positions and currently serves as a senior
   8                       management member at Toyota Motor Corporation as well as
   9                       executive vice president of production engineering at Toyota
  10                       Motor North America Inc.
  11         228. Toyota Motor Corporation owns all rights, title, and interest in U.S.
  12   Trademark Registration No. 2,115,623 for TOYOTA, which is a word mark for
  13   goods including vehicle anti-theft systems comprising radio frequency transmitters,
  14   radio frequency receivers, status monitors, glass breakage sensor units, electronic
  15   control units, dashboard signal lights, vehicular horn activators, vehicular light
  16   activators, and dashboard control switches, in various combinations of components,
  17   sold as a unit and individually as repair or replacement parts. From September 2,
  18   1997 through the present, Toyota Motor Corporation has registered and maintained
  19   registrations with the U.S. government for trademarks associated with its vehicles
  20   and parts, which it uses to identify and distinguish its vehicles and parts in the
  21   United States, this District, and Transferor Jurisdictions.
  22         229. Toyota Motor Corporation owns all rights, title, and interest in U.S.
  23   Trademark Registration No. 3,376,132 for the TOYOTA word mark for goods and
  24   services associated with automobile dealerships having registered and maintained
  25   registration with the U.S. government from March 31, 2005 to the present based on
  26   corresponding United States registrations 1338339;1414492;1888870; and others.
  27         230. Toyota Motor Corporation played a key role in Toyota’s analysis and
  28   decision-making relating to the defective ZF TRW ACUs in the United States.

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  14                f.     Honda Motor Co., Ltd. and Honda R&D Co., Ltd.
  15         233. Although Honda Motor Co., Ltd. and Honda R&D Co., Ltd. are based
  16   in Japan, the Court has specific jurisdiction over them based on their pervasive
  17   contacts with the United States. Honda Motor Co., Ltd. 'sand Honda R&D Co.,
  18   Ltd. ' s contacts with the United States are all in furtherance of sales and leases of
  19   Honda vehicles in the United States. These sales and leases give rise to Plaintiffs'
  20   claims.
  21         234. Honda Motor Co., Ltd. established subsidiaries in the United States to
  22   target consumers in the United States.
  23         235. The services rendered by American Honda Motor Co., Inc.; Honda of
  24   America Mfg., Inc. ; and Honda R&D Americas, Inc. for the foreign Honda
  25   Defendants are so important to the foreign Honda Defendants that they would
  26   perform those services themselves if American Honda Motor Co., Inc.; Honda of
  27   America Mfg., Inc. ; and Honda R&D Americas, Inc. did not exist. Honda Motor
  28   Co., Ltd. controls the public name and brand of American Honda Motor Co., Inc.;

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   1   Honda of America Mfg., Inc.; and Honda R&D Americas, Inc. In consumer
   2   transactions, like those with Plaintiffs, Honda Motor Co., Ltd.’s unified brand and
   3   logo serve as its and American Honda Motor Co., Inc.’s; Honda of America Mfg.,
   4   Inc.’s; and Honda R&D Americas, Inc.’s official seal and signature as to
   5   consumers.
   6         236. Honda Motor Co., Ltd. derives more revenue from the United States
   7   than any other country. For fiscal year ending March 31, 2018 alone, Honda Motor
   8   Co., Ltd. reported $65 billion in sales in the United States, a little under half of its
   9   revenue.
  10         237. For decades, Honda Motor Co., Ltd. has continuously engaged in
  11   business in the United States by, among other things, interacting with its wholly
  12   owned subsidiaries in the United States.
  13         238. Upon information and belief, Honda Motor Co., Ltd. has the power to
  14   appoint board members to American Honda Motor Co., Inc.; Honda of America
  15   Mfg., Inc.; and Honda R&D Americas, Inc. Honda Motor Co., Ltd. has exercised
  16   this power to appoint board members to these subsidiaries that Honda Motor Co.,
  17   Ltd. believes will manage the subsidiaries with the principal goal of benefiting
  18   Honda Motor Co., Ltd.
  19         239. Honda Motor Co., Ltd. purposely avails itself of markets in the United
  20   States. For example, Honda Motor Co., Ltd. regularly submitted applications to
  21   obtain certification from the EPA that was necessary for the sale of Honda vehicles
  22   in the United States.
  23         240. Honda Motor Co., Ltd. acknowledges that it develops human resource
  24   mandates for all its subsidiaries, including American Honda Motor Co., Inc.; Honda
  25   of America Mfg., Inc.; and Honda R&D Americas, Inc. For example, Honda Motor
  26   Co., Ltd. admits in its 2017 Sustainability Report: “the Human Resources and
  27   Associate Relations Division at the corporate headquarters in Tokyo draws up
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   1   global human resources strategies from the mid- to long-tenn perspective in
   2   coordination with operations in each region."
   3         241. In part because of the importance of United States markets to its
   4   business, Honda Motor Co., Ltd. decided in 2015 to change its official language for
   5   international communications to English by 2020. Under this policy, documents
   6   used in Honda Motor Co., Ltd. meetings that involve regional operation bases and
   7   any communication for information sharing across regions will also be in English.
   8   Honda Motor Co., Ltd. will require English proficiency for associates to be
   9   promoted to managerial positions in the future.
  10         242. To ensure its control and involvement over its American subsidiaries,
  11   Honda Motor Co., Ltd. established a "Leadership Resources" document in 2015
  12   and distributed this document on its in-house intranet worldwide, including to
  13   American Honda Motor Co., Inc. ; Honda of America Mfg., Inc.; and Honda R&D
  14   Americas, Inc. By distributing these resources, Honda Motor Co., Ltd. provides
  15   specific guidelines regarding decisionmaking and management judgment to the
  16   employees of American Honda Motor Co., Inc. ; Honda of America Mfg., Inc.; and
  17   Honda R&D Americas, Inc.
  18         243. Since at least as early as 2003, Honda Motor Co., Ltd. has had a code
  19   of conduct called the "Honda Conduct Guidelines." Honda Motor Co., Ltd.
  20   distributes these guidelines to American Honda Motor Co., Inc.; Honda of America
  21   Mfg., Inc.; and Honda R&D Americas, Inc. and claims to take steps to ensure that
  22   they comply with the guidelines. Once per year, each of Honda Motor Co., Ltd. 's
  23   American subsidiaries claims to check the status of activities to ensure awareness of
  24   the guidelines, and reports to Honda Motor Co., Ltd. ' s Compliance Committee,
  25   Executive Council and the Board of Directors.
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   3         245. Upon information and belief, Honda Motor Co., Ltd. was responsible
   4   for the decision not to recall any Honda vehicles with the defective ZF TRW ACUs
   5   or warn consumers in the United States about the ACUs.
   6         246. Honda Motor Co., Ltd. and its American subsidiaries share common
   7   executives. For example:
   8               a.    Shinji Aoyama is the president & CEO of American Honda
   9                     Motor Co., Inc. Aoyama serves concurrently as the chief officer
  10                     of Regional Operations (North America) for parent company
  11                     Honda Motor Co., Ltd., as well as the President of Honda
  12                     Patents & Technologies North America, LLC.
  13               b.    Mitsugu Matsukawa is President of Honda of America Mfg.,
  14                     Inc. where he is responsible for manufacturing operations at
  15                     Honda's four Ohio plants. Matsukawa is also on Honda Motor
  16                     Co., Ltd. 's North American Regional Operating Board and
  17                     serves as a managing officer of Honda Motor Co., Ltd.
  18               c.    James A. Keller is the president of Honda R&D Americas, Inc.
  19                     He oversees all of the company's research & development
  20                     operations in North America. Keller trained for at least two
  21                     years at Honda R&D Co., Ltd. in Japan.
  22               d.    Takashi Sekiguchi originally joined Honda Motor Co., Ltd. in
  23                     1982 and worked there for years before becoming the Executive
  24                     Vice President and Director of American Honda Co., Inc. in
  25                     April 2008.
  26               e.    Takanobu Ito, the CEO of Honda Motor Co., Ltd. from 2009 to
  27                     2015, was previously President and Director of Honda R&D
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   1                        Co., Ltd. and Executive Vice President of Honda R&D
   2                        Americas, Inc.
   3         247. Owners’ manuals for Honda vehicles with the defective ZF TRW
   4   ACUs state: “Honda Motor Co., Ltd. reserves the right . . . to discontinue or change
   5   specifications or design at any time.” Based on these statements, and upon
   6   information and belief, Honda Motor Co., Ltd. has the ultimate responsibility for
   7   the design and specifications for all Honda vehicles with the defective ZF TRW
   8   ACUs.
   9         248. Honda Motor Co., Ltd. has brought litigation in United States courts to
  10   protect its trademarks from infringement and counterfeiting. The protection
  11   afforded their trademarks and patents under United States law enabled Honda
  12   Motor to sell Class Vehicles in the United States, this District, and Transferor
  13   Jurisdictions, including to Plaintiffs.
  14         249. In a recent complaint to enforce its trademark rights, Honda Motor
  15   Co., Ltd. represented that it “obtained registrations in the United States for designs
  16   for the HONDA and ACURA trademarks, used in connection with automobiles and
  17   automobile parts.”
  18         250. From 1959 through the present, Honda Motor Co., Ltd. has registered
  19   and maintained registrations with the United States government for trademarks
  20   associated with its vehicles and parts, which it uses to identify and distinguish its
  21   vehicles and parts in the United States, this District, and Transferor Jurisdictions.
  22   Honda Motor Co., Ltd. is recognized in the registrations as the owner of the Honda
  23   trademarks.
  24                 g.     Mitsubishi Motors Corporation
  25         251. Although Mitsubishi Motors Corporation is based in Japan, the Court
  26   has specific jurisdiction over it based on its pervasive contacts with the United
  27   States. Mitsubishi Motors Corporation’s contacts with the United States are all in
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   1   furtherance of sales and leases of Mitsubishi vehicles in the United States. These
   2   sales and leases give rise to Plaintiffs’ claims.
   3          252. Until 2015, some Mitsubishi-branded vehicles were manufactured in
   4   Normal, Illinois. Currently, Mitsubishi Motors Corporation manufactures
   5   Mitsubishi-branded vehicles at its production facilities in Japan, Thailand, China,
   6   Indonesia, the Philippines, and Russia. It then exports these vehicles to the United
   7   States for sale.
   8          253. During the relevant time period, Mitsubishi Motors Corporation has
   9   continuously engaged in business in the United States by manufacturing
  10   Mitsubishi-branded vehicles and, together with Mitsubishi Motors North America,
  11   Inc., marketing, selling, and distributing those vehicles in all 50 states and the
  12   District of Columbia. Additionally, during this period, Mitsubishi Motors
  13   Corporation worked with its other American subsidiary, Mitsubishi Motors R&D of
  14   America, Inc., to develop and test new vehicle technologies.
  15          254. Mitsubishi Motors North America, Inc. renders services on behalf of
  16   Mitsubishi Motors Corporation, such as the lease and sale of vehicles in the United
  17   States, that are important enough to Mitsubishi Motors Corporation that Mitsubishi
  18   Motors Corporation would perform those services itself if Mitsubishi Motors North
  19   America, Inc. did not exist.
  20          255. Mitsubishi Motors Corporation, together with its American
  21   subsidiaries Mitsubishi Motors North America, Inc. and Mitsubishi Motors R&D of
  22   America, Inc., operates and holds itself out to the public as a single entity known as
  23   “Mitsubishi Motors” that caters to American consumers and purposefully avails
  24   itself of the United States market for Mitsubishi-branded vehicles.
  25          256. Mitsubishi Motors Corporation and Mitsubishi Motors North America,
  26   Inc. share a common logo, which Mitsubishi Motors Corporation permits
  27   Mitsubishi Motors North America, Inc. to use along with the “Mitsubishi Motors”
  28   name under a contract agreement between the entities. Mitsubishi Motors

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   1   Corporation and Mitsubishi Motors North America, Inc.’s common logo includes
   2   Mitsubishi Motors Corporation’s Global Tagline “Drive Your Ambition.”
   3   Additionally, Mitsubishi Motors Corporation’s General Manager for North
   4   America A Department is a Director of Mitsubishi Motors North America, Inc.
   5   Further, in March 2020, Mitsubishi Motors Corporation named Yoichi Yokozawa,
   6   who previously held senior-level positions throughout Mitsubishi Motors
   7   Corporation, as Mitsubishi Motors North America, Inc.’s President and Chief
   8   Executive Officer.
   9         257. Mitsubishi Motors Corporation’s website promotes Mitsubishi Motors
  10   North America, Inc. as part of its “Global Network,” and one of its “major
  11   affiliates.” Mitsubishi Motors Corporation’s website actively promotes its
  12   Mitsubishi-branded line of vehicles, which it represents are “produced by
  13   Mitsubishi Motors,” and Mitsubishi Motors Corporation describes Mitsubishi
  14   Motors North America, Inc. as one of its distributors of Mitsubishi Motors
  15   Corporation’s products.
  16         258. Mitsubishi Motors North America, Inc.’s website states that Mitsubishi
  17   Motors North America, Inc. is a part of the “Renault-Nissan-Mitsubishi Alliance,”
  18   which is a strategic alliance between Mitsubishi Motors Corporation and
  19   automobile manufacturers Renault and Nissan. In the “History” section of its
  20   website, Mitsubishi Motors North America, Inc. presents its history and the history
  21   of Mitsubishi Motors Corporation together as a unified history that it calls
  22   “Mitsubishi Company History.” Additionally, Mitsubishi Motors North America,
  23   Inc.’s website includes Mitsubishi Motors Corporation press releases.
  24         259. Mitsubishi Motors Corporation designs, engineers, manufactures,
  25   markets and/or sells vehicles under the Mitsubishi brand with the knowledge and
  26   intent to market, sell, and lease them throughout the United States. Mitsubishi
  27   Motors Corporation, together with Mitsubishi Motors North America, Inc., sold
  28   121,046 vehicles in the United States in 2019. Additionally, in 2019, Mitsubishi

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   1   expanded its United States field operations network from two regions to four,
   2   adding 36 new dealer partners and offices in Florida and New York to reinforce
   3   sales support for dealers.
   4         260. Mitsubishi-branded vehicles, including Plaintiffs’ vehicles and the
   5   Mitsubishi Class Vehicles, were the subject of nationwide advertising campaigns
   6   that were intended to reach and did reach this District and Transferor Jurisdictions.
   7   Mitsubishi advertised and promoted the alleged safety of Mitsubishi Class
   8   Vehicles. None of these advertisements or marketing materials disclosed that
   9   Plaintiffs’ vehicles or Mitsubishi Class Vehicles were equipped with the defective
  10   ZF TRW ACUs.
  11         261. There are over 350 authorized Mitsubishi Motors North America, Inc.
  12   dealerships that sell and lease Mitsubishi vehicles in the United States, including in
  13   this District and Transferor Jurisdictions. Mitsubishi Motors North America, Inc.
  14   dealerships facilitated the sale, lease, and service of Mitsubishi Class Vehicles
  15   throughout all 50 states and the District of Columbia.
  16                    IV.    GENERAL FACTUAL ALLEGATIONS
  17   A.    The Class Vehicles are equipped with defective ZF TRW ACUs.
  18         262. The Class Vehicles are vehicles equipped with ZF TRW ACUs that
  19   contain a DS84 ASIC. These vehicles suffer from a common, uniform defect (“the
  20   ACU defect”) that makes them vulnerable to EOS, which in turn can prevent
  21   deployment of the airbags and seatbelts during a crash. EOS can also cause other
  22   failures of the ACU, including inadvertent airbag deployments and/or loss of
  23   recorded data about a crash and the ACU’s responses thereto.
  24         263. Between September 2016 and July 2018, FCA, Hyundai, and Kia
  25   recalled millions of vehicles based on the common defect in ZF TRW ACUs with
  26   the DS84 ASIC.
  27         264. NHTSA also fears there is a common defect in all ZF TRW ACUs
  28   with the DS84 ASIC. In April 2019, it launched an investigation that covers more

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   1   than 12 million vehicles. This investigation led Toyota to announce a recall of
   2   nearly 3 million vehicles with defective ZF TRW ACUs in 2020.7
   3           265. Based on the incomplete, pre-discovery information available at this
   4   time, Plaintiffs understand the Class Vehicles are as follows:
   5                  a.    2011–2019 Hyundai Sonata;
   6                  b.    2011–2019 Hyundai Sonata Hybrid;
   7                  c.    2010–2013 Kia Forte;
   8                  d.    2010–2013 Kia Forte Koup;
   9                  e.    2011–2020 Kia Optima;
  10                  f.    2011–2016 Kia Optima Hybrid;
  11                  g.    2011–2012, 2014 Kia Sedona;
  12                  h.    2010–2014 Chrysler 200;
  13                  i.    2010 Chrysler Sebring;
  14                  j.    2010–2014 Dodge Avenger;
  15                  k.    2010–2017 Jeep Compass;
  16                  l.    2010–2013 Jeep Liberty;
  17                  m.    2010–2017 Jeep Patriot;
  18                  n.    2010–2018 Jeep Wrangler;
  19                  o.    2010–2012 Dodge Caliber;
  20                  p.    2009–2012 Dodge Ram 1500;
  21                  q.    2010–2012 Dodge Ram 2500/3500;
  22                  r.    2011–2012 Dodge Ram 3500/4500/5500 Cab-Chassis;
  23                  s.    2010–2012 Dodge Nitro;
  24                  t.    2012–2019 Fiat 500;
  25                  u.    2013–2015 Honda Accord;
  26                  v.    2012–2015 Honda Civic (including GX, SI and Hybrid models);
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  28       The recall has not been completed yet.

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   1                w.    2012–2016 Honda CR-V;
   2                x.    2013–2014 Honda Fit EV;
   3                y.    2012–2017 Honda Fit;
   4                z.    2012–2014 Honda Ridgeline;
   5                aa.   2014–2019 Acura RLX (and the Hybrid model);
   6                bb.   2012–2014 Acura TL;
   7                cc.   2015–2017 Acura TLX;
   8                dd.   2012–2014 Acura TSX (and the TSX Sport Wagon model);
   9                ee.   2011–2019 Toyota Corolla;
  10                ff.   2011–2013 Toyota Corolla Matrix;
  11                gg.   2012–2018 Toyota Avalon;
  12                hh.   2013–2018 Toyota Avalon HV;
  13                ii.   2012–2019 Toyota Tacoma;
  14                jj.   2012–2017 Toyota Tundra;
  15                kk.   2012–2017 Toyota Sequoia;
  16                ll.   2013–2017 Mitsubishi Lancer;
  17                mm. 2013–2015 Mitsubishi Lancer Evolution;
  18                nn.   2013–2015 Mitsubishi Lancer Ralliart;
  19                oo.   2013–2016 Mitsubishi Lancer Sportback; and
  20                pp.   2013 Mitsubishi Outlander.
  21         i.     ACUs detect crashes and control airbags and seatbelts.
  22         266. The system of safety features in motor vehicles is known as the
  23   Occupant Restraint System. Its purpose is to protect passengers during collisions.
  24         267. For decades, Occupant Restraint Systems have included systems that
  25   automatically tighten seatbelts during a crash to secure the occupants.
  26         268. Also for decades, Occupant Restraint Systems have included devices
  27   that rapidly inflate a padded cushion (the “airbag”) from the steering wheel and
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   1   other areas of the vehicle during a crash. Airbags protect occupants by buffering or
   2   preventing impact between occupants and hard surfaces within the vehicle.
   3         269. Seatbelt and airbag systems are "passive" Occupant Restraint Systems
   4   because they operate automatically without being triggered by the occupants.
   5         270. The ACU is a critical part of every passive Occupant Restraint System.
   6   The core function of the ACU is to interpret signals from crash sensors and
   7   activate the safety restraints, including by deploying airbags and tightening
   8   seatbelts when it detects a crash. Because it controls the occupant restraints, like
   9   seatbelts, the ACU is sometin1es referred to as an "Occupant Restraint Controller."
  10         ii.    A properly designed ACU can withstand transient electricity.
  11         271. Typically, the ACU is physically located in the vehicle's passenger
  12   compartment (i.e. where the passengers sit).
  13         272. Electrical wiring connects the ACU to crash sensors located on the
  14   front of the vehicle. The crash sensors detect activity in the front of the vehicle and
  15   send corresponding electrical signals to the ACU. The ACU receives and interprets
  16   these signals and activates the airbags and seatbelts when certain thresholds are
  17   met
  18         273. As has been widely known in the auto industry for many years, when
  19   vehicles crash, the crash can cause large bursts of electrical energy to move through
  20   the wiring that connects the crash sensors to the ACU. These bursts are called
  21   "transients" or "transient electricity."
  22         274. Transient electricity is dangerous because it can damage important
  23   circuits, including those the ACU needs to trigger the airbags and seatbelts.
  24   Accordingly, a properly designed ACU has sufficient protections against the levels
  25   of transient electricity that could result from a car accident
  26         iii.   ZF TRW began making the defective ACUs in or around 2008
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   8   special purpose chip (i.e., a set of miniaturized transistors) installed on the ACU
   9   circuit board (i.e., a sheet that houses and connects different related circuits). -
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  24         iv.    The defective ZF TRW ACUs are susceptible to complete failure
  25                during a crash because they are vulnerable to EOS from transient
                    electricity.
  26         280. The defective ZF TRW ACUs do not adequately protect the DS84
  27   ASIC against the risk of transient electricity travelling through the sensor wiring to
  28   the ACU during a collision.
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   2                                                            , a collision that creates a
   3   surge of transient electricity through the sensor wire can cause the single ASIC to
   4   fail, which in tum can deactivate the car's entire passive safety system (rendering it
   5   unable to deploy the airbags and tighten seatbelts) at the very moment it's needed to
   6   save the driver and passengers.
   7         282. Although the defective ZF TRW ACUs installed in the Class Vehicles
   8   vary slightly in tem1s of their circuit protection, they all suffer from the same basic
   9   vulnerability to transient electricity and EOS.
  10         283. As a result of this defect, airbags and/or seatbelts in the Class Vehicles
  11   have failed to activate in multiple crashes. While the investigation remains open
  12   and ongoing, NHTSA and the Vehicle Manufacturer Defendants have publicly
  13   linked at least eight fatalities to apparent failures of the ZF TRW ACUs.
  14         284. Other signs of ASIC EOS in ACUs, aside from airbag and seatbelt
  15   failures, can include visible bum marks on the ACU circuit board. For example,          II
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   1         285. Another sign of ASIC EOS in ACUs is the complete or partial loss of
   2   recorded crash data on the vehicle's Event Data Recorder. The Event Data Recorder
   3   is the automotive equivalent of a "black box" in airplanes and, when working
   4   properly, will keep a record of the ACU's commands to the safety system.
   5   Normally, this data enables investigators to determine if a crash was severe enough
   6   to trigger the airbags. When a crash is not severe enough to trigger the airbags, the
   7   nondeployment of the airbags is "commanded" by the ACU's normal operations,
   8   and the crash data will show records of the ACU "commanding" nondeployment
   9   during the crash. Accordingly, a "commanded nondeployment" is automotive
  10   industry jargon for a crash where the airbags did not deploy because they were not
  11   supposed to deploy, and the ACU properly told them not to deploy.
  12         286. Because ASIC EOS can interrupt the ACU's generation of crash data,
  13   incomplete or missing crash data following an accident can indicate that the ACU
  14   suffered ASIC EOS. But since complete and accurate crash data is critical to post-
  15   hoc investigations of a vehicle's response to a crash, ASIC EOS makes it difficult
  16   or in1possible for crash investigators to reliably determine whether airbags should
  17   not have deployed. Without reliable crash data, a conclusion of "commanded
  18   nondeployment" must rely upon subjective assessment of the severity of the crash
  19   based upon the wreckage and other evidence, such as witness statements.
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   7         290. While Defendants may try to obscure the fundamental defect by
   8   claiming that some Class Vehicles have additional protective components,8 these
   9   arguments fail because airbag failures in multiple crashes have been linked to EOS
  10   in defective ZF TRW ACUs with a range of different protective components.
  11   Adding protective components as a band-aid to restrain the flow of electricity to the
  12   defective ZF TRW ACU does not appear to fix the defect. For example, the ZF
  13   TRW ACUs in Hyundai, Kia, Toyota, andFCA vehicles had different protective
  14   components (characterized by NHTSA as ranging from "low," "mid-level" to
  15   "high"), but these Vehicle Manufacturers each determined that the defective ZF
  16   TRW ACUs were dangerously vulnerable to EOS and decided to recall them.
  17         291. Although Defendants have downplayed the scope of the defect by
  18   blaming observed cases of ASIC EOS on these purported vehicle-specific
  19   variations in wiring around the ACU and crash sensors, the defective ZF TRW
  20   ACU is the root cause. It is simply not plausible that the many different vehicle that
  21   were recalled due to the ACU' s vulnerability to ASIC EOS all coincidentally had
  22   similarly flawed wiring layouts, despite the lack of coordination among Defendants
  23   as to wiring layout and other elements of vehicle design. Defendants' implausible
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   1   defense of “vehicle-specific” wiring layout assumes (without evidence) that the
   2   wiring layout in these dozens of different vehicles, each of which was recalled due
   3   to the confirmed ACU defect, did not vary meaningfully:
   4               a.     2012–2018 Toyota Avalon;
   5               b.     2013–2018 Toyota Avalon Hybrid;
   6               c.     2011–2019 Toyota Corolla;
   7               d.     2011–2013 Toyota Matrix;
   8               e.     2010–2014 Chrysler 200;
   9               f.     2010 Chrysler Sebring;
  10               g.     2010–2014 Jeep Patriot;
  11               h.     2010–2014 Jeep Compass;
  12               i.     2010–2014 Jeep Compass;
  13               j.     2010–2014 Dodge Avenger;
  14               k.     2010–2012 Dodge Caliber;
  15               l.     2011–2013 Hyundai Sonata;
  16               m.     2011–2012 Hyundai Sonata Hybrid;
  17               n.     2010–2013 Kia Forte;
  18               o.     2010–2013 Kia Forte Koup; and
  19               p.     2011–2013 Kia Optima.
  20   The more plausible explanation for the common observed vulnerability to ASIC
  21   EOS across all these various vehicles is the one common feature they indisputably
  22   share: a ZF TRW ACU with a DS84 ASIC.
  23         v.    ZF TRW and STMicro knew that ACUs with the DS84 ASIC were
  24               vulnerable to EOS since 2008.

  25         292. At least as early as 2008, ZF TRW and STMicro knew that ACUs with
  26   the DS84 ASIC were vulnerable to EOS. They nonetheless intentionally concealed
  27   this information from consumers and NHTSA for years.
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   9         294. The vulnerability of ZF TRW ACUs with the DS84 ASIC became
  10   increasingly apparent following numerous crashes between 2011 and 2019 in which
  11   the Class V eludes' airbags did not deploy.
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  18         295. Upon information and belief and based on STMicro 's expertise and
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  19         300. However, despite this knowledge, STMicro andZF TRW did not
  20   completely or timely inform consumers or regulators about the defect and the
  21   serious safety risks that it caused.
  22   B.    Defendants made misleading statements and omissions conce1·ning the
             ACU defect for years.
  23
  24         301 . Defendants have repeatedly represented to consumers and to NHTSA
  25   that the Class Vehicles and the Occupant Restraint Systems that contain the
  26   defective ZF TRW ACUs can be relied upon to activate the airbags and seatbelts
  27   during a crash. These representations were false and misleading because of what
  28   they did not say. Defendants uniformly failed to disclose that the defective ZF

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   1   TRW ACUs were particularly vulnerable to EOS and that transient electricity from
   2   a collision could—at the worst possible moment—prevent the airbags and seatbelts
   3   from activating. These omitted facts were contrary to Defendants’ material
   4   representations about the Class Vehicles safety features. Thus, Defendants misled
   5   NHTSA and consumers about the safety of the Class Vehicles.
   6          i.     The Class Vehicles had labels and stickers stating that they were
   7                 equipped with working airbags and seatbelts and that failed to
                     disclose the ZF TRW ACU defect.
   8          302. To sell vehicles in the United States, the Vehicle Manufacturer
   9   Defendants must “certify to the distributor or dealer at delivery that the vehicle or
  10   equipment complies with applicable motor vehicle safety standards prescribed” by
  11   NHTSA under Chapter 301 of Title 49 of the U.S. Code. The Vehicle Manufacturer
  12   Defendants “may not issue the certificate if, in exercising reasonable care,” they
  13   have “reason to know the certificate is false or misleading in a material respect.” 49
  14   U.S.C. § 30115; see also 49 U.S.C. § 30112. Because “[c]ertification of a vehicle
  15   must be shown by a label permanently fixed to the vehicle,” all Class Vehicles have
  16   a permanent label certifying compliance with the safety regulations prescribed by
  17   NHTSA under Chapter 301. Since all of the Class Vehicles are passenger vehicles,
  18   the permanent label must state: “This vehicle conforms to all applicable Federal
  19   motor vehicle safety, bumper, and theft prevention standards in effect on the date of
  20   manufacture shown above.” 49 CFR § 567.4(g)(5). These labels were false and
  21   misleading because they failed to warn consumers about the risk of EOS during a
  22   crash, and instead indicated that the Occupant Restraint System would function
  23   properly in a crash. See 49 C.F.R. § 571.208 (S4.1.5.4, S4.1.5.5) (Federal motor
  24   vehicle safety standards requiring Occupant Restraint Systems with airbags and
  25   seatbelts).
  26          303. Manufacturers of vehicles and component parts for vehicles have a
  27   duty to disclose known safety defects to the public and to NHTSA.
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   1                a.    When a vehicle manufacturer learns of a safety defect, federal
   2                      law requires it to disclose the defect to NHTSA and to the
   3                      owners, purchasers, and dealers of the vehicle. 49 U.S.C.
   4                      § 30118(c).
   5                b.    When a safety defect relates to a component part, the
   6                      manufacturer of the component has a separate, independent duty
   7                      to submit public reports on the faulty equipment to NHTSA. 49
   8                      C.F.R. § 573.6(a).
   9         304. The interiors of the Class Vehicles also contain prominent labels that
  10   alert the driver and passengers to the vehicle’s airbag system. For example, steering
  11   wheels and passenger dashboards typically have labels identifying the airbag and
  12   safety restraint system (or “SRS”). They usually look like the below labels from the
  13   2015 Mitsubishi Lancer:
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  15         305. The Class Vehicles also contain a "readiness indicator" that was
  16   supposed to "monitor [the occupant protection system' s] own readiness" and "be
  17   clearly visible from the driver' s designated seating position." 49 C.F.R. § 571.208
  18   (S4.5.2). Upon information and belief, this readiness indicator did not warn
  19   consumers about the risk of EOS during a crash, and instead indicated that the
  20   Occupant Restraint System would function properly in a crash.
  21         306. The Vehicle Manufacturer Defendants were also specifically required
  22   to include in their vehicles warning labels that alerted consumers of the need to
  23   perform airbag maintenance. For example, S4.5.1 of 49 C.F.R. § 571.208 states:
  24             Air bag maintenance or replacement information. If the vehicle
  25             manufacturer recommends periodic maintenance or
                 replacement of an inflatable restraint system, as that term is
  26             defined in S4 .1. 5 .1 (b) of this standard, installed in a vehicle,
  27             that vehicle shall be labeled with the recommended schedule
                 for maintenance or replacement. The schedule shall be
  28             specified by month and year, or in terms of vehicle mileage, or
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   1             by intervals measured from the date appearing on the vehicle
   2             certification label provided pursuant to 49 CFR Part 567. The
                 label shall be permanently affixed to the vehicle within the
   3             passenger compartment and lettered in English in block capital
   4             and numerals not less than three thirty-seconds of an inch high.
                 This label may be combined with the label required by
   5             S4.5.1(b) of this standard to appear on the sun visor. If some
   6             regular maintenance or replacement of the inflatable restraint
                 system(s) in a vehicle is recommended by the vehicle
   7             manufacturer, the owner’s manual shall also set forth the
   8             recommended schedule for maintenance or replacement.
   9   Plaintiffs are unaware of any label in any Class Vehicle that alerted consumers

  10   about the defective ZF TRW ACUs or the need to perform maintenance on them to

  11   protect them from EOS.

  12         307. The Vehicle Manufacturer Defendants also distributed the Class

  13   Vehicles with so-called “Monroney” labels (also known as “window stickers”) that

  14   described the equipment and features of the vehicles. Dealers would then sell Class

  15   Vehicles to consumers with these labels visible. Upon information and belief,

  16   Monroney labels for many of the Class Vehicles are available at:

  17   https://monroneylabels.com/. Exemplar labels for many of the Class Vehicles

  18   retrieved from this website are attached hereto as Exhibit 1.

  19         308. As demonstrated by these examples, Monroney labels uniformly

  20   assured consumers that the Class Vehicles had working airbags and seatbelts. This

  21   information would have suggested to any reasonable consumer that the Occupant

  22   Restraint System did not suffer from a defect and would perform its intended

  23   function of activating the seatbelts and airbags during a collision. Had Defendants

  24   disclosed the defective nature of the ZF TRW ACUs on the Monroney labels of the

  25   Class Vehicles, Plaintiffs would have seen such a disclosure.

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   1         ii.    The Vehicle Manufacturer Defendants marketed the safety
                    features of the Class Vehicles but failed to mention the ACU
   2                defect.
   3         309. The Vehicle Manufacturer Defendants touted the safety of the Class
   4   Vehicles in national advertising directed at consumers. This advertising uniformly
   5   omitted any warning about the risk of EOS during a crash. Instead, this advertising
   6   led consumers to believe that the Occupant Restraint System would function
   7   properly in a crash. Exhibits 6, 7, 10, 13, 16 and 19 to this Consolidated Complaint
   8   collect examples of misleading statements from advertising for the Class Vehicles
   9   concerning the seatbelts, airbags, ZF TRW ACUs, and overall vehicle safety.
  10         310. Based on information and belief, every single Class Vehicle
  11   advertisement omitted any mention that the vehicles’ airbags and seatbelts could
  12   fail in a serious collision as a result of the defective ACUs.
  13         iii.   The Vehicle Manufacturer Defendants published owners’ manuals
  14                that failed to mention the ACU defect.
  15         311. The Vehicle Manufacturer Defendants published owners’ manuals for
  16   each of the Class Vehicles. These manuals were directed at consumers and included
  17   misleading statements regarding the seatbelts, airbags, and ZF TRW ACUs. These
  18   statements uniformly omitted any warning to consumers about the risk of EOS
  19   during a crash and instead indicated that the Occupant Restraint System would
  20   function properly in a crash. Exhibits 4, 5, 9, 12, 15, and 17 to this Consolidated
  21   Complaint collect examples of statements from the Vehicle Manufacturer
  22   Defendants’ owners’ manuals with materially misleading omissions concerning the
  23   effectiveness of their seatbelts, airbags, and ZF TRW ACUs.
  24
       C.    Defendants knew about the ACU defect for years, yet failed to
  25         adequately warn or compensate consumers.
  26         312. As explained in more detail below, Defendants collectively learned
  27   that the defective ZF TRW ACUs are vulnerable to EOS years ago, yet failed to
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   1   timely or adequately warn consumers, initiate recalls, remedy the defect, or
   2   compensate consumers.
   3         i.     Hyundai-Kia Class Vehicles
   4         313. Kia and Hyundai began selling vehicles equipped with defective ZF
   5   TRW ACUs that contain the DS84 ASIC, beginning with model year 2010 and
   6   2011 vehicles, respectively. As explained above, because of the design of the
   7   ACUs, a power surge on the crash sensors can lead to the complete failure of the
   8   ACU, airbags, and seatbelts during a crash. Hyundai-Kia, ZF TRW, and STMicro
   9   nonetheless conspired to conceal the true nature and scope of the defect from
  10   NHTSA and consumers.
  11                a.    The Definition of the Hyundai-Kia Class Vehicles
  12         314. The Hyundai-Kia Class Vehicles are all vehicles made by Hyundai or
  13   Kia that have a ZF TRW ACU that uses a DS84 ASIC.
  14         315. Based on the incomplete, pre-discovery information presently
  15   available, Plaintiffs understand the Hyundai vehicles equipped with defective ZF
  16   TRW ACUs include the 2011–2019 Sonatas and Sonata Hybrids. Plaintiffs refer to
  17   these vehicles as the “Hyundai Class Vehicles.”
  18         316. Based on the incomplete, pre-discovery information presently
  19   available, Plaintiffs understand that Kia equipped the following vehicles with the
  20   defective ZF TRW ACU:
  21                a.    2010–2013 Kia Forte;
  22                b.    2010–2013 Kia Forte Koup;
  23                c.    2011–2020 Kia Optima;
  24                d.    2011–2016 Kia Optima Hybrid; and
  25                e.    2011–2012, 2014 Kia Sedona.
  26         317. Plaintiffs refer to the Kia vehicles identified in the preceding
  27   paragraph as the Kia Class Vehicles.
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   1         318. Plaintiffs refer to the Kia Class Vehicles and Hyundai Class Vehicles
   2   collectively as the "Hyundai-Kia Class Vehicles."
   3                 b.   The ZF TRW ACUs in Hyundai-Kia Class Vehicles are
   4                      defective.

   5         319. The ZF TRW ACUs in Hyundai-Kia Class Vehicles are defective
   6   because they are vulnerable to transients generated during crashes. The defect can
   7   cause the ACUs to fail precisely when they are most urgently needed: during a
   8   head-on collision. As a result, the ACU does not reliably serve its most basic
   9   purpose and poses a serious risk to the lives and physical well-being of drivers and
  10   passengers.
  11         320. The Hyundai-Kia Class Vehicles were either recalled by Hyundai and
  12   Kia based on an admitted defect with the ZF TRW ACU, or identified by NHTSA's
  13   investigation as vehicles containing potentially defective ZF TRW ACUs or    II
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  16         321. Hyundai-Kia admits that the ACUs in many of the Hyundai-Kia Class
  17   Vehicles are defective.
  18                 a.   In announcing its first recall of Sonatas in February 2018,
  19                      Hyundai described the defect as follows: "The subject vehicles
  20                      are equipped with an Airbag Control Unit ('ACU') which
  21                      detects a crash signal and commands deployment of the airbags
  22                      and seat belt pretensioner. In some airbag non-deployment
  23                      allegations, electrical overstress ('EOS ')was observed on an
  24                      Application Specific Integrated Circuit ('ASIC') inside the
  25                      ACU."
  26                 b.   When expanding its recall of Sonatas in April 2018, Hyundai
  27                      further admitted: "As of the date of this filing, Hyundai believes
  28                      that the ASIC used in the subject ACUs could be susceptible to

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   1                      EOS because it lacks adequate circuit protection. In at least one
   2                      crash test, damage to the DS84 ASIC from EOS could have
   3                      caused the loss of the AAS [(i.e., advanced airbag system)] and
   4                      seat belt pretensioner deployment."
   5                c.    When announcing its first recall in June 2018, Kia admitted:
   6                      "The ASIC component within the subject ACUs may be
   7                      susceptible to EOS due to inadequate circuit protection."
   8                c.    ZF TRW, STMicro, Hyundai, and Kia have known about
   9
                          the defect in ZF TRW ACUs for years.

  10         322.                           , ZF TRW, STMicro, Hyundai, and Kia knew
  11   that the defective ACUs in Hyundai-Kia Class Vehicles were vulnerable to EOS.
  12   Although ZF TRW, STMicro, Hyundai, and Kia knew this vulnerability could lead
  13   to airbag and seatbelt failures, they conspired to conceal the defect from consumers
  14   and safety regulators for years, including failing to disclose a pattern ofEOS
  15   damage in crashes where airbags failed to deploy.
  16         323. In 2011 , a Kia Forte crashed in China and its airbags failed to deploy.
  17   At the request of Hyundai MOBIS, ZF TRW analyzed the crash data and observed
  18   that there was damage to the ASIC that was "consistent with EOS." However,
  19   Hyundai and Kia nonetheless disregarded the incident as "a commanded
  20   nondeployment" rather than non-deployment due to EOS and stopped investigating.
  21   Upon information and belief, this conclusion was baseless and/or speculative
  22   because it is not possible to reliably conclude that a non-deployment was
  23   "commanded" by the ACU when the ACU is damaged from EOS. The conclusion
  24   of a commanded non-deployment fails to explain the observed evidence of EOS.
  25         324. In February 2012, Hyundai Motor America learned that a 2011
  26   Hyundai Sonata crashed and the airbags failed to deploy. Hyundai Motor America
  27   inspected the vehicle four months later, in June 2012, and found no crash event
  28   recorded, which is a sign of ASIC EOS. Hyundai and ZF TRW communicated

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   1   about the event. After ZF TRW inspected the vehicle's ACU at Hyundai's request,
   2   it concluded the ASIC showed evidence ofEOS. Faced with this conclusion of
   3   EOS, and despite signs of EOS on the ACU and the loss of crash data, Hyundai
   4   swept the issue under the rug and attributed the failure to "numerous aftermarket
   5   accessories" rather than another sign of ASIC EOS.
   6         325. In March of2012, Hyundai MOBIS requested that ZF TRW perform a
   7   post-crash analysis related to failed airbag deployn1ent-this time for a crash
   8   involving a Kia Forte in Egypt. Once again, ZF TRW found that the ASIC damage
   9   was consistent with EOS, and once again Hyundai and Kia together decided to label
  10   the incident a "commanded nondeployment" instead of non-deployment due to
  11   EOS. Upon information and belief, this conclusion was baseless and/or speculative
  12   because it is not possible to reliably conclude that a non-deployment was
  13   "commanded" by the ACU when the ACU is damaged from EOS. The conclusion
  14   of a commanded non-deployment fails to explain the evidence of EOS.
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  20         327. On May 17, 2012, ZF TRW communicated with Hyundai, Kia and
  21   Hyundai MOBIS about the ongoing investigation of field events with observed
  22   EOS, but did not share any information about the dangerous defect with NHTSA or
  23   consumers.
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  27                                            ZF TRW, Hyundai, and Kia still failed to
  28   disclose any risks to consumers or NHTSA.

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   4   Schottky diode is a protective component that can be added to a circuit board. But
   5   an electrical surge can still overwhelm a Schottky diode and cause EOS in the
   6   ASIC.
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  12                                                           .9 At that time and for years
  13   after, ZF TRW, Hyundai, and Kia did not report the issue to NHTSA or consumers
  14   or take steps to recall vehicles.
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  28             Both FCA and Toyota have recalled many of these vehicles.

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   1                                                                      Hyundai and Kia
   2   together again labeled one of the crashes "a commanded nondeployment" and
   3   considered the other "under investigation." Upon information and belief, this
   4   conclusion was baseless and/or speculative because it is not possible to reliably
   5   conclude that a nondeployment was "commanded" by the ACU when the ACU is
   6   damaged from EOS. The conclusion of commanded nondeployment fails to explain
   7   the evidence ofEOS.
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   1          336. In May 2015, Hyundai Motor America, Inc. was notified of a crash
   2   where a 2011 Hyundai Sonata's airbags failed to deploy. Hyundai Motor America
   3   inspected the vehicle five months later, in October 2015, and requested assistance
   4   from ZF TRW. Subsequent analysis by ZF TRW indicated internal damage
   5   potentially caused by EOS.
   6          337. On October 20, 2015, Kia Motors America, Inc., Kia Motors
   7   Corporation, Hyundai Motor America, Inc., Hyundai Motor Co., Ltd., Hyundai
   8   MOBIS, and ZF TRW met in Korea to discuss the issue of the defective ACUs and
   9   EOS.
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  24          339. On February 25, 2016, after meeting with NHTSA, ZF TRW met with
  25   Kia, Hyundai, and Hyundai MOBIS in Korea to discuss its meeting with NHTSA
  26   and the continued investigation of airbag failures caused by EOS.
  27          340. In April 2016, ZF TRW analyzed an ACU from a 2011 Hyundai
  28   Sonata following a crash event in which the airbags did not deploy. ZF TRW

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   1   reported that it found damage "consistent with EOS." Instead of investigating the
   2   matter further, Hyundai and Kia labeled the airbag failure a "commanded
   3   nondeployment" and considered the matter closed. Upon information and belief,
   4   this conclusion was baseless and/or speculative because it is not possible to reliably
   5   conclude that a nondeployment was "commanded" by the ACU when the ACU is
   6   damaged from EOS. The conclusion of commanded nondeployment fails to explain
   7   the evidence ofEOS.
   8         341. In May and July of 2016, ZF TRW, Kia, Hyundai, and Hyundai
   9   MOBIS met in Korea, with the July meeting coming after ZF TRW met with
  10   NHTSA on July 19, 2016. Kia Motors Corporation provided information to ZF
  11   TRW to report to NHTSA in advance ofZF TRW's meeting with NHTSA.
  12         342. In August 2016, Kia Motors America, Inc. requested that ZF TRW
  13   download and review ACU data from another Kia Forte that was involved in a
  14   crash where the airbags failed to deploy.
  15         343. Between July and November 2016, Hyundai Motor America, Inc.
  16   received reports of two more accidents involving failed airbags in 2011 Hyundai
  17   Sonatas. Hyundai Motor America, Inc. again worked with ZF TRW to investigate,
  18   and ZF TRW again observed damage consistent with EOS on the ASIC from one of
  19   the vehicles. Again, despite a conclusion of observed EOS from ZF TRW, Hyundai,
  20   through Hyundai Motor Co., Ltd., concluded that "it was possible that [airbag]
  21   deployment was not warranted" in those accidents. This conclusion was speculative
  22   and unreliable, and failed to explain why the ACU showed signs of EOS (a
  23   remarkable coincidence given that the airbags failed to deploy).
  24         344. In March 2017, Hyundai MOBIS requested an analysis from ZF TRW
  25   for another crash involving a Kia Forte in China where the airbags failed to deploy.
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             348. In August 2017, ZF TRW analyzed an ACU from a Hyundai Sonata
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       that crashed with no airbag deployment. ZF TRW reported damage consistent with
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       EOS, and again, Hyundai and Kia together continued to try and avoid the
  17
       consequences from reporting the defective ACU and communicated to ZF TRW
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       their usual message that the incident was a "commanded nondeployment." Upon
  19
       information and belief, this conclusion was baseless and/or speculative because it is
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       not possible to reliably conclude that a nondeployment w as "conunanded" by the
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       ACU when the ACU is damaged from EOS. The conclusion of commanded
  22
       nondeployment fails to explain the evidence ofEOS.
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             349. Also in August 2017, ZF TRW, Kia, and Hyundai MOBIS analyzed
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       the data from the Kia Forte Koup crash in Canada. ZF TRW observed damage to
  25
       the ASIC that was consistent with EOS; however, Kia Motors America, Inc.
  26
       reported to NHTSA that ZF TRW engineers advised it that the damage to the ASIC
  27
       occurred when Transport Canada attempted to download data from the ACU.
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   1   Although there was no crash data on the Event Data Record, and the vehicle had
   2   been destroyed by Transport Canada so that examination of the vehicle was only
   3   available via photographs, Kia Motors Corporation concluded that there was
   4   insufficient frontal crash energy to generate an airbag deployment signal. For at
   5   least the sixth time, Hyundai and Kia communicated their usual message that the
   6   ACU “commanded nondeployment[.]” Upon information and belief, this
   7   conclusion was baseless and/or speculative because it is not possible to reliably
   8   conclude that a nondeployment was “commanded” by the ACU when the ACU is
   9   damaged from EOS.
  10         350. In addition to the series of damning field incidents and internal testing
  11   and investigations with ZF TRW’s assistance evidencing the ACU defect over the
  12   course of many years, the Hyundai-Kia Defendants were also on notice of the
  13   defective ACUs and their attendant safety risks from consumer complaints about
  14   vehicle accidents involving the Hyundai and Kia Class Vehicles which the airbag
  15   systems did not work to protect the vehicle occupants. These complaints are
  16   publicly available (including to the Hyundai-Kia Defendants) online through
  17   NHTSA. Indeed, Hyundai reported to NHTSA that at least as early as May 2015,
  18   following notice of EOS issues causing airbag nondeployments in its vehicles,
  19   Hyundai Motor America specifically monitored for public reports of crash events
  20   with issues relating to airbag nondeployments.
  21         351. And there were many such reports for Hyundai to see. Between 2014
  22   and the present, dozens of consumers reported to NHTSA that airbags and/or
  23   seatbelts had failed in Hyundai Class Vehicles, including for Hyundai Class
  24   Vehicles that have still not been subject to recall, even though they contain a
  25   defective ZF TRW ACU. For example:
  26                a.    A publicly available complaint with NHTSA dated January 28,
  27                      2014 reported a January 3, 2014 accident involving a 2013
  28                      Hyundai Sonata in Westminster, California. The complaint

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   1                    states: “I START THE VEHICLE TO TURN RIGHT THEN
   2                    GOT HIT ON THE DRIVER SIDE UP TO THE FRONT END.
   3                    THE OTHER VEHICLE RAN THE RED LIGHT AND HIS
   4                    SPEED WAS ABOUT 45-50 MPH. MY CAR GOT HIT HARD
   5                    AT THE FRONT AND TURNED 180 DEGREE, NONE OF
   6                    THE AIRBAGS WAS DEPLOYED. AS A SAFETY
   7                    CONCERN, I WOULD LIKE TO FILE A COMPLAINT AS I
   8                    AM GONNA HAVE A BABY SOON THIS YEAR 2014.
   9                    WHAT IF THAT ANOTHER ACCIDENT OCCUR AND THE
  10                    BABY OR MY SPOUSE [WERE] IN THE CAR WITH ME?
  11                    *TR.”
  12               b.   A publicly available complaint with NHTSA dated August 4,
  13                    2014 reported a September 6, 2011 accident involving a 2012
  14                    Hyundai Sonata in Bossier City, Louisiana. The complaint
  15                    states: “TL* THE CONTACT OWNS A 2012 HYUNDAI
  16                    SONATA. THE CONTACT STATED THAT WHILE
  17                    DRIVING 45 MPH, THE BRAKING SYSTEM FAILED TO
  18                    ENGAGE. THE CONTACT APPLIED THE EMERGENCY
  19                    BRAKE AND THE VEHICLE SKIDDED. AS A RESULT,
  20                    THE CONTACT CRASHED INTO A MEDIAN. THE
  21                    DRIVER SIDE AIR BAG FAILED TO DEPLOY. THE
  22                    CONTACT SUSTAINED BRAIN AND BACK INJURIES
  23                    AND THE REAR PASSENGER SUSTAINED INJURIES TO
  24                    THE HANDS AND SHOULDER, WHO BOTH REQUIRED
  25                    MEDICAL ATTENTION. A POLICE REPORT WAS FILED.
  26                    THE VEHICLE WAS DESTROYED. THE
  27                    MANUFACTURER WAS MADE AWARE OF THE
  28

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   1                       FAILURE. THE APPROXIMATE FAILURE MILEAGE WAS
   2                       50,000.”
   3                c.     A publicly available complaint with NHTSA dated December
   4                       20, 2019 reported an October 10, 2019 accident involving a
   5                       2019 Hyundai Sonata in Casco, Wisconsin. The complaint
   6                       states: “TL* THE CONTACT OWNED A 2019 HYUNDAI
   7                       SONATA. WHILE THE CONTACT WAS PULLING INTO
   8                       AN INTERSECTION, A SECOND VEHICLE CRASHED
   9                       INTO THE FRONT DRIVER SIDE OF HIS VEHICLE. THE
  10                       FRONT END OF THE VEHICLE WAS SEVERELY
  11                       DAMAGED; HOWEVER, THE AIR BAGS DID NOT
  12                       DEPLOY. THE DRIVER SUSTAINED BROKEN RIBS, AND
  13                       INJURIES TO THE LEG, HEAD, AND ARM. MEDICAL
  14                       ATTENTION WAS RECEIVED AND POLICE REPORT
  15                       NUMBER: [XXX] WAS FILED. THE VEHICLE WAS
  16                       DESTROYED AND TOWED FROM THE SCENE.
  17                       BROADWAY AUTOMOTIVE (1010 S. MILITARY AVE,
  18                       GREEN BAY, WI) AND THE MANUFACTURER WERE
  19                       NOTIFIED OF THE FAILURE. THE FAILURE MILEAGE
  20                       WAS 3,500. *DT.”
  21                d.     More than 30 examples of such complaints are attached hereto
  22                       as Exhibit 2.
  23         352. For Kia, too, dozens of consumers reported to NHTSA that airbags
  24   and/or seatbelts had failed in Kia Class Vehicles between 2012 and the present,
  25   including for Kia Class Vehicles that have still not been subject to a recall:
  26                a.     A publicly available complaint with NHTSA dated September
  27                       16, 2013 reported a September 10, 2013 accident involving a
  28                       2011 Forte in Sharpsburg, Georgia. The complaint states: “TL*

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   1                    THE CONTACT OWNS A 2011 KIA FORTE. THE
   2                    CONTACT STATED THAT WHILE SITTING AT A
   3                    COMPLETE STOP, ANOTHER VEHICLE TRAVELING 60
   4                    MPH CRASHED INTO THE REAR OF THE CONTACTS
   5                    VEHICLE. THE IMPACT CAUSED THE CONTACTS
   6                    VEHICLE TO BE PUSHED FORWARD AT
   7                    APPROXIMATELY TWO HUNDRED FEET AND INTO
   8                    THE REAR OF ANOTHER VEHICLE. THE DRIVERS SIDE
   9                    HEAD REST AND METAL BAR BECAME SEPARATED
  10                    UPON IMPACT. THE CONTACT SUFFERED FROM
  11                    WHIPLASH, NECK STRAINS, AND LACERATIONS TO
  12                    THE LOWER BACK AND RIGHT LEG. A POLICE REPORT
  13                    WAS FILED. IN ADDITION, THE DRIVER AND
  14                    PASSENGERS SIDE AIR BAGS FAILED TO DEPLOY. THE
  15                    VEHICLE WAS DESTROYED. THE MANUFACTURER
  16                    WAS MADE AWARE OF THE FAILURE. THE FAILURE
  17                    AND CURRENT MILEAGE WAS 35,000.”
  18               b.   A publicly available complaint with NHTSA dated February 6,
  19                    2015 reported a February 3, 2015 accident involving a 2010
  20                    Forte in Saint John, Indiana. The complaint states: “2010 KIA
  21                    FORTE REAR ENDED A 2012 TOYOTA VENZA WHILE
  22                    TRAVELING AT APPROXIMATELY 40 MPH ON WET
  23                    ASPHALT PAVEMENT. UPON COLLISION, THE AIR BAG
  24                    FAILED TO DEPLOY AND SEAL BELT RESTRAINT
  25                    FAILED TO HOLD BACK DRIVER OF THE KIA. DRIVERS
  26                    FOREHEAD HIT AND BENT STEERING WHEEL AND
  27                    CAUSED MAJOR FRONT END DAMAGE TO THE KIA
  28                    AND CONSIDERABLY LESS DAMAGE TO THE TOYOTA

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   1                    VENZA. KIA WAS NOT DRIVABLE, SO IT WAS TAKEN
   2                    TO A SALVAGE YARD OF A FLAT BED TRUCK. DRIVER
   3                    OF KIA WAS TAKEN TO HOSPITAL FOR X-RAYS AND
   4                    EVALUATION. DRIVER OF KIA SUFFER NECK\BACK
   5                    PAIN, BRUISED FOREHEAD AND HEAD ACHE AND
   6                    WAS PRESCRIBED PAIN PILLS & ANTI
   7                    INFLAMMATORY MEDICATION. MY GREATEST
   8                    CONCERN IS THAT I OWN TWO KIA’S, ONE FOR EACH
   9                    OF MY COLLAGE AGE KIDS AND FEAR THAT THE
  10                    SAME OUTCOME MAY OCCUR AGAIN WITH DIRE
  11                    CONSEQUENCES. FAILURE OF THE AIR BAG
  12                    DEPLOYMENT AND SEAT BELT RESTRAINT MUST BE
  13                    ADDRESSED AND CORRECTED BY KIA BEFORE MORE
  14                    INJURIES OCCUR. . UPDATED 02/19/15 *BF UPDATED
  15                    3/30/2016 *JS UPDATED 9/20/2017*CN.”
  16               c.   A publicly available complaint with NHTSA dated May 29,
  17                    2019 reported a March 24, 2019 accident involving a 2015
  18                    Optima in Naperville, Illinois. The complaint states: “I WAS
  19                    TRAVELING EAST ON A 4 LANE ROAD AT 45 MPH. AS I
  20                    WAS PASSING THRU A GREEN LIGHT, A WESTBOUND
  21                    VEHICLE MADE AN ILLEGAL LEFT TURN IN FRONT OF
  22                    ME, CAUSING ME TO ‘T-BONE’ HIS VEHICLE. ALL OF
  23                    HIS AIRBAGS DEPLOYED.....NONE OF MINE DID. THE
  24                    CAR WAS REPAIRED, SURPRISINGLY; YET I DO NOT
  25                    FEEL SAFE DRIVING IT. I SUSTAINED CERVICAL AND
  26                    LUMBAR SPINE INJURIES, AS WELL AS A SEVERE
  27                    WHIPLASH AND CONCUSSION. I AM UNABLE TO
  28                    WORK, DUE TO SURGERY THAT WAS NECESSARY. I

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   1                      JUST NEED TO KNOW IF THIS CAR IS SAFE?? I WAS
   2                      ALSO IN A SIDE COLLISION THAT WAS NOT MY
   3                      FAULT; TWO YEARS AGO, WHERE SOMEONE HIT ME,
   4                      AND NO AIRBAGS DEPLOYED. AT THAT PARTICULAR
   5                      ACCIDENT, I WAS STATIONARY; AT A STOP LIGHT.”
   6                d.    Approximately 24 examples of such complaints are attached
   7                      hereto as Exhibit 3.
   8         353. Finally, in 2018—at least eight years after learning about the defective
   9   ACUs in or around 2010—the Hyundai-Kia Defendants began to issue partial
  10   recalls for some of the Hyundai and Kia Class Vehicles.
  11         354. On February 27, 2018, Hyundai Motor America submitted a Part 573
  12   Safety Recall Report to NHTSA announcing its intention to recall a small subset of
  13   the Hyundai Class Vehicles. This initial recall included just 154,753 vehicles—
  14   limited to only model year 2011 Sonatas. At that time, Hyundai Motor America and
  15   Hyundai Motor Co. Ltd reported they were “investigating” the issue with the “ACU
  16   supplier,” which would include ZF TRW and Hyundai MOBIS.
  17         355. On March 1, 2018, Kia Motors America, Inc. informed NHTSA that
  18   the observed Hyundai Sonata EOS incidents were “very different” than incidents
  19   with Kia Fortes and that it believed that it had resolved the issue with Kia vehicles.
  20   Despite this representation, Kia Motors America, Inc. proposed conducting a design
  21   analysis in April 2018 to determine whether 2010–2013 Kia Forte and Forte Koup
  22   vehicles are susceptible to ASIC EOS.
  23         356. On March 8, 2018, ZF TRW reported to NHTSA that it was aware of
  24   twelve separate incidents of crashes involving Hyundai and Kia Class Vehicles
  25   where the airbags failed to deploy and EOS was suspected or confirmed. ZF TRW
  26   further reported that Hyundai and Kia communicated to ZF TRW that seven out of
  27   the twelve airbag nondeployments were the result of “commanded non
  28   deployment,” while the other five incidents were “under investigation.”

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   1         357. On March 14, 2018, Kia met with NHTSA regarding its investigation
   2   of the ASIC EOS problem in Kia Forte vehicles. Despite the repeated findings of
   3   EOS by ZF TRW, Kia misleadingly reported that “no cause has been found.”
   4         358. Days later, on March 16, 2018, NHTSA opened a formal investigation
   5   called a “Preliminary Investigation” concerning ZF TRW ACUs with DS84 ASICs
   6   installed in Hyundai and Kia vehicles.
   7         359. On April 18, 2018, Hyundai Motor America submitted an amended
   8   Part 573 Safety Recall Report to NHTSA to expand the earlier recall to cover
   9   580,058 vehicles based on this same defect (the “Recalled Hyundai Class
  10   Vehicles”). The amended 573 Report noted that the observed “defect appears
  11   substantially similar to the defect in Recall No. 16V-668 [the Fiat Chrysler Recall]
  12   where EOS appeared to be a root cause of [airbag] non-deployment in significant
  13   frontal crashes.” Hyundai did not explain why these 400,000 additional vehicles
  14   were not included in its February 2018 recall based on the same ACU Defect.
  15         360. Despite Hyundai’s recall related to the ZF TRW ACUs, Kia failed to
  16   take action for its own vehicles with that same ACU until three months later, when
  17   NHTSA requested a recall after it found additional evidence of EOS in a Kia
  18   vehicle during a joint inspection.
  19         361. Specifically, on May 15-16, 2018, Kia Motors America, Inc. and
  20   NHTSA conducted a joint inspection of “exemplar” 2011 Kia Forte Koup and 2012
  21   Kia Forte vehicles that NHTSA had located in salvage yards and requested Kia
  22   Motors America, Inc.’s assistance to download data from the ACU. Kia Motors
  23   America, Inc. was unable to communicate with the 2012 Forte module, and both
  24   ACUs were sent to ZF TRW for further analysis. On May 24, 2018, after another
  25   joint inspection between ZF TRW, Kia, Hyundai MOBIS, and NHTSA at ZF TRW,
  26   an analysis confirmed that the 2012 Forte had experienced damage consistent with
  27   EOS. Based on that analysis, NHTSA requested that Kia conduct a recall of the
  28

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   1   2010-2013 model year Kia Forte. Only at the regulators' request did Kia finally
   2   recall some of its vehicles.
   3            362. On May 28, 2018, Kia Motors Corporation agreed to recall 2010-2013
   4   model year Kia Forte and Forte Koup vehicles, and based on its engineering
   5   analysis of other Kia models equipped with the same ACU as those vehicles,
   6   determined that a recall of 2011-2013 Optima, 2011-2012 Optima Hybrid and
   7   2011-2012 Sedona (the "Recalled Kia Class Vehicles") was also required. In its
   8   Part 573 Safety Recall Report announcing its intention to recall 507 ,587 vehicles,
   9   Kia explained that the recall was the result of its conclusion that "[t]he ASIC
  10   component within the subject ACUs may be susceptible to EOS due to inadequate
  11   circuit protection," which the Hyundai-Kia defendants had already known about for
  12   years.
  13            3 63. Although Kia Motors Corporation agreed to the above recall of over
  14   500,000 vehicles, it falsely reported to NHTSA that it was doing so despite the fact
  15   that it "has received no warranty claims, field or service reports which identify an
  16   airbag ACU being subject to EOS during a frontal crash event, and thus there is no
  17   count of injuries or fatalities to include with that information."
  18
  19
  20                                                                            Additionally,
  21   ZF TRW found evidence ofEOS in several other crashes, including the 2011 Kia
  22   Forte crash in China, 2012 Kia Forte crash in Egyp
  23                                                     2012 Kia Forte fatal crash in Northern
  24   California, 2013 Kia Fore Koup fatal crash in Canada, and 2010 Kia Forte crash in
  25   Tallahassee, Florida.
  26            364. On July 16, 2019, NHTSA sent a letter to Kia Motors America, Inc.
  27   stating that it had opened an Engineering Analysis related to the EOS issue and
  28   requesting information about the defective ACUs. In response, on August 30, 2019,

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   1   Kia Motors America, Inc. again falsely reported to NHTSA that it had received no
   2   consumer complaints, field reports, lawsuits, arbitration claims, property damage
   3   claims, reports for ACUs returned from the field or from test vehicles, or reports
   4   involving crashes, injuries, or fatalities related to defective ACUs or EOS. Kia
   5   Motors America, Inc. repeated this false claim in an updated letter dated September
   6   20, 2019.
   7                d.    Hyundai, Kia, and ZF TRW made misleading statements
   8                      and omitted material facts about the airbags, seatbelts and
                          ACUs in Hyundai-Kia Class Vehicles.
   9         365. Hyundai and Kia made multiple false and/or misleading statements
  10   concerning the Hyundai and Kia Class Vehicles using interstate mail and/or wire.
  11         366. To sell the Hyundai-Kia Class Vehicles through dealerships, Hyundai
  12   or Kia (for their respective vehicles) had to certify compliance with applicable
  13   safety standards described in Section IV.B.i above, including by affixing written
  14   certifications to its vehicles and sending them to dealers. These certifications were
  15   transmitted via interstate shipping channels with the vehicles.
  16         367. Hyundai and Kia also distributed via mail and wire numerous manuals
  17   for the Hyundai and Kia Class Vehicles. These manuals contain affirmative
  18   statements concerning occupant restraint controllers, airbags, and seatbelts. Charts
  19   summarizing these statements are attached hereto as Exhibits 4 and 5. Manuals for
  20   the Hyundai and Kia Class Vehicles are available on Hyundai’s and Kia’s websites.
  21   They are also typically included in the vehicles when they are sold at dealerships.
  22         368. Hyundai and Kia also distributed misleading advertising concerning
  23   the Hyundai-Kia Class Vehicles via mail and wire. Their advertising contains
  24   affirmative statements about airbags and seatbelts and omits important facts about
  25   the dangers posed by the defective ACUs. See Exhibits 6 and 7 (collecting
  26   exemplars). Illustrative examples of these types of advertising campaigns and
  27   content are included below.
  28

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   1          369. On July 2, 201 7, Hyundai's website on vehicle safety assured that
   2   "[w]hen it comes to safety, you can't be better enough. You can't overstate the
   3   importance of keeping the people you love safe, which is why we can't overstate
   4   the importance of always striving to make our safety features more advanced and
   5   innovative," and featured an image of deployed driver and passenger airbags.
   6
   7
   8
   9
  10
  11
  12
  13
  14
  15
  16
              370. When Kia announced its 2011 Forte in an October 11 , 2010 press
  17
       release, it led with its " impressive list of safety features" noting that "Forte offers
  18
       an exceptional level of standard safety equipment, with features such as front active
  19
       headrests, dual advanced front airbags, front seat-mounted and side curtain airbags,
  20
       full-length side curtain airbags."
  21
              371. A brochure for the 2012 Hyundai Sonata noted that " When it comes to
  22
       being a top safety pick, Sonata has earned its stripes and stars ... Contributing to
  23
       these ratings (and your peace of mind) are things like reinforced unibody
  24
       construction, 4-wheel ABS brakes, airbags galore and an array of modem safety
  25
       technologies fitted as standard equipment." As it continued, "an intelligent airbag
  26
       system deploys and inflates front airbags in relation to driver/passenger height,
  27
       weight and impact speed."
  28

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   1         372. The brochure for the 2013 Sonata similar assured: “Safety. At
   2   Hyundai, it’s more than a list of features. It’s a mindset. You don’t become one of
   3   the first midsize cars to receive a 5-Star overall safety rating under the federal
   4   government’s new, more stringent 2012 guidelines by accident. Or get named a Top
   5   Safety Pick two years in a row by the Insurance Institute for Highway Safety
   6   because you offer more airbags than the other guy. Safety is a mindset that starts
   7   with the car’s core engineering.” It also boasts that its “[s]ix airbags stand poised to
   8   protect.”
   9         373. In the brochure for the 2012 Forte, Kia promised a “comprehensive list
  10   of advanced safety systems” that were “standard in every Forte” including an
  11   “advanced system” that “monitors the severity of an impact, the presence of a front
  12   passenger and seat-belt use, and then controls airbag inflation accordingly.”
  13         374. As to the 2012 Kia Sedona, Kia assured consumers it was the “ideal
  14   minivan for families on the go – A smarter way to take on the world. The 2012
  15   Sedona is the perfect minivan to help your family enjoy life from dawn to dusk and
  16   beyond” due to its “[s]ophisticated active and passive safety systems [to] help
  17   provide protection and peace of mind,” including “Six airbags placed throughout
  18   the cabin are designed to help protect occupants in certain collisions. They include
  19   dual front advanced, dual front seat-mounted side, and full-length side-curtain
  20   airbags. The advanced front airbag system monitors the severity of a frontal impact,
  21   the presence of a front passenger and seat-belt use, and then controls airbag
  22   inflation accordingly.”
  23         375. A July 17, 2014 Press Release for the 2015 Sonata touted that “The
  24   all-new 2015 Sonata is rated as one of the safest cars on the road today.” It also
  25   included a statement from Mike O’Brien, vice president, Corporate and Product
  26   Planning at Hyundai Motor America that “Occupant safety is at the forefront of
  27   Hyundai design and engineering,” and that “Sonata’s TOP SAFETY PICK+
  28   recognition reinforces our dedication to occupant safety, and integrating our

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   1   accident prevention technologies makes the 2015 Sonata one of the safest midsize
   2   sedans on the market today.”
   3         376. In a brochure for the 2015 Optima, Kia assured that its “[s]afety
   4   systems help add peace of mind in certain situations. That’s why all Optima models
   5   are equipped with advanced safety systems engineered to help you maintain
   6   control, even in challenging road conditions and in some emergency situations.
   7   They function automatically, leaving you free to focus on the road.” These safety
   8   systems included airbag and seat-belt sensors in an “advanced system [that]
   9   monitors the severity of certain impacts, the presence of a front passenger and seat-
  10   belt use, and then controls airbag inflation accordingly.”
  11         377. Likewise, a 2016 Sonata brochure also stated that “[e]ven if safety’s
  12   not foremost in your mind, you can rest assured it’s foremost in ours” given that
  13   “Sonata’s safety features not only include seven airbags, but technologies that help
  14   drivers avoid accidents in the first place.”
  15         378. Upon information and belief, Hyundai and Kia’s advertising uniformly
  16   omitted any description of a defect in the Hyundai-Kia Class Vehicles’ ACUs that
  17   made them vulnerable to failure during a crash.
  18         379. Tellingly, during these same years where the Hyundai-Kia Defendants
  19   learned about the defective ACUs and numerous field incidents in Hyundai and Kia
  20   Class Vehicles yet did not issue a recall, Hyundai was being investigated by
  21   NHTSA for improperly delaying a recall of its Genesis model to fix a brake defect.
  22   In 2014, Hyundai agreed to settle the matter, and NHTSA stated that Hyundai
  23   “must change the way they deal with safety-related defects.” In 2016, a
  24   whistleblower from one of the Hyundai-Kia Defendants also reported concerns to
  25   NHTSA about the scope and timeliness of three recalls carried out in the U.S.
  26
  27
  28

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   1               e.    Hyundai-Kia’s belated and partial recall did not prevent or
                         remedy the economic harm to consumers.
   2
             380. The limited recalls to date for some of the Hyundai and Kia Class
   3
       Vehicles did not provide an adequate remedy to the hundreds of thousands of
   4
       consumers who paid for those vehicles.
   5
                   a.    First, Hyundai and Kia’s respective limited recalls occurred
   6
                         multiple years after they first knew about the ACU defect,
   7
                         during which they avoided incurring the costs associated with
   8
                         recalls and installing replacement parts for almost a decade.
   9
                         Throughout this time, consumers continued to buy, lease, and
  10
                         drive vehicles that the Hyundai-Kia Defendants knew to be
  11
                         unsafe every day.
  12
                   b.    Second, when Hyundai first announced a recall for some of the
  13
                         Class Vehicles in February 2018, it also admitted that it did not
  14
                         have a solution to fix the defective ACU, despite having
  15
                         knowledge of the defect for almost a decade. Hyundai first
  16
                         mailed notice of an available repair to owners eight months after
  17
                         announcing the recall, in mid-October 2018, while Kia first
  18
                         mailed notice of an available repair to owners two months after
  19
                         announcing its recall, on or about July 28, 2018.
  20
                   c.    Third, the recall repair eventually offered by Hyundai and Kia
  21
                         did not provide an adequate remedy to the problem. The “fix”
  22
                         involved installing an extension wire harness kit for additional
  23
                         circuit protection. However, by simply installing a separate wire
  24
                         harness kit outside of the ACU—and even then, only “if
  25
                         necessary” in Kia Sedonas—the Hyundai-Kia Defendants’
  26
                         recalls did not remedy the defective ACUs themselves.
  27
  28

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   1               d.     Fourth, as of the most recent reports from January 2020, the
   2                      Hyundai-Kia Defendants’ recalls have remedied just over half of
   3                      the recall population since they were announced over two years
   4                      ago. According to Hyundai’s most recent recall report, Hyundai
   5                      had repaired 338,604 of the 580,058 vehicles with defective
   6                      ACUs as of January 31, 2020. According to Kia’s most recent
   7                      recall report, Kia had repaired 201,060 of the 507,587 vehicles
   8                      with defective ACUs as of January 13, 2020. During this time
   9                      period, and in the years that have followed, consumers reported
  10                      airbag and seatbelt failures in the Recalled Hyundai and Kia
  11                      Class Vehicles.11
  12               e.     Fifth, Hyundai and Kia have not offered any monetary
  13                      compensation to purchasers or lessees of the Recalled Hyundai
  14                      and Kia Class Vehicles.
  15         381. Hyundai has not recalled 2013–2019 Sonatas and Sonata Hybrids also
  16   equipped with defective ACUs containing DS84 ASICs (the “Unrecalled Hyundai
  17   Class Vehicles”). Kia has likewise not recalled Forte, Forte Koup, Optima, or
  18   Optima Hybrid models produced after August 31, 2012, or Sedona vehicles
  19   produced after August 14, 2012—all of which were equipped with defective ACUs
  20   containing DS84 ASICs (the “Unrecalled Kia Class Vehicles”). Upon information
  21   and belief, ZF TRW and the Hyundai-Kia Defendants conspired to exclude the
  22   Unrecalled Hyundai and Kia Class Vehicles from their recalls and misled NHTSA
  23   and consumers to believe that those vehicles were safe by describing additional
  24
  25   11
         See Hyundai reports, Ex. 2 (ODI Nos. 11160781, 11140564, 11156730,
  26   11232616, 11208091, 11208630, 11291530, 11301138, 11111515, 11109647,
       11153247, 11182813, 11307272); Kia reports, Ex. 3 (ODI Nos. 10781050,
  27   11018775, 11105328, 11129933, 11130355, 11142259, 11131971, 11174482,
  28   11150286).

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   1   protective components added to the ACUs in the Unrecalled Hyundai and Kia Class
   2   Vehicles.
   3         382. The additional protective components added to some Hyundai and Kia
   4   Class Vehicles did not fix the defect, but does demonstrate Hyundai-Kia, ZF TRW,
   5   and STMicro's knowledge that the original ACU was vulnerable to EOS, as well as
   6   their complicity in failing to warn customers that any change to the Hyundai-Kia
   7   Class Vehicles was needed.
   8         383. The added components in the Unrecalled Hyundai and Kia Class
   9   Vehicles did not remedy the defective ACUs for at least three reasons.
  10               a.
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  18               b.     Second, other Class Vehicles with similar additional protective
  19                      components have been recalled based on the same vulnerability
  20                      to ASIC EOS in the ACU. For example, Toyota Class Vehicles
  21                      have similar protective components to the Unrecalled Hyundai
  22                      and Kia Class Vehicles. Despite these components, NHTSA has
  23                      "identified two substantial frontal crash events (one fatal)
  24                      involving Toyota products where EOS is suspected as the likely
  25                      cause of the non-deployments" and noted that the "crashes
  26                      involved a MY 2018 and a MY 2019 Corolla equipped with the
  27                      subject ACU that incorporated higher levels of ASIC
  28                      protection." In 2020, Toyota recalled the Corollas despite these

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   1                      additional protective components. Accordingly, the Unrecalled
   2                      Hyundai and Kia Class Vehicles are also still vulnerable to EOS.
   3                c.    Thir
   4
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   6                d.    Fourth, consumers continue to make public complaints to
   7                      NHTSA about suspicious airbag failures in Unrecalled Hyundai
   8                      and Kia Class Vehicles. See Exhibit 2 (Hyundai complaints,
   9                      ODINos. 10966365, 11218278, 11113831, 11185315,
  10                      11207275, 11235075, 11290285, and 11309986); Exhibit 3 (Kia
  11                      complaints, ODI Nos. 11019598, 11183175, 11184995,
  12                      11210649, 11271129, 11287036).
  13                e.    Fifth, the ZF TRW ACUs that supposedly have additional
  14                      protective components purportedly justifying exclusion from a
  15                      recall are currently under investigation by NHTSA, along with
  16                      all other defective ZF TRW ACUs.
  17         ii.    FCA Class Vehicles
  18         384. In or around 2008 and 2009, FCA began selling vehicles equipped
  19   with defective ZF TRW ACUs that contain the same DS84 ASIC. As explained
  20   above, because of the design of the ACUs, EOS from a power surge on the crash
  21   sensors can lead to the complete failure of the ACU, airbags, and seatbelts during a
  22   crash. FCA, ZF TRW, and STMicro nonetheless conspired to conceal the defect
  23   from NHTSA and consumers.
  24                a.    The Definition of the FCA Class Vehicles
  25         3 85. The FCA Class Vehicles are all vehicles made by FCA that have a ZF
  26   TRW ACU that uses a DS84 ASIC.
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   1         386. Based on the incomplete, pre-discovery information presently
   2   available, Plaintiffs understand the FCA vehicles were equipped with defective ZF
   3   TRW ACUs:
   4                a.    2010–2014 Chrysler 200;
   5                b.    2010 Chrysler Sebring;
   6                c.    2010–2014 Dodge Avenger;
   7                d.    2010–2017 Jeep Compass;
   8                e.    2010–2013 Jeep Liberty;
   9                f.    2010–2017 Jeep Patriot;
  10                g.    2010–2018 Jeep Wrangler;
  11                h.    2010–2012 Dodge Caliber;
  12                i.    2009–2012 Dodge Ram 1500;
  13                j.    2010–2012 Dodge Ram 2500/3500;
  14                k.    2011–2012 Dodge Ram 3500/4500/5500 Cab-Chassis;
  15                l.    2010–2012 Dodge Nitro; and
  16                m.    2012–2019 Fiat 500.
  17         387. Plaintiffs refer to the vehicles identified in the preceding paragraph as
  18   the FCA Class Vehicles.
  19                b.    The ZF TRW ACUs in FCA Class Vehicles are defective.
  20         388. The ZF TRW ACUs in FCA Class Vehicles are defective because they
  21   are vulnerable to transients generated during crashes. The defect can cause the
  22   ACUs to fail precisely when they are most urgently needed: during a head-on
  23   collision. As a result, the ACU does not reliably serve its most basic purpose and
  24   poses a serious risk to the lives and physical well-being of drivers and passengers.
  25         389. The FCA Class Vehicles were either recalled by FCA based on an
  26   admitted defect with the ZF TRW ACU or identified by NHTSA as vehicles
  27   containing potentially defective ZF TRW ACUs.
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   1           390. FCA has publicly admitted that, as of September 2016, it was aware of
   2   at least three fatalities and five injuries in car accidents where the airbags in FCA
   3   Class Vehicles failed to deploy. Discovery will reveal the full extent of FCA’s
   4   knowledge of other fatalities and injuries in collisions where airbags failed in FCA
   5   Class Vehicles.
   6           391. FCA has also publicly admitted that, as of September 2016, it was
   7   aware of 10 separate crashes where the airbags in FCA Class Vehicles failed to
   8   deploy and where EOS in a defective ZF TRW ACU was either confirmed or
   9   suspected as the cause.
  10           392. On September 13, 2016, nearly 18 months after FCA supposedly had
  11   first learned of the ACU defect, FCA submitted a Part 573 Safety Recall Report to
  12   NHTSA announcing its intention to recall 1,425,627 vehicles based on an admitted
  13   defect with the ZF ACUs. Although the recalled vehicles were all equipped with
  14   defective ZF TRW ACUs, FCA did not recall all of the FCA Class Vehicles
  15   equipped with the defective ZF TRW ACUs. It still has not recalled all of the FCA
  16   Class Vehicles today.
  17           393. FCA’s September 13, 2016 Part 573 Safety Recall Report states:
  18
                   2010–2014 MY Chrysler 200, Chrysler Sebring and Dodge
  19               Avenger (‘JS’), 2010–2014 MY Jeep Compass and Jeep Patriot
                   (‘MK’) and 2010–2012 MY Dodge Caliber (‘PM’) vehicles
  20
                   may experience loss of air bag and seat belt pretensioner
  21               deployment capability in certain crash events due to a shorting
                   condition resulting in a negative voltage transient that travels
  22
                   to the Occupant Restraint Controller (‘ORC’)12 via the front
  23               impact sensor wires damaging an Application Specific
                   Integrated Circuit (‘ASIC’) in the ORC. The root cause of the
  24
                   failure was determined to be a combination of the relative
  25               susceptibility of the subject ORC ASIC to negative transients
                   and the front acceleration sensor signal cross-car wire routing
  26
                   in certain crash events. . . . The potential loss of air bag and
  27
       12
  28        As explained above, “ORC” is another term for ACU.

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   1             seat belt pretensioner deployment capability in such crash
   2             events may increase the risk of injury in a crash.

   3         394. Between 2010 and the present, dozens of consumers reported to

   4   NHTSA that their airbags and seatbelts had failed in FCA Class Vehicles.

   5   Approximately 100 examples of such complaints are attached hereto as Exhibit 8.

   6   Illustrative examples of these complaints are quoted below.

   7               a.     A September 29, 2010 complaint concerning a September 7,

   8                      2010 crash involving a 2010 Dodge Ram states: “TL* THE

   9                      CONTACT OWNS A 2010 DODGE RAM 1500. THE

  10                      CONTACT WAS RUN OFF THE ROAD WHILE DRIVING

  11                      65 MPH INTO A DITCH. THE FRONTAL AIR BAGS DID

  12                      NOT DEPLOY AND THE SEAT BELT DID NOT LOCK.

  13                      THE CONTACT HIT AND BROKE THE STEERING WHEEL

  14                      AND STEERING COLUMN BECAUSE OF THE SEAT BELT

  15                      FAILURE; HE WAS INJURED. THE VEHICLE WAS

  16                      TOWED TO A REPAIR SHOP. THE MECHANIC (AND

  17                      POLICE OFFICER ON THE SCENE) STATED THAT THE

  18                      AIR BAGS SHOULD HAVE DEPLOYED. THE CURRENT

  19                      AND FAILURE MILEAGES WERE APPROXIMATELY

  20                      3,600.”

  21               b.     A July 18, 2016 complaint concerning a July 13, 2016 crash

  22                      involving a 2009 Dodge Ram states: “AIR BAG FAILURE--ON

  23                      WEDNESDAY JULY 13 2016 THE VEHICLE (2009 DODGE

  24                      RAM 1500) WAS INVOLVED IN A FRONT END

  25                      COLLISION WHILE TRAVELING ON A CITY OWNED

  26                      ROAD. THE DRIVER WHO WAS THE ONLY PERSON IN

  27                      THE VEHICLE LOST CONTROL OF THE VEHICLE WHEN

  28                      TAKING A SHARP RIGHT TURN ON A DIRT ROAD IN

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   1                    THE DARK. AS A RESULT THE VEHICLE CRASHED
   2                    INTO A DITCH, COMPLETELY SMASHING IN THE
   3                    FRONT END AND DAMAGED MOST OF THE REST OF
   4                    THE TRUCK AS WELL. UPON IMPACT THE DRIVER’S
   5                    AIR BAG DID NOT DEPLOY. THE DRIVER SUSTAINED
   6                    INJURIES TO HIS ENTIRE UPPER BODY AS WELL AS
   7                    SUFFERING FROM A CONCUSSION UPON IMPACT
   8                    BECAUSE OF THE AIR BAG MALFUNCTION. HE
   9                    REQUIRED EMERGENCY MEDICAL ATTENTION AND
  10                    WAS TRANSPORTED TO THE HOSPITAL BY
  11                    AMBULANCE. WE HAVE MORE PICTURES INCLUDING
  12                    PICTURES OF THE FRONT END OF THE TRUCK
  13                    HOWEVER THE FILE IS TO BIG TO UPLOAD ON THIS
  14                    REPORT.”
  15               c.   A September 19, 2017 complaint concerning an October 2, 2015
  16                    crash involving a 2012 Jeep Wrangler states: “I WAS
  17                    INVOLVED IN A SINGLE VEHICLE ACCIDENT ON
  18                    10/2/2015 INVOLVING 2012 JEEP WRANGLER, MY
  19                    VEHICLE JERKED TO THE RIGHT SUDDENLY CAUSING
  20                    ME TO LOSE CONTROL. THE JEEP WAS JERKED OFF
  21                    THE ROAD INTO A DITCH ON THE RIGHT, HIT THE
  22                    FRONT END OF THE DITCH AND WAS LAUNCHED
  23                    AIRBORNE, THEN CRASHED ON THE CEMENT WALL
  24                    OF A SECOND DITCH, BOUNCING TWICE BEFORE
  25                    LANDING IN THE DITCH AND HITTING THE FRONT
  26                    END OF THAT DITCH. I REPEATEDLY SLAMMED ON
  27                    MY BRAKES BUT THEY DID NOT ENGAGE. MY
  28                    AIRBAGS DID NOT DEPLOY. MY SEAT BELT

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   1                    TENSIONER DID NOT ENGAGE, CAUSING ME TO BE
   2                    THROWN FORWARD AND BACKWARDS REPEATEDLY.
   3                    I SUFFERED A CLOSED HEAD INJURY AND
   4                    HERNIATIONS TO MULTIPLE DISCS IN MY NECK AS
   5                    WELL AS TRAUMA TO THE FACET JOINTS IN MY
   6                    NECK, RESULTING IN SEVERE FORAMINAL STENOSIS
   7                    AT MULTIPLE LEVELS THAT REQUIRES
   8                    NEUROSURGICAL INTERVENTION. I SLAMMED MY
   9                    HEAD ON THE STEERING WHEEL 4 TIMES, MY CHEST
  10                    ONCE. THIS ACCIDENT FOREVER CHANGED MY LIFE. I
  11                    HAVE REPEATEDLY CALLED FCA TO FILE A FORMAL
  12                    COMPLAINT, AM ALWAYS TOLD SOMEONE WILL
  13                    CALL ME BACK. IT’S BEEN ALMOST TWO YEARS AND
  14                    NO ONE HAS CALLED ME BACK. I WAS GIVEN A CASE
  15                    NUMBER AND TOLD SOMEONE WOULD COME LOOK
  16                    AT MY VEHICLE TO INSPECT IT, NEVER HAPPENED. AS
  17                    I FACE URGENT SURGERY TO MY SPINE WITH PAIN TO
  18                    MY NECK RADIATING DOWN MY RIGHT ARM, ALL I
  19                    CAN THINK ABOUT IS CHRYSLER. THEY RECALLED
  20                    2016-2017 JEEP WRANGLERS FOR FAULTY WIRING OF
  21                    THE OCCUPANT RESTRAINT CONTROL MODULE, AS
  22                    WELL AS JEEP PATRIOTS AND COMPASSES MADE THE
  23                    SAME YEAR AS MY VEHICLE ALONG WITH MILLIONS
  24                    OF OTHER CHRYSLER VEHICLES. FCA REFUSES TO
  25                    RETURN MY PHONE CALLS, HOW MANY MORE
  26                    PEOPLE ARE THEY IGNORING? THEY NEED SEE WHAT
  27                    HAPPENS WHEN THEY DON’T RECALL ALL VEHICLES
  28                    BUILT WITH THE SAME COMPONENTS, KNOWING

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   1                    THERE ARE MORE VEHICLES NOT INCLUDED IN THE
   2                    RECALL THAT POSE A SAFETY RISK."
   3               d.   A February 28, 2019 complaint concerning a collision involving
   4                    a 2016 Jeep Wrangler states: "DURING A ROLLOVER
   5                    CRASH WHICH INITIATED AT 40 MILES PER HOUR, THE
   6                    FRONTAL AIRBAGS FAILED TO DEPLOY. THE
   7                    VECHICLE ROLLED AND AN ADEQUATE AMOUNT OF
   8                    FORCE TO DEPLOY THE AIR BAGS SHOULD HAVE
   9                     BEEN TRIGGERED. AS A RESULT THE OOCCUPANTS
  10                     EXPERIENCE EXTENSIVE INJURIES CONSISTENT WITH
  11                     SUDDEN DECELERATION."
  12               c.   ZF TRW, STMicro and FCA have known about the defect
  13
                        in ZF TRW ACUs for years.

  14         395. For many years, ZF TRW, FCA, and STMicro have known that the
  15   defective ZF TRW ACUs in FCA Class Vehicles are vulnerable to EOS.
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  26         397. On or around May 30, 2013, FCA received a document frmn ZF TRW

  27   addressing a potential warranty concern regarding the defective ZF TRW ACUs.

  28   The document described a risk that the wire connecting the crash sensor to the ACU

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   1   could cause EOS, and recommended that further circuit protection be added to the
   2   defective ZF TRW ACUs in light of this risk.
   3         398. In October 2014, a consumer sued FCA in Cameron County, Texas,
   4   for claims arising from the defect in ZF TRW airbag systems installed in a 2011
   5   Jeep Compass.
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  21         401 . FCA claims that its compliance department first launched an
  22   investigation concerning crashes involving failed airbags and FCA Class Vehicles
  23   in April 2015.
  24         402. On April 6, 2015, FCA engineers informed FCA's compliance
  25   department that signs ofEOS had been observed in the ACU of a 2012 Dodge
  26   Avenger that was involved in a frontal collision with no airbag deployment.
  27
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   1          403. That same day, FCA engineers also informed FCA’s compliance
   2   department that signs of EOS had been observed in the ACU of a 2012 Jeep Patriot
   3   that was involved in a frontal collision with no airbag deployment.
   4          404. On April 8, 2015, FCA engineers informed FCA’s compliance
   5   department that signs of EOS had been observed in the ACU of another 2012 Jeep
   6   Patriot after a crash test.
   7          405. No later than April 15, 2015, FCA’s compliance department was
   8   aware of six other frontal collisions in the field where no frontal airbags deployed.
   9   These incidents involved a 2012 Jeep Patriot, two 2012 Chrysler 200s, a 2011
  10   Dodge Avenger, a 2014 Jeep Compass and a 2012 Jeep Compass. All of these
  11   vehicles were equipped with the same defective ZF TRW ACUs. In the second half
  12   of 2015, ZF TRW and FCA concluded that EOS occurred in three of these crashes,
  13   “suspected” EOS in two others, and labeled the cause of one nondeployment
  14   “unknown.”
  15          406. In June 2015, ZF TRW and FCA communicated regarding the
  16   vulnerability of the DS84 ASIC to EOS. ZF TRW acknowledged to FCA that
  17   “ASIC EOS failure could be caused by an electrical transient generated during the
  18   crash under conditions of a front sensor signal wire and high current power feed
  19   simultaneously shorted to vehicle chassis and subsequent the power feed short
  20   opens.” During this time, ZF TRW also demonstrated in testing that a transient
  21   of -1.2 Volts to -2.0 Volts with duration of less than 100 microseconds could create
  22   an ASIC EOS failure in its defective ZF TRW ACUs. Other ACUs can withstand
  23   far greater voltage.
  24          407. On July 29, 2015, FCA simulated the conditions of a simultaneous
  25   shorted sensor signal wire and shorted high current power feed to vehicle chassis on
  26   a Jeep Patriot. The simulation determined that even when the shorted power feed
  27   condition was removed, transients of 1 to 2 Volts were generated and could cause
  28   an ASIC EOS failure.

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   1         408. On September 15, 2015, ZF TRW sent a lab report to FCA confirming
   2   that the ZF TRW ACU resets when a negative transient creates an ASIC EOS
   3   event. In other words, the ACU could fail to trigger the airbags and seatbelts when a
   4   transient creates and EOS event.
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  19                d.    FCA and ZF TRW made misleading statements and omitted
  20                      material facts about the airbags, seatbelts, and ACUs in
                          FCA Class Vehicles.
  21         410. During the Class Period, FCA made multiple false and/or misleading
  22   statements concerning the FCA Class Vehicles using interstate mail and/or wire.
  23         411. To sell the FCA Class Vehicles through dealerships, FCA had to
  24   certify compliance with applicable safety standards described in Section IV.B.i
  25   above. Accordingly, FCA affixed written certifications to the FCA Class Vehicles
  26   and delivered them to dealers. These written certifications were transmitted through
  27   interstate shipment channels with the vehicles.
  28

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   1          412. FCA also distributed numerous manuals via mail and wire for the FCA
   2   Class Vehicles. These manuals contain affirmative statements about ACUs, airbags,
   3   and seatbelts and omit important facts about the dangers posed by the defective
   4   ACUs. None of the manuals mentions any risk of ASIC EOS. A chart summarizing
   5   these statements and omissions is attached hereto at Exhibit 9. Manuals for the FCA
   6   Class Vehicles are available on FCA' s website. They are also typically included in
   7   the vehicles when they are sold at dealerships.
   8          413 . FCA also distributed misleading advertising concerning the FCA Class
   9   Vehicles via mail and wire. FCA's advertising contains affirmative statements
  10   about airbags and seatbelts and omits important facts about the dangers posed by
  11   the defective ACUs. See Exhibit 10 (collecting exemplars).
  12          414. For example, FCA's brochure for the 2015 Jeep Compass states:
  13     STANDARD SUPPLEMINTAL FRONT-SEAT MOUNTED SIDE AIRBAGS'
  14     Each side air bag11 has its own sersor to autonomously trigqer the air baq" on the side where
         the impact occurs.
  15
  16     ADVANCED MULTISTAGE FROHT AND SIDE·CURJAIN AIR BACS 1
  17     These air bags provide nearly instantaneous occupant protection by matching air baq outpm
         to crash severity.
  18
       The brochure also includes this image of the airbags deploying to suggest that they
  19
       will work during a crash.
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             415. FCA’s brochure for the 2016 Jeep Compass similarly states:
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  25            Peace of mind will take you far – Supplemental front-seat-
                mounted side air bags: Each side has its own sensor to
  26            autonomously trigger the air bags on the side where the impact
  27            occurs. Standard on all models.

  28            Advanced multistage front and side-curtain air bags: Provide

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   1             nearly instantaneous occupant protection by matching air bag
   2             output to crash severity. Standard on all models.

   3             Advanced multistage driver and front passenger air bags.
   4         416. FCA’s brochure for the 2012 Jeep Patriot similarly states:
   5
                 Advanced multi stage front and side curtain air bags. These air
   6             bags provide nearly instantaneous occupant protection by
                 matching air bag output to crash severity. Standard.
   7
   8             Standard advanced multistage front and side-curtain air bags
                 and available supplemental side air bags help protect your most
   9             important cargo. These systems all work together to help keep
  10             you moving safely forward in all types of weather.
  11         417. Upon information and belief, FCA’s advertising uniformly omitted any
  12   description of a defect in the FCA Class Vehicles’ ACUs that made them
  13   vulnerable to failure during a crash.
  14                e.     FCA’s belated and partial recall did not prevent or remedy
                           the economic harm to consumers.
  15
             418. FCA’s partial recall did not recall many vehicles with defective ZF
  16
       TRW ACUs. The Unrecalled FCA Class Vehicles include:
  17
                    a.     2015–2017 Jeep Compass;
  18
                    b.     2010–2013 Jeep Liberty;
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                    c.     2015–2017 Jeep Patriot;
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                    d.     2010–2018 Jeep Wrangler;
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                    e.     2009–2012 Dodge Ram 1500;
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                    f.     2010–2012 Dodge Ram 2500/3500;
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                    g.     2011–2012 Dodge Ram 3500/4500/5500 Cab-Chassis; and
  24
                    h.     2012–2019 Fiat 500.
  25
             419. The Unrecalled FCA Class Vehicles are also equipped with defective
  26
       ZF TRW ACUs that are vulnerable to ASIC EOS because they share the same
  27
       flawed DS84 ASIC. This allegation is further supported by NHTSA’s investigation
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   1   into these unrecalled vehicles (which has prompted at least two further recalls and it
   2   still ongoing) and the multiple consumer complaints reporting suspicious airbag and
   3   seatbelt failures involving these vehicles. 13
   4         420. FCA and ZF TRW conspired to exclude the Unrecalled FCA Class
   5   Vehicles from the recall by concealing the true scope of vehicles equipped with
   6   defective ZF TRW ACUs and misleadingly assuring NHTSA and consumers that
   7   unrecalled FCA Class Vehicles were safe. For example:
   8                a.
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         See Ex. 8 (ODI nos. 10358293, 10431129, 10404435, 10406392, 10435172,
  23   10473292, 10485943, 10614617, 10671988, 10885546, 10917675, 10544054,
  24   10575416, 10896487, 10981445, 11024190, 10556705, 10560907, 10653811,
       10907251, 10909641, 11048288, 11176266, 10508974, 10511307, 10633640,
  25   10712093, 10716219, 11166733, 11221179, 11240474, 10712196, 10712623,
  26   10897438, 10920550, 10920550, 10928584, 10928871, 10939731, 10957707,
       10979167, 10991421, 10993249, 10994152, 11045006, 11110422, 11120992,
  27   11132330, 11155925, 11161506, 11162152, 11164740, 11170716, 11171619,
  28   11182545, 11183268, 11203683, 11209549, 11230028, 11292488, 11300488).

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   4               b.    When announcing its partial recall, FCA admitted many of its
   5                    other vehicles were equipped "with the same ORC/ASIC," but
   6                    misleadingly claimed these vehicles were not defective and did
   7                    not need to be recalled. FCA' s purported justification for
   8                    leaving these dangerous vehicles on the road was that the
   9                    ACU' s "front sensor wiring [was] routed independently along
  10                    the left and right side of the vehicles front sensor wiring."
  11                    According to FCA, the vehicles allegedly using this slightly
  12                    different configuration of the DS84 ASIC included the 2009-
  13                     2012 Dodge Ram 1500, 2010-2012 Dodge Ram 2500/3500,
  14                     2011-2012 Dodge Ram 3500/4500/5500 Cab-Chassis, 2010-
  15                     2014 Jeep Wrangler, 2010-2012 Dodge Nitro, 2010- 2013 Jeep
  16                     Liberty, and 2012-2016 Fiat 500. But this slight difference in
  17                    sensor wiring does not prevent the transients from occurring or
  18                    adequately protect the ASIC. Multiple consumers have reported
  19                     that airbags and seatbelts in these unrecalled vehicles have failed
  20                    in the field.14
  21               c.
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  25   14
         See Ex. 8 (ODINos. 10358293, 10404435, 10406392, 10431129, 10435172,
  26   10473292, 10485943, 10508974, 10511307, 10544054, 10556705, 10560907,
       10575416, 10614617, 10633640, 10653811, 10671988, 10712093, 10716219,
  27   10885546, 10896487, 10907251, 10909641, 10917675, 10981445, 11024190,
  28   11166733, 11221179, 11240474).

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  12                     NHTSA' s investigation into these newer Jeep vehicles and the
  13                     numerous consumer complaints regarding failed airbags in these
  14                     same vehicles further indicates an uncured defect with the ZF
  15                     TRW ACUs. 16
  16         421 . ZF TRW and FCA also failed to provide an adequate remedy to
  17   consumers who paid for vehicles covered by FCA's partial recall.
  18               a.    First, when FCA announced the recall in September 2016, it also
  19                     admitted "FCA US has not defined a recall remedy at this time."
  20                     Due to a lack of parts, FCA would not even begin to recall and
  21                     repair vehicles pursuant to this recall for approximately 11
  22                     months. During this time period, consumers continued to report
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  26     See Ex. 8 (ODI Nos. 10897438, 10920550, 10928584, 10928871, 10939731,
       10957707, 10979167, 10991421, 10993249, 10994152, 11045006, 11120992,
  27   11132330, 11155925, 11161506, 11162152, 11164740, 11170716, 11171619,
  28   11182545, 11183268, 11203683, 11209549, 11230028, 11292488, 11300488).

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   1                      airbag and seatbelt failures in several of the vehicles subject to
   2                      the recall. Examples of these reports are listed below. See
   3                      Exhibit 8 (ODI nos. 10920626, 10926236, 11006561, 11006731,
   4                      11022674, 10917305, 10926700, 11019118, 10915978,
   5                      10993562, 11192853).
   6                b.    Second, for years after FCA began conducting its partial recall
   7                      in August 2017, consumers continued to report airbags and
   8                      seatbelts failures in vehicles subject to the recall. Exhibit 8 (ODI
   9                      nos. 11164588, 11183650, 11203283, 11204387, 11219085,
  10                      11301047). This suggests a possible ongoing problem with these
  11                      vehicles.
  12                c.    Third, FCA’s September 13, 2016 recall has not remedied most
  13                      of the recall population. According to FCA’s most recent recall
  14                      report, FCA had only repaired 550,005 of the 1,435,625 vehicles
  15                      with defective ZF TRW ACUs as of January 16, 2019.
  16                d.    Fourth, FCA’s partial recall offered no monetary compensation
  17                      to consumers.
  18         iii.   Toyota Class Vehicles
  19         422. In or around 2009, Toyota began selling vehicles equipped with
  20   defective ZF TRW ACUs that contain the same DS84 ASIC as other Class
  21   Vehicles. As explained above, because of the design of the ACUs with the DS84
  22   ASIC, EOS from a transient power surge on the crash sensors can lead to the
  23   complete failure of the ACU, airbags, and seatbelts during a crash. Toyota, ZF
  24   TRW, and STMicro nonetheless conspired to conceal the true nature and scope of
  25   the defect from NHTSA and consumers.
  26                a.    The Definition of the Toyota Class Vehicles
  27         423. The Toyota Class Vehicles are all vehicles made by Toyota that have a
  28   ZF TRW ACU that uses a DS84 ASIC.
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   1         424. Based on incomplete, pre-discovery information available at this time,
   2   Plaintiffs understand that the Toyota U.S. vehicle models equipped with the
   3   defective ZF TRW ACUs include:
   4                 a.   2011–2019 Toyota Corolla;
   5                 b.   2011–2013 Toyota Corolla Matrix;
   6                 c.   2012–2018 Toyota Avalon;
   7                 d.   2013–2018 Toyota Avalon HV;
   8                 e.   2012–2019 Toyota Tacoma;
   9                 f.   2012–2017 Toyota Tundra; and
  10                 g.   2012–2017 Toyota Sequoia.
  11         425. Plaintiffs refer to the vehicles identified in the preceding paragraph as
  12   the Toyota Class Vehicles.
  13                 b.   The ZF TRW ACUs in Toyota Class Vehicles are defective.
  14         426. The ZF TRW ACUs in Toyota Class Vehicles are defective because
  15   they are vulnerable to transients generated during car accidents. The defect can
  16   cause the ACUs to fail precisely when they are most urgently needed: during a
  17   head-on collision. As a result, the ACU does not reliably serve its most basic
  18   purpose and poses a serious risk to the lives and physical well-being of drivers and
  19   passengers.
  20         427. The vast majority of the Toyota Class Vehicles are covered by
  21   NHTSA’s investigation into potentially defective ZF TRW ACUs.
  22         428. NHTSA has linked at least two fatalities to crashes in Toyota Class
  23   Vehicles where the airbags failed to deploy.
  24         429. In January 2020, Toyota admitted that ZF TRW ACUs with the DS84
  25   ASIC are defective and described the defect as follows:
  26
                 The ECU [(a term used by Toyota for ACU)] contains a model
  27             DS84 application-specific integrated circuit (ASIC) which
  28             controls the communication of the crash sensor signals, firing
                 commands (i.e., when to deploy airbag(s) and/or [seatbelt]
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   1             pretensioners), and fault information (e.g., diagnostic trouble
   2             codes).

   3             This ASIC does not have sufficient protection against negative
   4             electrical transients that can be generated in certain severe
                 crashes, such as an underride frontal crash where there is a
   5             large engine compartment intrusion before significant
   6             deterioration. In these cases, the crash sensor and other
                 powered wiring can be damaged and shorted so as to create a
   7             negative electrical transient of sufficient strength and duration
   8             to damage the ASIC before the deployment signal is received
                 in the [Safety Restraint System] ECU. This can lead to
   9             incomplete or nondeployment of the airbags and/or
  10             pretensioners.
  11         430. Since at least as early as 2012, dozens of consumers have reported to

  12   NHTSA that airbags and seatbelts in Toyota Class Vehicles failed to activate during

  13   serious accidents. Over 70 examples of such complaints are attached hereto as

  14   Exhibit 11. Three illustrative examples of these complaints are quoted below.

  15               a.     A March 2, 2013 complaint reported a February 20, 2013

  16                      accident involving a 2012 Toyota Corolla in Herndon, Virginia.

  17                      The complaint states: “I BELIEVE THERE IS A SERIOUS

  18                      SAFETY ISSUE RELATED TO THE PLACEMENT OF THE

  19                      AIR BAG SENSOR. MY WIFE AND A CO-WORKERS WIFE

  20                      WERE INVOLVED IN AN ACCIDENT THAT SEVERELY

  21                      DEFORMED THE FRONT OF A 2012 TOYOTA COROLLA

  22                      WITHOUT TRIGGERING THE AIRBAG SENSOR. UPON

  23                      INSPECTION, IT APPEARS THAT THE PORTION OF THE

  24                      CAR THAT THE AIRBAG SENSOR IS ATTACHED TO,

  25                      MOVED OVER A FOOT AND A HALF WITHOUT

  26                      TRIGGERING THE AIR BAG SENSOR. AS A FORMER

  27                      ASE MASTER TECHNICIAN AND TECHNICAL EXPERT

  28                      FOR THE BETTER BUSINESS BUREAU, THIS MAY BE A

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   1                    SERIOUS DESIGN FLAW THAT COULD ENDANGER THE
   2                    HEALTH AND SAFETY OF OTHER 2012 COROLLA
   3                    OWNERS. I FILE A COMPLAINT WITH TOYOTA USA
   4                    AND I AM WAITING FOR THEIR RESPONSE. *TR.”
   5               b.   A May 8, 2014 complaint reported an April 2, 2014 accident
   6                    involving a 2011 Toyota Corolla in Graham, Texas. The
   7                    complaint states: “I REAR ENDED A TRUCK FULL
   8                    BUMPER TO FULL BUMPER COLLISION GOING ABOUT
   9                    25-30MPH. MY ENTIRE FRONT END WAS CRUSHED,
  10                    RADIATOR AND TRANSMISSION BUSTED, AND FRONT
  11                    BUMPER PULLED OFF, AND INSIDE CAR UNDER
  12                    STEERING WHEEL HAD BEEN SLIGHTLY PUSHED OUT
  13                    TOWARDS DRIVER SEAT. MY CAR WAS TOTALED. I
  14                    BUSTED THE WINDSHIELD WITH MY HEAD WHEN I
  15                    HIT IT GIVING ME A CONCUSSION AND HAD
  16                    CONTUSIONS TO MY CHEST FROM HITTING STEERING
  17                    WHEEL, AND CONTUSION AND SPRAIN TO MY RIGHT
  18                    HAND. NO ONE INCLUDING POLICE, FIREMEN,
  19                    AMBULANCE, AND WRECKING YARD COULD BELIEVE
  20                    MY AIR BAGS DID NOT DEPLOY. MY HUSBAND AND I
  21                    CONTACTED TOYOTA ABOUT THIS AND THEY
  22                    ASSURED ME IT SHOULD NOT HAVE DEPLOYED AND
  23                    SENT ME AN EMAIL LINK TO READ DESCRIBING
  24                    WHEN AIR BAGS SHOULD DEPLOY. WHEN I CALLED
  25                    BACK AFTER READING THE EMAIL AND TOLD THE
  26                    MAN WHAT THE EMAIL SAID AND THAT MY AIR BAG
  27                    SHOULD HAVE DEPLOYED HE CALLED ME A LIAR,
  28                    AND SAID THAT WAS NOT WHAT THE EMAIL SAID.

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   1                    MY HUSBAND THEN CALLED AND REQUESTED
   2                    INFORMATION FROM EDR BE DOWNLOADED AND
   3                    READ. TOYOTA NEVER RETURNED OUR PHONE CALL
   4                    AND NEVER RETRIEVED INFORMATION FROM EDR,
   5                    AND NOW INSURANCE HAS TAKEN POSSESSION OF
   6                    THE VEHICLE AND IT IS GONE. A MONTH LATER WE
   7                    STILL HAVE NEVER RECEIVED A RETURN PHONE
   8                    CALL OR EXPLANATION FROM TOYOTA. *TR.” The
   9                    reference to an “EDR” refers to the Event Data Recorder, the
  10                    automotive equivalent of a “black box” on an airplane.
  11               c.   An August 21, 2014 complaint with NHTSA reported an August
  12                    7, 2014 accident involving a 2013 Toyota Avalon Hybrid in
  13                    Indiana, Pennsylvania. The complaint states: “TL* THE
  14                    CONTACT OWNED A 2013 TOYOTA AVALON HYBRID.
  15                    THE CONTACT’S VEHICLE WAS STRUCK BY A DRUNK
  16                    DRIVER, WHICH CAUSED THE CONTACT TO CRASH
  17                    THE VEHICLE INTO AN EMBANKMENT. THE VEHICLE
  18                    ROLLED OVER SEVERAL TIMES. THE AIR BAGS
  19                    FAILED TO DEPLOY. THE CONTACT AND FRONT
  20                    PASSENGER WERE INJURED AND RECEIVED MEDICAL
  21                    ATTENTION. THE DRIVER FROM THE OTHER VEHICLE
  22                    ALSO SUSTAINED INJURIES. A POLICE REPORT WAS
  23                    FILED AND THE VEHICLE WAS DESTROYED. THE
  24                    MANUFACTURER WAS NOTIFIED. THE FAILURE
  25                    OCCURRED WHILE DRIVING 40 MPH. THE
  26                    APPROXIMATE FAILURE MILEAGE WAS 9,500.”
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   1         431. Toyota' s January 17, 2020 recall covers 2,891,976 vehicles equipped
   2   with the defective ZF TRW ACUs, but Toyota failed to recall millions of other
   3   Toyota Class Vehicles with the same ACUs.
   4                c.    ZF TRW, STMicro, and Toyota have known about the
   5                      defect in ZF TRW ACUs for years.
             432. For many years, ZF TRW, Toyota, and STMicro have known that the
   6
       defective ZF TRW ACUs in Toyota Class Vehicles are vulnerable to EOS.
   7
             433. Upon information and belief, Toyota monitors NHTSA complaints
   8
       regarding Toyota vehicles, since the database is publicly available and can be easily
   9
       queried by vehicle make and model.
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  21         436. In early 2016, ZF TRW representatives met with Toyota
  22   representatives to review a presentation ZF TRW made to NHTSA on ·February 5,
  23   2016 about the defective ACUs that it supplied to its customers. The presentation
  24   alerted Toyota that two other manufacturers had notice of field incidents involving
  25   confirmed and suspected EOS.
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  24         443. On May 30, 20 18, the California Highway Patrol asked Toyota how to

  25   read and download the crash data from a 20 18 Corolla ACU that had a severe front-

  26   end crash on May 21 , 2018. No airbags had deployed and the driver died from the

  27   crash. ZF TRW later reviewed the ACU and confirmed to Toyota that the damage

  28   was consistent with EOS.

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  23         460. In mid-December 2019, Toyota conducted two crash tests in which the
  24   airbags did not deploy. Toyota confirmed damage to the DS84 ASIC in one of
  25   those vehicles.
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   1                d.        Toyota and ZF TRW made misleading statements and
                              omitted material facts about the airbags, seatbelts, and
   2                          ACUs in Toyota Class Vehicles.
   3         461. Toyota made multiple false and/or misleading statements concerning
   4   the Toyota Class Vehicles using interstate mail and/or wire.
   5         462. To sell the Toyota Class Vehicles through dealerships, Toyota had to
   6   certify compliance with applicable safety standards described in Section IV.B.i
   7   above. Toyota affixed written certifications to each of the Toyota Class Vehicles
   8   and delivered them to its dealers with the vehicles. These written certifications were
   9   transmitted through interstate shipment channels with the vehicles.
  10         463. Toyota also distributed numerous manuals for the Toyota Class
  11   Vehicles via mail and wire. These manuals contain affirmative statements
  12   concerning ACUs, airbags, and seatbelts and omit important facts about the dangers
  13   posed by the defective ACUs. None of the manuals mentions any risk of ASIC
  14   EOS. A chart summarizing these relevant portions of Toyota’s manuals is attached
  15   hereto at Exhibit 12. Manuals for the Toyota Class Vehicles are available on
  16   Toyota’s website. They are also typically included in the vehicles when they are
  17   sold at dealerships.
  18         464. Toyota also distributed misleading advertising concerning the Toyota
  19   Class Vehicles via mail and wire. Toyota’s advertising contains affirmative
  20   statements about airbags and seatbelts and omits important facts about the dangers
  21   posed by the defective ACUs. See Exhibit 13 (collecting exemplars). Upon
  22   information and belief, Toyota’s advertising uniformly omitted any description of a
  23   defect in the Toyota Class Vehicles’ ACUs that made them vulnerable to failure
  24   during a crash.
  25         465. In 2015, Toyota represented on its website that “[f]or us, the journey
  26   towards a safe road never ends. This belief, along with our collaborative research
  27   efforts, drives us to create advancements and innovations in safety that have helped
  28   (and continue to help) prevent crashes and protect people.”

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   1         466. A brochure from the 2012 Toyota Avalon made clear, “Safety is not a
   2   luxury” specifically noting the vehicles’ “Seven Airbags… Avalon’s advanced
   3   Supplemental Restraint System (SRS) is a marvel of safety technology. Employing
   4   sophisticated sensors, the system includes seven airbags: driver and front passenger
   5   airbags, front and rear side curtain airbags, front seat-mounted side airbags for the
   6   driver and front passenger, and a driver knee airbag.”
   7         467. In a brochure for the 2013 Sequoia, Toyota set out: “You planned your
   8   trip. We planned your return. With Sequoia, one thing you’ll never leave behind is
   9   peace of mind. Sequoia’s equipped with an array of active safety features to help
  10   you avoid trouble, and passive safety features to help protect you if trouble proves
  11   unavoidable” with features including a “Comprehensive airbag system that senses
  12   impact severity, adjusting airbag deployment accordingly.”
  13         468. An October 15, 2015 Press Release for the 2016 Toyota Avalon
  14   promised “safety in all directions” as “the Avalon comes equipped with 10 standard
  15   airbags.”
  16         469. Similarly, a brochure for the 2017 Toyota Corolla affirmed that
  17   “Safety should never be just an option” and “[e]very journey should be a safe one”
  18   further noting that “[a]t Toyota, your safety is what drives us. That’s why we’ve
  19   given Corolla an impressive list of active and passive safety features as standard
  20   equipment. From systems designed to help you avoid accidents to those that can
  21   help protect you should a collision occur, Corolla takes your safety seriously,” and
  22   listed the “8 Airbags include[ing] Dual-Stage Driver and Front Passenger Airbags”
  23   as part of those features.
  24         470. Upon information and belief, Toyota’s advertising uniformly omitted
  25   any warning that Toyota Class Vehicles were equipped with ACUs that were
  26   vulnerable to EOS or that airbags and seatbelts in the Toyota Class Vehicles could
  27   fail during a crash due to EOS.
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   1                e.     Toyota’s belated and partial recall did not prevent or
                           remedy the economic harm to consumers.
   2
             471. Toyota did not include any of the over two million Tacoma, Sequoia,
   3
       or Tundra vehicles equipped with the same defective ZF TRW ACU as other
   4
       vehicles included in its recall (the “Unrecalled Toyota Class Vehicles”).
   5
             472. Upon information and belief, Toyota and ZF TRW conspired to
   6
       exclude the Unrecalled Toyota Class Vehicles from the recall by misleadingly
   7
       assuring NHTSA and consumers that Unrecalled Toyota Class Vehicles were safe.
   8
       Specifically, in its Part 573 Safety Recall Report, Toyota stated that “due to
   9
       different body construction and other factors, Toyota believes at this time that an
  10
       occurrence of a sufficient negative transient at a timing [sic] that can affect airbag
  11
       deployment in a crash is unlikely.” Toyota’s determination that a significant
  12
       negative transient is “unlikely” is inherently speculative and unreliable for at least
  13
       three reasons.
  14
                    a.     First, in the very same 573 Report, Toyota admits that, even
  15
                           though it “believes” negative transients to be rare, “Toyota is
  16
                           unable to estimate the likelihood for this to occur in the real
  17
                           world.” The Unrecalled Toyota Vehicles, of course, are also
  18
                           driven in “the real world” and Toyota offers no credible
  19
                           explanation for why NHTSA and consumers can rely on its
  20
                           assurances regarding the risks of transients as to Unrecalled
  21
                           Class Vehicles when it admits it cannot estimate the likelihood
  22
                           of severe transients or ASIC EOS in the Recalled Vehicles.
  23
                    b.     Second, as explained above, negative transients and EOS have
  24
                           damaged ZF TRW ACUs in over a dozen different vehicles
  25
                           made by multiple different Vehicle Manufacturers. Toyota’s
  26
                           suggestion that variables such as differences regarding “body
  27
                           construction and other factors” fails to explain why these
  28

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   1                      different vehicles are all suffering from the same problem. The
   2                      only plausible explanation is the defective ZF TRW ACU shared
   3                      by all the vehicles, not the layout of the wiring, which, upon
   4                      information and belief, differs.
   5                c.    Third, NHTSA’s investigation into the Unrecalled Toyota Class
   6                      Vehicles and numerous consumer complaints regarding failed
   7                      airbags in these same vehicles further indicates an uncured
   8                      defect in the Unrecalled Toyota Class Vehicles with the ZF
   9                      TRW ACUs. See Exhibit 11 (ODI Nos. 10483711, 10521864,
  10                      10572518, 10724322, 10908928, 10945149, 11115644,
  11                      11203097).
  12         473. On information and belief, the remedy offered by Toyota under its
  13   partial recall does not repair the defective nature of the ZF TRW ACUs. Instead, the
  14   partial recall merely adds a noise filter “between the airbag control module and its
  15   wire harness.”
  16         474. Toyota has not offered any monetary compensation to any consumers
  17   for the Toyota Class Vehicles.
  18         iv.    Honda Class Vehicles
  19         475. In or around 2011, Honda began selling vehicles equipped with
  20   defective ZF TRW ACUs that contain the same DS84 ASIC as the other Class
  21   Vehicles. As explained above, because of the design of the ACUs, EOS from a
  22   power surge on the crash sensors can lead to the complete failure of the ACU,
  23   airbags, and seatbelts during a crash. Honda, ZF TRW, and STMicro nonetheless
  24   conspired to conceal the defect from NHTSA and consumers.
  25                a.    The Definition of the Honda Class Vehicles
  26         476. The Honda Class Vehicles are all vehicles made by Honda that have a
  27   ZF TRW ACU that uses a DS84 ASIC.
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   1         477. Honda began selling vehicles equipped with defective ZF TRW ACUs
   2   starting with certain 2012 model years.
   3         478. Based on incomplete, pre-discovery information available at this time,
   4   Plaintiffs understand that the Honda U.S. vehicle models equipped with the
   5   defective ZF-TRWACUs include:
   6                a.    2013–2015 Honda Accords;
   7                b.    2012–2015 Honda Civics (including GXs, SIs and Hybrids);
   8                c.    2012–2016 Honda CR-Vs;
   9                d.    2013–2014 Honda Fit EVs;
  10                e.    2012–2017 Honda Fits;
  11                f.    2012–2014 Honda Ridgelines;
  12                g.    2014–2019 Acura RLXs (and Hybrids);
  13                h.    2012–2014 Acura TLs;
  14                i.    2015–2017 Acura TLXs; and
  15                j.    2012–2014 Acura TSXs (and TSX Sport Wagons).
  16         479. Plaintiffs refer to the vehicles identified in the preceding paragraph as
  17   the Honda Class Vehicles.
  18                b.    The ZF TRW ACUs in Honda Class Vehicles are defective.
  19         480. The ZF TRW ACUs in Honda Class Vehicles are defective because
  20   they are vulnerable to transients generated during accidents. The defect can cause
  21   the ACUs to fail precisely when they are most urgently needed: during a head-on
  22   collision. As a result, the ACU does not reliably serve its most basic purpose and
  23   poses a serious risk to the lives and physical well-being of drivers and passengers.
  24         481. The Honda Class Vehicle list is the same list of Honda vehicles
  25   covered by NHTSA’s investigation into potentially defective ZF TRW ACUs.
  26         482. NHTSA appears to have identified these Honda Class Vehicles
  27   because they all have ZF TRW ACUs equipped with the DS84 ASIC—the
  28   equipment that Hyundai-Kia and FCA identified as defective when announcing

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   1   recalls based on defective ACUs. After NHTSA announced its investigation,
   2   Toyota announced admitted the ZF TRW ACU with DS84 ASICs in some Toyota
   3   vehicles were also defective.
   4         483. Between 2012 and the present, dozens of consumers reported to
   5   NHTSA that airbags and/or seatbelts had failed in Honda Class Vehicles.
   6   Approximately 40 examples of such complaints are attached hereto as Exhibit 14.
   7   Three examples of these complaints are quoted below.
   8               a.     A November 28, 2014 complaint reported an October 21, 2014
   9                      accident involving a 2013 Honda Civic. The complaint states:
  10                      “TL* THE CONTACT OWNS A 2013 HONDA CIVIC. THE
  11                      CONTACT STATED THAT WHILE MAKING A LEFT
  12                      TURN, ANOTHER VEHICLE DROVE THROUGH A RED
  13                      LIGHT AND CRASHED INTO THE FRONT OF THE
  14                      CONTACTS VEHICLE. THE AIR BAG WARNING LIGHT
  15                      ILLUMINATED AND THE AIR BAGS FAILED TO
  16                      DEPLOY. A POLICE REPORT WAS FILED. THE
  17                      CONTACT SUSTAINED INJURIES TO THE CHEST, THE
  18                      BACK, ABDOMEN AND SHOULDER PAINS THAT
  19                      REQUIRED MEDICAL ATTENTION. THE VEHICLE WAS
  20                      NOT DIAGNOSED OR REPAIRED. THE MANUFACTURER
  21                      WAS NOTIFIED OF THE FAILURE. THE APPROXIMATE
  22                      FAILURE MILEAGE WAS 10,000.”
  23               b.     A May 20, 2015 complaint reported an April 23, 2014 accident
  24                      involving a 2013 Honda Accord. The complaint states: “MY
  25                      VEHICLE STRUCK ANOTHER VEHICLE IN FRONT OF
  26                      ME FROM BEHIND. AIRBAG LIGHTS CAME ON YET DID
  27                      NOT DEPLOY. IMPACT CAUSED DAMAGE TO MY
  28                      CHEST BY THE SEATBELT. IT CAUSED A TISSUE

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   1                    EXPANDER IMPLANTED IN MY RIGHT BREAST TO BE
   2                    DAMAGED AND RIPPED OUT THE PLACES STITCHED
   3                    TO ME. THE TE WAS THERE AS PART OF A BREAST
   4                    CANCER RECONSTRUCTION PROCESS. SURGERY WAS
   5                    REQUIRED TO REMOVE AND REPLACE THE TE. THE
   6                    FRONT END OF THE VEHICLE WAS DAMAGED,
   7                    SENSORS NEEDED REPLACEMENT, AND SEATBELT
   8                    STRUCTURE ALSO NEEDED REPLACEMENT.”
   9               c.   A September 5, 2016 complaint reported an August 30, 2016
  10                    accident involving a 2015 Honda Civic. The complaint states:
  11                    “THE VEHICLE (V-2) WAS INVOLVED IN A COLLISION
  12                    AT THE 1-5 NB CYPRESS OFF RAMP IN REDDING
  13                    CALIFORNIA IN EVENING PEAK HOUR TRAFFIC (AT
  14                    1810). V-2 WAS STRUCK BY V-1, WHICH IN TURN
  15                    PUSHED V-2 INTO V-3. BOTH V-1 AND V-2 WERE
  16                    STATIONARY AT THE TIME OF COLLISION. V-1, A
  17                    ISUZA TROOPER SUSTAINED MINOR FRONT END
  18                    DAMAGE. V-2 RECEIVED MINOR FRONT END DAMAGE,
  19                    AND MAJOR REAR END DAMAGE. V-3, A KIA SOUL
  20                    RECEIVED MINOR REAR END DAMAGE. THE ISSUE IS
  21                    THAT THE V-2 AIRBAG DID NOT DEPLOY OR THE
  22                    SEATBELT RESTRAIN THE DRIVER IN THE VEHICLE.
  23                    THE DRIVER STRUCK THE STEERING WHEEL
  24                    RECEIVING A MAJOR BRAIN CONCUSSION AND
  25                    BROKEN NOSE UPON BEING PUSHED BY V-1 INTO V-3.
  26                    SEVERAL ON THE SCENE QUESTIONED THE LACK OF
  27                    AIRBAG DEPLOYMENT OR THE SEAT-BELT NOT
  28                    PROVIDING THE RESTRAINT NECESSARY TO PREVENT

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   1                      THE INJURY. MY CONCERN IS THIS IS A FAILURE OF
   2                      THE SAFETY SYSTEMS NECESSARY TO RESTRAIN THE
   3                      DRIVER. REPORTING PARTY IS THE FATHER OF THE
   4                      DRIVER OF V-2, A TEEN DRIVER."
   5                c.    ZF TRW, STMicro, and Honda have known about the
   6                      defect in ZF TRW ACUs for years.
             484. Since at least as early as 2012, ZF TRW and Honda knew that the
   7
       defective ACUs in Honda Class Vehicles were vulnerable to EOS. Although ZF
   8
       TRW and Honda knew this vulnerability could lead to airbag and seatbelt failures,
   9
       they conspired to conceal this risk from consumers and safety regulators for years.
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  16                                       But at the same time, Honda and ZF TRW
  17   continued to use the defective ACUs for other Honda vehicles and failed to warn
  18   consumers about the risks posed by Honda vehicles equipped with less robust ZF
  19   TRW ACUs.
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  28                 II
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             492. Upon infonnation and belief, in or around January or February 2016,
  11   ZF TRW informed Honda that some ZF TRW ACUs had experienced EOS in
  12   vehicles made by other manufacturers and that ZF TRW had communicated with
  13   NHTSA regarding these developments. 17
  14         493 . Upon infonnation and belief, in March and September 20 18, ZF TRW
  15   communicated with Honda about its ongoing investigation ofEOS in ACUs with
  16   the DS84 ASIC and its contacts with NHTSA.
  17         494. Upon information and belief, Honda monitored the public record
  18   developments about FCA's and Hyundai-Kia's recalls, particularly in light of ZF
  19   TRW's communications about developments with NHTSA.
  20         495 . On April 19, 2019, NHTSA upgraded its preliminary investigation
  21   concerning ZF TRW ACUs to a type of investigation called an "Engineering
  22   Analysis." In connection with this decision, NHTSA expanded the scope of the
  23   investigation to include the Honda Class Vehicles.
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  26     This allegation is based on ZF TRW's acknowledgment in a 573 Report filed in
       2018 that it "communicated with customers re ardin EOS and contact with
  27   NHTSA" in Janua 2016.
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   1         496. Also on April 19, 2019, NHTSA filed a public document describing
   2   the investigation. The document noted that the recalled Hyundai and Kia Class
   3   Vehicles included "the lowest levels of ASIC protection" and the recalled FCA
   4   vehicles used "a mid-level form of ASIC protection." The document also noted:
   5   "ODI has identified two substantial frontal crash events (one fatal) involving
   6   Toyota products where EOS is suspected as the likely cause of the non-
   7   deployments. The crashes involved a MY 2018 and a MY 2019 Corolla equipped
   8   with the subject ACU that incorporated higher levels of ASIC protection.
   9   Additionally, both ACUs were found to be non-cmmnunicative (meaning the ACU
  10   could not be read with an Event Data Recorder) after the crash, a condition found in
  11   other cases where EOS occurred with other [vehicle manufacturers]." Upon
  12   information and belief, Honda, ZF TRW and Honda all read this document.
  13         497. On January 17, 2020, Toyota submitted a Part 573 Safety Recall
  14   Report to NHTSA announcing its intention to recall 2,891,976 vehicles based on an
  15   admitted defect with ZF-TRW' s ACUs containing DS84 ASICs. The recalled
  16   Toyota vehicles were equipped with versions of the ACU with same level of circuit
  17   protection as most Honda Class Vehicles.
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  21                d.    Honda and ZF TRW made misleading statements and
  22                      omitted material facts about the airbags, seatbelts, and
                          ACUs in Honda Class Vehicles.
  23         498. During the Class Period, Honda made multiple false and/or misleading
  24   statements concerning the Honda Class Vehicles using interstate mail and/or wire.
  25         499. To sell the Honda Class Vehicles through dealerships, Honda had to
  26   certify compliance with applicable safety standards described in Section IV.B.i
  27   above, including by affixing written certifications to its vehicles and sending them
  28   to dealers. These written certifications were shipped across states with the vehicles.
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   1          500. Honda also distributed via mail and wire numerous manuals for the
   2   Honda Class Vehicles. These manuals contain affirmative statements and important
   3   omissions about ACUs, airbags, and seatbelts. A chart summarizing these
   4   statements and omissions is attached hereto at Exhibit 15. Manuals for the Honda
   5   Class Vehicles are available on Honda's website. They are also typically included
   6   in the vehicles when they are sold at dealerships.
   7          501. Honda also distributed misleading advertising concerning the Honda
   8   Class Vehicles via mail and wire. Honda's advertising contains misleading
   9   statements and important omissions about airbags and seatbelts. See Exhibit 16
  10   (collecting exemplars).
  11          502. A brochure for the 2014 Honda Fit similarly states:
  12
  13      SOLID ON
  14
  15
          .SAFETY.
           Safety for everyone is our commitment to providing one of the highest levels
  16       of standard safety features to help ensure occupant safety and protection.
  17       And through real-world research, Honda is also focusing on developing, unequalled
           measures of protection to enhance the safety of occupants in other vehicles
  18
           and even pedestrians - an innovative idea that is quickly becoming a reality.
  19
  20   It also states:
  21     SJX STANDARD AIRBAGS
  22     Six airbags line the vehrcle's cabin. in duding side curtai n airbags
  23     and front side airbags with passenger-side Occupant Position
  24     Detection System (OPDS) that is designed not to deploy if the
         system detects a smaller-sized or out-of-position occupant.
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  26   The brochure includes the below image of the airbags deploying to suggest that
  27   they will in fact deploy in a crash.
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       Honda's standard practice is to use this similar comforting images and language
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       when describing the safety features of its vehicles in vehicle brochures and
  17
       advertising.
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             503. In a brochure for the 2014 Accord, Honda pledged that "Your Safety Is
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       Our Responsibility. At Honda, Your Safety Has Always Been Our Highest
  20
       Priority" and assured that "[t]he Accord comes with six standard airbags,
  21
       surrounding you with safety features. "
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             504. A brochure for the 2014 Honda CR-V boasted that "Airbags Abound"
  23
       as "The CR-Vis equipped with dual -stage, multiple -threshold front airbags, side -
  24
       curtain airbags with rollover sensor, and front side airbags with passenger-side
  25
       Occupant Position Detection System (OPDS). And they all come standard." In that
  26
       same brochure, it continued, " [w]herever you're headed in your CR-V, nothing' s
  27
       more important than arriving there safely. That' s why safety features come
  28
       standard, no exceptions. And we're proud to say the CR-V achieved a 5-Star
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   1   Overall Vehicle Score from the National Highway Traffic Safety Administration
   2   (NHTSA). So when you’re out there chasing down everything you always wanted
   3   to do, know you’ve got Honda’s unwavering commitment to safety around you.”
   4         505. In a brochure for the 2015 Accord, Honda similarly expressed that it
   5   was “Always thinking about safety –Because, of all the things you need the Accord
   6   to do, nothing’s more important than getting you where you need to go safely.”
   7         506. In a March 4, 2015 press release regarding the 2015 Acura TLX,
   8   Michael Accavitti, senior vice president and general manager, Acura Division
   9   assured that “The TLX exemplifies how advanced safety performance is an inherent
  10   part of how Acura delivers luxury” and continued, “[s]afety is a core value of the
  11   brand and all Acura models are expected to earn top safety scores. When you think
  12   of safety performance and luxury, you’ll think Acura.” In that same release, Honda
  13   noted that vehicles’ “advanced airbags systems” which “provide a high level of
  14   occupant protection in a wide spectrum of collision scenarios.”
  15         507. An October 15, 2015 press release regarding the 2016 Acura TLX
  16   described a new national advertising campaign focusing on vehicle safety and “the
  17   brand’s philosophy of putting people first.” Jon Ikeda, vice president and general
  18   manager, Acura division, noted that “[a]t Acura, safety has been a part of our
  19   engineering culture and DNA since the inception of the brand nearly 30 years ago.”
  20         508. In a vehicle brochure for the 2018 Acura RLX, Honda touted the
  21   vehicle’s safety as follows: “Never compromise safety. We always put safety first,
  22   so when it comes to helping to protect our passengers, we ask ourselves one simple
  23   question: ‘Is it safe enough for our own families to ride in?’ It’s our greatest goal to
  24   one day drive in a zero-collision society, and the RLX was designed and engineered
  25   with that goal in mind. For us, safety is personal.” In the same brochure, Honda
  26   noted the “Advanced Front Airbags” system. Honda repeated these same statements
  27   in the brochure for the 2019 Acura RLX.
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   1         509. Upon information and belief, Honda' s advertising uniformly omitted
   2   any description of a defect in the Honda Class Vehicles' ACUs that made them
   3   vulnerable to failure during a crash.
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  13                e.     Honda has taken no steps to remedy the defective ZF TRW
  14                       ACUs or compensate Plaintiffs or the class members.

  15         511 . Honda has not initiated any recalls or offered monetary compensation
  16   to consumers for the defective ZF TRW ACUs in Honda Class Vehicles.
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   6               c.     Third, NHTSA's investigation into 2015 Honda Accords, 2015
   7                      -2017 Honda CR-Vs, and 2016-2017 Honda Fits and numerous
   8                      consumer complaints regarding failed airbags in these same
   9                      vehicles further indicates an uncured defect in the Unrecalled
  10                      Honda Class Vehicles with the ZF TRW ACUs. See Exhibit 14
  11                      (10606730, 10904988, 10904991, 11006304, 11006609,
  12                      11209214, 11230881, 11232553, 11297555).
  13               d.
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  16         v.    Mitsubishi Class Vehicles
  17         513. In or around 2012, Mitsubishi began selling vehicles equipped with
  18   defective ZF TRW ACUs that contain the same DS84 ASIC as the other Class
  19   Vehicles. As explained above, because of the design of the ACUs, EOS from a
  20   power surge on the crash sensors can lead to the complete failure of the ACU,
  21   airbags, and seatbelts during a crash. Mitsubishi, ZF TRW, and STMicro
  22   nonetheless conspired to conceal the true nature and scope of the defect from
  23   NHTSA and consumers.
  24               a.     The Definition of the Mitsubishi Class Vehicles
  25         514. The Mitsubishi Class Vehicles are all vehicles made by Mitsubishi that
  26   have a ZF TRW ACU that uses a DS84 ASIC.
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   1          515. Based on the incomplete, pre-discovery infonnation presently
   2   available, Plaintiffs understand that the list of Mitsubishi vehicles equipped with
   3   defective ZF TRW ACUs includes:
   4                 a.    2013-2017 Lancer;
   5                 b.    2013-2015 Lancer Evolution;
   6                 c.    2013-2015 Lancer Ralliart;
   7                 d.    2013-2016 Lancer Sportback; and
   8                 e.    2013 Outlander.
   9          516. Plaintiffs refer to the vehicles identified in the preceding paragraph as
  10   the Mitsubishi Class Vehicles.
  11                 b.    The ZF TRW ACUs in Mitsubishi Class Vehicles are
  12                       defective.

  13          517. The ZF TRW ACUs in Mitsubishi Class Vehicles are defective
  14   because they are vulnerable to transients generated during crashes. The defect can
  15   cause the ACUs to fail precisely when they are most urgently needed: during a
  16   head-on collision. As a result, the ACU does not reliably serve its most basic
  17   purpose and poses a serious risk to the lives and physical well-being of drivers and
  18   passengers.
  19          518. Since                , dozens of consumers have reported to _
  20   I   NHTSA that the airbags in their Mitsubishi Class Vehicle failed to deploy after a
  21   crash. Examples of such complaints are attached hereto as Exhibit 18. For example:
  22                 a.
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  26                 b.
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  11               d.   A publicly available complaint with NHTSA dated October 21 ,
  12                     2016 reported a September 13, 2016 accident involving a 2015
  13                    Mitsubishi Lancer in Centralia, Washington. The complaint
  14                    states: "I WAS TRAVELING ALONG 20 MILES BELOW
  15                    THE SPEED LIMIT HAD A DEER JUMPED OUT IN FRONT
  16                    OF ME I SWEAR TO MISS IT MY FRONT PASSENGER
  17                     SIDE TIRE WENT OFF THE ASPHALT AND INTO SOFT
  18                    DIRT AND MY CAR HIGH CENTERED ON THE RAISED
  19                     LIP OF THE ROAD AND SLID DOWN THE HILLSIDE
  20                     LANDING INTO TREES BOTH GOING FORWARD AND
  21                    TOWARDS THE RIGHT SIDE OF THE CAR STOPPING
  22                     BECAUSE OF TREES IT DESTROYED THE FRONT END
  23                    THE ENTIRE UNDERCARRIAGE THE ENTIRE
  24                     PASSENGER SIDE OF THE CAR POPPED OPEN THE
  25                     SUNROOF TRIED PUSHING THE ROOF OFF THE BACK
  26                    DRIVER SIDE OF THE CAR AND NO AIRBAGS WENT
  27                    OFF NO SAFETY FEATURES OTHER THAN THE SEAT
  28                     BELT WORK."

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   1               e.   A publicly available complaint with NHTSA dated June 8, 2017
   2                    reported a May 13, 2017 accident involving a 2015 Mitsubishi
   3                     Lancer in Kent, Washington. The complaint states: “SON WAS
   4                     DRIVING VEHICLE REAR ENDED A VEHICLE, AT 35
   5                     MPH, ROLLED MITSUBISHI 8 TO 9 TIMES, SLED ON
   6                     ROOF ABOUT 50 FEET BEFORE COMING TO A STOP UP
   7                     SIDE DOWN. AIRBAGS NEVER DEPLOYED. NOT EVEN
   8                     WHEN THE TOW TRUCK FLIPPED CAR RIGHT SIDE UP.”
   9               f.    A publicly available complaint with NHTSA dated November
  10                     14, 2017 reported a November 12, 2017 accident involving a
  11                     2015 Mitsubishi Lancer in Boyers, Pennsylvania. The complaint
  12                     states: “DRIVING ON INTERSTATE AT 1130 AT NIGHT NO
  13                     RAIN OR ANYTHING. I HIT A DEER AT 72 MPH LOTS OF
  14                     DAMAGE TO THE FRONT AND DRIVERSIDE. MY SEST
  15                     BELT WAS LOCKED BUT NOT ONE OF MY AIR BAGS
  16                     COME OUT...”
  17               g.    A publicly available complaint with NHTSA dated January 16,
  18                     2020 reported a January 11, 2020 accident involving a 2016
  19                     Mitsubishi Lancer in Lake Havasu City, Arizona. The complaint
  20                     states: “ACCIDENT THAT RESULTED IN THE CAR BEING
  21                     DECLARED TOTAL LOSS. THE CAR WAS HIT IN THE
  22                     UPPER FRONT AND SIDE AREA OF DRIVERS SIDE.
  23                     DURING THE ACCIDENT THE AIR BAGS DID NOT
  24                     DEPLOY. RESULTED IN INJURIES, OF COURSE. THE
  25                     CAR WAS MAKING LEFT HANDED TURN FROM
  26                     RESIDENTIAL AREA ONTO A BUSY MAIN STREET. AND
  27                     THE OTHER VEHICLE WAS NOT PAYING ATTENTION
  28                     AND HIT THE CAR WHILE IT WAS TRYING TO TURN.

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   1                      THE CAR WAS GOING APPROXIMATELY 15-20 MPH.
   2                      THE OTHER VEHICLE WAS GOING 40-45 MPH. WHAT
   3                      WOULD CAUSE THE AIR BAGS TO MALFUNCTION??
   4                      BECAUSE I WOULD LOVE TO KNOW WHY INWRIES
   5                      HAD TO EVEN OCCUR SINCE THEY ONLY HAPPENED
   6                      DUE TO THE MALFUNCTION OF THE AIR BAGS."
   7                c.    ZF TRW, STMicro and Mitsubishi have known about the
   8                      defect in ZF TRW ACUs for years.
             519. Mitsubishi, STMicro, and ZF TRW were aware of the risk ofEOS in
   9
       the ZF TRW ACUs                        . Although Mitsubishi, STMicro, and ZF
  10
       TRW knew this vulnerability could lead to airbag and seatbelt failures, they
  11
       conspired to conceal this risk from consumers and safety regulators for years.
  12
  13
  14
  15
  16
             521. Even with repeated consumer reports of airbag nondeployinent dating
  17
       back to at least
  18
  19
  20
  21
  22
             522. Upon information and belief, in or around January or February 2016,
  23
       ZF TRW contacted Mitsubishi to disclose that it had confirmed that some ZF TRW
  24
       ACUs had experienced EOS in vehicles made by other manufacturers and that ZF
  25
       TRW had communicated with NHTSA regarding these developments. 18
  26
  27   18
         This allegation is based on ZF TRW's acknowledgment in a 573 Report filed in
  28   2018 that it "communicate(d] with customers regarding EOS and contact with
                                                        Footnote continued on next page
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   1         523. Upon information and belief, in March and September 2018, ZF TRW
   2   communicated with Mitsubishi about its ongoing investigation of EOS in ACUs
   3   with the DS84 ASIC and its contacts with NHTSA.
   4         524. Upon information and belief, Mitsubishi monitored the public record
   5   developments about FCA’s and Hyundai-Kia’s recalls, particularly in light of ZF
   6   TRW’s communications about developments with NHTSA.
   7         525. On April 19, 2019, NHTSA upgraded its preliminary investigation
   8   concerning ZF TRW ACUs to a type of investigation called an “Engineering
   9   Analysis.” In connection with this decision, NHTSA expanded the scope of the
  10   investigation to include the Mitsubishi Class Vehicles.
  11         526. Also on April 19, 2019, NHTSA filed a public document describing
  12   the investigation. The document noted that the recalled Hyundai and Kia Class
  13   Vehicles included “the lowest levels of ASIC protection” and the recalled FCA
  14   vehicles used “a mid-level form of ASIC protection.” The document also noted:
  15   “ODI has identified two substantial frontal crash events (one fatal) involving
  16   Toyota products where EOS is suspected as the likely cause of the non-
  17   deployments. The crashes involved a MY 2018 and a MY 2019 Corolla equipped
  18   with the subject ACU that incorporated higher levels of ASIC protection.
  19   Additionally, both ACUs were found to be non-communicative (meaning the ACU
  20   could not be read with an Event Data Recorder) after the crash, a condition found in
  21   other cases where EOS occurred with other [vehicle manufacturers].” Upon
  22   information and belief, Mitsubishi, ZF TRW and STMicro all read this document,
  23   and understood that Mitsubishi Class Vehicles were equipped with, at best, a mid-
  24   level form of ASIC protection described by NHTSA.
  25
  26
       Footnote continued from previous page
  27   NHTSA” in January 2016. It is also based on ZF TRW’s discussions with Toyota
  28   around the same time.

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   1                d.     Mitsubishi and ZF TRW made misleading statements and
                           omitted material facts about the airbags, seatbelts, and
   2                       ACUs in Mitsubishi Class Vehicles.
   3         527. During the Class Period, Mitsubishi made multiple false and/or
   4   misleading statements concerning the Mitsubishi Class Vehicles using interstate
   5   mail and/or wire.
   6         528. To sell the Mitsubishi Class Vehicles through dealerships, Mitsubishi
   7   had to certify compliance with applicable safety standards described in Section
   8   IV.B.i above, including by affixing written certifications to its vehicles and sending
   9   them to dealers. These certifications were shipped across states.
  10         529. Mitsubishi also distributed numerous manuals for the Mitsubishi Class
  11   Vehicles via mail and wire. These manuals contain affirmative statements and omit
  12   material facts about ACUs, airbags, and seatbelts. A chart summarizing these
  13   statements and omissions is attached hereto at Exhibit 17. Manuals for the
  14   Mitsubishi Class Vehicles are available on Mitsubishi’s website. They are also
  15   typically included in the vehicles when they are sold at dealerships.
  16         530. Mitsubishi also distributed misleading advertising concerning the
  17   Mitsubishi Class Vehicles via mail and wire. Mitsubishi’s advertising contains
  18   misleading statements and important omissions about airbags and seatbelts. See
  19   Exhibit 19 (collecting exemplars).
  20         531. Mitsubishi’s brochure for the 2013 Outlander touted that “Safety
  21   Comes Standard – When it comes to your safety, the 2013 Outlander is on constant
  22   alert with active technologies to pre-empt whatever the road might throw in your
  23   way. It is also fitted with front passenger Supplementary Restraint System (SRS)
  24   and six standard airbags including front, side and curtain protection.”
  25         532. A brochure for the 2014 Mitsubishi Lancer assured that “[a]t
  26   Mitsubishi, we consider performance and safety to be two sides of the same coin;
  27   that’s why our comprehensive safety systems underpin our next-generation
  28   engineering. Safety is a priority beneath every surface of the 2014 Lancer” and

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   1   named its "Robust safety features such as a standard 7 airbag Supplemental
   2   Restraint System (SRS) and Lancer's Reinforced Impact Safety Evolution (RISE)
   3   structure are just a couple of reasons why the Lancer . . . has earned an HHS ' Top
   4   Safety Pick' for five consecutive years (2009-2013)."
   5         533. A Mitsubishi webpage for the 2014 Lancer Sportback, available on
   6   June 25, 2014, touted the "Power of Seven" with a "7 Airbag Safety System"
   7   described as follows: "This innovative system features six standard airbags, along
   8   with a seventh under the driver's side dash that helps stabilize the driver's lower
   9   body and knees during certain types of frontal collisions. This is one Lancer
  10   Sportback feature you '11 probably never use, but it's nice to know it's there."
  11
  12
  13
  14         535. Upon information and belief, Mitsubishi's advertising uniformly
  15   omitted any description of a defect in the Mitsubishi Class Vehicles' ACUs that
  16   made them vulnerable to failure during a crash.
  17                e.    Mitsubishi has taken no steps to remedy the defective ZF
  18                      TRW ACUs or compensate Plaintiffs or the class members.

  19         536. As of the date of the filing of this Consolidated Complaint, Mitsubishi
  20   has not recalled any of the Mitsubishi Class Vehicles.
  21         537. Purported differences in circuit protection cannot explain Mitsubishi's
  22   decision, because the Mitsubishi Class Vehicle are equipped with the same
  23   inadequate "mid-level" form of protection that failed in the Recalled FCA Class
  24   Vehicles.
  25
  26
  27
  28

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   1   D.    Defendants’ material omissions and misrepresentations about the
             defective ZF TRW ACUs injured Plaintiffs and class members.
   2
   3         538. Had Defendants disclosed the existence of the defect in the Class
   4   Vehicles, Plaintiffs and other class members would not have purchased or leased
   5   the Class Vehicles, or they would have paid less for them.
   6         539. Had Defendants disclosed the existence of the defect to NHTSA
   7   before the Vehicle Manufacturer Defendants sold the Class Vehicles, the Vehicle
   8   Manufacturer Defendants could not have avoided or delayed recalling the Class
   9   Vehicles.
  10         540. Had Defendants disclosed the existence of the defect in the Class
  11   Vehicles’ ZF TRW ACUs, the market price of the Class Vehicles would have been
  12   lower. Accordingly, Plaintiffs and class members paid a premium reflecting the
  13   market’s assumption that the Class Vehicles did not have defective ACUs.
  14         541. Plaintiffs have been deprived of the benefit of their bargain and did not
  15   receive the products they paid for and reasonably expected: vehicles with fully
  16   functional ACUs, airbags, and seatbelts.
  17               V. TOLLING OF THE STATUTE OF LIMITATIONS
  18         542. As explained above in Section IV.B.i, Defendants all had a duty to
  19   disclose the ZF TRW ACU defect to consumers and NHTSA. Contrary to this duty,
  20   Defendants concealed the defect from consumers and NHTSA by:
  21               a.     Advertising the safety of the Class Vehicles and/or ACUs;
  22               b.     Dismissing observed incidents where the ACU suffered EOS
  23                      and airbags failed to deploy in Class Vehicles as “commanded
  24                      nondeployments” (i.e., intentional nondeployment of airbags in
  25                      high-speed wrecks where the ACU coincidentally happened to
  26                      show suspicious signs of EOS); and
  27               c.     Downplaying the true scope of the ZF TRW ACU defect by
  28                      asserting that vehicle-specific design issues (such as differences

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   1                      about the location of wiring in the vehicles) were to blame, even
   2                      after Defendants observed EOS in ZF TRW ACUs across a
   3                      variety of different Class Vehicles with different wiring
   4                      configurations manufactured by four different Vehicle
   5                      Manufacture Defendants.
   6         543. As explained above in Section IV.C, Defendants have known or had
   7   reason to know of the defect with ZF TRW ACUs installed in the Class Vehicles
   8   since at least 2008 and further incidents from practically every year since then have
   9   provided additional notice of the defect to Defendants. Nonetheless, Defendants
  10   failed to fully warn consumers, initiate timely and complete recalls, or fully inform
  11   NHTSA of the problem.
  12         544. Due to the highly technical nature of the defect with the ZF TRW
  13   ACUs installed in the Class Vehicles, Plaintiffs and class members were unable to
  14   independently discover the defect using reasonable diligence. Prior to the retention
  15   of counsel and without third-party experts, Plaintiffs and class members lack the
  16   necessary expertise to analyze the ZF TRW ACUS for signs of EOS or to even
  17   identify the Class Vehicles with ZF TRW ACUs.
  18         545. Accordingly:
  19                a.    Defendants’ fraudulent concealment tolls the statute of
  20                      limitations.
  21                b.    Defendants are estopped from relying on the statute of
  22                      limitations.
  23                c.    The statute of limitations is tolled by the discovery rule.
  24                       VI.    CLASS ACTION ALLEGATIONS
  25         546. The proposed Classes’ and Subclasses’ claims all derive directly from
  26   a single course of conduct by Defendants. Within each Claim for Relief asserted by
  27   the respective proposed Classes, the same legal standards govern. Additionally,
  28   many—and for some, all—states share the same legal standards and elements of

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   1   proof, facilitating the certification of multistate or nationwide classes for some or
   2   all claims. Accordingly, Plaintiffs bring this lawsuit as a class action on their own
   3   behalf, and on behalf of all other persons similarly situated, as members of the
   4   proposed Classes pursuant to Federal Rules of Civil Procedure 23(a), (b)(2), and/or
   5   (b)(3), and/or (c)(4). This action satisfies the numerosity, commonality, typicality,
   6   adequacy, predominance, and superiority requirements of those provisions.
   7   A.    The Class and Subclasses
   8         547. All Plaintiffs bring this action, and seek to certify and maintain it as a
   9   class action, under Federal Rules of Civil Procedure 23(a), (b)(2), and/or (b)(3),
  10   and/or c(4), on behalf of themselves, and a Class defined as follows: All persons in
  11   the United States who purchased or leased a Class Vehicle.19 This Class is referred
  12   to as the “Nationwide Class.”
  13         548. Plaintiffs also plead state subclasses within the Nationwide Class, each
  14   defined based on purchases or leases of the Class Vehicles within each state.
  15         549. The Hyundai-Kia Plaintiffs also bring this action, and seek to certify
  16   and maintain it as a class action, under Federal Rules of Civil Procedure 23(a),
  17   (b)(2), and/or (b)(3), and/or c(4), on behalf of themselves, and a nationwide
  18   consumer Subclass defined as follows: All persons in the United States who
  19   purchased or leased a Hyundai-Kia Class Vehicle.20 This Subclass is referred to as
  20   the Nationwide Hyundai-Kia Class. Similar subclasses exist on a statewide basis for
  21   all persons in the United States who purchased or leased a Hyundai-Kia Class
  22   19
          Excluded from the Nationwide Class are Defendants; their employees, officers,
  23   directors, legal representatives, heirs, and successors; wholly or partly owned
  24   subsidiaries or affiliates of Defendants. Also excluded from the Class and all
       Subclasses are Class Counsel and their employees; and the judicial officers, their
  25   immediate family members, and associated court staff assigned to this case.
       20
  26      Excluded from the Nationwide Hyundai-Kia Subclass are the ZF TRW, STMicro,
       and Hyundai-Kia Defendants; their employees, officers, directors, legal
  27   representatives, heirs, and successors; and wholly or partly owned subsidiaries or
  28   affiliates of these Defendants.

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   1   Vehicle in each state. Plaintiffs seek to represent those subclasses for the states of
   2   their purchases and/or leases.
   3         550. FCA Plaintiffs bring this action, and seek to certify and maintain it as a
   4   class action, under Federal Rules of Civil Procedure 23(a), (b)(2), and/or (b)(3),
   5   and/or c(4), on behalf of themselves, and a nationwide consumer Subclass defined
   6   as follows: All persons in the United States who purchased or leased a FCA Class
   7   Vehicle.21 This Subclass is referred to as the Nationwide FCA Class. Similar
   8   subclasses exist on a statewide basis for all persons in the United States who
   9   purchased or leased a FCA Class Vehicle in each state. Plaintiffs seek to represent
  10   those subclasses for the states of their purchases and/or leases.
  11         551. Toyota Plaintiffs bring this action, and seek to certify and maintain it
  12   as a class action, under Federal Rules of Civil Procedure 23(a), (b)(2), and/or (b)(3),
  13   and/or c(4), on behalf of themselves, and a nationwide consumer Subclass defined
  14   as follows: All persons in the United States who purchased or leased a Toyota Class
  15   Vehicle.22 This Subclass is referred to as the Nationwide Toyota Class. Similar
  16   subclasses exist on a statewide basis for all persons in the United States who
  17   purchased or leased a Toyota Class Vehicle in each state. Plaintiffs seek to
  18   represent those subclasses for the states of their purchases and/or leases.
  19         552. Honda Plaintiffs bring this action, and seek to certify and maintain it as
  20   a class action, under Federal Rules of Civil Procedure 23(a), (b)(2), and/or (b)(3),
  21   and/or c(4), on behalf of themselves, and a nationwide consumer Subclass defined
  22
  23   21
          Excluded from the Nationwide FCA Subclass are ZF TRW, STMicro, and FCA
  24   Defendants; their employees, officers, directors, legal representatives, heirs, and
       successors; and wholly or partly owned subsidiaries or affiliates of these
  25   Defendants.
       22
  26      Excluded from the Nationwide Toyota Subclass are the ZF TRW, STMicro, and
       Toyota Defendants; their employees, officers, directors, legal representatives, heirs,
  27   and successors; and wholly or partly owned subsidiaries or affiliates of these
  28   Defendants.

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   1   as follows: All persons in the United States who purchased or leased a Honda Class
   2   Vehicle.23 This Subclass is referred to as the Nationwide Honda Class. Similar
   3   subclasses exist on a statewide basis for all persons in the United States who
   4   purchased or leased a Honda Class Vehicle in each state. Plaintiffs seek to represent
   5   those subclasses for the states of their purchases and/or leases.
   6         553. Mitsubishi Plaintiffs bring this action, and seek to certify and maintain
   7   it as a class action, under Federal Rules of Civil Procedure 23(a), (b)(2), and/or
   8   (b)(3), and/or c(4), on behalf of themselves, and a nationwide consumer Subclass
   9   defined as follows: All persons in the United States who purchased or leased a
  10   Mitsubishi Class Vehicle.24 This Subclass is referred to as the Nationwide
  11   Mitsubishi Class. Similar subclasses exist on a statewide basis for all persons in the
  12   United States who purchased or leased a Mitsubishi Class Vehicle in each state.
  13   Plaintiffs seek to represent those subclasses for the states of their purchases and/or
  14   leases.
  15   B.    Numerosity
  16         554. This action satisfies the requirements of Federal Rule of Civil
  17   Procedure 23(a)(1). There are millions of Class Vehicles and class members
  18   nationwide. Individual joinder of all class and subclass members is impracticable.
  19         555. The Class and Subclasses are ascertainable because their members can
  20   be readily identified using information tying the defective ZF TRW ACUs to
  21   particular vehicle identification numbers, vehicle registration records, sales records,
  22
  23   23
          Excluded from the Nationwide Honda Subclass are the ZF TRW, ST Micro, and
  24   Honda Defendants; their employees, officers, directors, legal representatives, heirs,
       and successors; and wholly or partly owned subsidiaries or affiliates of these
  25   Defendants.
       24
  26      Excluded from the Nationwide Mitsubishi Subclass are the ZF TRW, ST Micro,
       and Mitsubishi Defendants; their employees, officers, directors, legal
  27   representatives, heirs, and successors; and wholly or partly owned subsidiaries or
  28   affiliates of these Defendants.

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   1   production records, and other information kept by the Vehicle Manufacturer
   2   Defendants or third parties in the usual course of business and within their control.
   3   Plaintiffs anticipate providing appropriate notice to the Class and Subclasses in
   4   compliance with Federal Rules of Civil Procedure 23(c)(1)(2)(A) and/or (B), to be
   5   approved by the Court after class certification, or pursuant to court order under
   6   Rule 23(d).
   7   C.    Predominance of Common Issues
   8         556. This action satisfies the requirements of Federal Rules of Civil
   9   Procedure 23(a)(2) and (b)(3), because questions of law and fact that have common
  10   answer and predominate over questions affecting only individual Class and
  11   Subclass members. These include, without limitation, the following:
  12                 a.   Whether the Class Vehicles were equipped with defective ACUs
  13                      that were vulnerable to EOS;
  14                 b.   Whether and when Defendants knew, or should have known,
  15                      that the ZF TRW ACUs installed in Class Vehicles were
  16                      defective;
  17                 c.   Whether Defendants had a duty to disclose the defective nature
  18                      of the ACUs in the Class Vehicles to Plaintiffs and class
  19                      members;
  20                 d.   Whether the defective nature of the Class Vehicles was contrary
  21                      to material representations made by Defendants;
  22                 e.   Whether Defendants omitted and failed to disclose material facts
  23                      about the Class Vehicles;
  24                 f.   Whether Vehicle Manufacturer Defendants’ certifications
  25                      concerning vehicle safety were misleading in light of the risk
  26                      that EOS can cause ZF TRW ACUs not to trigger airbags and
  27                      seatbelts during a collision;
  28

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   1               g.   Whether Vehicle Manufacturer Defendants’ descriptions of
   2                    safety features controlled by the defective ZF TRW ACUs in
   3                    advertising, on Monroney stickers, and in owner’s manuals were
   4                     misleading in light of the risk that EOS can cause ZF TRW
   5                     ACUs not to trigger airbags and seatbelts during a collision;
   6               h.    Whether Defendants’ statements, concealments, and omissions
   7                     regarding the Class Vehicles, were material, in that a reasonable
   8                     consumer could consider them important in purchasing, selling,
   9                     maintaining, or operating such vehicles;
  10               i.    Whether Defendants engaged in unfair, deceptive, unlawful
  11                     and/or fraudulent acts or practices, in trade or commerce, by
  12                     failing to disclose that the Class Vehicles were designed,
  13                     manufactured, and sold with defective airbag components;
  14               j.    Whether Defendants’ conduct, as alleged herein, was likely to
  15                     mislead a reasonable consumer;
  16               k.    Whether Defendants’ concealment of the true defective nature
  17                     of the Class Vehicles induced Plaintiffs and class members to
  18                     act to their detriment by purchasing the Class Vehicles;
  19               l.    Whether Defendants’ concealment of the true defective nature
  20                     of the Class Vehicles caused the market price of the Class
  21                     Vehicles to incorporate a premium reflecting the assumption by
  22                     consumers that the Class Vehicles were equipped with fully
  23                     functional Occupant Restraint Systems and, if so, the market
  24                     value of that premium;
  25               m.    Whether the Class Vehicles have suffered a diminution of value
  26                     as a result of those Vehicles’ incorporation of the defective
  27                     ACUs at issue;
  28

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   1                n.     Whether Defendants’ conduct tolls any or all applicable
   2                       limitations periods by acts of fraudulent concealment,
   3                       application of the discovery rule, or equitable estoppel;
   4                o.     Whether Defendants violated State consumer protection statutes,
   5                       and if so, what remedies are available under those statutes;
   6                p.     Whether the Class Vehicles were unfit for the ordinary purposes
   7                       for which they were used, in violation of the implied warranty of
   8                       merchantability;
   9                q.     Whether Defendants’ unlawful, unfair, and/or deceptive
  10                       practices harmed Plaintiffs and the Classes;
  11                r.     Whether Defendants have been unjustly enriched by their
  12                       conduct;
  13                s.     Whether Defendants conspired with others to violate RICO; and
  14                t.     Whether Defendants associated with any enterprise engaged in,
  15                       or the activities of which affect, interstate or foreign commerce,
  16                       to conduct or participate, directly or indirectly, in the conduct of
  17                       such enterprise’s affairs through a pattern of racketeering
  18                       activity.
  19   D.    Typicality
  20         557. This action satisfies the requirements of Federal Rule of Civil
  21   Procedure 23(a)(3), because Plaintiffs’ claims are typical of the claims of the class
  22   members, and arise from the same course of conduct by Defendants. The relief
  23   Plaintiffs seek is typical of the relief sought for the absent class members.
  24   E.    Adequacy of Representation
  25         558. Plaintiffs will fairly and adequately represent and protect the interests
  26   of the Classes. Plaintiffs have retained counsel with substantial experience in
  27   prosecuting consumer class actions, including actions involving defective products.
  28

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   1         559. Plaintiffs and their counsel are committed to vigorously prosecuting
   2   this action on behalf of the Classes, and have the financial resources to do so.
   3   Neither Plaintiffs nor their counsel have interests adverse to those of the Classes.
   4   F.    Superiority
   5         560. This action satisfies the requirements of Federal Rule of Civil
   6   Procedure 23(b)(2), because Defendants have acted and refused to act on grounds
   7   generally applicable to each Class, thereby making appropriate final relief with
   8   respect to each Class as a whole.
   9         561. This action satisfies the requirements of Federal Rule of Civil
  10   Procedure 23(b)(3), because a class action is superior to other available methods for
  11   the fair and efficient adjudication of this controversy.
  12         562. Because the damages suffered by each individual class member may
  13   be relatively small, the expense and burden of individual litigation would make it
  14   very difficult or impossible for individual class members to redress the wrongs
  15   done to each of them individually, such that most or all class members would have
  16   no rational economic interest in individually controlling the prosecution of specific
  17   actions; and the burden imposed on the judicial system by individual litigation—by
  18   even a small fraction of the Class—would be enormous, making class adjudication
  19   the superior alternative under Federal Rule of Civil Procedure 23(b)(3)(A).
  20         563. The conduct of this action as a class action instead of as millions of
  21   individual lawsuits presents far fewer management difficulties; far better conserves
  22   judicial resources, and the parties’ resources; and far more effectively protects the
  23   rights of each class member than would piecemeal litigation. Compared to the
  24   expense, burdens, inconsistencies, economic infeasibility, and inefficiencies of
  25   individualized litigation, the challenges of managing this action as a class action are
  26   substantially outweighed by the benefits to the legitimate interests of the parties, the
  27   court, and the public of class treatment in this court, making class adjudication
  28   superior to other alternatives, under Federal Rule of Civil Procedure 23(b)(3)(D).

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   1         564. Plaintiffs are not aware of any obstacles likely to be encountered in the
   2   management of this action that would preclude its maintenance as a class action.
   3   Federal Rule of Civil Procedure 23 provides the Court with the authority and
   4   flexibility to maximize the efficiencies and benefits of the class mechanism, and
   5   reduce management challenges. The Court may, on motion of Plaintiffs, or on its
   6   own determination, certify nationwide, statewide and/or multistate classes for
   7   claims sharing common legal questions; utilize the provisions of Rule 23(c)(4) to
   8   certify any particular claims, issues, or common questions of fact or law, for class-
   9   wide adjudication; certify and adjudicate bellwether class claims; and utilize Rule
  10   23(c)(5) to divide any Class into subclasses.
  11         565. The Classes expressly disclaim any recovery in this action for physical
  12   injury resulting from the defective ZF TRW ACUs without waiving or dismissing
  13   such claims. Plaintiffs are informed and believe that injuries suffered in crashes as a
  14   result of defective ZF TRW ACUs implicate the Class Vehicles; constitute evidence
  15   supporting various claims, including potential diminution of value; and are
  16   continuing to occur because of Defendants’ delays and inaction regarding the
  17   commencement and completion of recalls. The increased risk of injury from the
  18   ASIC Defect serves as an independent justification for the relief sought by
  19   Plaintiffs and the Class and Subclasses.
  20                             VII. CLAIMS FOR RELIEF
  21   A.    Nationwide Claims
  22         i.     Nationwide Count 1: Violation of the Racketeer Influenced and
  23                Corrupt Organizations Act, 18 U.S.C. § 1962(c)-(d), on Behalf of
                    the Nationwide Class Against the ZF TRW and STMicro
  24                Defendants
  25         566. Plaintiffs bring this claim on behalf of the Nationwide Class against

  26   ZF TRW and STMicro.

  27         567. ZF TRW and STMicro are “persons” under 18 U.S.C. § 1961(3)

  28   because each was capable of holding “a legal or beneficial interest in property.”

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   1         568. ZF TRW and STMicro violated 18 U.S.C. § 1962(c) by participating
   2   in or conducting the affairs of an “association-in-fact enterprise” through a pattern
   3   of racketeering activity. This enterprise is referred to as the ACU Enterprise.
   4         569. The purpose of the ACU Enterprise was to mislead consumers and
   5   NHTSA concerning the existence, nature, and scope of the defect with ZF TRW
   6   ACUs installed in the Class Vehicles. By concealing and minimizing the defect, ZF
   7   TRW and STMicro maximized their revenue by selling as many defective ZF TRW
   8   ACUs (the only ACUs on the market that contained STMicro’s DS84 ASIC) to
   9   Vehicle Manufacturer Defendants as possible and avoiding or limiting the
  10   substantial costs and reputational harms associated with breaching warranties to the
  11   Vehicle Manufacturer Defendants and having to assist with recalling the Class
  12   Vehicles. In so doing, ZF TRW and STMicro obtained money directly or indirectly
  13   from sale of the defective ZF TRW ACUs to the Vehicle Manufacturer Defendants
  14   (and the Class Vehicles to Plaintiffs and Class Members).
  15         570. As the owners and users of the Class Vehicles, Plaintiffs and the
  16   Nationwide Class are the parties most affected by the dangerous and defective ZF
  17   TRW ACUs. ZF TRW and STMicro knew that Plaintiffs and the Nationwide Class
  18   would be the parties who overpaid for the Class Vehicles as the result of their
  19   concealing the ACU Defect, and who suffered the attendant harms and safety risks
  20   of driving vehicles without properly functioning ACUs.
  21         571. At all relevant times, ZF TRW and STMicro agreed to conduct and
  22   participate, directly and indirectly, in the affairs of the ACU Enterprise through a
  23   pattern of racketeering activity. For the conspiracy to succeed, ZF TRW and
  24   STMicro had to commit to secrecy about the existence and scope of the defect with
  25   the ZF TRW ACUs contained in Class Vehicles. When forced to acknowledge
  26   serious problems with the ACUs (including in fatal crashes with airbag failures),
  27   ZF TRW and/or STMicro also agreed to obscure and minimize the defect by
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   1   misleadingly blaming other parts, such as wiring in the front-end of the vehicle. In
   2   reality, they knew the defective ZF TRW ACUs were uniquely vulnerable to EOS.
   3         572. ZF TRW and STMicro each existed separately from one another at all
   4   relevant times. They each had distinct legal statuses, different offices and roles,
   5   bank accounts, officers, directors, employees, individual personhood, reporting
   6   requirements, and financial statements.
   7         573. ZF TRW and STMicro also each existed separately from the ACU
   8   Enterprise.
   9                 a.    STMicro made many other products aside from the DS84 ASICs
  10                       used in the defective ZF TRW ACUs.
  11                 b.    ZF TRW similarly made many other automotive parts aside
  12                       from the defective ZF TRW ACUs.
  13         574. ZF TRW participated in the conduct of the ACU Enterprise by:
  14                 a.    Collaborating with STMicro to design the defective ACUs in
  15                       Class Vehicles;
  16                 b.    Manufacturing, and supplying the defective ACUs;
  17                 c.    Communicating with STMicro regarding specific field incidents
  18                       where ACUs in Class Vehicles had failed due to EOS;
  19                 d.    Concealing that the Class Vehicles were equipped with
  20                       defective ZF TRW ACUs that were vulnerable to EOS;
  21                 e.
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  23                 f.    Continuing to manufacture defective ACUs for unrecalled Class
  24                       Vehicles; and
  25                 g.    Collecting revenue flowing from the sale of defective ZF TRW
  26                       ACUs.
  27         575. STMicro participated in the ACU Enterprise by:
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   1                a.      Designing and manufacturing the DS84 ASIC included in the
   2                        Defective ACUs;
   3                b.      Testing the ACUs in the Class Vehicles and consulting with ZF
   4                        TRW concerning observed evidence of EOS in Class Vehicles;
   5                c.      Concealing that the Class Vehicles were equipped with
   6                        defective ZF TRW ACUs that were vulnerable to EOS;
   7                d.      Concealing information about the existence, nature, and scope
   8                        of the defect from NHTSA and the public; and
   9                e.      Collecting revenue flowing from the sale of the DS84 ASIC.
  10         576. Without ZF TRW and STMicro’s willing participation in the conduct
  11   above, the ACU Enterprise’s scheme and common course of conduct would have
  12   been unsuccessful.
  13         577. To carry out, or attempt to carry out the scheme to defraud, ZF TRW
  14   and STMicro—each of whom is a person associated-in-fact with the Enterprise—
  15   did knowingly conduct or participate, directly or indirectly, in the affairs of the
  16   ACU Enterprise through a pattern of racketeering activity within the meaning of 18
  17   U.S.C. §§ 1961(1), 1961(5) and 1962(c), and which employed the use of the mail
  18   and wire facilities, in violation of 18 U.S.C. § 1341 (mail fraud) and § 1343 (wire
  19   fraud).
  20         578. The ACU Enterprise used, directed the use of, and/or caused to be
  21   used, thousands of interstate mail and wire communications in service of their
  22   scheme to conceal the ACU defect.
  23         579. In devising and executing the illegal scheme, ZF TRW and STMicro
  24   devised and knowingly carried out a material scheme and/or artifice to defraud or
  25   obtain money from the Plaintiffs and the Nationwide Class by means of materially
  26   false or fraudulent pretenses, representations, or omissions of material facts.
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   1         580. Examples of the ACU Enterprise’s multiple predicate acts of mail and
   2   wire fraud are summarized in the below subparagraphs.25
   3               a.     While using mail and wire to defraud and obtain revenue under
   4                      false pretenses, ZF TRW and STMicro failed to timely,
   5                      accurately, and completely disclose the vulnerability of the
   6                      defective ACUs to ASIC EOS to NHTSA and consumers when
   7                      ZF TRW and STMicro had a duty to disclose this information.26
   8               b.     Upon information and belief, since around 2008 and throughout
   9                      the course of its sale of defective ACUs with the DS84 ASIC,
  10                      ZF TRW used mail and wire to successfully execute the ACU
  11                      Enterprise’s fraudulent scheme, including sending invoices to
  12                      the Vehicle Manufacturers, corresponding with STMicro, and
  13                      shipping the defective ACUs.
  14               c.     Upon information and belief, since around 2008 and throughout
  15                      the course of its sale of DS84 ASIC, STMicro used mail and
  16                      wire to successfully execute ACU Enterprise’s fraudulent
  17                      scheme, including sending invoices to the Vehicle
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       25
  20      Many of the precise dates and examples of the fraudulent uses of the U.S. mail
       and interstate wire facilities have been deliberately hidden by Defendants, and
  21   cannot be alleged without access to Defendants’ books and records. However,
  22   Plaintiffs have described the types of, and in some instances, occasions on which
       the predicate acts of mail and/or wire fraud occurred.
  23   26
          As explained above, suppliers of component parts have a duty to report defects in
  24   their equipment to NHTSA. See 49 C.F.R. §573.6(a). The 573 defect reports are
       typically published on NHTSA’s public docket. ZF TRW and STMicro also had a
  25   duty to disclose in light of their knowledge that the Vehicle Manufacturer
  26   Defendants presented the Class Vehicles to consumers as vehicles with working
       airbags and seatbelts in advertising, certification labels, and owner’s manuals, in
  27   contrast to their exclusive knowledge of the ACU Defect, which was not available
  28   to consumers.

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   1                     Manufacturers, corresponding with STMicro, and shipping the
   2                    defective ACUs.
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  25         581. ZF TRW and STMicro knew and intended that govermnent regulators
  26   would rely on their material omissions made about the Class Vehicles to approve
  27   them for importation, marketing, and sale to consumers in the United States. ZF
  28   TRW and STMicro understood that disclosing the defect would require a recall of

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   1   all the Class Vehicles to be conducted and design change to be implemented, and
   2   negatively impact the profits of the ACU Enterprise.
   3         582. ZF TRW and STMicro knew and intended that consumers would
   4   purchase the Class Vehicles and incur costs as a result. Plaintiffs' reliance on this
   5   ongoing concealment is demonstrated by the fact that they paid money for defective
   6   Class Vehicles that never should have been introduced into the U.S. stream of
   7   commerce, and that they overpaid for vehicles with defective safety systems.
   8         583. As described herein, ZF TRW and STMicro engaged in a pattern of
   9   related and continuous predicate acts for years. The predicate acts constituted a
  10   variety of unlawful activities, each conducted with the common purpose of
  11   obtaining money from Plaintiffs and Class members. The predicate acts also had the
  12   same or similar results, participants, victims, and nlethods of commission. The
  13   predicate acts were related and not isolated events.
  14         584. The predicate acts had the common purpose of generating significant
  15   revenue and profits for ZF TRW and STMicro from the sale and lease of the Class
  16   Vehicles, while minimizing or avoiding costs of necessary repairs, at the expense of
  17   Plaintiffs and Class members.
  18         585. ZF TRW and STMicro knew for years that the defective ZF TRW
  19   ACUs in the Class Vehicles were vulnerable to EOS, but continued to manufacture,
  20   sell/lease, and accept payment from Plaintiffs for them anyway, as demonstrated
  21   by:
  22                a.
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  24                b.
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   1               c.    Multiple tests and analyses of field incidents and crash tests
   2                    where ZF TRW (on information and belief, working with ST
   3                     Micro) concluded that EOS occurred in Hyundai and Kia Class
   4                    Vehicles. For example, ZF TRW reported observations
   5                    consistent with EOS to Hyundai and Kia following: a Kia Forte
   6                    crash in China in 2011; a MY 2010 Kia Forte Koup crash in
   7                    Tallahassee, Florida in March 2011; a MY 2011 Hyundai Sonata
   8                    crash in or about February 2012; a Kia Forte crash in Egypt in or
   9                    about March 2012;
  10                    .     ; a fatal MY 2012 Kia Forte crash in N orthem California in
  11                     July 2013 ; a MY 2011 Hyundai Sonata crash in or about May
  12                     2015; a MY 201 lHyundai Sonata crash in or about April 2016;
  13                     two MY 2011 Hyundai Sonata crashes between July and
  14                    November 2016; a fatal MY 2013 Kia Forte Koup crash in
  15                    Canada in March 2017; and a Hyundai Sonata crash in or about
  16                    August 2017;
  17               d.   The decision in or about July and August 2012 by ZF TRW,
  18                     STMicro, Hyundai, and Kia to test and add protective
  19                    components to some, but not all, of the Hyundai and Kia Class
  20                    Vehicles with ZF TRW ACUs containing the DS84 ASIC;
  21               e.    ZF TRW's May 30, 2013 communication to FCA regarding a
  22                    potential warranty issue relating to EOS in ZF TRW ACUs;
  23               f.
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  26               g.    Multiple tests and analyses of field incidents and crash tests in
  27                     2015 and 2016 where FCA, ZF TRW, and STMicro concluded
  28                     that EOS was occurring in FCA Class Vehicles.

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   1         586. Plaintiffs and Nationwide Class members are “person[s] injured in his
   2   or her business or property” by reason of ZF TRW and STMicro’s violation of
   3   RICO within the meaning of U.S.C. § 1964(c). Because of ZF TRW and STMicro’s
   4   pattern of racketeering activity, Plaintiffs and Class members have been injured in
   5   their business and/or property in multiple ways, including but not limited to:
   6                   a.   The purchase or lease of defective Class Vehicles;
   7                   b.   Overpayment at the time of purchase or lease for Class Vehicles
   8                        with an undisclosed safety defect; and
   9                   c.   Other, ongoing out-of-pocket and loss-of-use expenses.
  10         587. Plaintiffs and Class members are entitled to bring this action for three
  11   times their actual damages, as well as injunctive/equitable relief, costs, and
  12   reasonable attorneys’ fees pursuant to 18 U.S.C. § 1964(c).
  13         ii.       Nationwide Count 2: Violation of the Racketeer Influenced and
  14                   Corrupt Organizations Act, 18 U.S.C. § 1962(c)-(d), on Behalf of
                       the Hyundai-Kia Subclass Against the ZF TRW, STMicro, and
  15                   Hyundai-Kia Defendants
  16         588. Hyundai-Kia Plaintiffs bring this claim on behalf of the Nationwide

  17   Hyundai-Kia Class against ZF TRW, STMicro, and the Hyundai-Kia Defendants.

  18         589. ZF TRW, STMicro, Hyundai, and Kia are all “persons” under 18

  19   U.S.C. § 1961(3) because each was capable of holding “a legal or beneficial interest

  20   in property.”

  21         590. ZF TRW, STMicro, Hyundai, and Kia violated 18 U.S.C. § 1962(c) by

  22   participating in or conducting the affairs of an “association-in-fact enterprise”

  23   through a pattern of racketeering activity. This enterprise is referred to as the

  24   Hyundai-Kia Enterprise.

  25         591. The purpose of the Hyundai-Kia Enterprise was to mislead consumers

  26   and NHTSA concerning the existence and scope of the defect with ZF TRW ACUs

  27   installed in the Hyundai and Kia Class Vehicles. By concealing and minimizing the

  28   defect, ZF TRW, STMicro, Hyundai, and Kia maximized their revenue by selling

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   1   as many Hyundai and Kia vehicles with defective ZF TRW ACUs as possible and
   2   avoiding or limiting the substantial costs associated with recalling the Hyundai and
   3   Kia Class Vehicles and remedying the defective ZF TRW ACUs. In so doing, ZF
   4   TRW, STMicro, Hyundai and/or Kia, obtained money directly or indirectly from
   5   sales or leases to Plaintiffs and the Nationwide Hyundai-Kia Class by means of
   6   materially false or fraudulent misrepresentations and omissions of material facts.
   7         592. At all relevant times, ZF TRW, STMicro, Hyundai, and Kia agreed to
   8   conduct and participate, directly and indirectly, in the affairs of the Hyundai-Kia
   9   Enterprise through a pattern of racketeering activity. For the conspiracy to succeed,
  10   Hyundai, Kia, ZF TRW, and STMicro had to commit to secrecy about the existence
  11   and scope of the defect with the ZF TRW ACUs contained in Hyundai and Kia
  12   Class Vehicles.
  13         593. ZF TRW, STMicro, Hyundai, and Kia each existed separately from
  14   each other at all relevant times. They each had distinct legal statuses, different
  15   offices and roles, bank accounts, officers, directors, employees, individual
  16   personhood, reporting requirements, and financial statements.
  17         594. ZF TRW, STMicro, Hyundai, and Kia also each existed separately
  18   from the Hyundai-Kia Enterprise.
  19                a.     Hyundai and Kia manufactured and sold many vehicles that did
  20                       not contain defective ZF TRW ACUs.
  21                b.     The STMicro Defendants also made many other products aside
  22                       from the DS84 ASICs used in the defective ZF TRW ACUs.
  23                c.     The ZF TRW Defendants similarly made many other
  24                       automotive parts aside from the defective ZF TRW ACUs.
  25         595. Hyundai and Kia participated in the Hyundai-Kia Enterprise by:
  26                a.     Ordering and purchasing the defective ZF TRW ACUs and
  27                       providing ZF TRW with payment for the same;
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   1               b.    Through Hyundai MOBIS, manufacturing the ACU for some of
   2                     the Hyundai and Kia Class Vehicles using ZF TRW designs and
   3                     ST Micro’s DS84 ASIC;
   4               c.    Installing the defective ZF TRW ACUs in Hyundai and Kia
   5                     Class Vehicles;
   6               d.    Affixing misleading certification labels assuring compliance
   7                     with safety requirements to the Hyundai and Kia Class Vehicles
   8                     and shipping the Hyundai and Kia Class Vehicles to dealerships
   9                     throughout the United States;
  10               e.    Participating in the creation of Monroney labels that stated the
  11                     Hyundai and Kia Class Vehicles were equipped with Occupant
  12                     Restraint Systems but did not disclose the related defect in the
  13                     ACU;
  14               f.    Participating in the creation of misleading advertising for the
  15                     Hyundai and Kia Class Vehicles that stressed the safety of
  16                     Hyundai and Kia Class Vehicles and omitted material facts;
  17               g.    Concealing incidents of observed EOS in certain Hyundai and
  18                     Kia Class Vehicles involved in suspicious accidents;28
  19               h.    Concealing that the Recalled Hyundai and Kia Class Vehicles
  20                     were equipped with defective ZF TRW ACUs that were
  21   28
         This included through Hyundai and Kia’s repeated conclusions of “commanded”
  22   non-deployment instead of a non-deployment of the ACU due to EOS, where EOS
       had been observed following an accident. For example, on March 8, 2018, ZF TRW
  23   reported to NHTSA that at that time it was aware of twelve separate crashes
  24   involving Hyundai and Kia Class Vehicles where the airbags failed to deploy and
       EOS was suspected or confirmed. ZF TRW further reported that Hyundai and Kia
  25   communicated to ZF TRW that seven out of the twelve airbag non-deployments
  26   were the result of “commanded non deployment,” while the other five incidents
       were “under investigation.” In each of these instances, the Hyundai-Kia Defendants
  27   concealed observed EOS in favor of their own, unsupported conclusions to
  28   contrary.

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   1                     vulnerable to EOS due to insufficient levels of circuit protection
   2                     until initiating the partial recalls in February, April, and June
   3                     2018;
   4               i.    Concealing and continuing to conceal that the extension wire
   5                     harness kits installed in the recalled Hyundai and Kia Class
   6                     Vehicles are defective in that they do not remedy the defective
   7                     ACU and DS84 ASIC;
   8               j.    Concealing and continuing to conceal that the unrecalled
   9                     Hyundai and Kia Class Vehicles contain defective ZF TRW
  10                     ACUs that provide insufficient circuit protection, rendering the
  11                     ACUS in the vehicles susceptible to EOS;
  12               k.    Misleading consumers and NHTSA regarding the adequacy of
  13                     the February, April, and June 2018 recalls by submitting Part
  14                     573 Reports that ignored or downplayed the risks of the
  15                     defective ZF TRW ACUs installed in unrecalled Hyundai and
  16                     Kia Class Vehicles;
  17               l.    Persisting in installing defective ZF TRW ACUs in new
  18                     Hyundai and Kia Class Vehicles even after announcing a partial
  19                     recall of some of the Hyundai and Kia Class Vehicles based on
  20                     observed field incidents where the ACUs failed due to EOS; and
  21               m.    Collecting revenue from the sale and lease of the Hyundai and
  22                     Kia Class Vehicles.
  23         596. ZF TRW participated in the conduct of the Hyundai-Kia Enterprise by:
  24               a.    Collaborating with Hyundai and Kia to develop specifications
  25                     for the defective ACUs in Hyundai and Kia Class Vehicles;
  26               b.    Designing, manufacturing, and supplying the defective ACUs;
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   1               c.    Providing the design for Hyundai MOBIS to manufacture ACUs
   2                     consistent with ZF TRW designs for some of the Hyundai and
   3                     Kia Class Vehicles;
   4               d.    Communicating with Hyundai and Kia regarding specific field
   5                     incidents where ACUs in Hyundai and Kia Class Vehicles had
   6                     failed due to EOS;
   7               e.    Concealing that the Hyundai and Kia Class Vehicles were
   8                     equipped with defective ZF TRW ACUs that were vulnerable to
   9                     EOS due to inadequate circuit protection;
  10               f.    Continuing to manufacture defective ACUs for unrecalled
  11                     Hyundai and Kia Class Vehicles; and
  12               g.    Collecting revenue flowing from the sale of defective ZF TRW
  13                     ACUs.
  14         597. STMicro participated in the Hyundai-Kia Enterprise by:
  15               a.    Designing and manufacturing the DS84 ASIC included in the
  16                     Defective ACUs;
  17               b.    Testing for and consulting with ZF TRW concerning observed
  18                     evidence of EOS in Hyundai and Kia Class Vehicles;
  19               c.    Concealing that the Hyundai and Kia Class Vehicles were
  20                     equipped with defective ZF TRW ACUs that were vulnerable to
  21                     EOS due to inadequate circuit protection;
  22               d.    Concealing information about the existence and prevalence of
  23                     the defect from NHTSA and the public; and
  24               e.    Collecting revenue flowing from the sale of the DS84 ASIC.
  25         598. Without Hyundai, Kia, ZF TRW and STMicro’s willing participation
  26   in the conduct above, the Hyundai-Kia Enterprise’s scheme and common course of
  27   conduct would have been unsuccessful.
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   1         599. To carry out, or attempt to carry out the scheme to defraud, Hyundai,
   2   Kia, ZF TRW, and STMicro—each of whom is a person associated-in-fact with the
   3   Hyundai-Kia Enterprise—did knowingly conduct or participate, directly or
   4   indirectly, in the affairs of the Hyundai-Kia Enterprise through a pattern of
   5   racketeering activity within the meaning of 18 U.S.C. §§ 1961(1), 1961(5) and
   6   1962(c), and which employed the use of the mail and wire facilities, in violation of
   7   18 U.S.C. § 1341 (mail fraud) and § 1343 (wire fraud).
   8         600. The Hyundai-Kia Enterprise used, directed the use of, and/or caused to
   9   be used, thousands of interstate mail and wire communications in service of their
  10   scheme through virtually uniform misrepresentations, concealments and material
  11   omissions regarding the Hyundai and Kia Class Vehicles.
  12         601. In devising and executing the illegal scheme, Hyundai, Kia, ZF TRW,
  13   and STMicro devised and knowingly carried out a material scheme and/or artifice
  14   to defraud or obtain money from the Hyundai-Kia Plaintiffs and the Nationwide
  15   Hyundai-Kia Class by means of materially false or fraudulent pretenses,
  16   representations, promises, or omissions of material facts.
  17         602. Examples of the Hyundai-Kia Enterprise’s multiple predicate acts of
  18   mail and wire fraud are summarized in the below subparagraphs.29
  19                a.    Hyundai and Kia violated the mail fraud act by affixing false
  20                      and/or misleading safety certifications relating to Occupant
  21                      Restraint Systems in each Hyundai and Kia Class Vehicle and
  22                      shipping them to dealers through interstate carriers. Hyundai and
  23
       29
  24     Many of the precise dates and examples of the fraudulent uses of the U.S. mail
       and interstate wire facilities have been deliberately hidden by Defendants, and
  25   cannot be alleged without access to Defendants’ books and records. However,
  26   Plaintiffs have described the types of, and in some instances, occasions on which
       the predicate acts of mail and/or wire fraud occurred. These include thousands of
  27   communications to perpetuate and maintain the scheme, including the things and
  28   documents described in the preceding paragraphs.

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   1                    Kia also violated the mail and/or wire fraud acts by using mail
   2                    and/or wire in connection with the creation of Monroney
   3                    stickers and owners’ manuals for Hyundai and Kia Class
   4                    Vehicles that contained false and/or misleading statements and
   5                    assurances regarding the vehicles’ Occupant Restraint System.
   6                    Examples of such statements are collected in Exhibit 1 and in
   7                    Exhibits 4-5. Because Hyundai and Kia took no steps to warn
   8                    consumers of a defect in some Hyundai and Kia Class Vehicles
   9                    until February, April, and June 2018 at the very earliest, and
  10                    limited their warnings to recalled Hyundai and Kia Class
  11                    Vehicles, the Hyundai and Kia Class Vehicles were sold to
  12                    Hyundai-Kia Plaintiffs and the Hyundai-Kia Nationwide Class
  13                    under false and/or misleading pretenses insofar as the
  14                    certification label, Monroney stickers, and owner’s manuals
  15                    suggested that the Hyundai and Kia Class Vehicles had working
  16                    Occupant Restraint Systems with no known defects. ZF TRW
  17                    and STMicro were aware of Hyundai and Kia’s standard
  18                    practice of selling Hyundai and Kia Class Vehicles under these
  19                    false or misleading pretenses, but conspired with Hyundai and
  20                    Kia to conceal the existence and scope of the defect in the ZF
  21                    TRW ACUs installed in Hyundai and Kia Class Vehicles.
  22               b.   Hyundai and Kia also violated the mail and wire acts by falsely
  23                    advertising the safety of Hyundai and Kia Class Vehicles
  24                    through broadcast media, through social media, on its website,
  25                    and in printed materials. Examples of such advertising are
  26                    collected in Exhibits 6 and 7. Hyundai and Kia’s advertising
  27                    uniformly omitted any description of the defect that made ZF
  28                    TRW ACUs vulnerable to EOS or the risk that the Occupant

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   1                    Restraint System could fail in Hyundai and Kia Class Vehicles
   2                    at the worst possible time. ZF TRW and STMicro were aware of
   3                    Hyundai and Kia's advertising, and conspired with Hyundai and
   4                     Kia to conceal the existence and scope of the defect in the ZF
   5                    TRW' s ACUs installed in Hyundai and Kia Class Vehicles.
   6               c.   Hyundai and Kia violated the 1nail and wire fraud acts by using
   7                    interstate mail and wire to submit paper and electronic versions
   8                    of Part 573 Safety Recall Reports false stating that the
   9                    umecalled Hyundai and Kia Class Vehicles were not defective.
  10                    On April 18, 2018, Hyundai Motor America stated in a Part 573
  11                     Safety Recall Report that the ACU Defect was corrected in
  12                    umecalled Hyundai Class ·vehicles because those vehicles
  13                    included "redesigned ACUs." Similarly, Kia Motors America,
  14                    Inc. stated in a June 1, 2018 Part 573 Safety Recall Report that
  15                     the ACUs in the umecalled Kia Class Vehicles "have adequate
  16                    circuit protection." These statements were misleading because
  17                     the umecalled Hyundai and Kia Class Vehicles have the same
  18                    defect (insufficient levels of circuit protection and the use of a
  19                    DS84 ASIC vulnerable to overstress) as the recalled Hyundai
  20                    and Kia Class Vehicles.
  21               d.   Kia also violated the mail and wire fraud acts by using interstate
  22                    mail and/or wire to communicate to NHTSA on or about March
  23                     1, 2018 that the observed instances ofEOS in the Hyundai
  24                     Sonata were "very different" than what Kia saw in Kia Forte
  25                    vehicles, despite its knowledge of multiple instances of EOS in
  26                    the same ZF ACUs in the Kia Class Vehicles.
  27               e.
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  15         603. ZF TRW, STMicro, Hyundai, and Kia knew and intended that
  16   government regulators would rely on their 1naterial omissions made about the
  17   Hyundai and Kia Class Vehicles to approve them for importation, marketing,
  18   and/or sale in the United States. ZF TRW, STMicro, Hyundai, and Kia understood
  19   that disclosing the defect would require a recall of all the Hyundai and Kia Class
  20   Vehicles to be conducted and design change to be implemented, and negatively
  21   impact the profits of the Hyundai-Kia Enterprise.
  22         604. ZF TRW, STMicro, Hyundai, and Kia knew and intended that
  23   consumers would purchase the Hyundai and Kia Class Vehicles and incur costs as a
  24   result. Plaintiffs' reliance on this ongoing concealment is demonstrated by the fact
  25   that they paid money for defective Hyundai and Kia Class Vehicles that never
  26   should have been introduced into the U.S. stream of commerce, and that they
  27   overpaid for vehicles with defective safety systems.
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   1         605. As described herein, ZF TRW, STMicro, Hyundai, and Kia engaged in
   2   a pattern of related and continuous predicate acts for years. The predicate acts
   3   constituted a variety of unlawful activities, each conducted with the common
   4   purpose of obtaining money from Hyundai-Kia Plaintiffs and Hyundai and Kia
   5   Class members. The predicate acts also had the same or similar results, participants,
   6   victims, and methods of commission. The predicate acts were related and not
   7   isolated events.
   8         606. The predicate acts had the common purpose of generating significant
   9   revenue and profits for ZF TRW, STMicro, Hyundai, and Kia from the sale and
  10   lease of the Hyundai and Kia Class Vehicles, while minimizing or avoiding costs of
  11   necessary repairs, at the expense of Hyundai-Kia Plaintiffs and Hyundai and Kia
  12   Class members.
  13         607. Hyundai, Kia, ZF TRW, and STMicro knew for years that the
  14   defective ZF TRW ACUs in the Hyundai and Kia Class Vehicles were vulnerable
  15   to EOS, but continued to manufacture, sell/lease, and accept payment fr01n
  16   Plaintiffs for them anyway, as demonstrated by:
  17                a.
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  20                b.    Multiple tests and analyses of field incidents and crash tests
  21                      where ZF TRW (on information and belief, working with ST
  22                      Micro) concluded that EOS occurred in Hyundai and Kia Class
  23                      Vehicles. For example, ZF TRW reported observations
  24                      consistent with EOS to Hyundai and Kia following: a Kia Forte
  25                      crash in China in 2011; a MY 2010 Kia Forte Koup crash in
  26                      Tallahassee, Florida in March 2011; a MY 2011 Hyundai Sonata
  27                      crash in or about February 2012; a Kia Forte crash in Egypt in or
  28                      about March 2012;

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   1                      -        a fatal MY 2012 Kia Forte crash in N orthem California in
   2                      July 2013 ; a MY 2011 Hyundai Sonata crash in or about May
   3                      2015; a MY 201 lHyundai Sonata crash in or about April 2016;
   4                      two MY 2011 Hyundai Sonata crashes between July and
   5                      November 2016; a fatal MY 2013 Kia Forte Koup crash in
   6                      Canada in March 2017; and a Hyundai Sonata crash in or about
   7                      August 2017;
   8                c.    ZF TRW' s May 17, 2012 communication with Hyundai and
   9                      Kia, regarding the ongoing investigation of field events with
  10                      EOS·
                               '
  11                d.
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  15                e.    Dozens of publicly available complaints to NHTSA from
  16                      consumers reporting that airbags and/or seatbelts had failed in
  17                      Hyundai and Kia Class Vehicles, along with Hyundai' s
  18                      acknowledgement that it began monitoring for such reports at
  19                      least as early as May 2015.
  20         608 . Hyundai-Kia Plaintiffs and Nationwide Hyundai-Kia Class members
  21   are "person[s] injured in his or her business or property" by reason of ZF TRW,
  22   STMicro, Hyundai, and Kia Defendants' violation of RICO within the meaning of
  23   U.S.C. § 1964(c). Because of ZF TRW, STMicro, Hyundai, and Kia's pattern of
  24   racketeering activity, Plaintiffs and Class members have been injured in their
  25   business and/or property in multiple ways, including but not limited to:
  26                a.    Purchase or lease of defective Hyundai and Kia Class Vehicles;
  27               b.     Overpayment at the time of purchase or lease for Hyundai and
  28                      Kia Class Vehicles with an undisclosed safety defect; and

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   1                 c.    Other, ongoing out-of-pocket and loss-of-use expenses.
   2         609. Hyundai-Kia Plaintiffs and Class members are entitled to bring this
   3   action for three times their actual damages, as well as injunctive/equitable relief,
   4   costs, and reasonable attorneys’ fees pursuant to 18 U.S.C. § 1964(c).
   5         iii.    Nationwide Count 3: Violation of the Racketeer Influenced and
   6                 Corrupt Organizations Act, 18 U.S.C. § 1962(c)-(d), on Behalf of
                     the FCA Subclass Against the ZF TRW, STMicro, and FCA
   7                 Defendants
   8         610. FCA Plaintiffs bring this claim on behalf of the Nationwide FCA Class

   9   against ZF TRW, STMicro, and FCA.

  10         611. ZF TRW, STMicro, and FCA are all “persons” under 18 U.S.C.

  11   § 1961(3) because each was capable of holding “a legal or beneficial interest in

  12   property.”

  13         612. ZF TRW, STMicro, and FCA violated 18 U.S.C. § 1962(c) by

  14   participating in or conducting the affairs of an “association-in-fact enterprise”

  15   through a pattern of racketeering activity. This enterprise is referred to as the FCA

  16   Enterprise.

  17         613. The purpose of the FCA Enterprise was to mislead consumers and

  18   NHTSA concerning the existence and scope of the defect with ZF TRW ACUs

  19   installed in the FCA Class Vehicles. By concealing and minimizing the defect, ZF

  20   TRW, STMicro, and FCA maximized their revenue by selling as many FCA

  21   vehicles with defective ZF TRW ACUs as possible and avoiding or limiting the

  22   substantial costs associated with recalling the FCA Class Vehicles and paying the

  23   costs of remedying the defective ZF TRW ACUs. In so doing, ZF TRW, STMicro,

  24   and/or FCA obtained money directly or indirectly from sales or leases to Plaintiffs

  25   and the Nationwide FCA Class by means of materially false or fraudulent

  26   misrepresentations and omissions of material facts.

  27         614. At all relevant times, ZF TRW, STMicro, and FCA agreed to conduct

  28   and participate, directly and indirectly, in the affairs of the FCA Enterprise through

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   1   a pattern of racketeering activity. For the conspiracy to succeed, FCA, ZF TRW,
   2   and STMicro had to commit to secrecy about the existence and scope of the defect
   3   with the ZF TRW ACUs contained in FCA Class Vehicles.
   4         615. ZF TRW, STMicro, and FCA each existed separately from each other
   5   at all relevant times. They each had distinct legal statuses, different offices and
   6   roles, bank accounts, officers, directors, employees, individual personhood,
   7   reporting requirements, and financial statements.
   8         616. ZF TRW, STMicro, and FCA also each existed separately from the
   9   FCA Enterprise.
  10                a.     The FCA Defendants manufactured and sold many vehicles that
  11                       did not contain defective ZF TRW ACUs.
  12                b.     The STMicro Defendants also made many other products aside
  13                       from the DS84 ASICs used in the defective ZF TRW ACUs.
  14                c.     The ZF TRW Defendants similarly made many other
  15                       automotive parts aside from the defective ZF TRW ACUs.
  16         617. FCA participated in the FCA Enterprise by:
  17                a.     Ordering and purchasing the defective ZF TRW ACUs and
  18                       providing ZF TRW with payment for the same;
  19                b.     Installing the defective ZF TRW ACUs in FCA Class Vehicles;
  20                c.     Affixing misleading certification labels assuring compliance
  21                       with safety requirements to the FCA Class Vehicles and
  22                       shipping the FCA Class Vehicles to dealerships throughout the
  23                       United States;
  24                d.     Participating in the creation of Monroney labels that stated the
  25                       FCA Class Vehicles were equipped with Occupant Restraint
  26                       Systems but did not disclose the related defect in the ACU;
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   1               e.   Participating in the creation of misleading advertising for the
   2                    FCA Class Vehicles that stressed the safety of FCA Class
   3                    Vehicles and omitted material facts;
   4               f.   Concealing that it had found evidence of EOS in certain FCA
   5                    Class Vehicles until disclosing to NHTSA nine instances of
   6                    confirmed or suspected EOS in certain models of recalled FCA
   7                    Class Vehicles when it initiated a partial recall for some of the
   8                    FCA Class Vehicles in September 2016;
   9               g.   Concealing that the recalled FCA Class Vehicles were equipped
  10                    with defective ZF TRW ACUs that were vulnerable to EOS due
  11                    to insufficient levels of circuit protection until initiating the
  12                    partial recall in September 2016;
  13               h.   Concealing and continuing to conceal that the replacement ZF
  14                    TRW ACUs installed in the recalled FCA Class Vehicles are
  15                    defective in that they still provide insufficient levels of circuit
  16                    protection, rendering the ACUs in the vehicles susceptible to
  17                    ASIC EOS;
  18               i.   Concealing and continuing to conceal that the unrecalled FCA
  19                    Class Vehicles contain defective ZF TRW ACUs that provide
  20                    insufficient circuit protection, rendering the ACUS in the
  21                    vehicles susceptible to EOS;
  22               j.   Misleading consumers and NHTSA regarding the adequacy of
  23                    the September 2016 recall by submitting a Part 573 Report that
  24                    ignored or downplayed the risks of the defective ZF TRW
  25                    ACUs installed in unrecalled FCA Class Vehicles;
  26               k.   Persisting in installing defective ZF TRW ACUs in new FCA
  27                    Class Vehicles even after announcing a partial recall of some of
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   1                     the FCA Class Vehicles based on observed field incidents where
   2                     the ACUs failed due to EOS; and
   3               l.    Collecting revenue from the sale and lease of the FCA Class
   4                     Vehicles.
   5         618. ZF TRW participated in the conduct of the FCA Enterprise by:
   6               a.    Collaborating with FCA to develop specifications for the
   7                     defective ACUs in FCA Class Vehicles;
   8               b.    Designing, manufacturing, and supplying the defective ACUs,
   9               c.    Communicating with FCA regarding specific field incidents
  10                     where ACUs in FCA Class Vehicles had failed due to EOS;
  11               d.    Concealing that the FCA Class Vehicles were equipped with
  12                     defective ZF TRW ACUs that were vulnerable to EOS due to
  13                     inadequate circuit protection;
  14               e.    Falsely writing to NHTSA in 2016 that the defective ZF TRW
  15                     ACUs in unrecalled FCA Class Vehicles were not defective;
  16               f.    Continuing to manufacture defective ACUs for unrecalled FCA
  17                     Class Vehicles; and
  18               g.    Collecting revenue flowing from the sale of defective ZF TRW
  19                     ACUs.
  20         619. STMicro participated in the FCA Enterprise by:
  21               a.    Designing and manufacturing the DS84 ASIC included in the
  22                     Defective ACUs;
  23               b.    Consulting with ZF TRW concerning observed evidence of EOS
  24                     in FCA Class Vehicles;
  25               c.    Concealing that the FCA Class Vehicles were equipped with
  26                     defective ZF TRW ACUs that were vulnerable to EOS due to
  27                     inadequate circuit protection;
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   1                d.    Concealing information about the existence and prevalence of
   2                      the defect from NHTSA and the public; and
   3                e.    Collecting revenue flowing from the sale of the DS84 ASIC.
   4         620. Without FCA, ZF TRW and STMicro’s willing participation in the
   5   conduct above, the FCA Enterprise’s scheme and common course of conduct would
   6   have been unsuccessful.
   7         621. To carry out, or attempt to carry out the scheme to defraud, FCA, ZF
   8   TRW, and STMicro—each of whom is a person associated-in-fact with the FCA
   9   Enterprise—did knowingly conduct or participate, directly or indirectly, in the
  10   affairs of the FCA Enterprise through a pattern of racketeering activity within the
  11   meaning of 18 U.S.C. §§ 1961(1), 1961(5) and 1962(c), and which employed the
  12   use of the mail and wire facilities, in violation of 18 U.S.C. § 1341 (mail fraud) and
  13   § 1343 (wire fraud).
  14         622. The FCA Enterprise used, directed the use of, and/or caused to be
  15   used, thousands of interstate mail and wire communications in service of their
  16   scheme through virtually uniform misrepresentations, concealments and material
  17   omissions regarding the FCA Class Vehicles.
  18         623. In devising and executing the illegal scheme, FCA, ZF TRW, and
  19   STMicro devised and knowingly carried out a material scheme and/or artifice to
  20   defraud or obtain money from the FCA Plaintiffs and the FCA Nationwide Class by
  21   means of materially false or fraudulent pretenses, representations, promises, or
  22   omissions of material facts.
  23         624. Examples of the FCA Enterprise’s multiple predicate acts of mail and
  24   wire fraud are summarized in the below subparagraphs.30
  25   30
         Many of the precise dates and examples of the fraudulent uses of the U.S. mail
  26   and interstate wire facilities have been deliberately hidden by Defendants, and
       cannot be alleged without access to Defendants’ books and records. However,
  27   Plaintiffs have described the types of, and in some instances, occasions on which
  28   the predicate acts of mail and/or wire fraud occurred. These include thousands of
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   1               a.    FCA violated the mail fraud act by affixing false and/or
   2                     misleading safety certifications relating to Occupant Restraint
   3                     Systems in each FCA Class Vehicle and shipping them to
   4                     dealers through interstate carriers. FCA also violated the mail
   5                     and/or wire fraud acts by using mail and/or wire in connection
   6                     with the creation of Monroney stickers and owners’ manuals for
   7                     FCA Class Vehicles that contained false and/or misleading
   8                     statements and assurances regarding the vehicles’ Occupant
   9                     Restraint System. Examples of such statements are collected in
  10                     Exhibit 1 and in Exhibit 9. Because FCA took no steps to warn
  11                     consumers of a defect until September 2016 at the very earliest,
  12                     and limited its warning in September 2016 to recalled FCA
  13                     Class Vehicles, the FCA Class Vehicles were sold to FCA
  14                     Plaintiffs and the FCA Nationwide Class under false and/or
  15                     misleading pretenses insofar as the certification label, Monroney
  16                     stickers, and owner’s manuals suggested that the FCA Class
  17                     Vehicles had working Occupant Restraint Systems with no
  18                     known defects. ZF TRW and STMicro were aware of FCA’s
  19                     standard practice of selling FCA Class Vehicles under these
  20                     false or misleading pretenses, but conspired with FCA to
  21                     conceal the existence and scope of the defect in the ZF TRW
  22                     ACUs installed in FCA Class Vehicles.
  23               b.    FCA also violated the mail and wire acts by falsely advertising
  24                     the safety of FCA Class Vehicles through broadcast media,
  25                     through social media, on its website, and in printed materials.
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       Footnote continued from previous page
  27   communications to perpetuate and maintain the scheme, including the things and
  28   documents described in the preceding paragraphs.

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   1                     Examples of such advertising are collected in Exhibit 10. FCA's
   2                    advertising uniformly omitted any description of the defect that
   3                    made ZF TRW ACUs vulnerable to EOS or the risk that the
   4                    Occupant Restraint System could fail in FCA Class Vehicles at
   5                     the worst possible time. ZF TRW and STMicro were aware of
   6                    FCA's advertising, and conspired with FCA to conceal the
   7                    existence and scope of the defect in the ZF TRW's ACUs
   8                    installed in FCA Class Vehicles.
   9               c.   FCA violated the mail and wire fraud acts by using interstate
  10                    mail and wire to submit paper and electronic versions of a
  11                     September 13, 2016 Part 573 Safety Recall Report falsely
  12                    stating that unrecalled FCA Class Vehicles equipped "with the
  13                    same ORC/ASIC" were not defective because the ASIC's "front
  14                    sensor wiring [was] routed independently along the left and right
  15                    side of the vehicles front sensor wiring." This statement was
  16                    misleading because the unrecalled FCA Class Vehicles have the
  17                    same defect (insufficient levels of circuit protection and the use
  18                    of a DS84 ASIC vulnerable to overstress) as the recalled FCA
  19                    Class Vehicles.
  20               d.
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   9         625. ZF TRW, STMicro, and FCA knew and intended that government
  10   regulators would rely on their material omissions made about the FCA Class
  11   Vehicles to approve them for importation, nlarketing, and/or sale in the United
  12   States. ZF TRW, STMicro, and FCA understood that disclosing the defect would
  13   require a recall of all the FCA Class Vehicles to be conducted and design change to
  14   be implemented, and negatively impact the profits of the FCA Enterprise.
  15         626. ZF TRW, STMicro, and FCA knew and intended that consumers
  16   would purchase the FCA Class Vehicles and incur costs as a result. Plaintiffs'
  17   reliance on this ongoing concealment is demonstrated by the fact that they paid
  18   money for defective FCA Class Vehicles that never should have been introduced
  19   into the U.S. stream of commerce, and that they overpaid for vehicles with
  20   defective safety systems.
  21         627. As described herein, ZF TRW, STMicro, and FCA engaged in a
  22   pattern of related and continuous predicate acts for years. The predicate acts
  23   constituted a variety of unlawful activities, each conducted with the common
  24   purpose of obtaining money from FCA Plaintiffs and FCA Class members. The
  25   predicate acts also had the same or similar results, participants, victims, and
  26   methods of commission. The predicate acts were related and not isolated events.
  27         628. The predicate acts had the common purpose of generating significant
  28   revenue and profits for ZF TRW_,STMicro, and FCA from the sale and lease of the

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   1   FCA Class Vehicles, while minimizing or avoiding costs of necessary repairs, at the
   2   expense of FCA Plaintiffs and FCA Class members.
   3         629. FCA, ZF TRW, and STMicro knew for years that the defective ZF
   4   TRW ACUs in the FCA Class Vehicles were vulnerable to EOS, but continued to
   5   manufacture, sell/lease, and accept payment from Plaintiffs for them anyway, as
   6   demonstrated by:
   7                a.

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  10                b.    ZF TRW's May 30, 2013 communication to FCA regarding a
  11                      potential warranty issue relating to EOS in ZF TRW ACUs,
  12                c.    The decision in 2014 by ZF TRW, STMicro, and FCA to add
  13                      circuit protection to some, but not all, the FCA Class Vehicles
  14                      with ZF TRW ACUs containing the DS84 ASIC; and
  15                d.    The multiple tests and analyses of field incidents and crash tests
  16                      in 2015 and 2016 where FCA, ZF TRW, and STMicro
  17                      concluded that EOS was occurring in FCA Class Vehicles.
  18         630. FCA Plaintiffs and Nationwide FCA Class members are "person[s]
  19   injured in his or her business or property" by reason of ZF TRW, STMicro, and
  20   FCA Defendants' violation of RICO within the meaning ofU.S.C. § 1964(c).
  21   Because of ZF TRW, STMicro, and FCA's pattern of racketeering activity,
  22   Plaintiffs and Class members have been injured in their business and/or property in
  23   multiple ways, including but not limited to:
  24                a.    Purchase or lease of defective FCA Class Vehicles;
  25                b.    Overpayment at the time of purchase or lease for FCA Class
  26                      Vehicles with an undisclosed safety defect; and
  27                c.    Other, ongoing out-of-pocket and loss-of-use expenses.
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   1         631. FCA Plaintiffs and Class members are entitled to bring this action for
   2   three times their actual damages, as well as injunctive/equitable relief, costs, and
   3   reasonable attorneys’ fees pursuant to 18 U.S.C. § 1964(c).
   4         iv.    Nationwide Count 4: Violation of the Racketeer Influenced and
   5                Corrupt Organizations Act, 18 U.S.C. § 1962(c)-(d), on Behalf of
                    the Toyota Subclass Against the ZF TRW, STMicro, and Toyota
   6                Defendants
   7         632. Toyota Plaintiffs bring this claim on behalf of the Nationwide Toyota

   8   Class against ZF TRW, STMicro, and Toyota.

   9         633. ZF TRW, STMicro, and Toyota are all “persons” under 18 U.S.C.

  10   § 1961(3) because each was capable of holding “a legal or beneficial interest in

  11   property.”

  12         634. ZF TRW, STMicro, and Toyota violated 18 U.S.C. § 1962(c) by

  13   participating in or conducting the affairs of an “association-in-fact enterprise”

  14   through a pattern of racketeering activity. This enterprise is referred to as the

  15   Toyota Enterprise.

  16         635. The purpose of the Toyota enterprise was to mislead consumers and

  17   NHTSA concerning the existence and scope of the defect with ZF TRW ACUs

  18   installed in the Toyota Class Vehicles. By concealing and minimizing the defect,

  19   ZF TRW, STMicro, and Toyota maximized their revenue by selling as many

  20   Toyota Class Vehicles with defective ZF TRW ACUs as possible and avoiding or

  21   limiting the substantial costs associated with recalling the Toyota Class Vehicles

  22   and adding necessary circuit protection to the defective ZF TRW ACUs. In so

  23   doing, ZF TRW, STMicro, and Toyota obtained money from Toyota Plaintiffs and

  24   the Nationwide Toyota Class by means of materially false or fraudulent

  25   misrepresentations and omissions of material facts.

  26         636. At all relevant times, ZF TRW, STMicro, and Toyota agreed to

  27   conduct and participate, directly and indirectly, in the conduct of the affairs of the

  28   Toyota Enterprise through a pattern of racketeering activity. For the conspiracy to

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   1   succeed, Toyota, ZF TRW, and STMicro had to commit to secrecy about the
   2   existence and scope of the defect with the ZF TRW ACUs contained in Toyota
   3   Class Vehicles.
   4         637. ZF TRW, STMicro, and Toyota each existed separately from each
   5   other at all relevant times. They each had distinct legal statuses, different offices
   6   and roles, bank accounts, officers, directors, employees, individual personhood,
   7   reporting requirements, and financial statements.
   8         638. ZF TRW, STMicro, and Toyota also each existed separately from the
   9   Toyota Enterprise.
  10                a.      The Toyota Defendants manufactured and sold many vehicles
  11                        that did not contain defective ZF TRW ACUs.
  12                b.      The STMicro Defendants also made many other products aside
  13                        from the DS84 ASICs used in the defective ZF TRW ACUs.
  14                c.      The ZF TRW Defendants similarly made many other
  15                        automotive parts aside from the defective ZF TRW ACUs.
  16         639. Toyota participated in the Toyota Enterprise by:
  17                a.      Ordering and purchasing the defective ZF TRW ACUs and
  18                        providing ZF TRW with payment for the same;
  19                b.      Installing the defective ZF TRW ACUs in Toyota Class
  20                        Vehicles;
  21                c.      Affixing certification labels assuring compliance with safety
  22                        requirements to the Toyota Class Vehicles and shipping the
  23                        Toyota Class Vehicles to dealerships throughout the United
  24                        States;
  25                d.      Participating in the creation of Monroney labels that stated the
  26                        Toyota Class Vehicles were equipped with Occupant Restraint
  27                        Systems but did not disclose the related defect in the ACU;
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   1               e.    Participating in the creation of misleading advertising for the
   2                     Toyota Class Vehicles that stressed the safety of Toyota Class
   3                     Vehicles;
   4               f.    Concealing that Occupant Restraint Systems in Toyota Class
   5                     Vehicles had failed in the field due to EOS in defective ZF
   6                     TRW ACUs until announcing a partial recall for some of the
   7                     Toyota Class Vehicles in January 2020;
   8               g.    Misleading consumers and NHTSA regarding the adequacy of
   9                     the January 2020 recall by submitting a Part 573 Report that
  10                     downplayed the risks of the defective ZF TRW ACUs installed
  11                     in the Unrecalled Toyota Class Vehicles;
  12               h.    Persisting in installing defective ZF TRW ACUs in new Toyota
  13                     Class Vehicles after field incidents where the ACUs failed due
  14                     to EOS were observed;
  15               i.    Persisting in installing defective ACUs in U.S. Toyota Class
  16                     Vehicles, even after ZF TRW, STMicro and Toyota decided to
  17                     make the ACUs in European versions of the same vehicles more
  18                     resistant to EOS; and
  19               j.    Collecting revenues from the sale and lease of the Toyota Class
  20                     Vehicles.
  21         640. ZF TRW participated in the conduct of the Toyota Enterprise by:
  22               a.    Collaborating with Toyota to develop specifications for the
  23                     defective ACUs in Toyota Class Vehicles;
  24               b.    Designing and manufacturing the defective ACUs;
  25               c.    Communicating with Toyota regarding specific field incidents
  26                     where ACUs in Toyota Class Vehicles had failed due to EOS;
  27               d.    Concealing that Occupant Restraint Systems in Toyota Class
  28                     Vehicles had failed in the field due to EOS in defective ZF

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   1                      TRW ACUs until Toyota announced a partial recall for some of
   2                      the Toyota Class Vehicles in January 2020;
   3                e.    Continuing to manufacture defective ACUs for the Unrecalled
   4                      Toyota Class Vehicles; and
   5                f.    Collecting revenues flowing from the sale and lease of the
   6                      Toyota Class Vehicles.
   7         641. STMicro participated in the Toyota Enterprise by:
   8                a.    Designing and manufacturing the DS84 ASIC, including the
   9                      Defective ACUs;
  10                b.    Consulting with ZF TRW concerning observed evidence of EOS
  11                      in at least one Toyota Class Vehicle;
  12                c.    Concealing that Occupant Restraint Systems in Toyota Class
  13                      Vehicles had failed in the field due to EOS in defective ZF
  14                      TRW ACUs until Toyota announced a partial recall for some of
  15                      the Toyota Class Vehicles in January 2020;
  16                d.    Concealing information about the existence and prevalence of
  17                      the defect from NHTSA and the public; and
  18                e.    Collecting revenues flowing from the sale and lease of the
  19                      Toyota Class Vehicles.
  20         642. Without Toyota, ZF TRW and STMicro’s willing participation in the
  21   conduct above, the Toyota Enterprise’s scheme and common course of conduct
  22   would have been unsuccessful.
  23         643. Toyota, ZF TRW, and STMicro directed and controlled the ongoing
  24   organization necessary to implement the scheme at meetings and through
  25   communications of which Toyota Plaintiffs cannot fully know at present, because
  26   such information lies in the Defendants’ and others’ hands. Similarly, because the
  27   Defendants often refer to themselves as a group (i.e., “ZF TRW” rather than by the
  28   parent and various subsidiaries), Toyota Plaintiffs cannot know the full extent of

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   1   each individual corporate entity’s involvement in the wrongdoing prior to having
   2   access to discovery.
   3         644. To carry out, or attempt to carry out the scheme to defraud, Toyota, ZF
   4   TRW, and STMicro—each of whom is a person associated-in-fact with the Toyota
   5   Enterprise—did knowingly conduct or participate, directly or indirectly, in the
   6   conduct of the affairs of the Toyota Enterprise through a pattern of racketeering
   7   activity within the meaning of 18 U.S.C. §§ 1961(1), 1961(5) and 1962(c), and
   8   which employed the use of the mail and wire facilities, in violation of 18 U.S.C.
   9   § 1341 (mail fraud) and § 1343 (wire fraud).
  10         645. The Toyota Enterprise used, directed the use of, and/or caused to be
  11   used, thousands of interstate mail and wire communications in service of their
  12   scheme through virtually uniform misrepresentations, concealments and material
  13   omissions regarding the Toyota Class Vehicles.
  14         646. In devising and executing the illegal scheme, Toyota, ZF TRW, and
  15   STMicro devised and knowingly carried out a material scheme and/or artifice to
  16   defraud or obtain money from the Toyota Plaintiffs and the Toyota Nationwide
  17   Class by means of materially false or fraudulent pretenses, representations,
  18   promises, or omissions of material facts.
  19         647. Examples of the Toyota Enterprise’s multiple predicate acts of mail
  20   and wire fraud are summarized in the below subparagraphs.32
  21                a.    Toyota violated the mail fraud act by affixing false and/or
  22                      misleading safety certifications relating to Occupant Restraint
  23
       32
  24     Many of the precise dates and examples of the fraudulent uses of the U.S. mail
       and interstate wire facilities have been deliberately hidden, and cannot be alleged
  25   without access to Defendants’ books and records. However, Toyota Plaintiffs have
  26   described the types of, and in some instances, occasions on which the predicate acts
       of mail and/or wire fraud occurred. These include thousands of communications to
  27   perpetuate and maintain the scheme, including the things and documents described
  28   in the preceding paragraphs.

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   1                    Systems in each Toyota Class Vehicle and shipping them to
   2                    dealers through interstate carriers. Toyota also violated the mail
   3                    and/or wire fraud acts by using mail and/or wire in connection
   4                    with the creation of Monroney stickers and owners’ manuals for
   5                    Toyota Class Vehicles that contained false and/or misleading
   6                    statements and assurances regarding the vehicles’ Occupant
   7                    Restraint System. Examples of such statements are collected in
   8                    Exhibit 1 and in Exhibit 12. Because Toyota took no steps to
   9                    warn consumers of a defect until January 2020 at the very
  10                    earliest, and limited its warning in January 2020 to recalled
  11                    Toyota Class Vehicles, the Toyota Class Vehicles were sold to
  12                    Toyota Plaintiffs and the Toyota Nationwide Clause under false
  13                    and/or misleading pretenses insofar as the certification label,
  14                    Monroney stickers, and owner’s manuals suggested that the
  15                    Toyota Class Vehicles had working Occupant Restraint Systems
  16                    with no known defects. ZF TRW and STMicro were aware of
  17                    Toyota’s standard practice of selling FCA Class Vehicles under
  18                    these false or misleading pretenses, but conspired with Toyota to
  19                    conceal the existence and scope of the defect in the ZF TRW
  20                    ACUs installed in Toyota Class Vehicles.
  21               b.   Toyota also violated the mail and wire acts by advertising the
  22                    safety of Toyota Class Vehicles on its website and in printed
  23                    materials. Examples of such advertising are collected in Exhibit
  24                    13. Toyota’s advertising uniformly omitted any description of
  25                    the defect that made ZF TRW ACUs vulnerable to EOS or the
  26                    risk that the Occupant Restraint System would fail in Toyota
  27                    Class Vehicles. ZF TRW and STMicro were aware of Toyota’s
  28                    advertising, but conspired with Toyota to conceal the existence

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   1                    and scope of the defect in the ZF TRW's ACUs installed in
   2                    Toyota Class Vehicles.
   3               c.   Concealing that Occupant Restraint Systems in Toyota Class
   4                    Vehicles had failed in the field due to EOS in defective ZF
   5                    TRWACUs.
   6               d.
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  17               e.
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  26               f.
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  20               g.   Toyota further violated the mail and wire fraud act by sending
  21                    NHTSA a written response to NHTSA's investigation requests
  22                    in or around August 29, 2019 in response to the EA 19-001 it
  23                    opened in April 2019 stating that it had not confirmed there was
  24                    a direct relationship between EOS damage to the ASIC "from
  25                    negative voltage transients during [a] real-world crash event and
  26                    an airbag non-deployment." This statement was misleading
  27                    because Toyota had already confinned that such direct
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   1                      relationship existed through the investigation and analysis of
   2                      field incidents and crash tests involving Toyota Class Vehicles.
   3                h.    Toyota again violated the mail and wire fraud act by using
   4                      interstate mail and wire to submit paper and electronic versions
   5                      of a January 17, 2020 Part 573 Safety Recall Report stating that
   6                      “an occurrence of a sufficient negative transient at a timing [sic]
   7                      that can affect airbag deployment in a crash is unlikely” with
   8                      regard to the Unrecalled Toyota Class Vehicles “due to different
   9                      body construction and other factors.” This statement was
  10                      misleading because the Unrecalled Toyota Class Vehicles have
  11                      the same defect (insufficient levels of circuit protection and the
  12                      use of a DS84 ASIC vulnerable to overstress) as the recalled
  13                      Toyota Class Vehicles.
  14         648. ZF TRW, STMicro, and Toyota knew and intended that government
  15   regulators would rely on their material omissions made about the Toyota Class
  16   Vehicles to approve them for importation, marketing, and/or sale in the United
  17   States. ZF TRW, STMicro, and Toyota understood that disclosing the defect would
  18   require a recall of all the Toyota Class Vehicles to be conducted and design change
  19   to be implemented, and negatively impact the profits for the Toyota Enterprise.
  20         649. ZF TRW, STMicro, and Toyota knew and intended that consumers
  21   would purchase the Toyota Class Vehicles and incur costs as a result. Plaintiffs’
  22   reliance on this ongoing concealment is demonstrated by the fact that they paid
  23   money for defective Toyota Class Vehicles that never should have been introduced
  24   into the U.S. stream of commerce.
  25         650. As described herein, ZF TRW, STMicro, and Toyota engaged in a
  26   pattern of related and continuous predicate acts for years. The predicate acts
  27   constituted a variety of unlawful activities, each conducted with the common
  28   purpose of obtaining significant monies and revenues from Toyota Plaintiffs and

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   1   Nationwide Toyota Class members. The predicate acts also had the same or similar
   2   results, participants, victims, and methods of commission. The predicate acts were
   3   related and not isolated events.
   4         651. The predicate acts had the purpose of generating significant revenue
   5   and profits for ZF TRW, STMicro, and Toyota from the sale and lease of the
   6   Toyota Class Vehicles, while minimizing or avoiding costs of necessary repairs, at
   7   the expense of Toyota Plaintiffs and Nationwide Toyota Class members.
   8         652. Toyota, ZF TRW, and STMicro knew for years that the defective ZF
   9   TRW ACUs in the Toyota Class Vehicles were vulnerable to EOS, but continued to
  10   manufacture, sell/lease, and accept payment from Toyota Plaintiffs for them
  11   anyway, as demonstrated by:
  12                a.
  13
  14
  15                b.




  22         653. Toyota Plaintiffs and Nationwide Toyota Class members are
  23   "person[s] injured in his or her business or property" by reason of ZF TRW,
  24   STMicro, and Toyota Defendants' violation of RICO w ithin the meaning ofU.S.C.
  25   § 1964(c). Because of ZF TRW, STMicro, and Toyota's pattern of racketeering
  26   activity, Toyota Plaintiffs and Class members have been injured in their business
  27   and/or property in multiple ways, including but not limited to:
  28                a.     Purchase or lease of defective Toyota Class Vehicles;

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   1                 b.    Overpayment at the time of purchase or lease for Toyota Class
   2                       Vehicles with an undisclosed defect; and
   3                 c.    Other, ongoing out-of-pocket and loss-of-use expenses.
   4         654. Toyota Plaintiffs and Class members are entitled to bring this action
   5   for three times their actual damages, as well as injunctive/equitable relief, costs, and
   6   reasonable attorneys’ fees pursuant to 18 U.S.C. § 1964(c).
   7         v.      Nationwide Count 5: Violation of the Racketeer Influenced and
   8                 Corrupt Organizations Act, 18 U.S.C. § 1962(c)-(d), on Behalf of
                     the Honda Class Against the ZF TRW, STMicro, and Honda
   9                 Defendants
  10         655. Honda Plaintiffs bring this claim on behalf of the Nationwide Honda

  11   Class against ZF TRW, STMicro, and Honda.

  12         656. ZF TRW, STMicro, and FCA are all “persons” under 18 U.S.C.

  13   § 1961(3) because each was capable of holding “a legal or beneficial interest in

  14   property.”

  15         657. ZF TRW, STMicro, and Honda violated 18 U.S.C. § 1962(c) by

  16   participating in or conducting the affairs of an “association-in-fact enterprise”

  17   through a pattern of racketeering activity. This enterprise is referred to as the Honda

  18   Enterprise.

  19         658. The purpose of the Honda enterprise was to mislead consumers and

  20   NHTSA concerning the existence and scope of the defect with ZF TRW ACUs

  21   installed in the Honda Class Vehicles. By concealing and minimizing the defect, ZF

  22   TRW, STMicro, and Honda maximized their revenue by selling as many Honda

  23   vehicles with defective ZF TRW ACUs as possible and avoiding or limiting the

  24   substantial costs associated with recalling the Honda Class Vehicles and adding

  25   necessary circuit protection to the defective ZF TRW ACUs. In so doing, ZF TRW,

  26   STMicro, and Honda obtained money from Honda Plaintiffs and the Nationwide

  27   Honda Class by means of materially false or fraudulent misrepresentations and

  28   omissions of material facts.

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   1         659. At all relevant times, ZF TRW, STMicro, and Honda agreed to
   2   conduct and participate, directly and indirectly, in the conduct of the affairs of the
   3   Honda Enterprise through a pattern of racketeering activity. For the conspiracy to
   4   succeed, Honda, ZF TRW, and STMicro had to commit to secrecy about the
   5   existence and scope of the defect with the ZF TRW ACUs contained in Honda
   6   Class Vehicles.
   7         660. ZF TRW, STMicro, and Honda each existed separately from each
   8   other at all relevant times. They each had distinct legal statuses, different offices
   9   and roles, bank accounts, officers, directors, employees, individual personhood,
  10   reporting requirements, and financial statements.
  11         661. ZF TRW, STMicro, and Honda also each existed separately from the
  12   Honda Enterprise.
  13                a.     The Honda Defendants manufactured and sold many vehicles
  14                       that did not contain defective ZF TRW ACUs.
  15                b.     The STMicro Defendants also made many other products aside
  16                       from the DS84 ASICs used in the defective ZF TRW ACUs.
  17                c.     The ZF TRW Defendants similarly made many other
  18                       automotive parts aside from the defective ZF TRW ACUs.
  19         662. Honda participated in the FCA Enterprise by:
  20                a.     Ordering and purchasing the defective ZF TRW ACUs and
  21                       providing ZF TRW with payment for the same;
  22                b.     Installing the defective ZF TRW ACUs in Honda Class
  23                       Vehicles;
  24                c.     Affixing certification labels assuring compliance with safety
  25                       requirements to the Honda Class Vehicles and shipping the
  26                       Honda Class Vehicles to dealerships throughout the United
  27                       States;
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   1               d.    Participating in the creation of Monroney labels that stated the
   2                     Honda Class Vehicles were equipped with Occupant Restraint
   3                     Systems but did not disclose the related defect in the ACU;
   4               e.    Participating in the creation of misleading advertising for the
   5                     Honda Class Vehicles that stressed the safety of Honda Class
   6                     Vehicles;
   7               f.    Concealing that Occupant Restraint Systems in Honda Class
   8                     Vehicles had failed in the field due to EOS in defective ZF
   9                     TRW ACUs;
  10               g.    Persisting in installing defective ZF TRW ACUs in new Honda
  11                     Class Vehicles even after it began equipping other Honda
  12                     vehicles with DS84 ASICs with stronger circuit protection; and
  13               h.    Collecting revenues from the sale and lease of the Honda Class
  14                     Vehicles.
  15         663. ZF TRW participated in the conduct of the Honda Enterprise by:
  16               a.    Collaborating with Honda to develop specifications for the
  17                     defective ACUs in Honda Class Vehicles;
  18               b.    Designing and manufacturing the defective ACUs,
  19               c.    Communicating with Honda regarding specific field incidents
  20                     where ACUs in Honda Class Vehicles had failed due to EOS;
  21               d.    Concealing that Occupant Restraint Systems in Honda Class
  22                     Vehicles had failed in the field due to EOS in defective ZF
  23                     TRW ACUs;
  24               e.    Continuing to manufacture defective ACUs for Honda Class
  25                     Vehicles; and
  26               f.    Collecting revenues flowing from the sale and lease of the
  27                     Honda Class Vehicles.
  28         664. STMicro participated in the Honda Enterprise by:

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   1                a.    Designing and manufacturing the DS84 ASIC including the
   2                      Defective ACUs;
   3                b.    Consulting with ZF TRW concerning observed evidence of EOS
   4                      in Honda Class Vehicles;
   5                c.    Concealing that Occupant Restraint Systems in Honda Class
   6                      Vehicles had failed in the field due to EOS in defective ZF
   7                      TRW ACUs;
   8                d.    Concealing information about the existence and prevalence of
   9                      the defect from NHTSA and the public; and
  10                e.    Collecting revenues flowing from the sale and lease of the
  11                      Honda Class Vehicles.
  12         665. Without Honda, ZF TRW and STMicro’s willing participation in the
  13   conduct above, the Honda Enterprise’s scheme and common course of conduct
  14   would have been unsuccessful.
  15         666. Honda, ZF TRW, and STMicro directed and controlled the ongoing
  16   organization necessary to implement the scheme at meetings and through
  17   communications of which Honda Plaintiffs cannot fully know at present, because
  18   such information lies in the Defendants’ and others’ hands. Similarly, because the
  19   Defendants often refer to themselves as a group (i.e., “ZF TRW” rather than by the
  20   parent and various subsidiaries), Honda Plaintiffs cannot know the full extent of
  21   each individual corporate entity’s involvement in the wrongdoing prior to having
  22   access to discovery.
  23         667. To carry out, or attempt to carry out the scheme to defraud, Honda, ZF
  24   TRW, and STMicro—each of whom is a person associated-in-fact with the Honda
  25   Enterprise—did knowingly conduct or participate, directly or indirectly, in the
  26   conduct of the affairs of the Honda Enterprise through a pattern of racketeering
  27   activity within the meaning of 18 U.S.C. §§ 1961(1), 1961(5) and 1962(c), and
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   1   which employed the use of the mail and wire facilities, in violation of 18 U.S.C.
   2   § 1341 (mail fraud) and § 1343 (wire fraud).
   3         668. The Honda Enterprise used, directed the use of, and/or caused to be
   4   used, thousands of interstate mail and wire communications in service of their
   5   scheme through virtually uniform misrepresentations, concealments and material
   6   omissions regarding the Honda Class Vehicles.
   7         669. In devising and executing the illegal scheme, Honda, ZF TRW, and
   8   STMicro devised and knowingly carried out a material scheme and/or artifice to
   9   defraud or obtain money from the Honda Plaintiffs and the Honda Nationwide
  10   Class by means of materially false or fraudulent pretenses, representations,
  11   promises, or omissions of material facts.
  12         670. Examples of the Honda Enterprise’s multiple predicate acts of mail
  13   and wire fraud are summarized in the below subparagraphs.33
  14                a.    Honda violated the mail fraud act by affixing false and/or
  15                      misleading safety certifications relating to Occupant Restraint
  16                      Systems in each Honda Class Vehicle and shipping them to
  17                      dealers through interstate carriers. Honda also violated the mail
  18                      and/or wire fraud acts by using mail and/or wire in connection
  19                      with the creation of Monroney stickers and owners’ manuals for
  20                      Honda Class Vehicles that contained false and/or misleading
  21                      statements and assurances regarding the vehicles’ Occupant
  22                      Restraint System. Examples of such statements are collected in
  23
       33
  24     Many of the precise dates and examples of the fraudulent uses of the U.S. mail
       and interstate wire facilities have been deliberately hidden, and cannot be alleged
  25   without access to Defendants’ books and records. However, Honda Plaintiffs have
  26   described the types of, and in some instances, occasions on which the predicate acts
       of mail and/or wire fraud occurred. These include thousands of communications to
  27   perpetuate and maintain the scheme, including the things and documents described
  28   in the preceding paragraphs.

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   1                     Exhibit I and in Exhibit 15. Because Honda has taken no steps
   2                    to warn consumers of a defect, the Honda Class Vehicles were
   3                    sold to Honda Plaintiffs and the Honda Nationwide Clause
   4                    under false and/or n1isleading pretenses insofar as the
   5                    certification label, Monroney stickers, and owner's manuals
   6                    suggested that the Honda Class Vehicles had working Occupant
   7                    Restraint Systems with no known defects. ZF TRW and
   8                    STMicro were aware of Honda' s standard practice of selling
   9                     Honda Class Vehicles under these false or misleading pretenses,
  10                    but conspired with Honda to conceal the existence and scope of
  11                     the defect in the ZF TRW ACUs installed in Honda Class
  12                    Vehicles.
  13               b.   Honda also violated the mail and wire acts by advertising the
  14                    safety of Honda Class Vehicles on its website and in printed
  15                    materials. Examples of such advertising are collected in Exhibit
  16                     16. Honda's advertising uniformly omitted any description of

  17                     the defect that made ZF TRW ACUs vulnerable to EOS or the
  18                    risk that the Occupant Restraint System would fail in Honda
  19                    Class Vehicles. ZF TRW and STMicro were aware of Honda' s
  20                    advertising, but conspired with Honda to conceal the existence
  21                    and scope of the defect in the ZF TRW's ACUs installed in
  22                    Honda Class Vehicles.
  23               c.

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   9         671 . ZF TRW, STMicro, and Honda knew and intended that government
  10   regulators would rely on. their material omissions made about the Honda Class
  11   Vehicles to approve them for importation, marketing, and/or sale in the United
  12   States. ZF TRW, STMicro, and Honda understood that disclosing the defect would
  13   require a recall of all the Honda Class Vehicles to be conducted and design change
  14   to be implemented, and negatively impact the profits for the Honda Enterprise.
  15         672. ZF TRW, STMicro, and Honda knew and intended that consumers
  16   would purchase the Honda Class Vehicles and incur costs as a result. Plaintiffs'
  17   reliance on this ongoing concealment is demonstrated by the fact that they paid
  18   money for defective Honda Class Vehicles that never should have been introduced
  19   into the U.S. stream of commerce.
  20         673. As described herein, ZF TRW, STMicro, and Honda engaged in a
  21   pattern of related and continuous predicate acts for years. The predicate acts
  22   constituted a variety of unlawful activities, each conducted with the common
  23   purpose of obtaining significant monies and revenues from Honda Plaintiffs and
  24   Nationwide Honda Class members. The predicate acts also had the same or similar
  25   results, participants, victims, and methods of commission. The predicate acts were
  26   related and not isolated events.
  27         674. The predicate acts had the purpose of generating significant revenue
  28   and profits for ZF TRW, STMicro, and Honda from the sale and lease of the Honda

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   1   Class Vehicles, while minimizing or avoiding costs of necessary repairs, at the
   2   expense of Honda Plaintiffs and Nationwide Honda Class members.
   3         675. Honda, ZF TRW, and STMicro knew for years that the defective ZF
   4   TRW ACUs in the Honda Class Vehicles were vulnerable to EOS, but continued to
   5   manufacture, sell/lease, and accept payment from Honda Plaintiffs for them
   6   anyway, as demonstrated by:
   7                a.
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  10                b.
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  12
  13                c.
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  16         676. Honda Plaintiffs and Nationwide Honda Class members are "person[s]
  17   injured in his or her business or property" by reason of ZF TRW, STMicro, and
  18   Honda Defendants' violation of RICO within the meaning ofU.S.C. § 1964(c).
  19   Because of ZF TRW, STMicro, and Honda's pattern of racketeering activity,
  20   Honda Plaintiffs and Nationwide Honda Class members have been injured in their
  21   business and/or property in multiple ways, including but not limited to:
  22                a.     Purchase or lease of defective Honda Class Vehicles;
  23                b.     Overpayment at the time of purchase or lease for Honda Class
  24                       Vehicles with an undisclosed defect; and
  25                c.     Other, ongoing out-of-pocket and loss-of-use expenses.
  26         677. Honda Plaintiffs and Nationwide Honda Class members are entitled to
  27   bring this action for three tin1es their actual damages, as well as injunctive/equitable
  28   relief, costs, and reasonable attorneys' fees pursuant to 18 U.S.C. § 1964(c).

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   1         vi.    Nationwide Count 6: Violation of the Racketeer Influenced and
                    Corrupt Organizations Act, 18 U.S.C. § 1962(c)-(d), on Behalf of
   2                the Class Against the ZF TRW, STMicro Defendants, and
   3                Mitsubishi Defendants
             678. The Mitsubishi Plaintiffs bring this claim on behalf of the Nationwide
   4
       Mitsubishi Class against ZF TRW, STMicro, and Mitsubishi.
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             679. ZF TRW, STMicro, and Mitsubishi are all “persons” under 18 U.S.C.
   6
       § 1961(3) because each was capable of holding “a legal or beneficial interest in
   7
       property.”
   8
             680. ZF TRW, STMicro, and Mitsubishi violated 18 U.S.C. § 1962(c) by
   9
       participating in or conducting the affairs of an “association-in-fact enterprise”
  10
       through a pattern of racketeering activity. This enterprise is referred to as the
  11
       Mitsubishi Enterprise.
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             681. The purpose of the Mitsubishi Enterprise was to mislead consumers
  13
       and NHTSA concerning the existence and scope of the defect with ZF TRW ACUs
  14
       installed in the Mitsubishi Class Vehicles. By concealing and minimizing the
  15
       defect, ZF TRW, STMicro, and Mitsubishi maximized their revenue by selling as
  16
       many Mitsubishi vehicles with defective ZF TRW ACUs as possible and avoiding
  17
       or limiting the substantial costs associated with recalling the Mitsubishi Class
  18
       Vehicles and adding necessary circuit protection to the defective ZF TRW ACUs.
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       In so doing, ZF TRW, STMicro, and/or Mitsubishi obtained money directly or
  20
       indirectly from sales or leases to Plaintiffs and the Nationwide Mitsubishi Class by
  21
       means of materially false or fraudulent misrepresentations and omissions of
  22
       material facts.
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             682. At all relevant times, ZF TRW, STMicro, and Mitsubishi agreed to
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       conduct and participate, directly and indirectly, in the affairs of the Mitsubishi
  25
       Enterprise through a pattern of racketeering activity. For the conspiracy to succeed,
  26
       Mitsubishi, ZF TRW, and STMicro had to commit to secrecy about the existence
  27
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   1   and scope of the defect with the ZF TRW ACUs contained in Mitsubishi Class
   2   Vehicles.
   3         683. ZF TRW, STMicro, and Mitsubishi each existed separately from each
   4   other at all relevant times. They each had distinct legal statuses, different offices
   5   and roles, bank accounts, officers, directors, employees, individual personhood,
   6   reporting requirements, and financial statements.
   7         684. ZF TRW, STMicro, and Mitsubishi also each existed separately from
   8   the Mitsubishi Enterprise.
   9                a.     Mitsubishi manufactured and sold many vehicles that did not
  10                       contain defective ZF TRW ACUs.
  11                b.     The STMicro Defendants also made many other products aside
  12                       from the DS84 ASICs used in the defective ZF TRW ACUs.
  13                c.     The ZF TRW Defendants similarly made many other
  14                       automotive parts aside from the defective ZF TRW ACUs.
  15         685. Mitsubishi participated in the Mitsubishi Enterprise by:
  16                a.     Ordering and purchasing the defective ZF TRW ACUs and
  17                       providing ZF TRW with payment for the same;
  18                b.     Installing the defective ZF TRW ACUs in Mitsubishi Class
  19                       Vehicles;
  20                c.     Affixing misleading certification labels assuring compliance
  21                       with safety requirements to the Mitsubishi Class Vehicles and
  22                       shipping the Mitsubishi Class Vehicles to dealerships
  23                       throughout the United States;
  24                d.     Participating in the creation of Monroney labels that stated the
  25                       Mitsubishi Class Vehicles were equipped with Occupant
  26                       Restraint Systems but did not disclose the related defect in the
  27                       ACU;
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   1               e.    Participating in the creation of misleading advertising for the
   2                     Mitsubishi Class Vehicles that stressed the safety of Mitsubishi
   3                     Class Vehicles and omitted 1naterial facts;
   4               f.    Concealing and continuing to conceal that the Mitsubishi Class
   5                     Vehicles contain defective ZF TRW ACUs that provide
   6                     insufficient circuit protection, rendering the ACUS in the
   7                     vehicles susceptible to EOS;
   8               g.    Persisting in installing defective ZF TRW ACUs in new
   9                     Mitsubishi Class Vehicles even after repeated consumer reports
  10                     of airbag non-deployment dating back to at least
  11
  12
  13               h.    Collecting revenue from the sale and lease of the Mitsubishi
  14                     Class Vehicles.
  15         686. ZF TRW participated in the conduct of the Mitsubishi Enterprise by:
  16               a.    Collaborating with Mitsubishi to develop specifications for the
  17                     defective ACUs in Mitsubishi Class Vehicles;
  18               b.    Designing, manufacturing, and supplying the defective ACUs,
  19               c.    Concealing that the Mitsubishi Class Vehicles were equipped
  20                     with defective ZF TRW ACUs that were vulnerable to EOS due
  21                     to inadequate circuit protection;
  22               d.    Communicating with Mitsubishi regarding EOS in ZF TRW
  23                     ACUs and its communications with NHTSA regarding the
  24                     same;
  25               e.    Continuing to manufacture defective ACUs for the Mitsubishi
  26                     Class Vehicles; and
  27               f.    Collecting revenue flowing from the sale of defective ZF TRW
  28                     ACUs.

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   1         687. STMicro participated in the Mitsubishi Enterprise by:
   2                a.     Designing and manufacturing the DS84 ASIC included in the
   3                       Defective ACUs;
   4                b.     Concealing that the Mitsubishi Class Vehicles were equipped
   5                       with defective ZF TRW ACUs that were vulnerable to EOS due
   6                       to inadequate circuit protection;
   7                c.     Concealing information about the existence and prevalence of
   8                       the defect from NHTSA and the public; and
   9                d.     Collecting revenue flowing from the sale of the DS84 ASIC.
  10         688. Without Mitsubishi, ZF TRW and STMicro’s willing participation in
  11   the conduct above, the Mitsubishi Enterprise’s scheme and common course of
  12   conduct would have been unsuccessful.
  13         689. To carry out, or attempt to carry out the scheme to defraud, Mitsubishi,
  14   ZF TRW, and STMicro—each of whom is a person associated-in-fact with the
  15   Mitsubishi Enterprise—did knowingly conduct or participate, directly or indirectly,
  16   in the affairs of the Mitsubishi Enterprise through a pattern of racketeering activity
  17   within the meaning of 18 U.S.C. §§ 1961(1), 1961(5) and 1962(c), and which
  18   employed the use of the mail and wire facilities, in violation of 18 U.S.C. § 1341
  19   (mail fraud) and § 1343 (wire fraud).
  20         690. The Mitsubishi Enterprise used, directed the use of, and/or caused to
  21   be used, thousands of interstate mail and wire communications in service of their
  22   scheme through virtually uniform misrepresentations, concealments and material
  23   omissions regarding the Mitsubishi Class Vehicles.
  24         691. In devising and executing the illegal scheme, Mitsubishi, ZF TRW,
  25   and STMicro devised and knowingly carried out a material scheme and/or artifice
  26   to defraud or obtain money from the Mitsubishi Plaintiffs and the Mitsubishi
  27   Nationwide Class by means of materially false or fraudulent pretenses,
  28   representations, promises, or omissions of material facts.

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   1         692. Examples of the Mitsubishi Enterprise’s multiple predicate acts of mail
   2   and wire fraud are summarized in the below subparagraphs.34
   3               a.     Mitsubishi violated the mail fraud act by affixing false and/or
   4                      misleading safety certifications relating to Occupant Restraint
   5                      Systems in each Mitsubishi Class Vehicle and shipping them to
   6                      dealers through interstate carriers. Mitsubishi also violated the
   7                      mail and/or wire fraud acts by using mail and/or wire in
   8                      connection with the creation of Monroney stickers and owners’
   9                      manuals for Mitsubishi Class Vehicles that contained false
  10                      and/or misleading statements and assurances regarding the
  11                      vehicles’ Occupant Restraint System. Examples of such
  12                      statements are collected in Exhibit 1 and in Exhibit 17. Because
  13                      Mitsubishi has taken no steps to warn consumers of a defect, the
  14                      Mitsubishi Class Vehicles were sold to Mitsubishi Plaintiffs and
  15                      the Mitsubishi Nationwide Class under false and/or misleading
  16                      pretenses insofar as the certification label, Monroney stickers,
  17                      and owner’s manuals suggested that the Mitsubishi Class
  18                      Vehicles had working Occupant Restraint Systems with no
  19                      known defects. ZF TRW and STMicro were aware of
  20                      Mitsubishi’s standard practice of selling Mitsubishi Class
  21                      Vehicles under these false or misleading pretenses, but
  22                      conspired with Mitsubishi to conceal the existence and scope of
  23
       34
  24     Many of the precise dates and examples of the fraudulent uses of the U.S. mail
       and interstate wire facilities have been deliberately hidden by Defendants, and
  25   cannot be alleged without access to Defendants’ books and records. However,
  26   Plaintiffs have described the types of, and in some instances, occasions on which
       the predicate acts of mail and/or wire fraud occurred. These include thousands of
  27   communications to perpetuate and maintain the scheme, including the things and
  28   documents described in the preceding paragraphs.

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   1                    the defect in the ZF TRW ACUs installed in Mitsubishi Class
   2                    Vehicles.
   3               b.    Mitsubishi also violated the mail and wire acts by falsely
   4                    advertising the safety of Mitsubishi Class Vehicles through
   5                    broadcast media, through social media, on its website, and in
   6                    printed materials. Examples of such advertising are collected in
   7                     Exhibit 19. Mitsubishi's advertising uniformly omitted any
   8                    description of the defect that made ZF TRW ACUs vulnerable
   9                    to EOS or the risk that the Occupant Restraint System could fail
  10                    in Mitsubishi Class Vehicles at the worst possible time. ZF
  11                    TRW and STMicro were aware of Mitsubishi's advertising, and
  12                    conspired with Mitsubishi to conceal the existence and scope of
  13                    the defect in the ZF TRW's ACUs installed in Mitsubishi Class
  14                    Vehicles.
  15               c.
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  27               d.
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   3         693. ZF TRW, STMicro, and Mitsubishi knew and intended that
   4   government regulators would rely on their 1naterial omissions made about the
   5   Mitsubishi Class Vehicles to approve them for importation, 1narketing, and/or sale
   6   in the United States. ZF TRW, STMicro, and Mitsubishi understood that disclosing
   7   the defect would require a recall of all the Mitsubishi Class Vehicles to be
   8   conducted and design change to be implemented, and negatively impact the profits
   9   of the Mitsubishi Enterprise.
  10         694. ZF TRW, STMicro, and Mitsubishi knew and intended that consumers
  11   would purchase the Mitsubishi Class Vehicles and incur costs as a result. Plaintiffs'
  12   reliance on this ongoing concealment is demonstrated by the fact that they paid
  13   money for defective Mitsubishi Class Vehicles that never should have been
  14   introduced into the U.S. stream of commerce, and that they overpaid for vehicles
  15   with defective safety systems.
  16         695. As described herein, ZF TRW, STMicro, and Mitsubishi engaged in a
  17   pattern of related and continuous predicate acts for years. The predicate acts
  18   constituted a variety of unlawful activities, each conducted with the common
  19   purpose of obtaining money from Mitsubishi Plaintiffs and Mitsubishi Class
  20   members. The predicate acts also had the same or similar results, participants,
  21   victims, and methods of commission. The predicate acts were related and not
  22   isolated events.
  23         696. The predicate acts had the common purpose of generating significant
  24   revenue and profits for ZF TRW_, STMicro, and Mitsubishi from the sale and lease
  25   of the Mitsubishi Class Vehicles, while minimizing or avoiding costs of necessary
  26   repairs, at the expense of Mitsubishi Plaintiffs and Mitsubishi Class members.
  27         697. Mitsubishi, ZF TRW, and STMicro knew for years that the defective
  28   ZF TRW ACUs in the Mitsubishi Class Vehicles were vulnerable to EOS, but

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   1   continued to manufacture, sell/lease, and accept payment from Plaintiffs for them
   2   anyway, as demonstrated by:
   3                a.
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   5                b.
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   9                c.    ZF TRW' s January or February 2016 communication to
  10                      Mitsubishi regarding EOS in ZF TRW ACUs and ZF TRW's
  11                      communications with NHTSA regarding the same;
  12                d.    Mitsubishi and ZF TRW' s access to and awareness of the public
  13                      record relating to recalls for ZF TRW ACUs in FCA and
  14                      Hyundai-Kia vehicles starting in 2016 and 2018, respectively;
  15                      and
  16                e.
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  23         698. Mitsubishi Plaintiffs and Nationwide Mitsubishi Class members are
  24   "person[ s] injured in his or her business or property" by reason of ZF TRW,
  25   STMicro, and Mitsubishi Defendants' violation of RICO within the meaning of
  26   U.S.C. § 1964(c). Because of ZF TRW, STMicro, and Mitsubishi's pattern of
  27   racketeering activity, Plaintiffs and Class members have been injured in their
  28   business and/or property in multiple ways, including but not limited to:

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   1                a.       Purchase or lease of defective Mitsubishi Class Vehicles;
   2                b.       Overpayment at the time of purchase or lease for Mitsubishi
   3                         Class Vehicles with an undisclosed safety defect; and
   4                c.       Other, ongoing out-of-pocket and loss-of-use expenses.
   5         699. Mitsubishi Plaintiffs and Class members are entitled to bring this
   6   action for three times their actual damages, as well as injunctive/equitable relief,
   7   costs, and reasonable attorneys’ fees pursuant to 18 U.S.C. § 1964(c).
   8         vii.   Nationwide Count 7: Common Law Fraud on Behalf of the
   9                Nationwide Class against the Vehicle Manufacturer Defendants

  10         700. Plaintiffs reallege and incorporate by reference all preceding
  11   allegations as though fully set forth herein.
  12
                    a.       Affirmative Misrepresentations
  13         701. Plaintiffs assert this affirmative misrepresentation theory of fraud on
  14   behalf of themselves and the Nationwide Class or, in the alternative, on behalf of
  15   the State Subclasses, against the Vehicle Manufacturer Defendants.
  16         702. As detailed above and in Exhibits 1, 4-7, 9-10, 12-13, 15-16, 17, and
  17   19, the Vehicle Manufacturer Defendants made false or misleading statements to
  18   Plaintiffs and Class members regarding the safety of the Class Vehicles and the
  19   effectiveness of their Occupant Restraint Systems, including seatbelts and airbags.
  20   The Vehicle Manufacturer Defendants made these statements through, inter alia,
  21   statutory labels on the Class Vehicles, Monroney labels that described the
  22   equipment and features of the Class Vehicles, and the owners’ manuals, warranty
  23   booklets, product brochures, advertisements, and other promotional materials for
  24   the Class Vehicles.
  25         703. The Vehicle Manufacturer Defendants’ representations were false and
  26   misleading because the Class Vehicles came equipped with defective ACUs that are
  27   vulnerable to EOS, which in turn can prevent deployment of the airbags and
  28   seatbelt pretensioners during a crash.
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   1         704. The Vehicle Manufacturer Defendants knew the representations were
   2   false and intended that Plaintiffs and Class members to rely on them.
   3         705. These misrepresentations were material to Plaintiffs’ and Class
   4   members’ decision to acquire the Class Vehicles.
   5         706. Each Plaintiff decided to acquire a Class Vehicle based in part on the
   6   Vehicle Manufacturer Defendants’ representations regarding the safety of the Class
   7   Vehicles and the effectiveness of their Occupant Restraint Systems, and/or the
   8   Vehicle Manufacturer Defendants presenting themselves as reputable
   9   manufacturers that value safety.
  10                b.    Fraudulent Concealment: Vehicle Safety Representations
  11         707. Plaintiffs assert this fraudulent concealment theory on behalf of
  12   themselves and the Nationwide Class or, in the alternative, on behalf of the State
  13   Subclasses, against the Vehicle Manufacturer Defendants.
  14         708. The Vehicle Manufacturer Defendants made pervasive and consistent
  15   representations regarding the safety of the Class Vehicles and the effectiveness of
  16   their Occupant Restraint Systems, including airbags and seatbelts. As detailed
  17   above and in Exhibits 1, 4-7, 9-10, 12-13, 15-16, 17, and 19, the Vehicle
  18   Manufacturer Defendants made these representations through the statutory
  19   certifications to dealers and distributors, readiness indicators, Monroney labels,
  20   owners’ manuals, warranty booklets, product brochures, advertisements, and other
  21   promotional materials for the Class Vehicles. These statements represented that the
  22   Class Vehicles were safe and that the Occupant Restraint Systems in the Class
  23   Vehicles, including the seatbelts and airbags, would function properly in a crash.
  24         709. The Vehicle Manufacturer Defendants concealed and suppressed
  25   material facts regarding the Class Vehicles, including the fact that the vehicles
  26   contained defective ACUs that are vulnerable to EOS, which in turn can prevent
  27   deployment of the airbags and seatbelt pretensioners during a crash. These
  28   concealed, suppressed facts were material because a reasonable consumer would

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   1   have expected that their vehicle had working airbags and seatbelt pretensioners, and
   2   would rely on those facts in deciding whether to purchase, lease, or retain a new or
   3   used motor vehicle. Whether a manufacturer’s products are safe and reliable, and
   4   whether that manufacturer stands behind its products, are material concerns to a
   5   consumer.
   6         710. Plaintiffs and Class Members did not know that their Class Vehicles
   7   contained defective ACUs vulnerable to EOS, and could not have discovered these
   8   concealed facts through reasonably diligent investigation.
   9         711. The Vehicle Manufacturer Defendants had a duty to disclose the ACU
  10   Defect because their omission related to a safety hazard and because Defendants:
  11                a.    had exclusive and/or far superior knowledge and access to the
  12                      material, suppressed facts regarding the ACU Defect;
  13                b.    affirmatively and intentionally concealed the material facts from
  14                      Plaintiffs and Class Members; and
  15                c.    knew that the ACU Defect was a material fact that would affect
  16                      Plaintiffs’ and Class members decisions to buy or lease a Class
  17                      Vehicle.
  18         712. Each Plaintiff decided to buy or lease a Class Vehicle based in part on
  19   the Vehicle Manufacturer Defendants’ representations as to the safety of the Class
  20   Vehicles and the effectiveness of their Occupant Restraint Systems.
  21                c.    Fraudulent Concealment: Installing and Concealing the
  22                      Defective ACUs

  23         713. Plaintiffs assert this fraudulent concealment theory on behalf of
  24   themselves and the Nationwide Class or, in the alternative, on behalf of the State
  25   Subclasses, against all Defendants.
  26         714. Each Defendant committed fraud by manufacturing and/or installing
  27   defective ACUs, or component parts thereof, in the Class Vehicles while concealing
  28

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   1   from regulators and consumers that the ACUs were vulnerable to EOS and could
   2   malfunction during a crash.
   3         715. Although the Class Vehicles were marketed as safe cars, Defendants
   4   intentionally concealed, suppressed, and failed to disclose the fact that the Class
   5   Vehicles came equipped with defective ACUs that may cause the vehicles’ airbags
   6   and seatbelt pretensioners to fail during a crash.
   7         716. Moreover, each Defendant knew or should have known the true facts
   8   about this defect due to their involvement in the design, testing, manufacture,
   9   installation, and/or sale of the defective ACUs in the Class Vehicles. And yet, at no
  10   time did any of the Defendants reveal the truth to Plaintiffs or the Class members.
  11   To the contrary, each Defendant concealed the truth, intending for Plaintiffs and
  12   Class members to rely on partial representations and omitted facts when acquiring a
  13   Class Vehicle—which they did.
  14         717. Defendants concealed and suppressed material facts regarding the
  15   Class Vehicles, including the fact that the vehicles contained defective ACUs that
  16   are vulnerable to EOS, which in turn can prevent deployment of the airbags and
  17   seatbelt pretensioners during a crash. These concealed, suppressed facts were
  18   material because a reasonable consumer would have expected that their vehicle had
  19   working airbags and seatbelt pretensioners, and would rely on those facts in
  20   deciding whether to purchase, lease, or retain a new or used motor vehicle. Whether
  21   a manufacturer’s products are safe and reliable, and whether that manufacturer
  22   stands behind its products, are material concerns to a consumer.
  23         718. Plaintiffs and Class Members did not know that their Class Vehicles
  24   contained defective ACUs vulnerable to EOS, and could not have discovered these
  25   concealed facts through reasonably diligent investigation.
  26         719. Defendants had a duty to disclose the ACU Defect because they:
  27                a.     had exclusive and/or far superior knowledge and access to the
  28                       material, suppressed facts regarding the ACU Defect;

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   1                b.     affirmatively and intentionally concealed the ACU Defect from
   2                       Plaintiffs and Class members; and
   3                c.     knew that the ACU Defect was a material fact that would affect
   4                       Plaintiffs’ and Class members decisions to buy or lease a Class
   5                       Vehicle.
   6         *      *      *
   7         720. But for Defendants’ fraud, Plaintiffs and Class members would not
   8   have purchased the Class Vehicles, or would have paid less for them. Plaintiffs and
   9   Class members have suffered damages as a result of Defendants’ fraud because
  10   they have been deprived of the benefit of their bargain in acquiring vehicles with
  11   full functional ACUs, airbags, and seatbelts. Accordingly, Defendants are liable to
  12   Plaintiffs and Class members for damages in an amount to be proven at trial.
  13         721. Defendants’ acts were done wantonly, maliciously, oppressively,
  14   deliberately, with intent to defraud; in reckless disregard of the rights of Plaintiffs
  15   and the Class; and to enrich themselves. Their misconduct warrants an assessment
  16   of punitive damages in an amount sufficient to deter such conduct in the future,
  17   which amount shall be determined according to proof at trial.
  18         viii. Nationwide Count 8: Unjust Enrichment on Behalf of the
  19               Nationwide Class against the Vehicle Manufacturer Defendants
             722. Plaintiffs reallege and incorporate by reference all preceding
  20
       allegations as though fully set forth herein.
  21
             723. Plaintiffs assert this Unjust Enrichment count on behalf of themselves
  22
       and the Nationwide Class or, in the alternative, on behalf of the State Subclasses,
  23
       against the Vehicle Manufacturer Defendants.
  24
             724. By reason of their conduct, the Vehicle Manufacturer Defendants
  25
       caused damages to Plaintiffs and Class members.
  26
             725. Plaintiffs and Class members conferred a benefit on the Vehicle
  27
       Manufacturer Defendants by overpaying for Class Vehicles at prices that were
  28

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   1   artificially inflated by the Vehicle Manufacturer Defendants’ misrepresentations
   2   regarding the Class Vehicles’ safety, and concealment of the ACU Defect.
   3         726. As a result of the Vehicle Manufacturer Defendants’ fraud and
   4   deception, Plaintiffs and Class members were not aware of the true facts concerning
   5   the Class Vehicles and did not benefit from the Vehicle Manufacturer Defendants’
   6   misconduct.
   7         727. The Vehicle Manufacturer Defendants knowingly benefitted from their
   8   unjust conduct. They sold and leased Class Vehicles equipped with defective ACUs
   9   for more than what the vehicles were worth, at the expense of Plaintiffs and Class
  10   members.
  11         728. The Vehicle Manufacturer Defendants readily accepted and retained
  12   these benefits from Plaintiffs and Class members.
  13         729. It is inequitable and unconscionable for the Vehicle Manufacturer
  14   Defendants to retain these benefits because they misrepresented that the Class
  15   Vehicles were safe, and intentionally concealed, suppressed, and failed to disclose
  16   the ACU Defect from consumers. Plaintiffs and Class members would not have
  17   purchased or leased the Class Vehicles, or would have paid less for them, had the
  18   Vehicle Manufacturer Defendants not concealed the ACU Defect.
  19         730. Plaintiffs and Class members do not have an adequate remedy at law.
  20         731. Equity cannot in good conscience permit the Vehicle Manufacturer
  21   Defendants to retain the benefits that they derived from Plaintiffs and Class
  22   members through unjust and unlawful acts, and therefore restitution or
  23   disgorgement of the amount of the Vehicle Manufacturer Defendants’ unjust
  24   enrichment is necessary.
  25
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   1   B.    State-Specific Claims
   2         i.     Alabama
   3                a.     Alabama Count 1: Breach of Express Warranty (Ala. Code
   4                       §§ 7-2-313 and 7-2a-210) Against the Honda Defendants
   5         732. Plaintiffs reallege and incorporate by reference all preceding

   6   allegations as though fully set forth herein.

   7         733. Plaintiff Sigfredo Rubio (hereinafter, “Alabama Plaintiff”) brings this

   8   count individually and on behalf of members of the Alabama State Class who

   9   purchased or leased Honda Class Vehicles, against the Honda Defendants.

  10         734. The Honda Defendants are and were at all relevant times “merchants”

  11   with respect to motor vehicles under Ala. Code §§ 7-2-104(1) and 7-2A-103(3),

  12   “sellers” of motor vehicles under § 7-2-103(1)(d).

  13         735. With respect to leases, the Honda Defendants are and were at all

  14   relevant times “lessors” of motor vehicles under Ala. Code § 7-2A-103(1)(p).

  15         736. All Alabama State Class members who purchased Honda Class

  16   Vehicles in Alabama are “buyers” within the meaning of Ala. Code § 7-2-

  17   103(1)(a).

  18         737. All Alabama State Class Members who leased Honda Class Vehicles

  19   in Alabama are “lessees” within the meaning of Ala. Code § 7-2A-103(1)(n).

  20         738. The Honda Class Vehicles are and were at all relevant times “goods”

  21   within the meaning of Ala. Code §§ 7-2-105(1) and 7-2A-103(1)(h).

  22         739. In connection with the purchase or lease of Honda Class Vehicles, the

  23   Honda Defendants provided the Alabama Plaintiff and Alabama State Class

  24   members with written express warranties covering the repair or replacement of

  25   components that are defective in materials or workmanship.

  26         740. The Honda Defendants’ warranties formed the basis of the bargain that

  27   was reached when the Alabama Plaintiff and Alabama State Class members

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   1   unknowingly purchased or leased Honda Class Vehicles that came equipped with a
   2   defective ACU.
   3             741. However, the Honda Defendants knew or should have known that the
   4   warranties were false and/or misleading. Specifically, the Honda Defendants were
   5   aware of the ACU defect in the Honda Class Vehicles, which made the vehicles
   6   inherently defective and dangerous at the time that they were sold and leased to the
   7   Alabama Plaintiff and Alabama State Class members.
   8             742. The Alabama Plaintiff and Alabama State Class members reasonably
   9   relied on the Honda Defendants’ express warranties when purchasing or leasing
  10   their Honda Class Vehicles.
  11             743. The Honda Defendants knowingly breached their express warranties to
  12   repair defects in materials and workmanship by failing to repair the ACU defect or
  13   replace the defective ACUs in the Honda Class Vehicles. The Honda Defendants
  14   also breached their express warranties by providing a product containing defects
  15   that were never disclosed to the Alabama Plaintiff and Alabama State Class
  16   members.
  17             744. The Alabama Plaintiff and Alabama State Class members have
  18   provided the Honda Defendants with reasonable notice and opportunity to cure the
  19   breaches of their express warranties by way of the numerous NHTSA complaints
  20   filed against them, and the individual notice letters sent by Alabama State Class
  21   members within a reasonable amount of time after the ACU defect became public.
  22   Additionally, a notice letter was sent on behalf of the Alabama Plaintiff and
  23   Alabama State Class members to FCA US LLC, Honda Defendants, Hyundai
  24   Defendants, Kia Defendants, Mitsubishi Motors North America, Inc., Toyota
  25   Defendants, Hyundai MOBIS Co. Ltd., and ZF TRW Defendants on April 24,
  26   2020.
  27             745. Alternatively, any opportunity to cure the breach is unnecessary and
  28   futile.

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   1         746. As a direct and proximate result of the Honda Defendants’ breach of
   2   their express warranties, the Alabama Plaintiff and Alabama State Class members
   3   have been damaged in an amount to be proven at trial.
   4                b.     Alabama Count 2: Breach of Implied Warranty of
   5                       Merchantability (Ala. Code §§ 7-2-314 and 7-2a-212)
                           Against the Honda Defendants
   6         747. Plaintiffs reallege and incorporate by reference all preceding
   7   allegations as though fully set forth herein.
   8         748. The Alabama Plaintiff brings this count individually and on behalf of
   9   members of the Alabama State Class who purchased or leased Honda Class
  10   Vehicles, against the Honda Defendants.
  11         749. A warranty that the Honda Class Vehicles were in merchantable
  12   condition and fit for the ordinary purpose for which such goods are used is implied
  13   by law pursuant to Ala. Code §§ 7-2-314 and 7-2A-212.
  14         750. The Honda Class Vehicles did not comply with the implied warranty
  15   of merchantability because, at the time of sale and at all times thereafter, they were
  16   defective and not in merchantable condition, would not pass without objection in
  17   the trade, and were not fit for the ordinary purpose for which vehicles were used.
  18   Specifically, the Honda Class Vehicles suffer from the ACU defect, which may
  19   cause the airbags and seatbelt pretensioners to fail to deploy during an accident,
  20   rendering the Honda Class Vehicles inherently defective and dangerous.
  21         751. The Honda Defendants are and were at all relevant times “merchants”
  22   with respect to motor vehicles Ala. Code §§ 7-2-104(1) and 7-2A-103(3), and
  23   “sellers” of motor vehicles under § 7-2-103(1)(d).
  24         752. With respect to leases, the Honda Defendants are and were at all
  25   relevant times “lessors” of motor vehicles under Ala. Code § 7-2A-103(1)(p).
  26         753. All Alabama State Class members who purchased Honda Class
  27   Vehicles in Alabama are “buyers” within the meaning of Ala. Code § 7-2-
  28   103(1)(a).
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   1             754. All Alabama State Class members who leased Honda Class Vehicles
   2   in Alabama are “lessees” within the meaning of Ala. Code 7-2A-103(1)(n).
   3             755. The Honda Class Vehicles were at all relevant times “goods” within
   4   the meaning of Ala. Code §§ 7-2-105(1) and 7-2A-103(1)(h).
   5             756. The Alabama Plaintiff and Alabama State Class members have
   6   provided the Honda Defendants with reasonable notice and opportunity to cure the
   7   breaches of their implied warranties by way of the numerous NHTSA complaints
   8   filed against them, and the individual notice letters sent by Alabama State Class
   9   members within a reasonable amount of time after the ACU defect became public.
  10   Additionally, a notice letter was sent on behalf of the Alabama Plaintiff and
  11   Alabama State Class members to FCA US LLC, Honda Defendants, Hyundai
  12   Defendants, Kia Defendants, Mitsubishi Motors North America, Inc., Toyota
  13   Defendants, Hyundai MOBIS Co. Ltd., and ZF TRW Defendants on April 24,
  14   2020.
  15             757. Alternatively, any opportunity to cure the breach is unnecessary and
  16   futile.
  17             758. As a direct and proximate result of the Honda Defendants’ breach of
  18   the implied warranty of merchantability, the Alabama Plaintiff and Alabama State
  19   Class members have been damaged in an amount to be proven at trial.
  20                   c.    Alabama Count 3: Violation of the Alabama Deceptive
  21                         Trade Practices Act (Ala. Code §§ 8-19-1, et seq.) Against the
                             Honda Defendants
  22             759. Plaintiffs reallege and incorporate by reference all preceding
  23   allegations as though fully set forth herein.
  24             760. The Alabama Plaintiff brings this count individually and on behalf of
  25   members of the Alabama State Class who purchased or leased Honda Class
  26   Vehicles, against the Honda Defendants.
  27             761. The Honda Defendants, the Alabama Plaintiff, and Alabama State
  28   Class members are “persons” within the meaning of Ala. Code § 8-19-3(5).
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   1           762. The Alabama Plaintiff and Alabama State Class members are
   2   “consumers” within the meaning of Ala. Code § 8-19-3(2).
   3           763. The Honda Class Vehicles and ACUs installed in them are “goods”
   4   within the meaning of Ala. Code. § 8-19-3(3).
   5           764. The Honda Defendants were and are engaged in “trade or commerce”
   6   within the meaning of Ala. Code § 8-19-3(8).
   7           765. The Alabama Deceptive Trade Practices Act (“Alabama DTPA”)
   8   prohibits “deceptive acts or practices in the conduct of any trade or commerce[.]”
   9   Ala. Code § 8-19-5.
  10           766. In the course of their business, the Honda Defendants, through their
  11   agents, employees, and/or subsidiaries, violated the Alabama DTPA by knowingly
  12   and intentionally misrepresenting, omitting, concealing, and/or failing to disclose
  13   material facts regarding the reliability, safety, and performance of the Honda Class
  14   Vehicles and/or the defective ACUs, as detailed above.
  15           767. Specifically, by misrepresenting the Honda Class Vehicles and/or the
  16   defective ACUs installed in them as safe and/or free from defects, and by failing to
  17   disclose and actively concealing the dangers and risk posed by the Honda Class
  18   Vehicles and/or the ACU defect, the Honda Defendants engaged in one or more of
  19   the following unfair or deceptive business practices prohibited by Ala. Code § 8-
  20   19-5:
  21                 a.    Causing likelihood of confusion or of misunderstanding as to the
  22                       approval or certification of the Honda Class Vehicles;
  23                 b.    Representing that the Honda Class Vehicles and/or the defective
  24                       ACUs installed in them have characteristics, uses, benefits, and
  25                       qualities which they do not have;
  26                 c.    Representing that the Honda Class Vehicles and/or the defective
  27                       ACUs installed in them are of a particular standard, quality, and
  28                       grade when they are not;

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   1                d.     Advertising the Honda Class Vehicles and/or the defective
   2                       ACUs installed in them with the intent not to sell or lease them
   3                       as advertised; and
   4                e.     Engaging in unconscionable, false, misleading, and deceptive
   5                       acts and practices in the conduct of trade or commerce
   6                       pertaining to the Honda Class Vehicles and/or the defective
   7                       ACUs installed in them.
   8          Ala. Code §§ 8-19-5(2), (5), (7), (9) and (27).
   9          768. The Honda Defendants’ unfair or deceptive acts or practices, including
  10   their misrepresentations, concealments, omissions, and suppressions of material
  11   facts, had a tendency or capacity to mislead and create a false impression in
  12   consumers, and were likely to and did in fact deceive reasonable consumers,
  13   including the Alabama Plaintiff and Alabama State Class members, about the true
  14   safety and reliability of Honda Class Vehicles and/or the defective ACUs installed
  15   in them, the quality of the Honda Class Vehicles, and the true value of the Honda
  16   Class Vehicles.
  17          769. The Honda Defendants’ scheme and concealment of the ACU defect
  18   and true characteristics of the Occupant Restraint Systems in the Honda Class
  19   Vehicles were material to the Alabama Plaintiff and Alabama State Class members,
  20   as the Honda Defendants intended. Had they known the truth, the Alabama Plaintiff
  21   and Alabama State Class members would not have purchased or leased the Honda
  22   Class Vehicles, or would have paid significantly less for them.
  23          770. The Alabama Plaintiff and Alabama State Class members had no way
  24   of discerning that the Honda Defendants’ representations were false and
  25   misleading, or otherwise learning the facts that the Honda Defendants had
  26   concealed or failed to disclose. The Alabama Plaintiff and Alabama State Class
  27   members did not, and could not, unravel the Honda Defendants’ deception on their
  28   own.

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   1         771. The Honda Defendants had an ongoing duty to the Alabama Plaintiff
   2   and Alabama State Class members to refrain from unfair or deceptive practices
   3   under the Alabama DTPA in the course of their business. Specifically, the Honda
   4   Defendants owed the Alabama Plaintiff and Alabama State Class members a duty
   5   to disclose all the material facts concerning the ACU defect in the Honda Class
   6   Vehicles because they possessed exclusive knowledge, they intentionally concealed
   7   the ACU defect from the Alabama Plaintiff and Alabama State Class members,
   8   and/or they made misrepresentations that were rendered misleading because they
   9   were contradicted by withheld facts.
  10         772. The Alabama Plaintiff and Alabama State Class members suffered
  11   ascertainable losses and actual damages as a direct and proximate result of the
  12   Honda Defendants’ concealment, misrepresentations, and/or failure to disclose
  13   material information.
  14         773. The Honda Defendants’ violations present a continuing risk to the
  15   Alabama Plaintiff and Alabama State Class members, as well as to the general
  16   public. The Honda Defendants’ unlawful acts and practices complained of herein
  17   affect the public interest.
  18         774. The Honda Defendants were provided notice of the issues raised in this
  19   count and this Complaint by the NHTSA investigations, the numerous complaints
  20   filed against them, and the individual notice letters sent by Alabama State Class
  21   members within a reasonable amount of time after the ACU defect became public.
  22   Additionally, a notice letter was sent on behalf of the Alabama Plaintiff and
  23   Alabama State Class members pursuant to Ala. Code § 8-19-10(e) to FCA US LLC,
  24   Honda Defendants, Hyundai Defendants, Kia Defendants, Mitsubishi Motors North
  25   America, Inc., Toyota Defendants, Hyundai MOBIS Co. Ltd., and ZF TRW
  26   Defendants on April 24, 2020. Because the Honda Defendants failed to adequately
  27   remedy their unlawful conduct within the requisite time period, the Alabama
  28

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   1   Plaintiff seeks all damages and relief to which the Alabama Plaintiff and Alabama
   2   State Class members are entitled.
   3         775.    Pursuant to Ala. Code § 8-19-10, the Alabama Plaintiff and the
   4   Alabama State Class members seek an order enjoining the Honda Defendants’
   5   unfair or deceptive acts and/or practices and awarding damages and any other just
   6   and proper relief available under the Alabama DTPA.
   7                 d.    Alabama Count 4: Violation of the Alabama Deceptive
   8                       Trade Practices Act (Ala. Code §§ 8-19-1, et seq.) Against the
                           ZF TRW and STMicro Defendants
   9         776. Plaintiffs reallege and incorporate by reference all preceding
  10   allegations as though fully set forth herein.
  11         777. The Alabama Plaintiff brings this count individually and on behalf of
  12   members of the Alabama State Class against the ZF TRW and STMicro
  13   Defendants.
  14         778. The ZF TRW Defendants, the STMicro Defendants, the Alabama
  15   Plaintiff, and Alabama State Class members are “persons” within the meaning of
  16   Ala. Code § 8-19-3(5).
  17         779. The Alabama Plaintiff and Alabama State Class members are
  18   “consumers” within the meaning of Ala. Code § 8-19-3(2).
  19         780. The Class Vehicles and ACUs installed in them are “goods” within the
  20   meaning of Ala. Code. § 8-19-3(3).
  21         781. The ZF TRW and STMicro Defendants were and are engaged in “trade
  22   or commerce” within the meaning of Ala. Code § 8-19-3(8).
  23         782. The Alabama Deceptive Trade Practices Act (“Alabama DTPA”)
  24   prohibits “deceptive acts or practices in the conduct of any trade or commerce[.]”
  25   Ala. Code § 8-19-5.
  26         783. In the course of their business, the ZF TRW and STMicro Defendants,
  27   through their agents, employees, and/or subsidiaries, violated the Alabama DTPA
  28   by knowingly and intentionally omitting, concealing, and failing to disclose
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   1   material facts regarding the existence, nature, and scope of the defect with ZF TRW
   2   ACUs installed in the Class Vehicles, as detailed above.
   3          784. Specifically, by failing to disclose and actively concealing the dangers
   4   and risk posed by the Class Vehicles due to the ACU defect, the ZF TRW and
   5   STMicro Defendants engaged in deceptive acts or practices prohibited by Ala.
   6   Code § 8-19-5, including engaging in unconscionable, false, misleading, and/or
   7   deceptive acts or practices in the conduct of trade or commerce.
   8          785. The ZF TRW and STMicro Defendants’ unfair or deceptive acts or
   9   practices, including their concealments, omissions, and suppressions of material
  10   facts, had a tendency or capacity to mislead and create a false impression in
  11   consumers, and were likely to and did in fact deceive reasonable consumers,
  12   including the Alabama Plaintiff and Alabama State Class members, about the true
  13   safety and reliability of Class Vehicles and/or the defective ACUs installed in them.
  14          786. The ZF TRW and STMicro Defendants’ scheme and concealment of
  15   the ACU defect and true characteristics of the defective ACUs in the Class Vehicles
  16   were material to the Alabama Plaintiff and Alabama State Class members, as the
  17   ZF TRW and STMicro Defendants intended. Had they known the truth, the
  18   Alabama Plaintiff and Alabama State Class members would not have purchased or
  19   leased the Class Vehicles, or would have paid significantly less for them.
  20          787. The Alabama Plaintiff and Alabama State Class members had no way
  21   of learning the facts that the ZF TRW and STMicro Defendants had concealed or
  22   failed to disclose. The Alabama Plaintiff and Alabama State Class members did not,
  23   and could not, unravel the ZF TRW and STMicro Defendants’ deception on their
  24   own.
  25          788. The ZF TRW and STMicro Defendants had an ongoing duty to the
  26   Alabama Plaintiff and Alabama State Class members to refrain from unfair or
  27   deceptive practices under the Alabama DTPA in the course of their business.
  28   Specifically, the ZF TRW and STMicro Defendants owed the Alabama Plaintiff

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   1   and Alabama State Class members a duty to disclose all the material facts
   2   concerning the ACU defect in the Class Vehicles because they possessed exclusive
   3   knowledge and they intentionally concealed the ACU defect from the Alabama
   4   Plaintiff and Alabama State Class members.
   5         789. The Alabama Plaintiff and Alabama State Class members suffered
   6   ascertainable losses and actual damages as a direct and proximate result of the ZF
   7   TRW and STMicro Defendants’ concealment and/or failure to disclose material
   8   information.
   9         790. The ZF TRW and STMicro Defendants’ violations present a
  10   continuing risk to the Alabama Plaintiff and Alabama State Class members, as well
  11   as to the general public. The ZF TRW and STMicro Defendants’ unlawful acts and
  12   practices complained of herein affect the public interest.
  13         791. The ZF TRW and STMicro Defendants were provided notice of the
  14   issues raised in this count and this Complaint by the NHTSA investigations, the
  15   numerous complaints filed against them, and the individual notice letters sent by
  16   Alabama State Class members within a reasonable amount of time after the
  17   allegations of Class Vehicle defects became public. Additionally, a notice letter was
  18   sent on behalf of the Alabama Plaintiff and Alabama State Class members pursuant
  19   to Ala. Code § 8-19-10(e) to FCA US LLC, Honda Defendants, Hyundai
  20   Defendants, Kia Defendants, Mitsubishi Motors North America, Inc., Toyota
  21   Defendants, Hyundai MOBIS Co., Ltd., and ZF TRW Defendants on April 24,
  22   2020. Because Defendants failed to adequately remedy their unlawful conduct
  23   within the requisite time period, the Alabama Plaintiff seeks all damages and relief
  24   to which the Alabama Plaintiff and Alabama State Class members are entitled.
  25         792. Alternatively, any requirement to give notice to the Defendants under
  26   Ala. Code § 8-19-10(e) is excused because, inter alia, on information and belief the
  27   ZF TRW and STMicro Defendants do not maintain a place of business or do not
  28   keep assets within Alabama.

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   1         793.    Pursuant to Ala. Code § 8-19-10, the Alabama Plaintiff and Alabama
   2   State Class members seek an order enjoining the ZF TRW and STMicro
   3   Defendants’ unfair or deceptive acts and/or practices and awarding damages and
   4   any other just and proper relief available under the Alabama DTPA.
   5         ii.     Arizona
   6                 a.    Arizona Count 1: Breach of Express Warranty (Ariz. Rev.
   7                       Stat. Ann. §§ 47-2313 and 47-2A210) Against the FCA
                           Defendants
   8
             794. Plaintiffs reallege and incorporate by reference all preceding
   9
       allegations as though fully set forth herein.
  10
             795. Plaintiff James Kneup (hereinafter, “Arizona Plaintiff”) brings this
  11
       count individually and on behalf of members of the Arizona State Class who
  12
       purchased or leased FCA Class Vehicles, against the FCA Defendants.
  13
             796. The FCA Defendants are and were at all relevant times “merchants”
  14
       with respect to motor vehicles under Ariz. Rev. Stat. Ann. §§ 47-2104(A) and 47-
  15
       2A103(C)(11), and “sellers” of motor vehicles under § 47-2103(A)(4).
  16
             797. With respect to leases, the FCA Defendants are and were at all relevant
  17
       times “lessors” of motor vehicles under Ariz. Rev. Stat. Ann. § 47-2a103(A)(16).
  18
             798. All Arizona State Class members who purchased FCA Class Vehicles
  19
       in Arizona are “buyers” within the meaning of Ariz. Rev. Stat. Ann. § 47-
  20
       2103(A)(1).
  21
             799.    All Arizona State Class members who leased FCA Class Vehicles in
  22
       Arizona are “lessees” within the meaning of Ariz. Rev. Stat. Ann. § 47-
  23
       2A103(A)(14).
  24
             800. The FCA Class Vehicles are and were at all relevant times “goods”
  25
       within the meaning of Ariz. Rev. Stat. Ann. §§ 47-2105(A) and 47-2A103(A)(8).
  26
             801. In connection with the purchase or lease of FCA Class Vehicles, the
  27
       FCA Defendants provided the Arizona Plaintiff and Arizona State Class members
  28

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   1   with written express warranties covering the repair or replacement of components
   2   that are defective in materials or workmanship.
   3         802. The FCA Defendants’ warranties formed the basis of the bargain that
   4   was reached when the Arizona Plaintiff and Arizona State Class members
   5   unknowingly purchased or leased FCA Class Vehicles that came equipped with a
   6   defective ACU.
   7         803. However, the FCA Defendants knew or should have known that the
   8   warranties were false and/or misleading. Specifically, the FCA Defendants were
   9   aware of the ACU defect in the FCA Class Vehicles, which made the vehicles
  10   inherently defective and dangerous at the time that they were sold and leased to the
  11   Arizona Plaintiff and Arizona State Class members.
  12         804. The Arizona Plaintiff and Arizona State Class members reasonably
  13   relied on the FCA Defendants’ express warranties when purchasing or leasing their
  14   FCA Class Vehicles.
  15         805. The FCA Defendants knowingly breached their express warranties to
  16   repair defects in materials and workmanship by failing to repair the ACU defect or
  17   replace the defective ACUs in the FCA Class Vehicles. The FCA Defendants also
  18   breached their express warranties by providing a product containing defects that
  19   were never disclosed to the Arizona Plaintiff and Arizona State Class members.
  20         806. The Arizona Plaintiff and Arizona State Class members have provided
  21   the FCA Defendants with reasonable notice and opportunity to cure the breaches of
  22   their express warranties by way of the numerous NHTSA complaints filed against
  23   them, and the individual notice letters sent by Arizona State Class members within
  24   a reasonable amount of time after the ACU defect became public. Additionally, a
  25   notice letter was sent on behalf of the Arizona Plaintiff and Arizona State Class
  26   members to FCA US LLC, Honda Defendants, Hyundai Defendants, Kia
  27   Defendants, Mitsubishi Motors North America, Inc., Toyota Defendants, Hyundai
  28   MOBIS Co. Ltd., and ZF TRW Defendants on April 24, 2020.

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   1             807. Alternatively, any opportunity to cure the breach is unnecessary and
   2   futile.
   3             808. As a direct and proximate result of the FCA Defendants’ breach of
   4   their express warranties, the Arizona Plaintiff and Arizona State Class members
   5   have been damaged in an amount to be proven at trial.
   6                   b.    Arizona Count 2: Breach of Implied Warranty of
   7                         Merchantability (Ariz. Rev. Stat. Ann. §§ 47-2314 and 47-
                             2a212) Against the FCA Defendants
   8             809. Plaintiffs reallege and incorporate by reference all preceding
   9   allegations as though fully set forth herein.
  10             810. The Arizona Plaintiff brings this count individually and on behalf of
  11   members of the Arizona State Class who purchased or leased FCA Class Vehicles,
  12   against the FCA Defendants.
  13             811. A warranty that the FCA Class Vehicles were in merchantable
  14   condition and fit for the ordinary purpose for which such goods are used is implied
  15   by law pursuant to Ariz. Rev. Stat. Ann. §§ 47-2314 and 47-2A212.
  16             812. The FCA Class Vehicles did not comply with the implied warranty of
  17   merchantability because, at the time of sale and at all times thereafter, they were
  18   defective and not in merchantable condition, would not pass without objection in
  19   the trade, and were not fit for the ordinary purpose for which vehicles were used.
  20   Specifically, the FCA Class Vehicles suffer from the ACU defect, which may cause
  21   the airbags and seatbelt pretensioners to fail to deploy during an accident, rendering
  22   the FCA Class Vehicles inherently defective and dangerous.
  23             813. The FCA Defendants are and were at all relevant times “merchants”
  24   with respect to motor vehicles under Ariz. Rev. Stat. Ann. §§ 47-2104(A) and 47-
  25   2A103(C)(11), and “sellers” of motor vehicles under § 47-2103(A)(4).
  26             814. With respect to leases, the FCA Defendants are and were at all relevant
  27   times “lessors” of motor vehicles under Ariz. Rev. Stat. Ann. § 47-2a103(A)(16).
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   1             815. All Arizona State Class members who purchased FCA Class Vehicles
   2   in Arizona are “buyers” within the meaning of Ariz. Rev. Stat. Ann. § 47-
   3   2103(A)(1).
   4             816.   All Arizona State Class members who leased FCA Class Vehicles in
   5   Arizona are “lessees” within the meaning of Ariz. Rev. Stat. Ann. § 47-
   6   2a103(A)(14).
   7             817. The FCA Class Vehicles are and were at all relevant times “goods”
   8   within the meaning of Ariz. Rev. Stat. Ann. §§ 47-2105(A) and 47-2A103(A)(8).
   9             818. The Arizona Plaintiff and Arizona State Class members have provided
  10   the FCA Defendants with reasonable notice and opportunity to cure the breaches of
  11   their implied warranties by way of the numerous NHTSA complaints filed against
  12   them, and individual notice letters sent by Arizona State Class members within a
  13   reasonable amount of time after the ACU defect became public. Additionally, a
  14   notice letter was sent on behalf of the Arizona Plaintiff and Arizona State Class
  15   members to FCA US LLC, Honda Defendants, Hyundai Defendants, Kia
  16   Defendants, Mitsubishi Motors North America, Inc., Toyota Defendants, Hyundai
  17   MOBIS Co. Ltd., and ZF TRW Defendants on April 24, 2020.
  18             819. Alternatively, any opportunity to cure the breach is unnecessary and
  19   futile.
  20             820. As a direct and proximate result of the FCA Defendants’ breach of the
  21   implied warranty of merchantability, the Arizona Plaintiff and Arizona State Class
  22   members have been damaged in an amount to be proven at trial.
  23                    c.   Arizona Count 3: Violation of the Arizona Consumer Fraud
  24                         Act (Ariz. Rev. Stat. Ann. § 44-1521, et seq.) Against the
                             FCA Defendants
  25             821. Plaintiffs reallege and incorporate by reference all preceding
  26   allegations as though fully set forth herein.
  27
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   1         822. The Arizona Plaintiff brings this count individually and on behalf of
   2   members of the Arizona State Class who purchased or leased FCA Class Vehicles,
   3   against the FCA Defendants.
   4         823. The FCA Defendants, the Arizona Plaintiff, and Arizona State Class
   5   members are “persons” within the meaning of Ariz. Rev. Stat. Ann. § 44-1521(6).
   6         824. The FCA Class Vehicles and ACUs installed in them are
   7   “merchandise” within the meaning of Ariz. Rev. Stat. Ann § 44-1521(5).
   8         825. The Arizona Consumer Fraud Act (“Arizona CFA”) prohibits unlawful
   9   business practices. Ariz. Rev. Stat. Ann § 44-1522(A).
  10         826. In the course of their business, the FCA Defendants, through their
  11   agents, employees, and/or subsidiaries, violated the Arizona CFA by knowingly
  12   and intentionally misrepresenting, omitting, concealing, and/or failing to disclose
  13   material facts regarding the reliability, safety, and performance of the FCA Class
  14   Vehicles and/or the defective ACUs, as detailed above.
  15         827. Specifically, by misrepresenting the FCA Class Vehicles and/or the
  16   defective ACUs installed in them as safe and/or free from defects, and by failing to
  17   disclose and actively concealing the dangers and risk posed by the FCA Class
  18   Vehicles and/or the ACU defect, the FCA Defendants engaged in deceptive acts or
  19   practices, as outlined in Ariz. Rev. Stat. § 44-1522(A), including using or
  20   employing deception, fraud, false pretense, false promise or misrepresentation, or
  21   the concealment, suppression or omission of a material fact with intent that others
  22   rely upon such concealment, suppression, or omission, in connection with the
  23   advertisement and sale or lease of the FCA Class Vehicles.
  24         828. The FCA Defendants’ unfair or deceptive acts or practices, including
  25   misrepresentations, concealments, omissions, and suppressions of material facts,
  26   had a tendency or capacity to mislead and create a false impression in consumers,
  27   and were likely to and did in fact deceive reasonable consumers, including the
  28   Arizona Plaintiff and Arizona State Class members, about the true safety and

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   1   reliability of FCA Class Vehicles and/or the defective ACUs installed in them, the
   2   quality of the FCA Class Vehicles, and the true value of the FCA Class Vehicles.
   3         829. The FCA Defendants’ scheme and concealment of the ACU defect and
   4   true characteristics of the Occupant Restraint Systems in the FCA Class Vehicles
   5   were material to the Arizona Plaintiff and Arizona State Class members, as the
   6   FCA Defendants intended. Had they known the truth, the Arizona Plaintiff and
   7   Arizona State Class members would not have purchased or leased the FCA Class
   8   Vehicles, or would have paid significantly less for them.
   9         830. The Arizona Plaintiff and Arizona State Class members had no way of
  10   discerning that the FCA Defendants’ representations were false and misleading, or
  11   otherwise learning the facts that the FCA Defendants had concealed or failed to
  12   disclose. The Arizona Plaintiff and Arizona State Class members did not, and could
  13   not, unravel the FCA Defendants’ deception on their own.
  14         831. The FCA Defendants had an ongoing duty to the Arizona Plaintiff and
  15   Arizona State Class members to refrain from unfair or deceptive practices under the
  16   Arizona CFA in the course of their business. Specifically, the FCA Defendants
  17   owed the Arizona Plaintiff and Arizona State Class members a duty to disclose all
  18   the material facts concerning the ACU defect in the FCA Class Vehicles because
  19   they possessed exclusive knowledge, they intentionally concealed the ACU defect
  20   from Plaintiff and the Arizona State Class members, and/or they made
  21   misrepresentations that were rendered misleading because they were contradicted
  22   by withheld facts.
  23         832. The Arizona Plaintiff and Arizona State Class members suffered
  24   ascertainable losses and actual damages as a direct and proximate result of the FCA
  25   Defendants’ concealment, misrepresentations, and/or failure to disclose material
  26   information.
  27         833. The FCA Defendants’ violations present a continuing risk to the
  28   Arizona Plaintiff and Arizona State Class members, as well as to the general public.

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   1   The FCA Defendants’ unlawful acts and practices complained of herein affect the
   2   public interest.
   3          834. The Arizona Plaintiff and Arizona State Class members seek an order
   4   enjoining the FCA Defendants’ unfair and/or deceptive acts or practices and
   5   awarding damages and any other just and proper relief available under the Arizona
   6   CFA.
   7                d.     Arizona Count 4: Violation of the Arizona Consumer Fraud
   8                       Act (Ariz. Rev. Stat. Ann. § 44-1521, et seq.) Against the ZF
                           TRW and STMicro Defendants
   9          835. Plaintiffs reallege and incorporate by reference all preceding
  10   allegations as though fully set forth herein.
  11          836. The Arizona Plaintiff brings this count individually and on behalf of
  12   members of the Arizona State Class against the ZF TRW and STMicro Defendants.
  13          837. The ZF TRW Defendants, the STMicro Defendants, the Arizona
  14   Plaintiff, and Arizona State Class members are “persons” within the meaning of
  15   Ariz. Rev. Stat. Ann. § 44-1521(6).
  16          838. The Class Vehicles and ACUs installed in them are “merchandise”
  17   within the meaning of Ariz. Rev. Stat. Ann § 44-1521(5).
  18          839. The Arizona Consumer Fraud Act (“Arizona CFA”) prohibits unlawful
  19   business practices. Ariz. Rev. Stat. Ann § 44-1522(A).
  20          840. In the course of their business the ZF TRW and STMicro Defendants,
  21   through their agents, employees, and/or subsidiaries, violated the Arizona CFA by
  22   knowingly and intentionally omitting, concealing, and failing to disclose material
  23   facts regarding the existence, nature, and scope of the defect with ZF TRW ACUs
  24   installed in the Class Vehicles, as detailed above.
  25          841. Specifically, by failing to disclose and actively concealing the dangers
  26   and risk posed by the Class Vehicles due to the ACU defect, the ZF TRW and
  27   STMicro Defendants engaged in unlawful business practices prohibited by Ariz.
  28   Rev. Stat. § 44-1522(A), including using or employing deception or fraud, and/or
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   1   the concealment, suppression and/or omission of a material fact with intent that
   2   others rely upon such concealment, suppression, or omission.
   3          842. The ZF TRW and STMicro Defendants’ unfair or deceptive acts or
   4   practices, including concealments, omissions, and suppressions of material facts,
   5   had a tendency or capacity to mislead and create a false impression in consumers,
   6   and were likely to and did in fact deceive reasonable consumers, including the
   7   Arizona Plaintiff and Arizona State Class members, about the true safety and
   8   reliability of Class Vehicles and/or the defective ACUs installed in them.
   9          843. The ZF TRW and STMicro Defendants’ scheme and concealment of
  10   the ACU defect and true characteristics of the defective ACUs in the Class Vehicles
  11   were material to the Arizona Plaintiff and Arizona State Class members, as the ZF
  12   TRW and STMicro Defendants intended. Had they known the truth, the Arizona
  13   Plaintiff and Arizona State Class members would not have purchased or leased the
  14   Class Vehicles, or would have paid significantly less for them.
  15          844. The Arizona Plaintiff and Arizona State Class members had no way
  16   learning the facts that the ZF TRW and STMicro Defendants had concealed or
  17   failed to disclose. The Arizona Plaintiff and Arizona State Class members did not,
  18   and could not, unravel the ZF TRW and STMicro Defendants’ deception on their
  19   own.
  20          845. The ZF TRW and STMicro Defendants had an ongoing duty to the
  21   Arizona Plaintiff and Arizona State Class members to refrain from unfair or
  22   deceptive practices under the Arizona CFA in the course of their business.
  23   Specifically, the ZF TRW and STMicro Defendants owed the Arizona Plaintiff and
  24   Arizona State Class members a duty to disclose all the material facts concerning the
  25   ACU defect in the Class Vehicles because they possessed exclusive knowledge and
  26   they intentionally concealed the ACU defect from the Arizona Plaintiff and Arizona
  27   State Class members.
  28

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   1         846. The Arizona Plaintiff and Arizona State Class members suffered
   2   ascertainable losses and actual damages as a direct and proximate result of the ZF
   3   TRW and STMicro Defendants’ concealment and/or failure to disclose material
   4   information.
   5         847. The ZF TRW and STMicro Defendants’ violations present a
   6   continuing risk to the Arizona Plaintiff and Arizona State Class members, as well as
   7   to the general public. The ZF TRW and STMicro Defendants’ unlawful acts and
   8   practices complained of herein affect the public interest.
   9         848. The Arizona Plaintiff and Arizona State Class members seek an order
  10   enjoining the ZF TRW and STMicro Defendants’ unfair and/or deceptive acts or
  11   practices and awarding damages and any other just and proper relief available under
  12   the Arizona CFA.
  13         iii.     California
  14                  a.   California Count 1: Breach of Express Warranty (Cal. Com.
  15                       Code §§ 2313 and 10210) Against the Vehicle Manufacturer
                           Defendants
  16
             849. Plaintiffs reallege and incorporate by reference all preceding
  17
       allegations as though fully set forth herein.
  18
             850. Plaintiffs Remigiusz Rundzio and Steve Laveaux bring this count
  19
       individually and on behalf of members of the California State Class who purchased
  20
       or leased FCA Class Vehicles, against the FCA Defendants.
  21
             851. Plaintiff Kevin Burns brings this count individually and on behalf of
  22
       members of the California State Class who purchased or leased Honda Class
  23
       Vehicles, against the Honda Defendants.
  24
             852. Plaintiff Michael Hernandez brings this count individually and on
  25
       behalf of members of the California State Class who purchased or leased Hyundai
  26
       Class Vehicles, against the Hyundai Defendants.
  27
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   1         853. Plaintiffs Bonnie Dellatorre and Lore VanHouten bring this count
   2   individually and on behalf of members of the California State Class who purchased
   3   or leased Kia Class Vehicles, against the Kia Defendants.
   4         854. Plaintiffs Donna Ronan, Tiffany Ecklor, and Gaylynn Sanchez bring
   5   this count individually and on behalf of members of the California State Class who
   6   purchased or leased Mitsubishi Class Vehicles, against the Mitsubishi Defendants.
   7         855. Plaintiffs Mark Altier and Alejandra Renteria bring this count
   8   individually and on behalf of members of the California State Class who purchased
   9   or leased Toyota Class Vehicles, against the Toyota Defendants.
  10         856. Hereinafter, Plaintiffs Rundzio, Laveaux, Burns, Hernandez,
  11   Dellatorre, VanHouten, Ronan, Ecklor, Sanchez, Altier, and Renteria shall be
  12   referred to as the “California Plaintiffs.”
  13         857. The Vehicle Manufacturer Defendants are and were at all relevant
  14   times “merchants” with respect to motor vehicles under Cal. Com. Code §§ 2104(1)
  15   and 10103(c), and “sellers” of motor vehicles under § 2103(1)(d).
  16         858. With respect to leases, the Vehicle Manufacturer Defendants are and
  17   were at all relevant times “lessors” of motor vehicles under Cal. Com. Code
  18   § 10103(a)(16).
  19         859. All California State Class members who purchased Class Vehicles in
  20   California are “buyers” within the meaning of Cal. Com. Code § 2103(1)(a).
  21         860. All California State Class members who leased Class Vehicles in the
  22   California are “lessees” within the meaning of Cal. Com. Code § 10103(a)(14).
  23         861. The Class Vehicles are and were at all relevant times “goods” within
  24   the meaning of Cal. Com. Code §§ 2105(1) and 10103(a)(8).
  25         862. In connection with the purchase or lease of Class Vehicles, the Vehicle
  26   Manufacturer Defendants provided the California Plaintiffs and California State
  27   Class members with written express warranties covering the repair or replacement
  28   of components that are defective in materials or workmanship.

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   1         863. The Vehicle Manufacturer Defendants’ warranties formed the basis of
   2   the bargain that was reached when the California Plaintiffs and California State
   3   Class members unknowingly purchased or leased Class Vehicles that came
   4   equipped with a defective ACU.
   5         864. However, the Vehicle Manufacturer Defendants knew or should have
   6   known that the warranties were false and/or misleading. Specifically, the Vehicle
   7   Manufacturer Defendants were aware of the ACU defect in the Class Vehicles,
   8   which made the vehicles inherently defective and dangerous at the time that they
   9   were sold and leased to the California Plaintiffs and California State Class
  10   members.
  11         865. The California Plaintiffs and California State Class members
  12   reasonably relied on the Vehicle Manufacturer Defendants’ express warranties
  13   when purchasing or leasing their Class Vehicles.
  14         866. The Vehicle Manufacturer Defendants knowingly breached their
  15   express warranties to repair defects in materials and workmanship by failing to
  16   repair the ACU defect or replace the defective ACUs in the Class Vehicles. The
  17   Vehicle Manufacturer Defendants also breached their express warranties by
  18   providing a product containing defects that were never disclosed to the California
  19   Plaintiffs and California State Class members.
  20         867. The California Plaintiffs and California State Class members have
  21   provided the Vehicle Manufacturer Defendants with reasonable notice and
  22   opportunity to cure the breaches of their express warranties by way of the NHTSA
  23   investigations, the numerous complaints filed against them, and the individual
  24   notice letters sent by California State Class members within a reasonable amount of
  25   time after the ACU defect became public. Additionally, on May 23, 2019,
  26   California State Class members sent a notice letter to FCA US LLC, Honda
  27   Defendants, Hyundai Defendants, Kia Defendants, Mitsubishi Motors North
  28   America, Inc., Toyota Defendants, and ZF TRW Defendants. Moreover, a second

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   1   notice letter was sent on behalf of the California Plaintiffs and California State
   2   Class members to FCA US LLC, Honda Defendants, Hyundai Defendants, Kia
   3   Defendants, Mitsubishi Motors North America, Inc., Toyota Defendants, Hyundai
   4   MOBIS Co. Ltd., and ZF TRW Defendants on April 24, 2020.
   5             868. Alternatively, any opportunity to cure the breach is unnecessary and
   6   futile.
   7             869. As a direct and proximate result of the Vehicle Manufacturer
   8   Defendants’ breach of their express warranties, the California Plaintiffs and
   9   California State Class members have been damaged in an amount to be proven at
  10   trial.
  11                   b.    California Count 2: Violations of Song-Beverly Consumer
  12                         Warranty Act For Breach of Express Warranties (Cal. Civ.
                             Code §§ 1791.2 and 1793.1) Against the Vehicle
  13                         Manufacturer Defendants
  14             870. Plaintiffs reallege and incorporate by reference all preceding

  15   allegations as though fully set forth herein.

  16             871. Plaintiffs Remigiusz Rundzio and Steve Laveaux bring this count

  17   individually and on behalf of members of the California State Class who purchased

  18   or leased FCA Class Vehicles, against the FCA Defendants.

  19             872. Plaintiff Kevin Burns brings this count individually and on behalf of

  20   members of the California State Class who purchased or leased Honda Class

  21   Vehicles, against the Honda Defendants.

  22             873. Plaintiff Michael Hernandez brings this count individually and on

  23   behalf of members of the California State Class who purchased or leased Hyundai

  24   Class Vehicles, against the Hyundai Defendants.

  25             874. Plaintiffs Bonnie Dellatorre and Lore VanHouten bring this count

  26   individually and on behalf of members of the California State Class who purchased

  27   or leased Kia Class Vehicles, against the Kia Defendants.

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   1         875. Plaintiffs Donna Ronan, Tiffany Ecklor, and Gaylynn Sanchez bring
   2   this count individually and on behalf of members of the California State Class who
   3   purchased or leased Mitsubishi Class Vehicles, against the Mitsubishi Defendants.
   4         876. Plaintiffs Mark Altier and Alejandra Renteria bring this count
   5   individually and on behalf of members of the California State Class who purchased
   6   or leased Toyota Class Vehicles, against the Toyota Defendants.
   7         877. The Vehicle Manufacturer Defendants are “manufacturer[s]” of the
   8   Class Vehicles within the meaning of Cal. Civ. Code § 1791(j).
   9         878. The Vehicle Manufacturer Defendants are and were at all relevant
  10   times “sellers” of motor vehicles under Cal. Civ. Code § 1791(l).
  11         879. With respect to leases, the Vehicle Manufacturer Defendants are and
  12   were at all relevant times “lessors” of motor vehicles under Cal. Civ. Code
  13   § 1791(i).
  14         880. All California State Class members who purchased Class Vehicles in
  15   California are “buyers” within the meaning of Cal. Civ. Code § 1791(b).
  16         881. All California State Class members who leased Class Vehicles in
  17   California are “lessees” within the meaning of Cal. Civ. Code § 1791(h).
  18         882. The Class Vehicles are “consumer goods” within the meaning of Cal.
  19   Civ. Code § 1791(a).
  20         883. In connection with the purchase or lease of Class Vehicles, the Vehicle
  21   Manufacturer Defendants provided the California Plaintiffs and California State
  22   Class members with written express warranties covering the repair or replacement
  23   of components that are defective in materials or workmanship.
  24         884. The Vehicle Manufacturer Defendants’ warranties formed the basis of
  25   the bargain that was reached when the California Plaintiffs and California State
  26   Class members unknowingly purchased or leased their Class Vehicles equipped
  27   with a defective ACU.
  28

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   1         885. However, the Vehicle Manufacturer Defendants knew or should have
   2   known that their warranties were false and misleading. Specifically, the Vehicle
   3   Manufacturer Defendants were aware of the ACU defect in the Class Vehicles
   4   which made the vehicles inherently defective and dangerous at the time that they
   5   were sold and leased to the California Plaintiffs and California State Class
   6   members.
   7         886. The California Plaintiffs and California State Class members
   8   reasonably relied on the Vehicle Manufacturer Defendants’ express warranties
   9   when purchasing or leasing the California Class Vehicles.
  10         887. The Vehicle Manufacturer Defendants knowingly breached their
  11   express warranties to repair defects in materials and workmanship by failing to
  12   repair the ACU defect or replace the defective ACUs in the Class Vehicles. The
  13   Vehicle Manufacturer Defendants also breached their express warranties by
  14   providing a product containing defects that were never disclosed to the California
  15   Plaintiffs and California State Class members.
  16         888. The California Plaintiffs and California State Class members have
  17   provided the Vehicle Manufacturer Defendants with reasonable notice and
  18   opportunity to cure the breaches of their express warranties by way of the NHTSA
  19   investigations, the numerous complaints filed against them, and the individual
  20   notice letters sent by California State Class members within a reasonable amount of
  21   time after the ACU defect became public. Additionally, on May 23, 2019,
  22   California State Class members sent a notice letter to FCA US LLC, Honda
  23   Defendants, Hyundai Defendants, Kia Defendants, Mitsubishi Motors North
  24   America, Inc., Toyota Defendants, and ZF TRW Defendants. Moreover, a second
  25   notice letter was sent on behalf of the California Plaintiffs and California State
  26   Class members to FCA US LLC, Honda Defendants, Hyundai Defendants, Kia
  27   Defendants, Mitsubishi Motors North America, Inc., Toyota Defendants, Hyundai
  28   MOBIS Co. Ltd., and ZF TRW Defendants on April 24, 2020.

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   1             889. Alternatively, any opportunity to cure the breach is unnecessary and
   2   futile.
   3             890. As a direct and proximate result of the Vehicle Manufacturer
   4   Defendants’ breach of express warranties, the California Plaintiffs and California
   5   State Class members have suffered significant damages, and seek damages in an
   6   amount to be determined at trial.
   7             891. Pursuant to Cal. Civ. Code §§ 1793.2 and 1794, the California
   8   Plaintiffs and California State Class members seek an order enjoining the Vehicle
   9   Manufacturer Defendants’ unfair and/or deceptive acts or practices, damages,
  10   punitive damages, and any other just and proper relief available under the Song-
  11   Beverly Consumer Warranty Act.
  12                   c.    California Count 3: Breach of Implied Warranty of
  13                         Merchantability (Cal. Com. Code §§ 2314 and 10212)
                             Against the Vehicle Manufacturer Defendants
  14             892. Plaintiffs reallege and incorporate by reference all preceding
  15   allegations as though fully set forth herein.
  16             893. Plaintiffs Remigiusz Rundzio and Steve Laveaux bring this count
  17   individually and on behalf of members of the California State Class who purchased
  18   or leased FCA Class Vehicles, against the FCA Defendants.
  19             894. Plaintiff Kevin Burns brings this count individually and on behalf of
  20   members of the California State Class who purchased or leased Honda Class
  21   Vehicles, against the Honda Defendants.
  22             895. Plaintiff Michael Hernandez brings this count individually and on
  23   behalf of members of the California State Class who purchased or leased Hyundai
  24   Class Vehicles, against the Hyundai Defendants.
  25             896. Plaintiffs Bonnie Dellatorre and Lore VanHouten bring this count
  26   individually and on behalf of members of the California State Class who purchased
  27   or leased Kia Class Vehicles, against the Kia Defendants.
  28

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   1         897. Plaintiffs Donna Ronan, Tiffany Ecklor, and Gaylynn Sanchez bring
   2   this count individually and on behalf of members of the California State Class who
   3   purchased or leased Mitsubishi Class Vehicles, against the Mitsubishi Defendants.
   4         898. Plaintiffs Mark Altier and Alejandra Renteria bring this count
   5   individually and on behalf of members of the California State Class who purchased
   6   or leased Toyota Class Vehicles, against the Toyota Defendants.
   7         899. A warranty that the Class Vehicles were in merchantable condition and
   8   fit for the ordinary purpose for which such goods are used is implied by law
   9   pursuant to Cal. Com. Code §§ 2314 and 10212.
  10         900. The Class Vehicles did not comply with the implied warranty of
  11   merchantability because, at the time of sale and at all times thereafter, they were
  12   defective and not in merchantable condition, would not pass without objection in
  13   the trade, and were not fit for the ordinary purpose for which vehicles were used.
  14   Specifically, the Class Vehicles suffer from the ACU defect, which may cause the
  15   airbags and seatbelt pretensioners to fail to deploy during an accident, rendering the
  16   Class Vehicles inherently defective and dangerous.
  17         901. The Vehicle Manufacturer Defendants are and were at all relevant
  18   times “merchants” with respect to motor vehicles, Cal. Com. Code §§ 2104(1) and
  19   10103(c), and “sellers” of motor vehicles under § 2103(1)(d).
  20         902. With respect to leases, the Vehicle Manufacturer Defendants are and
  21   were at all relevant times “lessors” of motor vehicles under Cal. Com. Code
  22   § 10103(a)(16).
  23         903. All California State Class members who purchased Class Vehicles in
  24   California are “buyers” within the meaning of Cal. Com. Code § 2103(1)(a).
  25         904. All California State Class members who leased Class Vehicles in
  26   California are “lessees” within the meaning of Cal. Com. Code § 10103(a)(14).
  27         905. The Class Vehicles were at all relevant times “goods” within the
  28   meaning of Cal. Com. Code §§ 2105(1) and 10103(a)(8).

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   1             906. The California Plaintiffs and California State Class members have
   2   provided the Vehicle Manufacturer Defendants with reasonable notice and
   3   opportunity to cure the breaches of their implied warranties by way of the NHTSA
   4   investigations, the numerous complaints filed against them, and the individual
   5   notice letters sent by California State Class members within a reasonable amount of
   6   time after the ACU defect became public. Additionally, on May 23, 2019,
   7   California State Class members sent a notice letter to FCA US LLC, Honda
   8   Defendants, Hyundai Defendants, Kia Defendants, Mitsubishi Motors North
   9   America, Inc., Toyota Defendants, and ZF TRW Defendants. Moreover, a second
  10   notice letter was sent on behalf of the California Plaintiffs and California State
  11   Class members to FCA US LLC, Honda Defendants, Hyundai Defendants, Kia
  12   Defendants, Mitsubishi Motors North America, Inc., Toyota Defendants, Hyundai
  13   MOBIS Co. Ltd., and ZF TRW Defendants on April 24, 2020.
  14             907. Alternatively, any opportunity to cure the breach is unnecessary and
  15   futile.
  16             908. As a direct and proximate result of the Vehicle Manufacturer
  17   Defendants’ breach of the implied warranty of merchantability, the California
  18   Plaintiffs and California State Class members have been damaged in an amount to
  19   be proven at trial.
  20                    d.   California Count 4: Violations of Song-Beverly Consumer
  21                         Warranty Act For Breach of Implied Warranty of
                             Merchantability (Cal. Civ. Code §§ 1791.1 and 1792) Against
  22                         the Vehicle Manufacturer Defendants
  23             909. Plaintiffs reallege and incorporate by reference all preceding

  24   allegations as though fully set forth herein.

  25             910.   Plaintiffs Remigiusz Rundzio and Steve Laveaux bring this count

  26   individually and on behalf of members of the California State Class who purchased

  27   or leased FCA Class Vehicles, against the FCA Defendants.

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   1         911. Plaintiff Kevin Burns brings this count individually and on behalf of
   2   members of the California State Class who purchased or leased Honda Class
   3   Vehicles, against the Honda Defendants.
   4         912. Plaintiff Michael Hernandez brings this count individually and on
   5   behalf of members of the California State Class who purchased or leased Hyundai
   6   Class Vehicles, against the Hyundai Defendants.
   7         913. Plaintiffs Bonnie Dellatorre and Lore VanHouten bring this count
   8   individually and on behalf of members of the California State Class who purchased
   9   or leased Kia Class Vehicles, against the Kia Defendants.
  10         914. Plaintiffs Donna Ronan, Tiffany Ecklor, and Gaylynn Sanchez bring
  11   this count individually and on behalf of members of the California State Class who
  12   purchased or leased Mitsubishi Class Vehicles, against the Mitsubishi Defendants.
  13         915. Plaintiffs Mark Altier and Alejandra Renteria bring this count
  14   individually and on behalf of members of the California State Class who purchased
  15   or leased Toyota Class Vehicles, against the Toyota Defendants.
  16         916. The Vehicle Manufacturer Defendants are “manufacturer[s]” of the
  17   Class Vehicles within the meaning of Cal. Civ. Code § 1791(j).
  18         917. The Vehicle Manufacturer Defendants are and were at all relevant
  19   times “sellers” of motor vehicles under Cal. Civ. Code § 1791(l).
  20         918. With respect to leases, the Vehicle Manufacturer Defendants are and
  21   were at all relevant times “lessors” of motor vehicles under Cal. Civ. Code
  22   § 1791(i).
  23         919. All California State Class members who purchased Class Vehicles in
  24   California are “buyers” within the meaning of Cal. Civ. Code § 1791(b).
  25         920. All California State Class members who leased Class Vehicles in
  26   California are “lessees” within the meaning of Cal. Civ. Code § 1791(h).
  27         921. The Class Vehicles are “consumer goods” within the meaning of Cal.
  28   Civ. Code § 1791(a).

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   1         922. The Vehicle Manufacturer Defendants impliedly warranted to the
   2   California Plaintiffs and California State Class members that their Class Vehicles
   3   were “merchantable” within the meaning of Cal. Civ. Code §§ 1791.1(a) and 1792,
   4   however, the Class Vehicles do not have the quality that a buyer would reasonably
   5   expect.
   6         923. Cal. Civ. Code § 1791.1(a) states: “Implied warranty of
   7   merchantability” or “implied warranty that goods are merchantable” means that the
   8   consumer goods meet each of the following:
   9                a.    Pass without objection in the trade under the contract
  10                      description.
  11                b.    Are fit for the ordinary purposes for which such goods are used.
  12                c.    Are adequately contained, packaged, and labeled.
  13                d.    Conform to the promises or affirmations of fact made on the
  14                      container or label.
  15         924. The Class Vehicles would not pass without objection in the automotive
  16   trade due to the ACU defect. Because the Class Vehicles contain defective ACUs,
  17   the Class Vehicles are not in merchantable condition and thus not fit for ordinary
  18   purposes.
  19         925. The Class Vehicles are not adequately labeled because the labeling
  20   fails to disclose defects in the Class Vehicles’ ACUs. The Class Vehicles do not
  21   conform to the promises and affirmations made by the Vehicle Manufacturer
  22   Defendants reading safety.
  23         926. The Vehicle Manufacturer Defendants’ breach of the implied warranty
  24   of merchantability caused damage to the California Plaintiffs and California State
  25   Class members who purchased or leased the defective Class Vehicles. The amount
  26   of damages due will be proven at trial.
  27         927. Pursuant to Cal. Civ. Code §§ 1791.1(d) and 1794, the California
  28   Plaintiffs and California State Class members seek an order enjoining the Vehicle

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   1   Manufacturer Defendants’ unfair and/or deceptive acts or practices, damages,
   2   punitive damages, and any other just and proper relief available under the Song-
   3   Beverly Consumer Warranty Act.
   4                e.     California Count 5: False Advertising Under the California
   5                       False Advertising Law (Cal. Bus. & Prof. Code § 17500, et
                           seq.) Against the Vehicle Manufacturer Defendants
   6         928. Plaintiffs reallege and incorporate by reference all preceding
   7   allegations as though fully set forth herein.
   8         929. Plaintiffs Remigiusz Rundzio and Steve Laveaux bring this count
   9   individually and on behalf of members of the California State Class who purchased
  10   or leased FCA Class Vehicles, against the FCA Defendants.
  11         930. Plaintiff Kevin Burns brings this count individually and on behalf of
  12   members of the California State Class who purchased or leased Honda Class
  13   Vehicles, against the Honda Defendants.
  14         931. Plaintiff Michael Hernandez brings this count individually and on
  15   behalf of members of the California State Class who purchased or leased Hyundai
  16   Class Vehicles, against the Hyundai Defendants.
  17         932. Plaintiffs Bonnie Dellatorre and Lore VanHouten bring this count
  18   individually and on behalf of members of the California State Class who purchased
  19   or leased Kia Class Vehicles, against the Kia Defendants.
  20         933. Plaintiffs Donna Ronan, Tiffany Ecklor, and Gaylynn Sanchez bring
  21   this count individually and on behalf of members of the California State Class who
  22   purchased or leased Mitsubishi Class Vehicles, against the Mitsubishi Defendants.
  23         934. Plaintiffs Mark Altier and Alejandra Renteria bring this count
  24   individually and on behalf of members of the California State Class who purchased
  25   or leased Toyota Class Vehicles, against the Toyota Defendants.
  26         935. The Vehicle Manufacturer Defendants, the California Plaintiffs, and
  27   California State Class members are “persons” within the meaning of Cal. Bus. &
  28   Prof. Code § 17506.
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   1         936. The California False Advertising Law (“California FAL”) prohibits
   2   false advertising. California Bus. & Prof. Code § 17500.
   3         937. In the course of their business, the Vehicle Manufacturer Defendants,
   4   through their agents, employees, and/or subsidiaries, violated the California FAL
   5   by knowingly and intentionally misrepresenting, omitting, concealing, and/or
   6   failing to disclose material facts regarding the reliability, safety, and performance of
   7   the Class Vehicles and/or the defective ACUs, as detailed above.
   8         938. Specifically, by misrepresenting the Class Vehicles and/or the
   9   defective ACUs installed in them as being safe and/or free from defects, and by
  10   failing to disclose and actively concealing the dangers and risk posed by the Class
  11   Vehicles and/or the ACU defect, the Vehicle Manufacturer Defendants engaged in
  12   untrue and misleading advertising prohibited by California Bus. & Prof. Code
  13   § 17500.
  14         939. The Vehicle Manufacturer Defendants made or caused to be made and
  15   disseminated throughout California advertising, marketing, and other publications
  16   containing numerous statements that were untrue or misleading, and which were
  17   known, or which by the exercise of reasonable care should have been known to the
  18   Vehicle Manufacturer Defendants, to be untrue and misleading to consumers,
  19   including the California Plaintiffs and California State Class members. Numerous
  20   examples of these statements and advertisements appear in the preceding
  21   paragraphs throughout this Complaint and in Exhibits 1, 4-7, 9-10, 12-13, 15-16,
  22   17, and 19.
  23         940. The Vehicle Manufacturer Defendants’ unfair or deceptive acts or
  24   practices, including their misrepresentations, concealments, omissions, and
  25   suppressions of material facts, had a tendency or capacity to mislead and create a
  26   false impression in consumers, and were likely to and did in fact deceive reasonable
  27   consumers, including the California Plaintiffs and California State Class members,
  28   about the true safety and reliability of Class Vehicles and/or the defective ACUs

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   1   installed in them, the quality of the Vehicle Manufacturer Defendants’ brands, and
   2   the true value of the Class Vehicles.
   3           941. The Vehicle Manufacturer Defendants’ scheme and concealment of the
   4   ACU defect and true characteristics of the Occupant Restraint Systems in the Class
   5   Vehicles were material to the California Plaintiffs and California State Class
   6   members, as the Vehicle Manufacturer Defendants intended. Had they known the
   7   truth, the California Plaintiffs and California State Class members would not have
   8   purchased or leased the Class Vehicles, or would have paid significantly less for
   9   them.
  10           942. The California Plaintiffs and California State Class members relied on
  11   the Vehicle Manufacturer Defendants and had no way of discerning that those
  12   representations were false and misleading, or otherwise learning the facts that
  13   Defendants had concealed or failed to disclose. The California Plaintiffs and
  14   California State Class members did not, and could not, unravel the Vehicle
  15   Manufacturer Defendants’ deception on their own.
  16           943. The Vehicle Manufacturer Defendants had an ongoing duty to the
  17   California Plaintiffs and California State Class members to refrain from unfair or
  18   deceptive practices under the California FAL in the course of their business.
  19   Specifically, the Vehicle Manufacturer Defendants owed the California Plaintiffs
  20   and California State Class members a duty to disclose all the material facts
  21   concerning the ACU defect in the Class Vehicles because they possessed exclusive
  22   knowledge, they intentionally concealed the ACU defect from the California
  23   Plaintiffs and California State Class members, and/or they made misrepresentations
  24   that were rendered misleading because they were contradicted by withheld facts.
  25           944. The California Plaintiffs and California State Class members suffered
  26   ascertainable losses and actual damages as a direct and proximate result of the
  27   Vehicle Manufacturer Defendants’ concealment, misrepresentations, and/or failure
  28   to disclose material information.

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   1         945. The Vehicle Manufacturer Defendants’ violations present a continuing
   2   risk to the California Plaintiffs and California State Class members, as well as to
   3   the general public. The Vehicle Manufacturer Defendants’ unlawful acts and
   4   practices complained of herein affect the public interest.
   5         946. The California Plaintiffs and California State Class members seek an
   6   order enjoining the Vehicle Manufacturer Defendants’ false advertising, any such
   7   orders or judgments as may be necessary to restore to the California Plaintiffs and
   8   California State Class members any money acquired by unfair competition,
   9   including restitution and/or restitutionary disgorgement, and any other just and
  10   proper relief available under the false advertising provisions of the California FAL.
  11                 f.    California Count 6: Violation of the Consumer Legal
  12                       Remedies Act (Cal. Civ. Code § 1750, et seq.) Against All
                           Defendants
  13         947. Plaintiffs reallege and incorporate by reference all preceding
  14   allegations as though fully set forth herein.
  15         948. Plaintiffs Remigiusz Rundzio and Steve Laveaux bring this count
  16   individually and on behalf of members of the California State Class who purchased
  17   or leased FCA Class Vehicles, against the FCA, ZF TRW, and STMicro
  18   Defendants.
  19         949. Plaintiff Kevin Burns brings this count individually and on behalf of
  20   members of the California State Class who purchased or leased Honda Class
  21   Vehicles, against the Honda, ZF TRW, and STMicro Defendants.
  22         950. Plaintiff Michael Hernandez brings this count individually and on
  23   behalf of members of the California State Class who purchased or leased Hyundai
  24   Class Vehicles, against the Hyundai, ZF TRW, STMicro Defendants, and Hyundai
  25   MOBIS.
  26         951. Plaintiffs Bonnie Dellatorre and Lore VanHouten bring this count
  27   individually and on behalf of members of the California State Class who purchased
  28

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   1   or leased Kia Class Vehicles, against the Kia, ZF TRW, STMicro Defendants, and
   2   Hyundai MOBIS.
   3         952. Plaintiffs Donna Ronan, Tiffany Ecklor, and Gaylynn Sanchez bring
   4   this count individually and on behalf of members of the California State Class who
   5   purchased or leased Mitsubishi Class Vehicles, against the Mitsubishi, ZF TRW,
   6   and STMicro Defendants.
   7         953. Plaintiffs Mark Altier and Alejandra Renteria bring this count
   8   individually and on behalf of members of the California State Class who purchased
   9   or leased Toyota Class Vehicles, against the Toyota, ZF TRW, and STMicro
  10   Defendants.
  11         954. The Class Vehicles and ACUs installed in them are “goods” within the
  12   meaning of Cal. Civ. Code § 1761(a).
  13         955. Defendants, the California Plaintiffs, and California State Class
  14   members are “persons” within the meaning of Cal. Civ. Code § 1761(c).
  15         956. The California Plaintiffs and California State Class members are
  16   “consumers” within the meaning of Cal. Civ. Code § 1761(d).
  17         957. The California Legal Remedies Act (“CLRA”) prohibits “unfair
  18   methods of competition and unfair or deceptive acts or practices undertaken by any
  19   person in a transaction intended to result or that results in the sale or lease of goods
  20   or services to any consumer[.]” Cal. Civ. Code § 1770.
  21         958. In the course of their business, Defendants, through their agents,
  22   employees, and/or subsidiaries, violated the CLRA by knowingly and intentionally
  23   misrepresenting, omitting, concealing, and/or failing to disclose material facts
  24   regarding the reliability, safety, and performance of the Class Vehicles and/or the
  25   defective ACUs, as detailed above.
  26         959. Specifically, by misrepresenting the Class Vehicles and/or the
  27   defective ACUs installed in them as safe and/or free from defects, and by failing to
  28   disclose and actively concealing the dangers and risk posed by the Class Vehicles

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   1   and/or the ACU defect, Defendants engaged in one or more of the following unfair
   2   or deceptive business practices as defined in Cal. Civ. Code § 1770(a):
   3                a.    Representing that the Class Vehicles and/or the defective ACUs
   4                      installed in them have characteristics, uses, benefits, and
   5                      qualities which they do not have.
   6                b.    Representing that the Class Vehicles and/or the defective ACUs
   7                      installed in them are of a particular standard, quality, and grade
   8                      when they are not.
   9                c.    Advertising the Class Vehicles and/or the defective ACUs
  10                      installed in them with the intent not to sell or lease them as
  11                      advertised.
  12                d.    Representing that the subject of a transaction has been supplied
  13                      in accordance with a previous representation when it has not.
  14                e.    Cal. Civ. Code §§ 1770(a)(5), (7), (9), and (16).
  15         960. Defendants’ unfair or deceptive acts or practices, including their
  16   misrepresentations, concealments, omissions, and/or suppressions of material facts,
  17   had a tendency or capacity to mislead and create a false impression in consumers,
  18   and were likely to and did in fact deceive reasonable consumers, including the
  19   California Plaintiffs and California State Class members, about the true safety and
  20   reliability of Class Vehicles and/or the defective ACUs installed in them, the
  21   quality of the Class Vehicles, and the true value of the Class Vehicles.
  22         961. Defendants’ scheme and concealment of the ACU defect and true
  23   characteristics of the Occupant Restraint Systems in the Class Vehicles were
  24   material to the California Plaintiffs and California State Class members, as
  25   Defendants intended. Had they known the truth, the California Plaintiffs and
  26   California State Class members would not have purchased or leased the Class
  27   Vehicles, or would have paid significantly less for them.
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   1          962. The California Plaintiffs and California State Class members had no
   2   way of discerning that Defendants’ representations were false and misleading, or
   3   otherwise learning the facts that Defendants had concealed or failed to disclose. The
   4   California Plaintiffs and California State Class members did not, and could not,
   5   unravel Defendants’ deception on their own.
   6          963. Defendants had an ongoing duty to the California Plaintiffs and
   7   California State Class members to refrain from unfair or deceptive practices under
   8   the CLRA in the course of their business. Specifically, Defendants owed the
   9   California Plaintiffs and California State Class members a duty to disclose all the
  10   material facts concerning the ACU defect in the Class Vehicles because they
  11   possessed exclusive knowledge, they intentionally concealed the ACU defect from
  12   California Plaintiffs and the California State Class members, and/or they made
  13   misrepresentations that were rendered misleading because they were contradicted
  14   by withheld facts.
  15          964. The California Plaintiffs and California State Class members suffered
  16   ascertainable losses and actual damages as a direct and proximate result of
  17   Defendants’ concealment, misrepresentations, and/or failure to disclose material
  18   information.
  19          965. Defendants’ violations present a continuing risk to the California
  20   Plaintiffs and California State Class members, as well as to the general public.
  21   Defendants’ unlawful acts and practices complained of herein affect the public
  22   interest.
  23          966. Defendants were provided notice of the issues raised in this count and
  24   this Complaint by the NHTSA investigations, the numerous complaints filed
  25   against them, and the individual notice letters sent by California State Class
  26   members within a reasonable amount of time after the ACU defect became public.
  27   Additionally, on May 23, 2019, California State Class members sent a notice letter
  28   pursuant to Cal. Civ. Code § 1782 to FCA US LLC, Honda Defendants, Hyundai

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   1   Defendants, Kia Defendants, Mitsubishi Motors North America, Inc., Toyota
   2   Defendants, and ZF TRW Defendants. Moreover, a second notice letter was sent on
   3   behalf of the California Plaintiffs and California State Class members pursuant to
   4   Cal. Civ. Code § 1782 to FCA US LLC, Honda Defendants, Hyundai Defendants,
   5   Kia Defendants, Mitsubishi Motors North America, Inc., Toyota Defendants,
   6   Hyundai MOBIS Co. Ltd., and ZF TRW Defendants on April 24, 2020. Because
   7   Defendants failed to adequately remedy their unlawful conduct within the requisite
   8   time period, the California Plaintiffs seek all damages and relief to which the
   9   California Plaintiffs and California State Class members are entitled.
  10         967. Pursuant to Cal. Civ. Code § 1780(a), the California Plaintiffs and
  11   California State Class members seek an order enjoining Defendants’ unfair or
  12   deceptive acts or practices and awarding actual damages, treble damages,
  13   restitution, attorneys’ fees, and any other just and proper relief available under the
  14   CLRA against all Defendants except Fiat Chrysler Automobiles N.V., Mitsubishi
  15   Motors Corporation, Mobis Parts America, LLC, and the STMicro Defendants.
  16         968. With respect to Fiat Chrysler Automobiles N.V., Mitsubishi Motors
  17   Corporation, Mobis Parts America, LLC, and the STMicro Defendants, the
  18   California Plaintiffs and California Class members seek an order enjoining those
  19   Defendants’ unfair or deceptive acts or practices, and any other just and proper
  20   equitable relief available under the CLRA.
  21         969. In accordance with section 1782(a) of the CLRA, Plaintiffs’ counsel,
  22   on behalf of the California Plaintiffs and California Class members, will serve Fiat
  23   Chrysler Automobiles N.V., Mitsubishi Motors Corporation, Mobis Parts America,
  24   LLC, and the STMicro Defendants with notice of their alleged violations of Cal.
  25   Civ. Code § 1770(a) relating to the Class Vehicles purchased by the California
  26   Plaintiffs and California Class members, and demand that they correct or agree to
  27   correct the actions described therein within thirty (30) days of such notice. If Fiat
  28   Chrysler Automobiles N.V., Mitsubishi Motors Corporation, Mobis Parts America,

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   1   LLC, or the STMicro Defendants fail to do so, the California Plaintiffs will seek
   2   leave to amend this Complaint to include compensatory and monetary damages to
   3   which the California Plaintiffs and California Class members are entitled.
   4                 g.    California Count 7: Unlawful, Unfair, or Fraudulent
   5                       Business Practices Under the California Unfair Competition
                           Law (Cal. Bus. & Prof. Code § 17200, et seq.) Against All
   6                       Defendants
   7         970. Plaintiffs reallege and incorporate by reference all preceding

   8   allegations as though fully set forth herein.

   9         971. Plaintiffs Remigiusz Rundzio and Steve Laveaux bring this count

  10   individually and on behalf of members of the California State Class who purchased

  11   or leased FCA Class Vehicles, against the FCA, ZF TRW, and STMicro

  12   Defendants.

  13         972. Plaintiff Kevin Burns brings this count individually and on behalf of

  14   members of the California State Class who purchased or leased Honda Class

  15   Vehicles, against the Honda, ZF TRW, and STMicro Defendants.

  16         973. Plaintiff Michael Hernandez brings this count individually and on

  17   behalf of members of the California State Class who purchased or leased Hyundai

  18   Class Vehicles, against the Hyundai, ZF TRW, STMicro Defendants, and Hyundai

  19   MOBIS.

  20         974. Plaintiffs Bonnie Dellatorre and Lore VanHouten bring this count

  21   individually and on behalf of members of the California State Class who purchased

  22   or leased Kia Class Vehicles, against the Kia, ZF TRW, STMicro Defendants, and

  23   Hyundai MOBIS.

  24         975. Plaintiffs Donna Ronan, Tiffany Ecklor, and Gaylynn Sanchez bring

  25   this count individually and on behalf of members of the California State Class who

  26   purchased or leased Mitsubishi Class Vehicles, against the Mitsubishi, ZF TRW,

  27   and STMicro Defendants.

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   1         976. Plaintiffs Mark Altier and Alejandra Renteria bring this count
   2   individually and on behalf of members of the California State Class who purchased
   3   or leased Toyota Class Vehicles, against the Toyota, ZF TRW, and STMicro
   4   Defendants.
   5         977. California’s Unfair Competition Law (“UCL”), Business and
   6   Professions Code § 17200, prohibits any “unlawful, unfair, or fraudulent business
   7   act or practices.”
   8         978. As detailed in the allegations above, Defendants knowingly and
   9   intentionally designed, developed, tested, manufactured, and/or installed defective
  10   ACUs into Class Vehicles, and marketed and sold those Class Vehicles with the
  11   defective ACUs installed, while misrepresenting the safety of the Class Vehicles
  12   and fraudulently concealing that the ACU defect from regulators and the California
  13   Plaintiffs and California State Class members alike. In doing so, Defendants have
  14   engaged in at least one of the following unlawful, fraudulent, and unfair business
  15   acts and practices in violation of the UCL:
  16                 a.     knowingly and intentionally concealing from the California
  17                        Plaintiffs and California State Class members that the Class
  18                        Vehicles suffer from a defective ACU while obtaining money
  19                        from the California Plaintiffs and California State Class
  20                        members;
  21                 b.     marketing Class Vehicles as possessing functional and defect-
  22                        free airbag systems and seatbelt pretensioners, including ACUs;
  23                        and/or
  24                 c.     violating both federal and California laws, including the federal
  25                        RICO statute, as alleged above.
  26         979. Defendants’ misrepresentations, omissions, and concealment of the
  27   true characteristics defective ACUs were material to the California Plaintiffs and
  28   California State Class members, and Defendants misrepresented, concealed, or

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   1   failed to disclose the truth with the intention that consumers would rely on the
   2   misrepresentations, concealment, and omissions. Had they known the truth, the
   3   California Plaintiffs and California State Class members who purchased or leased
   4   the Class Vehicles would not have purchased or leased them at all, or would have
   5   paid significantly less for them.
   6         980. The California Plaintiffs and California State Class members suffered
   7   ascertainable losses as a direct and proximate result of Defendants’
   8   misrepresentations, concealment of and failure to disclose material information, and
   9   violation of the laws alleged above.
  10         981. Pursuant to Cal. Bus. & Prof. Code § 17200, the California Plaintiffs
  11   and California State Class members seek an order enjoining Defendants’ unfair
  12   and/or deceptive acts or practices, any such orders or judgments as may be
  13   necessary to restore to the California Plaintiffs and California State Class members
  14   any money acquired by unfair competition, including restitution and/or
  15   restitutionary disgorgement, as provided in Cal. Bus. & Prof. Code §§ 17203, and
  16   any other just and proper relief available under the California UCL.
  17         iv.    Colorado
  18                a.     Colorado Count 1: Breach of Express Warranty (Colo. Rev.
  19                       Stat. §§ 4-2-313 and 4-2.5-210) Against the Mitsubishi
                           Defendants
  20
             982. Plaintiffs reallege and incorporate by reference all preceding
  21
       allegations as though fully set forth herein.
  22
             983. Plaintiff Michael Nearing (hereinafter, “Colorado Plaintiff”) brings
  23
       this count individually and on behalf of members of the Colorado State Class who
  24
       purchased or leased Mitsubishi Class Vehicles, against the Mitsubishi Defendants.
  25
             984. The Mitsubishi Defendants are and were at all relevant times
  26
       “merchants” with respect to motor vehicles under Colo. Rev. Stat. §§ 4-2-104(1)
  27
       and 4-2.5-103(3), and “sellers” of motor vehicles under § 4-2-103(1)(d).
  28

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   1         985. With respect to leases, the Mitsubishi Defendants are and were at all
   2   relevant times “lessors” of motor vehicles under Colo. Rev. Stat. § 4-2.5-103(1)(p).
   3         986. All Colorado State Class members who purchased Mitsubishi Class
   4   Vehicles in Colorado are “buyers” within the meaning of Colo. Rev. Stat. § 4-2-
   5   103(1)(a).
   6         987. All Colorado State Class members who leased Mitsubishi Class
   7   Vehicles in Colorado are “lessees” within the meaning of Colo. Rev. Stat. § 4-2.5-
   8   103(1)(p).
   9         988. The Mitsubishi Class Vehicles are and were at all relevant times
  10   “goods” within the meaning of Colo. Rev. Stat. §§ 4-2-105(1) and 4-2.5-103(1)(h).
  11         989. In connection with the purchase or lease of Mitsubishi Class Vehicles,
  12   the Mitsubishi Defendants provided the Colorado Plaintiff and Colorado State Class
  13   members with written express warranties covering the repair or replacement of
  14   components that are defective in materials or workmanship.
  15         990. The Mitsubishi Defendants’ warranties formed the basis of the bargain
  16   that was reached when the Colorado Plaintiff and Colorado State Class members
  17   unknowingly purchased or leased Mitsubishi Class Vehicles that came equipped
  18   with the ACU defect.
  19         991. The Mitsubishi Defendants’ warranties formed the basis of the bargain
  20   that was reached when the Colorado Plaintiff and Colorado State Class members
  21   unknowingly purchased or leased Mitsubishi Class Vehicles that came equipped
  22   with a defective ACU.
  23         992. However, the Mitsubishi Defendants knew or should have known that
  24   the warranties were false and/or misleading. Specifically, the Mitsubishi
  25   Defendants were aware of the ACU defect in the Mitsubishi Class Vehicles, which
  26   made the vehicles inherently defective and dangerous at the time that they were
  27   sold and leased to the Colorado Plaintiff and Colorado State Class members.
  28

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   1             993. The Colorado Plaintiff and Colorado State Class members reasonably
   2   relied on the Mitsubishi Defendants’ express warranties when purchasing or leasing
   3   their Mitsubishi Class Vehicles.
   4             994. The Mitsubishi Defendants knowingly breached their express
   5   warranties to repair defects in materials and workmanship by failing to repair the
   6   ACU defect or replace the defective ACUs in the Mitsubishi Class Vehicles. The
   7   Mitsubishi Defendants also breached their express warranties by providing a
   8   product containing defects that were never disclosed to the Colorado Plaintiff and
   9   Colorado State Class members.
  10             995. The Colorado Plaintiff and Colorado State Class members have
  11   provided the Mitsubishi Defendants with reasonable notice and opportunity to cure
  12   the breaches of their express warranties by way of the numerous NHTSA
  13   complaints filed against them, and the individual notice letters sent by Colorado
  14   State Class members within a reasonable amount of time after the ACU defect
  15   became public. Additionally, a notice letter was sent on behalf of the Colorado
  16   Plaintiff and Colorado State Class members to FCA US LLC, Honda Defendants,
  17   Hyundai Defendants, Kia Defendants, Mitsubishi Motors North America, Inc.,
  18   Toyota Defendants, Hyundai MOBIS Co. Ltd., and ZF TRW Defendants on April
  19   24, 2020.
  20             996. Alternatively, any opportunity to cure the breach is unnecessary and
  21   futile.
  22             997. As a direct and proximate result of the Mitsubishi Defendants’ breach
  23   of their express warranties, the Colorado Plaintiff and Colorado State Class
  24   members have been damaged in an amount to be proven at trial.
  25                   b.    Colorado Count 2: Breach of Implied Warranty of
  26                         Merchantability (Colo. Rev. Stat. §§ 4-2-314 and 4-2.5-212)
                             Against the Mitsubishi Defendants
  27             998. Plaintiffs reallege and incorporate by reference all preceding
  28   allegations as though fully set forth herein.
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   1         999. The Colorado Plaintiff brings this count individually and on behalf of
   2   members of the Colorado State Class who purchased or leased Mitsubishi Class
   3   Vehicles, against the Mitsubishi Defendants.
   4         1000. A warranty that the Mitsubishi Class Vehicles were in merchantable
   5   condition and fit for the ordinary purpose for which such goods are used is implied
   6   by law pursuant to Colo. Rev. Stat. §§ 4-2-314 and 4-2.5-212.
   7         1001. The Mitsubishi Class Vehicles did not comply with the implied
   8   warranty of merchantability because, at the time of sale and at all times thereafter,
   9   they were defective and not in merchantable condition, would not pass without
  10   objection in the trade, and were not fit for the ordinary purpose for which vehicles
  11   were used. Specifically, the Mitsubishi Class Vehicles suffer from the ACU defect,
  12   which may cause the airbags and seatbelt pretensioners to fail to deploy during an
  13   accident, rendering the Mitsubishi Class Vehicles inherently defective and
  14   dangerous.
  15         1002. The Mitsubishi Defendants are and were at all relevant times
  16   “merchants” with respect to motor vehicles under Colo. Rev. Stat. §§ 4-2-104(1)
  17   and 4-2.5-103(3), and “sellers” of motor vehicles under § 4-2-103(1)(d).
  18         1003. With respect to leases, the Mitsubishi Defendants are and were at all
  19   relevant times “lessors” of motor vehicles under Colo. Rev. Stat. § 4-2.5-103(1)(p).
  20         1004. All Colorado State Class members who purchased Mitsubishi Class
  21   Vehicles in Colorado are “buyers” within the meaning of Colo. Rev. Stat. § 4-2-
  22   103(1)(a).
  23         1005. All Colorado State Class members who leased Mitsubishi Class
  24   Vehicles in Colorado are “lessees” within the meaning of Colo. Rev. Stat. § 4-2.5-
  25   103(1)(p).
  26         1006. The Mitsubishi Class Vehicles are and were at all relevant times
  27   “goods” within the meaning of Colo. Rev. Stat. §§ 4-2-105(1) and 4-2.5-103(1)(h).
  28

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   1             1007. The Colorado Plaintiff and Colorado State Class members have
   2   provided the Mitsubishi Defendants with reasonable notice and opportunity to cure
   3   the breaches of their express warranties by way of the numerous NHTSA
   4   complaints filed against them, and the individual notice letters sent by Colorado
   5   State Class members within a reasonable amount of time after the ACU defect
   6   became public. Additionally, a notice letter was sent on behalf of the Colorado
   7   Plaintiff and Colorado State Class members to FCA US LLC, Honda Defendants,
   8   Hyundai Defendants, Kia Defendants, Mitsubishi Motors North America, Inc.,
   9   Toyota Defendants, Hyundai MOBIS Co. Ltd., and ZF TRW Defendants on April
  10   24, 2020.
  11             1008. Alternatively, any opportunity to cure the breach is unnecessary and
  12   futile.
  13             1009. As a direct and proximate result of the Mitsubishi Defendants’ breach
  14   of the implied warranty of merchantability, the Colorado Plaintiff and Colorado
  15   State Class members have been damaged in an amount to be proven at trial.
  16                   c.     Colorado Count 3: Violation of the Colorado Consumer
  17                          Protection Act (Colo. Rev. Stat. § 6-1-101, et seq.) Against
                              the Mitsubishi Defendants
  18             1010. Plaintiffs reallege and incorporate by reference all preceding
  19   allegations as though fully set forth herein.
  20             1011. The Colorado Plaintiff brings this count individually and on behalf of
  21   members of the Colorado State Class who purchased or leased Mitsubishi Class
  22   Vehicles, against the Mitsubishi Defendants.
  23             1012. The Mitsubishi Defendants, the Colorado Plaintiff, and Colorado State
  24   Class members are “persons” within the meaning of Colo. Rev. Stat. § 6-1-102(6).
  25             1013. The Colorado Consumer Protection Act (“Colorado CPA”) prohibits
  26   unfair, unconscionable, and deceptive acts or practices in the course of the person’s
  27   business, vocation, or occupation. Colo. Rev. Stat. § 6-1-105.
  28

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   1         1014. In the course of their business, the Mitsubishi Defendants, through
   2   their agents, employees, and/or subsidiaries, violated the Colorado CPA by
   3   knowingly and intentionally misrepresenting, omitting, concealing, and/or failing to
   4   disclose material facts regarding the reliability, safety, and performance of the
   5   Mitsubishi Class Vehicles and/or the defective ACUs, as detailed above.
   6         1015. Specifically, by misrepresenting the Mitsubishi Class Vehicles and/or
   7   the defective ACUs installed in them as safe and/or free from defects, and by failing
   8   to disclose and actively concealing the dangers and risk posed by the Mitsubishi
   9   Class Vehicles and/or the ACU defect, the Mitsubishi Defendants engaged in one
  10   or more of the following unfair or deceptive business practices prohibited by Colo.
  11   Rev. Stat. § 6-1-105:
  12                a.    Representing that the Mitsubishi Class Vehicles and/or the
  13                      defective ACUs installed in them have characteristics, uses,
  14                      benefits, and qualities which they do not have;
  15                b.    Making false representations about the approval or certification
  16                      of the Mitsubishi Class Vehicles and/or the defective ACUs
  17                      installed in them;
  18                c.    Making false representations regarding the characteristics, uses,
  19                      and benefits of the Mitsubishi Class Vehicles and/or the
  20                      defective ACUs installed in them;
  21                d.    Representing that the Mitsubishi Class Vehicles and/or the
  22                      defective ACUs installed in them are of a particular standard,
  23                      quality, and grade when they are not;
  24                e.    Advertising the Mitsubishi Class Vehicles and/or the defective
  25                      ACUs installed in them with the intent not to sell or lease them
  26                      as advertised;
  27                f.    Engaging in the other unconscionable, false, misleading, or
  28                      deceptive acts or practices pertaining to the Mitsubishi Class

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   1                        Vehicles and/or the defective ACUs installed in them alleged
   2                        above.
   3           Colo. Rev. Stat. §§ 6-1-105(1)(b), (e), (g), (i), , and (3).
   4           1016. The Mitsubishi Defendants’ unfair or deceptive acts or practices,
   5   including their misrepresentations, concealments, omissions, and suppressions of
   6   material facts, had a tendency or capacity to mislead and create a false impression
   7   in consumers, and were likely to and did in fact deceive reasonable consumers,
   8   including the Colorado Plaintiff and Colorado State Class members, about the true
   9   safety and reliability of Mitsubishi Class Vehicles and/or the defective ACUs
  10   installed in them, the quality of the Mitsubishi Class Vehicles, and the true value of
  11   the Mitsubishi Class Vehicles.
  12           1017. The Mitsubishi Defendants’ scheme and concealment of the ACU
  13   defect and true characteristics of the Occupant Restraint Systems in the Mitsubishi
  14   Class Vehicles were material to the Colorado Plaintiff and Colorado State Class
  15   members, as the Mitsubishi Defendants intended. Had they known the truth, the
  16   Colorado Plaintiff and Colorado State Class members would not have purchased or
  17   leased the Mitsubishi Class Vehicles, or would have paid significantly less for
  18   them.
  19           1018. The Colorado Plaintiff and Colorado State Class members had no way
  20   of discerning that the Mitsubishi Defendants’ representations were false and
  21   misleading, or otherwise learning the facts that the Mitsubishi Defendants had
  22   concealed or failed to disclose. The Colorado Plaintiff and Colorado State Class
  23   members did not, and could not, unravel the Mitsubishi Defendants’ deception on
  24   their own.
  25           1019. The Mitsubishi Defendants had an ongoing duty to the Colorado
  26   Plaintiff and Colorado State Class members to refrain from unfair or deceptive
  27   practices under the Colorado DTPA in the course of their business. Specifically, the
  28   Mitsubishi Defendants owed the Colorado Plaintiff and Colorado State Class

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   1   members a duty to disclose all the material facts concerning the ACU defect in the
   2   Mitsubishi Class Vehicles because they possessed exclusive knowledge, they
   3   intentionally concealed the ACU defect from the Colorado Plaintiff and Colorado
   4   State Class members, and/or they made misrepresentations that were rendered
   5   misleading because they were contradicted by withheld facts.
   6         1020. The Colorado Plaintiff and Colorado State Class members suffered
   7   ascertainable losses and actual damages as a direct and proximate result of the
   8   Mitsubishi Defendants’ concealment, misrepresentations, and/or failure to disclose
   9   material information.
  10         1021. The Mitsubishi Defendants’ violations present a continuing risk to the
  11   Colorado Plaintiff and Colorado State Class members, as well as to the general
  12   public. The Mitsubishi Defendants’ unlawful acts and practices complained of
  13   herein affect the public interest.
  14         1022. Pursuant to Colo. Rev. Stat. § 6-1-113, the Colorado Plaintiff and the
  15   Colorado State Class members seek an order enjoining Defendants’ unfair or
  16   deceptive acts or practices and awarding damages and any other just and proper
  17   relief available under the Colorado CPA.
  18                 d.    Colorado Count 4: Violation of the Colorado Consumer
  19                       Protection Act (Colo. Rev. Stat. § 6-1-101, et seq.) Against
                           the ZF TRW and STMicro Defendants
  20         1023. Plaintiffs reallege and incorporate by reference all preceding
  21   allegations as though fully set forth herein.
  22         1024. The Colorado Plaintiff brings this count individually and on behalf of
  23   members of the Colorado State Class against the ZF TRW and STMicro
  24   Defendants.
  25         1025. The ZF TRW Defendants, the STMicro Defendants, the Colorado
  26   Plaintiff, and Colorado State Class members are “persons” within the meaning of
  27   Colo. Rev. Stat. § 6-1-102(6).
  28

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   1         1026. The Colorado Consumer Protection Act (“Colorado CPA”) prohibits
   2   unfair, unconscionable, and deceptive acts or practices in the course of the person’s
   3   business, vocation, or occupation. Colo. Rev. Stat. § 6-1-105.
   4         1027. In the course of their business, the ZF TRW and STMicro Defendants,
   5   through their agents, employees, and/or subsidiaries, violated the Colorado CPA by
   6   knowingly and intentionally omitting, concealing, and failing to disclose material
   7   facts regarding the existence, nature, and scope of the defect with ZF TRW ACUs
   8   installed in the Class Vehicles, as detailed above.
   9         1028. Specifically, by failing to disclose and actively concealing the dangers
  10   and risk posed by the Class Vehicles due to the ACU defect, the ZF TRW and
  11   STMicro Defendants engaged in deceptive trade practices prohibited by Colo. Rev.
  12   Stat. § 6-1-105, including failing to disclose material information.
  13         1029. The ZF TRW and STMicro Defendants’ unfair or deceptive acts or
  14   practices, including their concealments, omissions, and suppressions of material
  15   facts, had a tendency or capacity to mislead and create a false impression in
  16   consumers, and were likely to and did in fact deceive reasonable consumers,
  17   including the Colorado Plaintiff and Colorado State Class members, about the true
  18   safety and reliability of Class Vehicles and/or the defective ACUs installed in them.
  19         1030. The ZF TRW and STMicro Defendants’ scheme and concealment of
  20   the ACU defect and true characteristics of the defective ACUs in the Class Vehicles
  21   were material to the Colorado Plaintiff and Colorado State Class members, as the
  22   ZF TRW and STMicro Defendants intended. Had they known the truth, the
  23   Colorado Plaintiff and Colorado State Class members would not have purchased or
  24   leased the Class Vehicles, or would have paid significantly less for them.
  25         1031. The Colorado Plaintiff and Colorado State Class members had no way
  26   of learning the facts that the ZF TRW and STMicro Defendants had concealed or
  27   failed to disclose. The Colorado Plaintiff and Colorado State Class members did
  28

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   1   not, and could not, unravel the ZF TRW and STMicro Defendants’ deception on
   2   their own.
   3         1032. The ZF TRW and STMicro Defendants had an ongoing duty to the
   4   Colorado Plaintiff and Colorado State Class members to refrain from unfair or
   5   deceptive practices under the Colorado DTPA in the course of their business.
   6   Specifically, the ZF TRW and STMicro Defendants owed the Colorado Plaintiff
   7   and Colorado State Class members a duty to disclose all the material facts
   8   concerning the ACU defect in the Class Vehicles because they possessed exclusive
   9   knowledge and they intentionally concealed the ACU defect from the Colorado
  10   Plaintiff and Colorado State Class members.
  11         1033. The Colorado Plaintiff and Colorado State Class members suffered
  12   ascertainable losses and actual damages as a direct and proximate result of the ZF
  13   TRW and STMicro Defendants’ concealment and/or failure to disclose material
  14   information.
  15         1034. The ZF TRW and STMicro Defendants’ violations present a
  16   continuing risk to the Colorado Plaintiff and Colorado State Class members, as well
  17   as to the general public. The ZF TRW and STMicro Defendants’ unlawful acts and
  18   practices complained of herein affect the public interest.
  19         1035. Pursuant to Colo. Rev. Stat. § 6-1-113, the Colorado Plaintiff and
  20   Colorado State Class members seek an order enjoining the ZF TRW and STMicro
  21   Defendants’ unfair or deceptive acts or practices and awarding damages and any
  22   other just and proper relief available under the Colorado CPA.
  23         v.       Connecticut
  24                  a.   Connecticut Count 1: Breach of Express Warranty (Conn.
  25                       Gen. Stat. Ann. §§ 42A-2-313 and 42a-2A-503) Against the
                           Honda Defendants
  26
             1036. Plaintiffs reallege and incorporate by reference all preceding
  27
       allegations as though fully set forth herein.
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   1         1037. Plaintiff Paul Huitzil (hereinafter, “Connecticut Plaintiff”) brings this
   2   count individually and on behalf of members of the Connecticut State Class who
   3   purchased or leased Honda Class Vehicles, against the Honda Defendants.
   4         1038. The Honda Defendants are and were at all relevant times “merchants”
   5   with respect to motor vehicles under Conn. Gen. Stat. Ann. §§ 42a-2-104(1) and
   6   42a-2-103(2), and “sellers” of motor vehicles under § 42a-2-103(1)(c).
   7         1039. With respect to leases, the Honda Defendants are and were at all
   8   relevant times “lessors” of motor vehicles under Conn. Gen. Stat. Ann. § 42a-2A-
   9   102(a)(23).
  10         1040. All Connecticut State Class members who purchased Honda Class
  11   Vehicles in Connecticut are “buyers” within the meaning of Conn. Gen. Stat. Ann.
  12   § 42a-2-103(1)(a).
  13         1041. All Connecticut State Class members who leased Honda Class
  14   Vehicles in Connecticut are “lessees” within the meaning of Conn. Gen. Stat. Ann.
  15   § 42a-2A-102(a)(21).
  16         1042. The Honda Class Vehicles are and were at all relevant times “goods”
  17   within the meaning of Conn. Gen. Stat. Ann. §§ 42a-2-105(1) and 42a-2-103(2).
  18         1043. In connection with the purchase or lease of Honda Class Vehicles, the
  19   Honda Defendants provided the Connecticut Plaintiff and Connecticut State Class
  20   members with written express warranties covering the repair or replacement of
  21   components that are defective in materials or workmanship.
  22         1044. The Honda Defendants’ warranties formed the basis of the bargain that
  23   was reached when the Connecticut Plaintiff and Connecticut State Class members
  24   unknowingly purchased or leased Honda Class Vehicles that came equipped with
  25   the ACU defect.
  26         1045. The Honda Defendants’ warranties formed the basis of the bargain that
  27   was reached when the Connecticut Plaintiff and Connecticut State Class members
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   1   unknowingly purchased or leased Honda Class Vehicles that came equipped with a
   2   defective ACU.
   3             1046. However, the Honda Defendants knew or should have known that the
   4   warranties were false and/or misleading. Specifically, the Honda Defendants were
   5   aware of the ACU defect in the Honda Class Vehicles, which made the vehicles
   6   inherently defective and dangerous at the time that they were sold and leased to the
   7   Connecticut Plaintiff and Connecticut State Class members.
   8             1047. The Connecticut Plaintiff and Connecticut State Class members
   9   reasonably relied on the Honda Defendants’ express warranties when purchasing or
  10   leasing their Honda Class Vehicles.
  11             1048. The Honda Defendants knowingly breached their express warranties to
  12   repair defects in materials and workmanship by failing to repair the ACU defect or
  13   replace the defective ACUs in the Honda Class Vehicles. The Honda Defendants
  14   also breached their express warranties by providing a product containing defects
  15   that were never disclosed to the Connecticut Plaintiff and Connecticut State Class
  16   members.
  17             1049. The Connecticut Plaintiff and Connecticut State Class members have
  18   provided the Honda Defendants with reasonable notice and opportunity to cure the
  19   breaches of their express warranties by way of the numerous NHTSA complaints
  20   filed against them, and individual notice letters sent by the Connecticut State Class
  21   members within a reasonable amount of time after the ACU defect became public.
  22   Additionally, a notice letter was sent on behalf of the Connecticut Plaintiff and
  23   Connecticut State Class members to FCA US LLC, Honda Defendants, Hyundai
  24   Defendants, Kia Defendants, Mitsubishi Motors North America, Inc., Toyota
  25   Defendants, Hyundai MOBIS Co. Ltd., and ZF TRW Defendants on April 24,
  26   2020.
  27             1050. Alternatively, any opportunity to cure the breach is unnecessary and
  28   futile.

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   1         1051. As a direct and proximate result of the Honda Defendants’ breach of
   2   their express warranties, the Connecticut Plaintiff and Connecticut State Class
   3   members have been damaged in an amount to be proven at trial.
   4                 b.    Connecticut Count 2: Breach of Implied Warranty of
   5                       Merchantability (Conn. Gen. Stat. Ann. §§ 42a-2-314 and
                           § 42a-2a-504) Against the Honda Defendants
   6         1052. Plaintiffs reallege and incorporate by reference all preceding
   7   allegations as though fully set forth herein.
   8         1053. The Connecticut Plaintiff brings this count individually and on behalf
   9   of members of the Connecticut State Class who purchased or leased Honda Class
  10   Vehicles, against the Honda Defendants.
  11         1054. A warranty that the Honda Class Vehicles were in merchantable
  12   condition and fit for the ordinary purpose for which such goods are used is implied
  13   by law pursuant to Conn. Gen. Stat. Ann. §§ 42A-2-314 and § 42a-2a-504.
  14         1055. The Honda Class Vehicles did not comply with the implied warranty
  15   of merchantability because, at the time of sale and at all times thereafter, they were
  16   defective and not in merchantable condition, would not pass without objection in
  17   the trade, and were not fit for the ordinary purpose for which vehicles were used.
  18   Specifically, the Honda Class Vehicles suffer from the ACU defect, which may
  19   cause the airbags and seatbelt pretensioners to fail to deploy during an accident,
  20   rendering the Honda Class Vehicles inherently defective and dangerous.
  21         1056. The Honda Defendants are and were at all relevant times “merchants”
  22   with respect to motor vehicles under Conn. Gen. Stat. Ann. §§ 42a-2-104(1) and
  23   42a-2-103(2), and “sellers” of motor vehicles under § 42a-2-103(1)(c).
  24         1057. With respect to leases, the Honda Defendants are and were at all
  25   relevant times “lessors” of motor vehicles under Conn. Gen. Stat. Ann. § 42a-2A-
  26   102(a)(23).
  27
  28

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   1             1058. All Connecticut State Class members who purchased Honda Class
   2   Vehicles in Connecticut are “buyers” within the meaning of Conn. Gen. Stat. Ann.
   3   § 42a-2-103(1)(a).
   4             1059. All Connecticut State Class members who leased Honda Class
   5   Vehicles in Connecticut are “lessees” within the meaning of Conn. Gen. Stat. Ann.
   6   § 42a-2A-102(a)(21).
   7             1060. The Honda Class Vehicles are and were at all relevant times “goods”
   8   within the meaning of Conn. Gen. Stat. Ann. §§ 42a-2-105(1) and 42a-2-103(2).
   9             1061. The Connecticut Plaintiff and Connecticut State Class members have
  10   provided the Honda Defendants with reasonable notice and opportunity to cure the
  11   breaches of their express warranties by way of the numerous NHTSA complaints
  12   filed against them, and individual notice letters sent by the Connecticut State Class
  13   members within a reasonable amount of time after the ACU defect became public.
  14   Additionally, a notice letter was sent on behalf of the Connecticut Plaintiff and
  15   Connecticut State Class members to FCA US LLC, Honda Defendants, Hyundai
  16   Defendants, Kia Defendants, Mitsubishi Motors North America, Inc., Toyota
  17   Defendants, Hyundai MOBIS Co. Ltd., and ZF TRW Defendants on April 24,
  18   2020.
  19             1062. Alternatively, any opportunity to cure the breach is unnecessary and
  20   futile.
  21             1063. As a direct and proximate result of the Honda Defendants’ breach of
  22   the implied warranty of merchantability, the Connecticut Plaintiff and Connecticut
  23   State Class members have been damaged in an amount to be proven at trial.
  24                   c.     Connecticut Count 3: Violation of the Connecticut Unlawful
  25                          Trade Practices Act (Conn. Gen. Stat. Ann. § 42-110a, et
                              seq.) Against the Honda Defendants
  26             1064. Plaintiffs reallege and incorporate by reference all preceding
  27   allegations as though fully set forth herein.
  28

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   1         1065. The Connecticut Plaintiff brings this count individually and on behalf
   2   of members of the Connecticut State Class who purchased or leased Honda Class
   3   Vehicles, against the Honda Defendants.
   4         1066. The Honda Defendants, the Connecticut Plaintiff, and Connecticut
   5   State Class members are “persons” within the meaning of Conn. Gen. Stat. Ann.
   6   § 42-110a(3).
   7         1067. The Honda Defendants were and are engaged in “trade” or
   8   “commerce” within the meaning of Conn. Gen. Stat. Ann. § 42-110a(4).
   9         1068. The Connecticut Unfair Trade Practices Act (“Connecticut UTPA”)
  10   prohibits “unfair methods of competition and unfair or deceptive acts or practices in
  11   the conduct of any trade or commerce.” Conn. Gen. Stat. Ann. § 42-110b(a).
  12         1069. In the course of their business, the Honda Defendants, through their
  13   agents, employees, and/or subsidiaries, violated the Connecticut UTPA knowingly
  14   and intentionally misrepresenting, omitting, concealing, and/or failing to disclose
  15   material facts regarding the reliability, safety, and performance of the Honda Class
  16   Vehicles and/or the defective ACUs, as detailed above.
  17         1070. Specifically, by misrepresenting the Honda Class Vehicles and/or the
  18   defective ACUs installed in them as safe and/or free from defects, and by failing to
  19   disclose and actively concealing the dangers and risk posed by the Honda Class
  20   Vehicles and/or the ACU defect, the Honda Defendants engaged in unfair methods
  21   of competition and unfair or deceptive acts or practices in the conduct of trade or
  22   commerce, as prohibited by Conn. Gen. Stat. § 42-110b(a).
  23         1071. The Honda Defendants’ unfair or deceptive acts or practices, including
  24   misrepresentations, concealments, omissions, and suppressions of material facts,
  25   had a tendency or capacity to mislead and create a false impression in consumers,
  26   and were likely to and did in fact deceive reasonable consumers, including the
  27   Connecticut Plaintiff and Connecticut State Class members, about the true safety
  28   and reliability of Honda Class Vehicles and/or the defective ACUs installed in

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   1   them, the quality of the Honda Class Vehicles, and the true value of the Honda
   2   Class Vehicles.
   3         1072. The Honda Defendants’ scheme and concealment of the ACU defect
   4   and true characteristics of the Occupant Restraint Systems in the Honda Class
   5   Vehicles were material to the Connecticut Plaintiff and Connecticut State Class
   6   members, as the Honda Defendants intended. Had they known the truth, the
   7   Connecticut Plaintiff and Connecticut State Class members would not have
   8   purchased or leased the Honda Class Vehicles, or would have paid significantly less
   9   for them.
  10         1073. The Connecticut Plaintiff and Connecticut State Class members had no
  11   way of discerning that the Honda Defendants’ representations were false and
  12   misleading, or otherwise learning the facts that the Honda Defendants had
  13   concealed or failed to disclose. The Connecticut Plaintiff and Connecticut State
  14   Class members did not, and could not, unravel the Honda Defendants’ deception on
  15   their own.
  16         1074. The Honda Defendants had an ongoing duty to the Connecticut
  17   Plaintiff and Connecticut State Class members to refrain from unfair or deceptive
  18   practices under the Connecticut UTPA in the course of their business. Specifically,
  19   the Honda Defendants owed the Connecticut Plaintiff and Connecticut State Class
  20   members a duty to disclose all the material facts concerning the ACU defect in the
  21   Honda Class Vehicles because they possessed exclusive knowledge, they
  22   intentionally concealed the ACU defect from the Connecticut Plaintiff and the
  23   Connecticut State Class members, and/or they made misrepresentations that were
  24   rendered misleading because they were contradicted by withheld facts.
  25         1075. The Connecticut Plaintiff and Connecticut State Class members
  26   suffered ascertainable losses and actual damages as a direct and proximate result of
  27   the Honda Defendants’ concealment, misrepresentations, and/or failure to disclose
  28   material information.

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   1         1076. The Honda Defendants’ violations present a continuing risk to the
   2   Connecticut Plaintiff and Connecticut State Class members, as well as to the
   3   general public. The Honda Defendants’ unlawful acts and practices complained of
   4   herein affect the public interest.
   5         1077. Pursuant to Conn. Gen. Stat. Ann. § 42-110g, the Connecticut Plaintiff
   6   and Connecticut State Class members seek an order enjoining the Honda
   7   Defendants’ unfair or deceptive acts or practices and awarding damages and any
   8   other just and proper relief available under the Connecticut UTPA.
   9                 d.    Connecticut Count 4: Violation of the Connecticut Unlawful
  10                       Trade Practices Act (Conn. Gen. Stat. Ann. § 42-110a, et
                           seq.) Against the ZF TRW and STMicro Defendants
  11         1078. Plaintiffs reallege and incorporate by reference all preceding
  12   allegations as though fully set forth herein.
  13         1079. The Connecticut Plaintiff brings this count individually and on behalf
  14   of members of the Connecticut State Class against the ZF TRW and STMicro
  15   Defendants.
  16         1080. The ZF TRW Defendants, the STMicro Defendants, the Connecticut
  17   Plaintiff, and Connecticut State Class members are “persons” within the meaning of
  18   Conn. Gen. Stat. Ann. § 42-110a(3).
  19         1081. The ZF TRW and STMicro Defendants were and are engaged in
  20   “trade” or “commerce” within the meaning of Conn. Gen. Stat. Ann. § 42-110a(4).
  21         1082. The Connecticut Unfair Trade Practices Act (“Connecticut UTPA”)
  22   prohibits “unfair methods of competition and unfair or deceptive acts or practices in
  23   the conduct of any trade or commerce.” Conn. Gen. Stat. Ann. § 42-110b(a).
  24         1083. In the course of their business the ZF TRW and STMicro Defendants,
  25   through their agents, employees, and/or subsidiaries, violated the Connecticut
  26   UTPA knowingly and intentionally omitting, concealing, and failing to disclose
  27   material facts regarding the existence, nature, and scope of the defect with ZF TRW
  28   ACUs installed in the Class Vehicles, as detailed above.
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   1           1084. Specifically, by failing to disclose and actively concealing the dangers
   2   and risk posed by the Class Vehicles due to the ACU defect, the ZF TRW and
   3   STMicro Defendants engaged in unfair methods of competition and unfair or
   4   deceptive acts or practices in the conduct of trade or commerce prohibited by Conn.
   5   Gen. Stat. § 42-110b.
   6           1085. The ZF TRW and STMicro Defendants’ unfair or deceptive acts or
   7   practices, including concealments, omissions, and suppressions of material facts,
   8   had a tendency or capacity to mislead and create a false impression in consumers,
   9   and were likely to and did in fact deceive reasonable consumers, including the
  10   Connecticut Plaintiff and Connecticut State Class members, about the true safety
  11   and reliability of Class Vehicles and/or the defective ACUs installed in them.
  12           1086. The ZF TRW and STMicro Defendants’ scheme and concealment of
  13   the ACU defect and true characteristics of the defective ACUs in the Class Vehicles
  14   were material to the Connecticut Plaintiff and Connecticut State Class members, as
  15   the ZF TRW and STMicro Defendants intended. Had they known the truth, the
  16   Connecticut Plaintiff and Connecticut State Class members would not have
  17   purchased or leased the Class Vehicles, or would have paid significantly less for
  18   them.
  19           1087. The Connecticut Plaintiff and Connecticut State Class members had no
  20   way of learning the facts that the ZF TRW and STMicro Defendants had concealed
  21   or failed to disclose. The Connecticut Plaintiff and Connecticut State Class
  22   members did not, and could not, unravel the ZF TRW and STMicro Defendants’
  23   deception on their own.
  24           1088. The ZF TRW and STMicro Defendants had an ongoing duty to the
  25   Connecticut Plaintiff and Connecticut State Class members to refrain from unfair or
  26   deceptive practices under the Connecticut UTPA in the course of their business.
  27   Specifically, the ZF TRW and STMicro Defendants owed the Connecticut Plaintiff
  28   and Connecticut State Class members a duty to disclose all the material facts

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   1   concerning the ACU defect in the Class Vehicles because they possessed exclusive
   2   knowledge and they intentionally concealed the ACU defect from the Connecticut
   3   Plaintiff and the Connecticut State Class members.
   4         1089. The Connecticut Plaintiff and Connecticut State Class members
   5   suffered ascertainable losses and actual damages as a direct and proximate result of
   6   the ZF TRW and STMicro Defendants’ concealment and/or failure to disclose
   7   material information.
   8         1090. The ZF TRW and STMicro Defendants’ violations present a
   9   continuing risk to the Connecticut Plaintiff and Connecticut State Class members,
  10   as well as to the general public. The ZF TRW and STMicro Defendants’ unlawful
  11   acts and practices complained of herein affect the public interest.
  12         1091. Pursuant to Conn. Gen. Stat. Ann. § 42-110g, the Connecticut Plaintiff
  13   and Connecticut State Class members seek an order enjoining the ZF TRW and
  14   STMicro Defendants’ unfair or deceptive acts or practices and awarding damages
  15   and any other just and proper relief available under the Connecticut UTPA.
  16         vi.    Florida
  17                a.     Florida Count 1: Breach of Express Warranty (Fla. Stat.
  18                       §§ 672.313 and 680.21) Against the FCA, Honda, Hyundai,
                           Kia, and Toyota Defendants
  19
             1092. Plaintiffs reallege and incorporate by reference all preceding
  20
       allegations as though fully set forth herein.
  21
             1093. Plaintiffs Moises Senti, Jan Freyman, and Maximillian Accetta bring
  22
       this count individually and on behalf of members of the Florida State Class who
  23
       purchased or leased FCA Class Vehicles, against the FCA Defendants.
  24
             1094. Plaintiffs Fredericka McPherson and Brian Chaiken bring this count
  25
       individually and on behalf of members of the Florida State Class who purchased or
  26
       leased Honda Class Vehicles, against the Honda Defendants.
  27
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   1         1095. Plaintiff Carl Paul Maurilus brings this count individually and on
   2   behalf of members of the Florida State Class who purchased or leased Hyundai
   3   Class Vehicles, against the Hyundai Defendants.
   4         1096. Plaintiffs John Colbert and Lawrence Graziano bring this count
   5   individually and on behalf of members of the Florida State Class who purchased or
   6   leased Kia Class Vehicles, against the Kia Defendants.
   7         1097. Plaintiffs Samuel Choc, Tatiana Gales, and Dorothy Cooks bring this
   8   count individually and on behalf of members of the Florida State Class who
   9   purchased or leased Toyota Class Vehicles, against the Toyota Defendants.
  10         1098. For purposes of the count, Plaintiffs Senti, Freyman, Accetta,
  11   McPherson, Chaiken, Maurilus, Colbert, Graziano, Choc, Gales, and Cooks shall be
  12   referred to as the “Florida Plaintiffs.”
  13         1099. The FCA, Honda, Hyundai, Kia, and Toyota Defendants are and were
  14   at all relevant times “merchants” with respect to motor vehicles under Fla. Stat.
  15   §§ 672.104(1) and 680.1031(3)(k), and “sellers” of motor vehicles under
  16   § 672.103(1)(d).
  17         1100. With respect to leases, the FCA, Honda, Hyundai, Kia, and Toyota
  18   Defendants are and were at all relevant times “lessors” of motor vehicles under Fla.
  19   Stat. § 680.1031(1)(p).
  20         1101. All Florida State Class members who purchased Class Vehicles (for
  21   purposes of this count, “Class Vehicles” are limited to the FCA, Honda, Hyundai,
  22   Kia, and Toyota Class Vehicles) in Florida are “buyers” within the meaning of Fla.
  23   Stat. §§ 672.103(1)(a).
  24         1102. All Florida State Class members who leased Class Vehicles in Florida
  25   are “lessees” within the meaning of Fla. Stat. § 680.1031(1)(n).
  26         1103. The Class Vehicles are and were at all relevant times “goods” within
  27   the meaning of Fla. Stat. §§ 672.105(1) and 680.1031(1)(h).
  28

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   1         1104. In connection with the purchase or lease of Class Vehicles, the FCA,
   2   Honda, Hyundai, Kia, and Toyota Defendants provided the Florida Plaintiffs and
   3   Florida State Class members with written express warranties covering the repair or
   4   replacement of components that are defective in materials or workmanship.
   5         1105. The FCA, Honda, Hyundai, Kia, and Toyota Defendants’ warranties
   6   formed the basis of the bargain that was reached when the Florida Plaintiffs and
   7   Florida State Class members unknowingly purchased or leased Class Vehicles that
   8   came equipped with a defective ACU.
   9         1106. The FCA, Honda, Hyundai, Kia, and Toyota Defendants’ warranties
  10   formed the basis of the bargain that was reached when the Florida Plaintiffs and
  11   Florida State Class members unknowingly purchased or leased Class Vehicles that
  12   came equipped with a defective ACU.
  13         1107. However, the FCA, Honda, Hyundai, Kia, and Toyota Defendants
  14   knew or should have known that the warranties were false and/or misleading.
  15   Specifically, the FCA, Honda, Hyundai, Kia, and Toyota Defendants were aware of
  16   the ACU defect in the Class Vehicles, which made the vehicles inherently defective
  17   and dangerous at the time that they were sold and leased to the Florida Plaintiffs
  18   and Florida State Class members.
  19         1108. The Florida Plaintiffs and Florida State Class members reasonably
  20   relied on the FCA, Honda, Hyundai, Kia, and Toyota Defendants’ express
  21   warranties when purchasing or leasing their Class Vehicles.
  22         1109. The FCA, Honda, Hyundai, Kia, and Toyota Defendants knowingly
  23   breached their express warranties to repair defects in materials and workmanship by
  24   failing to repair the ACU defect or replace the defective ACUs in the Class
  25   Vehicles. The FCA, Honda, Hyundai, Kia, and Toyota Defendants also breached
  26   their express warranties by providing a product containing defects that were never
  27   disclosed to the Florida Plaintiffs and Florida State Class members.
  28

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   1             1110. The Florida Plaintiffs and Florida State Class members have provided
   2   the FCA, Honda, Hyundai, Kia, and Toyota Defendants with reasonable notice and
   3   opportunity to cure the breaches of their express warranties by way of the numerous
   4   NHTSA complaints filed against them, and individual notice letters sent by the
   5   Florida State Class members within a reasonable amount of time after the ACU
   6   defect became public. Additionally, a notice letter was sent on behalf of the Florida
   7   Plaintiffs and Florida State Class members to FCA US LLC, Honda Defendants,
   8   Hyundai Defendants, Kia Defendants, Mitsubishi Motors North America, Inc.,
   9   Toyota Defendants, Hyundai MOBIS Co. Ltd., and ZF TRW Defendants on April
  10   24, 2020.
  11             1111. Alternatively, any opportunity to cure the breach is unnecessary and
  12   futile.
  13             1112. As a direct and proximate result of the FCA, Honda, Hyundai, Kia,
  14   and Toyota Defendants’ breach of their express warranties, the Florida Plaintiffs
  15   and Florida State Class members have been damaged in an amount to be proven at
  16   trial.
  17                   b.     Florida Count 2: Breach of Implied Warranty of
  18                          Merchantability (Fla. Stat. §§ 672.314 and 680.212) Against
                              the FCA, Honda, Hyundai, Kia, and Toyota Defendants
  19             1113. Plaintiffs reallege and incorporate by reference all preceding
  20   allegations as though fully set forth herein.
  21             1114. Plaintiffs Moises Senti, Jan Freyman, and Maximillian Accetta bring
  22   this count individually and on behalf of members of the Florida State Class who
  23   purchased or leased FCA Class Vehicles, against the FCA Defendants.
  24             1115. Plaintiffs Fredericka McPherson and Brian Chaiken bring this count
  25   individually and on behalf of members of the Florida State Class who purchased or
  26   leased Honda Class Vehicles, against the Honda Defendants.
  27
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   1         1116. Plaintiff Carl Paul Maurilus brings this count individually and on
   2   behalf of members of the Florida State Class who purchased or leased Hyundai
   3   Class Vehicles, against the Hyundai Defendants.
   4         1117. Plaintiffs John Colbert and Lawrence Graziano bring this count
   5   individually and on behalf of members of the Florida State Class who purchased or
   6   leased Kia Class Vehicles, against the Kia Defendants.
   7         1118. Plaintiffs Samuel Choc, Tatiana Gales, and Dorothy Cooks bring this
   8   count individually and on behalf of members of the Florida State Class who
   9   purchased or leased Toyota Class Vehicles, against the Toyota Defendants.
  10         1119. For purposes of the count, Plaintiffs Senti, Freyman, Accetta,
  11   McPherson, Chaiken, Maurilus, Colbert, Graziano, Choc, Gales, and Cooks shall be
  12   referred to as the “Florida Plaintiffs.”
  13         1120. A warranty that the Class Vehicles (for purposes of this count, “Class
  14   Vehicles” are limited to the FCA, Honda, Hyundai, Kia, and Toyota Class
  15   Vehicles) were in merchantable condition and fit for the ordinary purpose for which
  16   such goods are used is implied by law pursuant to Fla. Stat. §§ 672.314 and
  17   680.212.
  18         1121. The Class Vehicles did not comply with the implied warranty of
  19   merchantability because, at the time of sale and at all times thereafter, they were
  20   defective and not in merchantable condition, would not pass without objection in
  21   the trade, and were not fit for the ordinary purpose for which vehicles were used.
  22   Specifically, the Class Vehicles suffer from the ACU defect, which may cause the
  23   airbags and seatbelt pretensioners to fail to deploy during an accident, rendering the
  24   Class Vehicles inherently defective and dangerous.
  25         1122. The FCA, Honda, Hyundai, Kia, and Toyota Defendants are and were
  26   at all relevant times “merchants” with respect to motor vehicles under Fla. Stat.
  27   §§ 672.104(1) and 680.1031(3)(k), and “sellers” of motor vehicles under
  28   § 672.103(1)(d).

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   1         1123. With respect to leases, the FCA, Honda, Hyundai, Kia, and Toyota
   2   Defendants are and were at all relevant times “lessors” of motor vehicles under Fla.
   3   Stat. § 680.1031(1)(p).
   4         1124. All Florida State Class members who purchased Class Vehicles in
   5   Florida are “buyers” within the meaning of Fla. Stat. §§ 672.103(1)(a).
   6         1125. All Florida State Class members who leased Class Vehicles in Florida
   7   are “lessees” within the meaning of Fla. Stat. § 680.1031(1)(n).
   8         1126. The Class Vehicles are and were at all relevant times “goods” within
   9   the meaning of Fla. Stat. §§ 672.105(1) and 680.1031(1)(h).
  10         1127. The Florida Plaintiffs and Florida State Class members have provided
  11   the FCA, Honda, Hyundai, Kia, and Toyota Defendants with reasonable notice and
  12   opportunity to cure the breaches of their express warranties by way of the numerous
  13   NHTSA complaints filed against them, and individual notice letters sent by the
  14   Florida State Class members within a reasonable amount of time after the ACU
  15   defect became public. Additionally, a notice letter was sent on behalf of the Florida
  16   Plaintiffs and Florida State Class members to FCA US LLC, Honda Defendants,
  17   Hyundai Defendants, Kia Defendants, Mitsubishi Motors North America, Inc.,
  18   Toyota Defendants, Hyundai MOBIS Co. Ltd., and ZF TRW Defendants on April
  19   24, 2020.
  20         1128. As a direct and proximate result of the FCA, Honda, Hyundai, Kia,
  21   and Toyota Defendants’ breach of the implied warranty of merchantability, the
  22   Florida Plaintiffs and Florida State Class members have been damaged in an
  23   amount to be proven at trial.
  24                c.     Florida Count 3: Violation of the Florida Deceptive &
  25                       Unfair Trade Practices Act (Fla. Stat. § 501.201, et seq.)
                           Against the FCA, Honda, Hyundai, Kia, Toyota Defendants,
  26                       and Hyundai MOBIS
  27         1129. Plaintiffs reallege and incorporate by reference all preceding

  28   allegations as though fully set forth herein.

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   1         1130. Plaintiffs Moises Senti, Jan Freyman, and Maximillian Accetta bring
   2   this count individually and on behalf of members of the Florida State Class who
   3   purchased or leased FCA Class Vehicles, against the FCA Defendants.
   4         1131. Plaintiffs Fredericka McPherson and Brian Chaiken bring this count
   5   individually and on behalf of members of the Florida State Class who purchased or
   6   leased Honda Class Vehicles, against the Honda Defendants.
   7         1132. Plaintiff Carl Paul Maurilus brings this count individually and on
   8   behalf of members of the Florida State Class who purchased or leased Hyundai
   9   Class Vehicles, against the Hyundai Defendants and Hyundai MOBIS.
  10         1133. Plaintiffs John Colbert and Lawrence Graziano bring this count
  11   individually and on behalf of members of the Florida State Class who purchased or
  12   leased Kia Class Vehicles, against the Kia Defendants and Hyundai MOBIS.
  13         1134. Plaintiffs Samuel Choc, Tatiana Gales, and Dorothy Cooks bring this
  14   count individually and on behalf of members of the Florida State Class who
  15   purchased or leased Toyota Class Vehicles, against the Toyota Defendants.
  16         1135. For purposes of the count, Plaintiffs Senti, Freyman, Accetta,
  17   McPherson, Chaiken, Maurilus, Colbert, Graziano, Choc, Gales, and Cooks shall be
  18   referred to as the “Florida Plaintiffs.”
  19         1136. The Florida Plaintiffs and Florida State Class members are
  20   “consumers” within the meaning of Fla. Stat. § 501.203(7).
  21         1137. The FCA, Honda, Hyundai, Kia, Toyota Defendants, and Hyundai
  22   MOBIS were and are engaged in “trade or commerce” within the meaning of Fla.
  23   Stat. § 501.203(8).
  24         1138. The Florida Unfair and Deceptive Trade Practices Act (“Florida
  25   UDTPA”) prohibits “[u]nfair methods of competition, unconscionable acts or
  26   practices, and unfair or deceptive acts or practices in the conduct of any trade or
  27   commerce.” Fla. Stat. § 501.204(1).
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   1         1139. In the course of their business, the FCA, Honda, Hyundai, Kia, Toyota
   2   Defendants, and Hyundai MOBIS, through their agents, employees, and/or
   3   subsidiaries, violated the Florida UDTPA by knowingly and intentionally
   4   misrepresenting, omitting, concealing, and/or failing to disclose material facts
   5   regarding the reliability, safety, and performance of the Class Vehicles (for
   6   purposes of this count, “Class Vehicles” are limited to the FCA, Honda, Hyundai,
   7   Kia, and Toyota Class Vehicles) or the defective ACUs, as detailed above.
   8         1140. Specifically, by misrepresenting the Class Vehicles and/or the
   9   defective ACUs installed in them as safe and/or free from defects, and by failing to
  10   disclose and actively concealing the dangers and risk posed by the Class Vehicles
  11   and/or the ACU defect, the FCA, Honda, Hyundai, Kia, Toyota Defendants, and
  12   Hyundai MOBIS engaged in unfair methods of competition, unconscionable acts or
  13   practices, and unfair or deceptive acts or practices in the conduct of any trade or
  14   commerce, as prohibited by Fla. Stat. § 501.204(1).
  15         1141. The FCA, Honda, Hyundai, Kia, Toyota Defendants, and Hyundai
  16   MOBIS’s unfair or deceptive acts or practices, including misrepresentations,
  17   concealments, omissions, and/or suppressions of material facts, had a tendency or
  18   capacity to mislead and create a false impression in consumers, and were likely to
  19   and did in fact deceive reasonable consumers, including the Florida Plaintiffs and
  20   Florida State Class members, about the true safety and reliability of Class Vehicles
  21   and/or the defective ACUs installed in them, the quality of the Class Vehicles, and
  22   the true value of the Class Vehicles.
  23         1142. The FCA, Honda, Hyundai, Kia, Toyota Defendants, and Hyundai
  24   MOBIS’s scheme and concealment of the ACU defect and true characteristics of
  25   the Occupant Restraint Systems in the Class Vehicles were material to the Florida
  26   Plaintiffs and Florida State Class members, as the FCA, Honda, Hyundai, Kia,
  27   Toyota Defendants, and Hyundai MOBIS intended. Had they known the truth, the
  28

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   1   Florida Plaintiffs and Florida State Class members would not have purchased or
   2   leased the Class Vehicles, or would have paid significantly less for them.
   3         1143. The Florida Plaintiffs and Florida State Class members had no way of
   4   discerning that the FCA, Honda, Hyundai, Kia, and Toyota Defendants’
   5   representations were false and misleading and/or otherwise learning the facts that
   6   the FCA, Honda, Hyundai, Kia, Toyota Defendants, and Hyundai MOBIS had
   7   concealed or failed to disclose. The Florida Plaintiffs and Florida State Class
   8   members did not, and could not, unravel the FCA, Honda, Hyundai, Kia, Toyota
   9   Defendants, and Hyundai MOBIS’s deception on their own.
  10         1144. The FCA, Honda, Hyundai, Kia, Toyota Defendants, and Hyundai
  11   MOBIS had an ongoing duty to the Florida Plaintiffs and Florida State Class
  12   members to refrain from unfair or deceptive practices under the Florida UDTPA in
  13   the course of their business. Specifically, the FCA, Honda, Hyundai, Kia, Toyota
  14   Defendants, and Hyundai MOBIS owed the Florida Plaintiffs and Florida State
  15   Class members a duty to disclose all the material facts concerning the ACU defect
  16   in the Class Vehicles because they possessed exclusive knowledge, they
  17   intentionally concealed the ACU defect from the Florida Plaintiffs and Florida State
  18   Class members, and/or they made misrepresentations that were rendered misleading
  19   because they were contradicted by withheld facts.
  20         1145. The Florida Plaintiffs and Florida State Class members suffered
  21   ascertainable losses and actual damages as a direct and proximate result of the
  22   FCA, Honda, Hyundai, Kia, Toyota Defendants, and Hyundai MOBIS’s
  23   concealment, misrepresentations, and/or failure to disclose material information.
  24         1146. The FCA, Honda, Hyundai, Kia, Toyota Defendants, and Hyundai
  25   MOBIS’s violations present a continuing risk to the Florida Plaintiffs and Florida
  26   State Class members, as well as to the general public. The FCA, Honda, Hyundai,
  27   Kia, Toyota Defendants, and Hyundai MOBIS’s unlawful acts and practices
  28   complained of herein affect the public interest.

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   1         1147. Pursuant to Fla. Stat. § 501.211, the Florida Plaintiffs and Florida State
   2   Class members seek an order enjoining the FCA, Honda, Hyundai, Kia, Toyota
   3   Defendants, and Hyundai MOBIS’s unfair or deceptive acts or practices and
   4   awarding damages and any other just and proper relief available under the Florida
   5   UDTPA.
   6                 d.    Florida Count 4: Violation of the Florida Deceptive &
   7                       Unfair Trade Practices Act (Fla. Stat. § 501.201, et seq.)
                           Against the ZF TRW and STMicro Defendants
   8         1148. Plaintiffs reallege and incorporate by reference all preceding
   9   allegations as though fully set forth herein.
  10         1149. Plaintiffs Moises Senti, Jan Freyman, Maximillian Accetta, Fredericka
  11   McPherson, Brian Chaiken, Carl Paul Maurilus, John Colbert, Lawrence Graziano,
  12   Samuel Choc, Tatiana Gales, and Dorothy Cooks bring this count individually and
  13   on behalf of members of the Florida State Class against the ZF TRW and STMicro
  14   Defendants.
  15         1150. For purposes of the count, Plaintiffs Senti, Freyman, Accetta,
  16   McPherson, Chaiken, Maurilus, Colbert, Graziano, Choc, Gales, and Cooks shall be
  17   referred to as the “Florida Plaintiffs.”
  18         1151. The Florida Plaintiffs and Florida State Class members are
  19   “consumers” within the meaning of Fla. Stat. § 501.203(7).
  20         1152. The ZF TRW and STMicro Defendants were and are engaged in “trade
  21   or commerce” within the meaning of Fla. Stat. § 501.203(8).
  22         1153. The Florida Unfair and Deceptive Trade Practices Act (“Florida
  23   UDTPA”) prohibits “[u]nfair methods of competition, unconscionable acts or
  24   practices, and unfair or deceptive acts or practices in the conduct of any trade or
  25   commerce.” Fla. Stat. § 501.204(1).
  26         1154. In the course of their business the ZF TRW and STMicro Defendants,
  27   through their agents, employees, and/or subsidiaries, violated the Florida UDTPA
  28   by knowingly and intentionally omitting, concealing, and failing to disclose
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   1   material facts regarding the existence, nature, and scope of the defect with ZF TRW
   2   ACUs installed in the Class Vehicles, as detailed above.
   3          1155. Specifically, by failing to disclose and actively concealing the dangers
   4   and risk posed by the Class Vehicles due to the ACU defect, the ZF TRW and
   5   STMicro Defendants engaged in unfair methods of competition, unconscionable
   6   acts or practices, and unfair or deceptive acts or practices in the conduct of trade or
   7   commerce prohibited by Fla. Stat. § 501.204(1).
   8          1156. The ZF TRW and STMicro Defendants’ unfair or deceptive acts or
   9   practices, including concealments, omissions, and suppressions of material facts,
  10   had a tendency or capacity to mislead and create a false impression in consumers,
  11   and were likely to and did in fact deceive reasonable consumers, including the
  12   Florida Plaintiffs and Florida State Class members, about the true safety and
  13   reliability of Class Vehicles and/or the defective ACUs installed in them.
  14          1157. The ZF TRW and STMicro Defendants’ scheme and concealment of
  15   the ACU defect and true characteristics of the defective ACUs in the Class Vehicles
  16   were material to the Florida Plaintiffs and Florida State Class members, as the ZF
  17   TRW and STMicro Defendants intended. Had they known the truth, the Florida
  18   Plaintiffs and Florida State Class members would not have purchased or leased the
  19   Class Vehicles, or would have paid significantly less for them.
  20          1158. The Florida Plaintiffs and Florida State Class members had no way of
  21   learning the facts that the ZF TRW and STMicro Defendants had concealed or
  22   failed to disclose. The Florida Plaintiffs and Florida State Class members did not,
  23   and could not, unravel the ZF TRW and STMicro Defendants’ deception on their
  24   own.
  25          1159. The ZF TRW and STMicro Defendants had an ongoing duty to the
  26   Florida Plaintiffs and Florida State Class members to refrain from unfair or
  27   deceptive practices under the Florida UDTPA in the course of their business.
  28   Specifically, the ZF TRW and STMicro Defendants owed the Florida Plaintiffs and

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   1   Florida State Class members a duty to disclose all the material facts concerning the
   2   ACU defect in the Class Vehicles because they possessed exclusive knowledge and
   3   they intentionally concealed the ACU defect from the Florida Plaintiffs and Florida
   4   State Class members.
   5         1160. The Florida Plaintiffs and Florida State Class members suffered
   6   ascertainable losses and actual damages as a direct and proximate result of the ZF
   7   TRW and STMicro Defendants’ concealment and/or failure to disclose material
   8   information.
   9         1161. The ZF TRW and STMicro Defendants’ violations present a
  10   continuing risk to the Florida Plaintiffs and Florida State Class members, as well as
  11   to the general public. The ZF TRW and STMicro Defendants’ unlawful acts and
  12   practices complained of herein affect the public interest.
  13         1162. Pursuant to Fla. Stat. § 501.211, the Florida Plaintiffs and Florida State
  14   Class members seek an order enjoining the ZF TRW and STMicro Defendants’
  15   unfair or deceptive acts or practices and awarding damages and any other just and
  16   proper relief available under the Florida UDTPA.
  17         vii.     Illinois
  18                  a.    Illinois Count 1: Breach of Express Warranty (810 Ill.
  19                        Comp. Stat. 5/2-313 and 5/2A-210) Against the Hyundai and
                            Kia Defendants
  20
             1163. Plaintiffs reallege and incorporate by reference all preceding
  21
       allegations as though fully set forth herein.
  22
             1164. Plaintiff Ricky Gerischer brings this count individually and on behalf
  23
       of members of the Illinois State Class who purchased or leased Hyundai Class
  24
       Vehicles, against the Hyundai Defendants.
  25
             1165. Plaintiffs Amanda Swanson and Brian Collins bring this count
  26
       individually and on behalf of members of the Illinois State Class who purchased or
  27
       leased Kia Class Vehicles, against the Kia Defendants.
  28

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   1          1166. For purposes of this count, Plaintiffs Gerischer, Swanson, and Collins
   2   shall be referred to as the “Illinois Plaintiffs.”
   3          1167. The Hyundai and Kia Defendants are and were at all relevant times
   4   “merchants” with respect to motor vehicles under 810 ILCS 5/2-104(1) and 5/2A-
   5   103(3), and “sellers” of motor vehicles under 5/2-103(1)(d).
   6          1168. With respect to leases, the Hyundai and Kia Defendants are and were
   7   at all relevant times “lessors” of motor vehicles under 810 ILCS 5/2A-103(1)(p).
   8          1169. All Illinois State Class members who purchased Class Vehicles (for
   9   purposes of this count, “Class Vehicles” are limited to the Hyundai and Kia Class
  10   Vehicles) in Illinois are “buyers” within the meaning of 810 ILCS 5/2-103(1)(a).
  11          1170. All Illinois State Class members who leased Class Vehicles in Illinois
  12   “lessees” within the meaning of 810 ILCS 5/2A-103(1)(n).
  13          1171. The Class Vehicles are and were at all relevant times “goods” within
  14   the meaning of 810 ILCS 5/2-105(1) and 5/2A-103(1)(h).
  15          1172. In connection with the purchase or lease of Class Vehicles, the
  16   Hyundai and Kia Defendants provided the Illinois Plaintiffs and Illinois State Class
  17   members with written express warranties covering the repair or replacement of
  18   components that are defective in materials or workmanship.
  19          1173. The Hyundai and Kia Defendants’ warranties formed the basis of the
  20   bargain that was reached when the Illinois Plaintiffs and Illinois State Class
  21   members unknowingly purchased or leased Class Vehicles that came equipped with
  22   a defective ACU.
  23          1174. The Hyundai and Kia Defendants’ warranties formed the basis of the
  24   bargain that was reached when the Illinois Plaintiffs and Illinois State Class
  25   members unknowingly purchased or leased Class Vehicles that came equipped with
  26   a defective ACU. However, the Hyundai and Kia Defendants knew or should have
  27   known that the warranties were false and/or misleading. Specifically, the Hyundai
  28   and Kia Defendants were aware of the ACU defect in the Class Vehicles, which

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   1   made the vehicles inherently defective and dangerous at the time that they were
   2   sold and leased to the Illinois Plaintiffs and Illinois State Class members.
   3             1175. The Illinois Plaintiff and Illinois State Class members reasonably
   4   relied on the Hyundai and Kia Defendants’ express warranties when purchasing or
   5   leasing their Class Vehicles.
   6             1176. The Hyundai and Kia Defendants knowingly breached their express
   7   warranties to repair defects in materials and workmanship by failing to repair the
   8   ACU defect or replace the defective ACUs in the Class Vehicles. The Hyundai and
   9   Kia Defendants also breached their express warranties by providing a product
  10   containing defects that were never disclosed to the Illinois Plaintiff and Illinois
  11   State Class members
  12             1177. The Illinois Plaintiffs and Illinois State Class members have provided
  13   the Hyundai and Kia Defendants with reasonable notice and opportunity to cure the
  14   breaches of their express warranties by way of the numerous NHTSA complaints
  15   filed against them, and individual notice letters sent by the Illinois State Class
  16   members within a reasonable amount of time after the ACU defect became public.
  17   Additionally, a notice letter was sent on behalf of the Illinois Plaintiffs and Illinois
  18   State Class members to FCA US LLC, Honda Defendants, Hyundai Defendants,
  19   Kia Defendants, Mitsubishi Motors North America, Inc., Toyota Defendants,
  20   Hyundai MOBIS Co. Ltd., and ZF TRW Defendants on April 24, 2020.
  21             1178. Alternatively, any opportunity to cure the breach is unnecessary and
  22   futile.
  23             1179. As a direct and proximate result of the Hyundai and Kia Defendants’
  24   breach of their express warranties, the Illinois Plaintiffs and Illinois State Class
  25   members have been damaged in an amount to be proven at trial.
  26
  27
  28

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   1                 b.     Illinois Count 2: Breach of Implied Warranty of
                            Merchantability (810 Ill. Comp. Stat. 5/2-314 and 5/2A-212)
   2                        Against the Hyundai and Kia Defendants
   3          1180. Plaintiffs reallege and incorporate by reference all preceding
   4   allegations as though fully set forth herein.
   5          1181. Plaintiff Ricky Gerischer brings this count individually and on behalf
   6   of members of the Illinois State Class who purchased or leased Hyundai Class
   7   Vehicles, against the Hyundai Defendants.
   8          1182. Plaintiffs Amanda Swanson and Brian Collins bring this count
   9   individually and on behalf of members of the Illinois State Class who purchased or
  10   leased Kia Class Vehicles, against the Kia Defendants.
  11          1183. For purposes of this count, Plaintiffs Gerischer, Swanson, and Collins
  12   shall be referred to as the “Illinois Plaintiffs.”
  13          1184. A warranty that the Class Vehicles (for purposes of this count, “Class
  14   Vehicles” are limited to the Hyundai and Kia Class Vehicles) were in merchantable
  15   condition and fit for the ordinary purpose for which such goods are used is implied
  16   by law pursuant to 810 ILCS 5/2-314 and 5/2A-212.
  17          1185. The Class Vehicles did not comply with the implied warranty of
  18   merchantability because, at the time of sale and at all times thereafter, they were
  19   defective and not in merchantable condition, would not pass without objection in
  20   the trade, and were not fit for the ordinary purpose for which vehicles were used.
  21   Specifically, the Class Vehicles suffer from the ACU defect, may cause the airbags
  22   and seatbelt pretensioners to fail to deploy during an accident, rendering the Class
  23   Vehicles inherently defective and dangerous.
  24          1186. The Hyundai and Kia Defendants are and were at all relevant times
  25   “merchants” with respect to motor vehicles under 810 ILCS 5/2-104(1) and 5/2A-
  26   103(3), and “sellers” of motor vehicles under 5/2-103(1)(d).
  27          1187. With respect to leases, the Hyundai and Kia Defendants are and were
  28   at all relevant times “lessors” of motor vehicles under 810 ILCS 5/2A-103(1)(p).

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   1             1188. All Illinois State Class members who purchased Class Vehicles in
   2   Illinois are “buyers” within the meaning of 810 ILCS 5/2-103(1)(a).
   3             1189. All Illinois State Class members who leased Class Vehicles in Illinois
   4   “lessees” within the meaning of 810 ILCS 5/2A-103(1)(n).
   5             1190. The Class Vehicles are and were at all relevant times “goods” within
   6   the meaning of 810 ILCS 5/2-105(1) and 5/2A-103(1)(h).
   7             1191. The Illinois Plaintiffs and Illinois State Class members have provided
   8   the Hyundai and Kia Defendants with reasonable notice and opportunity to cure the
   9   breaches of their express warranties by way of the numerous NHTSA complaints
  10   filed against them, and individual notice letters sent by the Illinois State Class
  11   members within a reasonable amount of time after the ACU defect became public.
  12   Additionally, a notice letter was sent on behalf of the Illinois Plaintiffs and Illinois
  13   State Class members to FCA US LLC, Honda Defendants, Hyundai Defendants,
  14   Kia Defendants, Mitsubishi Motors North America, Inc., Toyota Defendants,
  15   Hyundai MOBIS Co. Ltd., and ZF TRW Defendants on April 24, 2020.
  16             1192. Alternatively, any opportunity to cure the breach is unnecessary and
  17   futile.
  18             1193. As a direct and proximate result of the Hyundai and Kia Defendants’
  19   breach of the implied warranty of merchantability, the Illinois Plaintiffs and Illinois
  20   State Class members have been damaged in an amount to be proven at trial.
  21                   c.     Illinois Count 3: Violation of the Illinois Consumer Fraud
  22                          and Deceptive Business Practices Act (815 Ill. Comp. Stat.
                              505/1, et seq.) Against the Hyundai and Kia Defendants and
  23                          Hyundai MOBIS
  24             1194. Plaintiffs reallege and incorporate by reference all preceding
  25   allegations as though fully set forth herein.
  26             1195. Plaintiff Ricky Gerischer brings this count individually and on behalf
  27   of members of the Illinois State Class who purchased or leased Hyundai Class
  28   Vehicles, against the Hyundai Defendants and Hyundai MOBIS.

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   1          1196. Plaintiffs Amanda Swanson and Brian Collins bring this count
   2   individually and on behalf of members of the Illinois State Class who purchased or
   3   leased Kia Class Vehicles, against the Kia Defendants and Hyundai MOBIS.
   4          1197. For purposes of this count, Plaintiffs Gerischer, Swanson, and Collins
   5   shall be referred to as the “Illinois Plaintiffs.”
   6          1198. The Hyundai Defendants, the Kia Defendants, Hyundai MOBIS, the
   7   Illinois Plaintiffs, and Illinois State Class members are “persons” within the
   8   meaning of 815 ILCS 505/1(c).
   9          1199. The Illinois Plaintiffs and Illinois State Class members are
  10   “consumers” within the meaning of 815 ILCS 505/1(e).
  11          1200. The Class Vehicles (for purposes of this count, “Class Vehicles” are
  12   limited to the Hyundai and Kia Class Vehicles) and the ACUs installed in them are
  13   “merchandise” within the meaning of 815 ILCS 505/1(b).
  14          1201. The Hyundai and Kia Defendants and Hyundai MOBIS were and are
  15   engaged in “trade” and “commerce” within the meaning of 815 ILCS 505/1(f).
  16          1202. The Illinois Consumer Fraud and Deceptive Business Practices Act
  17   (“Illinois CFDBPA”) prohibits “[u]nfair methods of competition and unfair or
  18   deceptive acts or practices[.]” 815 ILCS 505/2.
  19          1203. In the course of their business, the Hyundai and Kia Defendants and
  20   Hyundai MOBIS, through their agents, employees, and/or subsidiaries, violated the
  21   Illinois CFDBPA by knowingly and intentionally misrepresenting, omitting,
  22   concealing, and/or failing to disclose material facts regarding the reliability, safety,
  23   and performance of the Class Vehicles and/or the defective ACUs, as detailed
  24   above.
  25          1204. Specifically, by misrepresenting the Class Vehicles and/or the
  26   defective ACUs installed in them as safe and/or free from defects, and by failing to
  27   disclose and actively concealing the dangers and risk posed by the Class Vehicles
  28   and/or the ACU defect, the Hyundai and Kia Defendants and Hyundai MOBIS

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   1   engaged in one or more of the following unfair or deceptive business practices
   2   prohibited by 815 ILCS 505/2 and 510/2:
   3                a.    Causing likelihood of confusion or of misunderstanding as to the
   4                      approval or certification of the Class Vehicles;
   5                b.    Representing that the Class Vehicles have approval,
   6                      characteristics, uses, or benefits that they do not have;
   7                c.    Representing that the Class Vehicles are of a particular standard,
   8                      quality, and grade when they are not;
   9                d.    Advertising the Class Vehicles with the intent not to sell or lease
  10                      them as advertised;
  11                e.    Engaging in other conduct which created a likelihood of
  12                      confusion or of misunderstanding; and/or
  13                f.    Using or employing deception, fraud, false pretense, false
  14                      promise or misrepresentation, or the concealment, suppression
  15                      or omission of a material fact with intent that others rely upon
  16                      such concealment, suppression or omission, in connection with
  17                      the advertisement and sale/lease of the Class Vehicles, whether
  18                      or not any person has in fact been misled, deceived or damaged
  19                      thereby.
  20         ILCS 505/2, 815 ILCS 510/2
  21         1205. The Hyundai and Kia Defendants and Hyundai MOBIS’s unfair or
  22   deceptive acts or practices, including misrepresentations, concealments, omissions,
  23   and/or suppressions of material facts, had a tendency or capacity to mislead and
  24   create a false impression in consumers, and were likely to and did in fact deceive
  25   reasonable consumers, including the Illinois Plaintiffs and Illinois State Class
  26   members, about the true safety and reliability of Class Vehicles and/or the defective
  27   ACUs installed in them, the quality of the Class Vehicles, and the true value of the
  28   Class Vehicles.

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   1         1206. The Hyundai and Kia Defendants and Hyundai MOBIS’s scheme and
   2   concealment of the ACU defect and true characteristics of the Occupant Restraint
   3   Systems in the Class Vehicles were material to the Illinois Plaintiffs and Illinois
   4   State Class members, as the Hyundai and Kia Defendants and Hyundai MOBIS
   5   intended. Had they known the truth, the Illinois Plaintiffs and Illinois State Class
   6   members would not have purchased or leased the Class Vehicles, or would have
   7   paid significantly less for them.
   8         1207. The Illinois Plaintiffs and Illinois State Class members had no way of
   9   discerning that the Hyundai and Kia Defendants’ representations were false and
  10   misleading and/or otherwise learning the facts that the Hyundai and Kia Defendants
  11   and Hyundai MOBIS had concealed or failed to disclose. The Illinois Plaintiffs and
  12   Illinois State Class members did not, and could not, unravel the Hyundai and Kia
  13   Defendants and Hyundai MOBIS’s deception on their own.
  14         1208. The Hyundai and Kia Defendants and Hyundai MOBIS had an
  15   ongoing duty to the Illinois Plaintiffs and Illinois State Class members to refrain
  16   from unfair or deceptive practices under the Illinois CFDBPA in the course of their
  17   business. Specifically, the Hyundai and Kia Defendants and Hyundai MOBIS owed
  18   the Illinois Plaintiffs and Illinois State Class members a duty to disclose all the
  19   material facts concerning the ACU defect in the Class Vehicles because they
  20   possessed exclusive knowledge, they intentionally concealed the ACU defect from
  21   the Illinois Plaintiffs and Illinois State Class members, and/or they made
  22   misrepresentations that were rendered misleading because they were contradicted
  23   by withheld facts.
  24         1209. The Illinois Plaintiffs and Illinois State Class members suffered
  25   ascertainable losses and actual damages as a direct and proximate result of the
  26   Hyundai and Kia Defendants and Hyundai MOBIS’s concealment,
  27   misrepresentations, and/or failure to disclose material information.
  28

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   1          1210. The Hyundai and Kia Defendants and Hyundai MOBIS’s violations
   2   present a continuing risk to the Illinois Plaintiffs and Illinois State Class members,
   3   as well as to the general public. The Hyundai and Kia Defendants and Hyundai
   4   MOBIS’s unlawful acts and practices complained of herein affect the public
   5   interest.
   6          1211. Pursuant to 815 ILCS 505/10a, the Illinois Plaintiffs and Illinois State
   7   Class members seek an order enjoining the Hyundai and Kia Defendants and
   8   Hyundai MOBIS’s unfair or deceptive acts or practices and awarding damages and
   9   any other just and proper relief available under the Illinois CFDBPA.
  10                 d.     Illinois Count 4: Violation of the Illinois Consumer Fraud
  11                        and Deceptive Business Practices Act (815 Ill. Comp. Stat.
                            505/1, et seq.) Against the ZF TRW and STMicro
  12                        Defendants
  13          1212. Plaintiffs reallege and incorporate by reference all preceding
  14   allegations as though fully set forth herein.
  15          1213. Plaintiffs Ricky Gerischer, Amanda Swanson, and Brian Collins bring
  16   this count individually and behalf of members of the Illinois State Class against the
  17   ZF TRW and STMicro Defendants.
  18          1214. For purposes of this count, Plaintiffs Gerischer, Swanson, and Collins
  19   shall be referred to as the “Illinois Plaintiffs.”
  20          1215. The ZF TRW Defendants, the STMicro Defendants, the Illinois
  21   Plaintiffs, and Illinois State Class members are “persons” within the meaning of
  22   815 ILCS 505/1(c).
  23          1216. The Illinois Plaintiffs and Illinois State Class members are
  24   “consumers” within the meaning of 815 ILCS 505/1(e).
  25          1217. The Class Vehicles and the ACUs installed in them are “merchandise”
  26   within the meaning of 815 ILCS 505/1(b).
  27          1218. The ZF TRW and STMicro Defendants were and are engaged in
  28   “trade” and “commerce” within the meaning of 815 ILCS 505/1(f).

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   1         1219. The Illinois Consumer Fraud and Deceptive Business Practices Act
   2   (“Illinois CFDBPA”) prohibits “[u]nfair methods of competition and unfair or
   3   deceptive acts or practices[.]” 815 ILCS 505/2.
   4         1220. In the course of their business the ZF TRW and STMicro Defendants,
   5   through their agents, employees, and/or subsidiaries, violated the Illinois CFDBPA
   6   by knowingly and intentionally omitting, concealing, and failing to disclose
   7   material facts regarding the existence, nature, and scope of the defect with ZF TRW
   8   ACUs installed in the Class Vehicles, as detailed above.
   9         1221. Specifically, by failing to disclose and actively concealing the dangers
  10   and risk posed by the Class Vehicles due to the ACU defect, the ZF TRW and
  11   STMicro Defendants engaged in unfair or deceptive business practices prohibited
  12   by 815 ILCS 505/2, including the use or employment of deception and fraud,
  13   and/or the concealment, suppression or omission of material facts, and engaging in
  14   conduct which creates a likelihood of confusion or misunderstanding.
  15         1222. The ZF TRW and STMicro Defendants’ unfair or deceptive acts or
  16   practices, including concealments, omissions, and suppressions of material facts,
  17   had a tendency or capacity to mislead and create a false impression in consumers,
  18   and were likely to and did in fact deceive reasonable consumers, including the
  19   Illinois Plaintiffs and Illinois State Class members, about the true safety and
  20   reliability of Class Vehicles and/or the defective ACUs installed in them.
  21         1223. The ZF TRW and STMicro Defendants’ scheme and concealment of
  22   the ACU defect and true characteristics of the defective ACUs in the Class Vehicles
  23   were material to the Illinois Plaintiffs and Illinois State Class members, as the ZF
  24   TRW and STMicro Defendants intended. Had they known the truth, the Illinois
  25   Plaintiffs and Illinois State Class members would not have purchased or leased the
  26   Class Vehicles, or would have paid significantly less for them.
  27         1224. The Illinois Plaintiffs and Illinois State Class members had no way of
  28   learning the facts that the ZF TRW and STMicro Defendants had concealed or

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   1   failed to disclose. The Illinois Plaintiffs and Illinois State Class members did not,
   2   and could not, unravel the ZF TRW and STMicro Defendants’ deception on their
   3   own.
   4          1225. The ZF TRW and STMicro Defendants had an ongoing duty to the
   5   Illinois Plaintiffs and Illinois State Class members to refrain from unfair or
   6   deceptive practices under the Illinois CFDBPA in the course of their business.
   7   Specifically, the ZF TRW and STMicro Defendants owed the Illinois Plaintiffs and
   8   Illinois State Class members a duty to disclose all the material facts concerning the
   9   ACU defect in the Class Vehicles because they possessed exclusive knowledge and
  10   they intentionally concealed the ACU defect from the Illinois Plaintiffs and Illinois
  11   State Class members.
  12          1226. The Illinois Plaintiffs and Illinois State Class members suffered
  13   ascertainable losses and actual damages as a direct and proximate result of the ZF
  14   TRW and STMicro Defendants’ concealment and/or failure to disclose material
  15   information.
  16          1227. The ZF TRW and STMicro Defendants’ violations present a
  17   continuing risk to the Illinois Plaintiffs and Illinois State Class members, as well as
  18   to the general public. The ZF TRW and STMicro Defendants’ unlawful acts and
  19   practices complained of herein affect the public interest.
  20          1228. Pursuant to 815 ILCS 505/10a, the Illinois Plaintiffs and Illinois State
  21   Class members seek an order enjoining the ZF TRW and STMicro Defendants’
  22   unfair or deceptive acts or practices and awarding damages and any other just and
  23   proper relief available under the Illinois CFDBPA.
  24                  e.   Illinois Count 5: Violation of the Illinois Uniform Deceptive
  25                       Trade Practices Act (815 Ill. Comp. Stat. 510/1, et seq.)
                           Against the Hyundai and Defendants and Hyundai MOBIS
  26          1229. Plaintiffs reallege and incorporate by reference all preceding
  27   allegations as though fully set forth herein.
  28

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   1          1230. Plaintiff Ricky Gerischer brings this count individually and on behalf
   2   of members of the Illinois State Class who purchased or leased Hyundai Class
   3   Vehicles, against the Hyundai Defendants and Hyundai MOBIS.
   4          1231. Plaintiffs Amanda Swanson and Brian Collins bring this count
   5   individually and on behalf of members of the Illinois State Class who purchased or
   6   leased Kia Class Vehicles, against the Kia Defendants and Hyundai MOBIS.
   7          1232. For purposes of this count, Plaintiffs Gerischer, Swanson, and Collins
   8   shall be referred to as the “Illinois Plaintiffs.”
   9          1233. The Hyundai Defendants, the Kia Defendants, Hyundai MOBIS, the
  10   Illinois Plaintiffs, and Illinois State Class members are “persons” within the
  11   meaning of 815 ILCS 510/1(5).
  12          1234. The Illinois Uniform Deceptive Trade Practices Act (“Illinois
  13   UDTPA”) prohibits deceptive trade practices in the course of a business, vocation,
  14   or occupation. 815 ILCS 510/2(a).
  15          1235. In the course of their business, the Hyundai and Kia Defendants and
  16   Hyundai MOBIS, through their agents, employees, and/or subsidiaries, violated the
  17   Illinois UDTPA by knowingly and intentionally misrepresenting, omitting,
  18   concealing, and/or failing to disclose material facts regarding the reliability, safety,
  19   and performance of the Class Vehicles (for purposes of this count, “Class Vehicles”
  20   are limited to the Hyundai and Kia Class Vehicles) or the defective ACUs, as
  21   detailed above.
  22          1236. Specifically, by misrepresenting the Class Vehicles and/or the
  23   defective ACUs installed in them as safe and/or free from defects, and by failing to
  24   disclose and actively concealing the dangers and risk posed by the Class Vehicles
  25   and/or the ACU defect, the Hyundai and Kia Defendants and Hyundai MOBIS
  26   engaged in one or more of the following unfair or deceptive business practices
  27   prohibited by 815 ILCS 510/2(a):
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   1                a.     Representing that the Class Vehicles and/or the defective ACUs
   2                       installed in them have characteristics, uses, benefits, and
   3                       qualities which they do not have;
   4                b.     Representing that the Class Vehicles and/or the defective ACUs
   5                       installed in them are of a particular standard, quality, and grade
   6                       when they are not;
   7                c.     Advertising the Class Vehicles and/or the defective ACUs
   8                       installed in them with the intent not to sell or lease them as
   9                       advertised; and
  10                d.     engaging in other conduct which similarly creates a likelihood
  11                       of confusion or misunderstanding.
  12         815 ILCS 510/2(a)(5), (7), (9), and (12)
  13         1237. The Hyundai and Kia Defendants and Hyundai MOBIS’s unfair or
  14   deceptive acts or practices, including misrepresentations, concealments, omissions,
  15   and/or suppressions of material facts, had a tendency or capacity to mislead and
  16   create a false impression in consumers, and were likely to and did in fact deceive
  17   reasonable consumers, including the Illinois Plaintiffs and Illinois State Class
  18   members, about the true safety and reliability of Class Vehicles and/or the defective
  19   ACUs installed in them, the quality of the Class Vehicles, and the true value of the
  20   Class Vehicles.
  21         1238. The Hyundai and Kia Defendants and Hyundai MOBIS’s scheme and
  22   concealment of the ACU defect and true characteristics of the Occupant Restraint
  23   Systems in the Class Vehicles were material to the Illinois Plaintiffs and Illinois
  24   State Class members, as the Hyundai and Kia Defendants and Hyundai MOBIS
  25   intended. Had they known the truth, the Illinois Plaintiffs and Illinois State Class
  26   members would not have purchased or leased the Class Vehicles, or would have
  27   paid significantly less for them.
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   1          1239. The Illinois Plaintiffs and Illinois State Class members had no way of
   2   discerning that the Hyundai and Kia Defendants’ representations were false and
   3   misleading and/or otherwise learning the facts that the Hyundai and Kia Defendants
   4   and Hyundai MOBIS had concealed or failed to disclose. The Illinois Plaintiffs and
   5   Illinois State Class members did not, and could not, unravel the Hyundai and Kia
   6   Defendants and Hyundai MOBIS’s deception on their own.
   7          1240. The Hyundai and Kia Defendants and Hyundai MOBIS had an
   8   ongoing duty to the Illinois Plaintiffs and Illinois State Class members to refrain
   9   from unfair or deceptive practices under the Illinois UDTPA in the course of their
  10   business. Specifically, the Hyundai and Kia Defendants and Hyundai MOBIS owed
  11   the Illinois Plaintiffs and Illinois State Class members a duty to disclose all the
  12   material facts concerning the ACU defect in the Class Vehicles because they
  13   possessed exclusive knowledge, they intentionally concealed the ACU defect from
  14   the Illinois Plaintiffs and Illinois State Class members, and/or they made
  15   misrepresentations that were rendered misleading because they were contradicted
  16   by withheld facts.
  17          1241. The Illinois Plaintiffs and Illinois State Class members suffered
  18   ascertainable losses and actual damages as a direct and proximate result of the
  19   Hyundai and Kia Defendants and Hyundai MOBIS’s concealment,
  20   misrepresentations, and/or failure to disclose material information.
  21          1242. The Hyundai and Kia Defendants and Hyundai MOBIS’s violations
  22   present a continuing risk to the Illinois Plaintiffs and Illinois State Class members,
  23   as well as to the general public. The Hyundai and Kia Defendants and Hyundai
  24   MOBIS’s unlawful acts and practices complained of herein affect the public
  25   interest.
  26          1243. Pursuant to 815 ILCS 510/3, the Illinois Plaintiffs and Illinois State
  27   Class members seek an order enjoining the Hyundai and Kia Defendants and
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   1   Hyundai MOBIS’s unfair or deceptive acts or practices and awarding damages and
   2   any other just and proper relief available under the Illinois UDTPA.
   3                 f.     Illinois Count 6: Violation of the Illinois Uniform Deceptive
   4                        Trade Practices Act (815 Ill. Comp. Stat. 510/1, et seq.)
                            Against the ZF TRW and STMicro Defendants
   5          1244. Plaintiffs reallege and incorporate by reference all preceding
   6   allegations as though fully set forth herein.
   7          1245. Plaintiffs Ricky Gerischer, Amanda Swanson, and Brian Collins bring
   8   this count individually and behalf of members of the Illinois State Class against the
   9   ZF TRW and STMicro Defendants.
  10          1246. For purposes of this count, Plaintiffs Gerischer, Swanson, and Collins
  11   shall be referred to as the “Illinois Plaintiffs.”
  12          1247. The ZF TRW Defendants, the STMicro Defendants, the Illinois
  13   Plaintiffs, and Illinois State Class members are “persons” within the meaning of
  14   815 ILCS 510/1(5).
  15          1248. The Illinois Uniform Deceptive Trade Practices Act (“Illinois
  16   UDTPA”) prohibits deceptive trade practices in the course of a business, vocation,
  17   or occupation. 815 ILCS 510/2(a).
  18          1249. In the course of their business the ZF TRW and STMicro Defendants,
  19   through their agents, employees, and/or subsidiaries, violated the Illinois UDTPA
  20   by knowingly and intentionally omitting, concealing, and failing to disclose
  21   material facts regarding the existence, nature, and scope of the defect with ZF TRW
  22   ACUs installed in the Class Vehicles, as detailed above.
  23          1250. Specifically, by failing to disclose and actively concealing the dangers
  24   and risk posed by the Class Vehicles due to the ACU defect, the ZF TRW and
  25   STMicro Defendants engaged in unfair or deceptive business practices prohibited
  26   by 815 ILCS 510/2, including engaging in conduct which creates a likelihood of
  27   confusion or misunderstanding.
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   1          1251. The ZF TRW and STMicro Defendants’ unfair or deceptive acts or
   2   practices, including concealments, omissions, and suppressions of material facts,
   3   had a tendency or capacity to mislead and create a false impression in consumers,
   4   and were likely to and did in fact deceive reasonable consumers, including the
   5   Illinois Plaintiffs and Illinois State Class members, about the true safety and
   6   reliability of Class Vehicles and/or the defective ACUs installed in them.
   7          1252. The ZF TRW and STMicro Defendants’ scheme and concealment of
   8   the ACU defect and true characteristics of the defective ACUs in the Class Vehicles
   9   were material to the Illinois Plaintiffs and Illinois State Class members, as the ZF
  10   TRW and STMicro Defendants intended. Had they known the truth, the Illinois
  11   Plaintiffs and Illinois State Class members would not have purchased or leased the
  12   Class Vehicles, or would have paid significantly less for them.
  13          1253. The Illinois Plaintiffs and Illinois State Class members had no way of
  14   learning the facts that the ZF TRW and STMicro Defendants had concealed or
  15   failed to disclose. The Illinois Plaintiffs and Illinois State Class members did not,
  16   and could not, unravel the ZF TRW and STMicro Defendants’ deception on their
  17   own.
  18          1254. The ZF TRW and STMicro Defendants had an ongoing duty to the
  19   Illinois Plaintiffs and Illinois State Class members to refrain from unfair or
  20   deceptive practices under the Illinois UDTPA in the course of their business.
  21   Specifically, the ZF TRW and STMicro Defendants owed the Illinois Plaintiffs and
  22   Illinois State Class members a duty to disclose all the material facts concerning the
  23   ACU defect in the Class Vehicles because they possessed exclusive knowledge and
  24   they intentionally concealed the ACU defect from the Illinois Plaintiffs and Illinois
  25   State Class members.
  26          1255. The Illinois Plaintiffs and Illinois State Class members suffered
  27   ascertainable losses and actual damages as a direct and proximate result of the ZF
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   1   TRW and STMicro Defendants’ concealment and/or failure to disclose material
   2   information.
   3         1256. The ZF TRW and STMicro Defendants’ violations present a
   4   continuing risk to the Illinois Plaintiffs and Illinois State Class members, as well as
   5   to the general public. The ZF TRW and STMicro Defendants’ unlawful acts and
   6   practices complained of herein affect the public interest.
   7         1257. Pursuant to 815 ILCS 510/3, the Illinois Plaintiffs and Illinois State
   8   Class members seek an order enjoining the ZF TRW and STMicro Defendants’
   9   unfair or deceptive acts or practices and awarding damages and any other just and
  10   proper relief available under the Illinois UDTPA.
  11         viii. Indiana
  12                  a.   Indiana Count 1: Breach of Express Warranty (Ind. Code
  13                       §§ 26-1-2-313 and 26-1-2.1-210) Against the Kia Defendants
  14         1258. Plaintiffs reallege and incorporate by reference all preceding

  15   allegations as though fully set forth herein.

  16         1259. Plaintiffs Carl Miller and Kenneth Ogorek (hereinafter, “Indiana

  17   Plaintiffs”) bring this count individually and on behalf of members of the Indiana

  18   State Class who purchased or leased Kia Class Vehicles, against the Kia

  19   Defendants.

  20         1260. The Kia Defendants are and were at all relevant times “merchants”

  21   with respect to motor vehicles under Ind. Code §§ 26-1-2.1-103(3) and 26-1-2-

  22   104(1), and “sellers” of motor vehicles under § 26-1-2-103(1)(d).

  23         1261. With respect to leases, the Kia Defendants are and were at all relevant

  24   times “lessors” of motor vehicles under Ind. Code § 26-1-2.1-103(1)(p).

  25         1262. All Indiana State Class members who purchased Kia Class Vehicles in

  26   Indiana are “buyers” within the meaning of Ind. Code § 26-1-2-103(1)(a).

  27         1263. All Indiana State Class members who leased Kia Class Vehicles in

  28   Indiana are “lessees” within the meaning of Ind. Code § 26-1-2.1-103(1)(n).

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   1         1264. The Kia Class Vehicles are and were at all relevant times “goods”
   2   within the meaning of Ind. Code §§ 26-1-2.1-103(1)(h) and 26-1-2-105(1).
   3         1265. In connection with the purchase or lease of Kia Class Vehicles, the Kia
   4   Defendants provided the Indiana Plaintiffs and Indiana State Class members with
   5   written express warranties covering the repair or replacement of components that
   6   are defective in materials or workmanship.
   7         1266. The Kia Defendants’ warranties formed the basis of the bargain that
   8   was reached when the Indiana Plaintiffs and Indiana State Class members
   9   unknowingly purchased or leased Kia Class Vehicles that came equipped with a
  10   defective ACU.
  11         1267. The Kia Defendants’ warranties formed the basis of the bargain that
  12   was reached when the Indiana Plaintiffs and Indiana State Class members
  13   unknowingly purchased or leased Kia Class Vehicles that came equipped with a
  14   defective ACU.
  15         1268. However, the Kia Defendants knew or should have known that the
  16   warranties were false and/or misleading. Specifically, the Kia Defendants were
  17   aware of the ACU defect in the Kia Class Vehicles, which made the vehicles
  18   inherently defective and dangerous at the time that they were sold and leased to the
  19   Indiana Plaintiffs and Indiana State Class members.
  20         1269. The Indiana Plaintiffs and Indiana State Class members reasonably
  21   relied on the Kia Defendants’ express warranties when purchasing or leasing their
  22   Kia Class Vehicles.
  23         1270. The Kia Defendants knowingly breached their express warranties to
  24   repair defects in materials and workmanship by failing to repair the ACU defect or
  25   replace the defective ACUs in the Kia Class Vehicles. The Kia Defendants also
  26   breached their express warranties by providing a product containing defects that
  27   were never disclosed to the Indiana Plaintiffs and Indiana State Class members.
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   1             1271. The Indiana Plaintiffs and Indiana State Class members have provided
   2   the Kia Defendants with reasonable notice and opportunity to cure the breaches of
   3   their express warranties by way of the numerous NHTSA complaints filed against
   4   them, and individual notice letters sent by the Indiana State Class members within a
   5   reasonable amount of time after the ACU defect became public. Additionally, on
   6   May 23, 2019, Indiana State Class members sent a notice letter pursuant to FCA US
   7   LLC, Honda Defendants, Hyundai Defendants, Kia Defendants, Mitsubishi Motors
   8   North America, Inc., Toyota Defendants, and ZF TRW Defendants. Moreover, a
   9   notice letter was sent on behalf of the Indiana Plaintiffs and Indiana State Class
  10   members to FCA US LLC, Honda Defendants, Hyundai Defendants, Kia
  11   Defendants, Mitsubishi Motors North America, Inc., Toyota Defendants, Hyundai
  12   MOBIS Co. Ltd., and ZF TRW Defendants on April 24, 2020.
  13             1272. Alternatively, any opportunity to cure the breach is unnecessary and
  14   futile.
  15             1273. As a direct and proximate result of the Kia Defendants’ breach of their
  16   express warranties, the Indiana Plaintiffs and Indiana State Class members have
  17   been damaged in an amount to be proven at trial.
  18                   b.     Indiana Count 2: Breach of Implied Warranty of
  19                          Merchantability (IND. CODE §§ 26-1-2-314 and 26-1-2.1-
                              212) Against the Kia Defendants
  20             1274. Plaintiffs reallege and incorporate by reference all preceding
  21   allegations as though fully set forth herein.
  22             1275. The Indiana Plaintiffs bring this count individually and on behalf of
  23   members of the Indiana State Class who purchased or leased Kia Class Vehicles,
  24   against the Kia Defendants.
  25             1276. A warranty that the Kia Class Vehicles were in merchantable condition
  26   and fit for the ordinary purpose for which such goods are used is implied by law
  27   pursuant to Ind. Code §§ 26-1-2-314 and 26-1-2.1-212.
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   1         1277. The Kia Class Vehicles did not comply with the implied warranty of
   2   merchantability because, at the time of sale and at all times thereafter, they were
   3   defective and not in merchantable condition, would not pass without objection in
   4   the trade, and were not fit for the ordinary purpose for which vehicles were used.
   5   Specifically, the Kia Class Vehicles suffer from the ACU defect, which may cause
   6   the airbags and seatbelt pretensioners to fail to deploy during an accident, rendering
   7   the Kia Class Vehicles inherently defective and dangerous.
   8         1278. The Kia Defendants are and were at all relevant times “merchants”
   9   with respect to motor vehicles under Ind. Code §§ 26-1-2.1-103(3) and 26-1-2-
  10   104(1), and “sellers” of motor vehicles under § 26-1-2-103(1)(d).
  11         1279. With respect to leases, the Kia Defendants are and were at all relevant
  12   times “lessors” of motor vehicles under Ind. Code § 26-1-2.1-103(1)(p).
  13         1280. All Indiana State Class members who purchased Kia Class Vehicles in
  14   Indiana are “buyers” within the meaning of Ind. Code § 26-1-2-103(1)(a).
  15         1281. All Indiana State Class members who leased Kia Class Vehicles in
  16   Indiana are “lessees” within the meaning of Ind. Code § 26-1-2.1-103(1)(n).
  17         1282. The Kia Class Vehicles are and were at all relevant times “goods”
  18   within the meaning of Ind. Code §§ 26-1-2.1-103(1)(h) and 26-1-2-105(1).
  19         1283. The Indiana Plaintiffs and Indiana State Class members have provided
  20   the Kia Defendants with reasonable notice and opportunity to cure the breaches of
  21   their implied warranties by way of the numerous NHTSA complaints filed against
  22   them, and individual notice letters sent by Indiana State Class members within a
  23   reasonable amount of time after the ACU defect became public. Additionally, on
  24   May 23, 2019, Indiana State Class members sent a notice letter pursuant to FCA US
  25   LLC, Honda Defendants, Hyundai Defendants, Kia Defendants, Mitsubishi Motors
  26   North America, Inc., Toyota Defendants, and ZF TRW Defendants. Moreover, a
  27   notice letter was sent on behalf of the Indiana Plaintiffs and Indiana State Class
  28   members to FCA US LLC, Honda Defendants, Hyundai Defendants, Kia

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   1   Defendants, Mitsubishi Motors North America, Inc., Toyota Defendants, Hyundai
   2   MOBIS Co. Ltd., and ZF TRW Defendants on April 24, 2020.
   3         1284. As a direct and proximate result of the Kia Defendants’ breach of the
   4   implied warranty of merchantability, the Indiana Plaintiffs and Indiana State Class
   5   members have been damaged in an amount to be proven at trial.
   6                  c.   Indiana Count 3: Violation of the Indiana Deceptive
   7                       Consumer Sales Act (Ind. Code § 24-5-0.5-3, et seq.) Against
                           the Kia Defendants and Hyundai MOBIS
   8         1285. Plaintiffs reallege and incorporate by reference all preceding
   9   allegations as though fully set forth herein.
  10         1286. The Indiana Plaintiffs bring this count individually and on behalf of
  11   members of the Indiana State Class who purchased or leased Kia Class Vehicles,
  12   against the Kia Defendants and Hyundai MOBIS.
  13         1287. The Kia Defendants and Hyundai MOBIS are “suppliers” within the
  14   meaning of Ind. Code § 24-5-0.5-2(a)(3).
  15         1288. The Kia Defendants, Hyundai MOBIS, the Indiana Plaintiffs, and the
  16   Indiana State Class members are “persons” within the meaning of Ind. Code § 24-5-
  17   0.5-2(a)(2).
  18         1289. The Kia Defendants and Hyundai MOBIS were and are engaged in
  19   “consumer transactions” within the meaning of Ind. Code § 24-5-0.5-2(a)(1).
  20         1290. The Indiana Deceptive Consumer Sales Act (“Indiana DCSA”)
  21   prohibits a supplier from committing an “unfair, abusive, or deceptive act,
  22   omission, or practice in connection with a consumer transaction.” Ind. Code § 24-5-
  23   0.5-3(a).
  24         1291. In the course of their business, the Kia Defendants and Hyundai
  25   MOBIS, through their agents, employees, and/or subsidiaries, violated the Indiana
  26   DCSA by knowingly and intentionally misrepresenting, omitting, concealing,
  27   and/or failing to disclose material facts regarding the reliability, safety, and
  28   performance of the Kia Class Vehicles or the defective ACUs, as detailed above.
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   1         1292. Specifically, by misrepresenting the Kia Class Vehicles and/or the
   2   defective ACUs installed in them as safe and/or free from defects, and by failing to
   3   disclose and actively concealing the dangers and risk posed by the Kia Class
   4   Vehicles and/or the ACU defect, the Kia Defendants and Hyundai MOBIS engaged
   5   in one or more of the following unfair or deceptive business practices prohibited by
   6   Ind. Code § 24-5-0.5-3:
   7                a.     Representing that the Kia Class Vehicles have approval,
   8                       characteristics, uses, or benefits that they do not have;
   9                b.     Representing that the Kia Class Vehicles are of a particular
  10                       standard, quality, and grade when they are not; and
  11                c.     Advertising the Kia Class Vehicles with the intent not to sell or
  12                       lease them as advertised.
  13         Ind. Code §§ 24-5-0.5-3(b)(1), (2), and (11).
  14         1293. The Kia Defendants and Hyundai MOBIS’s unfair or deceptive acts or
  15   practices, including misrepresentations, concealments, omissions, and/or
  16   suppressions of material facts, had a tendency or capacity to mislead and create a
  17   false impression in consumers, and were likely to and did in fact deceive reasonable
  18   consumers, including the Indiana Plaintiffs and Indiana State Class members, about
  19   the true safety and reliability of Kia Class Vehicles and/or the defective ACUs
  20   installed in them, the quality of the Kia Class Vehicles, and the true value of the
  21   Kia Class Vehicles.
  22         1294. The Kia Defendants and Hyundai MOBIS’s scheme and concealment
  23   of the ACU defect and true characteristics of the Occupant Restraint Systems in the
  24   Kia Class Vehicles were material to the Indiana Plaintiffs and Indiana State Class
  25   members, as the Kia Defendants and Hyundai MOBIS intended. Had they known
  26   the truth, the Indiana Plaintiffs and Indiana State Class members would not have
  27   purchased or leased the Kia Class Vehicles, or would have paid significantly less
  28   for them.

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   1         1295. The Indiana Plaintiffs and Indiana State Class members had no way of
   2   discerning that the Kia Defendants’ representations were false and misleading
   3   and/or otherwise learning the facts that the Kia Defendants and Hyundai MOBIS
   4   had concealed or failed to disclose. The Indiana Plaintiffs and Indiana State Class
   5   members did not, and could not, unravel the Kia Defendants and Hyundai MOBIS’s
   6   deception on their own.
   7         1296. The Kia Defendants and Hyundai MOBIS had an ongoing duty to the
   8   Indiana Plaintiffs and Indiana State Class members to refrain from unfair or
   9   deceptive practices under the Indiana DCSA in the course of their business.
  10   Specifically, the Kia Defendants and Hyundai MOBIS owed the Indiana Plaintiffs
  11   and Indiana State Class members a duty to disclose all the material facts concerning
  12   the ACU defect in the Kia Class Vehicles because they possessed exclusive
  13   knowledge, they intentionally concealed the ACU defect from the Indiana Plaintiffs
  14   and Indiana State Class members, and/or they made misrepresentations that were
  15   rendered misleading because they were contradicted by withheld facts.
  16         1297. The Indiana Plaintiffs and Indiana State Class members suffered
  17   ascertainable losses and actual damages as a direct and proximate result of the Kia
  18   Defendants and Hyundai MOBIS’s concealment, misrepresentations, and/or failure
  19   to disclose material information.
  20         1298. The Kia Defendants and Hyundai MOBIS’s violations present a
  21   continuing risk to the Indiana Plaintiffs and Indiana State Class members, as well as
  22   to the general public. The Kia Defendants and Hyundai MOBIS’s unlawful acts and
  23   practices complained of herein affect the public interest.
  24         1299. The Kia Defendants and Hyundai MOBIS were provided notice of the
  25   issues raised in this count and this Complaint by the NHTSA investigations, the
  26   numerous complaints filed against them, and the individual notice letters sent by
  27   the Indiana State Class members within a reasonable amount of time after the ACU
  28   defect became public. Additionally, on May 23, 2019, Indiana State Class members

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   1   sent a notice letter pursuant to Ind. Code § 24-5-0.5-5(a) to FCA US LLC, Honda
   2   Defendants, Hyundai Defendants, Kia Defendants, Mitsubishi Motors North
   3   America, Inc., Toyota Defendants, and ZF TRW Defendants. Moreover, a second
   4   notice letter was sent on behalf of the Indiana Plaintiffs and Indiana State Class
   5   members pursuant to Ind. Code § 24-5-0.5-5(a) to FCA US LLC, Honda
   6   Defendants, Hyundai Defendants, Kia Defendants, Mitsubishi Motors North
   7   America, Inc., Toyota Defendants, Hyundai MOBIS Co. Ltd., and ZF TRW
   8   Defendants on April 24, 2020. Because the Kia Defendants and Hyundai MOBIS
   9   failed to adequately remedy their unlawful conduct within the requisite time period,
  10   the Indiana Plaintiffs seek all damages and relief to which they and the Indiana
  11   State Class members are entitled.
  12         1300. Pursuant to Ind. Code § 24-5-0.5-4, the Indiana Plaintiffs and Indiana
  13   State Class members seek an order enjoining the Kia Defendants and Hyundai
  14   MOBIS’s unfair or deceptive acts or practices and awarding damages and any other
  15   just and proper relief available under the Indiana DCSA.
  16                  d.   Indiana Count 4: Violation of the Indiana Deceptive
  17                       Consumer Sales Act (Ind. Code § 24-5-0.5-3, et seq.) Against
                           the ZF TRW and STMicro Defendants
  18         1301. Plaintiffs reallege and incorporate by reference all preceding
  19   allegations as though fully set forth herein.
  20         1302. The Indiana Plaintiffs bring this count on behalf individually and on
  21   behalf of members of the Indiana State Class against the ZF TRW and STMicro
  22   Defendants.
  23         1303. Defendants are “suppliers” within the meaning of Ind. Code § 24-5-
  24   0.5-2(a)(3).
  25         1304. The ZF TRW and STMicro Defendants, the Indiana Plaintiffs, and the
  26   Indiana State Class members are “persons” within the meaning of Ind. Code § 24-5-
  27   0.5-2(a)(2).
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   1         1305. The ZF TRW and STMicro Defendants were and are engaged in
   2   “consumer transactions” within the meaning of Ind. Code § 24-5-0.5-2(a)(1).
   3         1306. The Indiana Deceptive Consumer Sales Act (“Indiana DCSA”)
   4   prohibits a supplier from committing an “unfair, abusive, or deceptive act,
   5   omission, or practice in connection with a consumer transaction.” Ind. Code § 24-5-
   6   0.5-3(a).
   7         1307. In the course of their business, the ZF TRW and STMicro Defendants,
   8   through their agents, employees, and/or subsidiaries, violated the Indiana DCSA by
   9   knowingly and intentionally omitting, concealing, and/or failing to disclose
  10   material facts regarding the existence, nature, and scope of the defect with ZF TRW
  11   ACUs installed in the Class Vehicles, as detailed above.
  12         1308. Specifically, by failing to disclose and actively concealing the dangers
  13   and risk posed by the Class Vehicles due to the ACU defect, the ZF TRW and
  14   STMicro Defendants engaged in an unfair, abusive, or deceptive act, omission, or
  15   practice in connection with a consumer transaction prohibited by Ind. Code § 24-5-
  16   0.5-3(a).
  17         1309. The ZF TRW and STMicro Defendants’ unfair or deceptive acts or
  18   practices, including concealments, omissions, and suppressions of material facts,
  19   had a tendency or capacity to mislead and create a false impression in consumers,
  20   and were likely to and did in fact deceive reasonable consumers, including the
  21   Indiana Plaintiffs and Indiana State Class members, about the true safety and
  22   reliability of Class Vehicles and/or the defective ACUs installed in them.
  23         1310. The ZF TRW and STMicro Defendants’ scheme and concealment of
  24   the ACU defect and true characteristics of the defective ACUs in the Class Vehicles
  25   were material to the Indiana Plaintiffs and Indiana State Class members, as the ZF
  26   TRW and STMicro Defendants intended. Had they known the truth, the Indiana
  27   Plaintiffs and Indiana State Class members would not have purchased or leased the
  28   Class Vehicles, or would have paid significantly less for them.

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   1          1311. The Indiana Plaintiffs and Indiana State Class members had no way of
   2   learning the facts that the ZF TRW and STMicro Defendants had concealed or
   3   failed to disclose. The Indiana Plaintiffs and Indiana State Class members did not,
   4   and could not, unravel the ZF TRW and STMicro Defendants’ deception on their
   5   own.
   6          1312. The ZF TRW and STMicro Defendants had an ongoing duty to the
   7   Indiana Plaintiffs and Indiana State Class members to refrain from unfair or
   8   deceptive practices under the Indiana DCSA in the course of their business.
   9   Specifically, the ZF TRW and STMicro Defendants owed the Indiana Plaintiffs and
  10   Indiana State Class members a duty to disclose all the material facts concerning the
  11   ACU defect in the Class Vehicles because they possessed exclusive knowledge and
  12   they intentionally concealed the ACU defect from the Indiana Plaintiffs and Indiana
  13   State Class members.
  14          1313. The Indiana Plaintiffs and Indiana State Class members suffered
  15   ascertainable losses and actual damages as a direct and proximate result of the ZF
  16   TRW and STMicro Defendants’ concealment and/or failure to disclose material
  17   information.
  18          1314. The ZF TRW and STMicro Defendants’ violations present a
  19   continuing risk to the Indiana Plaintiffs and Indiana State Class members, as well as
  20   to the general public. The ZF TRW and STMicro Defendants’ unlawful acts and
  21   practices complained of herein affect the public interest.
  22          1315. The ZF TRW and STMicro Defendants were provided notice of the
  23   issues raised in this count and this Complaint by the NHTSA investigations, the
  24   numerous complaints filed against them, and the individual notice letters sent by
  25   the Indiana State Class members within a reasonable amount of time after the ACU
  26   defect became public. Additionally, on May 23, 2019, Indiana State Class members
  27   sent a notice letter pursuant to Ind. Code § 24-5-0.5-5(a) to FCA US LLC, Honda
  28   Defendants, Hyundai Defendants, Kia Defendants, Mitsubishi Motors North

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   1   America, Inc., Toyota Defendants, and ZF TRW Defendants. Moreover, a second
   2   notice letter was sent on behalf of the Indiana Plaintiffs and Indiana State Class
   3   members pursuant to Ind. Code § 24-5-0.5-5(a) to FCA US LLC, Honda
   4   Defendants, Hyundai Defendants, Kia Defendants, Mitsubishi Motors North
   5   America, Inc., Toyota Defendants, Hyundai Mobis, and ZF TRW Defendants on
   6   April 24, 2020. Because the ZF TRW and STMicro Defendants failed to adequately
   7   remedy their unlawful conduct within the requisite time period, the Indiana
   8   Plaintiffs seek all damages and relief to which they and the Indiana State Class
   9   members are entitled.
  10         1316. Alternatively, any requirement to give notice to the Defendants under
  11   Ind. Code §§ 24-5-0.5-5 is excused because the ACU defect is incurable and
  12   Defendants behavior was done as part of a scheme, artifice, or device with intent to
  13   defraud and mislead.
  14         1317. Pursuant to Ind. Code § 24-5-0.5-4, the Indiana Plaintiffs and Indiana
  15   State Class members seek an order enjoining the ZF TRW and STMicro
  16   Defendants’ unfair or deceptive acts or practices and awarding damages and any
  17   other just and proper relief available under the Indiana DCSA.
  18         ix.    Kansas
  19                a.     Kansas Count 1: Breach of Express Warranty (Kan. Stat.
  20                       Ann. §§ 84-2-313 and 84-2A-210) Against the Hyundai
                           Defendants
  21
             1318. Plaintiffs reallege and incorporate by reference all preceding
  22
       allegations as though fully set forth herein.
  23
             1319. Plaintiff Carma Rockers (hereinafter, “Kansas Plaintiff”) brings this
  24
       count individually and on behalf of members of the Kansas State Class who
  25
       purchased or leased Hyundai Class Vehicles, against the Hyundai Defendants.
  26
             1320. The Hyundai Defendants are and were at all relevant times
  27
       “merchants” with respect to motor vehicles under Kan. Stat. Ann. §§ 84-2-104(1)
  28
       and 84-2A-103(3), and “sellers” of motor vehicles under § 84-2-103(1)(d).
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   1         1321. With respect to leases, the Hyundai Defendants are and were at all
   2   relevant times “lessors” of motor vehicles under Kan. Stat. Ann. § 84-2A-103(1)(p).
   3         1322. All Kansas State Class members who purchased Hyundai Class
   4   Vehicles in Kansas are “buyers” within the meaning of Kan. Stat. Ann. § 84-2-
   5   103(1)(a).
   6         1323. All Kansas State Class members who leased Hyundai Class Vehicles
   7   in Kansas are “lessees” within the meaning of Kan. Stat. Ann. § 84-2A-103(1)(n).
   8         1324. The Hyundai Class Vehicles are and were at all relevant times “goods”
   9   within the meaning of Kan. Stat. Ann. §§ 84-2-105(1) and 84-2A-103(1)(h).
  10         1325. In connection with the purchase or lease of Hyundai Class Vehicles,
  11   the Hyundai Defendants provided the Kansas Plaintiff and Kansas State Class
  12   members with written express warranties covering the repair or replacement of
  13   components that are defective in materials or workmanship.
  14         1326. The Hyundai Defendants’ warranties formed the basis of the bargain
  15   that was reached when the Kansas Plaintiff and Kansas State Class members
  16   unknowingly purchased or leased Hyundai Class Vehicles that came equipped with
  17   a defective ACU.
  18         1327. The Hyundai Defendants’ warranties formed the basis of the bargain
  19   that was reached when the Kansas Plaintiff and Kansas State Class members
  20   unknowingly purchased or leased Hyundai Class Vehicles that came equipped with
  21   a defective ACU.
  22         1328. However, the Hyundai Defendants knew or should have known that
  23   the warranties were false and/or misleading. Specifically, the Hyundai Defendants
  24   were aware of the ACU defect in the Hyundai Class Vehicles, which made the
  25   vehicles inherently defective and dangerous at the time that they were sold and
  26   leased to the Kansas Plaintiff and Kansas State Class members.
  27
  28

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   1             1329. The Kansas Plaintiff and Kansas State Class members reasonably
   2   relied on the Hyundai Defendants’ express warranties when purchasing or leasing
   3   their Hyundai Class Vehicles.
   4             1330. The Hyundai Defendants knowingly breached their express warranties
   5   to repair defects in materials and workmanship by failing to repair the ACU defect
   6   or replace the defective ACUs in the Hyundai Class Vehicles. The Hyundai
   7   Defendants also breached their express warranties by providing a product
   8   containing defects that were never disclosed to the Kansas Plaintiff and Kansas
   9   State Class members.
  10             1331. The Kansas Plaintiff and Kansas State Class members have provided
  11   the Hyundai Defendants with reasonable notice and opportunity to cure the
  12   breaches of their express warranties by way of the numerous NHTSA complaints
  13   filed against them, and individual notice letters sent by the Kansas State Class
  14   members within a reasonable amount of time after the ACU defect became public.
  15   Additionally, a notice letter was sent on behalf of the Kansas Plaintiff and Kansas
  16   State Class members to FCA US LLC, Honda Defendants, Hyundai Defendants,
  17   Kia Defendants, Mitsubishi Motors North America, Inc., Toyota Defendants,
  18   Hyundai MOBIS Co. Ltd., and ZF TRW Defendants on April 24, 2020.
  19             1332. Alternatively, any opportunity to cure the breach is unnecessary and
  20   futile.
  21             1333. As a direct and proximate result of the Hyundai Defendants’ breach of
  22   their express warranties, the Kansas Plaintiff and Kansas State Class members have
  23   been damaged in an amount to be proven at trial.
  24                   b.     Kansas Count 2: Breach of Implied Warranty of
  25                          Merchantability (Kan. Stat. Ann. §§ 84-2-314 and 84-2A-
                              212) Against the Hyundai Defendants
  26             1334. Plaintiffs reallege and incorporate by reference all preceding
  27   allegations as though fully set forth herein.
  28

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   1         1335. The Kansas Plaintiff brings this count individually and on behalf of
   2   members of the Kansas State Class who purchased or leased Hyundai Class
   3   Vehicles, against the Hyundai Defendants.
   4         1336. A warranty that the Hyundai Class Vehicles were in merchantable
   5   condition and fit for the ordinary purpose for which such goods are used is implied
   6   by law pursuant to Kan. Stat. Ann. §§ 84-2-314 and 84-2A-212. The Hyundai Class
   7   Vehicles did not comply with the implied warranty of merchantability because, at
   8   the time of sale and at all times thereafter, they were defective and not in
   9   merchantable condition, would not pass without objection in the trade, and were not
  10   fit for the ordinary purpose for which vehicles were used. Specifically, the Hyundai
  11   Class Vehicles suffer from the ACU defect, which may cause the airbags and
  12   seatbelt pretensioners to fail to deploy during an accident, rendering the Hyundai
  13   Class Vehicles inherently defective and dangerous.
  14         1337. The Hyundai Defendants are and were at all relevant times
  15   “merchants” with respect to motor vehicles under Kan. Stat. Ann. §§ 84-2-104(1)
  16   and 84-2A-103(3), and “sellers” of motor vehicles under § 84-2-103(1)(d).
  17         1338. With respect to leases, the Hyundai Defendants are and were at all
  18   relevant times “lessors” of motor vehicles under Kan. Stat. Ann. § 84-2A-103(1)(p).
  19         1339. All Kansas State Class members who purchased Hyundai Class
  20   Vehicles in Kansas are “buyers” within the meaning of Kan. Stat. Ann. § 84-2-
  21   103(1)(a).
  22         1340. All Kansas State Class members who leased Hyundai Class Vehicles
  23   in Kansas are “lessees” within the meaning of Kan. Stat. Ann. § 84-2A-103(1)(n).
  24         1341. The Hyundai Class Vehicles are and were at all relevant times “goods”
  25   within the meaning of Kan. Stat. Ann. §§ 84-2-105(1) and 84-2A-103(1)(h).
  26         1342. The Kansas Plaintiff and Kansas State Class members have provided
  27   the Hyundai Defendants with reasonable notice and opportunity to cure the
  28   breaches of their implied warranties by way of the numerous NHTSA complaints

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   1   filed against them, and individual notice letters sent by the Kansas State Class
   2   members within a reasonable amount of time after the ACU defect became public.
   3   Additionally, a notice letter was sent on behalf of the Kansas Plaintiff and Kansas
   4   State Class members to FCA US LLC, Honda Defendants, Hyundai Defendants,
   5   Kia Defendants, Mitsubishi Motors North America, Inc., Toyota Defendants,
   6   Hyundai MOBIS Co. Ltd., and ZF TRW Defendants on April 24, 2020.
   7             1343. Alternatively, any opportunity to cure the breach is unnecessary and
   8   futile.
   9             1344. As a direct and proximate result of the Hyundai Defendants’ breach of
  10   the implied warranty of merchantability, the Kansas Plaintiff and Kansas State
  11   Class members have been damaged in an amount to be proven at trial.
  12                   c.     Kansas Count 3: Violation of the Kansas Consumer
  13                          Protection Act (Kan. Stat. Ann. § 50-623, et seq.) Against the
                              Hyundai Defendants and Hyundai MOBIS
  14             1345. Plaintiffs reallege and incorporate by reference all preceding
  15   allegations as though fully set forth herein.
  16             1346. The Kansas Plaintiff brings this count individually and on behalf of
  17   members of the Kansas State Class who purchased or leased Hyundai Class
  18   Vehicles, against the Hyundai Defendants and Hyundai MOBIS.
  19             1347. The Hyundai Defendants, Hyundai MOBIS, the Kansas Plaintiff, and
  20   Kansas State Class members are “persons” within the meaning of Kan. Stat. Ann.
  21   § 50-624(i).
  22             1348. The Kansas Plaintiff and Kansas State Class members are “consumers”
  23   within the meaning of Kan. Stat. Ann. § 50-624(b).
  24             1349. The Kansas Consumer Protection Act (“Kansas CPA”) prohibits
  25   deceptive or unconscionable acts or practices in connection with a consumer
  26   transaction. Kan. Stat. Ann. §§ 50-626 and 50-627.
  27             1350. In the course of their business, the Hyundai Defendants and Hyundai
  28   MOBIS, through their agents, employees, and/or subsidiaries, violated the Kansas
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   1   CPA by knowingly and intentionally misrepresenting, omitting, concealing, and/or
   2   failing to disclose material facts regarding the reliability, safety, and performance of
   3   the Hyundai Class Vehicles or the defective ACUs, as detailed above.
   4         1351. Specifically, by misrepresenting the Hyundai Class Vehicles and/or the
   5   defective ACUs installed in them as safe and/or free from defects, and by failing to
   6   disclose and actively concealing the dangers and risk posed by the Hyundai Class
   7   Vehicles and/or the ACU defect, the Hyundai Defendants and Hyundai MOBIS
   8   engaged in one or more of the following unfair or deceptive business practices
   9   prohibited by Kan. Stat. Ann. § 50-627(a):
  10                a.     Representing that the Hyundai Class Vehicles and/or the
  11                       defective ACUs installed in them have characteristics, uses,
  12                       benefits, and qualities which they do not have.
  13                b.     Representing that the Hyundai Class Vehicles and/or the
  14                       defective ACUs installed in them are of a particular standard,
  15                       quality, and grade when they are not.
  16                c.     Using exaggeration, falsehoods, ambiguity in connection
  17                       advertising the Hyundai Class Vehicles and/or the defective
  18                       ACUs installed in them; and
  19                d.     Failing to state the material facts concerning the Hyundai Class
  20                       Vehicles and/or the defective ACUs installed in them in a
  21                       manner that tended to deceive.
  22         Kan. Stat. Ann. §§ 50-626(b)(1)(A), (1)(D), (2)-(3), and (5)
  23         1352. The Hyundai Defendants and Hyundai MOBIS’s unfair or deceptive
  24   acts or practices, including misrepresentations, concealments, omissions, and/or
  25   suppressions of material facts, had a tendency or capacity to mislead and create a
  26   false impression in consumers, and were likely to and did in fact deceive reasonable
  27   consumers, including the Kansas Plaintiff and Kansas State Class members, about
  28   the true safety and reliability of Hyundai Class Vehicles and/or the defective ACUs

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   1   installed in them, the quality of the Hyundai Class Vehicles, and the true value of
   2   the Hyundai Class Vehicles.
   3         1353. The Hyundai Defendants and Hyundai MOBIS’s scheme and
   4   concealment of the ACU defect and true characteristics of the Occupant Restraint
   5   Systems in the Hyundai Class Vehicles were material to the Kansas Plaintiff and
   6   Kansas State Class members, as the Hyundai Defendants and Hyundai MOBIS
   7   intended. Had they known the truth, the Kansas Plaintiff and Kansas State Class
   8   members would not have purchased or leased the Hyundai Class Vehicles, or would
   9   have paid significantly less for them.
  10         1354. The Kansas Plaintiff and Kansas State Class members had no way of
  11   discerning that the Hyundai Defendants representations were false and misleading
  12   and/or otherwise learning the facts that the Hyundai Defendants and Hyundai
  13   MOBIS had concealed or failed to disclose. The Kansas Plaintiff and Kansas State
  14   Class members did not, and could not, unravel the Hyundai Defendants and
  15   Hyundai MOBIS’s deception on their own.
  16         1355. The Hyundai Defendants and Hyundai MOBIS had an ongoing duty to
  17   the Kansas Plaintiff and Kansas State Class members to refrain from unfair or
  18   deceptive practices under the Kansas CPA in the course of their business.
  19   Specifically, the Hyundai Defendants and Hyundai MOBIS owed the Kansas
  20   Plaintiff and Kansas State Class members a duty to disclose all the material facts
  21   concerning the ACU defect in the Hyundai Class Vehicles because they possessed
  22   exclusive knowledge, they intentionally concealed the ACU defect from the Kansas
  23   Plaintiff and Kansas State Class members, and/or they made misrepresentations that
  24   were rendered misleading because they were contradicted by withheld facts.
  25         1356. The Kansas Plaintiff and Kansas State Class members suffered
  26   ascertainable losses and actual damages as a direct and proximate result of the
  27   Hyundai Defendants and Hyundai MOBIS’s concealment, misrepresentations,
  28   and/or failure to disclose material information.

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   1         1357. The Hyundai Defendants and Hyundai MOBIS’s violations present a
   2   continuing risk to the Kansas Plaintiff and Kansas State Class members, as well as
   3   to the general public. The Hyundai Defendants and Hyundai MOBIS’s unlawful
   4   acts and practices complained of herein affect the public interest.
   5         1358. Pursuant to Kan. Stat. Ann. § 50-634, the Kansas Plaintiff and Kansas
   6   State Class members seek an order enjoining the Hyundai Defendants and Hyundai
   7   MOBIS’s unfair or deceptive acts or practices and awarding damages and any other
   8   just and proper relief available under the Kansas CPA.
   9                d.     Kansas Count 4: Violation of the Kansas Consumer
  10                       Protection Act (Kan. Stat. Ann. § 50-623, et seq.) Against the
                           ZF TRW and STMicro Defendants
  11         1359. Plaintiffs reallege and incorporate by reference all preceding
  12   allegations as though fully set forth herein.
  13         1360. The Kansas Plaintiff brings this count individually and on behalf of
  14   members of the Kansas State Class against the ZF TRW and STMicro Defendants.
  15         1361. The ZF TRW Defendants, the STMicro Defendants, the Kansas
  16   Plaintiff, and Kansas State Class members are “persons” within the meaning of
  17   Kan. Stat. Ann. § 50-624(i).
  18         1362. The Kansas Plaintiff and Kansas State Class members are “consumers”
  19   within the meaning of Kan. Stat. Ann. § 50-624(b).
  20         1363. The Kansas Consumer Protection Act (“Kansas CPA”) prohibits
  21   deceptive or unconscionable acts or practices in connection with a consumer
  22   transaction. Kan. Stat. Ann. §§ 50-626 and 50-627.
  23         1364. In the course of their business the ZF TRW and STMicro Defendants,
  24   through their agents, employees, and/or subsidiaries, violated the Kansas CPA by
  25   knowingly and intentionally omitting, concealing, and failing to disclose material
  26   facts regarding the existence, nature, and scope of the defect with ZF TRW ACUs
  27   installed in the Class Vehicles, as detailed above.
  28

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   1          1365. Specifically, by failing to disclose and actively concealing the dangers
   2   and risk posed by the Class Vehicles due to the ACU defect, the ZF TRW and
   3   STMicro Defendants engaged in deceptive acts and practices prohibited by Kan.
   4   Stat. Ann. § 50-627.
   5          1366. The ZF TRW and STMicro Defendants’ unfair or deceptive acts or
   6   practices, including concealments, omissions, and suppressions of material facts,
   7   had a tendency or capacity to mislead and create a false impression in consumers,
   8   and were likely to and did in fact deceive reasonable consumers, including the
   9   Kansas Plaintiff and Kansas State Class members, about the true safety and
  10   reliability of Class Vehicles and/or the defective ACUs installed in them.
  11          1367. The ZF TRW and STMicro Defendants’ scheme and concealment of
  12   the ACU defect and true characteristics of the defective ACUs in the Class Vehicles
  13   were material to the Kansas Plaintiff and Kansas State Class members, as the ZF
  14   TRW and STMicro Defendants intended. Had they known the truth, the Kansas
  15   Plaintiff and Kansas State Class members would not have purchased or leased the
  16   Class Vehicles, or would have paid significantly less for them.
  17          1368. The Kansas Plaintiff and Kansas State Class members had no way of
  18   learning the facts that the ZF TRW and STMicro Defendants had concealed or
  19   failed to disclose. The Kansas Plaintiff and Kansas State Class members did not,
  20   and could not, unravel the ZF TRW and STMicro Defendants’ deception on their
  21   own.
  22          1369. The ZF TRW and STMicro Defendants had an ongoing duty to the
  23   Kansas Plaintiff and Kansas State Class members to refrain from unfair or
  24   deceptive practices under the Kansas CPA in the course of their business.
  25   Specifically, the ZF TRW and STMicro Defendants owed the Kansas Plaintiff and
  26   Kansas State Class members a duty to disclose all the material facts concerning the
  27   ACU defect in the Class Vehicles because they possessed exclusive knowledge and
  28

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   1   they intentionally concealed the ACU defect from the Kansas Plaintiff and Kansas
   2   State Class members.
   3         1370. The Kansas Plaintiff and Kansas State Class members suffered
   4   ascertainable losses and actual damages as a direct and proximate result of the ZF
   5   TRW and STMicro Defendants’ concealment and/or failure to disclose material
   6   information.
   7         1371. The ZF TRW and STMicro Defendants’ violations present a
   8   continuing risk to the Kansas Plaintiff and Kansas State Class members, as well as
   9   to the general public. The ZF TRW and STMicro Defendants’ unlawful acts and
  10   practices complained of herein affect the public interest.
  11         1372. Pursuant to Kan. Stat. Ann. § 50-634, the Kansas Plaintiff and Kansas
  12   State Class members seek an order enjoining the ZF TRW and STMicro
  13   Defendants’ unfair or deceptive acts or practices and awarding damages and any
  14   other just and proper relief available under the Kansas CPA.
  15         x.       Louisiana
  16                  a.   Louisiana Count 1: Breach of Implied Warranty of
  17                       Merchantability/ Warranty Against Redhibitory Defects
                           (La. Civ. Code Art. 2520 and 2524) Against the Kia
  18                       Defendants
  19         1373. Plaintiffs reallege and incorporate by reference all preceding
  20   allegations as though fully set forth herein.
  21         1374. Plaintiff Tammy Tyler (hereinafter, “Louisiana Plaintiff”) brings this
  22   count individually and on behalf of members of the Louisiana State Class who
  23   purchased or leased Kia Class Vehicles, against the Kia Defendants.
  24         1375. The Kia Defendants were at all relevant times “merchants” with
  25   respect to motor vehicles.
  26         1376. A warranty that the Kia Class Vehicles were in merchantable condition
  27   and fit for the ordinary purpose for which vehicles are used is implied by law in the
  28   instant transactions.

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   1             1377. The Kia Class Vehicles did not comply with the implied warranty of
   2   merchantability because, at the time of sale and lease and at all times thereafter,
   3   they were defective and not in merchantable condition, would not pass without
   4   objection in the trade, and were not fit for the ordinary purpose for which vehicles
   5   were used. Specifically, the Kia Class Vehicles suffer from the ACU defect, which
   6   may cause the airbags and seatbelt pretensioners to fail to deploy during an
   7   accident, rendering the Kia Class Vehicles inherently defective and dangerous.
   8             1378. The Louisiana Plaintiff and Louisiana State Class members have
   9   provided the Kia Defendants with reasonable notice and opportunity to cure the
  10   breaches of their implied warranties by way of the numerous NHTSA complaints
  11   filed against them, and individual notice letters sent by Louisiana State Class
  12   members within a reasonable amount of time after the ACU defect became public.
  13   Additionally, a notice letter was sent on behalf of the Louisiana Plaintiff and
  14   Louisiana State Class members to FCA US LLC, Honda Defendants, Hyundai
  15   Defendants, Kia Defendants, Mitsubishi Motors North America, Inc., Toyota
  16   Defendants, Hyundai MOBIS Co. Ltd., and ZF TRW Defendants on April 24,
  17   2020.
  18             1379. Alternatively, any opportunity to cure the breach is unnecessary and
  19   futile.
  20             1380. The Kia Defendants’ breaches of the implied warranty of
  21   merchantability caused damage to the Louisiana Plaintiff and Louisiana State Class
  22   members. The amount of damages due will be proven at trial.
  23                   b.     Louisiana Count 2: Violation of the Louisiana Unfair Trade
  24                          Practices and Consumer Protection Law (La. Rev. Stat.
                              § 51:1401, et seq.) Against the Kia Defendants and Hyundai
  25                          MOBIS
  26             1381. Plaintiffs reallege and incorporate by reference all preceding
  27   allegations as though fully set forth herein.
  28

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   1         1382. The Louisiana Plaintiff brings this count individually and on behalf of
   2   members of the Louisiana State Class who purchased or leased Kia Class Vehicles,
   3   against the Kia Defendants and Hyundai MOBIS.
   4         1383. The Kia Defendants, Hyundai MOBIS, the Louisiana Plaintiff, and
   5   Louisiana State Class members are “persons” within the meaning of La. Rev. Stat.
   6   § 51:1402(8).
   7         1384. The Louisiana Plaintiff and Louisiana State Class members are
   8   “consumers” within the meaning of La. Rev. Stat. § 51:1402(1).
   9         1385. The Kia Defendants and Hyundai MOBIS were and are engaged in
  10   “trade” or “commerce” within the meaning of La. Rev. Stat. § 51:1402(10).
  11         1386. The Louisiana Unfair Trade Practices and Consumer Protection Law
  12   (“Louisiana CPL”) prohibits “[u]nfair methods of competition and unfair or
  13   deceptive acts or practices in the conduct of any trade or commerce[.]” La. Rev.
  14   Stat. § 51:1405(A).
  15         1387. In the course of their business, the Kia Defendants and Hyundai
  16   MOBIS, through their agents, employees, and/or subsidiaries, violated the
  17   Louisiana CPL by knowingly and intentionally misrepresenting, omitting,
  18   concealing, and/or failing to disclose material facts regarding the reliability, safety,
  19   and performance of the Kia Class Vehicles or the defective ACUs, as detailed
  20   above.
  21         1388. Specifically, by misrepresenting the Kia Class Vehicles and/or the
  22   defective ACUs installed in them as safe and/or free from defects, and by failing to
  23   disclose and actively concealing the dangers and risk posed by the Kia Class
  24   Vehicles and/or the ACU defect, the Kia Defendants and Hyundai MOBIS engaged
  25   in one or more unfair or deceptive business practices prohibited by La. Rev. Stat.
  26   § 51:1405(A).
  27         1389. The Kia Defendants and Hyundai MOBIS’s unfair or deceptive acts or
  28   practices, including misrepresentations, concealments, omissions, and/or

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   1   suppressions of material facts, had a tendency or capacity to mislead and create a
   2   false impression in consumers, and were likely to and did in fact deceive reasonable
   3   consumers, including the Louisiana Plaintiff and Louisiana State Class members,
   4   about the true safety and reliability of Kia Class Vehicles and/or the defective
   5   ACUs installed in them, the quality of the Kia Class Vehicles, and the true value of
   6   the Kia Class Vehicles.
   7         1390. The Kia Defendants and Hyundai MOBIS’s scheme and concealment
   8   of the ACU defect and true characteristics of the Occupant Restraint Systems in the
   9   Kia Class Vehicles were material to the Louisiana Plaintiff and Louisiana State
  10   Class members, as the Kia Defendants and Hyundai MOBIS intended. Had they
  11   known the truth, the Louisiana Plaintiff and the Louisiana State Class members
  12   would not have purchased or leased the Kia Class Vehicles, or would have paid
  13   significantly less for them.
  14         1391. The Louisiana Plaintiff and Louisiana State Class members had no
  15   way of discerning that the Kia Defendants’ representations were false and
  16   misleading and/or otherwise learning the facts that the Kia Defendants and Hyundai
  17   MOBIS had concealed or failed to disclose. The Louisiana Plaintiff and Louisiana
  18   State Class members did not, and could not, unravel the Kia Defendants and
  19   Hyundai MOBIS’s deception on their own.
  20         1392. The Kia Defendants and Hyundai MOBIS had an ongoing duty to the
  21   Louisiana Plaintiff and the Louisiana State Class members to refrain from unfair or
  22   deceptive practices under the Louisiana CPL in the course of their business.
  23   Specifically, the Kia Defendants and Hyundai MOBIS owed the Louisiana Plaintiff
  24   and Louisiana State Class members a duty to disclose all the material facts
  25   concerning the ACU defect in the Kia Class Vehicles because they possessed
  26   exclusive knowledge, they intentionally concealed the ACU defect from the
  27   Louisiana Plaintiff and the Louisiana State Class members, and/or they made
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   1   misrepresentations that were rendered misleading because they were contradicted
   2   by withheld facts.
   3         1393. The Louisiana Plaintiff and Louisiana State Class members suffered
   4   ascertainable losses and actual damages as a direct and proximate result of the Kia
   5   Defendants and Hyundai MOBIS’s concealment, misrepresentations, and/or failure
   6   to disclose material information.
   7         1394. The Kia Defendants and Hyundai MOBIS’s violations present a
   8   continuing risk to the Louisiana Plaintiff and the Louisiana State Class members, as
   9   well as to the general public. The Kia Defendants and Hyundai MOBIS’s unlawful
  10   acts and practices complained of herein affect the public interest.
  11         1395. Pursuant to La. Rev. Stat. § 51:1409, the Louisiana Plaintiff and
  12   Louisiana State Class members seek an order enjoining the Kia Defendants and
  13   Hyundai MOBIS’s unfair or deceptive acts or practices and awarding damages and
  14   any other just and proper relief available under the Louisiana CPL.
  15                 c.     Louisiana Count 3: Violation of the Louisiana Unfair Trade
  16                        Practices and Consumer Protection Law (La. Rev. Stat.
                            § 51:1401, et seq.) Against the ZF TRW and STMicro
  17                        Defendants
  18         1396. Plaintiffs reallege and incorporate by reference all preceding
  19   allegations as though fully set forth herein.
  20         1397. The Louisiana Plaintiff brings this count individually and on behalf of
  21   members of the Louisiana State Class against the ZF TRW and STMicro
  22   Defendants.
  23         1398. The ZF TRW Defendants, the STMicro Defendants, the Louisiana
  24   Plaintiff, and Louisiana State Class members are “persons” within the meaning of
  25   La. Rev. Stat. § 51:1402(8).
  26         1399. The Louisiana Plaintiff and Louisiana State Class members are
  27   “consumers” within the meaning of La. Rev. Stat. § 51:1402(1).
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   1         1400. The ZF TRW and STMicro Defendants were and are engaged in
   2   “trade” or “commerce” within the meaning of La. Rev. Stat. § 51:1402(10).
   3         1401. The Louisiana Unfair Trade Practices and Consumer Protection Law
   4   (“Louisiana CPL”) prohibits “[u]nfair methods of competition and unfair or
   5   deceptive acts or practices in the conduct of any trade or commerce[.]” La. Rev.
   6   Stat. § 51:1405(A).
   7         1402. In the course of their business, the ZF TRW and STMicro Defendants,
   8   through their agents, employees, and/or subsidiaries, violated the Louisiana CPL by
   9   knowingly and intentionally omitting, concealing, and failing to disclose material
  10   facts regarding the existence, nature, and scope of the defect with ZF TRW ACUs
  11   installed in the Class Vehicles, as detailed above.
  12         1403. Specifically, by failing to disclose and actively concealing the dangers
  13   and risk posed by the Class Vehicles due to the ACU defect, the ZF TRW and
  14   STMicro Defendants engaged in unfair methods of competition and unfair and/or
  15   deceptive acts or practices in the conduct of trade or commerce prohibited by La.
  16   Rev. Stat. § 51:1405(A).
  17         1404. The ZF TRW and STMicro Defendants’ unfair or deceptive acts or
  18   practices, including concealments, omissions, and suppressions of material facts,
  19   had a tendency or capacity to mislead and create a false impression in consumers,
  20   and were likely to and did in fact deceive reasonable consumers, including the
  21   Louisiana Plaintiff and Louisiana State Class members, about the true safety and
  22   reliability of Class Vehicles and/or the defective ACUs installed in them.
  23         1405. The ZF TRW and STMicro Defendants’ scheme and concealment of
  24   the ACU defect and true characteristics of the defective ACUs in the Class Vehicles
  25   were material to the Louisiana Plaintiff and Louisiana State Class members, as the
  26   ZF TRW and STMicro Defendants intended. Had they known the truth, the
  27   Louisiana Plaintiff and the Louisiana State Class members would not have
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   1   purchased or leased the Class Vehicles, or would have paid significantly less for
   2   them.
   3           1406. The Louisiana Plaintiff and Louisiana State Class members had no
   4   way of learning the facts that the ZF TRW and STMicro Defendants had concealed
   5   or failed to disclose. The Louisiana Plaintiff and Louisiana State Class members did
   6   not, and could not, unravel the ZF TRW and STMicro Defendants’ deception on
   7   their own.
   8           1407. The ZF TRW and STMicro Defendants had an ongoing duty to the
   9   Louisiana Plaintiff and the Louisiana State Class members to refrain from unfair or
  10   deceptive practices under the Louisiana CPL in the course of their business.
  11   Specifically, the ZF TRW and STMicro Defendants owed the Louisiana Plaintiff
  12   and Louisiana State Class members a duty to disclose all the material facts
  13   concerning the ACU defect in the Class Vehicles because they possessed exclusive
  14   knowledge and they intentionally concealed the ACU defect from the Louisiana
  15   Plaintiff and the Louisiana State Class members.
  16           1408. The Louisiana Plaintiff and Louisiana State Class members suffered
  17   ascertainable losses and actual damages as a direct and proximate result of the ZF
  18   TRW and STMicro Defendants’ concealment and/or failure to disclose material
  19   information.
  20           1409. The ZF TRW and STMicro Defendants’ violations present a
  21   continuing risk to the Louisiana Plaintiff and the Louisiana State Class members, as
  22   well as to the general public. The ZF TRW and STMicro Defendants’ unlawful acts
  23   and practices complained of herein affect the public interest.
  24           1410. Pursuant to La. Rev. Stat. § 51:1409, the Louisiana Plaintiff and
  25   Louisiana State Class members seek an order enjoining the ZF TRW and STMicro
  26   Defendants’ unfair or deceptive acts or practices and awarding damages and any
  27   other just and proper relief available under the Louisiana CPL.
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   1         xi.    Maryland
   2                a.     Maryland Count 1: Breach of Express Warranty (Md. Code
                           Com. Law §§ 2-313 and 2A-210) Against the Hyundai and
   3                       Kia Defendants
   4         1411. Plaintiffs reallege and incorporate by reference all preceding
   5   allegations as though fully set forth herein.
   6         1412. Plaintiffs Joseph Fuller and Tina Fuller bring this count individually
   7   and on behalf of members of the Maryland State Class who purchased or leased
   8   Hyundai Class Vehicles, against the Hyundai Defendants.
   9         1413. Plaintiff Diana King brings this count individually and on behalf of
  10   members of the Maryland State Class who purchased or leased Kia Class Vehicles,
  11   against the Kia Defendants.
  12         1414. For purposes of this count, Plaintiffs Joseph Fuller, Tina Fuller and
  13   King shall be referred to as the “Maryland Plaintiffs.”
  14         1415. The Hyundai and Kia Defendants are and were at all relevant times
  15   “merchants” with respect to motor vehicles under Md. Code. Com. Law §§ 2-
  16   104(1) and 2A-103(3), and “sellers” of motor vehicles under § 2-103(1)(d).
  17         1416. With respect to leases, the Hyundai and Kia Defendants are and were
  18   at all relevant times “lessors” of motor vehicles under Md. Code. Com. Law § 2A-
  19   103(1)(p).
  20         1417. All Maryland State Class members who purchased Class Vehicles (for
  21   purposes of this count, “Class Vehicles” are limited to the Hyundai and Kia Class
  22   Vehicles) in Maryland are “buyers” within the meaning of Md. Code. Com. Law
  23   § 2-103(1)(a).
  24         1418. All Maryland State Class members who leased Class Vehicles in
  25   Maryland are “lessees” within the meaning of Md. Code. Com. Law § 2A-
  26   103(1)(n).
  27         1419. The Class Vehicles are and were at all relevant times “goods” within
  28   the meaning of Md. Code. Com. Law §§ 2-105(1) and 2A-103(1)(h).
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   1         1420. In connection with the purchase or lease of Class Vehicles, the
   2   Hyundai and Kia Defendants provided the Maryland Plaintiffs and Maryland State
   3   Class members with written express warranties covering the repair or replacement
   4   of components that are defective in materials or workmanship.
   5         1421. The Hyundai and Kia Defendants’ warranties formed the basis of the
   6   bargain that was reached when the Maryland Plaintiffs and Maryland State Class
   7   members unknowingly purchased or leased Class Vehicles that came equipped with
   8   a defective ACU.
   9         1422. However, the Hyundai and Kia Defendants knew or should have
  10   known that the warranties were false and/or misleading. Specifically, the Hyundai
  11   and Kia Defendants were aware of the ACU defect in the Class Vehicles, which
  12   made the vehicles inherently defective and dangerous at the time that they were
  13   sold and leased to the Maryland Plaintiffs and Maryland State Class members.
  14         1423. The Maryland Plaintiffs and Maryland State Class members
  15   reasonably relied on the Hyundai and Kia Defendants’ express warranties when
  16   purchasing or leasing their Class Vehicles.
  17         1424. The Hyundai and Kia Defendants knowingly breached their express
  18   warranties to repair defects in materials and workmanship by failing to repair the
  19   ACU defect or replace the defective ACUs in the Class Vehicles. The Hyundai and
  20   Kia Defendants also breached their express warranties by providing a product
  21   containing defects that were never disclosed to the Maryland Plaintiff and Maryland
  22   State Class members.
  23         1425. The Maryland Plaintiffs and Maryland State Class members have
  24   provided the Hyundai and Kia Defendants with reasonable notice and opportunity
  25   to cure the breaches of their express warranties by way of the numerous NHTSA
  26   complaints filed against them, and individual notice letters sent by the Maryland
  27   State Class members within a reasonable amount of time after the ACU defect
  28   became public. Additionally, a notice letter was sent on behalf of the Maryland

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   1   Plaintiffs and Maryland State Class members to FCA US LLC, Honda Defendants,
   2   Hyundai Defendants, Kia Defendants, Mitsubishi Motors North America, Inc.,
   3   Toyota Defendants, Hyundai MOBIS Co. Ltd., and ZF TRW Defendants on April
   4   24, 2020.
   5             1426. Alternatively, any opportunity to cure the breach is unnecessary and
   6   futile.
   7             1427. As a direct and proximate result of the Hyundai and Kia Defendants’
   8   breach of their express warranties, the Maryland Plaintiffs and Maryland State
   9   Class members have been damaged in an amount to be proven at trial.
  10                   b.     Maryland Count 2: Breach of Implied Warranty of
  11                          Merchantability (Md. Code Com. Law §§ 2-314 and 2A-212)
                              Against the Hyundai and Kia Defendants
  12             1428. Plaintiffs reallege and incorporate by reference all preceding
  13   allegations as though fully set forth herein.
  14             1429. Plaintiffs Joseph Fuller and Tina Fuller bring this count individually
  15   and on behalf of members of the Maryland State Class who purchased or leased
  16   Hyundai Class Vehicles, against the Hyundai Defendants.
  17             1430. Plaintiff Diana King brings this count individually and on behalf of
  18   members of the Maryland State Class who purchased or leased Kia Class Vehicles,
  19   against the Kia Defendants.
  20             1431. For purposes of this count, Plaintiffs Joseph Fuller, Tina Fuller and
  21   King shall be referred to as the “Maryland Plaintiffs.”
  22             1432. A warranty that the Class Vehicles (for purposes of this count, “Class
  23   Vehicles” are limited to the Hyundai and Kia Class Vehicles) were in merchantable
  24   condition and fit for the ordinary purpose for which such goods are used is implied
  25   by law pursuant to Md. Code Com. Law §§ 2-314 and 2A-212. The Class Vehicles
  26   did not comply with the implied warranty of merchantability because, at the time of
  27   sale and at all times thereafter, they were defective and not in merchantable
  28   condition, would not pass without objection in the trade, and were not fit for the
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   1   ordinary purpose for which vehicles were used. Specifically, the Class Vehicles
   2   suffer from the ACU defect, which may cause the airbags and seatbelt pretensioners
   3   to fail to deploy during an accident, rendering the Class Vehicles inherently
   4   defective and dangerous.
   5         1433. The Hyundai and Kia Defendants are and were at all relevant times
   6   “merchants” with respect to motor vehicles Md. Code Com. Law §§ 2-104(1) and
   7   2A-103(3), and “sellers” of motor vehicles under § 2-103(1)(d).
   8         1434. With respect to leases, the Hyundai and Kia Defendants are and were
   9   at all relevant times “lessors” of motor vehicles under Md. Code. Com. Law § 2A-
  10   103(1)(p).
  11         1435. All Maryland State Class members who purchased Class Vehicles in
  12   Maryland are “buyers” within the meaning of Md. Code. Com. Law § 2-103(1)(a).
  13         1436. All Maryland State Class members who leased Class Vehicles in
  14   Maryland are “lessees” within the meaning of Md. Code. Com. Law § 2A-
  15   103(1)(n).
  16         1437. The Class Vehicles are and were at all relevant times “goods” within
  17   the meaning of Md. Code. Com. Law §§ 2-105(1) and 2A-103(1)(h).
  18         1438. The Maryland Plaintiffs and Maryland State Class members have
  19   provided the Hyundai and Kia Defendants with reasonable notice and opportunity
  20   to cure the breaches of their implied warranties by way of the numerous NHTSA
  21   complaints filed against them, and individual notice letters sent by the Maryland
  22   State Class members within a reasonable amount of time after the ACU defect
  23   became public. Additionally, a notice letter was sent on behalf of the Maryland
  24   Plaintiffs and Maryland State Class members to FCA US LLC, Honda Defendants,
  25   Hyundai Defendants, Kia Defendants, Mitsubishi Motors North America, Inc.,
  26   Toyota Defendants, Hyundai MOBIS Co. Ltd., and ZF TRW Defendants on April
  27   24, 2020.
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   1             1439. Alternatively, any opportunity to cure the breach is unnecessary and
   2   futile.
   3             1440. As a direct and proximate result of the Hyundai and Kia Defendants’
   4   breach of the implied warranty of merchantability, the Maryland Plaintiffs and
   5   Maryland State Class members have been damaged in an amount to be proven at
   6   trial.
   7                   c.     Maryland Count 3: Violation of the Maryland Consumer
   8                          Protection Act (Md. Code Com. Law § 13-101, et seq.)
                              Against the Hyundai and Kia Defendants and Hyundai
   9                          MOBIS
  10             1441. Plaintiffs reallege and incorporate by reference all preceding
  11   allegations as though fully set forth herein.
  12             1442. Plaintiffs Joseph Fuller and Tina Fuller bring this count individually
  13   and on behalf of members of the Maryland State Class who purchased or leased
  14   Hyundai Class Vehicles, against the Hyundai Defendants and Hyundai MOBIS.
  15             1443. Plaintiff Diana King brings this count individually and on behalf of
  16   members of the Maryland State Class who purchased or leased Kia Class Vehicles,
  17   against the Kia Defendants and Hyundai MOBIS.
  18             1444. For purposes of this count, Plaintiffs Joseph Fuller, Tina Fuller and
  19   King shall be referred to as the “Maryland Plaintiffs.”
  20             1445. The Hyundai Defendants, the Kia Defendants, Hyundai MOBIS, the
  21   Maryland Plaintiffs, and Maryland State Class members are “persons” within the
  22   meaning of Md. Code Com. Law § 13-101(h).
  23             1446. The Maryland Plaintiffs and Maryland State Class members are
  24   “consumers” within the meaning of Md. Code Com. Law § 13-101(c).
  25             1447. The Class Vehicles and ACUs installed in them are “merchandise”
  26   within the meaning of Md. Code Com. Law § 13-101(f).
  27             1448. The Maryland Consumer Protection Act (“Maryland CPA”) prohibits
  28   “[u]nfair, abusive, or deceptive trade practices[.]” Md. Code Com. Law § 13-301.

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   1         1449. In the course of their business, the Hyundai and Kia Defendants and
   2   Hyundai MOBIS, through their agents, employees, and/or subsidiaries, violated the
   3   Maryland CPA by knowingly and intentionally misrepresenting, omitting,
   4   concealing, and/or failing to disclose material facts regarding the reliability, safety,
   5   and performance of the Class Vehicles or the defective ACUs, as detailed above.
   6         1450. Specifically, by misrepresenting the Class Vehicles and/or the
   7   defective ACUs installed in them as safe and/or free from defects, and by failing to
   8   disclose and actively concealing the dangers and risk posed by the Class Vehicles
   9   and/or the ACU defect, the Hyundai and Kia Defendants and Hyundai MOBIS
  10   engaged in one or more of the following unfair or deceptive business practices
  11   prohibited by Md. Code Com. Law § 13-303:
  12                a.     Representing that the Class Vehicles and/or the defective ACUs
  13                       installed in them have characteristics, uses, benefits, and
  14                       qualities which they do not have;
  15                b.     Representing that the Class Vehicles and/or the defective ACUs
  16                       installed in them are of a particular standard, quality, and grade
  17                       when they are not;
  18                c.     Failure to state material facts about the Class Vehicles and/or
  19                       defective ACUs;
  20                d.     Advertising the Class Vehicles and/or the defective ACUs
  21                       installed in them with the intent not to sell or lease them as
  22                       advertised; and
  23                e.     Otherwise engaging in deception, fraud, false pretense, false
  24                       premise, misrepresentation, or knowing concealment,
  25                       suppression, or omission of material facts regarding the safety of
  26                       the Class Vehicles and/or defective ACUs.
  27         Md. Code Com. Law §§ 13-301(1), (2)(i), (2)(iv), (3), (5)(i), and (9)(i).
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   1         1451. The Hyundai and Kia Defendants and Hyundai MOBIS’s unfair or
   2   deceptive acts or practices, including misrepresentations, concealments, omissions,
   3   and/or suppressions of material facts, had a tendency or capacity to mislead and
   4   create a false impression in consumers, and were likely to and did in fact deceive
   5   reasonable consumers, including the Maryland Plaintiffs and Maryland State Class
   6   members, about the true safety and reliability of Class Vehicles and/or the defective
   7   ACUs installed in them, the quality of the Class Vehicles, and the true value of the
   8   Class Vehicles.
   9         1452. The Hyundai and Kia Defendants and Hyundai MOBIS’s scheme and
  10   concealment of the ACU defect and true characteristics of the Occupant Restraint
  11   Systems in the Class Vehicles were material to the Maryland Plaintiffs and
  12   Maryland State Class members, as the Hyundai and Kia Defendants and Hyundai
  13   MOBIS intended. Had they known the truth, the Maryland Plaintiffs and Maryland
  14   State Class members would not have purchased or leased the Class Vehicles, or
  15   would have paid significantly less for them.
  16         1453. The Maryland Plaintiffs and Maryland State Class members had no
  17   way of discerning that the Hyundai and Kia Defendants’ representations were false
  18   and misleading and/or otherwise learning the facts that the Hyundai and Kia
  19   Defendants and Hyundai MOBIS had concealed or failed to disclose. The Maryland
  20   Plaintiffs and Maryland State Class members did not, and could not, unravel the
  21   Hyundai and Defendants, and Hyundai MOBIS’s deception on their own.
  22         1454. The Hyundai and Kia Defendants and Hyundai MOBIS had an
  23   ongoing duty to the Maryland Plaintiffs and Maryland State Class members to
  24   refrain from unfair or deceptive practices under the Maryland CPA in the course of
  25   their business. Specifically, the Hyundai and Kia Defendants and Hyundai MOBIS
  26   owed the Maryland Plaintiffs and Maryland State Class members a duty to disclose
  27   all the material facts concerning the ACU defect in the Class Vehicles because they
  28   possessed exclusive knowledge, they intentionally concealed the ACU defect from

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   1   the Maryland Plaintiffs and Maryland State Class members, and/or they made
   2   misrepresentations that were rendered misleading because they were contradicted
   3   by withheld facts.
   4         1455. The Maryland Plaintiffs and Maryland State Class members suffered
   5   ascertainable losses and actual damages as a direct and proximate result of the
   6   Hyundai and Kia Defendants and Hyundai MOBIS’s concealment,
   7   misrepresentations, and/or failure to disclose material information.
   8         1456. The Hyundai and Kia Defendants and Hyundai MOBIS’s violations
   9   present a continuing risk to the Maryland Plaintiffs and Maryland State Class
  10   members, as well as to the general public. The Hyundai and Kia Defendants and
  11   Hyundai MOBIS’s unlawful acts and practices complained of herein affect the
  12   public interest.
  13         1457. Pursuant to Md. Code Com. Law § 13-408, the Maryland Plaintiffs
  14   and Maryland State Class members seek an order enjoining the Hyundai and Kia
  15   Defendants and Hyundai MOBIS’s unfair or deceptive acts or practices and
  16   awarding damages and any other just and proper relief available under the
  17   Maryland CPA.
  18                d.      Maryland Count 4: Violation of the Maryland Consumer
  19                        Protection Act (Md. Code Com. Law § 13-101, et seq.)
                            Against the ZF TRW and STMicro Defendants
  20         1458. Plaintiffs reallege and incorporate by reference all preceding
  21   allegations as though fully set forth herein.
  22
                    Plaintiffs Joseph Fuller, Tina Fuller, and Diana King bring this count
  23
       individually and on behalf of members of the Maryland State Class against the ZF
  24
  25   TRW and STMicro Defendants.

  26         1459. For purposes of this count, Plaintiffs Joseph Fuller, Tina Fuller and

  27   King shall be referred to as the “Maryland Plaintiffs.”

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   1         1460. The ZF TRW Defendants, the STMicro Defendants, the Maryland
   2   Plaintiffs, and Maryland State Class members are “persons” within the meaning of
   3   Md. Code Com. Law § 13-101(h).
   4         1461. The Maryland Plaintiffs and Maryland State Class members are
   5   “consumers” within the meaning of Md. Code Com. Law § 13-101(c).
   6         1462. The Class Vehicles (for purposes of this count, “Class Vehicles” are
   7   limited to the Hyundai and Kia Class Vehicles) and ACUs installed in them are
   8   “merchandise” within the meaning of Md. Code Com. Law § 13-101(f).
   9         1463. The Maryland Consumer Protection Act (“Maryland CPA”) prohibits
  10   “[u]nfair, abusive, or deceptive trade practices[.]” Md. Code Com. Law § 13-301.
  11         1464. In the course of their business the ZF TRW and STMicro Defendants,
  12   through their agents, employees, and/or subsidiaries, violated the Maryland CPA by
  13   knowingly and intentionally omitting, concealing, and failing to disclose material
  14   facts regarding the existence, nature, and scope of the defect with ZF TRW ACUs
  15   installed in the Class Vehicles, as detailed above.
  16         1465. Specifically, by failing to disclose and actively concealing the dangers
  17   and risk posed by the Class Vehicles due to the ACU defect, the ZF TRW and
  18   STMicro Defendants engaged one or more of the following unfair or deceptive
  19   trade practices prohibited by Md. Code Com. Law § 13-301, including failing to
  20   state material facts, deception, fraud, and/or knowing concealment, suppression, or
  21   omission of material facts.
  22         1466. The ZF TRW and STMicro Defendants’ unfair or deceptive acts or
  23   practices, including concealments, omissions, and suppressions of material facts,
  24   had a tendency or capacity to mislead and create a false impression in consumers,
  25   and were likely to and did in fact deceive reasonable consumers, including the
  26   Maryland Plaintiffs and Maryland State Class members, about the true safety and
  27   reliability of Class Vehicles and/or the defective ACUs installed in them.
  28

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   1         1467. The ZF TRW and STMicro Defendants’ scheme and concealment of
   2   the ACU defect and true characteristics of the defective ACUs in the Class Vehicles
   3   were material to the Maryland Plaintiffs and Maryland State Class members, as the
   4   ZF TRW and STMicro Defendants intended. Had they known the truth, the
   5   Maryland Plaintiffs and Maryland State Class members would not have purchased
   6   or leased the Class Vehicles, or would have paid significantly less for them.
   7         1468. The Maryland Plaintiffs and Maryland State Class members had no
   8   way of learning the facts that the ZF TRW and STMicro Defendants had concealed
   9   or failed to disclose. The Maryland Plaintiffs and Maryland State Class members
  10   did not, and could not, unravel the ZF TRW and STMicro Defendants’ deception
  11   on their own.
  12         1469. The ZF TRW and STMicro Defendants had an ongoing duty to the
  13   Maryland Plaintiffs and Maryland State Class members to refrain from unfair or
  14   deceptive practices under the Maryland CPA in the course of their business.
  15   Specifically, the ZF TRW and STMicro Defendants owed the Maryland Plaintiffs
  16   and Maryland State Class members a duty to disclose all the material facts
  17   concerning the ACU defect in the Class Vehicles because they possessed exclusive
  18   knowledge and they intentionally concealed the ACU defect from the Maryland
  19   Plaintiffs and Maryland State Class members.
  20         1470. The Maryland Plaintiffs and Maryland State Class members suffered
  21   ascertainable losses and actual damages as a direct and proximate result of the ZF
  22   TRW and STMicro Defendants’ concealment and/or failure to disclose material
  23   information.
  24         1471. The ZF TRW and STMicro Defendants’ violations present a
  25   continuing risk to the Maryland Plaintiffs and Maryland State Class members, as
  26   well as to the general public. The ZF TRW and STMicro Defendants’ unlawful acts
  27   and practices complained of herein affect the public interest.
  28

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   1         1472. Pursuant to Md. Code Com. Law § 13-408, the Maryland Plaintiffs
   2   and Maryland State Class members seek an order enjoining the ZF TRW and
   3   STMicro Defendants’ unfair or deceptive acts or practices and awarding damages
   4   and any other just and proper relief available under the Maryland CPA.
   5         xii.   Massachusetts
   6                a.       Massachusetts Count 1: Breach of Express Warranty (Mass.
   7                         Gen. Laws ch. 106, §§ 2-313 and 2A-210) Against the Kia
                             Defendants
   8
             1473. Plaintiffs reallege and incorporate by reference all preceding
   9
       allegations as though fully set forth herein.
  10
             1474. Plaintiff Dylan DeMoranville (hereinafter, “the Massachusetts
  11
       Plaintiff”) brings this count individually and on behalf of members of the
  12
       Massachusetts State Class who purchased or leased Kia Class Vehicles, against the
  13
       Kia Defendants.
  14
             1475. The Kia Defendants are and were at all relevant times “merchants”
  15
       with respect to motor vehicles under Mass. Gen. Laws ch. 106, §§ 2-104(1) and
  16
       2A-103(3), and “sellers” of motor vehicles under § 2-103(1)(d).
  17
             1476. With respect to leases, the Kia Defendants are and were at all relevant
  18
       times “lessors” of motor vehicles under Mass. Gen. Laws ch. 106, § 2A-103(1)(p).
  19
             1477. All Massachusetts State Class members who purchased Kia Class
  20
       Vehicles in Massachusetts are “buyers” within the meaning of Mass. Gen. Laws ch.
  21
       106, § 2-103(1)(a).
  22
             1478. All Massachusetts State Class members who leased Kia Class Vehicles
  23
       in Massachusetts are “lessees” within the meaning of Mass. Gen. Laws ch. 106,
  24
       § 2A-103(1)(n).
  25
             1479. The Kia Class Vehicles are and were at all relevant times “goods”
  26
       within the meaning of Mass. Gen. Laws ch. 106, §§ 2-105(1) and 2A-103(1)(h).
  27
             1480. In connection with the purchase or lease of Kia Class Vehicles, the Kia
  28
       Defendants provided the Massachusetts Plaintiff and Massachusetts State Class
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   1   members with written express warranties covering the repair or replacement of
   2   components that are defective in materials or workmanship.
   3         1481. The Kia Defendants’ warranties formed the basis of the bargain that
   4   was reached when the Massachusetts Plaintiff and Massachusetts State Class
   5   members unknowingly purchased or leased Kia Class Vehicles that came equipped
   6   with a defective ACU.
   7         1482. However, the Kia Defendants knew or should have known that the
   8   warranties were false and/or misleading. Specifically, the Kia Defendants were
   9   aware of the ACU defect in the Kia Class Vehicles, which made the vehicles
  10   inherently defective and dangerous at the time that they were sold and leased to the
  11   Massachusetts Plaintiff and Massachusetts State Class members.
  12         1483. The Massachusetts Plaintiff and Massachusetts State Class members
  13   reasonably relied on the Kia Defendants’ express warranties when purchasing or
  14   leasing their Kia Class Vehicles.
  15         1484. The Kia Defendants knowingly breached their express warranties to
  16   repair defects in materials and workmanship by failing to repair the ACU defect or
  17   replace the defective ACUs in the Kia Class Vehicles. The Kia Defendants also
  18   breached their express warranties by providing a product containing defects that
  19   were never disclosed to the Massachusetts Plaintiff and Massachusetts State Class
  20   members.
  21         1485. The Massachusetts Plaintiff and Massachusetts State Class members
  22   have provided the Kia Defendants with reasonable notice and opportunity to cure
  23   the breaches of their express warranties by way of the numerous NHTSA
  24   complaints filed against them, and individual notice letters sent by the
  25   Massachusetts State Class members within a reasonable amount of time after the
  26   ACU defect became public. Additionally, on May 23, 2019, Massachusetts State
  27   Class members sent a notice letter to FCA US LLC, Honda Defendants, Hyundai
  28   Defendants, Kia Defendants, Mitsubishi Motors North America, Inc., Toyota

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   1   Defendants, and ZF TRW Defendants. Moreover, a second notice letter was sent on
   2   behalf of the Massachusetts Plaintiff and Massachusetts State Class members to
   3   FCA US LLC, Honda Defendants, Hyundai Defendants, Kia Defendants,
   4   Mitsubishi Motors North America, Inc., Toyota Defendants, Hyundai MOBIS Co.
   5   Ltd., and ZF TRW Defendants on April 24, 2020.
   6             1486. Alternatively, any opportunity to cure the breach is unnecessary and
   7   futile.
   8             1487. As a direct and proximate result of the Kia Defendants’ breach of their
   9   express warranties, the Massachusetts Plaintiff and Massachusetts State Class
  10   members have been damaged in an amount to be proven at trial.
  11                   b.     Massachusetts Count 2: Breach of Implied Warranty of
  12                          Merchantability (Mass. Gen. Laws ch. 106, §§ 2-314 and 2A-
                              212) Against the Kia Defendants
  13             1488. Plaintiffs reallege and incorporate by reference all preceding
  14   allegations as though fully set forth herein.
  15             1489. The Massachusetts Plaintiff brings this count individually and on
  16   behalf of members of the Massachusetts State Class who purchased or leased Kia
  17   Class Vehicles, against the Kia Defendants.
  18             1490. A warranty that the Kia Class Vehicles were in merchantable condition
  19   and fit for the ordinary purpose for which such goods are used is implied by law
  20   pursuant to Mass. Gen. Laws ch. 106, §§ 2-314 and 2A-212.
  21             1491. The Kia Class Vehicles did not comply with the implied warranty of
  22   merchantability because, at the time of sale and at all times thereafter, they were
  23   defective and not in merchantable condition, would not pass without objection in
  24   the trade, and were not fit for the ordinary purpose for which vehicles were used.
  25   Specifically, the Kia Class Vehicles suffer from the ACU defect, which may cause
  26   the airbags and seatbelt pretensioners to fail to deploy during an accident, rendering
  27   the Kia Class Vehicles inherently defective and dangerous.
  28

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   1             1492. The Kia Defendants are and were at all relevant times “merchants”
   2   with respect to motor vehicles under Mass. Gen. Laws ch. 106, §§ 2-104(1) and
   3   2A-103(3), and “sellers” of motor vehicles under § 2-103(1)(d).
   4             1493. With respect to leases, the Kia Defendants are and were at all relevant
   5   times “lessors” of motor vehicles under Mass. Gen. Laws ch. 106, § 2A-103(1)(p).
   6             1494. All Massachusetts State Class members who purchased Kia Class
   7   Vehicles in Massachusetts are “buyers” within the meaning of Mass. Gen. Laws ch.
   8   106, § 2-103(1)(a).
   9             1495. All Massachusetts State Class members who leased Kia Class Vehicles
  10   in Massachusetts are “lessees” within the meaning of Mass. Gen. Laws ch. 106,
  11   § 2A-103(1)(n).
  12             1496. The Kia Class Vehicles are and were at all relevant times “goods”
  13   within the meaning of Mass. Gen. Laws ch. 106, §§ 2-105(1) and 2A-103(1)(h).
  14             1497. The Massachusetts Plaintiff and Massachusetts State Class members
  15   have provided the Kia Defendants with reasonable notice and opportunity to cure
  16   the breaches of their implied warranties by way of the numerous NHTSA
  17   complaints filed against them, and individual notice letters sent by the
  18   Massachusetts State Class members within a reasonable amount of time after the
  19   ACU defect became public. Additionally, on May 23, 2019, Massachusetts State
  20   Class members sent a notice letter to FCA US LLC, Honda Defendants, Hyundai
  21   Defendants, Kia Defendants, Mitsubishi Motors North America, Inc., Toyota
  22   Defendants, and ZF TRW Defendants. Moreover, a second notice letter was sent on
  23   behalf of the Massachusetts Plaintiff and Massachusetts State Class members to
  24   FCA US LLC, Honda Defendants, Hyundai Defendants, Kia Defendants,
  25   Mitsubishi Motors North America, Inc., Toyota Defendants, Hyundai MOBIS Co.
  26   Ltd., and ZF TRW Defendants on April 24, 2020.
  27             1498. Alternatively, any opportunity to cure the breach is unnecessary and
  28   futile.

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   1         1499. As a direct and proximate result of the Kia Defendants’ breach of the
   2   implied warranty of merchantability, the Massachusetts Plaintiff and Massachusetts
   3   State Class members have been damaged in an amount to be proven at trial.
   4                c.     Massachusetts Count 3: Violation of the Deceptive Acts or
   5                       Practices Prohibited By Massachusetts Law (Mass. Gen.
                           Laws ch. 93a, § 1, et seq.) Against the Kia Defendants and
   6                       Hyundai MOBIS
   7         1500. Plaintiffs reallege and incorporate by reference all preceding
   8   allegations as though fully set forth herein.
   9         1501. The Massachusetts Plaintiff brings this count individually and on
  10   behalf of members of the Massachusetts State Class who purchased or leased Kia
  11   Class Vehicles, against the Kia Defendants and Hyundai MOBIS.
  12         1502. The Kia Defendants, Hyundai MOBIS, the Massachusetts Plaintiff,
  13   and Massachusetts State Class members are “persons” within the meaning of Mass.
  14   Gen. Laws ch. 93A, § 1(a).
  15         1503. The Kia Defendants and Hyundai MOBIS were and are engaged in
  16   “trade” or “commerce” within the meaning of Mass. Gen. Laws ch. 93A, § 1(b).
  17         1504. The Massachusetts consumer protection law (“Massachusetts Act”)
  18   prohibits “[u]nfair methods of competition and unfair or deceptive acts or practices
  19   in the conduct of any trade or commerce[.]” Mass. Gen. Laws ch. 93A, § 2.
  20         1505. In the course of their business, the Kia Defendants and Hyundai
  21   MOBIS, through their agents, employees, and/or subsidiaries, violated the
  22   Massachusetts Act by knowingly and intentionally misrepresenting, omitting,
  23   concealing, and/or failing to disclose material facts regarding the reliability, safety,
  24   and performance of the Kia Class Vehicles or the defective ACUs, as detailed
  25   above.
  26         1506. Specifically, by misrepresenting the Kia Class Vehicles and/or the
  27   defective ACUs installed in them as safe and/or free from defects, and by failing to
  28   disclose and actively concealing the dangers and risk posed by the Kia Class

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   1   Vehicles and/or the ACU defect, the Kia Defendants and Hyundai MOBIS engaged
   2   in unfair or deceptive business practices in the conduct of any trade or commerce,
   3   as prohibited by Mass. Gen. Laws ch. 93A, § 2.
   4         1507. The Kia Defendants and Hyundai MOBIS’s unfair or deceptive acts or
   5   practices, including misrepresentations, concealments, omissions, and/or
   6   suppressions of material facts, had a tendency or capacity to mislead and create a
   7   false impression in consumers, and were likely to and did in fact deceive reasonable
   8   consumers, including the Massachusetts Plaintiff and Massachusetts State Class
   9   members, about the true safety and reliability of Kia Class Vehicles and/or the
  10   defective ACUs installed in them, the quality of the Kia Class Vehicles, and the
  11   true value of the Kia Class Vehicles.
  12         1508. The Kia Defendants and Hyundai MOBIS’s scheme and concealment
  13   of the ACU defect and true characteristics of the Occupant Restraint Systems in the
  14   Kia Class Vehicles were material to the Massachusetts Plaintiff and Massachusetts
  15   State Class members, as the Kia Defendants and Hyundai MOBIS intended. Had
  16   they known the truth, the Massachusetts Plaintiff and Massachusetts State Class
  17   members would not have purchased or leased the Kia Class Vehicles, or would
  18   have paid significantly less for them.
  19         1509. The Massachusetts Plaintiff and Massachusetts State Class members
  20   had no way of discerning that the Kia Defendants’ representations were false and
  21   misleading and/or otherwise learning the facts that the Kia Defendants and Hyundai
  22   MOBIS had concealed or failed to disclose. The Massachusetts Plaintiff and
  23   Massachusetts State Class members did not, and could not, unravel the Kia
  24   Defendants and Hyundai MOBIS’s deception on their own.
  25         1510. The Kia Defendants and Hyundai MOBIS had an ongoing duty to the
  26   Massachusetts Plaintiff and Massachusetts State Class members to refrain from
  27   unfair or deceptive practices under the Massachusetts Act in the course of their
  28   business. Specifically, the Kia Defendants and Hyundai MOBIS owed the

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   1   Massachusetts Plaintiff and Massachusetts State Class members a duty to disclose
   2   all the material facts concerning the ACU defect in the Kia Class Vehicles because
   3   they possessed exclusive knowledge, they intentionally concealed the ACU defect
   4   from the Massachusetts Plaintiff and Massachusetts State Class members, and/or
   5   they made misrepresentations that were rendered misleading because they were
   6   contradicted by withheld facts.
   7          1511. The Massachusetts Plaintiff and Massachusetts State Class members
   8   suffered ascertainable losses and actual damages as a direct and proximate result of
   9   the Kia Defendants and Hyundai MOBIS’s concealment, misrepresentations, and/or
  10   failure to disclose material information.
  11          1512. The Kia Defendants and Hyundai MOBIS’s violations present a
  12   continuing risk to the Massachusetts Plaintiff and Massachusetts State Class
  13   members, as well as to the general public. The Kia Defendants and Hyundai
  14   MOBIS’s unlawful acts and practices complained of herein affect the public
  15   interest.
  16          1513. The Kia Defendants and Hyundai MOBIS were provided notice of the
  17   issues raised in this count and this Complaint by the NHTSA investigations, the
  18   numerous complaints filed against them, and the many individual notice letters sent
  19   by Massachusetts State Class members within a reasonable amount of time after the
  20   ACU defect became public. Additionally, on May 23, 2019, Massachusetts State
  21   Class members sent a notice letter pursuant to Mass. Gen. Laws ch. 93A, § 9(3) to
  22   FCA US LLC, Honda Defendants, Hyundai Defendants, Kia Defendants,
  23   Mitsubishi Motors North America, Inc., Toyota Defendants, and ZF TRW
  24   Defendants. Moreover, a second notice letter was sent on behalf of the
  25   Massachusetts Plaintiff and Massachusetts State Class members pursuant to Mass.
  26   Gen. Laws ch. 93A, § 9(3) to FCA US LLC, Honda Defendants, Hyundai
  27   Defendants, Kia Defendants, Mitsubishi Motors North America, Inc., Toyota
  28   Defendants, Hyundai MOBIS Co. Ltd., and ZF TRW Defendants on April 24,

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   1   2020. Because the Kia Defendants and Hyundai MOBIS failed to adequately
   2   remedy their unlawful conduct within the requisite time period, the Massachusetts
   3   Plaintiff seeks all damages and relief to which the Massachusetts Plaintiff and
   4   Massachusetts State Class members are entitled.
   5         1514. Pursuant to Mass. Gen. Laws ch. 93A, § 9, the Massachusetts Plaintiff
   6   and Massachusetts State Class members seek an order enjoining the Kia Defendants
   7   and Hyundai MOBIS’s unfair or deceptive acts or practices and awarding damages
   8   and any other just and proper relief available under the Massachusetts Act.
   9                d.     Massachusetts Count 4: Violation of the Deceptive Acts or
  10                       Practices Prohibited By Massachusetts Law (Mass. Gen.
                           Laws ch. 93a, § 1, et seq.) Against the ZF TRW and STMicro
  11                       Defendants
  12         1515. Plaintiffs reallege and incorporate by reference all preceding
  13   allegations as though fully set forth herein.
  14         1516. The Massachusetts Plaintiff brings this count individually and on
  15   behalf of members of the Massachusetts State Class against the ZF TRW and
  16   STMicro Defendants.
  17         1517. The ZF TRW Defendants, the STMicro Defendants, the Massachusetts
  18   Plaintiff, and Massachusetts State Class members are “persons” within the meaning
  19   of Mass. Gen. Laws ch. 93A, § 1(a).
  20         1518. The ZF TRW and STMicro Defendants were and are engaged in
  21   “trade” or “commerce” within the meaning of Mass. Gen. Laws ch. 93A, § 1(b).
  22         1519. The Massachusetts consumer protection law (“Massachusetts Act”)
  23   prohibits “[u]nfair methods of competition and unfair or deceptive acts or practices
  24   in the conduct of any trade or commerce[.]” Mass. Gen. Laws ch. 93A, § 2.
  25         1520. In the course of their business the ZF TRW and STMicro Defendants,
  26   through their agents, employees, and/or subsidiaries, violated the Massachusetts
  27   Act by knowingly and intentionally omitting, concealing, and failing to disclose
  28

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   1   material facts regarding the existence, nature, and scope of the defect with ZF TRW
   2   ACUs installed in the Class Vehicles, as detailed above.
   3         1521. Specifically, by failing to disclose and actively concealing the dangers
   4   and risk posed by the Class Vehicles and/or the ACU defect, the ZF TRW and
   5   STMicro Defendants engaged in unfair and/or deceptive business practices in the
   6   conduct of any trade or commerce as prohibited by Mass. Gen. Laws ch. 93A, § 2.
   7         1522. The ZF TRW and STMicro Defendants’ unfair or deceptive acts or
   8   practices, including concealments, omissions, and suppressions of material facts,
   9   had a tendency or capacity to mislead and create a false impression in consumers,
  10   and were likely to and did in fact deceive reasonable consumers, including the
  11   Massachusetts Plaintiff and Massachusetts State Class members, about the true
  12   safety and reliability of Class Vehicles and/or the defective ACUs installed in them.
  13         1523. The ZF TRW and STMicro Defendants’ scheme and concealment of
  14   the ACU defect and true characteristics of the defective ACUs in the Class Vehicles
  15   were material to the Massachusetts Plaintiff and Massachusetts State Class
  16   members, as the ZF TRW and STMicro Defendants intended. Had they known the
  17   truth, the Massachusetts Plaintiff and Massachusetts State Class members would
  18   not have purchased or leased the Class Vehicles, or would have paid significantly
  19   less for them.
  20         1524. The Massachusetts Plaintiff and Massachusetts State Class members
  21   had no way of learning the facts that the ZF TRW and STMicro Defendants had
  22   concealed or failed to disclose. The Massachusetts Plaintiff and Massachusetts State
  23   Class members did not, and could not, unravel the ZF TRW and STMicro
  24   Defendants’ deception on their own.
  25         1525. The ZF TRW and STMicro Defendants had an ongoing duty to the
  26   Massachusetts Plaintiff and Massachusetts State Class members to refrain from
  27   unfair or deceptive practices under the Massachusetts Act in the course of their
  28   business. Specifically, the ZF TRW and STMicro Defendants owed the

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   1   Massachusetts Plaintiff and Massachusetts State Class members a duty to disclose
   2   all the material facts concerning the ACU defect in the Class Vehicles because they
   3   possessed exclusive knowledge and they intentionally concealed the ACU defect
   4   from the Massachusetts Plaintiff and Massachusetts State Class members.
   5         1526. The Massachusetts Plaintiff and Massachusetts State Class members
   6   suffered ascertainable losses and actual damages as a direct and proximate result of
   7   the ZF TRW and STMicro Defendants’ concealment and/or failure to disclose
   8   material information.
   9         1527. The ZF TRW and STMicro Defendants’ violations present a
  10   continuing risk to the Massachusetts Plaintiff and Massachusetts State Class
  11   members, as well as to the general public. The ZF TRW and STMicro Defendants’
  12   unlawful acts and practices complained of herein affect the public interest.
  13         1528. The ZF TRW and STMicro Defendants were provided notice of the
  14   issues raised in this count and this Complaint by the NHTSA investigations, the
  15   numerous complaints filed against them, and the many individual notice letters sent
  16   by Massachusetts State Class members within a reasonable amount of time after the
  17   allegations of Class Vehicle defects became public. Additionally, on May 23, 2019,
  18   Massachusetts State Class members sent a notice letter pursuant to Mass. Gen.
  19   Laws ch. 93A, § 9(3) to FCA US LLC, Honda Defendants, Hyundai Defendants,
  20   Kia Defendants, Mitsubishi Motors North America, Inc., Toyota Defendants, and
  21   ZF TRW Defendants. Moreover, a second notice letter was sent on behalf of the
  22   Massachusetts Plaintiff and Massachusetts State Class members pursuant to Mass.
  23   Gen. Laws ch. 93A, § 9(3) to FCA US LLC, Honda Defendants, Hyundai
  24   Defendants, Kia Defendants, Mitsubishi Motors North America, Inc., Toyota
  25   Defendants, Hyundai MOBIS Co., Ltd., and ZF TRW Defendants on April 24,
  26   2020. Because Defendants failed to adequately remedy their unlawful conduct
  27   within the requisite time period, the Massachusetts Plaintiff seeks all damages and
  28

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   1   relief to which the Massachusetts Plaintiff and Massachusetts State Class members
   2   are entitled.
   3          1529. Alternatively, any requirement to give notice to the Defendants under
   4   Mass. Gen. Laws ch. 93A, § 9(3) is excused because, inter alia, on information and
   5   belief the ZF TRW and STMicro Defendants do not maintain a place of business or
   6   do not keep assets within Massachusetts.
   7          1530. Pursuant to Mass. Gen. Laws ch. 93A, § 9, the Massachusetts Plaintiff
   8   and Massachusetts State Class members seek an order enjoining the ZF TRW and
   9   STMicro Defendants’ unfair or deceptive acts or practices and awarding damages
  10   and any other just and proper relief available under the Massachusetts Act.
  11          xiii. Michigan
  12                   a.   Michigan Count 1: Breach of Express Warranty (Mich.
  13                        Comp. Laws §§ 440.2313 and 440.2860) Against the Kia
                            Defendants
  14
              1531. Plaintiffs reallege and incorporate by reference all preceding
  15
       allegations as though fully set forth herein.
  16
              1532. Plaintiff Kinyata Jones (hereinafter, “Michigan Plaintiff”) brings this
  17
       count individually and on behalf of members of the Michigan State Class who
  18
       purchased or leased Kia Class Vehicles, against the Kia Defendants.
  19
              1533. The Kia Defendants are and were at all relevant times “merchants”
  20
       with respect to motor vehicles under Mich. Comp. Laws §§ 440.2104(1) and
  21
       440.2803(3), and “sellers” of motor vehicles under § 440.2103(1)(c).
  22
              1534. With respect to leases, the Kia Defendants are and were at all relevant
  23
       times “lessors” of motor vehicles under Mich. Comp. Laws § 440.2803(1)(p).
  24
              1535. All Michigan State Class members who purchased Kia Class Vehicles
  25
       in Michigan are “buyers” within the meaning of Mich. Comp. Laws
  26
       § 440.2103(1)(a).
  27
              1536. All Michigan State Class members who leased Kia Class Vehicles in
  28
       Michigan are “lessees” within the meaning of Mich. Comp. Laws § 440.2803(1)(n).
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   1         1537. The Kia Class Vehicles are and were at all relevant times “goods”
   2   within the meaning of Mich. Comp. Laws §§ 440.2105(1) and 4400.2803(1)(h).
   3         1538. In connection with the purchase or lease of Kia Class Vehicles, the Kia
   4   Defendants provided the Michigan Plaintiff and Michigan State Class members
   5   with written express warranties covering the repair or replacement of components
   6   that are defective in materials or workmanship.
   7         1539. The Kia Defendants’ warranties formed the basis of the bargain that
   8   was reached when the Michigan Plaintiff and Michigan State Class members
   9   unknowingly purchased or leased Kia Class Vehicles that came equipped with a
  10   defective ACU.
  11         1540. However, the Kia Defendants knew or should have known that the
  12   warranties were false and/or misleading. Specifically, the Kia Defendants were
  13   aware of the ACU defect in the Kia Class Vehicles, which made the vehicles
  14   inherently defective and dangerous at the time that they were sold and leased to the
  15   Michigan Plaintiff and Michigan State Class members.
  16         1541. The Michigan Plaintiff and Michigan State Class members reasonably
  17   relied on the Kia Defendants’ express warranties when purchasing or leasing their
  18   Kia Class Vehicles.
  19         1542. The Kia Defendants knowingly breached their express warranties to
  20   repair defects in materials and workmanship by failing to repair the ACU defect or
  21   replace the defective ACUs in the Kia Class Vehicles. The Kia Defendants also
  22   breached their express warranties by providing a product containing defects that
  23   were never disclosed to the Michigan Plaintiff and Michigan State Class members.
  24         1543. The Michigan Plaintiff and Michigan State Class members have
  25   provided the Kia Defendants with reasonable notice and opportunity to cure the
  26   breaches of their express warranties by way of the numerous NHTSA complaints
  27   filed against them, and individual notice letters sent by the Michigan State Class
  28   members within a reasonable amount of time after the ACU defect became public.

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   1   Additionally, a notice letter was sent on behalf of the Michigan Plaintiff and
   2   Michigan State Class members to FCA US LLC, Honda Defendants, Hyundai
   3   Defendants, Kia Defendants, Mitsubishi Motors North America, Inc., Toyota
   4   Defendants, Hyundai MOBIS Co. Ltd., and ZF TRW Defendants on April 24,
   5   2020.
   6             1544. Alternatively, any opportunity to cure the breach is unnecessary and
   7   futile.
   8             1545. As a direct and proximate result of the Kia Defendants’ breach of their
   9   express warranties, the Michigan Plaintiff and Michigan State Class members have
  10   been damaged in an amount to be proven at trial.
  11                   b.     Michigan Count 2: Breach of Implied Warranty of
  12                          Merchantability (Mich. Comp. Laws §§ 440.2314 and
                              440.2862) Against the Kia Defendants
  13             1546. Plaintiffs reallege and incorporate by reference all preceding
  14   allegations as though fully set forth herein.
  15             1547. The Michigan Plaintiff brings this count individually and on behalf of
  16   members of the Michigan State Class who purchased or leased Kia Class Vehicles,
  17   against the Kia Defendants.
  18             1548. A warranty that the Kia Class Vehicles were in merchantable condition
  19   and fit for the ordinary purpose for which such goods are used is implied by law
  20   pursuant to Mich. Comp. Laws §§ 440.2314 and 440.2862.
  21             1549. The Kia Class Vehicles did not comply with the implied warranty of
  22   merchantability because, at the time of sale and at all times thereafter, they were
  23   defective and not in merchantable condition, would not pass without objection in
  24   the trade, and were not fit for the ordinary purpose for which vehicles were used.
  25   Specifically, the Kia Class Vehicles suffer from the ACU defect, which may cause
  26   the airbags and seatbelt pretensioners to fail to deploy during an accident, rendering
  27   the Kia Class Vehicles inherently defective and dangerous.
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   1             1550. The Kia Defendants are and were at all relevant times “merchants”
   2   with respect to motor vehicles under Mich. Comp. Laws §§ 440.2104(1) and
   3   440.2803(3), and “sellers” of motor vehicles under § 440.2103(1)(c).
   4             1551. With respect to leases, the Kia Defendants are and were at all relevant
   5   times “lessors” of motor vehicles under Mich. Comp. Laws § 440.2803(1)(p).
   6             1552. All Michigan State Class members who purchased Kia Class Vehicles
   7   in Michigan are “buyers” within the meaning of Mich. Comp. Laws
   8   § 440.2103(1)(a).
   9             1553. All Michigan State Class members who leased Kia Class Vehicles in
  10   Michigan are “lessees” within the meaning of Mich. Comp. Laws § 440.2803(1)(n).
  11             1554. The Kia Class Vehicles are and were at all relevant times “goods”
  12   within the meaning of Mich. Comp. Laws §§ 440.2105(1) and 4400.2803(1)(h).
  13             1555. The Michigan Plaintiff and Michigan State Class members have
  14   provided the Kia Defendants with reasonable notice and opportunity to cure the
  15   breaches of their implied warranties by way of the numerous NHTSA complaints
  16   filed against them, and individual notice letters sent by the Michigan State Class
  17   members within a reasonable amount of time after the ACU defect became public.
  18   Additionally, a notice letter was sent on behalf of the Michigan Plaintiff and
  19   Michigan State Class members to FCA US LLC, Honda Defendants, Hyundai
  20   Defendants, Kia Defendants, Mitsubishi Motors North America, Inc., Toyota
  21   Defendants, Hyundai MOBIS Co. Ltd., and ZF TRW Defendants on April 24,
  22   2020.
  23             1556. Alternatively, any opportunity to cure the breach is unnecessary and
  24   futile.
  25             1557. As a direct and proximate result of the Kia Defendants’ breach of the
  26   implied warranty of merchantability, the Michigan Plaintiff and Michigan State
  27   Class members have been damaged in an amount to be proven at trial.
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   1                c.     Michigan Count 3: Violation of the Michigan Consumer
                           Protection Act (Mich. Comp. Laws § 445.901, et seq.)
   2                       Against the Kia Defendants and Hyundai MOBIS
   3         1558. Plaintiffs reallege and incorporate by reference all preceding
   4   allegations as though fully set forth herein.
   5         1559. The Michigan Plaintiff brings this count individually and on behalf of
   6   members of the Michigan State Class who purchased or leased Kia Class Vehicles,
   7   against the Kia Defendants and Hyundai MOBIS.
   8         1560. The Kia Defendants, Hyundai MOBIS, the Michigan Plaintiff, and
   9   Michigan State Class members are “persons” within the meaning of Mich. Comp.
  10   Laws § 445.902(1)(d).
  11         1561. The Kia Defendants and Hyundai MOBIS were and are engaged in
  12   “trade” or “commerce” within the meaning of Mich. Comp. Laws § 445.902(1)(g).
  13         1562. The Michigan Consumer Protection Act (“Michigan CPA”) prohibits
  14   “[u]nfair, unconscionable, or deceptive methods, acts, or practices in the conduct of
  15   trade or commerce[.]” Mich. Comp. Laws § 445.903(1).
  16         1563. In the course of their business, the Kia Defendants and Hyundai
  17   MOBIS, through their agents, employees, and/or subsidiaries, violated the
  18   Michigan CPA by knowingly and intentionally misrepresenting, omitting,
  19   concealing, and/or failing to disclose material facts regarding the reliability, safety,
  20   and performance of the Kia Class Vehicles or the defective ACUs, as detailed
  21   above.
  22         1564. Specifically, by misrepresenting the Kia Class Vehicles and/or the
  23   defective ACUs installed in them as safe and/or free from defects, and by failing to
  24   disclose and actively concealing the dangers and risk posed by the Kia Class
  25   Vehicles and/or the ACU defect, the Kia Defendants and Hyundai MOBIS engaged
  26   in one or more of the following unfair or deceptive business practices prohibited by
  27   Mich. Comp. Laws §§ 445.903:
  28

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   1                a.     Representing that the Kia Class Vehicles and/or the defective
   2                       ACUs installed in them have characteristics, uses, benefits, and
   3                       qualities which they do not have.
   4                b.     Representing that the Kia Class Vehicles and/or the defective
   5                       ACUs installed in them are of a particular standard, quality, and
   6                       grade when they are not.
   7                c.     Advertising the Kia Class Vehicles and/or the defective ACUs
   8                       installed in them with the intent not to sell or lease them as
   9                       advertised.
  10         Mich. Comp. Laws §§ 445.903(1)(c), (e), and (g).
  11         1565. The Kia Defendants and Hyundai MOBIS’s unfair or deceptive acts or
  12   practices, including misrepresentations, concealments, omissions, and/or
  13   suppressions of material facts, had a tendency or capacity to mislead and create a
  14   false impression in consumers, and were likely to and did in fact deceive reasonable
  15   consumers, including the Michigan Plaintiff and Michigan State Class members,
  16   about the true safety and reliability of Kia Class Vehicles and/or the defective
  17   ACUs installed in them, the quality of the Kia Class Vehicles, and the true value of
  18   the Kia Class Vehicles.
  19         1566. The Kia Defendants and Hyundai MOBIS’s scheme and concealment
  20   of the ACU defect and true characteristics of the Occupant Restraint Systems in the
  21   Kia Class Vehicles were material to the Michigan Plaintiff and Michigan State
  22   Class members, as the Kia Defendants and Hyundai MOBIS intended. Had they
  23   known the truth, the Michigan Plaintiff and Michigan State Class members would
  24   not have purchased or leased the Kia Class Vehicles, or would have paid
  25   significantly less for them.
  26         1567. The Michigan Plaintiff and Michigan State Class members had no way
  27   of discerning that the Kia Defendants’ representations were false and misleading
  28   and/or otherwise learning the facts that the Kia Defendants and Hyundai MOBIS

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   1   had concealed or failed to disclose. The Michigan Plaintiff and Michigan State
   2   Class members did not, and could not, unravel the Kia Defendants and Hyundai
   3   MOBIS’s deception on their own.
   4         1568. The Kia Defendants and Hyundai MOBIS had an ongoing duty to the
   5   Michigan Plaintiff and Michigan State Class members to refrain from unfair or
   6   deceptive practices under the Michigan CPA in the course of their business.
   7         1569. Specifically, the Kia Defendants and Hyundai MOBIS owed the
   8   Michigan Plaintiff and Michigan State Class members a duty to disclose all the
   9   material facts concerning the ACU defect in the Kia Class Vehicles because they
  10   possessed exclusive knowledge, they intentionally concealed the ACU defect from
  11   the Michigan Plaintiff and Michigan State Class members, and/or they made
  12   misrepresentations that were rendered misleading because they were contradicted
  13   by withheld facts.
  14         1570. The Michigan Plaintiff and Michigan State Class members suffered
  15   ascertainable losses and actual damages as a direct and proximate result of the Kia
  16   Defendants and Hyundai MOBIS’s concealment, misrepresentations, and/or failure
  17   to disclose material information.
  18         1571. The Kia Defendants and Hyundai MOBIS’s violations present a
  19   continuing risk to the Michigan Plaintiff and Michigan State Class members, as
  20   well as to the general public. The Kia Defendants and Hyundai MOBIS’s unlawful
  21   acts and practices complained of herein affect the public interest.
  22         1572. Pursuant to Mich. Comp. Laws § 445.911, the Michigan Plaintiff and
  23   Michigan State Class members seek an order enjoining the Kia Defendants and
  24   Hyundai MOBIS’s unfair or deceptive acts or practices and awarding damages and
  25   any other just and proper relief available under the Michigan CPA.
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   1                 d.    Michigan Count 4: Violation of the Michigan Consumer
                           Protection Act (Mich. Comp. Laws § 445.901, et seq.)
   2                       Against the ZF TRW and STMicro Defendants
   3         1573. Plaintiffs reallege and incorporate by reference all preceding
   4   allegations as though fully set forth herein.
   5         1574. The Michigan Plaintiff brings this count individually and on behalf of
   6   members of the Michigan State Class against the ZF TRW and STMicro
   7   Defendants.
   8         1575. The ZF TRW Defendants, the STMicro Defendants, the Michigan
   9   Plaintiff, and Michigan State Class members are “persons” within the meaning of
  10   Mich. Comp. Laws § 445.902(1)(d).
  11         1576. The ZF TRW and STMicro Defendants were and are engaged in
  12   “trade” or “commerce” within the meaning of Mich. Comp. Laws § 445.902(1)(g).
  13         1577. The Michigan Consumer Protection Act (“Michigan CPA”) prohibits
  14   “[u]nfair, unconscionable, or deceptive methods, acts, or practices in the conduct of
  15   trade or commerce[.]” Mich. Comp. Laws § 445.903(1).
  16         1578. In the course of their business the ZF TRW and STMicro Defendants,
  17   through their agents, employees, and/or subsidiaries, violated the Michigan CPA by
  18   knowingly and intentionally omitting, concealing, and failing to disclose material
  19   facts regarding the existence, nature, and scope of the defect with ZF TRW ACUs
  20   installed in the Class Vehicles, as detailed above.
  21         1579. Specifically, by failing to disclose and actively concealing the dangers
  22   and risk posed by the Class Vehicles due to the ACU defect, the ZF TRW and
  23   STMicro Defendants engaged in one or more of the unfair, unconscionable, or
  24   deceptive methods, acts, or practices in the conduct of trade or commerce
  25   prohibited by Mich. Comp. Laws § 445.903(1), including failing to reveal a
  26   material fact, and failing to reveal facts that are material to the transaction in light
  27   of representations of fact made by the Vehicle Manufacturer Defendants.
  28

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   1         1580. The ZF TRW and STMicro Defendants’ unfair or deceptive acts or
   2   practices, including concealments, omissions, and suppressions of material facts,
   3   had a tendency or capacity to mislead and create a false impression in consumers,
   4   and were likely to and did in fact deceive reasonable consumers, including the
   5   Michigan Plaintiff and Michigan State Class members, about the true safety and
   6   reliability of Class Vehicles and/or the defective ACUs installed in them.
   7         1581. The ZF TRW and STMicro Defendants’ scheme and concealment of
   8   the ACU defect and true characteristics of the defective ACUs in the Class Vehicles
   9   were material to the Michigan Plaintiff and Michigan State Class members, as the
  10   ZF TRW and STMicro Defendants intended. Had they known the truth, the
  11   Michigan Plaintiff and Michigan State Class members would not have purchased or
  12   leased the Class Vehicles, or would have paid significantly less for them.
  13         1582. The Michigan Plaintiff and Michigan State Class members had no way
  14   of learning the facts that the ZF TRW and STMicro Defendants had concealed or
  15   failed to disclose. The Michigan Plaintiff and Michigan State Class members did
  16   not, and could not, unravel the ZF TRW and STMicro Defendants’ deception on
  17   their own.
  18         1583. The ZF TRW and STMicro Defendants had an ongoing duty to the
  19   Michigan Plaintiff and Michigan State Class members to refrain from unfair or
  20   deceptive practices under the Michigan CPA in the course of their business.
  21         1584. Specifically, the ZF TRW and STMicro Defendants owed the
  22   Michigan Plaintiff and Michigan State Class members a duty to disclose all the
  23   material facts concerning the ACU defect in the Class Vehicles because they
  24   possessed exclusive knowledge and they intentionally concealed the ACU defect
  25   from the Michigan Plaintiff and Michigan State Class members.
  26         1585. The Michigan Plaintiff and Michigan State Class members suffered
  27   ascertainable losses and actual damages as a direct and proximate result of the ZF
  28

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   1   TRW and STMicro Defendants’ concealment and/or failure to disclose material
   2   information.
   3         1586. The ZF TRW and STMicro Defendants’ violations present a
   4   continuing risk to the Michigan Plaintiff and Michigan State Class members, as
   5   well as to the general public. The ZF TRW and STMicro Defendants’ unlawful acts
   6   and practices complained of herein affect the public interest.
   7         1587. Pursuant to Mich. Comp. Laws § 445.911, the Michigan Plaintiff and
   8   Michigan State Class members seek an order enjoining the ZF TRW and STMicro
   9   Defendants’ unfair or deceptive acts or practices and awarding damages and any
  10   other just and proper relief available under the Michigan CPA.
  11         xiv.     Minnesota
  12                  a.   Minnesota Count 1: Breach of Express Warranty (Minn.
  13                       Stat. §§ 336.2-313 and 336.2A-210) Against the FCA, Honda,
                           and Kia Defendants
  14
             1588. Plaintiffs reallege and incorporate by reference all preceding
  15
       allegations as though fully set forth herein.
  16
             1589. Plaintiff Steve Keister brings this count individually and on behalf of
  17
       members of the Minnesota State Class who purchased or leased FCA Class
  18
       Vehicles, against the FCA Defendants.
  19
             1590. Plaintiff Carolyn Nelson brings this count individually and on behalf
  20
       of members of the Minnesota State Class who purchased or leased Honda Class
  21
       Vehicles, against the Honda Defendants.
  22
             1591. Plaintiff Bobbi Jo Birk-LaBarge brings this count individually and on
  23
       behalf of members of the Minnesota State Class who purchased or leased Kia Class
  24
       Vehicles, against the Kia Defendants.
  25
             1592. For purposes of this count, Plaintiffs Keister, Nelson, and Birk-
  26
       LaBarge shall be referred to as the “Minnesota Plaintiffs.”
  27
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   1         1593. The FCA, Honda, and Kia Defendants are and were at all relevant
   2   times “merchants” with respect to motor vehicles under Minn. Stat. §§ 336.2-
   3   104(1) and 336.2A-103(3), and “sellers” of motor vehicles under § 336.2-103(1)(d).
   4         1594. With respect to leases, the FCA, Honda, and Kia Defendants are and
   5   were at all relevant times “lessors” of motor vehicles under Minn. Stat. § 336.2A-
   6   103(1)(p).
   7         1595. All Minnesota State Class members who purchased Class Vehicles (for
   8   purposes of this count, “Class Vehicles” are limited to the FCA, Honda, and Kia
   9   Class Vehicles) in Minnesota are “buyers” within the meaning of Minn. Stat.
  10   § 336.2-103(1)(a),
  11         1596. All Minnesota State Class members who leased Class Vehicles in
  12   Minnesota are “lessees” within the meaning of Minn. Stat. § 336.2A-103(1)(n).
  13         1597. The Class Vehicles are and were at all relevant times “goods” within
  14   the meaning of Minn. Stat. §§ 336.2-105(1) and 336.2A-103(1)(h).
  15         1598. In connection with the purchase or lease of Class Vehicles, the FCA,
  16   Honda, and Kia Defendants provided the Minnesota Plaintiffs and Minnesota State
  17   Class members with written express warranties covering the repair or replacement
  18   of components that are defective in materials or workmanship.
  19         1599. The FCA, Honda, and Kia Defendants’ warranties formed the basis of
  20   the bargain that was reached when the Minnesota Plaintiffs and Minnesota State
  21   Class members unknowingly purchased or leased Class Vehicles that came
  22   equipped with a defective ACU.
  23         1600. However, the FCA, Honda, and Kia Defendants knew or should have
  24   known that the warranties were false and/or misleading. Specifically, the FCA,
  25   Honda, and Kia Defendants were aware of the ACU defect in the Class Vehicles,
  26   which made the vehicles inherently defective and dangerous at the time that they
  27   were sold and leased to the Minnesota Plaintiff and Minnesota State Class
  28   members.

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   1             1601. The Minnesota Plaintiffs and Minnesota State Class members
   2   reasonably relied on the FCA, Honda, and Kia Defendants’ express warranties
   3   when purchasing or leasing their Class Vehicles.
   4             1602. The FCA, Honda, and Kia Defendants knowingly breached their
   5   express warranties to repair defects in materials and workmanship by failing to
   6   repair the ACU defect or replace the defective ACUs in the Class Vehicles. The
   7   FCA, Honda, and Kia Defendants also breached their express warranties by
   8   providing a product containing defects that were never disclosed to the Minnesota
   9   Plaintiffs and Minnesota State Class members.
  10             1603. The Minnesota Plaintiffs and Minnesota State Class members have
  11   provided the FCA, Honda, and Kia Defendants with reasonable notice and
  12   opportunity to cure the breaches of their express warranties by way of the numerous
  13   NHTSA complaints filed against them, and individual notice letters sent by the
  14   Minnesota State Class members within a reasonable amount of time after the ACU
  15   defect became public. Additionally, a notice letter was sent on behalf of the
  16   Minnesota Plaintiffs and Minnesota State Class members to FCA US LLC, Honda
  17   Defendants, Hyundai Defendants, Kia Defendants, Mitsubishi Motors North
  18   America, Inc., Toyota Defendants, Hyundai MOBIS Co. Ltd., and ZF TRW
  19   Defendants on April 24, 2020.
  20             1604. Alternatively, any opportunity to cure the breach is unnecessary and
  21   futile.
  22             1605. As a direct and proximate result of the FCA, Honda, and Kia
  23   Defendants’ breach of their express warranties, the Minnesota Plaintiffs and
  24   Minnesota State Class members have been damaged in an amount to be proven at
  25   trial.
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   1                b.     Minnesota Count 2: Breach of Implied Warranty of
                           Merchantability (Minn. Stat. §§ 336.2-314 and 336.2A-212)
   2                       Against the FCA, Honda, and Kia Defendants
   3         1606. Plaintiffs reallege and incorporate by reference all preceding
   4   allegations as though fully set forth herein.
   5         1607. Plaintiff Steve Keister brings this count individually and on behalf of
   6   members of the Minnesota State Class who purchased or leased FCA Class
   7   Vehicles, against the FCA Defendants.
   8         1608. Plaintiff Carolyn Nelson brings this count individually and on behalf
   9   of members of the Minnesota State Class who purchased or leased Honda Class
  10   Vehicles, against the Honda Defendants.
  11         1609. Plaintiff Bobbi Jo Birk-LaBarge brings this count individually and on
  12   behalf of members of the Minnesota State Class who purchased or leased Kia Class
  13   Vehicles, against the Kia Defendants.
  14         1610. For purposes of this count, Plaintiffs Keister, Nelson, and Birk-
  15   LaBarge shall be referred to as the “Minnesota Plaintiffs.”
  16         1611. A warranty that the Class Vehicles (for purposes of this count, “Class
  17   Vehicles” are limited to the FCA, Honda, and Kia Class Vehicles) were in
  18   merchantable condition and fit for the ordinary purpose for which such goods are
  19   used is implied by law pursuant to Minn. Stat. §§ 336.2-314 and 336.2A-212.
  20         1612. The Class Vehicles did not comply with the implied warranty of
  21   merchantability because, at the time of sale and at all times thereafter, they were
  22   defective and not in merchantable condition, would not pass without objection in
  23   the trade, and were not fit for the ordinary purpose for which vehicles were used.
  24   Specifically, the Class Vehicles suffer from the ACU defect, which may cause the
  25   airbags and seatbelt pretensioners to fail to deploy during an accident, rendering the
  26   Class Vehicles inherently defective and dangerous.
  27
  28

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   1             1613. The FCA, Honda, and Kia Defendants are and were at all relevant
   2   times “merchants” with respect to motor vehicles under Minn. Stat. §§ 336.2-
   3   104(1) and 336.2A-103(3), and “sellers” of motor vehicles under § 336.2-103(1)(d).
   4             1614. With respect to leases, the FCA, Honda, and Kia Defendants are and
   5   were at all relevant times “lessors” of motor vehicles under Minn. Stat. § 336.2A-
   6   103(1)(p).
   7             1615. All Minnesota State Class members who purchased Class Vehicles in
   8   Minnesota are “buyers” within the meaning of Minn. Stat. § 336.2-103(1)(a),
   9             1616. All Minnesota State Class members who leased Class Vehicles in
  10   Minnesota are “lessees” within the meaning of Minn. Stat. § 336.2A-103(1)(n).
  11             1617. The Class Vehicles are and were at all relevant times “goods” within
  12   the meaning of Minn. Stat. §§ 336.2-105(1) and 336.2A-103(1)(h).
  13             1618. The Minnesota Plaintiffs and Minnesota State Class members have
  14   provided the FCA, Honda, and Kia Defendants with reasonable notice and
  15   opportunity to cure the breaches of their implied warranties by way of the numerous
  16   NHTSA complaints filed against them, and individual notice letters sent by the
  17   Minnesota State Class members within a reasonable amount of time after the ACU
  18   defect became public. Additionally, a notice letter was sent on behalf of the
  19   Minnesota Plaintiffs and Minnesota State Class members to FCA US LLC, Honda
  20   Defendants, Hyundai Defendants, Kia Defendants, Mitsubishi Motors North
  21   America, Inc., Toyota Defendants, Hyundai MOBIS Co. Ltd., and ZF TRW
  22   Defendants on April 24, 2020.
  23             1619. Alternatively, any opportunity to cure the breach is unnecessary and
  24   futile.
  25             1620. As a direct and proximate result of the FCA, Honda, and Kia
  26   Defendants’ breach of the implied warranty of merchantability, the Minnesota
  27   Plaintiffs and Minnesota State Class members have been damaged in an amount to
  28   be proven at trial.

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   1                c.     Minnesota Count 3: Violation of the Minnesota Prevention
                           of Consumer Fraud Act (Minn. Stat. § 325F.68, et seq. and
   2                       Minn. Stat. § 8.31, subd. 3a) Against the FCA, Honda Kia
   3                       Defendants, and Hyundai MOBIS
             1621. Plaintiffs reallege and incorporate by reference all preceding
   4
       allegations as though fully set forth herein.
   5
             1622. Plaintiff Steve Keister brings this count individually and on behalf of
   6
       members of the Minnesota State Class who purchased or leased FCA Class
   7
       Vehicles, against the FCA Defendants.
   8
             1623. Plaintiff Carolyn Nelson brings this count individually and on behalf
   9
       of members of the Minnesota State Class who purchased or leased Honda Class
  10
       Vehicles, against the Honda Defendants.
  11
             1624. Plaintiff Bobbi Jo Birk-LaBarge brings this count individually and on
  12
       behalf of members of the Minnesota State Class who purchased or leased Kia Class
  13
       Vehicles, against the Kia Defendants and Hyundai MOBIS.
  14
             1625. For purposes of this count, Plaintiffs Keister, Nelson, and Birk-
  15
       LaBarge shall be referred to as the “Minnesota Plaintiffs.”
  16
             1626. The FCA Defendants, Honda Defendants, Kia Defendants, Hyundai
  17
       MOBIS, the Minnesota Plaintiffs, and Minnesota State Class members are
  18
       “persons” within the meaning of Minn. Stat. § 325F.68(3).
  19
             1627. The Class Vehicles (for purposes of this count, “Class Vehicles” are
  20
       limited to the FCA, Honda, and Kia Class Vehicles) and ACUs installed in them are
  21
       “merchandise” within the meaning of Minn. Stat. § 325F.68(2).
  22
             1628. The Minnesota Prevention of Consumer Fraud Act (“Minnesota
  23
       CFA”) prohibits “act, use, or employment by any person of any fraud, false
  24
       pretense, false promise, misrepresentation, misleading statement or deceptive
  25
       practice, with the intent that others rely thereon in connection with the sale of any
  26
       merchandise, whether or not any person has in fact been misled, deceived, or
  27
       damaged[.]” Minn. Stat. § 325F.69(1).
  28

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   1         1629. In the course of their business, the FCA, Honda, Kia Defendants, and
   2   Hyundai MOBIS, through their agents, employees, and/or subsidiaries, violated the
   3   Minnesota CFA by knowingly and intentionally misrepresenting, omitting,
   4   concealing, and/or failing to disclose material facts regarding the reliability, safety,
   5   and performance of the Class Vehicles or the defective ACUs, as detailed above.
   6         1630. Specifically, by misrepresenting the Class Vehicles and/or the
   7   defective ACUs installed in them as safe and/or free from defects, and by failing to
   8   disclose and actively concealing the dangers and risk posed by the Class Vehicles
   9   and/or the ACU defect, the FCA, Honda, Kia Defendants, and Hyundai MOBIS
  10   engaged in one or more of the unfair or deceptive business practices prohibited by
  11   Minn. Stat. § 325F.69, including use, or employment by any person of any fraud,
  12   false pretense, false promise, misrepresentation, misleading statement or deceptive
  13   practice, with the intent that others rely thereon in connection with the sale of any
  14   merchandise.
  15         1631. The FCA, Honda, Kia Defendants, and Hyundai MOBIS’s unfair or
  16   deceptive acts or practices, including misrepresentations, concealments, omissions,
  17   and/or suppressions of material facts, had a tendency or capacity to mislead and
  18   create a false impression in consumers, and were likely to and did in fact deceive
  19   reasonable consumers, including the Minnesota Plaintiffs and Minnesota State
  20   Class members, about the true safety and reliability of Class Vehicles and/or the
  21   defective ACUs installed in them, the quality of the Class Vehicles, and the true
  22   value of the Class Vehicles.
  23         1632. The FCA, Honda, Kia Defendants, and Hyundai MOBIS’s scheme and
  24   concealment of the ACU defect and true characteristics of the Occupant Restraint
  25   Systems in the Class Vehicles were material to the Minnesota Plaintiffs and
  26   Minnesota State Class members, as the FCA, Honda, Kia Defendants, and Hyundai
  27   MOBIS intended. Had they known the truth, the Minnesota Plaintiffs and
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   1   Minnesota State Class members would not have purchased or leased the Class
   2   Vehicles, or would have paid significantly less for them.
   3         1633. The Minnesota Plaintiffs and Minnesota State Class members had no
   4   way of discerning that the FCA, Honda, and Kia Defendants’ representations were
   5   false and misleading and/or otherwise learning the facts that the FCA, Honda, Kia
   6   Defendants, and Hyundai MOBIS had concealed or failed to disclose. The
   7   Minnesota Plaintiffs and Minnesota State Class members did not, and could not,
   8   unravel the FCA, Honda, Kia Defendants, and Hyundai MOBIS’s deception on
   9   their own.
  10         1634. The FCA, Honda, Kia Defendants, and Hyundai MOBIS had an
  11   ongoing duty to the Minnesota Plaintiffs and Minnesota State Class members to
  12   refrain from unfair or deceptive practices under the Minnesota CFA in the course of
  13   their business. Specifically, the FCA, Honda, Kia Defendants, and Hyundai MOBIS
  14   owed the Minnesota Plaintiffs and Minnesota State Class members a duty to
  15   disclose all the material facts concerning the ACU defect in the Class Vehicles
  16   because they possessed exclusive knowledge, they intentionally concealed the ACU
  17   defect from the Minnesota Plaintiffs and Minnesota State Class members, and/or
  18   they made misrepresentations that were rendered misleading because they were
  19   contradicted by withheld facts.
  20         1635. The Minnesota Plaintiffs and Minnesota State Class members suffered
  21   ascertainable losses and actual damages as a direct and proximate result of the
  22   FCA, Honda, Kia Defendants, and Hyundai MOBIS’s concealment,
  23   misrepresentations, and/or failure to disclose material information.
  24         1636. The FCA, Honda, Kia Defendants, and Hyundai MOBIS’s violations
  25   present a continuing risk to the Minnesota Plaintiffs and Minnesota State Class
  26   members, as well as to the general public. The FCA, Honda, Kia Defendants, and
  27   Hyundai MOBIS’s unlawful acts and practices complained of herein affect the
  28   public interest.

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   1         1637. Pursuant to Minn. Stat. §§ 8.31(3a) and 549.20(1)(a), the Minnesota
   2   Plaintiffs and Minnesota State Class members seek an order enjoining the FCA,
   3   Honda, Kia Defendants, and Hyundai MOBIS’s unfair or deceptive acts or practices
   4   and awarding damages and any other just and proper relief available under the
   5   Minnesota CFA.
   6                d.     Minnesota Count 4: Violation of the Minnesota Uniform
   7                       Deceptive Trade Practices Act (Minn. Stat. § 325D.43, et
                           seq.) Against the FCA, Honda, Kia Defendants, and Hyundai
   8                       MOBIS
   9         1638. Plaintiffs reallege and incorporate by reference all preceding
  10   allegations as though fully set forth herein.
  11         1639. Plaintiff Steve Keister brings this count individually and on behalf of
  12   members of the Minnesota State Class who purchased or leased FCA Class
  13   Vehicles, against the FCA Defendants.
  14         1640. Plaintiff Carolyn Nelson brings this count individually and on behalf
  15   of members of the Minnesota State Class who purchased or leased Honda Class
  16   Vehicles, against the Honda Defendants.
  17         1641. Plaintiff Bobbi Jo Birk-LaBarge brings this count individually and on
  18   behalf of members of the Minnesota State Class who purchased or leased Kia Class
  19   Vehicles, against the Kia Defendants and Hyundai MOBIS.
  20         1642. For purposes of this count, Plaintiffs Keister, Nelson, and Birk-
  21   LaBarge shall be referred to as the “Minnesota Plaintiffs.”
  22         1643. The Minnesota Deceptive Trade Practices Act (“Minnesota DTPA”)
  23   prohibits deceptive trade practices in the course of a business, vocation, or
  24   occupation. Minn. Stat. § 325D.44, Subd. 1.
  25         1644. In the course of their business, the FCA, Honda, Kia Defendants, and
  26   Hyundai MOBIS, through their agents, employees, and/or subsidiaries, violated the
  27   Minnesota DTPA by knowingly and intentionally misrepresenting, omitting,
  28   concealing, and/or failing to disclose material facts regarding the reliability, safety,

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   1   and performance of the Class Vehicles (for purposes of this count, “Class Vehicles”
   2   are limited to the FCA, Honda, and Kia Class Vehicles) or the defective ACUs, as
   3   detailed above.
   4         1645. Specifically, by misrepresenting the Class Vehicles and/or the
   5   defective ACUs installed in them as safe and/or free from defects, and by failing to
   6   disclose and actively concealing the dangers and risk posed by the Class Vehicles
   7   and/or the ACU defect, the FCA, Honda, Kia Defendants, and Hyundai MOBIS
   8   engaged in one or more of the following unfair or deceptive business practices
   9   prohibited by Minn. Stat. § 325D.44, Subd. 1:
  10                a.    Representing that the Class Vehicles and/or the defective ACUs
  11                      installed in them have characteristics, uses, benefits, and
  12                      qualities which they do not have;
  13                b.    Representing that the Class Vehicles and/or the defective ACUs
  14                      installed in them are of a particular standard, quality, and grade
  15                      when they are not;
  16                c.    Advertising the Class Vehicles and/or the defective ACUs
  17                      installed in them with the intent not to sell or lease them as
  18                      advertised; and
  19                d.    Engaging in any other false, misleading, or deceptive act or
  20                      practice in the conduct of trade or commerce pertaining to the
  21                      Class Vehicles and/or the defective ACUs installed in them.
  22         Minn. Stat. §§ 325D.44, Subd. 1(5), (7), (9), and (13).
  23         1646. The FCA, Honda, Kia Defendants, and Hyundai MOBIS’s unfair or
  24   deceptive acts or practices, including misrepresentations, concealments, omissions,
  25   and/or suppressions of material facts, had a tendency or capacity to mislead and
  26   create a false impression in consumers, and were likely to and did in fact deceive
  27   reasonable consumers, including the Minnesota Plaintiffs and Minnesota State
  28   Class members, about the true safety and reliability of Class Vehicles and/or the

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   1   defective ACUs installed in them, the quality of the Class Vehicles, and the true
   2   value of the Class Vehicles.
   3          1647. The FCA, Honda, Kia Defendants, and Hyundai MOBIS’s scheme and
   4   concealment of the ACU defect and true characteristics of the Occupant Restraint
   5   Systems in the Class Vehicles were material to the Minnesota Plaintiffs and
   6   Minnesota State Class members, as the FCA, Honda, Kia Defendants, and Hyundai
   7   MOBIS intended. Had they known the truth, the Minnesota Plaintiffs and
   8   Minnesota State Class members would not have purchased or leased the Class
   9   Vehicles, or would have paid significantly less for them.
  10          1648. The Minnesota Plaintiffs and Minnesota State Class members had no
  11   way of discerning that the FCA, Honda, and Kia Defendants’ representations were
  12   false and misleading and/or otherwise learning the facts that the FCA, Honda, Kia
  13   Defendants, and Hyundai MOBIS had concealed or failed to disclose. The
  14   Minnesota Plaintiffs and Minnesota State Class members did not, and could not,
  15   unravel the FCA, Honda, Kia Defendants and Hyundai MOBIS’s deception on their
  16   own.
  17          1649. The FCA, Honda, Kia Defendants, and Hyundai MOBIS had an
  18   ongoing duty to the Minnesota Plaintiffs and Minnesota State Class members to
  19   refrain from unfair or deceptive practices under the Minnesota DTPA in the course
  20   of their business. Specifically, the FCA, Honda, Kia Defendants, and Hyundai
  21   MOBIS owed the Minnesota Plaintiffs and Minnesota State Class members a duty
  22   to disclose all the material facts concerning the ACU defect in the Class Vehicles
  23   because they possessed exclusive knowledge, they intentionally concealed the ACU
  24   defect from the Minnesota Plaintiffs and Minnesota State Class members, and/or
  25   they made misrepresentations that were rendered misleading because they were
  26   contradicted by withheld facts.
  27          1650. The Minnesota Plaintiffs and Minnesota State Class members suffered
  28   ascertainable losses and actual damages as a direct and proximate result of the

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   1   FCA, Honda, Kia Defendants, and Hyundai MOBIS’s concealment,
   2   misrepresentations, and/or failure to disclose material information.
   3         1651. The FCA, Honda, Kia Defendants, and Hyundai MOBIS’s violations
   4   present a continuing risk to the Minnesota Plaintiffs and Minnesota State Class
   5   members, as well as to the general public. The FCA, Honda, Kia Defendants, and
   6   Hyundai MOBIS’s unlawful acts and practices complained of herein affect the
   7   public interest.
   8         1652. Pursuant to Minn. Stat. §§ 8.31(3a), 325D.45, and 549.20(1)(a), the
   9   Minnesota Plaintiffs and Minnesota State Class members seek an order enjoining
  10   the FCA, Honda, Kia Defendants, and Hyundai MOBIS’s unfair or deceptive acts
  11   or practices and awarding damages and any other just and proper relief available
  12   under the Minnesota DTPA.
  13                e.     Minnesota Count 5: Violation of the Minnesota Prevention
  14                       of Consumer Fraud Act (Minn. Stat. § 325F.68, et seq. and
                           Minn. Stat. § 8.31, subd. 3a) Against the ZF TRW and
  15                       STMicro Defendants
  16         1653. Plaintiffs reallege and incorporate by reference all preceding
  17   allegations as though fully set forth herein.
  18         1654. Plaintiffs Steve Keister, Carolyn Nelson, and Bobbi Jo Birk-LaBarge
  19   bring this count individually and on behalf of members of the Minnesota State
  20   Class against the ZF TRW and STMicro Defendants.
  21         1655. For purposes of this count, Plaintiffs Keister, Nelson, and Birk-
  22   LaBarge shall be referred to as the “Minnesota Plaintiffs.”
  23         1656. The ZF TRW Defendants, the STMicro Defendants, the Minnesota
  24   Plaintiffs, and Minnesota State Class members are “persons” within the meaning of
  25   Minn. Stat. § 325F.68(3).
  26         1657. The Class Vehicles and ACUs installed in them are “merchandise”
  27   within the meaning of Minn. Stat. § 325F.68(2).
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   1         1658. The Minnesota Prevention of Consumer Fraud Act (“Minnesota
   2   CFA”) prohibits “act, use, or employment by any person of any fraud, false
   3   pretense, false promise, misrepresentation, misleading statement or deceptive
   4   practice, with the intent that others rely thereon in connection with the sale of any
   5   merchandise, whether or not any person has in fact been misled, deceived, or
   6   damaged[.]” Minn. Stat. § 325F.69(1).
   7         1659. In the course of their business, the ZF TRW and STMicro Defendants,
   8   through their agents, employees, and/or subsidiaries, violated the Minnesota CFA
   9   by knowingly and intentionally omitting, concealing, and/or failing to disclose
  10   material facts regarding the existence, nature, and scope of the defect with ZF TRW
  11   ACUs installed in the Class Vehicles, as detailed above.
  12         1660. Specifically, by failing to disclose and actively concealing the dangers
  13   and risk posed by the Class Vehicles due to the ACU defect, the ZF TRW and
  14   STMicro Defendants engaged in unfair or deceptive business practices prohibited
  15   by Minn. Stat. § 325F.69, including the use or employment of fraud, false pretense,
  16   and deceptive practices.
  17         1661. The ZF TRW and STMicro Defendants’ unfair or deceptive acts or
  18   practices, including concealments, omissions, and suppressions of material facts,
  19   had a tendency or capacity to mislead and create a false impression in consumers,
  20   and were likely to and did in fact deceive reasonable consumers, including the
  21   Minnesota Plaintiffs and Minnesota State Class members, about the true safety and
  22   reliability of Class Vehicles and/or the defective ACUs installed in them.
  23         1662. The ZF TRW and STMicro Defendants’ scheme and concealment of
  24   the ACU defect and true characteristics of the defective ACUs in the Class Vehicles
  25   were material to the Minnesota Plaintiffs and Minnesota State Class members, as
  26   the ZF TRW and STMicro Defendants intended. Had they known the truth, the
  27   Minnesota Plaintiffs and Minnesota State Class members would not have purchased
  28   or leased the Class Vehicles, or would have paid significantly less for them.

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   1         1663. The Minnesota Plaintiffs and Minnesota State Class members had no
   2   way of learning the facts that the ZF TRW and STMicro Defendants had concealed
   3   or failed to disclose. The Minnesota Plaintiffs and Minnesota State Class members
   4   did not, and could not, unravel the ZF TRW and STMicro Defendants’ deception
   5   on their own.
   6         1664. The ZF TRW and STMicro Defendants had an ongoing duty to the
   7   Minnesota Plaintiffs and Minnesota State Class members to refrain from unfair or
   8   deceptive practices under the Minnesota CFA in the course of their business.
   9   Specifically, the ZF TRW and STMicro Defendants owed the Minnesota Plaintiffs
  10   and Minnesota State Class members a duty to disclose all the material facts
  11   concerning the ACU defect in the Class Vehicles because they possessed exclusive
  12   knowledge, they intentionally concealed the ACU defect from the Minnesota
  13   Plaintiffs and Minnesota State Class members.
  14         1665. The Minnesota Plaintiffs and Minnesota State Class members suffered
  15   ascertainable losses and actual damages as a direct and proximate result of the ZF
  16   TRW and STMicro Defendants’ concealment and/or failure to disclose material
  17   information.
  18         1666. The ZF TRW and STMicro Defendants’ violations present a
  19   continuing risk to the Minnesota Plaintiffs and Minnesota State Class members, as
  20   well as to the general public. The ZF TRW and STMicro Defendants’ unlawful acts
  21   and practices complained of herein affect the public interest.
  22         1667. Pursuant to Minn. Stat. §§ 8.31(3a) and 549.20(1)(a), the Minnesota
  23   Plaintiffs and Minnesota State Class members seek an order enjoining the ZF TRW
  24   and STMicro Defendants’ unfair or deceptive acts or practices and awarding
  25   damages and any other just and proper relief available under the Minnesota CFA.
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   1                f.     Minnesota Count 6: Violation of the Minnesota Uniform
                           Deceptive Trade Practices Act (Minn. Stat. § 325D.43, et
   2                       seq.) Against the ZF TRW and STMicro Defendants
   3         1668. Plaintiffs reallege and incorporate by reference all preceding
   4   allegations as though fully set forth herein.
   5         1669. Plaintiffs Steve Keister, Carolyn Nelson, and Bobbi Jo Birk-LaBarge
   6   bring this count individually and on behalf of members of the Minnesota State
   7   Class against the ZF TRW and STMicro Defendants.
   8         1670. For purposes of this count, Plaintiffs Keister, Nelson, and Birk-
   9   LaBarge shall be referred to as the “Minnesota Plaintiffs.”
  10         1671. The Minnesota Deceptive Trade Practices Act (“Minnesota DTPA”)
  11   prohibits deceptive trade practices in the course of a business, vocation, or
  12   occupation. Minn. Stat. § 325D.44, Subd. 1.
  13         1672. In the course of their business, the ZF TRW and STMicro Defendants,
  14   through their agents, employees, and/or subsidiaries, violated the Minnesota DTPA
  15   by knowingly and intentionally omitting, concealing, and/or failing to disclose
  16   material facts regarding the reliability, safety, and performance of the Class
  17   Vehicles or the defective ACUs, as detailed above.
  18         1673. Specifically, by failing to disclose and actively concealing the dangers
  19   and risk posed by the Class Vehicles due to the ACU defect, the ZF TRW and
  20   STMicro Defendants engaged in unfair or deceptive business practices prohibited
  21   by Minn. Stat. § 325D.44, Subd. 1, including engaging in false, misleading, or
  22   deceptive acts or practices in the conduct of trade or commerce pertaining to the
  23   defective ACUs installed in the Class Vehicles.
  24         1674. The ZF TRW and STMicro Defendants’ unfair or deceptive acts or
  25   practices, including concealments, omissions, and suppressions of material facts,
  26   had a tendency or capacity to mislead and create a false impression in consumers,
  27   and were likely to and did in fact deceive reasonable consumers, including the
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   1   Minnesota Plaintiffs and Minnesota State Class members, about the true safety and
   2   reliability of Class Vehicles and/or the defective ACUs installed in them.
   3         1675. The ZF TRW and STMicro Defendants’ scheme and concealment of
   4   the ACU defect and true characteristics of the defective ACUs in the Class Vehicles
   5   were material to the Minnesota Plaintiffs and Minnesota State Class members, as
   6   the ZF TRW and STMicro Defendants intended. Had they known the truth, the
   7   Minnesota Plaintiffs and Minnesota State Class members would not have purchased
   8   or leased the Class Vehicles, or would have paid significantly less for them.
   9         1676. The Minnesota Plaintiffs and Minnesota State Class members had no
  10   way of learning the facts that the ZF TRW and STMicro Defendants had concealed
  11   or failed to disclose. The Minnesota Plaintiffs and Minnesota State Class members
  12   did not, and could not, unravel the ZF TRW and STMicro Defendants’ deception
  13   on their own.
  14         1677. The ZF TRW and STMicro Defendants had an ongoing duty to the
  15   Minnesota Plaintiffs and Minnesota State Class members to refrain from unfair or
  16   deceptive practices under the Minnesota DTPA in the course of their business.
  17   Specifically, the ZF TRW and STMicro Defendants owed the Minnesota Plaintiffs
  18   and Minnesota State Class members a duty to disclose all the material facts
  19   concerning the ACU defect in the Class Vehicles because they possessed exclusive
  20   knowledge, and they intentionally concealed the ACU defect from the Minnesota
  21   Plaintiffs and Minnesota State Class members.
  22         1678. The Minnesota Plaintiffs and Minnesota State Class members suffered
  23   ascertainable losses and actual damages as a direct and proximate result of the ZF
  24   TRW and STMicro Defendants’ concealment and/or failure to disclose material
  25   information.
  26         1679. The ZF TRW and STMicro Defendants’ violations present a
  27   continuing risk to the Minnesota Plaintiffs and Minnesota State Class members, as
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   1   well as to the general public. The ZF TRW and STMicro Defendants’ unlawful acts
   2   and practices complained of herein affect the public interest.
   3         1680. Pursuant to Minn. Stat. §§ 8.31(3a), 325D.45, and 549.20(1)(a), the
   4   Minnesota Plaintiffs and Minnesota State Class members seek an order enjoining
   5   the ZF TRW and STMicro Defendants’ unfair or deceptive acts or practices and
   6   awarding damages and any other just and proper relief available under the
   7   Minnesota DTPA.
   8         xv.    Missouri
   9                a.     Missouri Count 1: Breach of Express Warranty (Mo. Rev.
  10                       Stat. §§ 400.2-313 and 400.2A-210) Against the Kia
                           Defendants
  11
             1681. Plaintiffs reallege and incorporate by reference all preceding
  12
       allegations as though fully set forth herein.
  13
             1682. Plaintiff Dan Sutterfield (hereinafter, “Missouri Plaintiff”) brings this
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       count individually and on behalf of members of the Missouri State Class who
  15
       purchased or leased Kia Class Vehicles, against the Kia Defendants.
  16
             1683. The Kia Defendants are and were at all relevant times “merchants”
  17
       with respect to motor vehicles under Mo. Rev. Stat. §§ 400.2-104(1) and 400.2A-
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       103(3), and “sellers” of motor vehicles under § 400.2-103(1)(d).
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             1684. With respect to leases, the Kia Defendants are and were at all relevant
  20
       times “lessors” of motor vehicles under Mo. Rev. Stat. § 400.2A-103(1)(p).
  21
             1685. All Missouri State Class members who purchased Kia Class Vehicles
  22
       in Missouri are “buyers” within the meaning of Mo. Rev. Stat. § 400.2-103(1)(a).
  23
             1686. All Missouri State Class members who leased Kia Class Vehicles in
  24
       Missouri are “lessees” within the meaning of Mo. Rev. Stat. § 400.2A-103(1)(n).
  25
             1687. The Kia Class Vehicles are and were at all relevant times “goods”
  26
       within the meaning of Mo. Rev. Stat. §§ 400.2-105(1) and 400.2A-103(1)(h).
  27
             1688. In connection with the purchase or lease of Kia Class Vehicles, the Kia
  28
       Defendants provided the Missouri Plaintiff and Missouri State Class members with
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   1   written express warranties covering the repair or replacement of components that
   2   are defective in materials or workmanship.
   3         1689. The Kia Defendants’ warranties formed the basis of the bargain that
   4   was reached when the Missouri Plaintiff and the Missouri State Class members
   5   unknowingly purchased or leased Kia Class Vehicles that came equipped with a
   6   defective ACU.
   7         1690. However, the Kia Defendants knew or should have known that the
   8   warranties were false and/or misleading. Specifically, the Kia Defendants were
   9   aware of the ACU defect in the Kia Class Vehicles, which made the vehicles
  10   inherently defective and dangerous at the time that they were sold and leased to the
  11   Missouri Plaintiff and Missouri State Class members.
  12         1691. The Missouri Plaintiff and Missouri State Class members reasonably
  13   relied on the Kia Defendants’ express warranties when purchasing or leasing their
  14   Kia Class Vehicles.
  15         1692. The Kia Defendants knowingly breached their express warranties to
  16   repair defects in materials and workmanship by failing to repair the ACU defect or
  17   replace the defective ACUs in the Kia Class Vehicles. The Kia Defendants also
  18   breached their express warranties by providing a product containing defects that
  19   were never disclosed to the Missouri Plaintiff and Missouri State Class members.
  20         1693. The Missouri Plaintiff and the Missouri State Class members have
  21   provided the Kia Defendants with reasonable notice and opportunity to cure the
  22   breaches of their express warranties by way of the numerous NHTSA complaints
  23   filed against them, and individual notice letters sent by the Missouri State Class
  24   members within a reasonable amount of time after the ACU defect became public.
  25   Additionally, a notice letter was sent on behalf of the Missouri Plaintiff and
  26   Missouri State Class members to FCA US LLC, Honda Defendants, Hyundai
  27   Defendants, Kia Defendants, Mitsubishi Motors North America, Inc., Toyota
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   1   Defendants, Hyundai MOBIS Co. Ltd., and ZF TRW Defendants on April 24,
   2   2020.
   3             1694. Alternatively, any opportunity to cure the breach is unnecessary and
   4   futile.
   5             1695. As a direct and proximate result of the Kia Defendants’ breach of their
   6   express warranties, the Missouri Plaintiff and the Missouri State Class members
   7   have been damaged in an amount to be proven at trial.
   8                   b.     Missouri Count 2: Breach of Implied Warranty of
   9                          Merchantability (Mo. Rev. Stat. §§ 400.2-314 and 400.2A-
                              212) Against the Kia Defendants
  10             1696. Plaintiffs reallege and incorporate by reference all preceding
  11   allegations as though fully set forth herein.
  12             1697. The Missouri Plaintiff brings this count individually and on behalf of
  13   members of the Missouri State Class who purchased or leased Kia Class Vehicles,
  14   against the Kia Defendants.
  15             1698. A warranty that the Kia Class Vehicles were in merchantable condition
  16   and fit for the ordinary purpose for which such goods are used is implied by law
  17   pursuant to Mo. Rev. Stat. §§ 400.2-314 and 400.2A-212.
  18             1699. The Kia Class Vehicles did not comply with the implied warranty of
  19   merchantability because, at the time of sale and at all times thereafter, they were
  20   defective and not in merchantable condition, would not pass without objection in
  21   the trade, and were not fit for the ordinary purpose for which vehicles were used.
  22   Specifically, the Kia Class Vehicles suffer from the ACU defect, which may cause
  23   the airbags and seatbelt pretensioners to fail to deploy during an accident, rendering
  24   the Kia Class Vehicles inherently defective and dangerous.
  25             1700. The Kia Defendants are and were at all relevant times “merchants”
  26   with respect to motor vehicles under Mo. Rev. Stat. §§ 400.2-104(1) and 400.2A-
  27   103(3), and “sellers” of motor vehicles under § 400.2-103(1)(d).
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   1             1701. With respect to leases, the Kia Defendants are and were at all relevant
   2   times “lessors” of motor vehicles under Mo. Rev. Stat. § 400.2A-103(1)(p).
   3             1702. All Missouri State Class members who purchased Kia Class Vehicles
   4   in Missouri are “buyers” within the meaning of Mo. Rev. Stat. § 400.2-103(1)(a).
   5             1703. All Missouri State Class members who leased Kia Class Vehicles in
   6   Missouri are “lessees” within the meaning of Mo. Rev. Stat. § 400.2A-103(1)(n).
   7             1704. The Kia Class Vehicles are and were at all relevant times “goods”
   8   within the meaning of Mo. Rev. Stat. §§ 400.2-105(1) and 400.2A-103(1)(h).
   9             1705. The Missouri Plaintiff and Missouri State Class members have
  10   provided the Kia Defendants with reasonable notice and opportunity to cure the
  11   breaches of their implied warranties by way of the numerous NHTSA complaints
  12   filed against them, and individual notice letters sent by the Missouri State Class
  13   members within a reasonable amount of time after the ACU defect became public.
  14   Additionally, a notice letter was sent on behalf of the Missouri Plaintiff and
  15   Missouri State Class members to FCA US LLC, Honda Defendants, Hyundai
  16   Defendants, Kia Defendants, Mitsubishi Motors North America, Inc., Toyota
  17   Defendants, Hyundai MOBIS Co. Ltd., and ZF TRW Defendants on April 24,
  18   2020.
  19             1706. Alternatively, any opportunity to cure the breach is unnecessary and
  20   futile.
  21             1707. As a direct and proximate result of the Kia Defendants’ breach of the
  22   implied warranty of merchantability, the Missouri Plaintiff and the Missouri State
  23   Class members have been damaged in an amount to be proven at trial.
  24                   c.     Missouri Count 3: Violation of the Missouri Merchandising
  25                          Practices Act (Mo. Rev. Stat. § 407.010, et seq.) Against the
                              Kia Defendants and Hyundai MOBIS
  26             1708. Plaintiffs reallege and incorporate by reference all preceding
  27   allegations as though fully set forth herein.
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   1         1709. The Missouri Plaintiff brings this count individually and on behalf of
   2   members of the Missouri State Class who purchased or leased Kia Class Vehicles,
   3   against the Kia Defendants and Hyundai MOBIS.
   4         1710. The Kia Defendants, Hyundai MOBIS, the Missouri Plaintiff, and
   5   Missouri State Class members are “persons” within the meaning of Mo. Rev. Stat.
   6   § 407.010(5).
   7         1711. The Kia Defendants and Hyundai MOBIS were and are engaged in
   8   “trade or commerce” within the meaning of Mo. Rev. Stat. § 407.010(7).
   9         1712. The Missouri Merchandising Practices Act (“Missouri MPA”)
  10   prohibits unlawful business practices. Mo. Rev. Stat. § 407.020(1).
  11         1713. In the course of their business, the Kia Defendants and Hyundai
  12   MOBIS, through their agents, employees, and/or subsidiaries, violated the Missouri
  13   MPA by knowingly and intentionally misrepresenting, omitting, concealing, and/or
  14   failing to disclose material facts regarding the reliability, safety, and performance of
  15   the Kia Class Vehicles or the defective ACUs, as detailed above.
  16         1714. Specifically, by misrepresenting the Kia Class Vehicles and/or the
  17   defective ACUs installed in them as safe and/or free from defects, and by failing to
  18   disclose and actively concealing the dangers and risk posed by the Kia Class
  19   Vehicles and/or the ACU defect, the Kia Defendants and Hyundai MOBIS engaged
  20   in one or more of the following unfair or deceptive acts or practices prohibited by
  21   Mo. Rev. Stat. § 407.020(1): using or employing deception, fraud, false pretense,
  22   false promise or misrepresentation, or the concealment, suppression or omission of
  23   a material fact with intent that others rely upon such concealment, suppression or
  24   omission, in connection with the advertisement and sale/lease of the Kia Class
  25   Vehicles, whether or not any person has in fact been misled, deceived or damaged
  26   thereby.
  27         1715. The Kia Defendants and Hyundai MOBIS’s unfair or deceptive acts or
  28   practices, including misrepresentations, concealments, omissions, and/or

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   1   suppressions of material facts, had a tendency or capacity to mislead and create a
   2   false impression in consumers, and were likely to and did in fact deceive reasonable
   3   consumers, including the Missouri Plaintiff and Missouri State Class members,
   4   about the true safety and reliability of Kia Class Vehicles and/or the defective
   5   ACUs installed in them, the quality of the Kia Class Vehicles, and the true value of
   6   the Kia Class Vehicles.
   7         1716. The Kia Defendants and Hyundai MOBIS’s scheme and concealment
   8   of the ACU defect and true characteristics of the Occupant Restraint Systems in the
   9   Kia Class Vehicles were material to the Missouri Plaintiff and Missouri State Class
  10   members, as the Kia Defendants and Hyundai MOBIS intended. Had they known
  11   the truth, the Missouri Plaintiff and Missouri State Class members would not have
  12   purchased or leased the Kia Class Vehicles, or would have paid significantly less
  13   for them.
  14         1717. The Missouri Plaintiff and Missouri State Class members had no way
  15   of discerning that the Kia Defendants’ representations were false and misleading
  16   and/or otherwise learning the facts that the Kia Defendants and Hyundai MOBIS
  17   had concealed or failed to disclose. The Missouri Plaintiff and Missouri State Class
  18   members did not, and could not, unravel the Kia Defendants and Hyundai MOBIS’s
  19   deception on their own.
  20         1718. The Kia Defendants and Hyundai MOBIS had an ongoing duty to the
  21   Missouri Plaintiff and Missouri State Class members to refrain from unfair or
  22   deceptive practices under the Missouri MPA in the course of their business.
  23   Specifically, the Kia Defendants and Hyundai MOBIS owed the Missouri Plaintiff
  24   and Missouri State Class members a duty to disclose all the material facts
  25   concerning the ACU defect in the Kia Class Vehicles because they possessed
  26   exclusive knowledge, they intentionally concealed the ACU defect from the
  27   Missouri Plaintiff and Missouri State Class members, and/or they made
  28

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   1   misrepresentations that were rendered misleading because they were contradicted
   2   by withheld facts.
   3         1719. The Missouri Plaintiff and Missouri State Class members suffered
   4   ascertainable losses and actual damages as a direct and proximate result of the Kia
   5   Defendants and Hyundai MOBIS’s concealment, misrepresentations, and/or failure
   6   to disclose material information.
   7         1720. The Kia Defendants and Hyundai MOBIS’s violations present a
   8   continuing risk to the Missouri Plaintiff and Missouri State Class members, as well
   9   as to the general public. The Kia Defendants and Hyundai MOBIS’s unlawful acts
  10   and practices complained of herein affect the public interest.
  11         1721. Pursuant to Mo. Rev. Stat. § 407.025, the Missouri Plaintiff and
  12   Missouri State Class members seek an order enjoining the Kia Defendants and
  13   Hyundai MOBIS’s unfair or deceptive acts or practices and awarding damages and
  14   any other just and proper relief available under the Missouri MPA.
  15                 d.     Missouri Count 4: Violation of the Missouri Merchandising
  16                        Practices Act (Mo. Rev. Stat. § 407.010, et seq.) Against the
                            ZF TRW and STMicro Defendants
  17         1722. Plaintiffs reallege and incorporate by reference all preceding
  18   allegations as though fully set forth herein.
  19         1723. The Missouri Plaintiff brings this count individually and on behalf of
  20   members of the Missouri State Class against the ZF TRW and STMicro
  21   Defendants.
  22         1724. The ZF TRW Defendants, the STMicro Defendants, the Missouri
  23   Plaintiff, and Missouri State Class members are “persons” within the meaning of
  24   Mo. Rev. Stat. § 407.010(5).
  25         1725. The ZF TRW and STMicro Defendants were and are engaged in “trade
  26   or commerce” within the meaning of Mo. Rev. Stat. § 407.010(7).
  27         1726. The Missouri Merchandising Practices Act (“Missouri MPA”)
  28   prohibits unlawful business practices. Mo. Rev. Stat. § 407.020(1).
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   1          1727. In the course of their business the ZF TRW and STMicro Defendants,
   2   through their agents, employees, and/or subsidiaries, violated the Missouri MPA by
   3   knowingly and intentionally omitting, concealing, and failing to disclose material
   4   facts regarding the existence, nature, and scope of the defect with ZF TRW ACUs
   5   installed in the Class Vehicles, as detailed above.
   6          1728. Specifically, by failing to disclose and actively concealing the dangers
   7   and risk posed by the Class Vehicles due to the ACU defect, the ZF TRW and
   8   STMicro Defendants engaged in unlawful business practices prohibited by Mo.
   9   Rev. Stat. § 407.020(1), including using or employing deception and fraud, and/or
  10   or the concealment, suppression or omission of material facts regarding the ACU
  11   defect.
  12          1729. The ZF TRW and STMicro Defendants’ unfair or deceptive acts or
  13   practices, including concealments, omissions, and suppressions of material facts,
  14   had a tendency or capacity to mislead and create a false impression in consumers,
  15   and were likely to and did in fact deceive reasonable consumers, including the
  16   Missouri Plaintiff and Missouri State Class members, about the true safety and
  17   reliability of Class Vehicles and/or the defective ACUs installed in them.
  18          1730. The ZF TRW and STMicro Defendants’ scheme and concealment of
  19   the ACU defect and true characteristics of the defective ACUs in the Class Vehicles
  20   were material to the Missouri Plaintiff and Missouri State Class members, as the ZF
  21   TRW and STMicro Defendants intended. Had they known the truth, the Missouri
  22   Plaintiff and Missouri State Class members would not have purchased or leased the
  23   Class Vehicles, or would have paid significantly less for them.
  24          1731. The Missouri Plaintiff and Missouri State Class members had no way
  25   of learning the facts that the ZF TRW and STMicro Defendants had concealed or
  26   failed to disclose. The Missouri Plaintiff and Missouri State Class members did not,
  27   and could not, unravel the ZF TRW and STMicro Defendants’ deception on their
  28   own.

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   1         1732. The ZF TRW and STMicro Defendants had an ongoing duty to the
   2   Missouri Plaintiff and Missouri State Class members to refrain from unfair or
   3   deceptive practices under the Missouri MPA in the course of their business.
   4   Specifically, the ZF TRW and STMicro Defendants owed Plaintiff and Missouri
   5   State Class members a duty to disclose all the material facts concerning the ACU
   6   defect in the Class Vehicles because they possessed exclusive knowledge and they
   7   intentionally concealed the ACU defect from the Missouri Plaintiff and Missouri
   8   State Class members.
   9         1733. The Missouri Plaintiff and Missouri State Class members suffered
  10   ascertainable losses and actual damages as a direct and proximate result of the ZF
  11   TRW and STMicro Defendants’ concealment and/or failure to disclose material
  12   information.
  13         1734. The ZF TRW and STMicro Defendants’ violations present a
  14   continuing risk to the Missouri Plaintiff and Missouri State Class members, as well
  15   as to the general public. The ZF TRW and STMicro Defendants’ unlawful acts and
  16   practices complained of herein affect the public interest.
  17         1735. Pursuant to Mo. Rev. Stat. § 407.025, the Missouri Plaintiff and
  18   Missouri State Class members seek an order enjoining the ZF TRW and STMicro
  19   Defendants’ unfair or deceptive acts or practices and awarding damages and any
  20   other just and proper relief available under the Missouri MPA.
  21         xvi.     Montana
  22                  a.   Montana Count 1: Breach of Express Warranty (Mont.
  23                       Code Ann. §§ 30-2-313 and 30-2A-210) Against the FCA
                           Defendants
  24
             1736. Plaintiffs reallege and incorporate by reference all preceding
  25
       allegations as though fully set forth herein.
  26
             1737. Plaintiff Barry Adams (hereinafter, “Montana Plaintiff”) brings this
  27
       count individually and on behalf of members of the Montana State Class who
  28
       purchased or leased FCA Class Vehicles, against the FCA Defendants.
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   1         1738. The FCA Defendants are and were at all relevant times “merchants”
   2   with respect to motor vehicles under Mont. Code Ann. §§ 30-2-104(1) and 30-2A-
   3   103(3)(k), and “sellers” of motor vehicles under § 30-2-103(1)(d).
   4         1739. With respect to leases, the FCA Defendants are and were at all relevant
   5   times “lessors” of motor vehicles under Mont. Code Ann. § 30-2A-103(1)(p).
   6         1740. All Montana State Class members who purchased FCA Class Vehicles
   7   in Montana are “buyers” within the meaning of Mont. Code Ann. § 30-2-103(1)(a).
   8         1741. All Montana State Class members who leased FCA Class Vehicles in
   9   Montana are “lessees” within the meaning of Mont. Code Ann. § 30-2A-103(1)(n).
  10         1742. The FCA Class Vehicles are and were at all relevant times “goods”
  11   within the meaning of Mont. Code Ann. §§ 30-2-105(1) and 30-2A-103(1)(h).
  12         1743. In connection with the purchase or lease of FCA Class Vehicles, the
  13   FCA Defendants provided the Montana Plaintiff and the Montana State Class
  14   members with written express warranties covering the repair or replacement of
  15   components that are defective in materials or workmanship.
  16         1744. The FCA Defendants’ warranties formed the basis of the bargain that
  17   was reached when the Montana Plaintiff and Montana State Class members
  18   unknowingly purchased or leased FCA Class Vehicles that came equipped with the
  19   ACU defect.
  20         1745. The FCA Defendants’ warranties formed the basis of the bargain that
  21   was reached when the Montana Plaintiff and Montana State Class members
  22   unknowingly purchased or leased FCA Class Vehicles that came equipped with a
  23   defective ACU.
  24         1746. However, the FCA Defendants knew or should have known that the
  25   warranties were false and/or misleading. Specifically, the FCA Defendants were
  26   aware of the ACU defect in the FCA Class Vehicles, which made the vehicles
  27   inherently defective and dangerous at the time that they were sold and leased to the
  28   Montana Plaintiff and Montana State Class members.

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   1             1747. The Montana Plaintiff and Montana State Class members reasonably
   2   relied on the FCA Defendants’ express warranties when purchasing or leasing their
   3   FCA Class Vehicles.
   4             1748. The FCA Defendants knowingly breached their express warranties to
   5   repair defects in materials and workmanship by failing to repair the ACU defect or
   6   replace the defective ACUs in the FCA Class Vehicles. The FCA Defendants also
   7   breached their express warranties by providing a product containing defects that
   8   were never disclosed to the Montana Plaintiff and Montana State Class members.
   9             1749. The Montana Plaintiff and Montana State Class members have
  10   provided the FCA Defendants with reasonable notice and opportunity to cure the
  11   breaches of their express warranties by way of the numerous NHTSA complaints
  12   filed against them, and the individual notice letters sent by Montana State Class
  13   members within a reasonable amount of time after the ACU defect became public.
  14   Additionally, a notice letter was sent on behalf of the Montana Plaintiff and
  15   Montana State Class members to FCA US LLC, Honda Defendants, Hyundai
  16   Defendants, Kia Defendants, Mitsubishi Motors North America, Inc., Toyota
  17   Defendants, Hyundai MOBIS Co. Ltd., and ZF TRW Defendants on April 24,
  18   2020.
  19             1750. Alternatively, any opportunity to cure the breach is unnecessary and
  20   futile.
  21             1751. As a direct and proximate result of the FCA Defendants’ breach of
  22   their express warranties, the Montana Plaintiff and Montana State Class members
  23   have been damaged in an amount to be proven at trial.
  24                   b.     Montana Count 2: Breach of Implied Warranty of
  25                          Merchantability (Mont. Code Ann. §§ 30-2-314, 30-2A-212)
                              Against the FCA Defendants
  26             1752. Plaintiffs reallege and incorporate by reference all preceding
  27   allegations as though fully set forth herein.
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   1         1753. The Montana Plaintiff brings this count individually and on behalf of
   2   members of the Montana State Class who purchased or leased FCA Class Vehicles,
   3   against the FCA Defendants.
   4         1754. A warranty that the FCA Class Vehicles were in merchantable
   5   condition and fit for the ordinary purpose for which such goods are used is implied
   6   by law pursuant to Mont. Code Ann. §§ 30-2-314 and 30-2A-212.
   7         1755. The FCA Class Vehicles did not comply with the implied warranty of
   8   merchantability because, at the time of sale and at all times thereafter, they were
   9   defective and not in merchantable condition, would not pass without objection in
  10   the trade, and were not fit for the ordinary purpose for which vehicles were used.
  11   Specifically, the FCA Class Vehicles suffer from the ACU defect, which may cause
  12   the airbags and seatbelt pretensioners to fail to deploy during an accident, rendering
  13   the FCA Class Vehicles inherently defective and dangerous.
  14         1756. The FCA Defendants are and were at all relevant times “merchants”
  15   with respect to motor vehicles under Mont. Code Ann. §§ 30-2-104(1) and 30-2A-
  16   103(3)(k), and “sellers” of motor vehicles under § 30-2-103(1)(d).
  17         1757. With respect to leases, the FCA Defendants are and were at all relevant
  18   times “lessors” of motor vehicles under Mont. Code Ann. § 30-2A-103(1)(p).
  19         1758. All Montana State Class members who purchased FCA Class Vehicles
  20   in Montana are “buyers” within the meaning of Mont. Code Ann. § 30-2-103(1)(a).
  21         1759. All Montana State Class members who leased FCA Class Vehicles in
  22   Montana are “lessees” within the meaning of Mont. Code Ann. § 30-2A-103(1)(n).
  23         1760. The FCA Class Vehicles are and were at all relevant times “goods”
  24   within the meaning of Mont. Code Ann. §§ 30-2-105(1) and 30-2A-103(1)(h).
  25         1761. The Montana Plaintiff and Montana State Class members have
  26   provided the FCA Defendants with reasonable notice and opportunity to cure the
  27   breaches of their express warranties by way of the numerous NHTSA complaints
  28   filed against them, and the individual notice letters sent by Montana State Class

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   1   members within a reasonable amount of time after the ACU defect became public.
   2   Additionally, a notice letter was sent on behalf of the Montana Plaintiff and
   3   Montana State Class members to FCA US LLC, Honda Defendants, Hyundai
   4   Defendants, Kia Defendants, Mitsubishi Motors North America, Inc., Toyota
   5   Defendants, Hyundai MOBIS Co. Ltd., and ZF TRW Defendants on April 24,
   6   2020.
   7             1762. Alternatively, any opportunity to cure the breach is unnecessary and
   8   futile.
   9             1763. As a direct and proximate result of the FCA Defendants’ breach of the
  10   implied warranty of merchantability, the Montana Plaintiff and Montana State
  11   Class members have been damaged in an amount to be proven at trial.
  12                   c.     Montana Count 3: Violation of the Montana Unfair Trade
  13                          Practices and Consumer Protection Act of 1973 (Mont. Code
                              Ann. § 30-14-101, et seq.) Against the FCA Defendants
  14             1764. Plaintiffs reallege and incorporate by reference all preceding
  15   allegations as though fully set forth herein.
  16             1765. The Montana Plaintiff brings this count individually and on behalf of
  17   members of the Montana State Class who purchased or leased FCA Class Vehicles,
  18   against the FCA Defendants.
  19             1766. The FCA Defendants, the Montana Plaintiff, and Montana State Class
  20   members are “persons” within the meaning of Mont. Code Ann. § 30-14-102(6).
  21             1767. The Montana Unfair Trade Practices and Consumer Protection Act of
  22   1973 (“Montana CPA”) prohibits “[u]nfair methods of competition and unfair or
  23   deceptive acts or practices in the conduct of any trade or commerce[.]” Mont. Code
  24   Ann. § 30-14-103.
  25             1768. In the course of their business, the FCA Defendants, through their
  26   agents, employees, and/or subsidiaries, violated the Montana CPA by knowingly
  27   and intentionally misrepresenting, omitting, concealing, and/or failing to disclose
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   1   material facts regarding the reliability, safety, and performance of the FCA Class
   2   Vehicles and/or the defective ACUs, as detailed above.
   3         1769. Specifically, by misrepresenting the FCA Class Vehicles and/or the
   4   defective ACUs installed in them as safe and/or free from defects, and by failing to
   5   disclose and actively concealing the dangers and risk posed by the FCA Class
   6   Vehicles and/or the ACU defect, the FCA Defendants engaged in unfair methods of
   7   competition and unfair or deceptive acts or practices in the conduct of any trade or
   8   commerce, as prohibited by Mont. Code Ann. § 30-14-103.
   9         1770. The FCA Defendants’ unfair or deceptive acts or practices, including
  10   their misrepresentations, concealments, omissions, and suppressions of material
  11   facts, had a tendency or capacity to mislead and create a false impression in
  12   consumers, and were likely to and did in fact deceive reasonable consumers,
  13   including the Montana Plaintiff and Montana State Class members, about the true
  14   safety and reliability of FCA Class Vehicles and/or the defective ACUs installed in
  15   them, the quality of the FCA Class Vehicles, and the true value of the FCA Class
  16   Vehicles.
  17         1771. The FCA Defendants’ scheme and concealment of the ACU defect and
  18   true characteristics of the Occupant Restraint Systems in the FCA Class Vehicles
  19   were material to the Montana Plaintiff and Montana State Class members, as the
  20   FCA Defendants intended. Had they known the truth, the Montana Plaintiff and
  21   Montana State Class members would not have purchased or leased the FCA Class
  22   Vehicles, or would have paid significantly less for them.
  23         1772. The Montana Plaintiff and Montana State Class members had no way
  24   of discerning that the FCA Defendants’ representations were false and misleading
  25   and/or otherwise learning the facts that the FCA Defendants had concealed or failed
  26   to disclose. The Montana Plaintiff and Montana State Class members did not, and
  27   could not, unravel the FCA Defendants’ deception on their own.
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   1         1773. The FCA Defendants had an ongoing duty to the Montana Plaintiff and
   2   Montana State Class members to refrain from unfair or deceptive practices under
   3   the Montana DTPA in the course of their business. Specifically, the FCA
   4   Defendants owed the Montana Plaintiff and Montana State Class members a duty to
   5   disclose all the material facts concerning the ACU defect in the FCA Class Vehicles
   6   because they possessed exclusive knowledge, they intentionally concealed the ACU
   7   defect from the Montana Plaintiff and Montana State Class members, and/or they
   8   made misrepresentations that were rendered misleading because they were
   9   contradicted by withheld facts.
  10         1774. The Montana Plaintiff and Montana State Class members suffered
  11   ascertainable losses and actual damages as a direct and proximate result of the FCA
  12   Defendants’ concealment, misrepresentations, and/or failure to disclose material
  13   information.
  14         1775. The FCA Defendants’ violations present a continuing risk to the
  15   Montana Plaintiff and Montana State Class members, as well as to the general
  16   public. The FCA Defendants’ unlawful acts and practices complained of herein
  17   affect the public interest.
  18         1776. Pursuant to Mont. Code Ann. § 30-14-133, Plaintiffs and the Montana
  19   State Class members seek an order enjoining the FCA Defendants’ unfair or
  20   deceptive acts or practices and awarding damages and any other just and proper
  21   relief available under the Montana CPA.
  22                  d.   Montana Count 4: Violation of the Montana Unfair Trade
  23                       Practices and Consumer Protection Act of 1973 (Mont. Code
                           Ann. § 30-14-101, et seq.) Against the ZF TRW and STMicro
  24                       Defendants
  25         1777. Plaintiffs reallege and incorporate by reference all preceding
  26   allegations as though fully set forth herein.
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   1         1778. The Montana Plaintiff brings this count individually and on behalf of
   2   members of the Montana State Class against the ZF TRW and STMicro
   3   Defendants.
   4         1779. The ZF TRW Defendants, the STMicro Defendants, the Montana
   5   Plaintiff, and Montana State Class members are “persons” within the meaning of
   6   Mont. Code Ann. § 30-14-102(6).
   7         1780. The Montana Unfair Trade Practices and Consumer Protection Act of
   8   1973 (“Montana CPA”) prohibits “[u]nfair methods of competition and unfair or
   9   deceptive acts or practices in the conduct of any trade or commerce[.]” Mont. Code
  10   Ann. § 30-14-103.
  11         1781. In the course of their business, the ZF TRW and STMicro Defendants,
  12   through their agents, employees, and/or subsidiaries, violated the Montana CPA by
  13   knowingly and intentionally omitting, concealing, and failing to disclose material
  14   facts regarding the existence, nature, and scope of the defect with ZF TRW ACUs
  15   installed in the Class Vehicles, as detailed above.
  16         1782. Specifically, by failing to disclose and actively concealing the dangers
  17   and risk posed by the Class Vehicles due to the ACU defect, the ZF TRW and
  18   STMicro Defendants engaged in unfair methods of competition and unfair or
  19   deceptive acts or practices in the conduct of any trade or commerce prohibited by
  20   Mont. Code Ann. § 30-14-103.
  21         1783. The ZF TRW and STMicro Defendants’ unfair or deceptive acts or
  22   practices, including their concealments, omissions, and suppressions of material
  23   facts, had a tendency or capacity to mislead and create a false impression in
  24   consumers, and were likely to and did in fact deceive reasonable consumers,
  25   including the Montana Plaintiff and Montana State Class members, about the true
  26   safety and reliability of Class Vehicles and/or the defective ACUs installed in them.
  27         1784. The ZF TRW and STMicro Defendants’ scheme and concealment of
  28   the ACU defect and true characteristics of the defective ACUs in the Class Vehicles

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   1   were material to the Montana Plaintiff and Montana State Class members, as the ZF
   2   TRW and STMicro Defendants intended. Had they known the truth, the Montana
   3   Plaintiff and Montana State Class members would not have purchased or leased the
   4   Class Vehicles, or would have paid significantly less for them.
   5          1785. The Montana Plaintiff and Montana State Class members had no way
   6   of learning the facts that the ZF TRW and STMicro Defendants had concealed or
   7   failed to disclose. The Montana Plaintiff and Montana State Class members did not,
   8   and could not, unravel the ZF TRW and STMicro Defendants’ deception on their
   9   own.
  10          1786. The ZF TRW and STMicro Defendants had an ongoing duty to the
  11   Montana Plaintiff and Montana State Class members to refrain from unfair or
  12   deceptive practices under the Montana DTPA in the course of their business.
  13   Specifically, the ZF TRW and STMicro Defendants owed the Montana Plaintiff and
  14   Montana State Class members a duty to disclose all the material facts concerning
  15   the ACU defect in the Class Vehicles because they possessed exclusive knowledge
  16   and they intentionally concealed the ACU defect from the Montana Plaintiff and
  17   Montana State Class members.
  18          1787. The Montana Plaintiff and Montana State Class members suffered
  19   ascertainable losses and actual damages as a direct and proximate result of the ZF
  20   TRW and STMicro Defendants’ concealment and/or failure to disclose material
  21   information.
  22          1788. The ZF TRW and STMicro Defendants’ violations present a
  23   continuing risk to the Montana Plaintiff and Montana State Class members, as well
  24   as to the general public. The ZF TRW and STMicro Defendants’ unlawful acts and
  25   practices complained of herein affect the public interest.
  26          1789. Pursuant to Mont. Code Ann. § 30-14-133, the Montana Plaintiff and
  27   Montana State Class members seek an order enjoining the ZF TRW and STMicro
  28

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   1   Defendants’ unfair or deceptive acts or practices and awarding damages and any
   2   other just and proper relief available under the Montana CPA.
   3         xvii. Nevada
   4                a.     Nevada Count 1: Breach of Express Warranty (Nev. Rev.
   5                       Stat. §§ 104.2313 and 104A.2210) Against the Toyota
                           Defendants
   6
             1790. Plaintiffs reallege and incorporate by reference all preceding
   7
       allegations as though fully set forth herein.
   8
             1791. Plaintiff Gary Samouris (hereinafter, “Nevada Plaintiff”) brings this
   9
       count individually and on behalf of members of the Nevada State Class who
  10
       purchased or leased Toyota Class Vehicles, against the Toyota Defendants.
  11
             1792. The Toyota Defendants are and were at all relevant times “merchants”
  12
       with respect to motor vehicles under Nev. Rev. Stat. §§ 104.2104(1) and
  13
       104A.2103(3), and “sellers” of motor vehicles under § 104.2103(1)(c).
  14
             1793. With respect to leases, the Toyota Defendants are and were at all
  15
       relevant times “lessors” of motor vehicles under Nev. Rev. Stat. § 104A.2103(1)(p).
  16
             1794. All Nevada State Class members who purchased Toyota Class
  17
       Vehicles in Nevada are “buyers” within the meaning of Nev. Rev. Stat.
  18
       § 104.2103(1)(a).
  19
             1795. All Nevada State Class members who leased Toyota Class Vehicles in
  20
       Nevada are “lessees” within the meaning of Nev. Rev. Stat. § 104A.2103(1)(n).
  21
             1796. The Toyota Class Vehicles are and were at all relevant times “goods”
  22
       within the meaning of Nev. Rev. Stat. §§ 104.2105(1) and 104A.2103(1)(h).
  23
             1797. In connection with the purchase or lease of Toyota Class Vehicles, the
  24
       Toyota Defendants provided the Nevada Plaintiff and Nevada State Class members
  25
       with written express warranties covering the repair or replacement of components
  26
       that are defective in materials or workmanship.
  27
             1798. The Toyota Defendants’ warranties formed the basis of the bargain
  28
       that was reached when the Nevada Plaintiff and Nevada State Class members
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   1   unknowingly purchased or leased Toyota Class Vehicles that came equipped with a
   2   defective ACU.
   3         1799. However, the Toyota Defendants knew or should have known that the
   4   warranties were false and/or misleading. Specifically, the Toyota Defendants were
   5   aware of the ACU defect in the Toyota Class Vehicles, which made the vehicles
   6   inherently defective and dangerous at the time that they were sold and leased to the
   7   Nevada Plaintiff and Nevada State Class members.
   8         1800. The Nevada Plaintiff and Nevada State Class members reasonably
   9   relied on the Toyota Defendants’ express warranties when purchasing or leasing
  10   their Toyota Class Vehicles.
  11         1801. The Toyota Defendants knowingly breached their express warranties
  12   to repair defects in materials and workmanship by failing to repair the ACU defect
  13   or replace the defective ACUs in the Toyota Class Vehicles. The Toyota
  14   Defendants also breached their express warranties by providing a product
  15   containing defects that were never disclosed to the Nevada Plaintiff and Nevada
  16   State Class members.
  17         1802. The Nevada Plaintiff and Nevada State Class members have provided
  18   the Toyota Defendants with reasonable notice and opportunity to cure the breaches
  19   of their express warranties by way of the numerous NHTSA complaints filed
  20   against them, and individual notice letters sent by the Nevada State Class members
  21   within a reasonable amount of time after the ACU defect became public.
  22   Additionally, a notice letter was sent on behalf of the Nevada Plaintiff and Nevada
  23   State Class members to FCA US LLC, Honda Defendants, Hyundai Defendants,
  24   Kia Defendants, Mitsubishi Motors North America, Inc., Toyota Defendants,
  25   Hyundai MOBIS Co. Ltd., and ZF TRW Defendants on April 24, 2020.
  26         1803. As a direct and proximate result of the Toyota Defendants’ breach of
  27   their express warranties, the Nevada Plaintiff and Nevada State Class members
  28   have been damaged in an amount to be proven at trial.

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   1                b.     Nevada Count 2: Breach of Implied Warranty of
                           Merchantability (Nev. Rev. Stat. §§ 104.2314 and
   2                       104A.2212) Against the Toyota Defendants
   3         1804. Plaintiffs reallege and incorporate by reference all preceding
   4   allegations as though fully set forth herein.
   5         1805. The Nevada Plaintiff brings this count individually and on behalf of
   6   members of the Nevada State Class who purchased or leased Toyota Class
   7   Vehicles, against the Toyota Defendants.
   8         1806. A warranty that the Toyota Class Vehicles were in merchantable
   9   condition and fit for the ordinary purpose for which such goods are used is implied
  10   by law pursuant to Nev. Rev. Stat. §§ 104.2314 and 104A.2212.
  11         1807. The Toyota Class Vehicles did not comply with the implied warranty
  12   of merchantability because, at the time of sale and at all times thereafter, they were
  13   defective and not in merchantable condition, would not pass without objection in
  14   the trade, and were not fit for the ordinary purpose for which vehicles were used.
  15   Specifically, the Toyota Class Vehicles suffer from the ACU defect, which causes
  16   the airbags and seatbelt pretensioners to fail to deploy during an accident, rendering
  17   the Toyota Class Vehicles inherently defective and dangerous.
  18         1808. The Toyota Defendants are and were at all relevant times “merchants”
  19   with respect to motor vehicles under Nev. Rev. Stat. §§ 104.2104(1) and
  20   104A.2103(3), and “sellers” of motor vehicles under § 104.2103(1)(c).
  21         1809. With respect to leases, the Toyota Defendants are and were at all
  22   relevant times “lessors” of motor vehicles under Nev. Rev. Stat. § 104A.2103(1)(p).
  23         1810. All Nevada State Class members who purchased Toyota Class
  24   Vehicles in Nevada are “buyers” within the meaning of Nev. Rev. Stat.
  25   § 104.2103(1)(a).
  26         1811. All Nevada State Class members who leased Toyota Class Vehicles in
  27   Nevada are “lessees” within the meaning of Nev. Rev. Stat. § 104A.2103(1)(n).
  28

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   1         1812. The Toyota Class Vehicles are and were at all relevant times “goods”
   2   within the meaning of Nev. Rev. Stat. §§ 104.2105(1) and 104A.2103(1)(h).
   3         1813. The Nevada Plaintiff and Nevada State Class members have provided
   4   the Toyota Defendants with reasonable notice and opportunity to cure the breaches
   5   of their implied warranties by way of the numerous NHTSA complaints filed
   6   against them, and individual notice letters sent by the Nevada State Class members
   7   within a reasonable amount of time after the ACU defect became public.
   8   Additionally, a notice letter was sent on behalf of the Nevada Plaintiff and Nevada
   9   State Class members to FCA US LLC, Honda Defendants, Hyundai Defendants,
  10   Kia Defendants, Mitsubishi Motors North America, Inc., Toyota Defendants,
  11   Hyundai MOBIS Co. Ltd., and ZF TRW Defendants on April 24, 2020.
  12         1814. As a direct and proximate result of the Toyota Defendants’ breach of
  13   the implied warranty of merchantability, the Nevada Plaintiff and Nevada State
  14   Class members have been damaged in an amount to be proven at trial.
  15                c.     Nevada Count 3: Violation of the Nevada Deceptive Trade
  16                       Practices Act (Nev. Rev. Stat. § 598.0903, et seq.) Against the
                           Toyota Defendants
  17         1815. Plaintiffs reallege and incorporate by reference all preceding
  18   allegations as though fully set forth herein.
  19         1816. The Nevada Plaintiff brings this count individually and on behalf of
  20   members of the Nevada State Class who purchased or leased Toyota Class
  21   Vehicles, against the Toyota Defendants.
  22         1817. The Nevada Deceptive Trade Practices Act (“Nevada DTPA”), Nev.
  23   Rev. Stat. § 598.0903, et. seq., prohibits the use of deceptive trade practices in the
  24   course of business and occupation.
  25         1818. In the course of their business, the Toyota Defendants, through their
  26   agents, employees, and/or subsidiaries, violated the Nevada DTPA by knowingly
  27   and intentionally misrepresenting, omitting, concealing, and/or failing to disclose
  28

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   1   material facts regarding the reliability, safety, and performance of the Toyota Class
   2   Vehicles or the defective ACUs, as detailed above.
   3         1819. Specifically, by misrepresenting the Toyota Class Vehicles and/or the
   4   defective ACUs installed in them as safe and/or free from defects, and by failing to
   5   disclose and actively concealing the dangers and risk posed by the Toyota Class
   6   Vehicles and/or the ACU defect, the Toyota Defendants engaged in one or more of
   7   the following unfair or deceptive business practices prohibited by Nev. Rev. Stat.
   8   §§ 598.0915, 598.0923, and 598.0925:
   9                a.    Representing that the Toyota Class Vehicles and/or the defective
  10                      ACUs installed in them have certifications which they do not
  11                      have;
  12                b.    Representing that the Toyota Class Vehicles and/or the defective
  13                      ACUs installed in them have characteristics, uses, benefits, and
  14                      qualities which they do not have;
  15                c.    Representing that the Toyota Class Vehicles and/or the defective
  16                      ACUs installed in them are of a particular standard, quality, and
  17                      grade when they are not;
  18                d.    Advertising the Toyota Class Vehicles and/or the defective
  19                      ACUs installed in them with the intent not to sell or lease them
  20                      as advertised;
  21                e.    Failing to disclose the defective ACUs in connection with the
  22                      sale of the Toyota Class Vehicles; and
  23                f.    Making an assertion of scientific fact in an advertisement which
  24                      would cause a reasonable person to believe that the assertion is
  25                      true.
  26         Nev. Rev. Stat. §§ 598.0915(5), (7), (9), (15), 598.0923(2), and 598.0925.
  27         1820. The Toyota Defendants’ unfair or deceptive acts or practices,
  28   including misrepresentations, concealments, omissions, and suppressions of

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   1   material facts, had a tendency or capacity to mislead and create a false impression
   2   in consumers, and were likely to and did in fact deceive reasonable consumers,
   3   including the Nevada Plaintiff and Nevada State Class members, about the true
   4   safety and reliability of Toyota Class Vehicles and/or the defective ACUs installed
   5   in them, the quality of the Toyota Class Vehicles, and the true value of the Toyota
   6   Class Vehicles.
   7         1821. The Toyota Defendants’ scheme and concealment of the ACU defect
   8   and true characteristics of the Occupant Restraint Systems in the Toyota Class
   9   Vehicles were material to the Nevada Plaintiff and Nevada State Class members, as
  10   the Toyota Defendants intended. Had they known the truth, the Nevada Plaintiff
  11   and Nevada State Class members would not have purchased or leased the Toyota
  12   Class Vehicles, or would have paid significantly less for them.
  13         1822. The Nevada Plaintiff and Nevada State Class members had no way of
  14   discerning that the Toyota Defendants’ representations were false and misleading
  15   and/or otherwise learning the facts that the Toyota Defendants had concealed or
  16   failed to disclose. The Nevada Plaintiff and Nevada State Class members did not,
  17   and could not, unravel the Toyota Defendants’ deception on their own.
  18         1823. The Toyota Defendants had an ongoing duty to the Nevada Plaintiff
  19   and Nevada State Class members to refrain from unfair and deceptive practices
  20   under the Nevada DTPA in the course of their business. Specifically, the Toyota
  21   Defendants owed the Nevada Plaintiff and Nevada State Class members a duty to
  22   disclose all the material facts concerning the ACU defect in the Toyota Class
  23   Vehicles because they possessed exclusive knowledge, they intentionally concealed
  24   the ACU defect from the Nevada Plaintiff and Nevada State Class members, and/or
  25   they made misrepresentations that were rendered misleading because they were
  26   contradicted by withheld facts.
  27         1824. The Nevada Plaintiff and Nevada State Class members suffered
  28   ascertainable losses and actual damages as a direct and proximate result of the

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   1   Toyota Defendants’ concealment, misrepresentations, and/or failure to disclose
   2   material information.
   3         1825. The Toyota Defendants’ violations present a continuing risk to the
   4   Nevada Plaintiff and Nevada State Class members, as well as to the general public.
   5   The Toyota Defendants’ unlawful acts and practices complained of herein affect the
   6   public interest.
   7         1826. Pursuant to Nev. Rev. Stat. §§ 41.600, the Nevada Plaintiff and
   8   Nevada State Class members seek an order enjoining the Toyota Defendants’ unfair
   9   or deceptive acts or practices and awarding damages and any other just and proper
  10   relief available under the Nevada DTPA.
  11                d.     Nevada Count 4: Violation of the Nevada Deceptive Trade
  12                       Practices Act (Nev. Rev. Stat. § 598.0903, et seq.) Against the
                           ZF TRW and STMicro Defendants
  13         1827. Plaintiffs reallege and incorporate by reference all preceding
  14   allegations as though fully set forth herein.
  15         1828. The Nevada Plaintiff brings this count individually and on behalf of
  16   members of the Nevada State Class against the ZF TRW and STMicro Defendants.
  17         1829. The Nevada Deceptive Trade Practices Act (“Nevada DTPA”), Nev.
  18   Rev. Stat. § 598.0903, et. seq., prohibits the use of deceptive trade practices in the
  19   course of business and occupation.
  20         1830. In the course of their business the ZF TRW and STMicro Defendants,
  21   through their agents, employees, and/or subsidiaries, violated the Nevada DTPA by
  22   knowingly and intentionally omitting, concealing, and failing to disclose material
  23   facts regarding the existence, nature, and scope of the defect with ZF TRW ACUs
  24   installed in the Class Vehicles, as detailed above.
  25         1831. Specifically, by failing to disclose and actively concealing the dangers
  26   and risk posed by the Class Vehicles due to the ACU defect, the ZF TRW and
  27   STMicro Defendants engaged in one or more of the deceptive trade practices
  28   prohibited by the Nevada DTPA, including failing to disclose material facts.
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   1          1832. The ZF TRW and STMicro Defendants’ unfair or deceptive acts or
   2   practices, including concealments, omissions, and suppressions of material facts,
   3   had a tendency or capacity to mislead and create a false impression in consumers,
   4   and were likely to and did in fact deceive reasonable consumers, including the
   5   Nevada Plaintiff and Nevada State Class members, about the true safety and
   6   reliability of Class Vehicles and/or the defective ACUs installed in them.
   7          1833. The ZF TRW and STMicro Defendants’ scheme and concealment of
   8   the ACU defect and true characteristics of the defective ACUs in the Class Vehicles
   9   were material to the Nevada Plaintiff and Nevada State Class members, as the ZF
  10   TRW and STMicro Defendants intended. Had they known the truth, the Nevada
  11   Plaintiff and Nevada State Class members would not have purchased or leased the
  12   Class Vehicles, or would have paid significantly less for them.
  13          1834. The Nevada Plaintiff and Nevada State Class members had no way of
  14   learning the facts that the ZF TRW and STMicro Defendants had concealed or
  15   failed to disclose. The Nevada Plaintiff and Nevada State Class members did not,
  16   and could not, unravel the ZF TRW and STMicro Defendants’ deception on their
  17   own.
  18          1835. The ZF TRW and STMicro Defendants had an ongoing duty to the
  19   Nevada Plaintiff and Nevada State Class members to refrain from unfair and
  20   deceptive practices under the Nevada DTPA in the course of their business.
  21   Specifically, the ZF TRW and STMicro Defendants owed the Nevada Plaintiff and
  22   Nevada State Class members a duty to disclose all the material facts concerning the
  23   ACU defect in the Class Vehicles because they possessed exclusive knowledge and
  24   they intentionally concealed the ACU defect from the Nevada Plaintiff and Nevada
  25   State Class members.
  26          1836. The Nevada Plaintiff and Nevada State Class members suffered
  27   ascertainable losses and actual damages as a direct and proximate result of the ZF
  28

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   1   TRW and STMicro Defendants’ concealment and/or failure to disclose material
   2   information.
   3         1837. The ZF TRW and STMicro Defendants’ violations present a
   4   continuing risk to the Nevada Plaintiff and Nevada State Class members, as well as
   5   to the general public. The ZF TRW and STMicro Defendants’ unlawful acts and
   6   practices complained of herein affect the public interest.
   7         1838. Pursuant to Nev. Rev. Stat. §§ 41.600, the Nevada Plaintiff and
   8   Nevada State Class members seek an order enjoining the ZF TRW and STMicro
   9   Defendants’ unfair or deceptive acts or practices and awarding damages and any
  10   other just and proper relief available under the Nevada DTPA.
  11         xviii. New Jersey
  12                  a.    New Jersey Count 1: Breach of Express Warranty (N.J. Stat.
  13                        Ann. §§ 12A:2-313 and 12A:2A-210) Against the Kia
                            Defendants
  14
             1839. Plaintiffs reallege and incorporate by reference all preceding
  15
       allegations as though fully set forth herein.
  16
             1840. Plaintiff Gersen Damens (hereinafter, “New Jersey Plaintiff”) brings
  17
       this count individually and on behalf of members of the New Jersey State Class
  18
       who purchased or leased Kia Class Vehicles, against the Kia Defendants.
  19
             1841. The Kia Defendants are and were at all relevant times “merchants”
  20
       with respect to motor vehicles under N.J. Stat. Ann. §§ 12A:2-104(1) and 12A:2A-
  21
       103(3), and “sellers” of motor vehicles under § 12A:2-103(1)(d).
  22
             1842. With respect to leases, the Kia Defendants are and were at all relevant
  23
       times “lessors” of motor vehicles under N.J. Stat. Ann. § 12A:2A-103(1)(p).
  24
             1843. All New Jersey State Class members who purchased Kia Class
  25
       Vehicles in New Jersey are “buyers” within the meaning of N.J. Stat. Ann.
  26
       § 12A:2-103(1)(a).
  27
  28

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   1         1844. All New Jersey State Class members who leased Kia Class Vehicles in
   2   New Jersey are “lessees” within the meaning of N.J. Stat. Ann. § 12A:2A-
   3   103(1)(n).
   4         1845. The Kia Class Vehicles are and were at all relevant times “goods”
   5   within the meaning of N.J. Stat. Ann. §§ 12A:2-105(1) and 2A-103(1)(h).
   6         1846. In connection with the purchase or lease of Kia Class Vehicles, the Kia
   7   Defendants provided the New Jersey Plaintiff and New Jersey State Class members
   8   with written express warranties covering the repair or replacement of components
   9   that are defective in materials or workmanship.
  10         1847. The Kia Defendants’ warranties formed the basis of the bargain that
  11   was reached when the New Jersey Plaintiff and New Jersey State Class members
  12   unknowingly purchased or leased Kia Class Vehicles that came equipped with a
  13   defective ACU.
  14         1848. However, the Kia Defendants knew or should have known that the
  15   warranties were false and/or misleading. Specifically, the Kia Defendants were
  16   aware of the ACU defect in the Kia Class Vehicles, which made the vehicles
  17   inherently defective and dangerous at the time that they were sold and leased to the
  18   New Jersey Plaintiff and New Jersey State Class members.
  19         1849. The New Jersey Plaintiff and New Jersey State Class members
  20   reasonably relied on the Kia Defendants’ express warranties when purchasing or
  21   leasing their Kia Class Vehicles.
  22         1850. The Kia Defendants knowingly breached their express warranties to
  23   repair defects in materials and workmanship by failing to repair the ACU defect or
  24   replace the defective ACUs in the Kia Class Vehicles. The Kia Defendants also
  25   breached their express warranties by providing a product containing defects that
  26   were never disclosed to the New Jersey Plaintiff and New Jersey State Class
  27   members.
  28

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   1             1851. The New Jersey Plaintiff and New Jersey State Class members have
   2   provided the Kia Defendants with reasonable notice and opportunity to cure the
   3   breaches of their express warranties by way of the numerous NHTSA complaints
   4   filed against them, and individual notice letters sent by the New Jersey State Class
   5   members within a reasonable amount of time after the ACU defect became public.
   6   Additionally, a notice letter was sent on behalf of the New Jersey Plaintiff and New
   7   Jersey State Class members to FCA US LLC, Honda Defendants, Hyundai
   8   Defendants, Kia Defendants, Mitsubishi Motors North America, Inc., Toyota
   9   Defendants, Hyundai MOBIS Co. Ltd., and ZF TRW Defendants on April 24,
  10   2020.
  11             1852. Alternatively, any opportunity to cure the breach is unnecessary and
  12   futile.
  13             1853. As a direct and proximate result of the Kia Defendants’ breach of their
  14   express warranties, the New Jersey Plaintiff and New Jersey State Class members
  15   have been damaged in an amount to be proven at trial.
  16                   b.     New Jersey Count 2: Breach of Implied Warranty of
  17                          Merchantability (N.J. Stat. Ann. §§ 12A:2-314 and 12A:2A-
                              212) Against the Kia Defendants
  18             1854. Plaintiffs reallege and incorporate by reference all preceding
  19   allegations as though fully set forth herein.
  20             1855. The New Jersey Plaintiff brings this count individually and on behalf
  21   of members of the New Jersey State Class who purchased or leased Kia Class
  22   Vehicles, against the Kia Defendants.
  23             1856. A warranty that the Kia Class Vehicles were in merchantable condition
  24   and fit for the ordinary purpose for which such goods are used is implied by law
  25   pursuant to N.J. Stat. Ann. §§ 12A:2-314 and 12A:2A-212.
  26             1857. The Kia Class Vehicles did not comply with the implied warranty of
  27   merchantability because, at the time of sale and at all times thereafter, they were
  28   defective and not in merchantable condition, would not pass without objection in
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   1   the trade, and were not fit for the ordinary purpose for which vehicles were used.
   2   Specifically, the Kia Class Vehicles suffer from the ACU defect, which causes the
   3   airbags and seatbelt pretensioners to fail to deploy during an accident, rendering the
   4   Kia Class Vehicles inherently defective and dangerous.
   5           1858. The Kia Defendants are and were at all relevant times “merchants”
   6   with respect to motor vehicles under N.J. Stat. Ann. §§ 12A:2-104(1) and 12A:2A-
   7   103(3), and “sellers” of motor vehicles under § 12A:2-103(1)(d).
   8           1859. With respect to leases, the Kia Defendants are and were at all relevant
   9   times “lessors” of motor vehicles under N.J. Stat. Ann. § 12A:2A-103(1)(p).
  10           1860. All New Jersey State Class members who purchased Kia Class
  11   Vehicles in New Jersey are “buyers” within the meaning of N.J. Stat. Ann.
  12   § 12A:2-103(1)(a).
  13           1861. All New Jersey State Class members who leased Kia Class Vehicles in
  14   New Jersey are “lessees” within the meaning of N.J. Stat. Ann. § 12A:2A-
  15   103(1)(n).
  16           1862. The Kia Class Vehicles are and were at all relevant times “goods”
  17   within the meaning of N.J. Stat. Ann. §§ 12A:2-105(1) and 2A-103(1)(h).
  18           1863. The New Jersey Plaintiff and New Jersey State Class members have
  19   provided the Kia Defendants with reasonable notice and opportunity to cure the
  20   breaches of their implied warranties by way of the numerous NHTSA complaints
  21   filed against them, and individual notice letters sent by the New Jersey State Class
  22   members within a reasonable amount of time after the ACU defect became public.
  23   Additionally, a notice letter was sent on behalf of the New Jersey Plaintiff and New
  24   Jersey State Class members to FCA US LLC, Honda Defendants, Hyundai
  25   Defendants, Kia Defendants, Mitsubishi Motors North America, Inc., Toyota
  26   Defendants, Hyundai MOBIS Co. Ltd., and ZF TRW Defendants on April 24,
  27   2020.
  28

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   1             1864. Alternatively, any opportunity to cure the breach is unnecessary and
   2   futile.
   3             1865. As a direct and proximate result of the Kia Defendants’ breach of the
   4   implied warranty of merchantability, the New Jersey Plaintiff and New Jersey State
   5   Class members have been damaged in an amount to be proven at trial.
   6                   c.     New Jersey Count 3: Violation of New Jersey Consumer
   7                          Fraud Act (N.J. Stat. Ann. § 56:8-1, et seq.) Against the Kia
                              Defendants and Hyundai MOBIS
   8             1866. Plaintiffs reallege and incorporate by reference all preceding
   9   allegations as though fully set forth herein.
  10             1867. The New Jersey Plaintiff brings this count individually and on behalf
  11   of members of the New Jersey State Class who purchased or leased Kia Class
  12   Vehicles, against the Kia Defendants and Hyundai MOBIS.
  13             1868. The Kia Defendants, Hyundai MOBIS, the New Jersey Plaintiff, and
  14   New Jersey State Class members are “persons” within the meaning of N.J. Stat.
  15   Ann. § 56:8-1(d).
  16             1869. The Kia Class Vehicles and ACUs installed in them are “merchandise”
  17   within the meaning of N.J. Stat. Ann. § 56:8-1(c).
  18             1870. The New Jersey Consumer Fraud Act (“New Jersey CFA”) prohibits
  19   unfair trade practices. N.J. Stat. Ann. § 56:8-2.
  20             1871. In the course of their business, the Kia Defendants and Hyundai
  21   MOBIS, through their agents, employees, and/or subsidiaries, violated the New
  22   Jersey CFA by knowingly and intentionally misrepresenting, omitting, concealing,
  23   and/or failing to disclose material facts regarding the reliability, safety, and
  24   performance of the Kia Class Vehicles or the defective ACUs, as detailed above.
  25             1872. Specifically, by misrepresenting the Kia Class Vehicles and/or the
  26   defective ACUs installed in them as safe and/or free from defects, and by failing to
  27   disclose and actively concealing the dangers and risk posed by the Kia Class
  28   Vehicles and/or the ACU defect, the Kia Defendants and Hyundai MOBIS engaged
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   1   in in the following unfair or deceptive acts or practices as prohibited by N.J. Stat.
   2   Ann. § 56:8-2: using or employing deception, fraud, false pretense, false promise or
   3   misrepresentation, or the concealment, suppression or omission of a material fact
   4   with intent that others rely upon such concealment, suppression or omission, in
   5   connection with the advertisement and sale/lease of the Kia Class Vehicles.
   6         1873. The Kia Defendants and Hyundai MOBIS’s unfair or deceptive acts or
   7   practices, including misrepresentations, concealments, omissions, and/or
   8   suppressions of material facts, had a tendency or capacity to mislead and create a
   9   false impression in consumers, and were likely to and did in fact deceive reasonable
  10   consumers, including the New Jersey Plaintiff and New Jersey State Class
  11   members, about the true safety and reliability of Kia Class Vehicles and/or the
  12   defective ACUs installed in them, the quality of the Kia Class Vehicles, and the
  13   true value of the Kia Class Vehicles.
  14         1874. The Kia Defendants and Hyundai MOBIS’s scheme and concealment
  15   of the ACU defect and true characteristics of the Occupant Restraint Systems in the
  16   Kia Class Vehicles were material to the Plaintiff and New Jersey State Class
  17   members, as the Kia Defendants and Hyundai MOBIS intended. Had they known
  18   the truth, the New Jersey Plaintiff and New Jersey State Class members would not
  19   have purchased or leased the Kia Class Vehicles, or would have paid significantly
  20   less for them.
  21         1875. The New Jersey Plaintiff and New Jersey State Class members had no
  22   way of discerning that the Kia Defendants’ representations were false and
  23   misleading and/or otherwise learning the facts that the Kia Defendants and Hyundai
  24   MOBIS had concealed or failed to disclose. The New Jersey Plaintiff and New
  25   Jersey State Class members did not, and could not, unravel the Kia Defendants and
  26   Hyundai MOBIS’s deception on their own.
  27         1876. The Kia Defendants and Hyundai MOBIS had an ongoing duty to the
  28   New Jersey Plaintiff and New Jersey State Class members to refrain from unfair

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   1   and deceptive practices under the New Jersey CFA in the course of their business.
   2   Specifically, the Kia Defendants and Hyundai MOBIS owed the New Jersey
   3   Plaintiff and New Jersey State Class members a duty to disclose all the material
   4   facts concerning the ACU defect in the Kia Class Vehicles because they possessed
   5   exclusive knowledge, they intentionally concealed the ACU defect from the New
   6   Jersey Plaintiff and New Jersey State Class members, and/or they made
   7   misrepresentations that were rendered misleading because they were contradicted
   8   by withheld facts.
   9         1877. The New Jersey Plaintiff and New Jersey State Class members
  10   suffered ascertainable losses and actual damages as a direct and proximate result of
  11   the Kia Defendants and Hyundai MOBIS’s concealment, misrepresentations, and/or
  12   failure to disclose material information.
  13         1878. The Kia Defendants and Hyundai MOBIS’s violations present a
  14   continuing risk to the New Jersey Plaintiff and New Jersey State Class members, as
  15   well as to the general public. The Kia Defendants and Hyundai MOBIS’s unlawful
  16   acts and practices complained of herein affect the public interest.
  17         1879. Pursuant to N.J. Stat. Ann. § 56:8-19, the New Jersey Plaintiff and
  18   New Jersey State Class members seek an order enjoining the Kia Defendants and
  19   Hyundai MOBIS’s unfair or deceptive acts or practices and awarding damages and
  20   any other just and proper relief available under the New Jersey CFA.
  21                 d.     New Jersey Count 4: Violation of New Jersey Consumer
  22                        Fraud Act (N.J. Stat. Ann. § 56:8-1, et seq.) Against the ZF
                            TRW and STMicro Defendants
  23         1880. Plaintiffs reallege and incorporate by reference all preceding
  24   allegations as though fully set forth herein.
  25         1881. The New Jersey Plaintiff brings this count individually and on behalf
  26   of members of the New Jersey State Class against the ZF TRW and STMicro
  27   Defendants.
  28

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   1         1882. The ZF TRW Defendants, the STMicro Defendants, the New Jersey
   2   Plaintiff, and New Jersey State Class members are “persons” within the meaning of
   3   N.J. Stat. Ann. § 56:8-1(d).
   4         1883. The Class Vehicles and ACUs installed in them are “merchandise”
   5   within the meaning of N.J. Stat. Ann. § 56:8-1(c).
   6         1884. The New Jersey Consumer Fraud Act (“New Jersey CFA”) prohibits
   7   unfair trade practices. N.J. Stat. Ann. § 56:8-2.
   8         1885. In the course of their business the ZF TRW and STMicro Defendants,
   9   through their agents, employees, and/or subsidiaries, violated the New Jersey CFA
  10   by knowingly and intentionally omitting, concealing, and failing to disclose
  11   material facts regarding the existence, nature, and scope of the defect with ZF TRW
  12   ACUs installed in the Class Vehicles, as detailed above.
  13         1886. Specifically, by failing to disclose and actively concealing the dangers
  14   and risk posed by the Class Vehicles due to the ACU defect, the ZF TRW and
  15   STMicro Defendants engaged in one or more of the unlawful practices prohibited
  16   by N.J. Stat. Ann. § 56:8-2, including the act, use, or employment of any
  17   unconscionable commercial practice, and/or concealment, suppression or omission
  18   of material facts.
  19         1887. The ZF TRW and STMicro Defendants’ unfair or deceptive acts or
  20   practices, including concealments, omissions, and suppressions of material facts,
  21   had a tendency or capacity to mislead and create a false impression in consumers,
  22   and were likely to and did in fact deceive reasonable consumers, including the New
  23   Jersey Plaintiff and New Jersey State Class members, about the true safety and
  24   reliability of Class Vehicles and/or the defective ACUs installed in them.
  25         1888. The ZF TRW and STMicro Defendants’ scheme and concealment of
  26   the ACU defect and true characteristics of the defective ACUs in the Class Vehicles
  27   were material to the Plaintiff and New Jersey State Class members, as the ZF TRW
  28   and STMicro Defendants intended. Had they known the truth, the New Jersey

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   1   Plaintiff and New Jersey State Class members would not have purchased or leased
   2   the Class Vehicles, or would have paid significantly less for them.
   3         1889. The New Jersey Plaintiff and New Jersey State Class members had no
   4   way of learning the facts that the ZF TRW and STMicro Defendants had concealed
   5   or failed to disclose. The New Jersey Plaintiff and New Jersey State Class members
   6   did not, and could not, unravel the ZF TRW and STMicro Defendants’ deception
   7   on their own.
   8         1890. The ZF TRW and STMicro Defendants had an ongoing duty to the
   9   New Jersey Plaintiff and New Jersey State Class members to refrain from unfair
  10   and deceptive practices under the New Jersey CFA in the course of their business.
  11   Specifically, the ZF TRW and STMicro Defendants owed the New Jersey Plaintiff
  12   and New Jersey State Class members a duty to disclose all the material facts
  13   concerning the ACU defect in the Class Vehicles because they possessed exclusive
  14   knowledge and they intentionally concealed the ACU defect from the New Jersey
  15   Plaintiff and New Jersey State Class members.
  16         1891. The New Jersey Plaintiff and New Jersey State Class members
  17   suffered ascertainable losses and actual damages as a direct and proximate result of
  18   the ZF TRW and STMicro Defendants’ concealment and/or failure to disclose
  19   material information.
  20         1892. The ZF TRW and STMicro Defendants’ violations present a
  21   continuing risk to the New Jersey Plaintiff and New Jersey State Class members, as
  22   well as to the general public. The ZF TRW and STMicro Defendants’ unlawful acts
  23   and practices complained of herein affect the public interest.
  24         1893. Pursuant to N.J. Stat. Ann. § 56:8-19, the New Jersey Plaintiff and
  25   New Jersey State Class members seek an order enjoining the ZF TRW and
  26   STMicro Defendants’ unfair or deceptive acts or practices and awarding damages
  27   and any other just and proper relief available under the New Jersey CFA.
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   1         xix.   New York
   2                a.     New York Count 1: Breach of Express Warranty (N.Y.
                           U.C.C. Law §§ 2-313 and 2-A-210) Against the FCA and
   3                       Honda Defendants
   4         1894. Plaintiffs reallege and incorporate by reference all preceding
   5   allegations as though fully set forth herein.
   6         1895. Plaintiff Eric Fishon brings this count individually and on behalf of
   7   members of the New York State Class who purchased or leased FCA Class
   8   Vehicles, against the FCA Defendants.
   9         1896. Plaintiff Ravichandran Namakkal bring this count individually and on
  10   behalf of members of the New York State Class who purchased or leased Honda
  11   Class Vehicles, against the Honda Defendants.
  12         1897. For purposes of this count, Plaintiffs Fishon and Namakkal shall be
  13   referred to as the “New York Plaintiffs.”
  14         1898. The FCA and Honda Defendants are and were at all relevant times
  15   “merchants” with respect to motor vehicles under N.Y. U.C.C. Law §§ 2-104(1)
  16   and 2-A-103(3), and “sellers” of motor vehicles under § 2-103(1)(d).
  17         1899. With respect to leases, the FCA and Honda Defendants are and were at
  18   all relevant times “lessors” of motor vehicles under N.Y. U.C.C. Law § 2-A-
  19   103(1)(p).
  20         1900. All New York State Class members who purchased Class Vehicles (for
  21   purposes of this count, “Class Vehicles” are limited to the FCA and Honda Class
  22   Vehicles) in New York are “buyers” within the meaning of N.Y. U.C.C. Law § 2-
  23   103(1)(a).
  24         1901. All New York State Class members who leased Class Vehicles in
  25   New York are “lessees” within the meaning of N.Y. U.C.C. Law § 2-A-103(1)(n).
  26         1902. The Class Vehicles are and were at all relevant times “goods” within
  27   the meaning of N.Y. U.C.C. Law §§ 2-105(1) and 2A-103(1)(h).
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   1         1903. In connection with the purchase or lease of Class Vehicles, the FCA
   2   and Honda Defendants provided the New York Plaintiffs and New York State Class
   3   members with written express warranties covering the repair or replacement of
   4   components that are defective in materials or workmanship.
   5         1904. The FCA and Honda Defendants’ warranties formed the basis of the
   6   bargain that was reached when the New York Plaintiffs and New York State Class
   7   members unknowingly purchased or leased Class Vehicles that came equipped with
   8   a defective ACU.
   9         1905. However, the FCA and Honda Defendants knew or should have known
  10   that the warranties were false and/or misleading. Specifically, the FCA and Honda
  11   Defendants were aware of the ACU defect in the Class Vehicles, which made the
  12   vehicles inherently defective and dangerous at the time that they were sold and
  13   leased to the New York Plaintiffs and New York State Class members.
  14         1906. The New York Plaintiffs and New York State Class members
  15   reasonably relied on the FCA and Honda Defendants’ express warranties when
  16   purchasing or leasing their Class Vehicles.
  17         1907. The FCA and Honda Defendants knowingly breached their express
  18   warranties to repair defects in materials and workmanship by failing to repair the
  19   ACU defect or replace the defective ACUs in the Class Vehicles. The FCA and
  20   Honda Defendants also breached their express warranties by providing a product
  21   containing defects that were never disclosed to the New York Plaintiffs and New
  22   York State Class members.
  23         1908. The New York Plaintiffs and New York State Class members have
  24   provided the FCA and Honda Defendants with reasonable notice and opportunity to
  25   cure the breaches of their express warranties by way of the numerous NHTSA
  26   complaints filed against them, and individual notice letters sent by the New York
  27   State Class members within a reasonable amount of time after the ACU defect
  28   became public. Additionally, a notice letter was sent on behalf of the New York

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   1   Plaintiffs and New York State Class members to FCA US LLC, Honda Defendants,
   2   Hyundai Defendants, Kia Defendants, Mitsubishi Motors North America, Inc.,
   3   Toyota Defendants, Hyundai MOBIS Co. Ltd., and ZF TRW Defendants on April
   4   24, 2020.
   5             1909. Alternatively, any opportunity to cure the breach is unnecessary and
   6   futile.
   7             1910. As a direct and proximate result of the FCA and Honda Defendants’
   8   breach of their express warranties, the New York Plaintiffs and New York State
   9   Class members have been damaged in an amount to be proven at trial.
  10                   b.     New York Count 2: Breach of Implied Warranty of
  11                          Merchantability (N.Y. U.C.C. Law §§ 2-314 and 2-A-212)
                              Against the FCA and Honda Defendants
  12             1911. Plaintiffs reallege and incorporate by reference all preceding
  13   allegations as though fully set forth herein.
  14             1912. Plaintiff Eric Fishon brings this count individually and on behalf of
  15   members of the New York State Class who purchased or leased FCA Class
  16   Vehicles, against the FCA Defendants.
  17             1913. Plaintiff Ravichandran Namakkal bring this count individually and on
  18   behalf of members of the New York State Class who purchased or leased Honda
  19   Class Vehicles, against the Honda Defendants.
  20             1914. For purposes of this count, Plaintiffs Fishon and Namakkal shall be
  21   referred to as the “New York Plaintiffs.”
  22             1915. A warranty that the Class Vehicles (for purposes of this count, “Class
  23   Vehicles” are limited to the FCA and Honda Class Vehicles) were in merchantable
  24   condition and fit for the ordinary purpose for which such goods are used is implied
  25   by law pursuant to N.Y. U.C.C. Law §§ 2-314 and 2-A-212.
  26             1916. The Class Vehicles did not comply with the implied warranty of
  27   merchantability because, at the time of sale and at all times thereafter, they were
  28   defective and not in merchantable condition, would not pass without objection in
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   1   the trade, and were not fit for the ordinary purpose for which vehicles were used.
   2   Specifically, the Class Vehicles suffer from the ACU defect, which causes the
   3   airbags and seatbelt pretensioners to fail to deploy during an accident, rendering the
   4   Class Vehicles inherently defective and dangerous.
   5             1917. The FCA and Honda Defendants are and were at all relevant times
   6   “merchants” with respect to motor vehicles under N.Y. U.C.C. Law §§ 2-104(1)
   7   and 2-A-103(3), and “sellers” of motor vehicles under § 2-103(1)(d).
   8             1918. With respect to leases, the FCA and Honda Defendants are and were at
   9   all relevant times “lessors” of motor vehicles under N.Y. U.C.C. Law § 2-A-
  10   103(1)(p).
  11             1919. All New York State Class members who purchased Class Vehicles in
  12   New York are “buyers” within the meaning of N.Y. U.C.C. Law § 2-103(1)(a).
  13             1920. All New York State Class members who leased Class Vehicles in
  14   New York are “lessees” within the meaning of N.Y. U.C.C. Law § 2-A-103(1)(n).
  15             1921. The Class Vehicles are and were at all relevant times “goods” within
  16   the meaning of N.Y. U.C.C. Law §§ 2-105(1) and 2A-103(1)(h).
  17             1922. The New York Plaintiffs and New York State Class members have
  18   provided the FCA and Honda Defendants with reasonable notice and opportunity to
  19   cure the breaches of their implied warranties by way of the numerous NHTSA
  20   complaints filed against them, and individual notice letters sent by the New York
  21   State Class members within a reasonable amount of time after the ACU defect
  22   became public. Additionally, a notice letter was sent on behalf of the New York
  23   Plaintiffs and New York State Class members to FCA US LLC, Honda Defendants,
  24   Hyundai Defendants, Kia Defendants, Mitsubishi Motors North America, Inc.,
  25   Toyota Defendants, Hyundai MOBIS Co. Ltd., and ZF TRW Defendants on April
  26   24, 2020.
  27             1923. Alternatively, any opportunity to cure the breach is unnecessary and
  28   futile.

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   1            1924. As a direct and proximate result of the FCA and Honda Defendants’
   2   breach of the implied warranty of merchantability, the New York Plaintiffs and
   3   New York State Class members have been damaged in an amount to be proven at
   4   trial.
   5                  c.     New York Count 3: Violation of New York General Business
   6                         Law § 349 (N.Y. Gen. Bus. Law § 349) Against the FCA and
                             Honda Defendants
   7            1925. Plaintiffs reallege and incorporate by reference all preceding
   8   allegations as though fully set forth herein.
   9            1926. Plaintiff Eric Fishon brings this count individually and on behalf of
  10   members of the New York State Class who purchased or leased FCA Class
  11   Vehicles, against the FCA Defendants.
  12            1927. Plaintiff Ravichandran Namakkal bring this count individually and on
  13   behalf of members of the New York State Class who purchased or leased Honda
  14   Class Vehicles, against the Honda Defendants.
  15            1928. For purposes of this count, Plaintiffs Fishon and Namakkal shall be
  16   referred to as the “New York Plaintiffs.”
  17            1929. The New York Plaintiffs and New York State Class members are
  18   “persons” within the meaning of N.Y. Gen. Bus. Law § 349(h).
  19            1930. The FCA and Honda Defendants are each a “person,” “firm,”
  20   “corporation,” or “association” within the meaning of N.Y. Gen. Bus. Law § 349.
  21            1931. The New York Deceptive Acts and Practices Act (“New York
  22   DAPA”) prohibits “[d]eceptive acts or practices in the conduct of any business,
  23   trade or commerce[.]” N.Y. Gen. Bus. Law. § 349.
  24            1932. In the course of their business, the FCA and Honda Defendants,
  25   through their agents, employees, and/or subsidiaries, violated the New York DAPA
  26   by knowingly and intentionally misrepresenting, omitting, concealing, and/or
  27   failing to disclose material facts regarding the reliability, safety, and performance of
  28

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   1   the Class Vehicles (for purposes of this count, “Class Vehicles” are limited to the
   2   FCA and Honda Class Vehicles) or the defective ACUs, as detailed above.
   3           1933. Specifically, by misrepresenting the Class Vehicles and/or the
   4   defective ACUs installed in them as safe and/or free from defects, and by failing to
   5   disclose and actively concealing the dangers and risk posed by the Class Vehicles
   6   and/or the ACU defect, the FCA and Honda Defendants engaged in deceptive acts
   7   or practices in the conduct of business, trade or commerce, and/or in the furnishing
   8   of any service, as prohibited by N.Y. Gen. Bus. Law § 349.
   9           1934. The FCA and Honda Defendants’ unfair or deceptive acts or practices,
  10   including misrepresentations, concealments, omissions, and suppressions of
  11   material facts, had a tendency or capacity to mislead and create a false impression
  12   in consumers, and were likely to and did in fact deceive reasonable consumers,
  13   including the New York Plaintiffs and New York State Class members, about the
  14   true safety and reliability of Class Vehicles and/or the defective ACUs installed in
  15   them, the quality of the Class Vehicles, and the true value of the Class Vehicles.
  16           1935. The FCA and Honda Defendants’ scheme and concealment of the
  17   ACU defect and true characteristics of the Occupant Restraint Systems in the Class
  18   Vehicles were material to the New York Plaintiffs and New York State Class
  19   members, as the FCA and Honda Defendants intended. Had they known the truth,
  20   the New York Plaintiffs and New York State Class members would not have
  21   purchased or leased the Class Vehicles, or would have paid significantly less for
  22   them.
  23           1936. The New York Plaintiffs and New York State Class members had no
  24   way of discerning that the FCA and Honda Defendants’ representations were false
  25   and misleading and/or otherwise learning the facts that the FCA and Honda
  26   Defendants had concealed or failed to disclose. The New York Plaintiffs and New
  27   York State Class members did not, and could not, unravel the FCA and Honda
  28   Defendants’ deception on their own.

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   1         1937. The FCA and Honda Defendants had an ongoing duty to the New
   2   York Plaintiffs and New York State Class members to refrain from unfair and
   3   deceptive practices under the New York DAPA in the course of their business.
   4   Specifically, the FCA and Honda Defendants owed the New York Plaintiffs and
   5   New York State Class members a duty to disclose all the material facts concerning
   6   the ACU defect in the Class Vehicles because they possessed exclusive knowledge,
   7   they intentionally concealed the ACU defect from the New York Plaintiffs and New
   8   York State Class members, and/or they made misrepresentations that were rendered
   9   misleading because they were contradicted by withheld facts.
  10         1938. The New York Plaintiffs and New York State Class members suffered
  11   ascertainable losses and actual damages as a direct and proximate result of the FCA
  12   and Honda Defendants’ concealment, misrepresentations, and/or failure to disclose
  13   material information.
  14         1939. The FCA and Honda Defendants’ violations present a continuing risk
  15   to the New York Plaintiffs and New York State Class members, as well as to the
  16   general public. The FCA and Honda Defendants’ unlawful acts and practices
  17   complained of herein affect the public interest.
  18         1940. Pursuant to N.Y. Gen. Bus. Law § 349, the New York Plaintiffs and
  19   New York State Class members seek an order enjoining the FCA and Honda
  20   Defendants’ unfair or deceptive acts or practices and awarding damages and any
  21   other just and proper relief available under the New York DAPA.
  22                d.     New York Count 4: Violation of New York General Business
  23                       Law § 349 (N.Y. Gen. Bus. Law § 349) Against the ZF TRW
                           and STMicro Defendants
  24         1941. Plaintiffs reallege and incorporate by reference all preceding
  25   allegations as though fully set forth herein.
  26
             2.     Plaintiffs Eric Fishon and Ravichandran Namakkal bring this count
  27
       individually and on behalf of members of the New York State Class against the ZF
  28

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   1   TRW and STMicro Defendants.
   2         1942. For purposes of this count, Plaintiffs Fishon and Namakkal shall be
   3   referred to as the “New York Plaintiffs.”
   4         1943. The New York Plaintiffs and New York State Class members are
   5   “persons” within the meaning of N.Y. Gen. Bus. Law § 349(h).
   6         1944. The ZF TRW Defendants and the STMicro Defendants are each a
   7   “person,” “firm,” “corporation,” or “association” within the meaning of N.Y. Gen.
   8   Bus. Law § 349.
   9         1945. The New York Deceptive Acts and Practices Act (“New York
  10   DAPA”) prohibits “[d]eceptive acts or practices in the conduct of any business,
  11   trade or commerce[.]” N.Y. Gen. Bus. Law. § 349.
  12         1946. In the course of their business the ZF TRW and STMicro Defendants,
  13   through their agents, employees, and/or subsidiaries, violated the New York DAPA
  14   by knowingly and intentionally omitting, concealing, and failing to disclose
  15   material facts regarding the existence, nature, and scope of the defect with ZF TRW
  16   ACUs installed in the Class Vehicles, as detailed above.
  17         1947. Specifically, by failing to disclose and actively concealing the dangers
  18   and risk posed by the Class Vehicles due to the ACU defect, the ZF TRW and
  19   STMicro Defendants engaged in deceptive acts or practices in the conduct of
  20   business, trade or commerce prohibited by N.Y. Gen. Bus. Law § 349.
  21         1948. The ZF TRW and STMicro Defendants’ unfair or deceptive acts or
  22   practices, including concealments, omissions, and suppressions of material facts,
  23   had a tendency or capacity to mislead and create a false impression in consumers,
  24   and were likely to and did in fact deceive reasonable consumers, including the New
  25   York Plaintiffs and New York State Class members, about the true safety and
  26   reliability of Class Vehicles and/or the defective ACUs installed in them.
  27         1949. The ZF TRW and STMicro Defendants’ scheme and concealment of
  28   the ACU defect and true characteristics of the defective ACUs in the Class Vehicles

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   1   were material to the New York Plaintiffs and New York State Class members, as
   2   the ZF TRW and STMicro Defendants intended. Had they known the truth, the
   3   New York Plaintiffs and New York State Class members would not have purchased
   4   or leased the Class Vehicles, or would have paid significantly less for them.
   5         1950. The New York Plaintiffs and New York State Class members had no
   6   way of learning the facts that the ZF TRW and STMicro Defendants had concealed
   7   or failed to disclose. The New York Plaintiffs and New York State Class members
   8   did not, and could not, unravel the ZF TRW and STMicro Defendants’ deception
   9   on their own.
  10         1951. The ZF TRW and STMicro Defendants had an ongoing duty to the
  11   New York Plaintiffs and New York State Class members to refrain from unfair and
  12   deceptive practices under the New York DAPA in the course of their business.
  13   Specifically, the ZF TRW and STMicro Defendants owed the New York Plaintiffs
  14   and New York State Class members a duty to disclose all the material facts
  15   concerning the ACU defect in the Class Vehicles because they possessed exclusive
  16   knowledge and they intentionally concealed the ACU defect from the New York
  17   Plaintiffs and New York State Class members.
  18         1952. The New York Plaintiffs and New York State Class members suffered
  19   ascertainable losses and actual damages as a direct and proximate result of the ZF
  20   TRW and STMicro Defendants’ concealment and/or failure to disclose material
  21   information.
  22         1953. The ZF TRW and STMicro Defendants’ violations present a
  23   continuing risk to the New York Plaintiffs and New York State Class members, as
  24   well as to the general public. The ZF TRW and STMicro Defendants’ unlawful acts
  25   and practices complained of herein affect the public interest.
  26         1954. Pursuant to N.Y. Gen. Bus. Law § 349, the New York Plaintiffs and
  27   New York State Class members seek an order enjoining the ZF TRW and STMicro
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   1   Defendants’ unfair or deceptive acts or practices and awarding damages and any
   2   other just and proper relief available under the New York DAPA.
   3                e.     New York Count 5: Violation of New York General Business
   4                       Law § 350 (N.Y. Gen. Bus. Law § 350) Against the FCA and
                           Honda Defendants
   5         1955. Plaintiffs reallege and incorporate by reference all preceding
   6   allegations as though fully set forth herein.
   7         1956. Plaintiff Eric Fishon brings this count individually and on behalf of
   8   members of the New York State Class who purchased or leased FCA Class
   9   Vehicles, against the FCA Defendants.
  10         1957. Plaintiff Ravichandran Namakkal bring this count individually and on
  11   behalf of members of the New York State Class who purchased or leased Honda
  12   Class Vehicles, against the Honda Defendants.
  13         1958. For purposes of this count, Plaintiffs Fishon and Namakkal shall be
  14   referred to as the “New York Plaintiffs.”
  15         1959. The FCA and Honda Defendants were and are engaged in “conduct of
  16   business, trade or commerce” within the meaning of N.Y. Gen. Bus. Law § 350.
  17         1960. The New York False Advertising Act (“New York FAA”) prohibits
  18   “[f]alse advertising in the conduct of any business, trade or commerce.” N.Y. Gen.
  19   Bus. Law § 350.
  20         1961. The FCA and Honda Defendants caused to be made or disseminated
  21   through New York, through advertising, marketing, and other publications,
  22   statements that were untrue or misleading, and which were known, or which by
  23   exercise of reasonable care should have been known to the FCA and Honda
  24   Defendants, to be untrue and misleading to consumers, including the New York
  25   Plaintiffs and New York State Class members. Numerous examples of these
  26   statements and advertisements appear in the preceding paragraphs throughout this
  27   Complaint and Exhibits 1, 4-7, 9-10, 12-13, 15-16, 17, and 19.
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   1           1962. In the course of their business, the FCA and Honda Defendants,
   2   through their agents, employees, and/or subsidiaries, violated the New York FAA
   3   by knowingly and intentionally misrepresenting, omitting, concealing, and/or
   4   failing to disclose material facts regarding the reliability, safety, and performance of
   5   the Class Vehicles (for purposes of this count, “Class Vehicles” are limited to the
   6   FCA and Honda Class Vehicles) or the defective ACUs, as detailed above.
   7           1963. Specifically, by misrepresenting the Class Vehicles and/or the
   8   defective ACUs installed in them as safe and/or free from defects, and by failing to
   9   disclose and actively concealing the dangers and risk posed by the Class Vehicles
  10   and/or the ACU defect, the FCA and Honda Defendants engaged in the false and
  11   misleading advertising practices prohibited by N.Y. Gen. Bus. Law § 350.
  12           1964. The FCA and Honda Defendants’ false advertising practices, including
  13   misrepresentations, concealments, omissions, and suppressions of material facts,
  14   had a tendency or capacity to mislead and create a false impression in consumers,
  15   and were likely to and did in fact deceive reasonable consumers, including the New
  16   York Plaintiffs and New York State Class members, about the true safety and
  17   reliability of Class Vehicles and/or the defective ACUs installed in them, the
  18   quality of the Class Vehicles, and the true value of the Class Vehicles.
  19           1965. The FCA and Honda Defendants’ scheme and concealment of the
  20   ACU defect and true characteristics of the Occupant Restraint Systems in the Class
  21   Vehicles were material to the New York Plaintiffs and New York State Class
  22   members, as the FCA and Honda Defendants intended. Had they known the truth,
  23   the New York Plaintiffs and New York State Class members would not have
  24   purchased or leased the Class Vehicles, or would have paid significantly less for
  25   them.
  26           1966. The New York Plaintiffs and New York State Class members relied on
  27   the FCA and Honda Defendants and had no way of discerning that those
  28   representations were false and misleading and/or otherwise learning the facts that

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   1   the FCA and Honda Defendants’ had concealed or failed to disclose. The New
   2   York Plaintiffs and New York State Class members did not, and could not, unravel
   3   the FCA and Honda Defendants’ deception on their own.
   4         1967. The FCA and Honda Defendants had an ongoing duty to the New
   5   York Plaintiffs and New York State Class members to refrain from false advertising
   6   practices under the New York FAA in the course of their business. Specifically, the
   7   FCA and Honda Defendants owed the New York Plaintiffs and New York State
   8   Class members a duty to disclose all the material facts concerning the ACU defect
   9   in the Class Vehicles because they possessed exclusive knowledge, they
  10   intentionally concealed the ACU defect from the New York Plaintiffs and New
  11   York State Class members, and/or they made misrepresentations that were rendered
  12   misleading because they were contradicted by withheld facts.
  13         1968. The New York Plaintiffs and New York State Class members suffered
  14   ascertainable losses and actual damages as a direct and proximate result of the FCA
  15   and Honda Defendants’ concealment, misrepresentations, and/or failure to disclose
  16   material information.
  17         1969. The FCA and Honda Defendants’ violations present a continuing risk
  18   to the New York Plaintiffs and New York State Class members, as well as to the
  19   general public. The FCA and Honda Defendants’ unlawful acts and practices
  20   complained of herein affect the public interest.
  21         1970. Pursuant to New York FAA, the New York Plaintiffs and New York
  22   State Class members seek an order enjoining the FCA and Honda Defendants’ false
  23   advertising practices and awarding damages and any other just and proper relief
  24   available under the New York FAA.
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   1         xx.    North Carolina
   2                a.     North Carolina Count 1: Breach of Express Warranty (N.C.
                           Gen. Stat. §§ 25-2-313 and 25-2A-210) Against the FCA and
   3                       Honda Defendants
   4         1971. Plaintiffs reallege and incorporate by reference all preceding
   5   allegations as though fully set forth herein.
   6         1972. Plaintiff Constanza Gonzalez brings this count individually and on
   7   behalf of members of the North Carolina State Class who purchased or leased FCA
   8   Class Vehicles, against the FCA Defendants.
   9         1973. Plaintiff Tonya McNeely brings this count individually and on behalf
  10   of members of the North Carolina State Class who purchased or leased Honda
  11   Class Vehicles, against the Honda Defendants.
  12         1974. For purposes of this count, Plaintiffs Gonzalez and McNeely shall be
  13   referred to as the “North Carolina Plaintiffs.”
  14         1975. The FCA and Honda Defendants are and were at all relevant times
  15   “merchants” with respect to motor vehicles under N.C. Gen. Stat. §§ 25-2-104(1)
  16   and 25-2A-103(3), and “sellers” of motor vehicles under § 25-2-103(1)(d).
  17         1976. With respect to leases, the FCA and Honda Defendants are and were at
  18   all relevant times “lessors” of motor vehicles under N.C. Gen. Stat. § 25-2A-
  19   103(1)(p).
  20         1977. All North Carolina State Class members who purchased Class
  21   Vehicles (for purposes of this count, “Class Vehicles” are limited to the FCA and
  22   Honda Class Vehicles) in North Carolina are “buyers” within the meaning of N.C.
  23   Gen. Stat. § 25-2-103(1)(a).
  24         1978. All North Carolina State Class members who leased Class Vehicles in
  25   North Carolina are “lessees” within the meaning of N.C. Gen. Stat. § 25-2A-
  26   103(1)(n).
  27         1979. The Class Vehicles are and were at all relevant times “goods” within
  28   the meaning of N.C. Gen. Stat. §§ 25-2-105(1) and 25-2A-103(1)(h).
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   1         1980. In connection with the purchase or lease of Class Vehicles, the FCA
   2   and Honda Defendants provided the North Carolina Plaintiffs and North Carolina
   3   State Class members with written express warranties covering the repair or
   4   replacement of components that are defective in materials or workmanship.
   5         1981. The FCA and Honda Defendants’ warranties formed the basis of the
   6   bargain that was reached when the North Carolina Plaintiffs and North Carolina
   7   State Class members unknowingly purchased or leased Class Vehicles that came
   8   equipped with a defective ACU.
   9         1982. However, the FCA and Honda Defendants knew or should have known
  10   that the warranties were false and/or misleading. Specifically, the FCA and Honda
  11   Defendants were aware of the ACU defect in the Class Vehicles, which made the
  12   vehicles inherently defective and dangerous at the time that they were sold and
  13   leased to the North Carolina Plaintiffs and North Carolina State Class members.
  14         1983. The North Carolina Plaintiffs and North Carolina State Class members
  15   reasonably relied on the FCA and Honda Defendants’ express warranties when
  16   purchasing or leasing their Class Vehicles.
  17         1984. The FCA and Honda Defendants knowingly breached their express
  18   warranties to repair defects in materials and workmanship by failing to repair the
  19   ACU defect or replace the defective ACUs in the Class Vehicles. The FCA and
  20   Honda Defendants also breached their express warranties by providing a product
  21   containing defects that were never disclosed to the North Carolina Plaintiffs and
  22   North Carolina State Class members.
  23         1985. The North Carolina Plaintiffs and North Carolina State Class members
  24   have provided the FCA and Honda Defendants with reasonable notice and
  25   opportunity to cure the breaches of their express warranties by way of the numerous
  26   NHTSA complaints filed against them, and individual notice letters sent by the
  27   North Carolina State Class members within a reasonable amount of time after the
  28   ACU defect became public. Additionally, a notice letter was sent on behalf of the

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   1   North Carolina Plaintiffs and North Carolina State Class members to FCA US LLC,
   2   Honda Defendants, Hyundai Defendants, Kia Defendants, Mitsubishi Motors North
   3   America, Inc., Toyota Defendants, Hyundai MOBIS Co. Ltd., and ZF TRW
   4   Defendants on April 24, 2020.
   5             1986. Alternatively, any opportunity to cure the breach is unnecessary and
   6   futile.
   7             1987. As a direct and proximate result of the FCA and Honda Defendants’
   8   breach of their express warranties, the North Carolina Plaintiffs and North Carolina
   9   State Class members have been damaged in an amount to be proven at trial.
  10                   b.     North Carolina Count 2: Breach of Implied Warranty of
  11                          Merchantability (N.C. Gen. Stat. §§ 25-2-314 and 25-2A-212)
                              Against the FCA and Honda Defendants
  12             1988. Plaintiffs reallege and incorporate by reference all preceding
  13   allegations as though fully set forth herein.
  14             1989. Plaintiff Constanza Gonzalez brings this count individually and on
  15   behalf of members of the North Carolina State Class who purchased or leased FCA
  16   Class Vehicles, against the FCA Defendants.
  17             1990. Plaintiff Tonya McNeely brings this count individually and on behalf
  18   of members of the North Carolina State Class who purchased or leased Honda
  19   Class Vehicles, against the Honda Defendants.
  20             1991. For purposes of this count, Plaintiffs Gonzalez and McNeely shall be
  21   referred to as the “North Carolina Plaintiffs.”
  22             1992. A warranty that the Class Vehicles (for purposes of this count, “Class
  23   Vehicles” are limited to the FCA and Honda Class Vehicles) were in merchantable
  24   condition and fit for the ordinary purpose for which such goods are used is implied
  25   by law pursuant to N.C. Gen. Stat. §§ 25-2-314 and 25-2A-212.
  26             1993. The Class Vehicles did not comply with the implied warranty of
  27   merchantability because, at the time of sale and at all times thereafter, they were
  28   defective and not in merchantable condition, would not pass without objection in
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   1   the trade, and were not fit for the ordinary purpose for which vehicles were used.
   2   Specifically, the Class Vehicles suffer from the ACU defect, which causes the
   3   airbags and seatbelt pretensioners to fail to deploy during an accident, rendering the
   4   Class Vehicles inherently defective and dangerous.
   5         1994. The FCA and Honda Defendants are and were at all relevant times
   6   “merchants” with respect to motor vehicles under N.C. Gen. Stat. §§ 25-2-104(1)
   7   and 25-2A-103(3), and “sellers” of motor vehicles under § 25-2-103(1)(d).
   8         1995. With respect to leases, the FCA and Honda Defendants are and were at
   9   all relevant times “lessors” of motor vehicles under N.C. Gen. Stat. § 25-2A-
  10   103(1)(p).
  11         1996. All North Carolina State Class members who purchased Class
  12   Vehicles in North Carolina are “buyers” within the meaning of N.C. Gen. Stat.
  13   § 25-2-103(1)(a).
  14         1997. All North Carolina State Class members who leased Class Vehicles in
  15   North Carolina are “lessees” within the meaning of N.C. Gen. Stat. § 25-2A-
  16   103(1)(n).
  17         1998. The Class Vehicles are and were at all relevant times “goods” within
  18   the meaning of N.C. Gen. Stat. §§ 25-2-105(1) and 25-2A-103(1)(h).
  19         1999. The North Carolina Plaintiffs and North Carolina State Class members
  20   have provided the FCA and Honda Defendants with reasonable notice and
  21   opportunity to cure the breaches of their implied warranties by way of the numerous
  22   NHTSA complaints filed against them, and individual notice letters sent by the
  23   North Carolina State Class members within a reasonable amount of time after the
  24   ACU defect became public. Additionally, a notice letter was sent on behalf of the
  25   North Carolina Plaintiffs and North Carolina State Class members to FCA US LLC,
  26   Honda Defendants, Hyundai Defendants, Kia Defendants, Mitsubishi Motors North
  27   America, Inc., Toyota Defendants, Hyundai MOBIS Co. Ltd., and ZF TRW
  28   Defendants on April 24, 2020.

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   1             2000. Alternatively, any opportunity to cure the breach is unnecessary and
   2   futile.
   3             2001. As a direct and proximate result of the FCA and Honda Defendants’
   4   breach of the implied warranty of merchantability, the North Carolina Plaintiffs and
   5   North Carolina State Class members have been damaged in an amount to be proven
   6   at trial.
   7                   c.     North Carolina Count 3: Violation of the North Carolina
   8                          Unfair and Deceptive Trade Practices Act (N.C. Gen. Stat.
                              § 75-1.1, et seq.) Against the FCA and Honda Defendants
   9             2002. Plaintiffs reallege and incorporate by reference all preceding
  10   allegations as though fully set forth herein.
  11             2003. Plaintiff Constanza Gonzalez brings this count individually and on
  12   behalf of members of the North Carolina State Class who purchased or leased FCA
  13   Class Vehicles, against the FCA Defendants.
  14             2004. Plaintiff Tonya McNeely brings this count individually and on behalf
  15   of members of the North Carolina State Class who purchased or leased Honda
  16   Class Vehicles, against the Honda Defendants.
  17             2005. For purposes of this count, Plaintiffs Gonzalez and McNeely shall be
  18   referred to as the “North Carolina Plaintiffs.”
  19             2006. The FCA Defendants and the Honda Defendants were and are engaged
  20   in “commerce” within the meaning of N.C. Gen. Stat. § 75-1.1(b).
  21             2007. In the course of their business, the FCA and Honda Defendants,
  22   through their agents, employees, and/or subsidiaries, violated the North Carolina
  23   Unfair and Deceptive Trade Practices Act (“North Carolina UDTPA”) by
  24   knowingly and intentionally misrepresenting, omitting, concealing, and/or failing to
  25   disclose material facts regarding the reliability, safety, and performance of the Class
  26   Vehicles (for purposes of this count, “Class Vehicles” are limited to the FCA and
  27   Honda Class Vehicles) or the defective ACUs, as detailed above.
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   1         2008. Specifically, by misrepresenting the Class Vehicles and/or the
   2   defective ACUs installed in them as safe and/or free from defects, and by failing to
   3   disclose and actively concealing the dangers and risk posed by the Class Vehicles
   4   and/or the ACU defect, the FCA and Honda Defendants engaged the unfair
   5   methods of competition in or affecting commerce, and unfair or deceptive acts or
   6   practices in or affecting commerce prohibited by N.C. Gen. Stat. § 75-16.
   7         2009. The FCA and Honda Defendants’ unfair or deceptive acts or practices,
   8   including misrepresentations, concealments, omissions, and suppressions of
   9   material facts, had a tendency or capacity to mislead and create a false impression
  10   in consumers, and were likely to and did in fact deceive reasonable consumers,
  11   including the North Carolina Plaintiffs and North Carolina State Class members,
  12   about the true safety and reliability of Class Vehicles and/or the defective ACUs
  13   installed in them, the quality of the Class Vehicles, and the true value of the Class
  14   Vehicles.
  15         2010. The FCA and Honda Defendants’ scheme and concealment of the
  16   ACU defect and true characteristics of the Occupant Restraint Systems in the Class
  17   Vehicles were material to the North Carolina Plaintiffs and North Carolina State
  18   Class members, as the FCA and Honda Defendants intended. Had they known the
  19   truth, the North Carolina Plaintiffs and North Carolina State Class members would
  20   not have purchased or leased the Class Vehicles, or would have paid significantly
  21   less for them.
  22         2011. The North Carolina Plaintiffs and North Carolina State Class members
  23   had no way of discerning that the FCA and Honda Defendants’ representations
  24   were false and misleading and/or otherwise learning the facts that the FCA and
  25   Honda Defendants had concealed or failed to disclose. The North Carolina
  26   Plaintiffs and North Carolina State Class members did not, and could not, unravel
  27   the FCA and Honda Defendants’ deception on their own.
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   1         2012. The FCA and Honda Defendants had an ongoing duty to the North
   2   Carolina Plaintiffs and North Carolina State Class members to refrain from unfair
   3   and deceptive practices under the North Carolina UDTPA in the course of their
   4   business. Specifically, the FCA and Honda Defendants owed the North Carolina
   5   Plaintiffs and North Carolina State Class members a duty to disclose all the
   6   material facts concerning the ACU defect in the Class Vehicles because they
   7   possessed exclusive knowledge, they intentionally concealed the ACU defect from
   8   the North Carolina Plaintiffs and North Carolina State Class members, and/or they
   9   made misrepresentations that were rendered misleading because they were
  10   contradicted by withheld facts.
  11         2013. The North Carolina Plaintiffs and North Carolina State Class members
  12   suffered ascertainable losses and actual damages as a direct and proximate result of
  13   the FCA and Honda Defendants’ concealment, misrepresentations, and/or failure to
  14   disclose material information.
  15         2014. The FCA and Honda Defendants’ violations present a continuing risk
  16   to the North Carolina Plaintiffs and North Carolina State Class members, as well as
  17   to the general public. The FCA and Honda Defendants’ unlawful acts and practices
  18   complained of herein affect the public interest.
  19         2015. Pursuant to N.C. Gen. Stat. § 75-16, the North Carolina Plaintiffs and
  20   North Carolina State Class members seek an order enjoining the FCA and Honda
  21   Defendants’ unfair or deceptive acts or practices and awarding damages and any
  22   other just and proper relief available under the North Carolina UDTPA.
  23                d.     North Carolina Count 4: Violation of the North Carolina
  24                       Unfair and Deceptive Trade Practices Act (N.C. Gen. Stat.
                           § 75-1.1, et seq.) Against the ZF TRW and STMicro
  25                       Defendants
  26         2016. Plaintiffs reallege and incorporate by reference all preceding
  27   allegations as though fully set forth herein.
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   1         2017. Plaintiffs Constanza Gonzalez and Tonya McNeely bring this count
   2   individually and on behalf of members of the North Carolina State Class against the
   3   ZF TRW and STMicro Defendants.
   4         2018. For purposes of this count, Plaintiffs Gonzalez and McNeely shall be
   5   referred to as the “North Carolina Plaintiffs.”
   6         2019. The ZF TRW and STMicro Defendants were and are engaged in
   7   “commerce” within the meaning of N.C. Gen. Stat. § 75-1.1(b).
   8         2020. In the course of their business the ZF TRW and STMicro Defendants,
   9   through their agents, employees, and/or subsidiaries, violated the North Carolina
  10   Unfair and Deceptive Trade Practices Act (“North Carolina UDTPA”) by
  11   knowingly and intentionally omitting, concealing, and failing to disclose material
  12   facts regarding the existence, nature, and scope of the defect with ZF TRW ACUs
  13   installed in the Class Vehicles, as detailed above.
  14         2021. Specifically, by failing to disclose and actively concealing the dangers
  15   and risk posed by the Class Vehicles due to the ACU defect, the ZF TRW and
  16   STMicro Defendants engaged in unfair methods of competition in or affecting
  17   commerce, and unfair or deceptive acts or practices in or affecting commerce
  18   prohibited by N.C. Gen. Stat. § 75-1.1(a).
  19         2022. The ZF TRW and STMicro Defendants’ unfair or deceptive acts or
  20   practices, including concealments, omissions, and suppressions of material facts,
  21   had a tendency or capacity to mislead and create a false impression in consumers,
  22   and were likely to and did in fact deceive reasonable consumers, including the
  23   North Carolina Plaintiffs and North Carolina State Class members, about the true
  24   safety and reliability of Class Vehicles and/or the defective ACUs installed in them.
  25         2023. The ZF TRW and STMicro Defendants’ scheme and concealment of
  26   the ACU defect and true characteristics of the defective ACUs in the Class Vehicles
  27   were material to the North Carolina Plaintiffs and North Carolina State Class
  28   members, as the ZF TRW and STMicro Defendants intended. Had they known the

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   1   truth, the North Carolina Plaintiffs and North Carolina State Class members would
   2   not have purchased or leased the Class Vehicles, or would have paid significantly
   3   less for them.
   4         2024. The North Carolina Plaintiffs and North Carolina State Class members
   5   had no way of learning the facts that the ZF TRW and STMicro Defendants had
   6   concealed or failed to disclose. The North Carolina Plaintiffs and North Carolina
   7   State Class members did not, and could not, unravel the ZF TRW and STMicro
   8   Defendants’ deception on their own.
   9         2025. The ZF TRW and STMicro Defendants had an ongoing duty to the
  10   North Carolina Plaintiffs and North Carolina State Class members to refrain from
  11   unfair and deceptive practices under the North Carolina UDTPA in the course of
  12   their business. Specifically, the ZF TRW and STMicro Defendants owed the North
  13   Carolina Plaintiffs and North Carolina State Class members a duty to disclose all
  14   the material facts concerning the ACU defect in the Class Vehicles because they
  15   possessed exclusive knowledge and they intentionally concealed the ACU defect
  16   from the North Carolina Plaintiffs and North Carolina State Class members.
  17         2026. The North Carolina Plaintiffs and North Carolina State Class members
  18   suffered ascertainable losses and actual damages as a direct and proximate result of
  19   the ZF TRW and STMicro Defendants’ concealment and/or failure to disclose
  20   material information.
  21         2027. The ZF TRW and STMicro Defendants’ violations present a
  22   continuing risk to the North Carolina Plaintiffs and North Carolina State Class
  23   members, as well as to the general public. The ZF TRW and STMicro Defendants’
  24   unlawful acts and practices complained of herein affect the public interest.
  25         2028. Pursuant to N.C. Gen. Stat. § 75-1.1(a), the North Carolina Plaintiffs
  26   and North Carolina State Class members seek an order enjoining the ZF TRW and
  27   STMicro Defendants’ unfair or deceptive acts or practices and awarding damages
  28   and any other just and proper relief available under the North Carolina UDTPA.

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   1         xxi.   Oklahoma
   2                a.     Oklahoma Count 1: Breach of Express Warranty (Okla.
                           Stat. Ann. tit. 12A, §§ 2-313 and 2A-210) Against the FCA
   3                       Defendants
   4         2029. Plaintiffs reallege and incorporate by reference all preceding
   5   allegations as though fully set forth herein.
   6         2030. Plaintiff James Dean (hereinafter, “Oklahoma Plaintiff”) brings this
   7   count individually and on behalf of members of the Oklahoma State Class who
   8   purchased or leased FCA Class Vehicles, against the FCA Defendants.
   9         2031. The FCA Defendants are and were at all relevant times “merchants”
  10   with respect to motor vehicles under Okla. Stat. Ann. tit. 12A, §§ 2-104(1) and 2-
  11   A-103(3), and “sellers” of motor vehicles under § 2-103(1)(c).
  12         2032. With respect to leases, the FCA Defendants are and were at all relevant
  13   times “lessors” of motor vehicles under Okla. Stat. Ann. tit. 12A, § 2A-103(1)(p).
  14         2033. All Oklahoma State Class members who purchased FCA Class
  15   Vehicles in Oklahoma are “buyers” within the meaning of Okla. Stat. Ann. tit. 12A,
  16   § 2-103(1)(a).
  17         2034. All Oklahoma State Class members who leased FCA Class Vehicles in
  18   Oklahoma are “lessees” within the meaning of Okla. Stat. Ann. tit. 12A, § 2A-
  19   103(1)(n).
  20         2035. The FCA Class Vehicles are and were at all relevant times “goods”
  21   within the meaning of Okla. Stat. Ann. tit. 12A, §§ 2-105(1) and 2A-103(1)(h).
  22         2036. In connection with the purchase or lease of FCA Class Vehicles, the
  23   FCA Defendants provided the Oklahoma Plaintiff and Oklahoma State Class
  24   members with written express warranties covering the repair or replacement of
  25   components that are defective in materials or workmanship.
  26         2037. The FCA Defendants’ warranties formed the basis of the bargain that
  27   was reached when the Oklahoma Plaintiff and Oklahoma State Class members
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   1   unknowingly purchased or leased FCA Class Vehicles that came equipped with a
   2   defective ACU.
   3             2038. However, the FCA Defendants knew or should have known that the
   4   warranties were false and/or misleading. Specifically, the FCA Defendants were
   5   aware of the ACU defect in the FCA Class Vehicles, which made the vehicles
   6   inherently defective and dangerous at the time that they were sold and leased to the
   7   Oklahoma Plaintiff and Oklahoma State Class members.
   8             2039. The Oklahoma Plaintiff and Oklahoma State Class members
   9   reasonably relied on the FCA Defendants’ express warranties when purchasing or
  10   leasing their FCA Class Vehicles.
  11             2040. The FCA Defendants knowingly breached their express warranties to
  12   repair defects in materials and workmanship by failing to repair the ACU defect or
  13   replace the defective ACUs in the FCA Class Vehicles. The FCA Defendants also
  14   breached their express warranties by providing a product containing defects that
  15   were never disclosed to the Oklahoma Plaintiff and Oklahoma State Class
  16   members.
  17             2041. The Oklahoma Plaintiff and Oklahoma State Class members have
  18   provided the FCA Defendants with reasonable notice and opportunity to cure the
  19   breaches of their express warranties by way of the numerous NHTSA complaints
  20   filed against them, and individual notice letters sent by the Oklahoma State Class
  21   members within a reasonable amount of time after the ACU defect became public.
  22   Additionally, a notice letter was sent on behalf of the Oklahoma Plaintiff and
  23   Oklahoma State Class members to FCA US LLC, Honda Defendants, Hyundai
  24   Defendants, Kia Defendants, Mitsubishi Motors North America, Inc., Toyota
  25   Defendants, Hyundai MOBIS Co. Ltd., and ZF TRW Defendants on April 24,
  26   2020.
  27             2042. Alternatively, any opportunity to cure the breach is unnecessary and
  28   futile.

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   1         2043. As a direct and proximate result of the FCA Defendants’ breach of
   2   their express warranties, the Oklahoma Plaintiff and Oklahoma State Class
   3   members have been damaged in an amount to be proven at trial.
   4                b.     Oklahoma Count 2: Breach of Implied Warranty of
   5                       Merchantability (Okla. Stat. Ann. tit. 12A, §§ 2-314 and 2A-
                           212) Against the FCA Defendants
   6         2044. Plaintiffs reallege and incorporate by reference all preceding
   7   allegations as though fully set forth herein.
   8         2045. The Oklahoma Plaintiff brings this count individually and on behalf of
   9   members of the Oklahoma State Class who purchased or leased FCA Class
  10   Vehicles, against the FCA Defendants.
  11         2046. A warranty that the FCA Class Vehicles were in merchantable
  12   condition and fit for the ordinary purpose for which such goods are used is implied
  13   by law pursuant to Okla. Stat. Ann. tit. 12A, §§ 2-314 and 2A-212.
  14         2047. The FCA Class Vehicles did not comply with the implied warranty of
  15   merchantability because, at the time of sale and at all times thereafter, they were
  16   defective and not in merchantable condition, would not pass without objection in
  17   the trade, and were not fit for the ordinary purpose for which vehicles were used.
  18   Specifically, the FCA Class Vehicles suffer from the ACU defect, which causes the
  19   airbags and seatbelt pretensioners to fail to deploy during an accident, rendering the
  20   FCA Class Vehicles inherently defective and dangerous.
  21         2048. The FCA Defendants are and were at all relevant times “merchants”
  22   with respect to motor vehicles under Okla. Stat. Ann. tit. 12A, §§ 2-104(1) and 2-
  23   A-103(3), and “sellers” of motor vehicles under § 2-103(1)(c).
  24         2049. With respect to leases, the FCA Defendants are and were at all relevant
  25   times “lessors” of motor vehicles under Okla. Stat. Ann. tit. 12A, § 2A-103(1)(p).
  26         2050. All Oklahoma State Class members who purchased FCA Class
  27   Vehicles in Oklahoma are “buyers” within the meaning of Okla. Stat. Ann. tit. 12A,
  28   § 2-103(1)(a).
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   1             2051. All Oklahoma State Class members who leased FCA Class Vehicles in
   2   Oklahoma are “lessees” within the meaning of Okla. Stat. Ann. tit. 12A, § 2A-
   3   103(1)(n).
   4             2052. The FCA Class Vehicles were at all relevant times “goods” within the
   5   meaning of Okla. Stat. Ann. tit. 12A, §§ 2-105(1) and 2A-103(1)(h).
   6             2053. The Oklahoma Plaintiff and Oklahoma State Class members have
   7   provided the FCA Defendants with reasonable notice and opportunity to cure the
   8   breaches of their implied warranties by way of the numerous NHTSA complaints
   9   filed against them, and individual notice letters sent by the Oklahoma State Class
  10   members within a reasonable amount of time after the ACU defect became public.
  11   Additionally, a notice letter was sent on behalf of the Oklahoma Plaintiff and
  12   Oklahoma State Class members to FCA US LLC, Honda Defendants, Hyundai
  13   Defendants, Kia Defendants, Mitsubishi Motors North America, Inc., Toyota
  14   Defendants, Hyundai MOBIS Co. Ltd., and ZF TRW Defendants on April 24,
  15   2020.
  16             2054. Alternatively, any opportunity to cure the breach is unnecessary and
  17   futile.
  18             2055. As a direct and proximate result of the FCA Defendants’ breach of the
  19   implied warranty of merchantability, the Oklahoma Plaintiff and Oklahoma State
  20   Class members have been damaged in an amount to be proven at trial.
  21                   c.     Oklahoma Count 3: Violation of the Oklahoma Consumer
  22                          Protection Act (Okla. Stat. Ann. tit. 15, § 751, et seq.)
                              Against the FCA Defendants
  23             2056. Plaintiffs reallege and incorporate by reference all preceding
  24   allegations as though fully set forth herein.
  25             2057. The Oklahoma Plaintiff brings this count individually and on behalf of
  26   members of the Oklahoma State Class who purchased or leased FCA Class
  27   Vehicles, against the FCA Defendants.
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   1            2058. The FCA Defendants, the Oklahoma Plaintiff, and the Oklahoma State
   2   Class members are “persons” within the meaning of Okla. Stat. tit. 15, § 752(1).
   3            2059. The FCA Defendants were and are engaged in “consumer
   4   transactions” within the meaning of Okla. Stat. tit. 15, § 752(2).
   5            2060. The FCA Class Vehicles and ACUs installed in them are
   6   “merchandise” within the meaning of Okla. Stat. tit. 15, § 752(7).
   7            2061. The Oklahoma Consumer Protection Act (“Oklahoma CPA”) prohibits
   8   deceptive and unfair trade practices.
   9            2062. In the course of their business, the FCA Defendants, through their
  10   agents, employees, and/or subsidiaries, violated the Oklahoma CPA by knowingly
  11   and intentionally misrepresenting, omitting, concealing, and/or failing to disclose
  12   material facts regarding the reliability, safety, and performance of the FCA Class
  13   Vehicles or the defective ACUs, as detailed above.
  14            2063. Specifically, by misrepresenting the FCA Class Vehicles and/or the
  15   defective ACUs installed in them as safe and/or free from defects, and by failing to
  16   disclose and actively concealing the dangers and risk posed by the FCA Class
  17   Vehicles and/or the ACU defect, the FCA Defendants engaged in one or more of
  18   the following unfair or deceptive business practices prohibited by Okla. Stat. tit. 15,
  19   § 753:
  20                  a.    Representing that the FCA Class Vehicles and/or the defective
  21                        ACUs installed in them are approved and certified as safe and
  22                        reliable;
  23                  b.    Representing that the FCA Class Vehicles and/or the defective
  24                        ACUs installed in them are of a particular standard, quality, and
  25                        grade when they are not;
  26                  c.    Advertising the FCA Class Vehicles and/or the defective ACUs
  27                        installed in them as safe and free from defects, with the intent
  28                        not to sell or lease them as advertised; and

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   1                 d.     Engaging in the immoral, unethical, oppressive, unscrupulous,
   2                        or substantially injurious to consumers described above, which
   3                        offends established public policy.
   4          Okla. Stat. tit. 15, §§ 753(5), (7), (8), and (20).
   5          2064. The FCA Defendants’ unfair or deceptive acts or practices, including
   6   misrepresentations, concealments, omissions, and suppressions of material facts,
   7   had a tendency or capacity to mislead and create a false impression in consumers,
   8   and were likely to and did in fact deceive reasonable consumers, including the
   9   Oklahoma Plaintiff and Oklahoma State Class members, about the true safety and
  10   reliability of FCA Class Vehicles and/or the defective ACUs installed in them, the
  11   quality of the FCA Class Vehicles, and the true value of the FCA Class Vehicles.
  12          2065. The FCA Defendants’ scheme and concealment of the ACU defect and
  13   true characteristics of the Occupant Restraint Systems in the FCA Class Vehicles
  14   were material to the Oklahoma Plaintiff and Oklahoma State Class members, as the
  15   FCA Defendants intended. Had they known the truth, the Oklahoma Plaintiff and
  16   Oklahoma State Class members would not have purchased or leased the FCA Class
  17   Vehicles, or would have paid significantly less for them.
  18          2066. The Oklahoma Plaintiff and Oklahoma State Class members had no
  19   way of discerning that the FCA Defendants’ representations were false and
  20   misleading and/or otherwise learning the facts that the FCA Defendants had
  21   concealed or failed to disclose. The Oklahoma Plaintiff and Oklahoma State Class
  22   members did not, and could not, unravel the FCA Defendants’ deception on their
  23   own.
  24          2067. The FCA Defendants had an ongoing duty to the Oklahoma Plaintiff
  25   and Oklahoma State Class members to refrain from unfair and deceptive practices
  26   under the Oklahoma CPA in the course of their business. Specifically, the FCA
  27   Defendants owed the Oklahoma Plaintiff and Oklahoma State Class members a
  28   duty to disclose all the material facts concerning the ACU defect in the FCA Class

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   1   Vehicles because they possessed exclusive knowledge, they intentionally concealed
   2   the ACU defect from the Oklahoma Plaintiff and Oklahoma State Class members,
   3   and/or they made misrepresentations that were rendered misleading because they
   4   were contradicted by withheld facts.
   5          2068. The Oklahoma Plaintiff and Oklahoma State Class members suffered
   6   ascertainable losses and actual damages as a direct and proximate result of the FCA
   7   Defendants’ concealment, misrepresentations, and/or failure to disclose material
   8   information.
   9          2069. The FCA Defendants’ violations present a continuing risk to the
  10   Oklahoma Plaintiff and Oklahoma State Class members, as well as to the general
  11   public. The FCA Defendants’ unlawful acts and practices complained of herein
  12   affect the public interest.
  13          2070. Pursuant to Okla. Stat. tit. 15, § 761.1, the Oklahoma Plaintiff and
  14   Oklahoma State Class members seek an order enjoining the FCA Defendants’
  15   unfair or deceptive acts or practices and awarding damages and any other just and
  16   proper relief available under the Oklahoma CPA.
  17                  d.    Oklahoma Count 4: Violation of the Oklahoma Consumer
  18                        Protection Act (Okla. Stat. Ann. tit. 15, § 751, et seq.)
                            Against the ZF TRW and STMicro Defendants
  19          2071. Plaintiffs reallege and incorporate by reference all preceding
  20   allegations as though fully set forth herein.
  21          2072. The Oklahoma Plaintiff brings this count individually and on behalf of
  22   members of the Oklahoma State Class against the ZF TRW and STMicro
  23   Defendants.
  24          2073. The ZF TRW Defendants, the STMicro Defendants, the Oklahoma
  25   Plaintiff, and Oklahoma State Class members are “persons” within the meaning of
  26   Okla. Stat. tit. 15, § 752(1).
  27          2074. The ZF TRW and STMicro Defendants were and are engaged in
  28   “consumer transactions” within the meaning of Okla. Stat. tit. 15, § 752(2).
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   1         2075. The Class Vehicles and ACUs installed in them are “merchandise”
   2   within the meaning of Okla. Stat. tit. 15, § 752(7).
   3         2076. The Oklahoma Consumer Protection Act (“Oklahoma CPA”) prohibits
   4   deceptive and unfair trade practices.
   5         2077. In the course of their business the ZF TRW and STMicro Defendants,
   6   through their agents, employees, and/or subsidiaries, violated the Oklahoma CPA
   7   by knowingly and intentionally omitting, concealing, and failing to disclose
   8   material facts regarding the existence, nature, and scope of the defect with ZF TRW
   9   ACUs installed in the Class Vehicles, as detailed above.
  10         2078. Specifically, by failing to disclose and actively concealing the dangers
  11   and risk posed by the Class Vehicles due to the ACU defect, the ZF TRW and
  12   STMicro Defendants engaged in one or more of the deceptive trade practices
  13   prohibited by Okla. Stat. tit. 15, § 753, including engaging in omissions or other
  14   practices that have deceived or could reasonably be expected to deceive or mislead
  15   a person to the detriment of that person.
  16         2079. The ZF TRW and STMicro Defendants’ unfair or deceptive acts or
  17   practices, including concealments, omissions, and suppressions of material facts,
  18   had a tendency or capacity to mislead and create a false impression in consumers,
  19   and were likely to and did in fact deceive reasonable consumers, including the
  20   Oklahoma Plaintiff and Oklahoma State Class members, about the true safety and
  21   reliability of Class Vehicles and/or the defective ACUs installed in them.
  22         2080. The ZF TRW and STMicro Defendants’ scheme and concealment of
  23   the ACU defect and true characteristics of the defective ACUs in the Class Vehicles
  24   were material to the Oklahoma Plaintiff and Oklahoma State Class members, as the
  25   ZF TRW and STMicro Defendants intended. Had they known the truth, the
  26   Oklahoma Plaintiff and Oklahoma State Class members would not have purchased
  27   or leased the Class Vehicles, or would have paid significantly less for them.
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   1         2081. The Oklahoma Plaintiff and Oklahoma State Class members had no
   2   way of learning the facts that the ZF TRW and STMicro Defendants had concealed
   3   or failed to disclose. The Oklahoma Plaintiff and Oklahoma State Class members
   4   did not, and could not, unravel the ZF TRW and STMicro Defendants’ deception
   5   on their own.
   6         2082. The ZF TRW and STMicro Defendants had an ongoing duty to the
   7   Oklahoma Plaintiff and Oklahoma State Class members to refrain from unfair and
   8   deceptive practices under the Oklahoma CPA in the course of their business.
   9   Specifically, the ZF TRW and STMicro Defendants owed the Oklahoma Plaintiff
  10   and Oklahoma State Class members a duty to disclose all the material facts
  11   concerning the ACU defect in the Class Vehicles because they possessed exclusive
  12   knowledge and they intentionally concealed the ACU defect from the Oklahoma
  13   Plaintiff and Oklahoma State Class members.
  14         2083. The Oklahoma Plaintiff and Oklahoma State Class members suffered
  15   ascertainable losses and actual damages as a direct and proximate result of the ZF
  16   TRW and STMicro Defendants’ concealment and/or failure to disclose material
  17   information.
  18         2084. The ZF TRW and STMicro Defendants’ violations present a
  19   continuing risk to the Oklahoma Plaintiff and Oklahoma State Class members, as
  20   well as to the general public. The ZF TRW and STMicro Defendants’ unlawful acts
  21   and practices complained of herein affect the public interest.
  22         2085. Pursuant to Okla. Stat. tit. 15, § 761.1, the Oklahoma Plaintiff and
  23   Oklahoma State Class members seek an order enjoining the ZF TRW and STMicro
  24   Defendants’ unfair or deceptive acts or practices and awarding damages and any
  25   other just and proper relief available under the Oklahoma CPA.
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   1         xxii. Pennsylvania
   2                 a.    Pennsylvania Count 1: Breach of Express Warranty (13 Pa.
                           Cons. Stat. §§ 2313 and 2A210) Against the Hyundai and
   3                       Kia Defendants
   4         2086. Plaintiffs reallege and incorporate by reference all preceding
   5   allegations as though fully set forth herein.
   6         2087. Plaintiff Larae Angel brings this count individually and on behalf of
   7   members of the Pennsylvania State Class who purchased or leased Hyundai Class
   8   Vehicles, against the Hyundai Defendants.
   9         2088. Plaintiff Richard Kintzel brings this count individually and on behalf
  10   of members of the Pennsylvania State Class who purchased or leased Kia Class
  11   Vehicles, against the Kia Defendants.
  12         2089. For purposes of this count, Plaintiffs Angel and Kintzel shall be
  13   referred to as the “Pennsylvania Plaintiffs.”
  14         2090. The Hyundai and Kia Defendants are and were at all relevant times
  15   “merchants” with respect to motor vehicles under 13 Pa. Cons. Stat. §§ 2104 and
  16   2A103(c), and “sellers” of motor vehicles under § 2103(a).
  17         2091. With respect to leases, the Hyundai and Kia Defendants are and were
  18   at all relevant times “lessors” of motor vehicles under 13 Pa. Cons. Stat.
  19   § 2A103(a).
  20         2092. All Pennsylvania State Class members who purchased Class Vehicles
  21   (for purposes of this count, “Class Vehicles” are limited to the Hyundai and Kia
  22   Class Vehicles) in Pennsylvania are “buyers” within the meaning of 13 Pa. Cons.
  23   Stat. § 2103(a).
  24         2093. All Pennsylvania State Class members who leased Class Vehicles in
  25   Pennsylvania are “lessees” within the meaning of 13 Pa. Cons. Stat. § 2A103(a).
  26         2094. The Class Vehicles are and were at all relevant times “goods” within
  27   the meaning of 13 Pa. Cons. Stat. §§ 2105(a) and 2A103(a).
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   1         2095. In connection with the purchase or lease of Class Vehicles, the
   2   Hyundai and Kia Defendants provided the Pennsylvania Plaintiffs and
   3   Pennsylvania State Class members with written express warranties covering the
   4   repair or replacement of components that are defective in materials or
   5   workmanship.
   6         2096. The Hyundai and Kia Defendants’ warranties formed the basis of the
   7   bargain that was reached when the Pennsylvania Plaintiffs and Pennsylvania State
   8   Class members unknowingly purchased or leased Class Vehicles that came
   9   equipped with a defective ACU.
  10         2097. However, the Hyundai and Kia Defendants knew or should have
  11   known that the warranties were false and/or misleading. Specifically, the Hyundai
  12   and Kia Defendants were aware of the ACU defect in the Class Vehicles, which
  13   made the vehicles inherently defective and dangerous at the time that they were
  14   sold and leased to the Pennsylvania Plaintiffs and Pennsylvania State Class
  15   members.
  16         2098. The Pennsylvania Plaintiffs and Pennsylvania State Class members
  17   reasonably relied on the Hyundai and Kia Defendants’ express warranties when
  18   purchasing or leasing their Class Vehicles.
  19         2099. The Hyundai and Kia Defendants knowingly breached their express
  20   warranties to repair defects in materials and workmanship by failing to repair the
  21   ACU defect or replace the defective ACUs in the Class Vehicles. The Hyundai and
  22   Kia Defendants also breached their express warranties by providing a product
  23   containing defects that were never disclosed to the Pennsylvania Plaintiffs and
  24   Pennsylvania State Class members.
  25         2100. The Pennsylvania Plaintiffs and Pennsylvania State Class members
  26   have provided the Hyundai and Kia Defendants with reasonable notice and
  27   opportunity to cure the breaches of their express warranties by way of the numerous
  28   NHTSA complaints filed against them, and individual notice letters sent by the

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   1   Pennsylvania State Class members within a reasonable amount of time after the
   2   ACU defect became public. Additionally, a notice letter was sent on behalf of the
   3   Pennsylvania Plaintiffs and Pennsylvania State Class members to FCA US LLC,
   4   Honda Defendants, Hyundai Defendants, Kia Defendants, Mitsubishi Motors North
   5   America, Inc., Toyota Defendants, Hyundai MOBIS Co. Ltd., and ZF TRW
   6   Defendants on April 24, 2020.
   7             2101. Alternatively, any opportunity to cure the breach is unnecessary and
   8   futile.
   9             2102. As a direct and proximate result of the Hyundai and Kia Defendants’
  10   breach of their express warranties, the Pennsylvania Plaintiffs and Pennsylvania
  11   State Class members have been damaged in an amount to be proven at trial.
  12                   b.     Pennsylvania Count 2: Breach of Implied Warranty of
  13                          Merchantability (13 Pa. Cons. Stat. §§ 2314 and 2A212)
                              Against the Hyundai and Kia Defendants
  14             2103. Plaintiffs reallege and incorporate by reference all preceding
  15   allegations as though fully set forth herein.
  16             2104. Plaintiff Larae Angel brings this count individually and on behalf of
  17   members of the Pennsylvania State Class who purchased or leased Hyundai Class
  18   Vehicles, against the Hyundai Defendants.
  19             2105. Plaintiff Richard Kintzel brings this count individually and on behalf
  20   of members of the Pennsylvania State Class who purchased or leased Kia Class
  21   Vehicles, against the Kia Defendants.
  22             2106. For purposes of this count, Plaintiffs Angel and Kintzel shall be
  23   referred to as the “Pennsylvania Plaintiffs.”
  24             2107. A warranty that the Class Vehicles (for purposes of this count, “Class
  25   Vehicles” are limited to the Hyundai and Kia Class Vehicles) were in merchantable
  26   condition and fit for the ordinary purpose for which such goods are used is implied
  27   by law pursuant to 13 Pa. Cons. Stat. §§ 2314 and 2A212.
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   1         2108. The Class Vehicles did not comply with the implied warranty of
   2   merchantability because, at the time of sale and at all times thereafter, they were
   3   defective and not in merchantable condition, would not pass without objection in
   4   the trade, and were not fit for the ordinary purpose for which vehicles were used.
   5   Specifically, the Class Vehicles suffer from the ACU defect, which causes the
   6   airbags and seatbelt pretensioners to fail to deploy during an accident, rendering the
   7   Class Vehicles inherently defective and dangerous.
   8         2109. The Hyundai and Kia Defendants are and were at all relevant times
   9   “merchants” with respect to motor vehicles under 13 Pa. Cons. Stat. §§ 2104 and
  10   2A103(c), and “sellers” of motor vehicles under § 2103(a).
  11         2110. With respect to leases, the Hyundai and Kia Defendants are and were
  12   at all relevant times “lessors” of motor vehicles under 13 Pa. Cons. Stat.
  13   § 2A103(a).
  14         2111. All Pennsylvania State Class members who purchased Class Vehicles
  15   in Pennsylvania are “buyers” within the meaning of 13 Pa. Cons. Stat. § 2103(a).
  16         2112. All Pennsylvania State Class members who leased Class Vehicles in
  17   Pennsylvania are “lessees” within the meaning of 13 Pa. Cons. Stat. § 2A103(a).
  18         2113. The Class Vehicles are and were at all relevant times “goods” within
  19   the meaning of 13 Pa. Cons. Stat. §§ 2105(a) and 2A103(a).
  20         2114. The Pennsylvania Plaintiffs and Pennsylvania State Class members
  21   have provided the Hyundai and Kia Defendants with reasonable notice and
  22   opportunity to cure the breaches of their implied warranties by way of the numerous
  23   NHTSA complaints filed against them, and individual notice letters sent by the
  24   Pennsylvania State Class members within a reasonable amount of time after the
  25   ACU defect became public. Additionally, a notice letter was sent on behalf of the
  26   Pennsylvania Plaintiffs and Pennsylvania State Class members to FCA US LLC,
  27   Honda Defendants, Hyundai Defendants, Kia Defendants, Mitsubishi Motors North
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   1   America, Inc., Toyota Defendants, Hyundai MOBIS Co. Ltd., and ZF TRW
   2   Defendants on April 24, 2020.
   3             2115. Alternatively, any opportunity to cure the breach is unnecessary and
   4   futile.
   5             2116. As a direct and proximate result of the Hyundai and Kia Defendants’
   6   breach of the implied warranty of merchantability, the Pennsylvania Plaintiffs and
   7   Pennsylvania State Class members have been damaged in an amount to be proven
   8   at trial.
   9                   c.     Pennsylvania Count 3: Violation of the Pennsylvania Unfair
  10                          Trade Practices and Consumer Protection Law (73 Pa.
                              Cons. Stat. §§ 201-1, et seq.) Against the Hyundai and Kia
  11                          Defendants and Hyundai MOBIS
  12             2117. Plaintiffs reallege and incorporate by reference all preceding
  13   allegations as though fully set forth herein.
  14             2118. Plaintiff Larae Angel brings this count individually and on behalf of
  15   members of the Pennsylvania State Class who purchased or leased Hyundai Class
  16   Vehicles, against the Hyundai Defendants and Hyundai MOBIS.
  17             2119. Plaintiff Richard Kintzel brings this count individually and on behalf
  18   of members of the Pennsylvania State Class who purchased or leased Kia Class
  19   Vehicles, against the Kia Defendants and Hyundai MOBIS.
  20             2120. For purposes of this count, Plaintiffs Angel and Kintzel shall be
  21   referred to as the “Pennsylvania Plaintiffs.”
  22             2121. The Hyundai Defendants, the Kia Defendants, Hyundai MOBIS, the
  23   Pennsylvania Plaintiffs, and Pennsylvania State Class members are “persons”
  24   within the meaning of 73 Pa. Cons. Stat. § 201-2(2).
  25             2122. The Pennsylvania Plaintiffs and Pennsylvania State Class Members
  26   purchased the Class Vehicles (for purposes of this count, “Class Vehicles” are
  27   limited to the Hyundai and Kia Class Vehicles) and the ACUs installed in them
  28

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   1   primarily for personal, family, or household purposes within the meaning of 73 Pa.
   2   Cons. Stat. § 201-9.2(a).
   3         2123. The Hyundai Defendants, the Kia Defendants and Hyundai MOBIS
   4   were and are engaged in “trade” or “commerce” within the meaning of 73 Pa. Cons.
   5   Stat. § 201-2(3).
   6         2124. The Pennsylvania Unfair Trade Practices and Consumer Protection
   7   Law (“Pennsylvania CPL”) prohibits “unfair or deceptive acts or practices in the
   8   conduct of any trade or commerce[.]” 73 Pa. Cons. Stat. § 201-3.
   9         2125. In the course of their business, the Hyundai and Kia Defendants and
  10   Hyundai MOBIS, through their agents, employees, and/or subsidiaries, violated the
  11   Pennsylvania CPA by knowingly and intentionally misrepresenting, omitting,
  12   concealing, and/or failing to disclose material facts regarding the reliability, safety,
  13   and performance of the Class Vehicles or the defective ACUs, as detailed above.
  14         2126. Specifically, by misrepresenting the Class Vehicles and/or the
  15   defective ACUs installed in them as safe and/or free from defects, and by failing to
  16   disclose and actively concealing the dangers and risk posed by the Class Vehicles
  17   and/or the ACU defect, the Hyundai and Kia Defendants and Hyundai MOBIS
  18   engaged in one or more of the following unfair or deceptive business practices
  19   prohibited by 73 Pa. Cons. Stat. § 201-2(3):
  20                a.     Representing that the Class Vehicles and/or the defective ACUs
  21                       installed in them have characteristics, uses, benefits, and
  22                       qualities which they do not have.
  23                b.     Representing that the Class Vehicles and/or the defective ACUs
  24                       installed in them are of a particular standard, quality, and grade
  25                       when they are not.
  26                c.     Advertising the Class Vehicles and/or the defective ACUs
  27                       installed in them with the intent not to sell or lease them as
  28                       advertised.

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   1                d.    Engaging in any other fraudulent or deceptive conduct which
   2                      creates a likelihood of confusion or of misunderstanding.
   3         73 Pa. Cons. Stat. § 201-2(4)(v), (vii), (ix) and (xxi).
   4         2127. The Hyundai and Kia Defendants and Hyundai MOBIS’s unfair or
   5   deceptive acts or practices, including misrepresentations, concealments, omissions,
   6   and/or suppressions of material facts, had a tendency or capacity to mislead and
   7   create a false impression in consumers, and were likely to and did in fact deceive
   8   reasonable consumers, including the Pennsylvania Plaintiffs and Pennsylvania State
   9   Class members, about the true safety and reliability of Class Vehicles and/or the
  10   defective ACUs installed in them, the quality of the Class Vehicles, and the true
  11   value of the Class Vehicles.
  12         2128. The Hyundai and Kia Defendants and Hyundai MOBIS’s scheme and
  13   concealment of the ACU defect and true characteristics of the Occupant Restraint
  14   Systems in the Class Vehicles were material to the Pennsylvania Plaintiffs and
  15   Pennsylvania State Class members, as the Hyundai and Kia Defendants and
  16   Hyundai MOBIS intended. Had they known the truth, the Pennsylvania Plaintiffs
  17   and Pennsylvania State Class members would not have purchased or leased the
  18   Class Vehicles, or would have paid significantly less for them.
  19         2129. The Pennsylvania Plaintiffs and Pennsylvania State Class members
  20   had no way of discerning that the Hyundai and Kia Defendants’ representations
  21   were false and misleading and/or otherwise learning the facts that the Hyundai and
  22   Kia Defendants and Hyundai MOBIS had concealed or failed to disclose. The
  23   Pennsylvania Plaintiffs and Pennsylvania State Class members did not, and could
  24   not, unravel the Hyundai and Kia Defendants and Hyundai MOBIS’s deception on
  25   their own.
  26         2130. The Hyundai and Kia Defendants and Hyundai MOBIS had an
  27   ongoing duty to the Pennsylvania Plaintiffs and Pennsylvania State Class members
  28   to refrain from unfair and deceptive practices under the Pennsylvania CPL in the

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   1   course of their business. Specifically, the Hyundai and Kia Defendants and Hyundai
   2   MOBIS owed the Pennsylvania Plaintiffs and Pennsylvania State Class members a
   3   duty to disclose all the material facts concerning the ACU defect in the Class
   4   Vehicles because they possessed exclusive knowledge, they intentionally concealed
   5   the ACU defect from the Pennsylvania Plaintiffs and Pennsylvania State Class
   6   members, and/or they made misrepresentations that were rendered misleading
   7   because they were contradicted by withheld facts.
   8         2131. The Pennsylvania Plaintiffs and Pennsylvania State Class members
   9   suffered ascertainable losses and actual damages as a direct and proximate result of
  10   the Hyundai and Kia Defendants and Hyundai MOBIS’s concealment,
  11   misrepresentations, and/or failure to disclose material information.
  12         2132. The Hyundai and Kia Defendants and Hyundai MOBIS’s violations
  13   present a continuing risk to the Pennsylvania Plaintiffs and Pennsylvania State
  14   Class members, as well as to the general public. The Hyundai and Kia Defendants
  15   and Hyundai MOBIS’s unlawful acts and practices complained of herein affect the
  16   public interest.
  17         2133. Pursuant to 73 Pa. Cons. Stat. § 201-9.2(a), the Pennsylvania Plaintiffs
  18   and Pennsylvania State Class members seek an order enjoining the Hyundai and
  19   Kia Defendants and Hyundai MOBIS’s unfair or deceptive acts or practices and
  20   awarding damages and any other just and proper relief available under the
  21   Pennsylvania CPA.
  22                d.     Pennsylvania Count 4: Violation of the Pennsylvania Unfair
  23                       Trade Practices and Consumer Protection Law (73 Pa.
                           Cons. Stat. §§ 201-1, et seq.) Against the ZF TRW and
  24                       STMicro Defendants
  25         2134. Plaintiffs reallege and incorporate by reference all preceding
  26   allegations as though fully set forth herein.
  27
  28

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   1         2135. Plaintiffs Larae Angel and Richard Kintzel bring this count
   2   individually and on behalf of members of the Pennsylvania State Class against the
   3   ZF TRW and STMicro Defendants.
   4         2136. For purposes of this count, Plaintiffs Angel and Kintzel shall be
   5   referred to as the “Pennsylvania Plaintiffs.”
   6         2137. The ZF TRW Defendants, the STMicro Defendants, the Pennsylvania
   7   Plaintiffs, and Pennsylvania State Class members are “persons” within the meaning
   8   of 73 Pa. Cons. Stat. § 201-2(2).
   9         2138. The Pennsylvania Plaintiffs and Pennsylvania State Class Members
  10   purchased the Class Vehicles and the ACUs installed in them primarily for
  11   personal, family, or household purposes within the meaning of 73 Pa. Cons. Stat.
  12   § 201-9.2(a).
  13         2139. The ZF TRW and STMicro Defendants were and are engaged in
  14   “trade” or “commerce” within the meaning of 73 Pa. Cons. Stat. § 201-2(3).
  15         2140. The Pennsylvania Unfair Trade Practices and Consumer Protection
  16   Law (“Pennsylvania CPL”) prohibits “unfair or deceptive acts or practices in the
  17   conduct of any trade or commerce[.]” 73 Pa. Cons. Stat. § 201-3.
  18         2141. In the course of their business the ZF TRW and STMicro Defendants,
  19   through their agents, employees, and/or subsidiaries, violated the Pennsylvania
  20   CPA by knowingly and intentionally omitting, concealing, and failing to disclose
  21   material facts regarding the existence, nature, and scope of the defect with ZF TRW
  22   ACUs installed in the Class Vehicles, as detailed above.
  23         2142. Specifically, by failing to disclose and actively concealing the dangers
  24   and risk posed by the Class Vehicles due to the ACU defect, the ZF TRW and
  25   STMicro Defendants engaged in unfair methods of competition and unfair or
  26   deceptive acts or practices in the conduct of any trade or commerce prohibited by
  27   73 Pa. Cons. Stat. § 201-3, including engaging in any fraudulent or deceptive
  28   conduct which creates a likelihood of confusion or of misunderstanding.

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   1           2143. The ZF TRW and STMicro Defendants’ unfair or deceptive acts or
   2   practices, including concealments, omissions, and suppressions of material facts,
   3   had a tendency or capacity to mislead and create a false impression in consumers,
   4   and were likely to and did in fact deceive reasonable consumers, including the
   5   Pennsylvania Plaintiffs and Pennsylvania State Class members, about the true
   6   safety and reliability of Class Vehicles and/or the defective ACUs installed in them.
   7           2144. The ZF TRW and STMicro Defendants’ scheme and concealment of
   8   the ACU defect and true characteristics of the defective ACUs in the Class Vehicles
   9   were material to the Pennsylvania Plaintiffs and Pennsylvania State Class members,
  10   as the ZF TRW and STMicro Defendants intended. Had they known the truth, the
  11   Pennsylvania Plaintiffs and Pennsylvania State Class members would not have
  12   purchased or leased the Class Vehicles, or would have paid significantly less for
  13   them.
  14           2145. The Pennsylvania Plaintiffs and Pennsylvania State Class members
  15   had no way of learning the facts that the ZF TRW and STMicro Defendants had
  16   concealed or failed to disclose. The Pennsylvania Plaintiffs and Pennsylvania State
  17   Class members did not, and could not, unravel the ZF TRW and STMicro
  18   Defendants’ deception on their own.
  19           2146. The ZF TRW and STMicro Defendants had an ongoing duty to the
  20   Pennsylvania Plaintiffs and Pennsylvania State Class members to refrain from
  21   unfair and deceptive practices under the Pennsylvania CPL in the course of their
  22   business. Specifically, the ZF TRW and STMicro Defendants owed the
  23   Pennsylvania Plaintiffs and Pennsylvania State Class members a duty to disclose all
  24   the material facts concerning the ACU defect in the Class Vehicles because they
  25   possessed exclusive knowledge and they intentionally concealed the ACU defect
  26   from the Pennsylvania Plaintiffs and Pennsylvania State Class members.
  27           2147. The Pennsylvania Plaintiffs and Pennsylvania State Class members
  28   suffered ascertainable losses and actual damages as a direct and proximate result of

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   1   the ZF TRW and STMicro Defendants’ concealment and/or failure to disclose
   2   material information.
   3         2148. The ZF TRW and STMicro Defendants’ violations present a
   4   continuing risk to the Pennsylvania Plaintiffs and Pennsylvania State Class
   5   members, as well as to the general public. The ZF TRW and STMicro Defendants’
   6   unlawful acts and practices complained of herein affect the public interest.
   7         2149. Pursuant to 73 Pa. Cons. Stat. § 201-9.2(a), the Pennsylvania Plaintiffs
   8   and Pennsylvania State Class members seek an order enjoining the ZF TRW and
   9   STMicro Defendants’ unfair or deceptive acts or practices and awarding damages
  10   and any other just and proper relief available under the Pennsylvania CPA.
  11         xxiii. South Carolina
  12                a.     South Carolina Count 1: Breach of Express Warranty (S.C.
  13                       Code Ann. §§ 36-2-313 and 36-2A-210) Against the Toyota
                           Defendants
  14
             2150. Plaintiffs reallege and incorporate by reference all preceding
  15
       allegations as though fully set forth herein.
  16
             2151. Plaintiff Michael Hines (hereinafter, “South Carolina Plaintiff”) brings
  17
       this count individually and on behalf of members of the South Carolina State Class
  18
       who purchased Toyota Class Vehicles, against the Toyota Defendants.
  19
             2152. The Toyota Defendants are and were at all relevant times “merchants”
  20
       with respect to motor vehicles under S.C. Code Ann. §§ 36-2-104(1) and 36-2A-
  21
       103(3), and “sellers” of motor vehicles under § 36-2-103(1)(d).
  22
             2153. With respect to leases, the Toyota Defendants are and were at all
  23
       relevant times “lessors” of motor vehicles under S.C. Code Ann. § 36-2A-
  24
       103(1)(p).
  25
             2154. All South Carolina State Class members who purchased Toyota Class
  26
       Vehicles in South Carolina are “buyers” within the meaning of S.C. Code Ann.
  27
       § 36-2-103(1)(a).
  28

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   1         2155. All South Carolina State Class members who leased Toyota Class
   2   Vehicles in South Carolina are “lessees” within the meaning of S.C. Code Ann.
   3   § 36-2A-103(1)(n).
   4         2156. The Toyota Class Vehicles are and were at all relevant times “goods”
   5   within the meaning of S.C. Code Ann. §§ 36-2-105(1) and 36-2A-103(1)(h).
   6         2157. In connection with the purchase or lease of Toyota Class Vehicles, the
   7   Toyota Defendants provided the South Carolina Plaintiff and South Carolina State
   8   Class members with written express warranties covering the repair or replacement
   9   of components that are defective in materials or workmanship.
  10         2158. The Toyota Defendants’ warranties formed the basis of the bargain
  11   that was reached when the South Carolina Plaintiff and South Carolina State Class
  12   members unknowingly purchased or leased Toyota Class Vehicles that came
  13   equipped with a defective ACU.
  14         2159. However, the Toyota Defendants knew or should have known that the
  15   warranties were false and/or misleading. Specifically, the Toyota Defendants were
  16   aware of the ACU defect in the Toyota Class Vehicles, which made the vehicles
  17   inherently defective and dangerous at the time that they were sold and leased to the
  18   South Carolina Plaintiff and South Carolina State Class members.
  19         2160. The South Carolina Plaintiff and South Carolina State Class members
  20   reasonably relied on the Toyota Defendants’ express warranties when purchasing or
  21   leasing their Toyota Class Vehicles.
  22         2161. The Toyota Defendants knowingly breached their express warranties
  23   to repair defects in materials and workmanship by failing to repair the ACU defect
  24   or replace the defective ACUs in the Toyota Class Vehicles. The Toyota
  25   Defendants also breached their express warranties by providing a product
  26   containing defects that were never disclosed to the South Carolina Plaintiff and
  27   South Carolina State Class members.
  28

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   1             2162. The South Carolina Plaintiff and South Carolina State Class members
   2   have provided the Toyota Defendants with reasonable notice and opportunity to
   3   cure the breaches of their express warranties by way of the numerous NHTSA
   4   complaints filed against them, and individual notice letters sent by the South
   5   Carolina State Class members within a reasonable amount of time after the ACU
   6   defect became public. Additionally, a notice letter was sent on behalf of the South
   7   Carolina Plaintiff and South Carolina State Class members to FCA US LLC, Honda
   8   Defendants, Hyundai Defendants, Kia Defendants, Mitsubishi Motors North
   9   America, Inc., Toyota Defendants, Hyundai MOBIS Co. Ltd., and ZF TRW
  10   Defendants on April 24, 2020.
  11             2163. Alternatively, any opportunity to cure the breach is unnecessary and
  12   futile.
  13             2164. As a direct and proximate result of the Toyota Defendants’ breach of
  14   their express warranties, the South Carolina Plaintiff and South Carolina State Class
  15   members have been damaged in an amount to be proven at trial.
  16                   b.     South Carolina Count 2: Breach of Implied Warranty of
  17                          Merchantability (S.C. Code Ann. §§ 36-2-314 and 36-2A-
                              212) Against the Toyota Defendants
  18             2165. Plaintiffs reallege and incorporate by reference all preceding
  19   allegations as though fully set forth herein.
  20             2166. The South Carolina Plaintiff brings this count individually and on
  21   behalf of members of the South Carolina State Class who purchased Toyota Class
  22   Vehicles, against the Toyota Defendants.
  23             2167. A warranty that the Toyota Class Vehicles were in merchantable
  24   condition and fit for the ordinary purpose for which such goods are used is implied
  25   by law pursuant to S.C. Code Ann. §§ 36-2-314 and 36-2A-212.
  26             2168. The Toyota Class Vehicles did not comply with the implied warranty
  27   of merchantability because, at the time of sale and at all times thereafter, they were
  28   defective and not in merchantable condition, would not pass without objection in
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   1   the trade, and were not fit for the ordinary purpose for which vehicles were used.
   2   Specifically, the Toyota Class Vehicles suffer from the ACU defect, which causes
   3   the airbags and seatbelt pretensioners to fail to deploy during an accident, rendering
   4   the Toyota Class Vehicles inherently defective and dangerous.
   5         2169. The Toyota Defendants are and were at all relevant times “merchants”
   6   with respect to motor vehicles under S.C. Code Ann. §§ 36-2-104(1) and 36-2A-
   7   103(3), and “sellers” of motor vehicles under § 36-2-103(1)(d).
   8         2170. With respect to leases, the Toyota Defendants are and were at all
   9   relevant times “lessors” of motor vehicles under S.C. Code Ann. § 36-2A-
  10   103(1)(p).
  11         2171. All South Carolina State Class members who purchased Toyota Class
  12   Vehicles in South Carolina are “buyers” within the meaning of S.C. Code Ann.
  13   § 36-2-103(1)(a).
  14         2172. All South Carolina State Class members who leased Toyota Class
  15   Vehicles in South Carolina are “lessees” within the meaning of S.C. Code Ann.
  16   § 36-2A-103(1)(n).
  17         2173. The Toyota Class Vehicles are and were at all relevant times “goods”
  18   within the meaning of S.C. Code Ann. §§ 36-2-105(1) and 36-2A-103(1)(h).
  19         2174. The South Carolina Plaintiff and South Carolina State Class members
  20   have provided the Toyota Defendants with reasonable notice and opportunity to
  21   cure the breaches of their implied warranties by way of the numerous NHTSA
  22   complaints filed against them, and individual notice letters sent by the South
  23   Carolina State Class members within a reasonable amount of time after the ACU
  24   defect became public. Additionally, a notice letter was sent on behalf of the South
  25   Carolina Plaintiff and South Carolina State Class members to FCA US LLC, Honda
  26   Defendants, Hyundai Defendants, Kia Defendants, Mitsubishi Motors North
  27   America, Inc., Toyota Defendants, Hyundai MOBIS Co. Ltd., and ZF TRW
  28   Defendants on April 24, 2020.

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   1             2175. Alternatively, any opportunity to cure the breach is unnecessary and
   2   futile.
   3             2176. As a direct and proximate result of the Toyota Defendants’ breach of
   4   the implied warranty of merchantability, the South Carolina Plaintiff and South
   5   Carolina State Class members have been damaged in an amount to be proven at
   6   trial.
   7                   c.     South Carolina Count 3: Violation of the South Carolina
   8                          Unfair Trade Practices Act (S.C. Code Ann. § 39-5-10, et
                              seq.) Against the Toyota Defendants
   9             2177. Plaintiffs reallege and incorporate by reference all preceding
  10   allegations as though fully set forth herein.
  11             2178. The South Carolina Plaintiff brings this count individually and on
  12   behalf of members of the South Carolina State Class who purchased Toyota Class
  13   Vehicles, against the Toyota Defendants.
  14             2179. The Toyota Defendants, the South Carolina Plaintiff, and the South
  15   Carolina State Class members are “persons” within the meaning of S.C. Code Ann.
  16   § 39-5-10(a).
  17             2180. The Toyota Defendants were and are engaged in “trade” or
  18   “commerce” within the meaning of S.C. Code Ann. § 39-5-10(b).
  19             2181. The South Carolina Unfair Trade Practices Act (“South Carolina
  20   UTPA”) prohibits “unfair or deceptive acts or practices in the conduct of any trade
  21   or commerce[.]” S.C. Code Ann. § 39-5-20(a).
  22             2182. In the course of their business, the Toyota Defendants, through their
  23   agents, employees, and/or subsidiaries, violated the South Carolina UTPA by
  24   knowingly and intentionally misrepresenting, omitting, concealing, and/or failing to
  25   disclose material facts regarding the reliability, safety, and performance of the
  26   Toyota Class Vehicles or the defective ACUs, as detailed above.
  27             2183. Specifically, by misrepresenting the Toyota Class Vehicles and/or the
  28   defective ACUs installed in them as safe and/or free from defects, and by failing to
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   1   disclose and actively concealing the dangers and risk posed by the Toyota Class
   2   Vehicles and/or the ACU defect, the Toyota Defendants engaged in one or more
   3   unfair or deceptive business practices prohibited by S.C. Code Ann. § 39-5-20(a).
   4         2184. The Toyota Defendants’ unfair or deceptive acts or practices,
   5   including misrepresentations, concealments, omissions, and suppressions of
   6   material facts, had a tendency or capacity to mislead and create a false impression
   7   in consumers, and were likely to and did in fact deceive reasonable consumers,
   8   including the South Carolina Plaintiff and South Carolina State Class members,
   9   about the true safety and reliability of Toyota Class Vehicles and/or the defective
  10   ACUs installed in them, the quality of the Toyota Class Vehicles, and the true value
  11   of the Toyota Class Vehicles.
  12         2185. The Toyota Defendants’ scheme and concealment of the ACU defect
  13   and true characteristics of the Occupant Restraint Systems in the Toyota Class
  14   Vehicles were material to the South Carolina Plaintiff and South Carolina State
  15   Class members, as the Toyota Defendants intended. Had they known the truth, the
  16   South Carolina Plaintiff and South Carolina State Class members would not have
  17   purchased or leased the Toyota Class Vehicles, or would have paid significantly
  18   less for them.
  19         2186. The South Carolina Plaintiff and South Carolina State Class members
  20   had no way of discerning that the Toyota Defendants’ representations were false
  21   and misleading and/or otherwise learning the facts that the Toyota Defendants had
  22   concealed or failed to disclose. The South Carolina Plaintiff and South Carolina
  23   State Class members did not, and could not, unravel the Toyota Defendants’
  24   deception on their own.
  25         2187. The Toyota Defendants had an ongoing duty to the South Carolina
  26   Plaintiff and South Carolina State Class members to refrain from unfair and
  27   deceptive practices under the South Carolina UTPA in the course of their business.
  28   Specifically, the Toyota Defendants owed the South Carolina Plaintiff and South

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   1   Carolina State Class members a duty to disclose all the material facts concerning
   2   the ACU defect in the Toyota Class Vehicles because they possessed exclusive
   3   knowledge, they intentionally concealed the ACU defect from the South Carolina
   4   Plaintiff and South Carolina State Class members, and/or they made
   5   misrepresentations that were rendered misleading because they were contradicted
   6   by withheld facts.
   7         2188. The South Carolina Plaintiff and South Carolina State Class members
   8   suffered ascertainable losses and actual damages as a direct and proximate result of
   9   the Toyota Defendants’ concealment, misrepresentations, and/or failure to disclose
  10   material information.
  11         2189. The Toyota Defendants’ violations present a continuing risk to the
  12   South Carolina Plaintiff and South Carolina State Class members, as well as to the
  13   general public. The Toyota Defendants’ unlawful acts and practices complained of
  14   herein affect the public interest.
  15         2190. Pursuant to S.C. Code Ann. § 39-5-140(a), the South Carolina Plaintiff
  16   and South Carolina State Class members seek an order enjoining the Toyota
  17   Defendants’ unfair or deceptive acts or practices and awarding damages and any
  18   other just and proper relief available under the South Carolina UTPA.
  19                d.      South Carolina Count 4: Violation of the South Carolina
  20                        Unfair Trade Practices Act (S.C. Code Ann. § 39-5-10, et
                            seq.) Against the ZF TRW and STMicro Defendants
  21         2191. Plaintiffs reallege and incorporate by reference all preceding
  22   allegations as though fully set forth herein.
  23         2192. The South Carolina Plaintiff brings this count individually and on
  24   behalf of members of the South Carolina State Class against the ZF TRW and
  25   STMicro Defendants.
  26         2193. The ZF TRW Defendants, the STMicro Defendants, the South
  27   Carolina Plaintiff, and South Carolina State Class members are “persons” within
  28   the meaning of S.C. Code Ann. § 39-5-10(a).
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   1         2194. The ZF TRW and STMicro Defendants were and are engaged in
   2   “trade” or “commerce” within the meaning of S.C. Code Ann. § 39-5-10(b).
   3         2195. The South Carolina Unfair Trade Practices Act (“South Carolina
   4   UTPA”) prohibits “unfair or deceptive acts or practices in the conduct of any trade
   5   or commerce[.]” S.C. Code Ann. § 39-5-20(a).
   6         2196. In the course of their business the ZF TRW and STMicro Defendants,
   7   through their agents, employees, and/or subsidiaries, violated the South Carolina
   8   UTPA by knowingly and intentionally omitting, concealing, and failing to disclose
   9   material facts regarding the existence, nature, and scope of the defect with ZF TRW
  10   ACUs installed in the Class Vehicles, as detailed above.
  11         2197. Specifically, by failing to disclose and actively concealing the dangers
  12   and risk posed by the Class Vehicles due to the ACU defect, the ZF TRW and
  13   STMicro Defendants engaged unfair methods of competition and unfair or
  14   deceptive acts or practices in the conduct of any trade or commerce prohibited by
  15   S.C. Code Ann. § 39-5-20(a).
  16         2198. The ZF TRW and STMicro Defendants’ unfair or deceptive acts or
  17   practices, including concealments, omissions, and suppressions of material facts,
  18   had a tendency or capacity to mislead and create a false impression in consumers,
  19   and were likely to and did in fact deceive reasonable consumers, including the
  20   South Carolina Plaintiff and South Carolina State Class members, about the true
  21   safety and reliability of Class Vehicles and/or the defective ACUs installed in them.
  22         2199. The ZF TRW and STMicro Defendants’ scheme and concealment of
  23   the ACU defect and true characteristics of the defective ACUs in the Class Vehicles
  24   were material to the South Carolina Plaintiff and South Carolina State Class
  25   members, as the ZF TRW and STMicro Defendants intended. Had they known the
  26   truth, the South Carolina Plaintiff and South Carolina State Class members would
  27   not have purchased or leased the Class Vehicles, or would have paid significantly
  28   less for them.

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   1         2200. The South Carolina Plaintiff and South Carolina State Class members
   2   had no way of learning the facts that the ZF TRW and STMicro Defendants had
   3   concealed or failed to disclose. The South Carolina Plaintiff and South Carolina
   4   State Class members did not, and could not, unravel the ZF TRW and STMicro
   5   Defendants’ deception on their own.
   6         2201. The ZF TRW and STMicro Defendants had an ongoing duty to the
   7   South Carolina Plaintiff and South Carolina State Class members to refrain from
   8   unfair and deceptive practices under the South Carolina UTPA in the course of their
   9   business. Specifically, the ZF TRW and STMicro Defendants owed the South
  10   Carolina Plaintiff and South Carolina State Class members a duty to disclose all the
  11   material facts concerning the ACU defect in the Class Vehicles because they
  12   possessed exclusive knowledge and they intentionally concealed the ACU defect
  13   from the South Carolina Plaintiff and South Carolina State Class members.
  14         2202. The South Carolina Plaintiff and South Carolina State Class members
  15   suffered ascertainable losses and actual damages as a direct and proximate result of
  16   the ZF TRW and STMicro Defendants’ concealment and/or failure to disclose
  17   material information.
  18         2203. The ZF TRW and STMicro Defendants’ violations present a
  19   continuing risk to the South Carolina Plaintiff and South Carolina State Class
  20   members, as well as to the general public. The ZF TRW and STMicro Defendants’
  21   unlawful acts and practices complained of herein affect the public interest.
  22         2204. Pursuant to S.C. Code Ann. § 39-5-140(a), the South Carolina Plaintiff
  23   and South Carolina State Class members seek an order enjoining the ZF TRW and
  24   STMicro Defendants’ unfair or deceptive acts or practices and awarding damages
  25   and any other just and proper relief available under the South Carolina UTPA.
  26
  27
  28

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   1                e.     South Carolina Count 5: Violation of South Carolina
                           Regulation of Manufacturers, Distributors, and Dealers Act
   2                       (S.C. Code Ann. § 56-15-10, et seq.) Against the Toyota
   3                       Defendants
             2205. Plaintiffs reallege and incorporate by reference all preceding
   4
       allegations as though fully set forth herein.
   5
             2206. The South Carolina Plaintiff brings this count individually and on
   6
       behalf of members of the South Carolina State Class who purchased Toyota Class
   7
       Vehicles, against the Toyota Defendants.
   8
             2207. Pursuant to S.C. Code Ann. § 56-15-110(2), this action “is one of
   9
       common or general interest to many persons and the parties are too numerous to
  10
       bring them all before the court[.]”
  11
             2208. The Toyota Defendants are “manufacturers” within the meaning of
  12
       S.C. Code Ann. § 56-15-10(b). The Toyota Defendants are also “distributors”
  13
       and/or “wholesalers” within the meaning of S.C. Code Ann. § 56-15-10(g), (p).
  14
             2209. The South Carolina Regulation of Manufacturers, Distributors, and
  15
       Dealers Act (“Manufacturers Act”) prohibits “unfair or deceptive acts or practices”
  16
       as defined in S.C. Code Ann. § 56-15-40.
  17
             2210. Accordingly, the Manufacturers Act prohibits any manufacturer from
  18
       engaging in bad faith and unconscionable actions that cause damages to the parties
  19
       or the public; it also prohibits manufacturers from using false or misleading
  20
       advertising in connection with their business. S.C. Code Ann. § 56-15-40(1), (3)(d).
  21
             2211. In the course of their business, the Toyota Defendants, through their
  22
       agents, employees, and/or subsidiaries, violated the Manufacturers Act by
  23
       committing bad faith and unconscionable actions including, but not limited to:
  24
       knowingly and intentionally misrepresenting, omitting, concealing, and/or failing to
  25
       disclose material facts regarding the reliability, safety, and performance of the
  26
       Toyota Class Vehicles and/or the defective ACUs, as detailed above.
  27
  28

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   1         2212. Specifically, by misrepresenting the Toyota Class Vehicles and/or the
   2   defective ACUs installed in them as safe and/or free from defects, and by failing to
   3   disclose and actively concealing the dangers and risk posed by the Toyota Class
   4   Vehicles and/or the ACU defect, the Toyota Defendants engaged in one or more
   5   unfair or deceptive business practices prohibited by the Manufacturers Act.
   6         2213. The Toyota Defendants’ unfair or deceptive acts or practices,
   7   including misrepresentations, concealments, omissions, and suppressions of
   8   material facts, had a tendency or capacity to mislead and create a false impression
   9   in consumers, and were likely to and did in fact deceive reasonable consumers,
  10   including the South Carolina Plaintiff and South Carolina State Class members,
  11   about the true safety and reliability of Toyota Class Vehicles and/or the defective
  12   ACUs installed in them, the quality of the Toyota Class Vehicles, and the true value
  13   of the Toyota Class Vehicles.
  14         2214. The Toyota Defendants’ scheme and concealment of the ACU defect
  15   and true characteristics of the Occupant Restraint Systems in the Toyota Class
  16   Vehicles were material to the South Carolina Plaintiff and South Carolina State
  17   Class members, as the Toyota Defendants intended. Had they known the truth, the
  18   South Carolina Plaintiff and South Carolina State Class members would not have
  19   purchased or leased the Toyota Class Vehicles, or would have paid significantly
  20   less for them.
  21         2215. The South Carolina Plaintiff and South Carolina State Class members
  22   had no way of discerning that the Toyota Defendants’ representations were false
  23   and misleading and/or otherwise learning the facts that the Toyota Defendants had
  24   concealed or failed to disclose. The South Carolina Plaintiff and South Carolina
  25   State Class members did not, and could not, unravel the Toyota Defendants’
  26   deception on their own.
  27         2216. The Toyota Defendants had an ongoing duty to the South Carolina
  28   Plaintiff and South Carolina State Class members to refrain from unfair and

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   1   deceptive practices under the Manufacturers Act in the course of their business.
   2   Specifically, the Toyota Defendants owed the South Carolina Plaintiff and South
   3   Carolina State Class members a duty to disclose all the material facts concerning
   4   the ACU defect in the Toyota Class Vehicles because they possessed exclusive
   5   knowledge, they intentionally concealed the ACU defect from the South Carolina
   6   Plaintiff and South Carolina State Class members, and/or they made
   7   misrepresentations that were rendered misleading because they were contradicted
   8   by withheld facts.
   9         2217. The South Carolina Plaintiff and South Carolina State Class members
  10   suffered ascertainable losses and actual damages as a direct and proximate result of
  11   the Toyota Defendants’ concealment, misrepresentations, and/or failure to disclose
  12   material information.
  13         2218. The Toyota Defendants’ violations present a continuing risk to the
  14   South Carolina Plaintiff and South Carolina State Class members, as well as to the
  15   general public. The Toyota Defendants’ unlawful acts and practices complained of
  16   herein affect the public interest.
  17         2219. Pursuant to S.C. Code Ann. § 56-15-110, the South Carolina Plaintiff
  18   and South Carolina State Class members seek an order enjoining the Toyota
  19   Defendants’ unfair or deceptive acts or practices and awarding damages and any
  20   other just and proper relief available under the Manufacturers Act.
  21                f.      South Carolina Count 6: Violation of South Carolina
  22                        Regulation of Manufacturers, Distributors, and Dealers Act
                            (S.C. Code Ann. § 56-15-10, et seq.) Against the ZF TRW
  23                        and STMicro Defendants
  24         2220. Plaintiffs reallege and incorporate by reference all preceding
  25   allegations as though fully set forth herein.
  26         2221. The South Carolina Plaintiff brings this count individually and on
  27   behalf of members of the South Carolina State Class against the ZF TRW and
  28   STMicro Defendants.

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   1         2222. Pursuant to S.C. Code Ann. § 56-15-110(2), this action “is one of
   2   common or general interest to many persons and the parties are too numerous to
   3   bring them all before the court[.]”
   4         2223. The ZF TRW and STMicro Defendants are “manufacturers” within the
   5   meaning of S.C. Code Ann. § 56-15-10(b). The ZF TRW and STMicro Defendants
   6   are also “distributors” and/or “wholesalers” within the meaning of S.C. Code Ann.
   7   § 56-15-10(g), (p).
   8         2224. The South Carolina Regulation of Manufacturers, Distributors, and
   9   Dealers Act (“Manufacturers Act”) prohibits “unfair or deceptive acts or practices”
  10   as defined in S.C. Code Ann. § 56-15-40.
  11         2225. Accordingly, the Manufacturers Act prohibits any manufacturer from
  12   engaging in bad faith and unconscionable actions that cause damages to the parties
  13   or the public; it also prohibits manufacturers from using false or misleading
  14   advertising in connection with their business. S.C. Code Ann. § 56-15-40(1), (3)(d).
  15         2226. In the course of their business the ZF TRW and STMicro Defendants,
  16   through their agents, employees, and/or subsidiaries, violated the Manufacturers
  17   Act by committing bad faith and unconscionable actions including, but not limited
  18   to: knowingly and intentionally omitting, concealing, and failing to disclose
  19   material facts regarding the existence, nature, and scope of the defect with ZF TRW
  20   ACUs installed in the Class Vehicles, as detailed above.
  21         2227. Specifically, by failing to disclose and actively concealing the dangers
  22   and risk posed by the Class Vehicles due to the ACU defect, the ZF TRW and
  23   STMicro Defendants engaged in unfair methods of competition and unfair or
  24   deceptive acts or practices in the conduct of any trade or commerce prohibited by
  25   S.C. Code Ann. § 56-15-40(A), including engaging in any actions which are
  26   arbitrary, in bad faith, and/or unconscionable.
  27         2228. The ZF TRW and STMicro Defendants’ unfair or deceptive acts or
  28   practices, including concealments, omissions, and suppressions of material facts,

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   1   had a tendency or capacity to mislead and create a false impression in consumers,
   2   and were likely to and did in fact deceive reasonable consumers, including the
   3   South Carolina Plaintiff and South Carolina State Class members, about the true
   4   safety and reliability of Class Vehicles and/or the defective ACUs installed in them.
   5         2229. The ZF TRW and STMicro Defendants’ scheme and concealment of
   6   the ACU defect and true characteristics of the defective ACUs in the Class Vehicles
   7   were material to the South Carolina Plaintiff and South Carolina State Class
   8   members, as the ZF TRW and STMicro Defendants intended. Had they known the
   9   truth, the South Carolina Plaintiff and South Carolina State Class members would
  10   not have purchased or leased the Class Vehicles, or would have paid significantly
  11   less for them.
  12         2230. The South Carolina Plaintiff and South Carolina State Class members
  13   had no way of learning the facts that the ZF TRW and STMicro Defendants had
  14   concealed or failed to disclose. The South Carolina Plaintiff and South Carolina
  15   State Class members did not, and could not, unravel the ZF TRW and STMicro
  16   Defendants’ deception on their own.
  17         2231. The ZF TRW and STMicro Defendants had an ongoing duty to the
  18   South Carolina Plaintiff and South Carolina State Class members to refrain from
  19   unfair and deceptive practices under the Manufacturers Act in the course of their
  20   business. Specifically, the ZF TRW and STMicro Defendants owed the South
  21   Carolina Plaintiff and South Carolina State Class members a duty to disclose all the
  22   material facts concerning the ACU defect in the Class Vehicles because they
  23   possessed exclusive knowledge and they intentionally concealed the ACU defect
  24   from the South Carolina Plaintiff and South Carolina State Class members.
  25         2232. The South Carolina Plaintiff and South Carolina State Class members
  26   suffered ascertainable losses and actual damages as a direct and proximate result of
  27   the ZF TRW and STMicro Defendants’ concealment and/or failure to disclose
  28   material information.

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   1         2233. The ZF TRW and STMicro Defendants’ violations present a
   2   continuing risk to the South Carolina Plaintiff and South Carolina State Class
   3   members, as well as to the general public. The ZF TRW and STMicro Defendants’
   4   unlawful acts and practices complained of herein affect the public interest.
   5         2234. Pursuant to S.C. Code Ann. § 56-15-110, the South Carolina Plaintiff
   6   and South Carolina State Class members seek an order enjoining the ZF TRW and
   7   STMicro Defendants’ unfair or deceptive acts or practices and awarding damages
   8   and any other just and proper relief available under the Manufacturers Act.
   9         xxiv. South Dakota
  10                a.      South Dakota Count 1: Breach of Express Warranty (S.D.
  11                        Codified Laws §§ 57A-2-313 and 57A-2A-210) Against the
                            FCA Defendants
  12
             2235. Plaintiffs reallege and incorporate by reference all preceding
  13
       allegations as though fully set forth herein.
  14
             2236. Plaintiff Desiree Meyer (hereinafter, “South Dakota Plaintiff”) brings
  15
       this count individually and on behalf of members of the South Dakota State Class
  16
       who purchased or leased FCA Class Vehicles, against the FCA Defendants.
  17
             2237. The FCA Defendants are and were at all relevant times “merchants”
  18
       with respect to motor vehicles under S.D. Codified Laws §§ 57A-2-104(1) and
  19
       57A-2A-103(3), and “sellers” of motor vehicles under § 57A-2-103(1)(d).
  20
             2238. With respect to leases, the FCA Defendants are and were at all relevant
  21
       times “lessors” of motor vehicles under S.D. Codified Laws § 57A-2A-103(1)(p).
  22
             2239. All South Dakota State Class members who purchased FCA Class
  23
       Vehicles in South Dakota are “buyers” within the meaning of S.D. Codified Laws
  24
       § 57A-2-103(1)(a).
  25
             2240. All South Dakota State Class members who leased FCA Class
  26
       Vehicles in South Dakota are “lessees” within the meaning of S.D. Codified Laws
  27
       § 57A-2A-103(1)(n).
  28

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   1         2241. The FCA Class Vehicles are and were at all relevant times “goods”
   2   within the meaning of S.D. Codified Laws §§ 57A-2-105(1) and 57A-2A-
   3   103(1)(h).
   4         2242. In connection with the purchase or lease of FCA Class Vehicles, the
   5   FCA Defendants provided the South Dakota Plaintiff and South Dakota State Class
   6   members with written express warranties covering the repair or replacement of
   7   components that are defective in materials or workmanship.
   8         2243. The FCA Defendants’ warranties formed the basis of the bargain that
   9   was reached when the South Dakota Plaintiff and South Dakota State Class
  10   members unknowingly purchased or leased FCA Class Vehicles that came
  11   equipped with a defective ACU.
  12         2244. However, the FCA Defendants knew or should have known that the
  13   warranties were false and/or misleading. Specifically, the FCA Defendants were
  14   aware of the ACU defect in the FCA Class Vehicles, which made the vehicles
  15   inherently defective and dangerous at the time that they were sold and leased to the
  16   South Dakota Plaintiff and South Dakota State Class members.
  17         2245. The South Dakota Plaintiff and South Dakota State Class members
  18   reasonably relied on the FCA Defendants’ express warranties when purchasing or
  19   leasing their FCA Class Vehicles.
  20         2246. The FCA Defendants knowingly breached their express warranties to
  21   repair defects in materials and workmanship by failing to repair the ACU defect or
  22   replace the defective ACUs in the FCA Class Vehicles. The FCA Defendants also
  23   breached their express warranties by providing a product containing defects that
  24   were never disclosed to the South Dakota Plaintiff and South Dakota State Class
  25   members.
  26         2247. The South Dakota Plaintiff and South Dakota State Class members
  27   have provided the FCA Defendants with reasonable notice and opportunity to cure
  28   the breaches of their express warranties by way of the numerous NHTSA

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   1   complaints filed against them, and individual notice letters sent by the South
   2   Dakota State Class members within a reasonable amount of time after the ACU
   3   defect became public. Additionally, a notice letter was sent on behalf of the South
   4   Dakota Plaintiff and South Dakota State Class members to FCA US LLC, Honda
   5   Defendants, Hyundai Defendants, Kia Defendants, Mitsubishi Motors North
   6   America, Inc., Toyota Defendants, Hyundai MOBIS Co. Ltd., and ZF TRW
   7   Defendants on April 24, 2020.
   8             2248. Alternatively, any opportunity to cure the breach is unnecessary and
   9   futile.
  10             2249. As a direct and proximate result of the FCA Defendants’ breach of
  11   their express warranties, the South Dakota Plaintiff and South Dakota State Class
  12   members have been damaged in an amount to be proven at trial.
  13                   b.     South Dakota Count 2: Breach of Implied Warranty of
  14                          Merchantability (S.D. Codified Laws §§ 57A-2-314 and 57A-
                              2A-212) Against the FCA Defendants
  15             2250. Plaintiffs reallege and incorporate by reference all preceding
  16   allegations as though fully set forth herein.
  17             2251. The South Dakota Plaintiff brings this count individually and on behalf
  18   of members of the South Dakota State Class who purchased or leased FCA Class
  19   Vehicles, against the FCA Defendants.
  20             2252. A warranty that the FCA Class Vehicles were in merchantable
  21   condition and fit for the ordinary purpose for which such goods are used is implied
  22   by law pursuant to S.D. Codified Laws §§ 57A-2-314 and 57A-2A-212.
  23             2253. The FCA Class Vehicles did not comply with the implied warranty of
  24   merchantability because, at the time of sale and at all times thereafter, they were
  25   defective and not in merchantable condition, would not pass without objection in
  26   the trade, and were not fit for the ordinary purpose for which vehicles were used.
  27   Specifically, the FCA Class Vehicles suffer from the ACU defect, which causes the
  28

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   1   airbags and seatbelt pretensioners to fail to deploy during an accident, rendering the
   2   FCA Class Vehicles inherently defective and dangerous.
   3             2254. The FCA Defendants are and were at all relevant times “merchants”
   4   with respect to motor vehicles under S.D. Codified Laws §§ 57A-2-104(1) and
   5   57A-2A-103(3), and “sellers” of motor vehicles under § 57A-2-103(1)(d).
   6             2255. With respect to leases, the FCA Defendants are and were at all relevant
   7   times “lessors” of motor vehicles under S.D. Codified Laws § 57A-2A-103(1)(p).
   8             2256. All South Dakota State Class members who purchased FCA Class
   9   Vehicles in South Dakota are “buyers” within the meaning of S.D. Codified Laws
  10   § 57A-2-103(1)(a).
  11             2257. All South Dakota State Class members who leased FCA Class
  12   Vehicles in South Dakota are “lessees” within the meaning of S.D. Codified Laws
  13   § 57A-2A-103(1)(n).
  14             2258. The FCA Class Vehicles are and were at all relevant times “goods”
  15   within the meaning of S.D. Codified Laws §§ 57A-2-105(1) and 57A-2A-
  16   103(1)(h).
  17             2259. The South Dakota Plaintiff and South Dakota State Class members
  18   have provided the FCA Defendants with reasonable notice and opportunity to cure
  19   the breaches of their implied warranties by way of the numerous NHTSA
  20   complaints filed against them, and individual notice letters sent by the South
  21   Dakota State Class members within a reasonable amount of time after the ACU
  22   defect became public. Additionally, a notice letter was sent on behalf of the South
  23   Dakota Plaintiff and South Dakota State Class members to FCA US LLC, Honda
  24   Defendants, Hyundai Defendants, Kia Defendants, Mitsubishi Motors North
  25   America, Inc., Toyota Defendants, Hyundai MOBIS Co. Ltd., and ZF TRW
  26   Defendants on April 24, 2020.
  27             2260. Alternatively, any opportunity to cure the breach is unnecessary and
  28   futile.

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   1         2261. As a direct and proximate result of the FCA Defendants’ breach of the
   2   implied warranty of merchantability, the South Dakota Plaintiff and South Dakota
   3   State Class members have been damaged in an amount to be proven at trial.
   4                c.     South Dakota Count 3: Violation of the South Dakota
   5                       Deceptive Trade Practices and Consumer Protection Law
                           (S.D. Codified Laws § 37-24-1, et seq.) Against the FCA
   6                       Defendants
   7         2262. Plaintiffs reallege and incorporate by reference all preceding
   8   allegations as though fully set forth herein.
   9         2263. The South Dakota Plaintiff brings this count individually and on behalf
  10   of members of the South Dakota State Class who purchased or leased FCA Class
  11   Vehicles, against the FCA Defendants.
  12         2264. the FCA Defendants, the South Dakota Plaintiff, and the South Dakota
  13   State Class members are “persons” within the meaning of S.D. Codified Laws § 37-
  14   24-1(8).
  15         2265. The FCA Class Vehicles and ACUs installed in them are
  16   “merchandise” within the meaning of S.D. Codified Laws § 37-24-1(7).
  17         2266. The FCA Defendants were and are engaged in “trade” or “commerce”
  18   within the meaning of S.D. Codified Laws § 37-24-1(13).
  19         2267. The South Dakota Deceptive Trade Practices and Consumer Protection
  20   Law (“South Dakota CPA”) prohibits “deceptive acts or practices.” S.D. Codified
  21   Laws § 37-24-6(1).
  22         2268. In the course of their business, the FCA Defendants, through their
  23   agents, employees, and/or subsidiaries, violated the South Dakota CPA by
  24   knowingly and intentionally misrepresenting, omitting, concealing, and/or failing to
  25   disclose material facts regarding the reliability, safety, and performance of the FCA
  26   Class Vehicles or the defective ACUs, as detailed above.
  27         2269. Specifically, by misrepresenting the FCA Class Vehicles and/or the
  28   defective ACUs installed in them as safe and/or free from defects, and by failing to

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   1   disclose and actively concealing the dangers and risk posed by the FCA Class
   2   Vehicles and/or the ACU defect, the FCA Defendants engaged deceptive acts,
   3   practices, fraud, false pretense, false promises, and misrepresentations, and
   4   concealed, suppressed, and omitted material facts in connection with the sale and
   5   advertisement of the FCA Class Vehicles, as prohibited by S.D. Codified Laws
   6   § 37-24-6(1).
   7         2270. The FCA Defendants’ unfair or deceptive acts or practices, including
   8   misrepresentations, concealments, omissions, and suppressions of material facts,
   9   had a tendency or capacity to mislead and create a false impression in consumers,
  10   and were likely to and did in fact deceive reasonable consumers, including the
  11   South Dakota Plaintiff and South Dakota State Class members, about the true safety
  12   and reliability of FCA Class Vehicles and/or the defective ACUs installed in them,
  13   the quality of the FCA Class Vehicles, and the true value of the FCA Class
  14   Vehicles.
  15         2271. The FCA Defendants’ scheme and concealment of the ACU defect and
  16   true characteristics of the Occupant Restraint Systems in the FCA Class Vehicles
  17   were material to the South Dakota Plaintiff and South Dakota State Class members,
  18   as the FCA Defendants intended. Had they known the truth, the South Dakota
  19   Plaintiff and South Dakota State Class members would not have purchased or
  20   leased the FCA Class Vehicles, or would have paid significantly less for them.
  21         2272. The South Dakota Plaintiff and South Dakota State Class members had
  22   no way of discerning that the FCA Defendants’ representations were false and
  23   misleading and/or otherwise learning the facts that the FCA Defendants had
  24   concealed or failed to disclose. The South Dakota Plaintiff and South Dakota State
  25   Class members did not, and could not, unravel the FCA Defendants’ deception on
  26   their own.
  27         2273. The FCA Defendants had an ongoing duty to the South Dakota
  28   Plaintiff and South Dakota State Class members to refrain from unfair and

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   1   deceptive practices under the South Dakota CPA in the course of their business.
   2   Specifically, the FCA Defendants owed the South Dakota Plaintiff and South
   3   Dakota State Class members a duty to disclose all the material facts concerning the
   4   ACU defect in the FCA Class Vehicles because they possessed exclusive
   5   knowledge, they intentionally concealed the ACU defect from the South Dakota
   6   Plaintiff and South Dakota State Class members, and/or they made
   7   misrepresentations that were rendered misleading because they were contradicted
   8   by withheld facts.
   9         2274. The South Dakota Plaintiff and South Dakota State Class members
  10   suffered ascertainable losses and actual damages as a direct and proximate result of
  11   the FCA Defendants’ concealment, misrepresentations, and/or failure to disclose
  12   material information.
  13         2275. The FCA Defendants’ violations present a continuing risk to the South
  14   Dakota Plaintiff and South Dakota State Class members, as well as to the general
  15   public. The FCA Defendants’ unlawful acts and practices complained of herein
  16   affect the public interest.
  17         2276. Pursuant to S.D. Codified Laws § 37-24-31, the South Dakota Plaintiff
  18   and South Dakota State Class members seek an order enjoining the FCA
  19   Defendants’ unfair or deceptive acts or practices and awarding damages and any
  20   other just and proper relief available under the South Dakota CPA.
  21                 d.     South Dakota Count 4: Violation of the South Dakota
  22                        Deceptive Trade Practices and Consumer Protection Law
                            (S.D. Codified Laws § 37-24-1, et seq.) Against the ZF TRW
  23                        and STMicro Defendants
  24         2277. Plaintiffs reallege and incorporate by reference all preceding
  25   allegations as though fully set forth herein.
  26         2278. The South Dakota Plaintiff brings this count individually and on behalf
  27   members of the South Dakota State Class against the ZF TRW and STMicro
  28   Defendants.

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   1         2279. The ZF TRW Defendants, the STMicro Defendants, the South Dakota
   2   Plaintiff, and South Dakota State Class members are “persons” within the meaning
   3   of S.D. Codified Laws § 37-24-1(8).
   4         2280. The Class Vehicles and ACUs installed in them are “merchandise”
   5   within the meaning of S.D. Codified Laws § 37-24-1(7).
   6         2281. The ZF TRW and STMicro Defendants were and are engaged in
   7   “trade” or “commerce” within the meaning of S.D. Codified Laws § 37-24-1(13).
   8         2282. The South Dakota Deceptive Trade Practices and Consumer Protection
   9   Law (“South Dakota CPA”) prohibits “deceptive acts or practices.” S.D. Codified
  10   Laws § 37-24-6(1).
  11         2283. In the course of their business the ZF TRW and STMicro Defendants,
  12   through their agents, employees, and/or subsidiaries, violated the South Dakota
  13   CPA by knowingly and intentionally omitting, concealing, and failing to disclose
  14   material facts regarding the existence, nature, and scope of the defect with ZF TRW
  15   ACUs installed in the Class Vehicles, as detailed above.
  16         2284. Specifically, by failing to disclose and actively concealing the dangers
  17   and risk posed by the Class Vehicles due to the ACU defect, the ZF TRW and
  18   STMicro Defendants engaged in a deceptive act or practice prohibited by S.D.
  19   Codified Laws § 37-24-6, including acting, using, or employing deceptive acts or
  20   practices and fraud, and/or concealing, suppressing, or omitting material facts.
  21         2285. The ZF TRW and STMicro Defendants’ unfair or deceptive acts or
  22   practices, including concealments, omissions, and suppressions of material facts,
  23   had a tendency or capacity to mislead and create a false impression in consumers,
  24   and were likely to and did in fact deceive reasonable consumers, including the
  25   South Dakota Plaintiff and South Dakota State Class members, about the true safety
  26   and reliability of Class Vehicles and/or the defective ACUs installed in them.
  27         2286. The ZF TRW and STMicro Defendants’ scheme and concealment of
  28   the ACU defect and true characteristics of the defective ACUs in the Class Vehicles

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   1   were material to the South Dakota Plaintiff and South Dakota State Class members,
   2   as the ZF TRW and STMicro Defendants intended. Had they known the truth, the
   3   South Dakota Plaintiff and South Dakota State Class members would not have
   4   purchased or leased the Class Vehicles, or would have paid significantly less for
   5   them.
   6           2287. The South Dakota Plaintiff and South Dakota State Class members had
   7   no way of learning the facts that the ZF TRW and STMicro Defendants had
   8   concealed or failed to disclose. The South Dakota Plaintiff and South Dakota State
   9   Class members did not, and could not, unravel the ZF TRW and STMicro
  10   Defendants’ deception on their own.
  11           2288. The ZF TRW and STMicro Defendants had an ongoing duty to the
  12   South Dakota Plaintiff and South Dakota State Class members to refrain from
  13   unfair and deceptive practices under the South Dakota CPA in the course of their
  14   business. Specifically, the ZF TRW and STMicro Defendants owed the South
  15   Dakota Plaintiff and South Dakota State Class members a duty to disclose all the
  16   material facts concerning the ACU defect in the Class Vehicles because they
  17   possessed exclusive knowledge and they intentionally concealed the ACU defect
  18   from the South Dakota Plaintiff and South Dakota State Class members.
  19           2289. The South Dakota Plaintiff and South Dakota State Class members
  20   suffered ascertainable losses and actual damages as a direct and proximate result of
  21   the ZF TRW and STMicro Defendants’ concealment and/or failure to disclose
  22   material information.
  23           2290. The ZF TRW and STMicro Defendants’ violations present a
  24   continuing risk to the South Dakota Plaintiff and South Dakota State Class
  25   members, as well as to the general public. The ZF TRW and STMicro Defendants’
  26   unlawful acts and practices complained of herein affect the public interest.
  27           2291. Pursuant to S.D. Codified Laws § 37-24-31, the South Dakota Plaintiff
  28   and South Dakota State Class members seek an order enjoining the ZF TRW and

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   1   STMicro Defendants’ unfair or deceptive acts or practices and awarding damages
   2   and any other just and proper relief available under the South Dakota CPA.
   3         xxv. Tennessee
   4                a.     Tennessee Count 1: Breach of Express Warranty (Tenn.
   5                       Code Ann. §§ 47-2-313 and 47-2A-210) Against the Hyundai
                           Defendants
   6
             2292. Plaintiffs reallege and incorporate by reference all preceding
   7
       allegations as though fully set forth herein.
   8
             2293. Plaintiff Deloras McMurray (hereinafter, “Tennessee Plaintiff”) brings
   9
       this count individually and on behalf of members of the Tennessee State Class who
  10
       purchased or leased Hyundai Class Vehicles, against the Hyundai Defendants.
  11
             2294. The Hyundai Defendants are and were at all relevant times
  12
       “merchants” with respect to motor vehicles under Tenn. Code Ann. §§ 47-2-104(1)
  13
       and 47-2A-103(1)(t), and “sellers” of motor vehicles under § 47-2-103(a)(d).
  14
             2295. With respect to leases, the Hyundai Defendants are and were at all
  15
       relevant times “lessors” of motor vehicles under Tenn. Code Ann. § 47-2A-
  16
       103(1)(p).
  17
             2296. All Tennessee State Class members who purchased Hyundai Class
  18
       Vehicles in Tennessee are “buyers” within the meaning of Tenn. Code Ann. § 47-2-
  19
       313(1).
  20
             2297. All Tennessee State Class members who leased Hyundai Class
  21
       Vehicles in Tennessee are “lessees” within the meaning of Tenn. Code Ann. § 47-
  22
       2A-103(1)(n).
  23
             2298. The Hyundai Class Vehicles are and were at all relevant times “goods”
  24
       within the meaning of Tenn. Code Ann. §§ 47-2-105(1) and 47-2A-103(1)(h).
  25
             2299. In connection with the purchase or lease of Hyundai Class Vehicles,
  26
       the Hyundai Defendants provided the Tennessee Plaintiff and Tennessee State
  27
       Class members with written express warranties covering the repair or replacement
  28
       of components that are defective in materials or workmanship.
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   1         2300. The Hyundai Defendants’ warranties formed the basis of the bargain
   2   that was reached when the Tennessee Plaintiff and Tennessee State Class members
   3   unknowingly purchased or leased Hyundai Class Vehicles that came equipped with
   4   a defective ACU.
   5         2301. However, the Hyundai Defendants knew or should have known that
   6   the warranties were false and/or misleading. Specifically, the Hyundai Defendants
   7   were aware of the ACU defect in the Hyundai Class Vehicles, which made the
   8   vehicles inherently defective and dangerous at the time that they were sold and
   9   leased to the Tennessee Plaintiff and Tennessee State Class members.
  10         2302. The Tennessee Plaintiff and Tennessee State Class members
  11   reasonably relied on the Hyundai Defendants’ express warranties when purchasing
  12   or leasing their Hyundai Class Vehicles.
  13         2303. The Hyundai Defendants knowingly breached their express warranties
  14   to repair defects in materials and workmanship by failing to repair the ACU defect
  15   or replace the defective ACUs in the Hyundai Class Vehicles. The Hyundai
  16   Defendants also breached their express warranties by providing a product
  17   containing defects that were never disclosed to the Tennessee Plaintiff and
  18   Tennessee State Class members.
  19         2304. The Tennessee Plaintiff and Tennessee State Class members have
  20   provided the Hyundai Defendants with reasonable notice and opportunity to cure
  21   the breaches of their express warranties by way of the numerous NHTSA
  22   complaints filed against them, and individual notice letters sent by the Tennessee
  23   State Class members within a reasonable amount of time after the ACU defect
  24   became public. Additionally, a notice letter was sent on behalf of the Tennessee
  25   Plaintiff and Tennessee State Class members to FCA US LLC, Honda Defendants,
  26   Hyundai Defendants, Kia Defendants, Mitsubishi Motors North America, Inc.,
  27   Toyota Defendants, Hyundai MOBIS Co. Ltd., and ZF TRW Defendants on April
  28   24, 2020.

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   1             2305. Alternatively, any opportunity to cure the breach is unnecessary and
   2   futile.
   3             2306. As a direct and proximate result of the Hyundai Defendants’ breach of
   4   their express warranties, the Tennessee Plaintiff and Tennessee State Class
   5   members have been damaged in an amount to be proven at trial.
   6                   b.     Tennessee Count 2: Breach of Implied Warranty of
   7                          Merchantability (Tenn. Code Ann. §§ 47-2-314 and 47-2A-
                              212) Against the Hyundai Defendants
   8             2307. Plaintiffs reallege and incorporate by reference all preceding
   9   allegations as though fully set forth herein.
  10             2308. The Tennessee Plaintiff brings this count individually and on behalf of
  11   members of the Tennessee State Class who purchased or leased Hyundai Class
  12   Vehicles, against the Hyundai Defendants.
  13             2309. A warranty that the Hyundai Class Vehicles were in merchantable
  14   condition and fit for the ordinary purpose for which such goods are used is implied
  15   by law pursuant to Tenn. Code Ann. §§ 47-2-314 and 47-2A-212.
  16             2310. The Hyundai Class Vehicles did not comply with the implied warranty
  17   of merchantability because, at the time of sale and at all times thereafter, they were
  18   defective and not in merchantable condition, would not pass without objection in
  19   the trade, and were not fit for the ordinary purpose for which vehicles were used.
  20   Specifically, the Hyundai Class Vehicles suffer from the ACU defect, which causes
  21   the airbags and seatbelt pretensioners to fail to deploy during an accident, rendering
  22   the Hyundai Class Vehicles inherently defective and dangerous.
  23             2311. The Hyundai Defendants are and were at all relevant times
  24   “merchants” with respect to motor vehicles under Tenn. Code Ann. §§ 47-2-104(1)
  25   and 47-2A-103(1)(t), and “sellers” of motor vehicles under § 47-2-103(a)(d).
  26             2312. With respect to leases, the Hyundai Defendants are and were at all
  27   relevant times “lessors” of motor vehicles under Tenn. Code Ann. § 47-2A-
  28   103(1)(p).
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   1             2313. All Tennessee State Class members who purchased Hyundai Class
   2   Vehicles in Tennessee are “buyers” within the meaning of Tenn. Code Ann. § 47-2-
   3   313(1).
   4             2314. All Tennessee State Class members who leased Hyundai Class
   5   Vehicles in Tennessee are “lessees” within the meaning of Tenn. Code Ann. § 47-
   6   2A-103(1)(n).
   7             2315. The Hyundai Class Vehicles are and were at all relevant times “goods”
   8   within the meaning of Tenn. Code Ann. §§ 47-2-105(1) and 47-2A-103(1)(h).
   9             2316. The Tennessee Plaintiff and Tennessee State Class members have
  10   provided the Hyundai Defendants with reasonable notice and opportunity to cure
  11   the breaches of their implied warranties by way of the numerous NHTSA
  12   complaints filed against them, and individual notice letters sent by the Tennessee
  13   State Class members within a reasonable amount of time after the ACU defect
  14   became public. Additionally, a notice letter was sent on behalf of the Tennessee
  15   Plaintiff and Tennessee State Class members to FCA US LLC, Honda Defendants,
  16   Hyundai Defendants, Kia Defendants, Mitsubishi Motors North America, Inc.,
  17   Toyota Defendants, Hyundai MOBIS Co. Ltd., and ZF TRW Defendants on April
  18   24, 2020.
  19             2317. Alternatively, any opportunity to cure the breach is unnecessary and
  20   futile.
  21             2318. As a direct and proximate result of the Hyundai Defendants’ breach of
  22   the implied warranty of merchantability, the Tennessee Plaintiff and Tennessee
  23   State Class members have been damaged in an amount to be proven at trial.
  24                   c.     Tennessee Count 3: Violation of the Tennessee Consumer
  25                          Protection Act of 1977 (Tenn. Code Ann. § 47-18-101, et seq.)
                              Against the Hyundai Defendants and Hyundai MOBIS
  26             2319. Plaintiffs reallege and incorporate by reference all preceding
  27   allegations as though fully set forth herein.
  28

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   1         2320. The Tennessee Plaintiff brings this count individually and on behalf of
   2   members of the Tennessee State Class who purchased or leased Hyundai Class
   3   Vehicles, against the Hyundai Defendants and Hyundai MOBIS.
   4         2321. The Hyundai Defendants, Hyundai MOBIS, the Tennessee Plaintiff,
   5   and Tennessee State Class members are “persons” within the meaning of Tenn.
   6   Code Ann. § 47-18-103(14).
   7         2322. The Tennessee Plaintiff and Tennessee State Class members are
   8   “consumers” within the meaning of Tenn. Code Ann. § 47-18-103(3).
   9         2323. The Hyundai Class Vehicles and ACUs installed in them are “goods”
  10   within the meaning of Tenn. Code Ann. § 47-18-103(8).
  11         2324. The Hyundai Defendants and Hyundai MOBIS were and are engaged
  12   in “trade” or “commerce” or “consumer transactions” within the meaning of Tenn.
  13   Code Ann. § 47-18-103(20).
  14         2325. The Tennessee Consumer Protection Act of 1977 (“Tennessee CPA”)
  15   prohibits “[u]nfair or deceptive acts or practices affecting the conduct of any trade
  16   or commerce[.]” Tenn. Code Ann. § 47-18-104(a).
  17         2326. In the course of their business, the Hyundai Defendants and Hyundai
  18   MOBIS, through their agents, employees, and/or subsidiaries, violated the
  19   Tennessee CPA by knowingly and intentionally misrepresenting, omitting,
  20   concealing, and/or failing to disclose material facts regarding the durability,
  21   reliability, safety, and performance of the Hyundai Class Vehicles or the defective
  22   ACUs, as detailed above.
  23         2327. Specifically, by misrepresenting the Hyundai Class Vehicles and/or the
  24   defective ACUs installed in them as safe, and by failing to disclose and actively
  25   concealing the dangers and risk posed by the Hyundai Class Vehicles and/or the
  26   ACU defect, the Hyundai Defendants and Hyundai MOBIS engaged in one or more
  27   of the following unfair or deceptive business practices prohibited by Tenn. Code
  28   Ann. § 47-18-104:

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   1                a.    Representing that the Hyundai Class Vehicles and/or the
   2                      defective ACUs installed in them have characteristics, uses,
   3                      benefits, and qualities which they do not have;
   4                b.    Representing that the Hyundai Class Vehicles and/or the
   5                      defective ACUs installed in them are of a particular standard,
   6                      quality, and grade when they are not; and
   7                c.    Advertising the Hyundai Class Vehicles and/or the defective
   8                      ACUs installed in them with the intent not to sell or lease them
   9                      as advertised.
  10         Tenn. Code Ann. §§ 47-18-104(b)(5), (7), and (9).
  11         2328. The Hyundai Defendants and Hyundai MOBIS’s unfair or deceptive
  12   acts or practices, including misrepresentations, concealments, omissions, and/or
  13   suppressions of material facts, had a tendency or capacity to mislead and create a
  14   false impression in consumers, and were likely to and did in fact deceive reasonable
  15   consumers, including the Tennessee Plaintiff and Tennessee State Class members,
  16   about the true safety and reliability of Hyundai Class Vehicles and/or the defective
  17   ACUs installed in them, the quality of the Hyundai Class Vehicles, and the true
  18   value of the Hyundai Class Vehicles.
  19         2329. The Hyundai Defendants and Hyundai MOBIS’s scheme and
  20   concealment of the ACU defect and true characteristics of the Occupant Restraint
  21   Systems in the Hyundai Class Vehicles were material to the Tennessee Plaintiff and
  22   Tennessee State Class members, as the Hyundai Defendants and Hyundai MOBIS
  23   intended. Had they known the truth, the Tennessee Plaintiff and Tennessee State
  24   Class members would not have purchased or leased the Hyundai Class Vehicles, or
  25   would have paid significantly less for them.
  26         2330. The Tennessee Plaintiff and Tennessee State Class members had no
  27   way of discerning that the Hyundai Defendants’ representations were false and
  28   misleading and/or otherwise learning the facts that the Hyundai Defendants and

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   1   Hyundai MOBIS had concealed or failed to disclose. The Tennessee Plaintiff and
   2   Tennessee State Class members did not, and could not, unravel the Hyundai
   3   Defendants and Hyundai MOBIS’s deception on their own.
   4         2331. The Hyundai Defendants and Hyundai MOBIS had an ongoing duty to
   5   the Tennessee Plaintiff and Tennessee State Class members to refrain from unfair
   6   and deceptive practices under the Tennessee CPA in the course of their business.
   7   Specifically, the Hyundai Defendants and Hyundai MOBIS owed the Tennessee
   8   Plaintiff and Tennessee State Class members a duty to disclose all the material facts
   9   concerning the ACU defect in the Hyundai Class Vehicles because they possessed
  10   exclusive knowledge, they intentionally concealed the ACU defect from the
  11   Tennessee Plaintiff and Tennessee State Class members, and/or they made
  12   misrepresentations that were rendered misleading because they were contradicted
  13   by withheld facts.
  14         2332. The Tennessee Plaintiff and Tennessee State Class members suffered
  15   ascertainable losses and actual damages as a direct and proximate result of the
  16   Hyundai Defendants and Hyundai MOBIS’s concealment, misrepresentations,
  17   and/or failure to disclose material information.
  18         2333. The Hyundai Defendants and Hyundai MOBIS’s violations present a
  19   continuing risk to the Tennessee Plaintiff and Tennessee State Class members, as
  20   well as to the general public. The Hyundai Defendants and Hyundai MOBIS’s
  21   unlawful acts and practices complained of herein affect the public interest.
  22         2334. Pursuant to Tenn. Code Ann. § 47-18-109(a), the Tennessee Plaintiff
  23   and the Tennessee State Class members seek an order enjoining the Hyundai
  24   Defendants and Hyundai MOBIS’s unfair or deceptive acts or practices and
  25   awarding damages and any other just and proper relief available under the
  26   Tennessee CPA.
  27
  28

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   1                 d.    Tennessee Count 4: Violation of the Tennessee Consumer
                           Protection Act of 1977 (Tenn. Code Ann. § 47-18-101, et seq.)
   2                       Against the ZF TRW and STMicro Defendants
   3         2335. Plaintiffs reallege and incorporate by reference all preceding
   4   allegations as though fully set forth herein.
   5         2336. The Tennessee Plaintiff brings this count individually and on behalf of
   6   members of the Tennessee State Class against the ZF TRW and STMicro
   7   Defendants.
   8         2337. The ZF TRW Defendants, the STMicro Defendants, the Tennessee
   9   Plaintiff, and Tennessee State Class members are “persons” within the meaning of
  10   Tenn. Code Ann. § 47-18-103(14).
  11         2338. Plaintiffs and the Tennessee State Class members are “consumers”
  12   within the meaning of Tenn. Code Ann. § 47-18-103(3).
  13         2339. The Class Vehicles and ACUs installed in them are “goods” within the
  14   meaning of Tenn. Code Ann. § 47-18-103(8).
  15         2340. The ZF TRW and STMicro Defendants were and are engaged in
  16   “trade” or “commerce” or “consumer transactions” within the meaning of Tenn.
  17   Code Ann. § 47-18-103(20).
  18         2341. The Tennessee Consumer Protection Act of 1977 (“Tennessee CPA”)
  19   prohibits “[u]nfair or deceptive acts or practices affecting the conduct of any trade
  20   or commerce[.]” Tenn. Code Ann. § 47-18-104(a).
  21         2342. In the course of their business the ZF TRW and STMicro Defendants,
  22   through their agents, employees, and/or subsidiaries, violated the Tennessee CPA
  23   by knowingly and intentionally omitting, concealing, and failing to disclose
  24   material facts regarding the durability, existence, nature, and scope of the defect
  25   with ZF TRW ACUs installed in the Class Vehicles, as detailed above.
  26         2343. Specifically, by failing to disclose and actively concealing the dangers
  27   and risk posed by the Class Vehicles due to the ACU defect, the ZF TRW and
  28

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   1   STMicro Defendants engaged in unfair or deceptive acts or practices affecting the
   2   conduct of any trade or commerce prohibited by Tenn. Code Ann. § 47-18-104.
   3         2344. The ZF TRW and STMicro Defendants’ unfair or deceptive acts or
   4   practices, including concealments, omissions, and suppressions of material facts,
   5   had a tendency or capacity to mislead and create a false impression in consumers,
   6   and were likely to and did in fact deceive reasonable consumers, including the
   7   Tennessee Plaintiff and Tennessee State Class members, about the true safety and
   8   reliability of Class Vehicles and/or the defective ACUs installed in them.
   9         2345. The ZF TRW and STMicro Defendants’ scheme and concealment of
  10   the ACU defect and true characteristics of the defective ACUs in the Class Vehicles
  11   were material to the Tennessee Plaintiff and Tennessee State Class members, as the
  12   ZF TRW and STMicro Defendants intended. Had they known the truth, the
  13   Tennessee Plaintiff and Tennessee State Class members would not have purchased
  14   or leased the Class Vehicles, or would have paid significantly less for them.
  15         2346. The Tennessee Plaintiff and Tennessee State Class members had no
  16   way of learning the facts that the ZF TRW and STMicro Defendants had concealed
  17   or failed to disclose. The Tennessee Plaintiff and Tennessee State Class members
  18   did not, and could not, unravel the ZF TRW and STMicro Defendants’ deception
  19   on their own.
  20         2347. The ZF TRW and STMicro Defendants had an ongoing duty to the
  21   Tennessee Plaintiff and Tennessee State Class members to refrain from unfair and
  22   deceptive practices under the Tennessee CPA in the course of their business.
  23   Specifically, the ZF TRW and STMicro Defendants owed the Tennessee Plaintiff
  24   and Tennessee State Class members a duty to disclose all the material facts
  25   concerning the ACU defect in the Class Vehicles because they possessed exclusive
  26   knowledge and they intentionally concealed the ACU defect from the Tennessee
  27   Plaintiff and Tennessee State Class members.
  28

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   1         2348. The Tennessee Plaintiff and Tennessee State Class members suffered
   2   ascertainable losses and actual damages as a direct and proximate result of the ZF
   3   TRW and STMicro Defendants’ concealment and/or failure to disclose material
   4   information.
   5         2349. The ZF TRW and STMicro Defendants’ violations present a
   6   continuing risk to the Tennessee Plaintiff and Tennessee State Class members, as
   7   well as to the general public. The ZF TRW and STMicro Defendants’ unlawful acts
   8   and practices complained of herein affect the public interest.
   9         2350. Pursuant to Tenn. Code Ann. § 47-18-109(a), the Tennessee Plaintiff
  10   and Tennessee State Class members seek an order enjoining the ZF TRW and
  11   STMicro Defendants’ unfair or deceptive acts or practices and awarding damages
  12   and any other just and proper relief available under the Tennessee CPA.
  13         xxvi. Texas
  14                  a.   Texas Count 1: Breach of Express Warranty (Tex. Bus. &
  15                       Com. Code Ann. §§ 2.313 and 2A.210) Against the FCA,
                           Honda, Hyundai, and Toyota Defendants
  16
             2351. Plaintiffs reallege and incorporate by reference all preceding
  17
       allegations as though fully set forth herein.
  18
             2352. Plaintiff John Robinson brings this count individually and on behalf of
  19
       members of the Texas State Class who purchased or leased FCA Class Vehicles,
  20
       against the FCA Defendants.
  21
             2353. Plaintiff Angela Bowens brings this count individually and on behalf
  22
       of members of the Texas State Class who purchased or leased Honda Class
  23
       Vehicles, against the Honda Defendants.
  24
             2354. Plaintiff Burton Reckles brings this count individually and on behalf of
  25
       members of the Texas State Class who purchased or leased Hyundai Class
  26
       Vehicles, against the Hyundai Defendants.
  27
  28

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   1         2355. Plaintiffs Brent DeRouen, Danny Hunt, Evan Green and Joy Davis
   2   bring this count individually and on behalf of members of the Texas State Class
   3   who purchased or leased Toyota Class Vehicles, against the Toyota Defendants.
   4         2356. For purposes of this count, Plaintiffs Robinson, Bowens, Reckles,
   5   DeRouen, Hunt, Green and Davis shall be referred to as the “Texas Plaintiffs.”
   6         2357. The FCA, Honda, Hyundai, and Toyota Defendants are and were at all
   7   relevant times “merchants” with respect to motor vehicles under Tex. Bus. & Com.
   8   Code Ann. §§ 2.104(a) and 2A.103(c), and “sellers” of motor vehicles under
   9   § 2.103(a)(4).
  10         2358. With respect to leases, the FCA, Honda, Hyundai, and Toyota
  11   Defendants are and were at all relevant times “lessors” of motor vehicles under
  12   Tex. Bus. & Com. Code Ann. § 2A.103(a)(16).
  13         2359. All Texas State Class members who purchased Class Vehicles (for
  14   purposes of this count, “Class Vehicles” are limited to the FCA, Honda, Hyundai,
  15   and Toyota Class Vehicles) in Texas are “buyers” within the meaning of Tex. Bus.
  16   & Com. Code Ann. § 2.103(a)(1).
  17         2360. All Texas State Class members who leased Class Vehicles in Texas are
  18   “lessees” within the meaning of Tex. Bus. & Com. Code Ann. § 2A.103(a)(14).
  19         2361. The Class Vehicles are and were at all relevant times “goods” within
  20   the meaning of Tex. Bus. & Com. Code Ann. §§ 2.105(a) and 2A.103(a)(8).
  21         2362. In connection with the purchase or lease of Class Vehicles, the FCA,
  22   Honda, Hyundai, and Toyota Defendants provided the Texas Plaintiffs and Texas
  23   State Class members with written express warranties covering the repair or
  24   replacement of components that are defective in materials or workmanship.
  25         2363. The FCA, Honda, Hyundai, and Toyota Defendants’ warranties
  26   formed the basis of the bargain that was reached when the Texas Plaintiffs and
  27   Texas State Class members unknowingly purchased or leased Class Vehicles that
  28   came equipped with a defective ACU.

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   1         2364. However, the FCA, Honda, Hyundai, and Toyota Defendants knew or
   2   should have known that the warranties were false and/or misleading. Specifically,
   3   the FCA, Honda, Hyundai, and Toyota Defendants were aware of the ACU defect
   4   in the Class Vehicles, which made the vehicles inherently defective and dangerous
   5   at the time that they were sold and leased to the Texas Plaintiffs and Texas State
   6   Class members.
   7         2365. The Texas Plaintiffs and Texas State Class members reasonably relied
   8   on the FCA, Honda, Hyundai, and Toyota Defendants’ express warranties when
   9   purchasing or leasing their Class Vehicles.
  10         2366. The FCA, Honda, Hyundai, and Toyota Defendants knowingly
  11   breached their express warranties to repair defects in materials and workmanship by
  12   failing to repair the ACU defect or replace the defective ACUs in the Class
  13   Vehicles. The FCA, Honda, Hyundai, and Toyota Defendants also breached their
  14   express warranties by providing a product containing defects that were never
  15   disclosed to the Texas Plaintiffs and Texas State Class members.
  16         2367. The Texas Plaintiffs and Texas State Class members have provided the
  17   FCA, Honda, Hyundai and Toyota Defendants with reasonable notice and
  18   opportunity to cure the breaches of their express warranties by way of the numerous
  19   NHTSA complaints filed against them, and individual notice letters sent by the
  20   Texas State Class members within a reasonable amount of time after the ACU
  21   defect became public. Additionally, on May 23, 2019, Texas State Class members
  22   sent a notice letter to FCA US LLC, Honda Defendants, Hyundai Defendants, Kia
  23   Defendants, Mitsubishi Motors North America, Inc., Toyota Defendants, and ZF
  24   TRW Defendants. Moreover, a second notice letter was sent on behalf of the Texas
  25   Plaintiffs and Texas State Class members to FCA US LLC, Honda Defendants,
  26   Hyundai Defendants, Kia Defendants, Mitsubishi Motors North America, Inc.,
  27   Toyota Defendants, Hyundai MOBIS Co. Ltd., and ZF TRW Defendants on April
  28   24, 2020.

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   1             2368. Alternatively, any opportunity to cure the breach is unnecessary and
   2   futile.
   3             2369. As a direct and proximate result of the FCA, Honda, Hyundai, and
   4   Toyota Defendants’ breach of their express warranties, the Texas Plaintiffs and
   5   Texas State Class members have been damaged in an amount to be proven at trial.
   6                   b.     Texas Count 2: Breach of Implied Warranty of
   7                          Merchantability (Tex. Bus. & Com. Code Ann. §§ 2.314 and
                              2A.212) Against the FCA, Honda, Hyundai, and Toyota
   8                          Defendants
   9             2370. Plaintiffs reallege and incorporate by reference all preceding
  10   allegations as though fully set forth herein.
  11             2371. Plaintiff John Robinson brings this count individually and on behalf of
  12   members of the Texas State Class who purchased or leased FCA Class Vehicles,
  13   against the FCA Defendants.
  14             2372. Plaintiff Angela Bowens brings this count individually and on behalf
  15   of members of the Texas State Class who purchased or leased Honda Class
  16   Vehicles, against the Honda Defendants.
  17             2373. Plaintiff Burton Reckles brings this count individually and on behalf of
  18   members of the Texas State Class who purchased or leased Hyundai Class
  19   Vehicles, against the Hyundai Defendants.
  20             2374. Plaintiffs Brent DeRouen, Danny Hunt, Evan Green and Joy Davis
  21   bring this count individually and on behalf of members of the Texas State Class
  22   who purchased or leased Toyota Class Vehicles, against the Toyota Defendants.
  23             2375. For purposes of this count, Plaintiffs Robinson, Bowens, Reckles,
  24   DeRouen, Hunt, Green and Davis shall be referred to as the “Texas Plaintiffs.”
  25             2376. A warranty that the Class Vehicles (for purposes of this count, “Class
  26   Vehicles” are limited to the FCA, Honda, Hyundai, and Toyota Class Vehicles)
  27   were in merchantable condition and fit for the ordinary purpose for which such
  28

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   1   goods are used is implied by law pursuant to Tex. Bus. & Com. Code Ann.
   2   §§ 2.314 and 2A.212.
   3         2377. The Class Vehicles did not comply with the implied warranty of
   4   merchantability because, at the time of sale and at all times thereafter, they were
   5   defective and not in merchantable condition, would not pass without objection in
   6   the trade, and were not fit for the ordinary purpose for which vehicles were used.
   7   Specifically, the Class Vehicles suffer from the ACU defect, which causes the
   8   airbags and seatbelt pretensioners to fail to deploy during an accident, rendering the
   9   Class Vehicles inherently defective and dangerous.
  10         2378. The FCA, Honda, Hyundai, and Toyota Defendants are and were at all
  11   relevant times “merchants” with respect to motor vehicles under Tex. Bus. & Com.
  12   Code Ann. §§ 2.104(a) and 2A.103(c), and “sellers” of motor vehicles under
  13   § 2.103(a)(4).
  14         2379. With respect to leases, the FCA, Honda, Hyundai, and Toyota
  15   Defendants are and were at all relevant times “lessors” of motor vehicles under
  16   Tex. Bus. & Com. Code Ann. § 2A.103(a)(16).
  17         2380. All Texas State Class members who purchased Class Vehicles in
  18   Texas are “buyers” within the meaning of Tex. Bus. & Com. Code Ann.
  19   § 2.103(a)).
  20         2381. All Texas State Class members who leased Class Vehicles in Texas are
  21   “lessees” within the meaning of Tex. Bus. & Com. Code Ann. § 2A.103(a)(14).
  22         2382. The Class Vehicles are and were at all relevant times “goods” within
  23   the meaning of Tex. Bus. & Com. Code Ann. §§ 2.105(a) and 2A.103(a)(8).
  24         2383. The Texas Plaintiffs and Texas State Class members have provided the
  25   FCA, Honda, Hyundai, and Toyota Defendants with reasonable notice and
  26   opportunity to cure the breaches of their implied warranties by way of the numerous
  27   NHTSA complaints filed against them, and individual notice letters sent by the
  28   Texas State Class members within a reasonable amount of time after the ACU

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   1   defect became public. Additionally, on May 23, 2019, Texas State Class members
   2   sent a notice letter to FCA US LLC, Honda Defendants, Hyundai Defendants, Kia
   3   Defendants, Mitsubishi Motors North America, Inc., Toyota Defendants, and ZF
   4   TRW Defendants. Moreover, a second notice letter was sent on behalf of the Texas
   5   Plaintiffs and Texas State Class members to FCA US LLC, Honda Defendants,
   6   Hyundai Defendants, Kia Defendants, Mitsubishi Motors North America, Inc.,
   7   Toyota Defendants, Hyundai MOBIS Co. Ltd., and ZF TRW Defendants on April
   8   24, 2020.
   9             2384. Alternatively, any opportunity to cure the breach is unnecessary and
  10   futile.
  11             2385. As a direct and proximate result of the FCA, Honda, Hyundai, and
  12   Toyota Defendants’ breach of the implied warranty of merchantability, the Texas
  13   Plaintiffs and Texas State Class members have been damaged in an amount to be
  14   proven at trial.
  15                   c.     Texas Count 3: Violation of the Deceptive Trade Practices-
  16                          Consumer Protection Act (Tex. Bus. & Com. Code Ann.
                              § 17.41, et seq.) Against the FCA, Honda, Hyundai, and
  17                          Toyota Defendants, and Hyundai MOBIS
  18             2386. Plaintiffs reallege and incorporate by reference all preceding
  19   allegations as though fully set forth herein.
  20             2387. Plaintiff John Robinson brings this count individually and on behalf of
  21   members of the Texas State Class who purchased or leased FCA Class Vehicles,
  22   against the FCA Defendants.
  23             2388. Plaintiff Angela Bowens brings this count individually and on behalf
  24   of members of the Texas State Class who purchased or leased Honda Class
  25   Vehicles, against the Honda Defendants.
  26             2389. Plaintiff Burton Reckles brings this count individually and on behalf of
  27   members of the Texas State Class who purchased or leased Hyundai Class
  28   Vehicles, against the Hyundai Defendants and Hyundai MOBIS.

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   1         2390. Plaintiffs Brent DeRouen, Danny Hunt, Evan Green and Joy Davis
   2   bring this count individually and on behalf of members of the Texas State Class
   3   who purchased or leased Toyota Class Vehicles, against the Toyota Defendants.
   4         2391. For purposes of this count, Plaintiffs Robinson, Bowens, Reckles,
   5   DeRouen, Hunt, Green and Davis shall be referred to as the “Texas Plaintiffs.”
   6         2392. The FCA Defendants, Honda Defendants, Hyundai Defendants,
   7   Toyota Defendants, the Texas Plaintiffs, and Texas State Class members are
   8   “persons” within the meaning of Tex. Bus. & Com. Code Ann. § 17.45(3).
   9         2393. The Texas Plaintiffs and Texas State Class members are “consumers”
  10   within the meaning of Tex. Bus. & Com. Code Ann. § 17.45(4).
  11         2394. The Class Vehicles (for purposes of this count, “Class Vehicles” are
  12   limited to the FCA, Honda, Hyundai, and Toyota Class Vehicles) are “goods”
  13   within the meaning of Tex. Bus. & Com. Code Ann. § 17.45(1).
  14         2395. The FCA, Honda, Hyundai, and Toyota Defendants were and are
  15   engaged in “trade” or “commerce” within the meaning of Tex. Bus. & Com. Code
  16   Ann. § 17.45(6).
  17         2396. The Deceptive Trade Practices-Consumer Protection Act (“Texas
  18   DTPA”) prohibits “[f]alse, misleading, or deceptive acts or practices in the conduct
  19   of any trade or commerce[,]” Tex. Bus. & Com. Code Ann. § 17.46(a), and an
  20   “unconscionable action or course of action[,]” Tex. Bus. & Com. Code Ann.
  21   §§ 17.45(5) and 17.50(a)(3).
  22         2397. In the course of their business, the FCA, Honda, Hyundai, and Toyota
  23   Defendants, and Hyundai MOBIS, through their agents, employees, and/or
  24   subsidiaries, violated the Texas DTPA by knowingly and intentionally
  25   misrepresenting, omitting, concealing, and/or failing to disclose material facts
  26   regarding the reliability, safety, and performance of the Class Vehicles or the
  27   defective ACUs, as detailed above. These acts and practices were unconscionable,
  28   and to the Texas Plaintiffs’ and Texas State Class members’ detriment, took

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   1   advantage of their lack of knowledge, ability, experience, or capacity to a grossly
   2   unfair degree.
   3         2398. Specifically, by misrepresenting the Class Vehicles and/or the
   4   defective ACUs installed in them as safe and/or free from defects, and by failing to
   5   disclose and actively concealing the dangers and risk posed by the Class Vehicles
   6   and/or the ACU defect, the FCA, Honda, Hyundai, and Toyota Defendants, and
   7   Hyundai MOBIS engaged in one or more of the following unfair or deceptive
   8   business practices prohibited by Tex. Bus. & Com. Code Ann. §§ 17.46:
   9                a.    Representing that the Class Vehicles and/or the defective ACUs
  10                      installed in them have characteristics, uses, benefits, and
  11                      qualities which they do not have;
  12                b.    Representing that the Class Vehicles and/or the defective ACUs
  13                      installed in them are of a particular standard, quality, and grade
  14                      when they are not; and
  15                c.    Advertising the Class Vehicles and/or the defective ACUs
  16                      installed in them with the intent not to sell or lease them as
  17                      advertised.
  18         Tex. Bus. & Com. Code Ann. §§ 17.46(5), (7), and (9).
  19         2399. The FCA, Honda, Hyundai and Toyota Defendants and Hyundai
  20   MOBIS’s unfair or deceptive acts or practices, including misrepresentations,
  21   concealments, omissions, and/or suppressions of material facts, had a tendency or
  22   capacity to mislead and create a false impression in consumers, and were likely to
  23   and did in fact deceive reasonable consumers, including the Texas Plaintiffs and
  24   Texas State Class members, about the true safety and reliability of Class Vehicles
  25   and/or the defective ACUs installed in them, the quality of the Class Vehicles, and
  26   the true value of the Class Vehicles.
  27         2400. The FCA, Honda, Hyundai, and Toyota Defendants, and Hyundai
  28   MOBIS’s scheme and concealment of the ACU defect and true characteristics of

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   1   the Occupant Restraint Systems in the Class Vehicles were material to the Texas
   2   Plaintiffs and Texas State Class members, as the FCA, Honda, Hyundai, and
   3   Toyota Defendants, and Hyundai MOBIS intended. Had they known the truth, the
   4   Texas Plaintiffs and Texas State Class members would not have purchased or
   5   leased the Class Vehicles, or would have paid significantly less for them.
   6         2401. The Texas Plaintiffs and Texas State Class members had no way of
   7   discerning that the FCA, Honda, Hyundai, and Toyota Defendants’ representations
   8   were false and misleading and/or otherwise learning the facts that the FCA, Honda,
   9   Hyundai, Toyota Defendants, and Hyundai MOBIS had concealed or failed to
  10   disclose. The Texas Plaintiffs and Texas State Class members did not, and could
  11   not, unravel the FCA, Honda, Hyundai, Toyota Defendants, and Hyundai MOBIS’s
  12   deception on their own.
  13         2402. The FCA, Honda, Hyundai, and Toyota Defendants, and Hyundai
  14   MOBIS had an ongoing duty to the Texas Plaintiffs and Texas State Class members
  15   to refrain from unfair and deceptive practices under the Texas DTPA in the course
  16   of their business. Specifically, the FCA, Honda, Hyundai, and Toyota Defendants,
  17   and Hyundai MOBIS owed the Texas Plaintiffs and Texas State Class members a
  18   duty to disclose all the material facts concerning the ACU defect in the Class
  19   Vehicles because they possessed exclusive knowledge, they intentionally concealed
  20   the ACU defect from the Texas Plaintiffs and Texas State Class members, and/or
  21   they made misrepresentations that were rendered misleading because they were
  22   contradicted by withheld facts.
  23         2403. The Texas Plaintiffs and Texas State Class members suffered
  24   ascertainable losses and actual damages as a direct and proximate result of the
  25   FCA, Honda, Hyundai, and Toyota Defendants, and Hyundai MOBIS’s
  26   concealment, misrepresentations, and/or failure to disclose material information.
  27         2404. The FCA, Honda, Hyundai, and Toyota Defendants, and Hyundai
  28   MOBIS’s violations present a continuing risk to the Texas Plaintiffs and Texas

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   1   State Class members, as well as to the general public. The FCA, Honda, Hyundai,
   2   and Toyota Defendants, and Hyundai MOBIS’s unlawful acts and practices
   3   complained of herein affect the public interest.
   4         2405. The FCA, Honda, Hyundai, and Toyota Defendants, and Hyundai
   5   MOBIS were provided notice of the issues raised in this count and this Complaint
   6   by the NHTSA investigations, the numerous complaints filed against them, and the
   7   many individual notice letters sent by Plaintiffs within a reasonable amount of time
   8   after the ACU defect became public. Additionally, on May 23, 2019, Texas State
   9   Class members sent a notice letter pursuant to Tex. Bus. & Com. Code Ann.
  10   § 17.505(a) to FCA US LLC, Honda Defendants, Hyundai Defendants, Kia
  11   Defendants, Mitsubishi Motors North America, Inc., Toyota Defendants, and ZF
  12   TRW Defendants. Moreover, a second notice letter was sent on behalf of the Texas
  13   Plaintiffs and Texas State Class members pursuant to Tex. Bus. & Com. Code Ann.
  14   § 17.505(a) to FCA US LLC, Honda Defendants, Hyundai Defendants, Kia
  15   Defendants, Mitsubishi Motors North America, Inc., Toyota Defendants, Hyundai
  16   MOBIS Co. Ltd., and ZF TRW Defendants on April 24, 2020. Because Defendants
  17   failed to adequately remedy their unlawful conduct within the requisite time period,
  18   the Texas Plaintiffs seek all damages and relief to which the Texas Plaintiffs and
  19   Texas State Class members are entitled.
  20         2406. Pursuant to Tex. Bus. & Com. Code Ann. § 17.50, the Texas Plaintiffs
  21   and Texas State Class members seek an order enjoining the FCA, Honda, Hyundai,
  22   and Toyota Defendants, and Hyundai MOBIS’s unfair or deceptive acts or practices
  23   and awarding damages and any other just and proper relief available under the
  24   Texas DTPA.
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   1                 d.    Texas Count 4: Violation of the Deceptive Trade Practices-
                           Consumer Protection Act (Tex. Bus. & Com. Code Ann.
   2                       § 17.41, et seq.) Against the ZF TRW and STMicro
   3                       Defendants
             2407. Plaintiffs reallege and incorporate by reference all preceding
   4
       allegations as though fully set forth herein.
   5
             2408. Plaintiffs John Robinson, Angela Bowens, Burton Reckles, Brent
   6
       DeRouen, Danny Hunt, Evan Green and Joy Davis bring this count individually and
   7
       on behalf of members of the Texas State Class against the ZF TRW and STMicro
   8
       Defendants.
   9
             2409. For purposes of this count, Plaintiffs Robinson, Bowens, Reckles,
  10
       DeRouen, Hunt, Green and Davis shall be referred to as the Texas Plaintiffs.
  11
             2410. The ZF TRW Defendants, the STMicro Defendants, the Texas
  12
       Plaintiffs, and Texas State Class members are “persons” within the meaning of Tex.
  13
       Bus. & Com. Code Ann. § 17.45(3).
  14
             2411. The Texas Plaintiffs and Texas State Class members are “consumers”
  15
       within the meaning of Tex. Bus. & Com. Code Ann. § 17.45(4).
  16
             2412. The Class Vehicles are “goods” within the meaning of Tex. Bus. &
  17
       Com. Code Ann. § 17.45(1).
  18
             2413. The ZF TRW and STMicro Defendants were and are engaged in
  19
       “trade” or “commerce” within the meaning of Tex. Bus. & Com. Code Ann.
  20
       § 17.45(6).
  21
             2414. The Deceptive Trade Practices-Consumer Protection Act (“Texas
  22
       DTPA”) prohibits “[f]alse, misleading, or deceptive acts or practices in the conduct
  23
       of any trade or commerce[,]” Tex. Bus. & Com. Code Ann. § 17.46(a), and an
  24
       “unconscionable action or course of action[,]” Tex. Bus. & Com. Code Ann.
  25
       §§ 17.45(5) and 17.50(a)(3).
  26
             2415. In the course of their business the ZF TRW and STMicro Defendants,
  27
       through their agents, employees, and/or subsidiaries, violated the Texas DTPA by
  28

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   1   knowingly and intentionally omitting, concealing, and failing to disclose material
   2   facts regarding the existence, nature, and scope of the defect with ZF TRW ACUs
   3   installed in the Class Vehicles, as detailed above. These acts and practices were
   4   unconscionable, and to the Texas Plaintiffs’ and Texas State Class members’
   5   detriment, took advantage of their lack of knowledge, ability, experience, or
   6   capacity to a grossly unfair degree.
   7         2416. Specifically, by failing to disclose and actively concealing the dangers
   8   and risk posed by the Class Vehicles due to the ACU defect, the ZF TRW and
   9   STMicro Defendants engaged in deceptive acts or practices in the conduct of trade
  10   or commerce prohibited by Tex. Bus. & Com. Code Ann. §§ 17.46.
  11         2417. The ZF TRW and STMicro Defendants’ unfair or deceptive acts or
  12   practices, including concealments, omissions, and suppressions of material facts,
  13   had a tendency or capacity to mislead and create a false impression in consumers,
  14   and were likely to and did in fact deceive reasonable consumers, including the
  15   Texas Plaintiffs and Texas State Class members, about the true safety and reliability
  16   of Class Vehicles and/or the defective ACUs installed in them.
  17         2418. The ZF TRW and STMicro Defendants’ scheme and concealment of
  18   the ACU defect and true characteristics of the defective ACUs in the Class Vehicles
  19   were material to the Texas Plaintiffs and Texas State Class members, as the ZF
  20   TRW and STMicro Defendants intended. Had they known the truth, the Texas
  21   Plaintiffs and Texas State Class members would not have purchased or leased the
  22   Class Vehicles, or would have paid significantly less for them.
  23         2419. The Texas Plaintiffs and Texas State Class members had no way of
  24   learning the facts that the ZF TRW and STMicro Defendants had concealed or
  25   failed to disclose. The Texas Plaintiffs and Texas State Class members did not, and
  26   could not, unravel the ZF TRW and STMicro Defendants’ deception on their own.
  27         2420. The ZF TRW and STMicro Defendants had an ongoing duty to the
  28   Texas Plaintiffs and Texas State Class members to refrain from unfair and

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   1   deceptive practices under the Texas DTPA in the course of their business.
   2   Specifically, the ZF TRW and STMicro Defendants owed the Texas Plaintiffs and
   3   Texas State Class members a duty to disclose all the material facts concerning the
   4   ACU defect in the Class Vehicles because they possessed exclusive knowledge and
   5   they intentionally concealed the ACU defect from the Texas Plaintiffs and Texas
   6   State Class members.
   7         2421. The Texas Plaintiffs and Texas State Class members suffered
   8   ascertainable losses and actual damages as a direct and proximate result of the ZF
   9   TRW and STMicro Defendants’ concealment and/or failure to disclose material
  10   information.
  11         2422. The ZF TRW and STMicro Defendants’ violations present a
  12   continuing risk to the Texas Plaintiffs and Texas State Class members, as well as to
  13   the general public. The ZF TRW and STMicro Defendants’ unlawful acts and
  14   practices complained of herein affect the public interest.
  15         2423. The ZF TRW and STMicro Defendants were provided notice of the
  16   issues raised in this count and this Complaint by the NHTSA investigations, the
  17   numerous complaints filed against them, and the many individual notice letters sent
  18   by Texas State Class members within a reasonable amount of time after the
  19   allegations of Class Vehicle defects became public. Additionally, on May 23, 2019,
  20   Texas State Class members sent a notice letter pursuant to Tex. Bus. & Com. Code
  21   Ann. § 17.505(a) to FCA US LLC, Honda Defendants, Hyundai Defendants, Kia
  22   Defendants, Mitsubishi Motors North America, Inc., Toyota Defendants, and ZF
  23   TRW Defendants. Moreover, a second notice letter was sent on behalf of the Texas
  24   Plaintiffs and Texas State Class members pursuant to Tex. Bus. & Com. Code Ann.
  25   § 17.505(a) to FCA US LLC, Honda Defendants, Hyundai Defendants, Kia
  26   Defendants, Mitsubishi Motors North America, Inc., Toyota Defendants, Hyundai
  27   Mobis, and ZF TRW Defendants on April 24, 2020. Because Defendants failed to
  28   adequately remedy their unlawful conduct within the requisite time period, the

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   1   Texas Plaintiffs seek all damages and relief to which the Texas Plaintiffs and Texas
   2   State Class members are entitled.
   3         2424. Alternatively, any requirement to give notice to the Defendants under
   4   Tex. Bus. & Com. Code Ann. § 17.505(a) is excused because, inter alia, notice was
   5   impracticable due to the necessity of filing suit in order to prevent the expiration of
   6   the statute of limitations on certain Texas Plaintiffs’ and Texas State Class
   7   Members’ claims.
   8         2425. Pursuant to Tex. Bus. & Com. Code Ann. § 17.50, the Texas Plaintiffs
   9   and Texas State Class members seek an order enjoining the ZF TRW and STMicro
  10   Defendants’ unfair or deceptive acts or practices and awarding damages and any
  11   other just and proper relief available under the Texas DTPA.
  12         xxvii. Virginia
  13                a.     Virginia Count 1: Breach of Express Warranty (Va. Code
  14                       Ann. §§ 8.2-313 and 8.2A-210) Against the FCA Defendants
  15         2426. Plaintiffs reallege and incorporate by reference all preceding

  16   allegations as though fully set forth herein.

  17         2427. Plaintiff Ann Harland (hereinafter, “Virginia Plaintiff”) brings this

  18   count individually and on behalf of members of the Virginia State Class who

  19   purchased or leased FCA Class Vehicles, against the FCA Defendants.

  20         2428. The FCA Defendants are and were at all relevant times “merchants”

  21   with respect to motor vehicles under Va. Code Ann. §§ 8-2-104(1) and 8.2A-

  22   103(1)(t), and “sellers” of motor vehicles under § 8.2-103(1)(d).

  23         2429. With respect to leases, the FCA Defendants are and were at all relevant

  24   times “lessors” of motor vehicles under Va. Code Ann. § 8-2A-103(1)(p).

  25         2430. All Virginia State Class members who purchased FCA Class Vehicles

  26   in Virginia are “buyers” within the meaning of Va. Code Ann. § 8.2-103(1)(a).

  27         2431. All Virginia State Class members who leased FCA Class Vehicles in

  28   Virginia are “lessees” within the meaning of Va. Code Ann. § 8.2A-103(1)(n).

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   1         2432. The FCA Class Vehicles are and were at all relevant times “goods”
   2   within the meaning of Va. Code Ann. §§ 8.2-105(1) and 8.2A-103(1)(h).
   3         2433. In connection with the purchase or lease of FCA Class Vehicles, the
   4   FCA Defendants provided the Virginia Plaintiff and Virginia State Class members
   5   with written express warranties covering the repair or replacement of components
   6   that are defective in materials or workmanship.
   7         2434. The FCA Defendants’ warranties formed the basis of the bargain that
   8   was reached when the Virginia Plaintiff and Virginia State Class members
   9   unknowingly purchased or leased FCA Class Vehicles that came equipped with a
  10   defective ACU.
  11         2435. However, the FCA Defendants knew or should have known that the
  12   warranties were false and/or misleading. Specifically, the FCA Defendants were
  13   aware of the ACU defect in the FCA Class Vehicles, which made the vehicles
  14   inherently defective and dangerous at the time that they were sold and leased to the
  15   Virginia Plaintiff and Virginia State Class members.
  16         2436. The Virginia Plaintiff and Virginia State Class members reasonably
  17   relied on the FCA Defendants’ express warranties when purchasing or leasing their
  18   FCA Class Vehicles.
  19         2437. The FCA Defendants knowingly breached their express warranties to
  20   repair defects in materials and workmanship by failing to repair the ACU defect or
  21   replace the defective ACUs in the FCA Class Vehicles. The FCA Defendants also
  22   breached their express warranties by providing a product containing defects that
  23   were never disclosed to the Virginia Plaintiff and Virginia State Class members.
  24         2438. The Virginia Plaintiff and Virginia State Class members have provided
  25   the FCA Defendants with reasonable notice and opportunity to cure the breaches of
  26   their express warranties by way of the numerous NHTSA complaints filed against
  27   them, and individual notice letters sent by the Virginia State Class members within
  28   a reasonable amount of time after the ACU defect became public. Additionally, a

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   1   notice letter was sent on behalf of the Virginia Plaintiff and Virginia State Class
   2   members to FCA US LLC, Honda Defendants, Hyundai Defendants, Kia
   3   Defendants, Mitsubishi Motors North America, Inc., Toyota Defendants, Hyundai
   4   MOBIS Co. Ltd., and ZF TRW Defendants on April 24, 2020.
   5             2439. Alternatively, any opportunity to cure the breach is unnecessary and
   6   futile.
   7             2440. As a direct and proximate result of the FCA Defendants’ breach of
   8   their express warranties, the Virginia Plaintiff and Virginia State Class members
   9   have been damaged in an amount to be proven at trial.
  10                   b.     Virginia Count 2: Breach of Implied Warranty of
  11                          Merchantability (Va. Code Ann. §§ 8.2-314 and 8.2A-212)
                              Against the FCA Defendants
  12             2441. Plaintiffs reallege and incorporate by reference all preceding
  13   allegations as though fully set forth herein.
  14             2442. The Virginia Plaintiff brings this count individually and on behalf of
  15   members of the Virginia State Class who purchased or leased FCA Class Vehicles,
  16   against the FCA Defendants.
  17             2443. A warranty that the FCA Class Vehicles were in merchantable
  18   condition and fit for the ordinary purpose for which such goods are used is implied
  19   by law pursuant to Va. Code Ann. §§ 8.2-314 and 8.2A-212.
  20             2444. The FCA Class Vehicles did not comply with the implied warranty of
  21   merchantability because, at the time of sale and at all times thereafter, they were
  22   defective and not in merchantable condition, would not pass without objection in
  23   the trade, and were not fit for the ordinary purpose for which vehicles were used.
  24   Specifically, the FCA Class Vehicles suffer from the ACU defect, which causes the
  25   airbags and seatbelt pretensioners to fail to deploy during an accident, rendering the
  26   FCA Class Vehicles inherently defective and dangerous.
  27
  28

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   1             2445. The FCA Defendants are and were at all relevant times “merchants”
   2   with respect to motor vehicles under Va. Code Ann. §§ 8.2-104(1) and 8.2A-
   3   103(1)(t), and “sellers” of motor vehicles under § 8.2-103(1)(d).
   4             2446. With respect to leases, the FCA Defendants are and were at all relevant
   5   times “lessors” of motor vehicles under Va. Code Ann. § 8.2A-103(1)(p).
   6             2447. All Virginia State Class members who purchased FCA Class Vehicles
   7   in Virginia are “buyers” within the meaning of Va. Code Ann. § 8-2-313(1).
   8             2448. All Virginia State Class members who leased FCA Class Vehicles in
   9   Virginia are “lessees” within the meaning of Va. Code Ann. § 8-2A-103(1)(n).
  10             2449. The FCA Class Vehicles are and were at all relevant times “goods”
  11   within the meaning of Va. Code Ann. §§ 8.2-105(1) and 8.2A-103(1)(h).
  12             2450. The Virginia Plaintiff and Virginia State Class members have provided
  13   the FCA Defendants with reasonable notice and opportunity to cure the breaches of
  14   their implied warranties by way of the numerous NHTSA complaints filed against
  15   them, and individual notice letters sent by the Virginia State Class members within
  16   a reasonable amount of time after the ACU defect became public. Additionally, a
  17   notice letter was sent on behalf of the Virginia Plaintiff and Virginia State Class
  18   members to FCA US LLC, Honda Defendants, Hyundai Defendants, Kia
  19   Defendants, Mitsubishi Motors North America, Inc., Toyota Defendants, Hyundai
  20   MOBIS Co. Ltd., and ZF TRW Defendants on April 24, 2020.
  21             2451. Alternatively, any opportunity to cure the breach is unnecessary and
  22   futile.
  23             2452. As a direct and proximate result of the FCA Defendants’ breach of the
  24   implied warranty of merchantability, the Virginia Plaintiff and Virginia State Class
  25   members have been damaged in an amount to be proven at trial.
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   1                c.     Virginia Count 3: Violation of the Virginia Consumer
                           Protection Act (Va. Code Ann. § 59.1-196, et seq.) Against
   2                       the FCA Defendants
   3         2453. Plaintiffs reallege and incorporate by reference all preceding
   4   allegations as though fully set forth herein.
   5         2454. The Virginia Plaintiff brings this count individually and on behalf of
   6   members of the Virginia State Class who purchased or leased FCA Class Vehicles,
   7   against the FCA Defendants.
   8         2455. The FCA Defendants, the Virginia Plaintiff, and the Virginia State
   9   Class members are “persons” within the meaning of Va. Code Ann. § 59.1-198.
  10         2456. The FCA Defendants were and are “suppliers” within the meaning of
  11   Va. Code Ann. § 59.1-198.
  12         2457. The FCA Class Vehicles and defective ACUs installed in them are
  13   “goods” within the meaning of Va. Code Ann. § 59.1-198.
  14         2458. The FCA Defendants were and are engaged in “consumer
  15   transactions” within the meaning of Va. Code Ann. § 59.1-198.
  16         2459. The Virginia Consumer Protection Act (“Virginia CPA”) prohibits
  17   “fraudulent acts or practices committed by a supplier in connection with a
  18   consumer transaction[.]” Va. Code Ann. § 59.1-200(A).
  19         2460. In the course of their business, the FCA Defendants, through their
  20   agents, employees, and/or subsidiaries, violated the Virginia CPA by knowingly
  21   and intentionally misrepresenting, omitting, concealing, and/or failing to disclose
  22   material facts regarding the reliability, safety, and performance of the FCA Class
  23   Vehicles or the defective ACUs, as detailed above.
  24         2461. Specifically, by misrepresenting the FCA Class Vehicles and/or the
  25   defective ACUs installed in them as safe and/or free from defects, and by failing to
  26   disclose and actively concealing the dangers and risk posed by the FCA Class
  27   Vehicles and/or the ACU defect, the FCA Defendants engaged in one or more of
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   1   the following unfair or deceptive business practices prohibited by Va. Code Ann.
   2   § 59.1-200:
   3                 a.   Representing that the FCA Class Vehicles and/or the defective
   4                      ACUs installed in them have characteristics, uses, benefits, and
   5                      qualities which they do not have;
   6                 b.   Representing that the FCA Class Vehicles and/or the defective
   7                      ACUs installed in them are of a particular standard, quality, and
   8                      grade when they are not;
   9                 c.   Advertising the FCA Class Vehicles and/or the defective ACUs
  10                      installed in them with the intent not to sell or lease them as
  11                      advertised; and
  12                 d.   Engaging in any other deception, fraud, false pretense, false
  13                      promise, or misrepresentation.
  14         Va. Code Ann. §§ 59.1-200(A)(5)-(6), (8), and (14).
  15         2462. The FCA Defendants’ unfair or deceptive acts or practices, including
  16   misrepresentations, concealments, omissions, and suppressions of material facts,
  17   had a tendency or capacity to mislead and create a false impression in consumers,
  18   and were likely to and did in fact deceive reasonable consumers, including the
  19   Virginia Plaintiff and Virginia State Class members, about the true safety and
  20   reliability of FCA Class Vehicles and/or the defective ACUs installed in them, the
  21   quality of the FCA Class Vehicles, and the true value of the FCA Class Vehicles.
  22         2463. The FCA Defendants’ scheme and concealment of the ACU defect and
  23   true characteristics of the Occupant Restraint Systems in the FCA Class Vehicles
  24   were material to the Virginia Plaintiff and Virginia State Class members, as the
  25   FCA Defendants intended. Had they known the truth, the Virginia Plaintiff and
  26   Virginia State Class members would not have purchased or leased the FCA Class
  27   Vehicles, or would have paid significantly less for them.
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   1         2464. The Virginia Plaintiff and Virginia State Class members had no way of
   2   discerning that the FCA Defendants’ representations were false and misleading
   3   and/or otherwise learning the facts that the FCA Defendants had concealed or failed
   4   to disclose. The Virginia Plaintiff and Virginia State Class members did not, and
   5   could not, unravel the FCA Defendants’ deception on their own.
   6         2465. The FCA Defendants had an ongoing duty to the Virginia Plaintiff and
   7   Virginia State Class members to refrain from unfair and deceptive practices under
   8   the Virginia CPA in the course of their business. Specifically, the FCA Defendants
   9   owed the Virginia Plaintiff and Virginia State Class members a duty to disclose all
  10   the material facts concerning the ACU defect in the FCA Class Vehicles because
  11   they possessed exclusive knowledge, they intentionally concealed the ACU defect
  12   from the Virginia Plaintiff and Virginia State Class members, and/or they made
  13   misrepresentations that were rendered misleading because they were contradicted
  14   by withheld facts.
  15         2466. The Virginia Plaintiff and Virginia State Class members suffered
  16   ascertainable losses and actual damages as a direct and proximate result of the FCA
  17   Defendants’ concealment, misrepresentations, and/or failure to disclose material
  18   information.
  19         2467. The FCA Defendants’ violations present a continuing risk to the
  20   Virginia Plaintiff and Virginia State Class members, as well as to the general
  21   public. The FCA Defendants’ unlawful acts and practices complained of herein
  22   affect the public interest.
  23         2468. Pursuant to Va. Code Ann. § 59.1-204(A)–(B), the Virginia Plaintiff
  24   and Virginia State Class members seek an order enjoining the FCA Defendants’
  25   unfair or deceptive acts or practices and awarding damages and any other just and
  26   proper relief available under the Virginia CPA.
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   1                 d.    Virginia Count 4: Violation of the Virginia Consumer
                           Protection Act (Va. Code Ann. § 59.1-196, et seq.) Against
   2                       the ZF TRW and STMicro Defendants
   3         2469. Plaintiffs reallege and incorporate by reference all preceding
   4   allegations as though fully set forth herein.
   5         2470. The Virginia Plaintiff brings this count individually and on behalf of
   6   members of the Virginia State Class against the ZF TRW and STMicro Defendants.
   7         2471. The ZF TRW Defendants, the STMicro Defendants, the Virginia
   8   Plaintiff, and Virginia State Class members are “persons” within the meaning of
   9   Va. Code Ann. § 59.1-198.
  10         2472. The ZF TRW and STMicro Defendants were and are “suppliers”
  11   within the meaning of Va. Code Ann. § 59.1-198.
  12         2473. The Class Vehicles and defective ACUs installed in them are “goods”
  13   within the meaning of Va. Code Ann. § 59.1-198.
  14         2474. The ZF TRW and STMicro Defendants were and are engaged in
  15   “consumer transactions” within the meaning of Va. Code Ann. § 59.1-198.
  16         2475. The Virginia Consumer Protection Act (“Virginia CPA”) prohibits
  17   “fraudulent acts or practices committed by a supplier in connection with a
  18   consumer transaction[.]” Va. Code Ann. § 59.1-200(A).
  19         2476. In the course of their business the ZF TRW and STMicro Defendants,
  20   through their agents, employees, and/or subsidiaries, violated the Virginia CPA by
  21   knowingly and intentionally omitting, concealing, and failing to disclose material
  22   facts regarding the existence, nature, and scope of the defect with ZF TRW ACUs
  23   installed in the Class Vehicles, as detailed above.
  24         2477. Specifically, by failing to disclose and actively concealing the dangers
  25   and risk posed by the Class Vehicles due to the ACU defect, the ZF TRW and
  26   STMicro Defendants engaged in fraudulent acts or practices by using deception and
  27   fraud in connection with a consumer transaction, as prohibited by Va. Code Ann.
  28   § 59.1-200.

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   1          2478. The ZF TRW and STMicro Defendants’ unfair or deceptive acts or
   2   practices, including concealments, omissions, and suppressions of material facts,
   3   had a tendency or capacity to mislead and create a false impression in consumers,
   4   and were likely to and did in fact deceive reasonable consumers, including the
   5   Virginia Plaintiff and Virginia State Class members, about the true safety and
   6   reliability of Class Vehicles and/or the defective ACUs installed in them.
   7          2479. The ZF TRW and STMicro Defendants’ scheme and concealment of
   8   the ACU defect and true characteristics of the defective ACUs in the Class Vehicles
   9   were material to the Virginia Plaintiff and Virginia State Class members, as the ZF
  10   TRW and STMicro Defendants intended. Had they known the truth, the Virginia
  11   Plaintiff and Virginia State Class members would not have purchased or leased the
  12   Class Vehicles, or would have paid significantly less for them.
  13          2480. The Virginia Plaintiff and Virginia State Class members had no way of
  14   learning the facts that the ZF TRW and STMicro Defendants had concealed or
  15   failed to disclose. The Virginia Plaintiff and Virginia State Class members did not,
  16   and could not, unravel the ZF TRW and STMicro Defendants’ deception on their
  17   own.
  18          2481. The ZF TRW and STMicro Defendants had an ongoing duty to the
  19   Virginia Plaintiff and Virginia State Class members to refrain from unfair and
  20   deceptive practices under the Virginia CPA in the course of their business.
  21   Specifically, the ZF TRW and STMicro Defendants owed the Virginia Plaintiff and
  22   Virginia State Class members a duty to disclose all the material facts concerning the
  23   ACU defect in the Class Vehicles because they possessed exclusive knowledge and
  24   they intentionally concealed the ACU defect from the Virginia Plaintiff and
  25   Virginia State Class members.
  26          2482. The Virginia Plaintiff and Virginia State Class members suffered
  27   ascertainable losses and actual damages as a direct and proximate result of the ZF
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   1   TRW and STMicro Defendants’ concealment and/or failure to disclose material
   2   information.
   3         2483. The ZF TRW and STMicro Defendants’ violations present a
   4   continuing risk to the Virginia Plaintiff and Virginia State Class members, as well
   5   as to the general public. The ZF TRW and STMicro Defendants’ unlawful acts and
   6   practices complained of herein affect the public interest.
   7         2484. Pursuant to Va. Code Ann. § 59.1-204(A)–(B), the Virginia Plaintiff
   8   and Virginia State Class members seek an order enjoining the ZF TRW and
   9   STMicro Defendants’ unfair or deceptive acts or practices and awarding damages
  10   and any other just and proper relief available under the Virginia CPA.
  11         xxviii.       Washington
  12                  a.   Washington Count 1: Breach of Express Warranty (Wash.
  13                       Rev. Code §§ 62A.2-313 and 62A.2A-210) Against the
                           Hyundai and Toyota Defendants
  14
             2485. Plaintiffs reallege and incorporate by reference all preceding
  15
       allegations as though fully set forth herein.
  16
             2486. Plaintiff Dragan Jagnjic brings this count individually and on behalf of
  17
       members of the Washington State Class who purchased or leased Hyundai Class
  18
       Vehicles, against the Hyundai Defendants.
  19
             2487. Plaintiff Dee Roberts brings this count individually and on behalf of
  20
       members of the Washington State Class who purchased or leased Toyota Class
  21
       Vehicles, against the Toyota Defendants.
  22
             2488. For purposes of this count, Plaintiffs Jagnjic and Roberts shall be
  23
       referred to as the “Washington Plaintiffs.”
  24
             2489. The Hyundai and Toyota Defendants are and were at all relevant times
  25
       “merchants” with respect to motor vehicles under Wash. Rev. Code §§ 62A.2-
  26
       104(1) and 62A.2A-103(1)(t), and “sellers” of motor vehicles under § 62A.2-
  27
       103(1)(d).
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   1         2490. With respect to leases, the Hyundai and Toyota Defendants are and
   2   were at all relevant times “lessors” of motor vehicles under Wash. Rev. Code
   3   § 62A.2A-103(1)(p).
   4         2491. All Washington State Class members who purchased Class Vehicles
   5   (for purposes of this count, “Class Vehicles” are limited to the Hyundai and Toyota
   6   Class Vehicles) in Washington are “buyers” within the meaning of Wash. Rev.
   7   Code § 62A.2-103(a)(a).
   8         2492. All Washington State Class members who leased Class Vehicles in
   9   Washington are “lessees” within the meaning of Wash. Rev. Code § 62A.2A-
  10   103(1)(n).
  11         2493. The Class Vehicles are and were at all relevant times “goods” within
  12   the meaning of Wash. Rev. Code §§ 62A.2-105(1) and 62A.2A-103(1)(h).
  13         2494. In connection with the purchase or lease of Class Vehicles, the
  14   Hyundai and Toyota Defendants provided the Washington Plaintiffs and
  15   Washington State Class members with written express warranties covering the
  16   repair or replacement of components that are defective in materials or
  17   workmanship.
  18         2495. The Hyundai and Toyota Defendants’ warranties formed the basis of
  19   the bargain that was reached when the Washington Plaintiffs and Washington State
  20   Class members unknowingly purchased or leased Class Vehicles that came
  21   equipped with a defective ACU.
  22         2496. However, the Hyundai and Toyota Defendants knew or should have
  23   known that the warranties were false and/or misleading. Specifically, the Hyundai
  24   and Toyota Defendants were aware of the ACU defect in the Class Vehicles, which
  25   made the vehicles inherently defective and dangerous at the time that they were
  26   sold and leased to the Washington Plaintiffs and Washington State Class members.
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   1             2497. The Washington Plaintiffs and Washington State Class members
   2   reasonably relied on the Hyundai and Toyota Defendants’ express warranties when
   3   purchasing or leasing their Class Vehicles.
   4             2498. The Hyundai and Toyota Defendants knowingly breached their
   5   express warranties to repair defects in materials and workmanship by failing to
   6   repair the ACU defect or replace the defective ACUs in the Class Vehicles. The
   7   Hyundai and Toyota Defendants also breached their express warranties by
   8   providing a product containing defects that were never disclosed to the Washington
   9   Plaintiffs and Washington State Class members.
  10             2499. The Washington Plaintiffs and Washington State Class members have
  11   provided the Hyundai and Toyota Defendants with reasonable notice and
  12   opportunity to cure the breaches of their express warranties by way of the numerous
  13   NHTSA complaints filed against them, and individual notice letters sent by the
  14   Washington State Class members within a reasonable amount of time after the
  15   ACU defect became public. Additionally, a notice letter was sent on behalf of the
  16   Washington Plaintiffs and Washington State Class members to FCA US LLC,
  17   Honda Defendants, Hyundai Defendants, Kia Defendants, Mitsubishi Motors North
  18   America, Inc., Toyota Defendants, Hyundai MOBIS Co. Ltd., and ZF TRW
  19   Defendants on April 24, 2020.
  20             2500. Alternatively, any opportunity to cure the breach is unnecessary and
  21   futile.
  22             2501. As a direct and proximate result of the Hyundai and Toyota
  23   Defendants’ breach of their express warranties, the Washington Plaintiffs and
  24   Washington State Class members have been damaged in an amount to be proven at
  25   trial.
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   1                b.     Washington Count 2: Breach of Implied Warranty of
                           Merchantability (Wash. Rev. Code §§ 62A.2-314 and
   2                       62A.2A-212) Against the Hyundai and Toyota Defendants
   3          2502. Plaintiffs reallege and incorporate by reference all preceding
   4   allegations as though fully set forth herein.
   5          2503. Plaintiff Dragan Jagnjic brings this count individually and on behalf of
   6   members of the Washington State Class who purchased or leased Hyundai Class
   7   Vehicles, against the Hyundai Defendants.
   8          2504. Plaintiff Dee Roberts brings this count individually and on behalf of
   9   members of the Washington State Class who purchased or leased Toyota Class
  10   Vehicles, against the Toyota Defendants.
  11          2505. For purposes of this count, Plaintiffs Jagnjic and Roberts shall be
  12   referred to as the “Washington Plaintiffs.”
  13          2506. A warranty that the Class Vehicles (for purposes of this count, “Class
  14   Vehicles” are limited to the Hyundai and Toyota Class Vehicles) were in
  15   merchantable condition and fit for the ordinary purpose for which such goods are
  16   used is implied by law pursuant to Wash. Rev. Code §§ 62A.2-314 and 62A.2A-
  17   212.
  18          2507. The Class Vehicles did not comply with the implied warranty of
  19   merchantability because, at the time of sale and at all times thereafter, they were
  20   defective and not in merchantable condition, would not pass without objection in
  21   the trade, and were not fit for the ordinary purpose for which vehicles were used.
  22   Specifically, the Class Vehicles suffer from the ACU defect, which causes the
  23   airbags and seatbelt pretensioners to fail to deploy during an accident, rendering the
  24   Class Vehicles inherently defective and dangerous.
  25          2508. The Hyundai and Toyota Defendants are and were at all relevant times
  26   “merchants” with respect to motor vehicles under Wash. Rev. Code §§ 62A.2-
  27   104(1) and 62A.2A-103(1)(t), and “sellers” of motor vehicles under § 62A.2-
  28   103(1)(d).

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   1             2509. With respect to leases, the Hyundai and Toyota Defendants are and
   2   were at all relevant times “lessors” of motor vehicles under Wash. Rev. Code
   3   § 62A.2A-103(1)(p).
   4             2510. All Washington State Class members who purchased Class Vehicles in
   5   Washington are “buyers” within the meaning of Wash. Rev. Code § 62A.2-
   6   103(a)(a).
   7             2511. All Washington State Class members who leased Class Vehicles in
   8   Washington are “lessees” within the meaning of Wash. Rev. Code § 62A.2A-
   9   103(1)(n).
  10             2512. The Class Vehicles were at all relevant times “goods” within the
  11   meaning of Wash. Rev. Code §§ 62A.2-105(1) and 62A.2A-103(1)(h).
  12             2513. The Washington Plaintiffs and Washington State Class members have
  13   provided the Hyundai and Toyota Defendants with reasonable notice and
  14   opportunity to cure the breaches of their implied warranties by way of the numerous
  15   NHTSA complaints filed against them, and individual notice letters sent by the
  16   Washington State Class members within a reasonable amount of time after the
  17   ACU defect became public. Additionally, a notice letter was sent on behalf of the
  18   Washington Plaintiffs and Washington State Class members to FCA US LLC,
  19   Honda Defendants, Hyundai Defendants, Kia Defendants, Mitsubishi Motors North
  20   America, Inc., Toyota Defendants, Hyundai MOBIS Co. Ltd., and ZF TRW
  21   Defendants on April 24, 2020.
  22             2514. Alternatively, any opportunity to cure the breach is unnecessary and
  23   futile.
  24             2515. As a direct and proximate result of the Hyundai and Toyota
  25   Defendants’ breach of the implied warranty of merchantability, the Washington
  26   Plaintiffs and Washington State Class members have been damaged in an amount to
  27   be proven at trial.
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   1                c.     Washington Count 3: Violation of the Washington
                           Consumer Protection Act (Wash. Rev. Code § 19.86.010, et
   2                       seq.) Against the Hyundai and Toyota Defendants and
   3                       Hyundai MOBIS
             2516. Plaintiffs reallege and incorporate by reference all preceding
   4
       allegations as though fully set forth herein.
   5
             2517. Plaintiff Dragan Jagnjic brings this count individually and on behalf of
   6
       members of the Washington State Class who purchased or leased Hyundai Class
   7
       Vehicles, against the Hyundai Defendants and Hyundai MOBIS.
   8
             2518. Plaintiff Dee Roberts brings this count individually and on behalf of
   9
       members of the Washington State Class who purchased or leased Toyota Class
  10
       Vehicles, against the Toyota Defendants.
  11
             2519. For purposes of this count, Plaintiffs Jagnjic and Roberts shall be
  12
       referred to as the “Washington Plaintiffs.”
  13
             2520. The Hyundai Defendants, the Toyota Defendants, Hyundai MOBIS,
  14
       the Washington Plaintiffs, and Washington State Class members are “persons”
  15
       within the meaning of Wash. Rev. Code § 19.86.010(1).
  16
             2521. The Class Vehicles (for purposes of this count, “Class Vehicles” are
  17
       limited to the Hyundai and Toyota Class Vehicles) and defective ACUs installed in
  18
       them are “assets” within the meaning of Wash. Rev. Code § 19.86.010(3).
  19
             2522. The Hyundai and Toyota Defendants and Hyundai MOBIS were and
  20
       are engaged in “trade” or “commerce” within the meaning of Wash. Rev. Code
  21
       § 19.86.010(2).
  22
             2523. The Washington Consumer Protection Act (“Washington CPA”)
  23
       prohibits “[u]nfair methods of competition and unfair or deceptive acts or practices
  24
       in the conduct of any trade or commerce[.]” Wash. Rev. Code § 19.86.020.
  25
             2524. In the course of their business, the Hyundai and Toyota Defendants
  26
       and Hyundai MOBIS, through their agents, employees, and/or subsidiaries, violated
  27
       the Washington CPA by knowingly and intentionally misrepresenting, omitting,
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   1   concealing, and/or failing to disclose material facts regarding the reliability, safety,
   2   and performance of the Class Vehicles or the defective ACUs, as detailed above.
   3         2525. Specifically, by misrepresenting the Class Vehicles and/or the
   4   defective ACUs installed in them as safe and/or free from defects, and by failing to
   5   disclose and actively concealing the dangers and risk posed by the Class Vehicles
   6   and/or the ACU defect, the Hyundai and Toyota Defendants and Hyundai MOBIS
   7   engaged unfair methods of competition and unfair or deceptive acts or practices in
   8   the conduct of any trade or commerce, as prohibited by Wash. Rev. Code
   9   § 19.86.020.
  10         2526. The Hyundai and Toyota Defendants and Hyundai MOBIS’s unfair or
  11   deceptive acts or practices, including misrepresentations, concealments, omissions,
  12   and/or suppressions of material facts, had a tendency or capacity to mislead and
  13   create a false impression in consumers, and were likely to and did in fact deceive
  14   reasonable consumers, including the Washington Plaintiffs and Washington State
  15   Class members, about the true safety and reliability of Class Vehicles and/or the
  16   defective ACUs installed in them, the quality of the Class Vehicles, and the true
  17   value of the Class Vehicles.
  18         2527. The Hyundai and Toyota Defendants and Hyundai MOBIS’s scheme
  19   and concealment of the ACU defect and true characteristics of the Occupant
  20   Restraint Systems in the Class Vehicles were material to the Washington Plaintiffs
  21   and Washington State Class members, as the Hyundai and Toyota Defendants and
  22   Hyundai MOBIS intended. Had they known the truth, the Washington Plaintiffs
  23   and Washington State Class members would not have purchased or leased the Class
  24   Vehicles, or would have paid significantly less for them.
  25         2528. The Washington Plaintiffs and Washington State Class members had
  26   no way of discerning that the Hyundai and Toyota Defendants’ representations
  27   were false and misleading and/or otherwise learning the facts that the Hyundai and
  28   Toyota Defendants and Hyundai MOBIS had concealed or failed to disclose. The

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   1   Washington Plaintiffs and Washington State Class members did not, and could not,
   2   unravel the Hyundai and Toyota Defendants and Hyundai MOBIS’s deception on
   3   their own.
   4         2529. The Hyundai and Toyota Defendants and Hyundai MOBIS had an
   5   ongoing duty to the Washington Plaintiffs and Washington State Class members to
   6   refrain from unfair and deceptive practices under the Washington CPA in the
   7   course of their business. Specifically, the Hyundai and Toyota Defendants and
   8   Hyundai MOBIS owed the Washington Plaintiffs and Washington State Class
   9   members a duty to disclose all the material facts concerning the ACU defect in the
  10   Class Vehicles because they possessed exclusive knowledge, they intentionally
  11   concealed the ACU defect from the Washington Plaintiffs and Washington State
  12   Class members, and/or they made misrepresentations that were rendered misleading
  13   because they were contradicted by withheld facts.
  14         2530. The Washington Plaintiffs and Washington State Class members
  15   suffered ascertainable losses and actual damages as a direct and proximate result of
  16   the Hyundai and Toyota Defendants and Hyundai MOBIS’s concealment,
  17   misrepresentations, and/or failure to disclose material information.
  18         2531. The Hyundai and Toyota Defendants and Hyundai MOBIS’s
  19   violations present a continuing risk to the Washington Plaintiffs and Washington
  20   State Class members, as well as to the general public. The Hyundai and Toyota
  21   Defendants and Hyundai MOBIS’s unlawful acts and practices complained of
  22   herein affect the public interest.
  23         2532. Pursuant to Wash. Rev. Code §§ 19.86.090, the Washington Plaintiffs
  24   and Washington State Class members seek an order enjoining the Hyundai and
  25   Toyota Defendants and Hyundai MOBIS’s unfair or deceptive acts or practices and
  26   awarding damages and any other just and proper relief available under the
  27   Washington CPA.
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   1                d.     Washington Count 4: Violation of the Washington
                           Consumer Protection Act (Wash. Rev. Code § 19.86.010, et
   2                       seq.) Against the ZF TRW and STMicro Defendants
   3         2533. Plaintiffs reallege and incorporate by reference all preceding
   4   allegations as though fully set forth herein.
   5         2534. Plaintiffs Dragan Jagnjic and Dee Roberts bring this count individually
   6   and on behalf of members of the Washington State Class against the ZF TRW and
   7   STMicro Defendants.
   8         2535. For purposes of this count, Plaintiffs Jagnjic and Roberts shall be
   9   referred to as the Washington Plaintiffs.
  10         2536. The ZF TRW Defendants, the STMicro Defendants, the Washington
  11   Plaintiffs, and Washington State Class members are “persons” within the meaning
  12   of Wash. Rev. Code § 19.86.010(1).
  13         2537. The Class Vehicles and defective ACUs installed in them are “assets”
  14   within the meaning of Wash. Rev. Code § 19.86.010(3).
  15         2538. The ZF TRW and STMicro Defendants were and are engaged in
  16   “trade” or “commerce” within the meaning of Wash. Rev. Code § 19.86.010(2).
  17         2539. The Washington Consumer Protection Act (“Washington CPA”)
  18   prohibits “[u]nfair methods of competition and unfair or deceptive acts or practices
  19   in the conduct of any trade or commerce[.]” Wash. Rev. Code § 19.86.020.
  20         2540. In the course of their business the ZF TRW and STMicro Defendants,
  21   through their agents, employees, and/or subsidiaries, violated the Washington CPA
  22   by knowingly and intentionally omitting, concealing, and failing to disclose
  23   material facts regarding the existence, nature, and scope of the defect with ZF TRW
  24   ACUs installed in the Class Vehicles, as detailed above.
  25         2541. Specifically, by failing to disclose and actively concealing the dangers
  26   and risk posed by the Class Vehicles due to the ACU defect, the ZF TRW and
  27   STMicro Defendants engaged in Unfair methods of competition and unfair or
  28

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   1   deceptive acts or practices in the conduct of any trade or commerce prohibited by
   2   Wash. Rev. Code § 19.86.020.
   3           2542. The ZF TRW and STMicro Defendants’ unfair or deceptive acts or
   4   practices, including concealments, omissions, and suppressions of material facts,
   5   had a tendency or capacity to mislead and create a false impression in consumers,
   6   and were likely to and did in fact deceive reasonable consumers, including the
   7   Washington Plaintiffs and Washington State Class members, about the true safety
   8   and reliability of Class Vehicles and/or the defective ACUs installed in them.
   9           2543. The ZF TRW and STMicro Defendants’ scheme and concealment of
  10   the ACU defect and true characteristics of the defective ACUs in the Class Vehicles
  11   were material to the Washington Plaintiffs and Washington State Class members, as
  12   the ZF TRW and STMicro Defendants intended. Had they known the truth, the
  13   Washington Plaintiffs and Washington State Class members would not have
  14   purchased or leased the Class Vehicles, or would have paid significantly less for
  15   them.
  16           2544. The Washington Plaintiffs and Washington State Class members had
  17   no way of learning the facts that the ZF TRW and STMicro Defendants had
  18   concealed or failed to disclose. The Washington Plaintiffs and Washington State
  19   Class members did not, and could not, unravel the ZF TRW and STMicro
  20   Defendants’ deception on their own.
  21           2545. The ZF TRW and STMicro Defendants had an ongoing duty to the
  22   Washington Plaintiffs and Washington State Class members to refrain from unfair
  23   and deceptive practices under the Washington CPA in the course of their business.
  24   Specifically, the ZF TRW and STMicro Defendants owed the Washington Plaintiffs
  25   and Washington State Class members a duty to disclose all the material facts
  26   concerning the ACU defect in the Class Vehicles because they possessed exclusive
  27   knowledge and they intentionally concealed the ACU defect from the Washington
  28   Plaintiffs and Washington State Class members.

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   1         2546. The Washington Plaintiffs and Washington State Class members
   2   suffered ascertainable losses and actual damages as a direct and proximate result of
   3   the ZF TRW and STMicro Defendants’ concealment and/or failure to disclose
   4   material information.
   5         2547. The ZF TRW and STMicro Defendants’ violations present a
   6   continuing risk to the Washington Plaintiffs and Washington State Class members,
   7   as well as to the general public. The ZF TRW and STMicro Defendants’ unlawful
   8   acts and practices complained of herein affect the public interest.
   9         2548. Pursuant to Wash. Rev. Code §§ 19.86.090, the Washington Plaintiffs
  10   and Washington State Class members seek an order enjoining the ZF TRW and
  11   STMicro Defendants’ unfair or deceptive acts or practices and awarding damages
  12   and any other just and proper relief available under the Washington CPA.
  13         xxix. Wisconsin
  14                a.     Wisconsin Count 1: Breach of Express Warranty (Wis. Stat.
  15                       §§ 402.313 and 411.210) Against the Mitsubishi Defendants
  16         2549. Plaintiffs reallege and incorporate by reference all preceding

  17   allegations as though fully set forth herein.

  18         2550. Plaintiff John Sancomb (hereinafter, “Wisconsin Plaintiff”) brings this

  19   count individually and on behalf of members of the Wisconsin State Class who

  20   purchased or leased Mitsubishi Class Vehicles, against the Mitsubishi Defendants.

  21         2551. The Mitsubishi Defendants are and were at all relevant times

  22   “merchants” with respect to motor vehicles under Wis. Stat. §§ 402.104(3) and

  23   411.103(1)(t), and “sellers” of motor vehicles under § 402.103(1)(d).

  24         2552. With respect to leases, the Mitsubishi Defendants are and were at all

  25   relevant times “lessors” of motor vehicles under Wis. Stat. § 411.103(1)(p).

  26         2553. All Wisconsin State Class members who purchased Mitsubishi Class

  27   Vehicles in Wisconsin are “buyers” within the meaning of Wis. Stat.

  28   § 402.103(1)(a).

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   1         2554. All Wisconsin State Class members who leased Mitsubishi Class
   2   Vehicles in Wisconsin are “lessees” within the meaning of Wis. Stat.
   3   § 411.103(1)(n).
   4         2555. The Mitsubishi Class Vehicles are and were at all relevant times
   5   “goods” within the meaning of Wis. Stat. §§ 402.105(1)(c) and 411.103(1)(h).
   6         2556. In connection with the purchase or lease of Mitsubishi Class Vehicles,
   7   the Mitsubishi Defendants provided the Wisconsin Plaintiff and Wisconsin State
   8   Class members with written express warranties covering the repair or replacement
   9   of components that are defective in materials or workmanship.
  10         2557. The Mitsubishi Defendants’ warranties formed the basis of the bargain
  11   that was reached when the Wisconsin Plaintiff and Wisconsin State Class members
  12   unknowingly purchased or leased Mitsubishi Class Vehicles that came equipped
  13   with a defective ACU.
  14         2558. However, the Mitsubishi Defendants knew or should have known that
  15   the warranties were false and/or misleading. Specifically, the Mitsubishi
  16   Defendants were aware of the ACU defect in the Mitsubishi Class Vehicles, which
  17   made the vehicles inherently defective and dangerous at the time that they were
  18   sold and leased to the Wisconsin Plaintiff and Wisconsin State Class members.
  19         2559. The Wisconsin Plaintiff and Wisconsin State Class members
  20   reasonably relied on the Mitsubishi Defendants’ express warranties when
  21   purchasing or leasing their Mitsubishi Class Vehicles.
  22         2560. The Mitsubishi Defendants knowingly breached their express
  23   warranties to repair defects in materials and workmanship by failing to repair the
  24   ACU defect or replace the defective ACUs in the Mitsubishi Class Vehicles. The
  25   Mitsubishi Defendants also breached their express warranties by providing a
  26   product containing defects that were never disclosed to the Wisconsin Plaintiff and
  27   Wisconsin State Class members.
  28

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   1             2561. The Wisconsin Plaintiff and Wisconsin State Class members have
   2   provided the Mitsubishi Defendants with reasonable notice and opportunity to cure
   3   the breaches of their express warranties by way of the numerous NHTSA
   4   complaints filed against them, and individual notice letters sent by the Wisconsin
   5   State Class members within a reasonable amount of time after the ACU defect
   6   became public. Additionally, a notice letter was sent on behalf of the Wisconsin
   7   Plaintiff and Wisconsin State Class members to FCA US LLC, Honda Defendants,
   8   Hyundai Defendants, Kia Defendants, Mitsubishi Motors North America, Inc.,
   9   Toyota Defendants, Hyundai MOBIS Co. Ltd., and ZF TRW Defendants on April
  10   24, 2020.
  11             2562. Alternatively, any opportunity to cure the breach is unnecessary and
  12   futile.
  13             2563. As a direct and proximate result of the Mitsubishi Defendants’ breach
  14   of their express warranties, the Wisconsin Plaintiff and Wisconsin State Class
  15   members have been damaged in an amount to be proven at trial.
  16                   b.     Wisconsin Count 2: Breach of Implied Warranty of
  17                          Merchantability (Wis. Stat. §§ 402.314 and 411.212) Against
                              the Mitsubishi Defendants
  18             2564. Plaintiffs reallege and incorporate by reference all preceding
  19   allegations as though fully set forth herein.
  20             2565. The Wisconsin Plaintiff brings this count individually and on behalf of
  21   members of the Wisconsin State Class who purchased or leased Mitsubishi Class
  22   Vehicles, against the Mitsubishi Defendants.
  23             2566. A warranty that the Mitsubishi Class Vehicles were in merchantable
  24   condition and fit for the ordinary purpose for which such goods are used is implied
  25   by law pursuant to Wis. Stat. §§ 402.314 and 411.212.
  26             2567. The Mitsubishi Class Vehicles did not comply with the implied
  27   warranty of merchantability because, at the time of sale and at all times thereafter,
  28   they were defective and not in merchantable condition, would not pass without
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   1   objection in the trade, and were not fit for the ordinary purpose for which vehicles
   2   were used. Specifically, the Mitsubishi Class Vehicles suffer from the ACU defect,
   3   which causes the airbags and seatbelt pretensioners to fail to deploy during an
   4   accident, rendering the Mitsubishi Class Vehicles inherently defective and
   5   dangerous.
   6         2568. The Mitsubishi Defendants are and were at all relevant times
   7   “merchants” with respect to motor vehicles under Wis. Stat. §§ 402.104(3) and
   8   411.103(1)(t), and “sellers” of motor vehicles under § 402.103(1)(d).
   9         2569. With respect to leases, the Mitsubishi Defendants are and were at all
  10   relevant times “lessors” of motor vehicles under Wis. Stat. § 411.103(1)(p).
  11         2570. All Wisconsin State Class members who purchased Mitsubishi Class
  12   Vehicles in Wisconsin are “buyers” within the meaning of Wis. Stat.
  13   § 402.103(1)(a).
  14         2571. All Wisconsin State Class members who leased Mitsubishi Class
  15   Vehicles in Wisconsin are “lessees” within the meaning of Wis. Stat.
  16   § 411.103(1)(n).
  17         2572. The Mitsubishi Class Vehicles were at all relevant times “goods”
  18   within the meaning of Wis. Stat. §§ 402.105(1)(c) and 411.103(1)(h).
  19         2573. The Wisconsin Plaintiff and Wisconsin State Class members have
  20   provided the Mitsubishi Defendants with reasonable notice and opportunity to cure
  21   the breaches of their implied warranties by way of the numerous NHTSA
  22   complaints filed against them, and individual notice letters sent by the Wisconsin
  23   State Class members within a reasonable amount of time after the ACU defect
  24   became public. Additionally, a notice letter was sent on behalf of the Wisconsin
  25   Plaintiff and Wisconsin State Class members to FCA US LLC, Honda Defendants,
  26   Hyundai Defendants, Kia Defendants, Mitsubishi Motors North America, Inc.,
  27   Toyota Defendants, Hyundai MOBIS Co. Ltd., and ZF TRW Defendants on April
  28   24, 2020.

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   1             2574. Alternatively, any opportunity to cure the breach is unnecessary and
   2   futile.
   3             2575. As a direct and proximate result of the Mitsubishi Defendants’ breach
   4   of the implied warranty of merchantability, the Wisconsin Plaintiff and Wisconsin
   5   State Class members have been damaged in an amount to be proven at trial.
   6                   c.     Wisconsin Count 3: Violation of the Wisconsin Deceptive
   7                          Trade Practices Act (Wis. Stat. § 100.18, et seq.) Against the
                              Mitsubishi Defendants
   8             2576. Plaintiffs reallege and incorporate by reference all preceding
   9   allegations as though fully set forth herein.
  10             2577. The Wisconsin Plaintiff brings this count individually and on behalf of
  11   members of the Wisconsin State Class who purchased or leased Mitsubishi Class
  12   Vehicles, against the Mitsubishi Defendants.
  13             2578. The Mitsubishi Defendants are “person[s], firm[s], corporation[s], or
  14   association[s]” within the meaning of Wis. Stat. § 100.18(1).
  15             2579. The Wisconsin Plaintiff and Wisconsin State Class are members of
  16   “the public” within the meaning of Wis. Stat. § 100.18(1).
  17             2580. The Mitsubishi Class Vehicles and the defective ACUs installed in
  18   them are “merchandise” within the meaning of Wis. Stat. § 100.18(1).
  19             2581. The Wisconsin Deceptive Trade Practices Act (“Wisconsin DTPA”)
  20   prohibits any “assertion, representation or statement of fact which is untrue,
  21   deceptive or misleading.” Wis. Stat. § 100.18(1).
  22             2582. In the course of their business, the Mitsubishi Defendants, through
  23   their agents, employees, and/or subsidiaries, violated the Wisconsin DTPA by
  24   knowingly and intentionally misrepresenting, omitting, concealing, and/or failing to
  25   disclose material facts regarding the reliability, safety, and performance of the
  26   Mitsubishi Class Vehicles or the defective ACUs, as detailed above.
  27             2583. Specifically, by misrepresenting the Mitsubishi Class Vehicles and/or
  28   the defective ACUs installed in them as safe and/or free from defects, and by failing
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   1   to disclose and actively concealing the dangers and risk posed by the Mitsubishi
   2   Class Vehicles and/or the ACU defect, the Mitsubishi Defendants violated the
   3   DTPA by making assertions, representations and statements of fact which are
   4   untrue, deceptive or misleading, as prohibited by Wis. Stat. § 100.18(1).
   5         2584. The Mitsubishi Defendants’ unfair or deceptive acts or practices,
   6   including misrepresentations, concealments, omissions, and suppressions of
   7   material facts, had a tendency or capacity to mislead and create a false impression
   8   in consumers, and were likely to and did in fact deceive reasonable consumers,
   9   including the Wisconsin Plaintiff and Wisconsin State Class members, about the
  10   true safety and reliability of Mitsubishi Class Vehicles and/or the defective ACUs
  11   installed in them, the quality of the Mitsubishi Class Vehicles, and the true value of
  12   the Mitsubishi Class Vehicles.
  13         2585. The Mitsubishi Defendants’ misrepresentations and concealment of the
  14   ACU defect and true characteristics of the Occupant Restraint Systems in the
  15   Mitsubishi Class Vehicles were material to the Wisconsin Plaintiff and Wisconsin
  16   State Class members, as the Mitsubishi Defendants intended. Had they known the
  17   truth, the Wisconsin Plaintiff and Wisconsin State Class members would not have
  18   purchased or leased the Mitsubishi Class Vehicles, or would have paid significantly
  19   less for them.
  20         2586. The Wisconsin Plaintiff and Wisconsin State Class members had no
  21   way of discerning that the Mitsubishi Defendants’ representations were false and
  22   misleading, or otherwise learning the facts that the Mitsubishi Defendants had
  23   concealed or failed to disclose. The Wisconsin Plaintiff and Wisconsin State Class
  24   members did not, and could not, unravel the Mitsubishi Defendants’ deception on
  25   their own.
  26         2587. The Mitsubishi Defendants had an ongoing duty to the Wisconsin
  27   Plaintiff and Wisconsin State Class members to refrain from unfair and deceptive
  28   practices under the Wisconsin DTPA in the course of their business. Specifically,

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   1   the Mitsubishi Defendants owed the Wisconsin Plaintiff and Wisconsin State Class
   2   members a duty to disclose all the material facts concerning the ACU defect in the
   3   Mitsubishi Class Vehicles because they possessed exclusive knowledge, they
   4   intentionally concealed the ACU defect from the Wisconsin Plaintiff and Wisconsin
   5   State Class members, and/or they made misrepresentations that were rendered
   6   misleading because they were contradicted by withheld facts.
   7         2588. The Wisconsin Plaintiff and Wisconsin State Class members suffered
   8   ascertainable losses and actual damages as a direct and proximate result of the
   9   Mitsubishi Defendants’ concealment, misrepresentations, and/or failure to disclose
  10   material information.
  11         2589. The Mitsubishi Defendants’ violations present a continuing risk to the
  12   Wisconsin Plaintiff and Wisconsin State Class members, as well as to the general
  13   public. The Mitsubishi Defendants’ unlawful acts and practices complained of
  14   herein affect the public interest.
  15         2590. Pursuant to Wis. Stat. § 100.18(11)(b)(2), the Wisconsin Plaintiff and
  16   Wisconsin State Class members seek an order enjoining the Mitsubishi Defendants’
  17   unfair or deceptive acts or practices and awarding damages and any other just and
  18   proper relief available under the Wisconsin DTPA.
  19                              VIII. PRAYER FOR RELIEF
  20         2591. Plaintiffs, on behalf of themselves and all others similarly situated,
  21   respectfully request the Court to grant certification of the proposed Classes and
  22   enter judgment against the Defendants, as follows:
  23                a.     An order certifying the proposed Class and Subclasses,
  24                       designating Plaintiffs as the named representatives of the Class,
  25                       designating the undersigned as Class Counsel, and making such
  26                       further orders for the protection of Class members as the Court
  27                       deems appropriate, under Fed. R. Civ. P. 23;
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   1               b.   An order enjoining the Vehicle Manufacturer Defendants to
   2                    desist from further deceptive distribution, sales, and lease
   3                    practices with respect to the Class Vehicles and such other
   4                    injunctive relief that the Court deems just and proper;
   5               c.   An award to Plaintiffs and Class Members of compensatory,
   6                    exemplary, treble, and punitive remedies and damages and
   7                    statutory penalties, including interest, in an amount to be proven
   8                    at trial;
   9               d.   An award to Plaintiffs and Class Members for the return of the
  10                    purchase prices of the Class Vehicles, with interest from the
  11                    time it was paid, for the reimbursement of the reasonable
  12                    expenses occasioned by the sale, for damages, and for
  13                    reasonable attorney fees;
  14               e.   A Defendant-funded program, using transparent, consistent, and
  15                    reasonable protocols, under which out-of-pocket and loss-of-use
  16                    expenses and damages claims associated with the Defective
  17                    ACUs in Plaintiffs’ and Class Members’ Class Vehicles, can be
  18                    made and paid, such that the Defendants, not the Class
  19                    Members, absorb the losses and expenses fairly traceable to the
  20                    recalls of the vehicles and correction of the defective ZF TRW
  21                    ACUs;
  22               f.   A declaration that the Defendants must disgorge, for the benefit
  23                    of Plaintiffs and Class Members, all or part of the ill-gotten
  24                    profits they received from the sale or lease of the Class Vehicles
  25                    or make full restitution to Plaintiffs and Class Members;
  26               g.   An award of attorneys’ fees and costs, as allowed by law;
  27               h.   An award of any and all applicable statutory and civil penalties;
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   1                i.     An award of prejudgment and post judgment interest, as
   2                       provided by law;
   3                j.     Leave to amend this Complaint to conform to the evidence
   4                       produced in discovery and at trial; and
   5                k.     Such other relief as may be appropriate, just, and equitable
   6                       under the circumstances.
   7                           IX.    DEMAND FOR JURY TRIAL
   8         2592. Pursuant to Rule 38(b) of the Federal Rules of Civil Procedure,
   9   Plaintiffs demand a jury trial as to all issues triable by a jury.
  10
  11
  12                                                 Respectfully submitted,
  13                                                 /s/ Roland Tellis
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  14
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